                                                                                                              Case 1:03-md-01570-GBD-SN Document 9551-2 Filed 01/19/24 Page 1 of 165
                                                                                                                                                                     EXHIBIT B-1
                                                                                                                                                  SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                   Personal Representative                                                 Claimant                                                                              9/11 Decedent                                                       Claim Information                                                        Solatium Damages




                                                                                                                          National




                                                                                                                                                                                                    National
                                                                                                                                                                                                                 Date of                                            Amendments &




                                                                                                                           ity on




                                                                                                                                                                                                     ity on
                                                                                                                            9/11




                                                                                                                                                                                                      9/11
#          First           Middle        Last   Suffix     claimant First         Middle      claimant Last    Suffix                           First        Middle           Last       Suffix                             9/11 Site       Case       Complaint                        Relationship   Documentation        Prior Award          Amount            Treble
                                                                                                                                                                                                                 Death                                               Substitutions
                                                                                                                                                                                                                                                                   1:02-cv-01616,
1                                                        Anisia             Capito         Abarabar                     United States   Marlyn          Capito        Bautista                    United States 9/11/01    NY (WTC)     03-cv-9849                 26, 29, at 1841      Sibling                        4023 at 5            $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                   1:02-cv-01616,
2                                                        Elaine                            Abate                        United States   Andrew          Anthony       Abate                       United States 9/11/01    NY (WTC)     03-cv-9849                 232, at P3572        Parent                         3666 at 1            $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                   232, at P3573,
                                                                                                                                                                                                                                                                   8393-1, at 84,
3                                                        Elaine                            Abate                        United States   Vincent                       Abate                       United States 9/11/01    NY (WTC)     03-cv-9849                 8487                 Parent                         5061 at 4            $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                   1:02-cv-01616,
4                                                        Suzanne                           Abenmoha                     United States   Debbie                        Bellows                     United States 9/11/01    NY (WTC)     03-cv-9849                 155, at P2823        Parent                         3666 at 1            $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                   1:02-cv-01616,
5                                                        Ammini             George         Abraham                      India           Valsa                         Raju                        United States 9/11/01    NY (WTC)     03-cv-9849                 313, at P4712        Sibling                        3666 at 10           $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                   155, at P2811,
                                                                                                                                                                                                                                                                   8393-1, at 87,
6                                                        Ann                Michele        Abrahamson                   United States   William         F.            Abrahamson                  United States 9/11/01    NY (WTC)     03-cv-9849                 8487                 Spouse                         5087 at 5            $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                   155, at P2811,
                                                                                                                                                                                                                                                                   8393-1, at 87,
7                                                        Erik               A.             Abrahamson                   United States   William         F.            Abrahamson                  United States 9/11/01    NY (WTC)     03-cv-9849                 8487                 Child                          5087 at 5            $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                   8679-1, at 518,
8                                                        Kelly              Ann            Abrams                       United States   Kevin           Michael       Williams                    United States 9/11/01    NY (WTC)     03-cv-9849                 8696                 Sibling                        7188 at 15           $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                   1:02-cv-01616, 1,
                                                                                                                                                                                                                                                                   at 24, 8397-1, at
9    Josephine     M.               Acquaviva            Alfred             Thomas         Acquaviva                    United States   Paul            Andrew        Acquaviva                   United States 9/11/01    NY (WTC)     03-cv-9849                 1, 8433              Parent                         3666 at 1            $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                   305, at P4102,
                                                                                                                                                                                                                                                                   8393-1, at 63,
10                                                       Courtney           Lizabeth       Acquaviva                    United States   Paul            Andrew        Acquaviva                   United States 9/11/01    NY (WTC)     03-cv-9849                 8487                 Spouse                         5061 at 3            $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                   1:02-cv-01616, 1,
11                                                       Josephine          M.             Acquaviva                    United States   Paul            Andrew        Acquaviva                   United States 9/11/01    NY (WTC)     03-cv-9849                 at 26                Parent                         3666 at 1            $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                   305, at P4102,
                                                                                                                                                                                                                                                                   8393-1, at 63,
12                                                       Paul               Andrew         Acquaviva          Jr.       United States   Paul            Andrew        Acquaviva                   United States 9/11/01    NY (WTC)     03-cv-9849                 8487                 Child                          5087 at 5            $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                   305, at P4102,
                                                                                                                                                                                                                                                                   8393-1, at 63,
13                                                       Sarah              Lizabeth       Acquaviva                    United States   Paul            Andrew        Acquaviva                   United States 9/11/01    NY (WTC)     03-cv-9849                 8487                 Child                          5061 at 3            $    8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                   432, at P4766,
14   Lawrence      Scott            Adams                Anne               Berg           Adams                        United States   Stephen         George        Adams                       United States 9/11/01    NY (WTC)     03-cv-9849                 8397-1, at 1, 8433   Parent                         515 at 4             $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                   155, at P2923,
                                                                                                                                                                                                                                                                   8393-1, at 54,
15                                                       Elizabeth          Jane           Adams                        United States   Mary Lou                      Hague                       United States 9/11/01    NY (WTC)     03-cv-9849                 8487                 Parent                         5061 at 7            $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                   1:02-cv-01616, 3,
16                                                       Jean                              Adams                        United States   Donald          L.            Adams                       United States 9/11/01    NY (WTC)     03-cv-9849                 at 864               Parent                         5848 at 3            $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                   1:02-cv-01616,
17                                                       Lawrence           Scott          Adams                        United States   Stephen         George        Adams                       United States 9/11/01    NY (WTC)     03-cv-9849                 432, at P4767        Sibling                        7188 at 4            $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                   1:02-cv-01616, 1,
                                                                                                                                                                                                                                                                   at 363, 8393-1, at
18                                                       Norma Jean                        Adams                        Unknown         Charles         Joseph        Margiotta                   United States 9/11/01    NY (Other)   03-cv-9849                 138, 8487            Child                          5061 at 9            $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                   1:02-CV-01616,
19                                                       Affiong            Japhet         Adanga                       United States   Ignatius        Udo           Adanga                      United States 9/11/01    NY (WTC)     03-cv-9849                 26, 29, at 2535      Spouse                         5087 at 5            $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                   1:02-CV-01616,
                                                                                                                                                                                                                                                                   26, 29, at 2535,
                                                                                                                                                                                                                                                                   8393-1, at 464,
20                                                       Emem               Udo            Adanga                       United States   Ignatius        Udo           Adanga                      United States 9/11/01    NY (WTC)     03-cv-9849                 8487                 Child                          5356 at 1            $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                   1:02-CV-01616,
                                                                                                                                                                                                                                                                   26, 29, at 2535,
                                                                                                                                                                                                                                                                   8393-1, at 465,
21                                                       Esang              Udo            Adanga                       United States   Ignatius        Udo           Adanga                      United States 9/11/01    NY (WTC)     03-cv-9849                 8487                 Child                          5087 at 5            $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                   1:02-CV-01616,
                                                                                                                                                                                                                                                                   26, 29, at 2535,
                                                                                                                                                                                                                                                                   8393-1, at 466,
22                                                       Nene               Udo            Adanga                       United States   Ignatius        Udo           Adanga                      United States 9/11/01    NY (WTC)     03-cv-9849                 8487                 Child                          5087 at 5            $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                   1:02-cv-01616,
23                                                       Dawn               Marie          Addamo                       United States   Christy         A.            Addamo                      United States 9/11/01    NY (WTC)     03-cv-9849                 305, at P4105        Sibling                        4023 at 4            $    4,250,000.00 $    12,750,000.00




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                                                                                                    EXHIBIT B-1
                                                                                 SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                             305, at P4103,
                                                                                                                                                                             8393-1, at 12,
24   Gregory       Michael       Addamo                United States   Christy        A.       Addamo                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    4023 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                             305, at P4104,
                                                                                                                                                                             8393-1, at 12,
25   Rita                        Addamo                United States   Christy        A.       Addamo                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    4023 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                             1:02-CV-01616,
                                                                                                                                                                             26, 29, at 2540,
                                                                                                                                                                             8393-1, at 240,
26   Daniel        Thomas        Afflitto        Jr.   United States   Daniel         Thomas   Afflitto          Sr.       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     7188 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                             1:02-CV-01616,
                                                                                                                                                                             26, 29, at 2540,
                                                                                                                                                                             8393-1, at 241,
27   Joseph        Daniel        Afflitto              United States   Daniel         Thomas   Afflitto          Sr.       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     7188 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                             1:02-CV-01616,
28   Stacey                      Afflitto-Wain         United States   Daniel         Thomas   Afflitto          Sr.       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2540      Spouse    5061 at 3    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                             1:03-md-01570,
                                                                                                                                                                             3477, at 38; 8679-
29   Antonio                     Agnello               Unknown         Joseph                  Agnello                     United States 9/11/01   NY (Other)   03-cv-9849   1, at 1, 8696        Sibling   4126 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                             1:02-CV-01616,
30   Rita                        Agnello               United States   Joseph                  Agnello                     United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2544      Parent    3666 at 1    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                             1:02-CV-01616,
31   Salvatore                   Agnello               United States   Joseph                  Agnello                     United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2543      Parent    3666 at 1    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                             1:02-CV-01616,
                                                                                                                                                                             26, 29, at 2542,
                                                                                                                                                                             8393-1, at 41,
32   Salvatore     Ralph         Agnello               United States   Joseph                  Agnello                     United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5356 at 1    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                             1:02-CV-01616,
                                                                                                                                                                             26, 29, at 2542,
                                                                                                                                                                             8393-1, at 41,
33   Vincent       Joseph        Agnello               United States   Joseph                  Agnello                     United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5087 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                             1:02-CV-01616,
                                                                                                                                                                             26, 29, at 2542,
                                                                                                                                                                             8393-1, at 41,
34   VinnieCarla                 Agnello               United States   Joseph                  Agnello                     United States 9/11/01   NY (Other)   03-cv-9849   8487                 Spouse    5087 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                             1:02-cv-01616, 3,
35   Jennifer      Lynn          Agresto               United States   James          K.       Samuel            Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   at 1613              Sibling   4023 at 22   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                             232, at P3575,
                                                                                                                                                                             8393-1, at 35,
36   Diane         Bottrill      Aguiar                United States   Joao           A.       Aguiar            Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    4023 at 4    $   8,500,000.00 $    25,500,000.00
                   Alberto Da                                                                                                                                                1:02-cv-01616,
37   Joao          Fonseca       Aguiar          Sr.   Portugal        Joao           A.       Aguiar            Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3576        Parent    5087 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                             1:02-cv-01616,
38   Taciana       Bottrill      Aguiar                United States   Joao           A.       Aguiar            Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3577        Sibling   4023 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                             1:02-cv-01616, 3,
39   Judith        Marie         Aiken                 United States   Richard        Dennis   Allen                       United States 9/11/01   NY (Other)   03-cv-9849   at 875               Sibling   4023 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                             1:02-cv-01616, 1,
                                                                                                                                                                             at 33, 8393-1, at
40   Dante                       Alario                United States   Margaret                Alario                      United States 9/11/01   NY (WTC)     03-cv-9849   51, 8487             Child     5356 at 1    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                             1:02-cv-01616, 1,
                                                                                                                                                                             at 33, 8393-1, at
41   James         Michael       Alario          Jr.   United States   Margaret                Alario                      United States 9/11/01   NY (WTC)     03-cv-9849   51, 8487             Child     5356 at 1    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                             1:02-cv-01616, 1,
                                                                                                                                                                             at 33, 8393-1, at
42   James                       Alario          Sr.   Unknown         Margaret                Alario                      United States 9/11/01   NY (WTC)     03-cv-9849   51, 8487             Spouse    5356 at 1    $   12,500,000.00 $   37,500,000.00
                   Marchesa                                                                                                                                                  1:02-cv-01616,
43   Carolyn       Xenia         Alderman              United States   Cesar          A.       Murillo                     Unknown      9/11/01    NY (WTC)     03-cv-9849   232, at P3860        Sibling   5848 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                             1:02-cv-01616, 1,
44   Elizabeth     R.            Alderman              United States   Peter          Craig    Alderman                    United States 9/11/01   NY (WTC)     03-cv-9849   at 20                Parent    5848 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                             1:02-cv-01616, 1,
45   Stephen       J.            Alderman              United States   Peter          Craig    Alderman                    United States 9/11/01   NY (WTC)     03-cv-9849   at 18                Parent    5848 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                             432, at P4777,
                                                                                                                                                                             8393-1, at 62,
46   Laura         Maria         Alessi                United States   Pamela                  Boyce                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    5848 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                             8679-1, at 361,
47   Maria         R.            Alfano                United States   Richard        A.       Palazzolo                   United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   5087 at 15   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                             1:02-cv-01616, 3,
48   Luke          Christopher   Allen                 United States   Richard        Dennis   Allen                       United States 9/11/01   NY (Other)   03-cv-9849   at 873               Sibling   4023 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                             1:02-cv-01616, 3,
                                                                                                                                                                             at 871, 8393-1, at
49   Madelyn       Gail          Allen                 United States   Richard        Dennis   Allen                       United States 9/11/01   NY (Other)   03-cv-9849   67, 8487             Parent    4023 at 4    $   8,500,000.00 $    25,500,000.00




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                                                                                                                          EXHIBIT B-1
                                                                                                       SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                                    1:02-cv-01616,
50                            Marguerite       Gail        Allen             United States   Richard        Dennis    Allen                       United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 1803      Sibling   4023 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                    1:02-cv-01616, 3,
51                            Matthew          J.          Allen             United States   Richard        Dennis    Allen                       United States 9/11/01   NY (Other)   03-cv-9849   at 872               Sibling   4023 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                    1:02-cv-01616, 3,
                                                                                                                                                                                                    at 870, 8397-1, at
52   Madelyn   Gail   Allen   Richard          D.          Allen             United States   Richard        Dennis    Allen                       United States 9/11/01   NY (Other)   03-cv-9849   1, 8433              Parent    4023 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                    232, at P3578,
                                                                                                                                                                                                    8393-1, at 11,
53                            Christopher      T.          Allingham         United States   Christopher    Edward    Allingham                   United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5138 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                    232, at P3578,
                                                                                                                                                                                                    8393-1, at 11,
54                            Donna            Mary        Allingham         Unknown         Christopher    Edward    Allingham                   United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5138 at 3    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
55                            James            Joseph      Allingham         Unknown         Christopher    Edward    Allingham                   United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 1807      Sibling   3666 at 1    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                    232, at P3578,
                                                                                                                                                                                                    8393-1, at 11,
56                            Kyle             P.          Allingham         United States   Christopher    Edward    Allingham                   United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5138 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-CV-01616,
57                            Patricia         Cleary      Allingham         Unknown         Christopher    Edward    Allingham                   United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2556      Parent    3666 at 1    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-CV-01616,
58                            William          J.          Allingham   Sr.   Unknown         Christopher    Edward    Allingham                   United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2555      Parent    3666 at 1    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-CV-01616,
59                            William          John        Allingham   Jr.   Unknown         Christopher    Edward    Allingham                   United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2557      Sibling   3666 at 1    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                    313, at AP285,
                                                                                                                                                                                                    5284-1, at 11,
60                            Tara             Rae         Allison           United States   Robert         S.        Speisman                    United States 9/11/01   VA (AA77)    03-cv-9849   5296                 Child     5062 at 6    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                    155, at P2812,
61                            V.               Blake       Allison           United States   Anna           S.W.      Allison                     United States 9/11/01   NY (AA11)    03-cv-9849   8393-1, at 4, 8487   Spouse    5848 at 3    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
62                            Elizabeth        Ann         Alverson          United States   Kenneth        Wilburn   White                       United States 9/11/01   NY (WTC)     03-cv-9849   232, at P4018        Sibling   4023 at 26   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                    1:02-cv-01616,
63                            Christopher      Fernandez   Alviar            Philippines     Cesar          A.        Alviar                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 1813      Child     8233 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
64                            Grace            Fernandez   Alviar            United States   Cesar          A.        Alviar                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 1812      Spouse    8233 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                    1:03-cv-9849,
                                                                                                                                                                                                    HAND FILED, at
                                                                                                                                                                                                    P4987, 8393-1, at
65                            Kenneth          Paul        Ambrose           United States   Paul           Wesley    Ambrose                     United States 9/11/01   VA (AA77)    03-cv-9849   65, 8487             Parent    6035 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:03-cv-9849,
                                                                                                                                                                                                    HAND FILED, at
                                                                                                                                                                                                    P4988, 8393-1, at
66                            Sharon           Norwood     Ambrose           United States   Paul           Wesley    Ambrose                     United States 9/11/01   VA (AA77)    03-cv-9849   65, 8487             Parent    6035 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616, 1,
67                            Patricia         Anne        Amo               United States   John           Michael   Collins                     United States 9/11/01   NY (Other)   03-cv-9849   at 139               Sibling   5062 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                    1:02-cv-01616,
68                            Kathleen         Sarah       Amsterdam         United States   Joseph         P.        Henry                       United States 9/11/01   NY (Other)   03-cv-9849   155, at P2930        Sibling   4023 at 12   $   4,250,000.00 $    12,750,000.00

                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                    232, at P3579,
69                            Brandon          Michael     Anaya             United States   Calixto                  Anaya             Jr.       United States 9/11/01   NY (Other)   03-cv-9849   8393-1, at 7, 8487   Child     5061 at 3    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                    232, at P3579,
70                            Kristina-Marie               Anaya             United States   Calixto                  Anaya             Jr.       United States 9/11/01   NY (Other)   03-cv-9849   8393-1, at 8, 8487   Child     5087 at 5    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                    232, at P3579,
71                            Marie            Laure       Anaya             Morocco         Calixto                  Anaya             Jr.       United States 9/11/01   NY (Other)   03-cv-9849   8393-1, at 7, 8487   Spouse    5087 at 5    $   12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                    232, at P3579,
72                            Rebecca          Rose        Anaya             United States   Calixto                  Anaya             Jr.       United States 9/11/01   NY (Other)   03-cv-9849   8393-1, at 7, 8487   Child     5061 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                    232, at P3580,
                                                                                                                                                                                                    8393-1, at 42,
73                            Christine        A.          Anchundia         United States   Joseph         P.        Anchundia                   United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    4023 at 4    $   8,500,000.00 $    25,500,000.00




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                                                                                                                                    EXHIBIT B-1
                                                                                                                 SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               232, at P3581,
                                                                                                                                                                                                               8393-1, at 42,
74                                       Elias        A.             Anchundia          United States   Joseph        P.        Anchundia                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                  Parent    4023 at 4    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               232, at P3582,
75   Marlyn   Lyssand     Anchundia      Elias        Joseph         Anchundia          United States   Joseph        P.        Anchundia                    United States 9/11/01   NY (WTC)     03-cv-9849   8397-1, at 1, 8433    Sibling   7188 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616, 3,
76                                       Elizabeth    E. Lawrence    Andersen           Unknown         Robert        A.        Lawrence           Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   at 1330               Sibling   3666 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:03-md-01570,
                                                                                                                                                                                                               3477, at 78, 4311-
                                                                                                                                                                                                               1 at 2,; 8679-1, at
77                                       Deborah      Jane           Anderson           United States   Kermit        C.        Anderson                     United States 9/11/01   NY (WTC)     03-cv-9849   4, 8696 4318          Child     4126 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               8679-1, at 430,
78                                       Debra        J.             Anderson           United States   Karen         Lynn      Seymour                      United States 9/11/01   NY (WTC)     03-cv-9849   8696                  Sibling   5848 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               305, at P4107,
                                                                                                                                                                                                               8393-1, at 46,
79                                       Jill         Elva Grashof   Anderson           United States   Kermit        C.        Anderson                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                  Spouse    5061 at 3    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
80                                       Joann        Marie          Anderson           United States   Barbara       A.        Keating                      United States 9/11/01   NY (AA11)    03-cv-9849   313, at P4670         Child     4023 at 15   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               155, at P2915,
                                                                                                                                                                                                               8393-1, at 56,
81                                       Kathryn      Gould          Anderson           United States   Michael       Edward    Gould                        United States 9/11/01   NY (WTC)     03-cv-9849   8487                  Parent    4023 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               232, at P4042,
                                                                                                                                                                                                               8397-1, at 1,
                                                                                                                                                                                                               8433, 8393-1, at
82   Mary     Elizabeth   Andrews        Edward       S.             Andrews            Unknown         Michael       Rourke    Andrews                      United States 9/11/01   NY (WTC)     03-cv-9849   59, 8487              Parent    4126 at 4    $   8,500,000.00 $    25,500,000.00

83                                       Edward       Joseph         Andrews            United States   Michael       Rourke    Andrews                      United States 9/11/01   NY (WTC)     03-cv-9849   8679-1, at 9, 8696    Sibling   7188 at 4    $   4,250,000.00 $    12,750,000.00

84                                       Mary         Elizabeth      Andrews            United States   Michael       Rourke    Andrews                      United States 9/11/01   NY (WTC)     03-cv-9849   8679-1, at 7, 8696    Sibling   7188 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:03-md-01570,
85                                       Meredith     Carroll        Andrews            United States   Robert        C.        Kennedy                      United States 9/11/01   NY (WTC)     03-cv-9849   432, at P5385         Child     5061 at 8    $   8,500,000.00 $    25,500,000.00

86                                       Paul         M.             Andrews            United States   Michael       Rourke    Andrews                      United States 9/11/01   NY (WTC)     03-cv-9849   8679-1, at 8, 8696    Sibling   7188 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616,
87                                       Donna        L.             Angelini           United States   Joseph        John      Angelini           Jr.       United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 1818       Spouse    5087 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               26, 29, at 1818,
                                                                                                                                                                                                               8393-1, at 660,
88                                       Jacqueline                  Angelini           United States   Joseph        John      Angelini           Jr.       United States 9/11/01   NY (Other)   03-cv-9849   8487                  Child     5848 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               26, 29, at 1818,
                                                                                                                                                                                                               8393-1, at 661,
89                                       Jennifer                    Angelini           United States   Joseph        John      Angelini           Jr.       United States 9/11/01   NY (Other)   03-cv-9849   8487                  Child     5087 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               26, 29, at 1818,
                                                                                                                                                                                                               8393-1, at 662,
90                                       Joseph       John           Angelini     III   United States   Joseph        John      Angelini           Jr.       United States 9/11/01   NY (Other)   03-cv-9849   8487                  Child     5848 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616, 1,
91                                       Alberto                     Angilletta         United States   Laura                   Angilletta                   United States 9/11/01   NY (WTC)     03-cv-9849   at 889                Sibling   4023 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616, 1,
                                                                                                                                                                                                               at 890, 8393-1, at
92                                       Carmelo                     Angilletta         United States   Laura                   Angilletta                   United States 9/11/01   NY (WTC)     03-cv-9849   48, 8487              Parent    4023 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616, 1,
                                                                                                                                                                                                               at 891, 8393-1, at
93                                       Dorotea                     Angilletta         United States   Laura                   Angilletta                   United States 9/11/01   NY (WTC)     03-cv-9849   48, 8487              Parent    4023 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616, 1,
94                                       Dawn         Marie          Angrisani          Unknown         John          Thomas    Resta                        United States 9/11/01   NY (WTC)     03-cv-9849   at 511                Sibling   3666 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               313, at P4589,
                                                                                                                                                                                                               8393-1, at 20,
                                                                                                                                                                                                               8487, 8397-1, at
95   Gina     Laura       Giovanniello   Irene        T.             Angrisani          United States   Doreen        J.        Angrisani                    United States 9/11/01   NY (WTC)     03-cv-9849   1, 8433               Parent    5136 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
96                                       Ralph                       Angrisani          United States   Doreen        J.        Angrisani                    United States 9/11/01   NY (WTC)     03-cv-9849   313, at P4590         Sibling   4023 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616,
97                                       Laura        Renee          Anspach            United States   Alan          Patrick   Linton             Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   155, at P2999         Sibling   5848 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616,
98                                       Diane        Frances        Antolos            Unknown         Frank         J.        Vignola            Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   232, at P4001         Sibling   3666 at 12   $   4,250,000.00 $    12,750,000.00




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                                                                                                                               EXHIBIT B-1
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                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        232, at P3584,
                                                                                                                                                                                                        8393-1, at 66,
99                                   Cecile     M.        Apollo                   United States   Peter         Paul     Apollo                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    4023 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        232, at P3585,
                                                                                                                                                                                                        8397-1, at 1,
                                                                                                                                                                                                        8433, 8393-1, at
100 Cecile     M.        Apollo      Peter                Apollo             Jr.   United States   Peter         Paul     Apollo                      United States 9/11/01   NY (WTC)     03-cv-9849   66, 8487             Parent    4126 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-CV-01616,
101                                  Carol      Ann       Aquilino                 United States   Frank         Thomas   Aquilino                    United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2571      Parent    5062 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        26, 29, at 1822,
                                                                                                                                                                                                        8393-1, at 26,
102                                  Frank      John      Aquilino                 United States   Frank         Thomas   Aquilino                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    5062 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
103                                  Alicia     A.        Arancibia                United States   Brian         Grady    McDonnell                   United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3815      Sibling   4023 at 18   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-CV-01616,
                                                                                                                                                                                                        26, 29, at 2580,
                                                                                                                                                                                                        8393-1, at 914,
104                                  Michael    Steel     Arczynski                United States   Michael       G.       Arczynski                   Canada       9/11/01    NY (Other)   03-cv-9849   8487                 Child     6035 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        305, at P4112,
                                                                                                                                                                                                        8393-1, at 805,
105                                  Joseph     Anthony   Arena                    United States   Louis                  Arena                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     7188 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        305, at P4112,
                                                                                                                                                                                                        8393-1, at 804,
106                                  Nina       Louise    Arena                    United States   Louis                  Arena                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     7188 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        305, at P4112,
                                                                                                                                                                                                        8393-1, at 50,
107                                  Wandalee   M.        Arena                    United States   Louis                  Arena                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    7188 at 4    $   12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                        1:03-md-01570,
                                                                                                                                                                                                        602, at P5478,
108 Evelyn               Diaz        Irene      J.        Arguelles                Unknown         Dorothy       J.       Chiarchiaro                 United States 9/11/01   NY (WTC)     03-cv-9849   8397-1, at 1, 8433   Sibling   3666 at 2    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616, 3,
109                                  Andrew     David     Arias                    United States   Adam          P.       Arias                       Unknown      9/11/01    NY (WTC)     03-cv-9849   at 883               Sibling   3666 at 1    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616, 3,
110                                  Donald     Charles   Arias                    United States   Adam          P.       Arias                       Unknown      9/11/01    NY (WTC)     03-cv-9849   at 882               Sibling   3666 at 1    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:18-cv-11582, 1,
                                                                                                                                                                                                        at 2; 8679-1, at
111 Lauren     Arias     Lucchini    Theresa              Arias                    United States   Adam          P.       Arias                       Unknown      9/11/01    NY (WTC)     03-cv-9849   10, 8696             Parent    5136 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616, 3,
112                                  Thomas     Vincent   Arias                    United States   Adam          P.       Arias                       Unknown      9/11/01    NY (WTC)     03-cv-9849   at 881               Sibling   3666 at 1    $   4,250,000.00 $    12,750,000.00

                                                                                                                                                                                                        1:18-cv-; 8679-1,
                                                                                                                                                                                                        at 11, 869611582,
113 Thomas     Vincent   Arias       Thomas     Sydney    Arias                    United States   Adam          P.       Arias                       Unknown      9/11/01    NY (WTC)     03-cv-9849   1, at 1              Parent    5104 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616, 3,
                                                                                                                                                                                                        at 885, 8397-1, at
114 Adrianna   J.        Desio       Lorraine   Marie     Arias-Beliveau           United States   Adam          P.       Arias                       Unknown      9/11/01    NY (WTC)     03-cv-9849   1, 8433              Sibling   3666 at 1    $   4,250,000.00 $    12,750,000.00

                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        313, at P4594,
115 Mary       Ellen     Armstrong   Gabriel              Armstrong                United States   Michael       Joseph   Armstrong                   United States 9/11/01   NY (WTC)     03-cv-9849   8397-1, at 1, 8433   Parent    5138 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
116                                  Gerard     James     Armstrong                United States   Michael       Joseph   Armstrong                   United States 9/11/01   NY (WTC)     03-cv-9849   313, at P4595        Sibling   4126 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616,
117                                  Marian     R.        Armstrong                United States   Michael       Joseph   Armstrong                   United States 9/11/01   NY (WTC)     03-cv-9849   313, at P4597        Sibling   4023 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        313, at P4592,
                                                                                                                                                                                                        8393-1, at 58,
118                                  Mary       Ellen     Armstrong                Ireland         Michael       Joseph   Armstrong                   United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    4126 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
119                                  Laura      A.        Armstrong-Weaver         United States   Michael       Joseph   Armstrong                   United States 9/11/01   NY (WTC)     03-cv-9849   313, at P4596        Sibling   4023 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                              VA                        1:03-md-01570,
120                                  Evon                 Arnold                   United States   Johnnie                Doctor            Jr.       United States 9/11/01   (Pentagon)   03-cv-9849   432, at P5344        Sibling   3666 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616,
121                                  Ruth       Green     Aron                     United States   Joshua        Todd     Aron                        Unknown      9/11/01    NY (WTC)     03-cv-9849   313, at P4598        Parent    3666 at 1    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                        Pending Motion
122                                  Gil                  Aronow                   United States   Richard       A.       Aronow                      United States 9/11/01   NY           03-cv-9849   at ECF No. 9533      Sibling   5139 at 3    $   4,250,000.00 $    12,750,000.00




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                                                                                                    SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT

                                                                                                                                                                                               Pending Motion
123 Vera      K.     Aronow            Grace       S.        Aronow        United States   Richard       A.       Aronow                     United States 9/11/01   NY           03-cv-9849   at ECF No. 9533      Parent       5139 at 3    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                               Pending Motion
124 Vera      K.     Aronow            Martin      L.        Aronow        United States   Richard       A.       Aronow                     United States 9/11/01   NY           03-cv-9849   at ECF No. 9533      Parent       5139 at 3    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                               Pending Motion
125                                    Vera        K.        Aronow        United States   Richard       A.       Aronow                     United States 9/11/01   NY           03-cv-9849   at ECF No. 9533      Sibling      5139 at 3    $   4,250,000.00 $    12,750,000.00

                     Weinberg (legal                                                                                                                                                           Pending Motion
126 Laura            guardian)         William     J.        Aronow        United States   Richard       A.       Aronow                     United States 9/11/01   NY           03-cv-9849   at ECF No. 9533      Child        5139 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               313, at P4600,
                                                                                                                                                                                               8393-1, at 60,
127                                    Jules       Phelan    Aronson       United States   Myra          Joy      Aronson                    United States 9/11/01   NY (AA11)    03-cv-9849   8487                 Sibling      4023 at 4    $   4,250,000.00 $    12,750,000.00
                                                                           United                                                                                                              1:02-cv-01616, 3,
128                                    Emma        Louise    Arro          Kingdom         Robert        John     Halligan                   United States 9/11/01   NY (WTC)     03-cv-9849   at 1205              Child        5061 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               8679-1, at 506,
129                                    Barbara     Ann       Arthur        United States   Eugene                 Whelan                     United States 9/11/01   NY (Other)   03-cv-9849   8696                 Sibling      7188 at 15   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               1:02-cv-01616,
130                                    Ayitey                Aryee         United States   Japhet                 Aryee                      Ghana        9/11/01    NY (WTC)     03-cv-9849   305, at P4115        Child        5087 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               305, at P4113,
                                                                                                                                                                                               8393-1, at 32,
131                                    Maria       Celeste   Aryee         United States   Japhet                 Aryee                      Ghana        9/11/01    NY (WTC)     03-cv-9849   8487                 Spouse       5087 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               305, at P4113,
                                                                                                                                                                                               8393-1, at 518,
132                                    Nii Anteh   John      Aryee         United States   Japhet                 Aryee                      Ghana        9/11/01    NY (WTC)     03-cv-9849   8487                 Child        5087 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
133                                    Nii Teiko             Aryee         United States   Japhet                 Aryee                      Ghana        9/11/01    NY (WTC)     03-cv-9849   305, at P4114        Child        5087 at 5    $   8,500,000.00 $    25,500,000.00
                                                                           United States   Kevin         P.       Connors                                            NY (WTC)                  8679-1, at 60,
134                                    Davina                Aryeh                                                                           United States 9/11/01                03-cv-9849   8696                 Step-Child   8293 at 6    $   4,250,000.00 $    12,750,000.00
                                                                           United States   Kevin         P.       Connors                                            NY (WTC)                  8679-1, at 61,
135                                    Karim                 Aryeh                                                                           United States 9/11/01                03-cv-9849   8696                 Step-Child   8293 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               1:02-cv-01616, 3,
                                                                                                                                                                                               at 1484, 8393-1,
136                                    Maritza               Arzayus       Colombia        Carlos                 Munoz                      United States 9/11/01   NY (WTC)     03-cv-9849   at 8, 8487           Spouse       5087 at 14   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                               1:02-CV-01616,
137                                    Elaine      V.        Asciak        United States   Michael                Asciak                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2585      Spouse       5356 at 1    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                               1:02-CV-01616,
                                                                                                                                                                                               26, 29, at 2585,
                                                                                                                                                                                               8393-1, at 892,
138                                    Loren                 Asciak        United States   Michael                Asciak                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child        5356 at 1    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                               1:02-CV-01616,
                                                                                                                                                                                               26, 29, at 2586,
139 Elaine    V.     Asciak            Vivian      Rose      Asciak        United States   Michael                Asciak                     United States 9/11/01   NY (WTC)     03-cv-9849   8397-1, at 1, 8433   Parent       4023 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               305, at P4117,
                                                                                                                                                                                               8393-1, at 56,
140                                    Dana        Jill      Asher         United States   Michael       Edward   Asher                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse       5848 at 3    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                               1:03-md-01570,
                                                                                                                                                                                               3477, at 12; 8679-
141                                    Jeremy      Ross      Asher         Unknown         Michael       Edward   Asher                      United States 9/11/01   NY (WTC)     03-cv-9849   1, at 12, 86965      Child        5848 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               305, at P4117,
                                                                                                                                                                                               8393-1, at 903,
142                                    Rachel      Marin     Asher         United States   Michael       Edward   Asher                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child        5848 at 3    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               232, at P3588,
143 Marlene   Rita   Asher             Stuart                Asher         United States   Michael       Edward   Asher                      United States 9/11/01   NY (WTC)     03-cv-9849   8397-1, at 1, 8433   Sibling      5087 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               1:02-cv-01616, 1,
                                                                                                                                                                                               at 797, 5284-1, at
144                                    Carol       Ann       Ashley        United States   Janice        Marie    Ashley                     United States 9/11/01   NY (WTC)     03-cv-9849   1, 5296              Parent       4023 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616, 3,
                                                                                                                                                                                               at 756, 5284-1, at
145                                    Michael     William   Ashley        United States   Janice        Marie    Ashley                     United States 9/11/01   NY (WTC)     03-cv-9849   1, 5296              Sibling      4126 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               1:02-cv-01616, 1,
                                                                                                                                                                                               at 798, 5284-1, at
146                                    William     Lewis     Ashley        United States   Janice        Marie    Ashley                     United States 9/11/01   NY (WTC)     03-cv-9849   1, 5296              Parent       4023 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616, 1,
147                                    Deborah     Ann       Atchley       United States   Carl          Eugene   Molinaro                   United States 9/11/01   NY (WTC)     03-cv-9849   at 402               Sibling      3666 at 9    $   4,250,000.00 $    12,750,000.00




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                                                                                                                    EXHIBIT B-1
                                                                                                 SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                             26, 29, at 2171,
                                                                                                                                                                                             8393-1, at 1420,
148                        Katherine   Julia     Athey                 United States   William        J.        McGovern                   United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5087 at 13   $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                             313, at P4606,
149 Gerald        Atwood   Elaine      M.        Atwood                United States   Gerald         T.        Atwood                     United States 9/11/01   NY (WTC)     03-cv-9849   8397-1, at 2, 8433   Sibling   5087 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                             1:02-cv-01616,
150                        Gerald                Atwood                Unknown         Gerald         T.        Atwood                     United States 9/11/01   NY (WTC)     03-cv-9849   313, at P4601        Parent    4023 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                             1:02-cv-01616,
151                        Gregory     Paul      Atwood                United States   Gerald         T.        Atwood                     United States 9/11/01   NY (WTC)     03-cv-9849   313, at P4603        Sibling   4126 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                             1:02-cv-01616,
152                        John        Gerald    Atwood                United States   Gerald         T.        Atwood                     United States 9/11/01   NY (WTC)     03-cv-9849   313, at P4605        Sibling   4023 at 4    $   4,250,000.00 $    12,750,000.00

                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                             313, at P4604,
153 Gerald        Atwood   Raymond     J.        Atwood                United States   Gerald         T.        Atwood                     United States 9/11/01   NY (WTC)     03-cv-9849   8397-1, at 2, 8433   Sibling   7188 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                             1:02-cv-01616,
154                        Elaine      Marie     Atwood (parent)       United States   Gerald         T.        Atwood                     United States 9/11/01   NY (WTC)     03-cv-9849   313, at P4602        Parent    4023 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                             232, at P3786,
                                                                                                                                                                                             8393-1, at 86,
155                        Se          Jua       Au                    United States   Wei Rong                 Lin                        China        9/11/01    NY (WTC)     03-cv-9849   8487                 Spouse    5087 at 12   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                             8679-1, at 461,
156                        Jennifer    Teague    Ayers                 United States   Sandra         D.        Teague                     United States 9/11/01   VA (AA77)    03-cv-9849   8696                 Sibling   5087 at 19   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                             1:02-cv-01616,
157                        Carla       Nicole    Bacchus               United States   Eustace        P.        Bacchus                    United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2528         Child     5061 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                             77, at P2529,
                                                                                                                                                                                             8393-1, at 24,
158                        Juana       Maria     Bacchus-Kearney       United States   Eustace        P.        Bacchus                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    515 at 4     $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                             1:02-CV-01616,
159                        Grace       Marie     Badagliacca           United States   John           J.        Badagliacca                Unknown      9/11/01    NY (WTC)     03-cv-9849   26, 29, at 2591      Parent    3666 at 1    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                             1:02-CV-01616,
160                        John        Edward    Badagliacca           United States   John           J.        Badagliacca                Unknown      9/11/01    NY (WTC)     03-cv-9849   26, 29, at 2590      Parent    3666 at 1    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                             1:02-cv-01616, 1,
161                        John        P.        Baeszler              United States   Jane           Ellen     Baeszler                   United States 9/11/01   NY (WTC)     03-cv-9849   at 48                Sibling   4023 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                             8679-1, at 14,
162                        Rita                  Baeszler              United States   Jane           Ellen     Baeszler                   United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Parent    7188 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                             1:02-cv-01616, 1,
163                        Deena       Burnett   Bailey                Unknown         Thomas         E.        Burnett          Jr.       United States 9/11/01   PA (UA93)    03-cv-9849   at 8                 Spouse    5062 at 3    $   12,500,000.00 $   37,500,000.00

                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                             77, at P2530,
164                        Judith      A.        Bailey                United States   Brett          T.        Bailey                     United States 9/11/01   NY (WTC)     03-cv-9849   8393-1, at 7, 8487   Parent    4023 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                             155, at P2814,
                                                                                                                                                                                             8393-1, at 26,
165                        Katherine   Agnes     Bailey                United States   Garnet                   Bailey                     Canada       9/11/01    NY (UA175)   03-cv-9849   8487                 Spouse    5062 at 3    $   12,500,000.00 $   37,500,000.00

                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                             77, at P2531,
166 Judith   A.   Bailey   Kevin       James     Bailey                United States   Brett          T.        Bailey                     United States 9/11/01   NY (WTC)     03-cv-9849   8397-1, at 2, 8433   Parent    5848 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                             1:02-cv-01616,
167                        Todd        Garnet    Bailey                United States   Garnet                   Bailey                     Canada       9/11/01    NY (UA175)   03-cv-9849   155, at P2815        Child     4023 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                             1:02-cv-01616,
168                        Yarah       Heather   Bailey                United States   Brett          T.        Bailey                     United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3590        Sibling   5848 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                             1:02-cv-01616,
169                        Yuriah      Daniel    Bailey                United States   Brett          T.        Bailey                     United States 9/11/01   NY (WTC)     03-cv-9849   155, at P2813        Sibling   5062 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                             1:02-cv-01616, 3,
                                                                                                                                                                                             at 1835, 5284-1,
170                        Ellen       Shaw      Bakalian              United States   Jeffrey        R.        Smith                      United States 9/11/01   NY (WTC)     03-cv-9849   at 11, 5296          Spouse    5138 at 7    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                             1:02-CV-01616,
171                        Marina                Bakalinskaya          United States   Tatyana                  Bakalinskaya               United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2598      Child     5087 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                             1:02-CV-01616,
172                        Anatoliy              Bakalinskiy           United States   Tatyana                  Bakalinskaya               United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2597      Spouse    5087 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                             1:02-cv-01616,
173                        Maureen     Lynch     Baker                 United States   Michael        Francis   Lynch                      United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2148      Sibling   4023 at 17   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                             1:03-cv-9849,
                                                                                                                                                                                             HAND FILED, at
                                                                                                                                                                                             P5299, 8393-1, at
174                        Susanne     Ward      Baker                 Unknown         Timothy        Ray       Ward                       United States 9/11/01   NY (UA175)   03-cv-9849   83, 8487             Parent    3382         $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                             1:02-cv-01616,
175                        Mary        Louise    Ball                  Unknown         Peter          Matthew   West                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4694      Sibling   3666 at 13   $   4,250,000.00 $    12,750,000.00




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                                                                                                                                                                                                            1:02-cv-01616,
176                                         Lucia      Agnes       Balzan             Canada          Mary          Domenica   Stanley                    United States   9/11/01 NY (WTC)     03-CV-9849   305, at P4540        Sibling   3666 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                            305, at P4433,
                                                                                                                                                                                                            8393-1, at 303,
177                                         Karelia    A.          Barahona           United States   Diarelia      J.         Mena                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5848 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                            305, at P4433,
                                                                                                                                                                                                            8393-1, at 19,
178                                         Victor                 Barahona           Unknown         Diarelia      J.         Mena                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5848 at 8    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                            1:02-cv-01616, 3,
    Jacqueline;                  Venezia;                                                                                                                                                                   at 896, 8397-1, at
179 Thomas        A.; Nicholas   Barbaro    Carol                  Barbaro            United States   Paul          Vincent    Barbaro                    United States 9/11/01   NY (WTC)     03-cv-9849   2, 8433              Parent    5087 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:02-cv-01616, 3,
                                                                                                                                                                                                            at 894, 8393-1, at
180                                         Joseph     Nicholas    Barbaro            United States   Paul          Vincent    Barbaro                    United States 9/11/01   NY (WTC)     03-cv-9849   1039, 8487           Child     5848 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:02-cv-01616, 3,
181                                         Kim        Elizabeth   Barbaro            United States   Paul          Vincent    Barbaro                    United States 9/11/01   NY (WTC)     03-cv-9849   at 894               Spouse    5848 at 3    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                            1:02-CV-01616,
182                                         Nicholas               Barbaro      Jr.   United States   Paul          Vincent    Barbaro                    United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2610      Sibling   3666 at 1    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            1:02-cv-01616, 3,
                                                                                                                                                                                                            at 894, 8393-1, at
183                                         Paul       William     Barbaro            United States   Paul          Vincent    Barbaro                    United States 9/11/01   NY (WTC)     03-cv-9849   1040, 8487           Child     5848 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:02-CV-01616,
184                                         Thomas     Nicholas    Barbaro            United States   Paul          Vincent    Barbaro                    United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2611      Sibling   3666 at 1    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            8679-1, at 72,
185                                         Frank                  Barbosa            United States   Dolores       M.         Costa                      United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                            26, 29, at 1832,
                                                                                                                                                                                                            8393-1, at 1357,
186                                         Sael                   Barbosa            United States   Victor        Daniel     Barbosa                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     7188 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:02-cv-01616,
187                                         Kathryn    Lee         Barrere            United States   Peter         Burton     Hanson                     United States 9/11/01   NY (UA175)   03-cv-9849   305, at P4308        Sibling   5062 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            1:02-cv-01616,
188                                         Deborah    L.          Barrett            Unknown         Brian         T.         Cummins                    United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2932      Spouse    5951 at 7    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                            1:03-cv-09849,
                                                                                                                                                                                                            842, at 1; 8679-1,
189                                         Melissa    Ann         Barrett            United States   John          Wayne      Wright           Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   at 521, 8696         Sibling   5061 at 14   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            1:02-CV-01616,
190                                         Audriene   Gertrude    Barry              United States   Arthur        T.         Barry                      United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2620      Parent    4023 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:02-CV-01616,
191                                         Bertrand   Francis     Barry              United States   Arthur        T.         Barry                      United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2619      Parent    4023 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:02-CV-01616,
192                                         Bertrand   Arthur      Barry              United States   Arthur        T.         Barry                      United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2622      Sibling   4023 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            1:02-cv-01616, 3,
193                                         Brian      Michael     Barry              United States   Diane                    Barry                      United States 9/11/01   NY (WTC)     03-cv-9849   at 904               Child     4023 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:02-cv-01616, 3,
                                                                                                                                                                                                            at 902, 8393-1, at
194                                         Edmund     William     Barry              United States   Diane                    Barry                      United States 9/11/01   NY (WTC)     03-cv-9849   19, 8487             Spouse    5061 at 3    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                            1:02-cv-01616, 1,
195                                         Kevin      William     Barry              United States   Diane                    Barry                      United States 9/11/01   NY (WTC)     03-cv-9849   at 54                Child     3666 at 1    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:02-CV-01616,
196                                         Patricia   Ann         Barry              United States   Arthur        T.         Barry                      United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2625      Sibling   4023 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            1:02-cv-01616, 1,
                                                                                                                                                                                                            at 58, 8397-1, at
197 Gila                         Barzvi     Arie                   Barzvi             United States   Guy                      Barzvi                     United States 9/11/01   NY (WTC)     03-cv-9849   2, 8433              Parent    4126 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:02-cv-01616, 1,
198                                         Gila                   Barzvi             United States   Guy                      Barzvi                     United States 9/11/01   NY (WTC)     03-cv-9849   at 57                Parent    4023 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:02-cv-01616, 1,
                                                                                                                                                                                                            at 880, 5284-1, at
199                                         Lori       Sara        Barzvi             United States   Guy                      Barzvi                     United States 9/11/01   NY (WTC)     03-cv-9849   1, 5296              Sibling   4023 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            8679-1, at 73,
200                                         Isiah      RaShon      Batey              United States   Asia          SiVon      Cottom                     United States 9/11/01   VA (AA77)    03-cv-9849   8696                 Sibling   5848 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            8679-1, at 291,
201                                         Maureen    Rose        Baumgartel         United States   Kevin         Michael    McCarthy                   United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   5087 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            1:02-cv-01616,
202                                         Rameses    Garcia      Bautista           United States   Marlyn        Capito     Bautista                   United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 1838      Spouse    5848 at 3    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                            1:02-cv-01616,
203                                         John       Michael     Bavis              Unknown         Mark          Lawrence   Bavis                      United States 9/11/01   NY (UA175)   03-cv-9849   305, at P4127        Sibling   4023 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                            232, at P4043,
                                                                                                                                                                                                            8397-1, at 2,
                                                                                                                                                                                                            8433, 8393-1, at
204 Michael       Thomas         Bavis      Mary       T.          Bavis              United States   Mark          Lawrence   Bavis                      United States 9/11/01   NY (UA175)   03-cv-9849   52, 8487             Parent    4023 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:02-cv-01616,
205                                         Michael    Thomas      Bavis              United States   Mark          Lawrence   Bavis                      United States 9/11/01   NY (UA175)   03-cv-9849   232, at P4044        Sibling   4023 at 5    $   4,250,000.00 $    12,750,000.00



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                                                                                                                                                                                           1:02-cv-01616,
206                          Patrick      Joseph    Bavis            United States   Mark          Lawrence   Bavis                      United States 9/11/01   NY (UA175)   03-cv-9849   232, at P4045        Sibling   4023 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                           1:02-cv-01616,
207                          Dennis                 Baxter           United States   Jasper                   Baxter                     United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4134        Sibling   4023 at 5    $   4,250,000.00 $    12,750,000.00

                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                           305, at P4135,
208 Jedelle   Baxter   Jr.   Diane                  Baxter           United States   Jasper                   Baxter                     United States 9/11/01   NY (WTC)     03-cv-9849   8397-1, at 2, 8433   Sibling   4023 at 5    $   4,250,000.00 $    12,750,000.00

                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                           305, at P4131,
209 Dennis    Baxter         Donald                 Baxter           Unknown         Jasper                   Baxter                     United States 9/11/01   NY (WTC)     03-cv-9849   8397-1, at 2, 8433   Sibling   4023 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                           1:02-cv-01616,
210                          Jedelle                Baxter     Jr.   United States   Jasper                   Baxter                     United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4132        Sibling   3666 at 1    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                           1:02-cv-01616,
211                          Lawrence               Baxter           United States   Jasper                   Baxter                     United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4133        Sibling   4023 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                           305, at P4129,
                                                                                                                                                                                           8393-1, at 32,
212                          Lillian                Baxter           Unknown         Jasper                   Baxter                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5061 at 3    $   12,500,000.00 $   37,500,000.00

                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                           305, at P4130,
213 Dennis    Baxter         Mattie       L.        Baxter           Unknown         Jasper                   Baxter                     United States 9/11/01   NY (WTC)     03-cv-9849   8397-1, at 2, 8433   Parent    4023 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                           77, at P2532,
                                                                                                                                                                                           8393-1, at 75,
214                          Myrtle                 Bazil            United States   Shevonne      Olicia     Mentis                     Guyana       9/11/01    NY (WTC)     03-cv-9849   8487                 Parent    4023 at 18   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                           1:03-md-01570,
                                                                                                                                                                                           602, at P5471,
                                                                                                                                         United                                            8393-1, at 32,
215                          Robert       W.        Beatty           United States   Jane                     Beatty                     Kingdom      9/11/01    NY (WTC)     03-cv-9849   8487                 Spouse    5087 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                           232, at P3838,
                                                                                                                                                                                           8393-1, at 1416,
216                          Kathryn      Meehan    Beaulieu         United States   William       J.         Meehan           Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     6034 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                           1:02-CV-01616,
217                          Theodore     S.        Beck             United States   Lawrence      I.         Beck                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2640      Parent    4023 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                           432, at P4977,
                                                                                                                                                                                           8393-1, at 48,
218                          Allison      Kristin   Beckler          Unknown         Olga          Kristin    Gould                      United States 9/11/01   PA (UA93)    03-cv-9849   8487                 Child     4023 at 26   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                           1:02-cv-01616,
219                          Dolores                Bedigian         United States   Carl                     Bedigian                   United States 9/11/01   NY (Other)   03-cv-9849   305, at P4137        Parent    5062 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                           1:02-cv-01616,
220                          Joseph       J.        Bedigian         United States   Carl                     Bedigian                   United States 9/11/01   NY (Other)   03-cv-9849   305, at P4138        Sibling   5848 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                           1:02-cv-01616,
221                          Robert       James     Bedigian         Unknown         Carl                     Bedigian                   United States 9/11/01   NY (Other)   03-cv-9849   305, at P4139        Sibling   3666 at 1    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                           232, at P3593,
                                                                                                                                                                                           8393-1, at 899,
222                          Michael      E.        Beekman    Jr.   United States   Michael       E.         Beekman          Sr.       United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5087 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                           232, at P3593,
                                                                                                                                                                                           8393-1, at 55,
223                          Theodora               Beekman          United States   Michael       E.         Beekman          Sr.       United States 9/11/01   NY (Other)   03-cv-9849   8487                 Spouse    5087 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                           232, at P3593,
                                                                                                                                                                                           8393-1, at 898,
224                          Theresa      N.        Beekman          United States   Michael       E.         Beekman          Sr.       United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5087 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                           155, at P3164,
                                                                                                                                         United                                            8393-1, at 54,
225                          Karen        L.        Beetel           United States   Martin        Michael    Wortley                    Kingdom      9/11/01    NY (WTC)     03-cv-9849   8487                 Spouse    5848 at 11   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                           8679-1, at 17,
226                          Carlos       Pio       Behr             United States   Maria                    Behr                       United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                           8679-1, at 15,
227                          Edith        del Mar   Behr             United States   Maria                    Behr                       United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                           8679-1, at 16,
228                          Gabriel      Michael   Behr             United States   Maria                    Behr                       United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                           305, at P4140,
                                                                                                                                                                                           8393-1, at 52,
229                          George                 Behr             Unknown         Maria                    Behr                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    5848 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                           1:02-cv-01616,
230                          Inmaculada             Behr             Unknown         Maria                    Behr                       United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4141        Parent    5848 at 3    $   8,500,000.00 $    25,500,000.00



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                                                                                                                           EXHIBIT B-1
                                                                                                        SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT

                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     26, 29, at 4799,
231                                Mary        M.           Belding            United States   Peter         C.        Moutos                      United States 9/11/01   NY (WTC)     03-cv-9849   5284-1, at 8, 5296   Spouse       5061 at 10   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                     1:02-cv-01616, 1,
                                                                                                                                                                                                     at 75, 8393-1, at
232                                Boris                    Belilovsky         Ukraine         Helen                   Belilovsky                  United States 9/11/01   NY (WTC)     03-cv-9849   28, 8487             Spouse       5087 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                     1:02-cv-01616, 1,
                                                                                                                                                                                                     at 75, 8393-1, at
233                                Eugene                   Belilovsky         United States   Helen                   Belilovsky                  United States 9/11/01   NY (WTC)     03-cv-9849   451, 8487            Child        5087 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
234                                Sean        Kenneth      Bellows            United States   Debbie                  Bellows                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2647      Spouse       5061 at 3    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     26, 29, at 4108,
                                                                                                                                                                                                     8393-1, at 499,
235                                Justin      Nicholas     Benitez            United States   James         N.        Pappageorge                 United States 9/11/01   NY (Other)   03-cv-9849   8487                 Step-Child   5949 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     155, at P3056,
                                                                                                                                                                                                     8393-1, at 476,
236                                Kristin     Kathleen     Bennett            United States   James         A.        Oakley                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child        515 at 5     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616, 1,
237                                Ondina                   Bennett            Cuba            Bryan         Craig     Bennett                     United States 9/11/01   NY (WTC)     03-cv-9849   at 66                Parent       5087 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     8679-1, at 42,
238                                Siobhan     Patricia     Berga              United States   Liam                    Callahan                    United States 9/11/01   NY (Other)   03-cv-9849   8696                 Sibling      7188 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     1:02-cv-01616, 3,
                                                                                                                                                                                                     at 908, 8393-1, at
239                                Alexander   Michael      Berger             United States   James         P.        Berger                      United States 9/11/01   NY (WTC)     03-cv-9849   500, 8487            Child        5061 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616, 3,
                                                                                                                                                                                                     at 908, 8393-1, at
240                                Christian   Daniel       Berger             United States   James         P.        Berger                      United States 9/11/01   NY (WTC)     03-cv-9849   501, 8487            Child        5061 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
241                                Gary        Mark         Berger             Unknown         Steven        Howard    Berger                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2653      Sibling      3666 at 1    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     1:02-cv-01616, 3,
                                                                                                                                                                                                     at 908, 8393-1, at
242                                Nicholas    James        Berger             United States   James         P.        Berger                      United States 9/11/01   NY (WTC)     03-cv-9849   502, 8487            Child        5061 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616, 3,
243                                Suzanne     Jacqueline   Berger             United States   James         P.        Berger                      United States 9/11/01   NY (WTC)     03-cv-9849   at 908               Spouse       5061 at 3    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
244                                Agnes       Theresa      Bergin             United States   John          P.        Bergin                      Unknown      9/11/01    NY (Other)   03-cv-9849   26, 29, at 1850      Parent       4126 at 4    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     26, 29, at 1849,
245 Agnes    Theresa   Bergin      George      R.           Bergin             United States   John          P.        Bergin                      Unknown      9/11/01    NY (Other)   03-cv-9849   8397-1, at 2, 8433   Parent       4126 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
246                                George      Michael      Bergin             United States   John          P.        Bergin                      Unknown      9/11/01    NY (Other)   03-cv-9849   26, 29, at 1851      Sibling      4126 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     305, at P4142,
                                                                                                                                                                                                     8393-1, at 30,
247                                Harris      I.           Bergsohn           United States   Alvin                   Bergsohn                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child        5848 at 3    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     77, at P2534,
248 Renee    Ann       Hoffman     Kenneth     Morris       Bergsohn           United States   Alvin                   Bergsohn                    United States 9/11/01   NY (WTC)     03-cv-9849   8397-1, at 2, 8433   Parent       3666 at 1    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     305, at P4142,
249                                Michele     Zapken       Bergsohn           United States   Alvin                   Bergsohn                    United States 9/11/01   NY (WTC)     03-cv-9849   8393-1, at 2, 8487   Spouse       5356 at 1    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     305, at P4142,
                                                                                                                                                                                                     8393-1, at 31,
250                                Samuel      Charles      Bergsohn           United States   Alvin                   Bergsohn                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child        5356 at 1    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616, 1,
251                                David       W.           Bernard      Jr.   United States   David         William   Bernard                     United States 12/11/01 NY (WTC)      03-cv-9849   at 855               Child        4023 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616, 1,
                                                                                                                                                                                                     at 856, 5284-1, at
252                                Mark        Andrew       Bernard            United States   David         William   Bernard                     United States 12/11/01 NY (WTC)      03-cv-9849   1, 5296              Child        4023 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616, 1,
                                                                                                                                                                                                     at 854, 5284-1, at
253                                Nancy       M.           Bernard            United States   David         William   Bernard                     United States 12/11/01 NY (WTC)      03-cv-9849   1, 5296              Spouse       5356 at 1    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                     1:02-cv-01616, 3,
254                                David       M.           Bernstein          United States   William       H.        Bernstein                   United States 9/11/01   NY (WTC)     03-cv-9849   at 914               Sibling      4023 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     1:02-cv-01616, 3,
                                                                                                                                                                                                     at 912, 8397-1, at
255 Robert   J.        Bernstein   Murray                   Bernstein          United States   William       H.        Bernstein                   United States 9/11/01   NY (WTC)     03-cv-9849   2, 8433              Parent       5138 at 3    $   8,500,000.00 $    25,500,000.00




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                                                                                                                                                                                                          1:02-cv-01616, 3,
                                                                                                                                                                                                          at 913, 8397-1, at
256 Robert      J.      Bernstein    Norma                     Bernstein          United States   William       H.         Bernstein                    United States 9/11/01   NY (WTC)     03-cv-9849   2, 8433              Parent    5138 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616, 3,
257                                  Robert        J.          Bernstein          Unknown         William       H.         Bernstein                    United States 9/11/01   NY (WTC)     03-cv-9849   at 911               Sibling   4023 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          8679-1, at 19,
258                                  Steven        A.          Bernstein          United States   William       H.         Bernstein                    United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   5087 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          232, at P3595,
                                                                                                                                                                                                          8393-1, at 41,
259                                  Evelyn                    Berry              United States   Joseph        John       Berry                        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5087 at 6    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
260                                  Joseph        Scott       Berry              United States   Joseph        John       Berry                        United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3596        Child     5062 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
261                                  Todd          Patrick     Berry              United States   Joseph        John       Berry                        United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3598        Child     5062 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
262 Eileen      M.      Bertorelli   Alice         M.          Bertorelli         United States   John          Marcy      Talignani                    United States 9/11/01   PA (UA93)    03-cv-9849   155, at P3114        Sibling   4023 at 24   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616, 3,
                                                                                                                                                                                                          at 917, 8393-1, at
263                                  Christine     Noel        Betterly           United States   Timothy       D.         Betterly                     United States 9/11/01   NY (WTC)     03-cv-9849   1327, 8487           Child     5061 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          8679-1, at 20,
264                                  Christopher   D.          Betterly           United States   Timothy       D.         Betterly                     United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   5087 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
265                                  Donald        Austin      Betterly     Jr.   Unknown         Timothy       D.         Betterly                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2662      Sibling   3666 at 1    $   4,250,000.00 $    12,750,000.00

                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          26, 29, at 2659,
266 Joan        Carol   Betterly     Donald        A.          Betterly           United States   Timothy       D.         Betterly                     United States 9/11/01   NY (WTC)     03-cv-9849   8397-1, at 2, 8433   Parent    5087 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
267                                  Joan          Carol       Betterly           Unknown         Timothy       D.         Betterly                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2660      Parent    3666 at 1    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616, 3,
268                                  Joanne        F.          Betterly           Unknown         Timothy       D.         Betterly                     United States 9/11/01   NY (WTC)     03-cv-9849   at 917               Spouse    5062 at 3    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
269                                  Mark          Christian   Betterly           Unknown         Timothy       D.         Betterly                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2661      Sibling   3666 at 1    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616, 3,
                                                                                                                                                                                                          at 917, 8393-1, at
270                                  Samantha      Rose        Betterly           United States   Timothy       D.         Betterly                     United States 9/11/01   NY (WTC)     03-cv-9849   1328, 8487           Child     5061 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                VA                        8679-1, at 168,
271                                  Michelle      Lynn        Bevevino           United States   Ronald        Franklin   Golinski                     United States 9/11/01   (Pentagon)   03-cv-9849   8696                 Child     515 at 4     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:03-md-01570,
272                                  Theresa       Lynne       Bevilacqua         United States   Stephen       F.         Masi                         United States 9/11/01   NY (WTC)     03-cv-9849   3477, at 2292        Child     5951 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:03-md-01570,
                                                                                                                                                                                                          432, at P5349,
                                                                                                                                                                                                          8393-1, at 73,
273                                  Maria         Luisa       Bey                United States   Ruben                    Esquilin           Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    4023 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
274                                  Indira                    Bhukhan            United States   Bella         J.         Bhukhan                      United States 9/11/01   NY (WTC)     03-cv-9849   232, at P4048        Parent    4023 at 5    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          232, at P4049,
275                                  Jagdish                   Bhukhan            United States   Bella         J.         Bhukhan                      United States 9/11/01   NY (WTC)     03-cv-9849   8393-1, at 5, 8487   Parent    4023 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
276                                  Kyle          Elizabeth   Bickford           United States   Dana          Rey        Hannon                       United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3361      Sibling   5848 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616, 3,
277                                  Cynthia       Rancke      Bienemann          United States   Alfred        Todd       Rancke                       Unknown      9/11/01    NY (WTC)     03-cv-9849   at 1564              Sibling   5087 at 17   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616, 1,
278                                  Irene         Alice       Bilcher            United States   Brian                    Bilcher                      United States 9/11/01   NY (Other)   03-cv-9849   at 73                Parent    4126 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616, 1,
                                                                                                                                                                                                          at 72, 8397-1, at
279 Irene       Alice   Bilcher      Miles         B.          Bilcher            United States   Brian                    Bilcher                      United States 9/11/01   NY (Other)   03-cv-9849   3, 8433              Parent    5138 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
280                                  Carolyn       Staub       Bilelis            United States   Craig         William    Staub                        United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4547        Sibling   4023 at 24   $   4,250,000.00 $    12,750,000.00
                                                                                  United                                                                                                                  1:02-cv-01616,
281                                  Patricia      Mary        Bingley            Kingdom         Kevin                    Dennis                       United States 9/11/01   NY (WTC)     03-cv-9849   155, at P2873        Parent    4023 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616, 3,
                                                                                                                                                                                                          at 919, 8397-1, at
282 Rosemarie           Corvino      Lillian                   Bini               United States   Carl                     Bini                         United States 9/11/01   NY (Other)   03-cv-9849   3, 8433              Parent    3666 at 2    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          26, 29, at 1857,
283 Rosemarie           Corvino      Raymond                   Bini               United States   Carl                     Bini                         United States 9/11/01   NY (Other)   03-cv-9849   8397-1, at 3, 8433   Parent    8310 at 4    $   8,500,000.00 $    25,500,000.00

284                                  Monique       Bottrill    Bird               United States   Joao          A.         Aguiar             Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8679-1, at 2, 8696   Sibling   5087 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                VA                        1:02-cv-01616, 1,
285                                  Basmattie                 Bishundat          United States   Kris          Romeo      Bishundat                    United States 9/11/01   (Pentagon)   03-cv-9849   at 81                Parent    4023 at 5    $   8,500,000.00 $    25,500,000.00




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                                                                                                                                                                         VA                        1:02-cv-01616, 1,
286                           Bhola       P.            Bishundat          United States   Kris           Romeo     Bishundat                    United States 9/11/01   (Pentagon)   03-cv-9849   at 83                Parent    4023 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
287                           Ashley      Goldflam      Bisman             United States   Jeffrey        Grant     Goldflam                     United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2613         Child     5087 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   8679-1, at 104,
288                           Laura       Denise        Bittel             United States   Bernard                  Favuzza                      United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Child     7188 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
289                           Diane       Wholey        Blackman           United States   Michael        T.        Wholey                       United States 9/11/01   NY (Other)   03-cv-9849   232, at P4027        Sibling   5062 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616,
290                           Hyacinth                  Blackman           United States   Albert         Balewa    Blackman           Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2676      Parent    4126 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:03-cv-9849,
                                                                                                                                                                                                   HAND FILED, at
                                                                                                                                                                                                   P5000, 8393-1, at
291                           Alexandra   Ann           Blackwell          United States   Christopher              Blackwell                    United States 9/11/01   NY (Other)   03-cv-9849   165, 8487            Child     5356 at 1    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:03-cv-9849,
                                                                                                                                                                                                   HAND FILED, at
                                                                                                                                                                                                   P5000, 8393-1, at
292                           Jane        Elizabeth     Blackwell          United States   Christopher              Blackwell                    United States 9/11/01   NY (Other)   03-cv-9849   10, 8487             Spouse    5061 at 3    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                   1:03-cv-9849,
                                                                                                                                                                                                   HAND FILED, at
                                                                                                                                                                                                   P5000, 8393-1, at
293                           Ryan        Christopher   Blackwell          United States   Christopher              Blackwell                    United States 9/11/01   NY (Other)   03-cv-9849   166, 8487            Child     5356 at 1    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:03-cv-9849,
                                                                                                                                                                                                   HAND FILED, at
                                                                                                                                                                                                   P5000, 8393-1, at
294                           Samantha    Lee           Blackwell          United States   Christopher              Blackwell                    United States 9/11/01   NY (Other)   03-cv-9849   164, 8487            Child     5356 at 1    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   313, at P4610,
                                                                                                                                                                                                   8393-1, at 79,
295                           Leslie      R.            Blair              Unknown         Susan          L.        Blair                        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Sibling   4023 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616,
296 Keith   Andrew   Blass    Barbara     Lynn          Blass              United States   Craig          Michael   Blass                        United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3600        Parent    4023 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
297                           Keith       Andrew        Blass              United States   Craig          Michael   Blass                        United States 9/11/01   NY (WTC)     03-cv-9849   313, at P4611        Sibling   4023 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616,
298                           Ira         Scott         Blau               United States   Rita                     Blau                         United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2691      Spouse    4023 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                   1:02-cv-01616, 3,
299                           Lucille     Ann           Bleimann           United States   Marianne                 Simone                       United States 9/11/01   NY (WTC)     03-cv-9849   at 1650              Sibling   4023 at 23   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616,
300                           Susan       Ruth          Blomberg           United States   Jonathan                 Uman                         United States 9/11/01   NY (Other)   03-cv-9849   432, at P4960        Parent    3666 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                         VA                        1:02-cv-01616,
301                           Angelia     Stallworth    Blunt              Unknown         Marsha                   Ratchford                    United States 9/11/01   (Pentagon)   03-cv-9849   26, 29, at 4223      Sibling   3382         $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   313, at P4612,
                                                                                                                                                                                                   8393-1, at 19,
                                                                                                                                                                                                   8487, 8397-1, at
302 Nancy   Lee      Mangum   Derrill     George        Bodley             United States   Deora          Frances   Bodley                       United States 9/11/01   PA (UA93)    03-cv-9849   3, 8433              Parent    8233 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
303                           Pamela      Morgan        Bogdanoff          United States   William        Edward    Spitz              Jr.       Unknown      9/11/01    NY (WTC)     03-cv-9849   305, at P4535        Child     5061 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
304                           Erin        Marie         Boland             United States   Vincent        M.        Boland             Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3602        Sibling   5848 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616,
305                           Gregory     Frank         Boland             United States   Vincent        M.        Boland             Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3603        Sibling   5848 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616,
306                           Joyce       Rosemary      Boland             United States   Vincent        M.        Boland             Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3604        Parent    5848 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   232, at P3605,
                                                                                                                                                                                                   8393-1, at 85,
307                           Vincent                   Boland       Sr.   United States   Vincent        M.        Boland             Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    5848 at 3    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   305, at AP251,
308                           Neda                      Bolourchi          United States   Touri          Hamzavi   Bolourchi                    Unknown      9/11/01    NY (UA175)   03-cv-9849   5284-1, at 1, 5296   Child     4023 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
309                           Joseph      Michael       Bondarenko         United States   Alan                     Bondarenko                   United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3606        Child     4023 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616, 1,
                                                                                                                                                                                                   at 815, 5284-1, at
310                           Julia       Ann           Bondarenko         United States   Alan                     Bondarenko                   United States 9/11/01   NY (WTC)     03-cv-9849   1, 5296              Spouse    5356 at 1    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
311                           William     Alan          Bondarenko         United States   Alan                     Bondarenko                   United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3607        Child     5356 at 1    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
312                           Michelle    Denise        Bonetti            United States   Jennifer       Lynn      Mazzotta                     United States 9/11/01   NY (WTC)     03-cv-9849   232, at P4070        Sibling   4023 at 18   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   232, at P3608,
                                                                                                                                                                                                   8393-1, at 33,
313                           Alysha      Audrey        Bonheur            United States   Andre                    Bonheur            Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5356 at 1    $   8,500,000.00 $    25,500,000.00



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                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                      232, at P3608,
                                                                                                                                                                                      8393-1, at 34,
314                   Marcus        Paul        Bonheur          United States   Andre                   Bonheur          Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5356 at 1    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                      232, at P3608,
315                   Roxane                    Bonheur          Haiti           Andre                   Bonheur          Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8393-1, at 3, 8487   Spouse    5356 at 1    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                      1:02-cv-01616, 1,
316                   Concetta                  Bonner           Unknown         Martin                  Giovinazzo                 United States 9/11/01   NY (WTC)     03-cv-9849   at 246               Sibling   3666 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                      1:02-cv-01616, 3,
317                   George        John        Bonomo           United States   Yvonne        L.        Bonomo                     United States 9/11/01   NY (WTC)     03-cv-9849   at 925               Sibling   5356 at 1    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                      1:02-cv-01616, 3,
318                   Sonia         Esperanza   Bonomo           United States   Yvonne        L.        Bonomo                     United States 9/11/01   NY (WTC)     03-cv-9849   at 924               Parent    7188 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                      8679-1, at 232,
319                   Kanhai                    Boodram          Guyana          Sarah                   Khan                       United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                      1:02-cv-01616, 3,
                                                                                                                                                                                      at 928, 8393-1, at
320                   Danielle      Marie       Booker           United States   Sean                    Booker                     United States 9/11/01   NY (WTC)     03-cv-9849   1205, 8487           Child     5087 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                      1:02-cv-01616, 3,
                                                                                                                                                                                      at 928, 8393-1, at
321                   Denzel        Cameron     Booker           United States   Sean                    Booker                     United States 9/11/01   NY (WTC)     03-cv-9849   1204, 8487           Child     5087 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                      1:02-cv-01616, 3,
322 Stacey   Booker   Rose          Ann         Booker           Unknown         Sean                    Booker                     United States 9/11/01   NY (WTC)     03-cv-9849   at 929               Parent    3666 at 2    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                      1:02-cv-01616, 3,
                                                                                                                                                                                      at 928, 8393-1, at
323                   Sean                      Booker     Jr.   United States   Sean                    Booker                     United States 9/11/01   NY (WTC)     03-cv-9849   1206, 8487           Child     5087 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                      1:02-cv-01616, 3,
324                   Sharon                    Booker           United States   Sean                    Booker                     United States 9/11/01   NY (WTC)     03-cv-9849   at 928               Spouse    5087 at 6    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                      8679-1, at 22,
325                   Matthew       H.          Booms            United States   Kelly         Ann       Booms                      United States 9/11/01   NY (AA11)    03-cv-9849   8696                 Sibling   5061 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                      1:03-cv-09849,
                                                                                                                                                                                      838, at 2; 8679-1,
326                   Nancy         Joan        Booms            United States   Kelly         Ann       Booms                      United States 9/11/01   NY (AA11)    03-cv-9849   at 21, 8696          Parent    4126 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                      432, at P4773,
                                                                                                                                                                                      8393-1, at 45,
327                   Richard       Lavern      Booms            United States   Kelly         Ann       Booms                      United States 9/11/01   NY (AA11)    03-cv-9849   8487                 Parent    4023 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                      8679-1, at 24,
328                   Richard       Lavern      Booms      Jr.   United States   Kelly         Ann       Booms                      United States 9/11/01   NY (AA11)    03-cv-9849   8696                 Sibling   5062 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                      8679-1, at 23,
329                   Thomas        Edward      Booms            United States   Kelly         Ann       Booms                      United States 9/11/01   NY (AA11)    03-cv-9849   8696                 Sibling   5061 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                            VA                        1:02-cv-01616,
330                   Andrew                    Boone            United States   Canfield      D.        Boone                      United States 9/11/01   (Pentagon)   03-cv-9849   155, at P2826        Child     5848 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                            VA                        1:02-cv-01616,
331                   Christopher   Adam        Boone            United States   Canfield      D.        Boone                      United States 9/11/01   (Pentagon)   03-cv-9849   155, at P2827        Child     5848 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                            VA                        1:02-cv-01616,
332                   Jason                     Boone            United States   Canfield      D.        Boone                      United States 9/11/01   (Pentagon)   03-cv-9849   155, at P2828        Child     5087 at 6    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                            VA                        155, at P2829,
333 Jason    Boone    Linda         Kay         Boone            United States   Canfield      D.        Boone                      United States 9/11/01   (Pentagon)   03-cv-9849   8397-1, at 3, 8433   Spouse    5138 at 3    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                      26, 29, at 2445,
                                                                                                                                                                                      5284-1, at 11,
334                   Janice        Lynne       Booth            United States   Kenneth       Warren    Van Auken                  United States 9/11/01   NY (WTC)     03-cv-9849   5296                 Sibling   3666 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                      1:02-cv-01616,
335                   Richard       Michael     Borquist         United States   Alison        M.        Wildman                    United States 9/11/01   NY (WTC)     03-cv-9849   155, at P3149        Sibling   4023 at 26   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                            VA                        1:02-cv-01616,
336                   Lillian                   Borrero          United States   Diana         B.        Padro                      United States 9/11/01   (Pentagon)   03-cv-9849   155, at P3058        Sibling   4126 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                      1:02-cv-01616,
337                   Jessica       Ramsaroop   Bors             Canada          Vishnoo                 Ramsaroop                  United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4496        Sibling   8238 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                      77, at P2538,
                                                                                                                                                                                      8393-1, at 18,
338                   Deborah       Ann         Borza            United States   Deora         Frances   Bodley                     United States 9/11/01   PA (UA93)    03-cv-9849   8487                 Parent    4023 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                      1:18-cv-11582, 1,
                                                                                                                                                                                      at 3; 8679-1, at
339                   Maureen       Frances     Bosco            Unknown         Richard       E.        Bosco                      United States 9/11/01   NY (WTC)     03-cv-9849   25, 8696             Parent    4880 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                      1:02-cv-01616,
340                   William       James       Bosco      Jr.   Unknown         Richard       E.        Bosco                      United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4775        Parent    3666 at 2    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                      1:02-cv-01616, 1,
341                   Marlyse       Salome      Bosley           United States   Jose                    Espinal                    Unknown      9/11/01    NY (Other)   03-cv-9849   at 193               Sibling   5062 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                      1:02-cv-01616,
342                   Frederick     Earl        Bouchard   Jr.   United States   Carol         Marie     Bouchard                   United States 9/11/01   NY (AA11)    03-cv-9849   26, 29, at 2700      Spouse    5061 at 3    $   12,500,000.00 $   37,500,000.00




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                                                                                                                                                                            1:02-cv-01616,
343   Corrine       Elizabeth   Bounty                  United States   Margaret      Mary     Conner                      United States 9/11/01   NY (WTC)    03-cv-9849   305, at P4196       Child     4023 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                            432, at P4794,
                                                                                                                                                                            8393-1, at 74,
344   Tracey        Clark       Bourke                  United States   Sarah         Miller   Clark                       United States 9/11/01   VA (AA77)   03-cv-9849   8487                Child     4023 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                            1:02-cv-01616,
345   Kathryn       C.          Bowden                  Unknown         Thomas        H.       Bowden            Jr.       United States 9/11/01   NY (WTC)    03-cv-9849   313, at P4615       Sibling   3387         $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                            1:02-cv-01616,
346   Matthew       A.          Bowden                  United States   Thomas        H.       Bowden            Jr.       United States 9/11/01   NY (WTC)    03-cv-9849   313, at P4613       Sibling   5969 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                            1:02-cv-01616,
347   Paul                      Bowden                  United States   Thomas        H.       Bowden            Jr.       United States 9/11/01   NY (WTC)    03-cv-9849   77, at P2539        Sibling   3387         $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                            1:02-cv-01616,
348   Sheilah       L.          Bowden                  Unknown         Thomas        H.       Bowden            Jr.       United States 9/11/01   NY (WTC)    03-cv-9849   313, at P4614       Parent    3387         $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                            1:02-cv-01616,
349   Thomas        H.          Bowden            Sr.   Unknown         Thomas        H.       Bowden            Jr.       United States 9/11/01   NY (WTC)    03-cv-9849   313, at P4613       Parent    3387         $   8,500,000.00 $    25,500,000.00
                                                        United                                                                                                              1:02-cv-01616, 3,
350   Orla          Mary        Bowie                   Kingdom         Martin        John     Coughlan                    United States 9/11/01   NY (WTC)    03-cv-9849   at 1025             Child     5061 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                            232, at P3672,
                                                                                                                                                                            8393-1, at 63,
351   Virginia      Marie       Bowrosen                United States   Paul                   DeCola                      United States 9/11/01   NY (WTC)    03-cv-9849   8487                Spouse    5061 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                            1:02-cv-01616,
352   Kevin         Lewis       Bowser                  United States   Kevin         Leah     Bowser                      United States 9/11/01   NY (WTC)    03-cv-9849   77, at P2540        Child     5087 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                            1:02-cv-01616,
353   Pharr         Ayn         Bowser                  United States   Kevin         Leah     Bowser                      United States 9/11/01   NY (WTC)    03-cv-9849   77, at P2541        Child     5087 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                            77, at P2542,
                                                                                                                                                                            8393-1, at 46,
354   Stephanie     Ayn         Bowser                  United States   Kevin         Leah     Bowser                      United States 9/11/01   NY (WTC)    03-cv-9849   8487                Spouse    5061 at 3    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                            1:02-cv-01616,
355   Bella                     Boyarsky                United States   Gennady                Boyarsky                    United States 9/11/01   NY (WTC)    03-cv-9849   26, 29, at 1862     Parent    3666 at 2    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                            1:02-cv-01616,
356   Vladimir                  Boyarsky                United States   Gennady                Boyarsky                    United States 9/11/01   NY (WTC)    03-cv-9849   26, 29, at 1861     Parent    3666 at 2    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                            1:02-cv-01616,
357   Miles         Travis      Boyd                    United States   Elizabeth              Holmes                      United States 9/11/01   NY (WTC)    03-cv-9849   26, 29, at 1228     Child     7188 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                            1:02-cv-01616,
358   Christopher   Jonathan    Braca                   United States   Alfred        J.       Braca                       United States 9/11/01   NY (WTC)    03-cv-9849   305, at P4147       Child     5976 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                            1:02-cv-01616,
359   David         John        Braca                   United States   Alfred        J.       Braca                       United States 9/11/01   NY (WTC)    03-cv-9849   305, at P4146       Child     4023 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                            1:02-cv-01616,
360   Edward        Patrick     Bracken                 Unknown         Lucy          A.       Fishman                     United States 9/11/01   NY (WTC)    03-cv-9849   313, at P4642       Sibling   3666 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                            1:03-md-01570,
361   Mary          Frances     Bracken                 United States   Lucy          A.       Fishman                     United States 9/11/01   NY (WTC)    03-cv-9849   432, at P5354       Parent    3666 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                            8679-1, at 124,
362   Bertha        Mary        Bracken-Gennaro         United States   Lucy          A.       Fishman                     United States 9/11/01   NY (WTC)    03-cv-9849   8696                Sibling   5087 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                            1:02-cv-01616,
363   Helen         O'Mahony    Bradley                 United States   Matthew       T.       O'Mahony                    Unknown      9/11/01    NY (WTC)    03-cv-9849   305, at P4452       Parent    4023 at 20   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                            1:02-cv-01616,
364   Jennifer      Anne        Brady                   United States   Michael       Grady    Jacobs                      United States 9/11/01   NY (WTC)    03-cv-9849   155, at P2954       Child     4023 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                            1:02-cv-01616,
365   Mary          Catherine   Brady                   United States   Michael       Grady    Jacobs                      United States 9/11/01   NY (WTC)    03-cv-9849   155, at P2955       Child     4023 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                            155, at P2956,
                                                                                                                                                                            8393-1, at 57,
366   Michael       John        Brady                   United States   Michael       Grady    Jacobs                      United States 9/11/01   NY (WTC)    03-cv-9849   8487                Child     4023 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                            8679-1, at 377,
367   Nancy                     Brady                   United States   Joseph                 Plumitallo                  United States 9/11/01   NY (WTC)    03-cv-9849   8696                Sibling   5087 at 16   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                            155, at P2957,
                                                                                                                                                                            8393-1, at 57,
368   Peter                     Brady                   United States   Michael       Grady    Jacobs                      United States 9/11/01   NY (WTC)    03-cv-9849   8487                Child     4023 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                            1:02-cv-01616, 3,
                                                                                                                                                                                                Fiancé
369   Susann        Carol       Brady                   United States   Gavin                  Cushny                      United States 9/11/01   NY (WTC)    03-cv-9849   at 934                        5951 at 7    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                            1:02-cv-01616, 1,
370   Nelly         Avramovna   Braginsky               United States   Alexander              Braginsky                   United States 9/11/01   NY (WTC)    03-cv-9849   at 92               Parent    4023 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                            1:02-cv-01616,
371   Diane                     Braitsch                United States   Joseph        B.       Vilardo                     Unknown      9/11/01    NY (WTC)    03-cv-9849   155, at P3137       Sibling   3666 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                            1:02-cv-01616,
372   Jason         Michael     Brandemarti             United States   Nicholas      W.       Brandemarti                 United States 9/11/01   NY (WTC)    03-cv-9849   313, at P4619       Sibling   5062 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                            1:02-cv-01616,
373   Nancy         Patricia    Brandemarti             United States   Nicholas      W.       Brandemarti                 United States 9/11/01   NY (WTC)    03-cv-9849   313, at P4618       Parent    4023 at 6    $   8,500,000.00 $    25,500,000.00




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                                                                                                                   EXHIBIT B-1
                                                                                                SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               313, at P4616,
                                                                                                                                                                                               8393-1, at 61,
374                      Nicholas      Michael    Brandemarti         United States   Nicholas       W.         Brandemarti                  United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    4023 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               432, at P4779,
                                                                                                                                                                                               8393-1, at 15,
375                      David         Benjamin   Brandhorst          United States   Daniel         Raymond    Brandhorst                   United States 9/11/01   NY (UA175)   03-cv-9849   8487                 Sibling   4023 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               305, at P4410,
                                                                                                                                                                                               8393-1, at 22,
376                      Susan         M.         Brannigan           United States   Edward                    Mazzella           Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     4023 at 18   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
377                      Christopher   B.         Bratton             United States   Michelle       Renee      Bratton                      United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3609        Sibling   6038 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               1:02-cv-01616,
378                      Mary          E.         Bratton             United States   Michelle       Renee      Bratton                      United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3611        Parent    6038 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               232, at P3612,
                                                                                                                                                                                               8393-1, at 60,
379                      William       Joseph     Bratton       Jr.   United States   Michelle       Renee      Bratton                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    6038 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               232, at P3614,
                                                                                                                                                                                               8393-1, at 24,
380                      Barbara       H.         Brennan             United States   Francis        H.         Brennan                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5087 at 6    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
381                      Brian         Thomas     Brennan             United States   Michael        Emmett     Brennan                      United States 9/11/01   NY (Other)   03-cv-9849   77, at P2545         Sibling   4023 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               1:02-cv-01616,
382                      James         John       Brennan             United States   Michael        Emmett     Brennan                      United States 9/11/01   NY (Other)   03-cv-9849   77, at P2546         Sibling   4023 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               77, at P2547,
                                                                                                                                                                                               8397-1, at 3,
                                                                                                                                                                                               8433, 8393-1, at
383 Mary Ann   Brennan   Michael       F.         Brennan             United States   Michael        Emmett     Brennan                      United States 9/11/01   NY (Other)   03-cv-9849   56, 8487             Parent    4126 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
384                      Veronica                 Brennan             United States   Michael        Emmett     Brennan                      United States 9/11/01   NY (Other)   03-cv-9849   77, at P2548         Sibling   4023 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               1:03-cv-9849,
                                                                                                                                                                                               HAND FILED, at
                                                                                                                                                                                               P5004, 8393-1, at
385                      Carol         A.         Brethel             United States   Daniel         J.         Brethel                      United States 9/11/01   NY (Other)   03-cv-9849   14, 8487             Spouse    5087 at 6    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                               1:03-cv-9849,
                                                                                                                                                                                               HAND FILED, at
                                                                                                                                                                                               P5004, 8393-1, at
386                      Meghan        J.         Brethel             United States   Daniel         J.         Brethel                      United States 9/11/01   NY (Other)   03-cv-9849   227, 8487            Child     5087 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
387                      Arina         Pebbles    Bridges             United States   Sharon                    Moore                        United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4899        Sibling   4023 at 19   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               1:02-cv-01616,
388                      Barbara       Anne       Bridges             United States   Sharon                    Moore                        United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4896        Parent    4023 at 19   $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               26, 29, at 1870,
389 Eva        Brisman   Gerard                   Brisman             United States   Mark                      Brisman                      United States 9/11/01   NY (WTC)     03-cv-9849   8397-1, at 3, 8433   Parent    4023 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
390                      Juliette                 Brisman             United States   Mark                      Brisman                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 1869      Spouse    5848 at 4    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
391                      Michelle      Ann        Brisman             United States   Mark                      Brisman                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 1872      Sibling   5062 at 3    $   4,250,000.00 $    12,750,000.00

                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               26, 29, at 1869,
392                      Rachael       Paulina    Brisman             Unknown         Mark                      Brisman                      United States 9/11/01   NY (WTC)     03-cv-9849   8466-1, at 2, 8487   Child     7188 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
393                      Steven        A.         Brisman             United States   Mark                      Brisman                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 1871      Sibling   5848 at 4    $   4,250,000.00 $    12,750,000.00

                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               26, 29, at 1869,
394                      William       Eli        Brisman             Unknown         Mark                      Brisman                      United States 9/11/01   NY (WTC)     03-cv-9849   8466-1, at 2, 8487   Child     7188 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616, 1,
                                                                                                                                                                                               at 846, 5284-1, at
395                      Lori          Stacey     Brody               United States   Scott          Mitchell   Schertzer                    United States 9/11/01   NY (WTC)     03-cv-9849   10, 5296             Sibling   3382         $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               8679-1, at 70,
396                      Christine                Brooks              United States   Kevin          M.         Cosgrove                     United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               1:03-cv-9849,
                                                                                                                                                                                               HAND FILED, at
                                                                                                                                                                                               P5006, 8393-1, at
397                      Bernard       Curtis     Brown               United States   Bernard        Curtis     Brown              II        United States 9/11/01   VA (AA77)    03-cv-9849   6, 8487              Parent    5062 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               8679-1, at 206,
398                      Debra         Lynn       Brown               United States   Michael        Robert     Horrocks                     United States 9/11/01   NY (UA175)   03-cv-9849   8696                 Sibling   7188 at 9    $   4,250,000.00 $    12,750,000.00



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                                                                                                                                                                                            1:02-cv-01616,
399                          Everton     James       Brown            United States   Lloyd                    Brown                      United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3615        Parent    4023 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                            432, at P4780,
                                                                                                                                                                                            8397-1, at 3,
                                                                                                                                                                                            8433, 8393-1, at
400 Erin   Marie   Gresham   Michael     Everett     Brown            United States   Patrick        J.        Brown                      United States 9/11/01   NY (Other)   03-cv-9849   62, 8487             Sibling   5061 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                            1:03-cv-9849,
                                                                                                                                                                                            HAND FILED, at
                                                                                                                                                                                            P5007, 8393-1, at
401                          Sinita      Carter      Brown            United States   Bernard        Curtis    Brown            II        United States 9/11/01   VA (AA77)    03-cv-9849   6, 8487              Parent    5062 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            1:02-cv-01616,
402                          Ann         Marie       Browne           United States   Francis        E.        Grogan                     Unknown      9/11/01    NY (UA175)   03-cv-9849   305, at P4302        Sibling   4023 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                            1:03-cv-09849,
                                                                                                                                                                                            838, at 3; 8679-1,
403                          Andrew      William     Brunn            United States   Andrew         C.        Brunn                      United States 9/11/01   NY (Other)   03-cv-9849   at 28, 8696          Parent    5062 at 3    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                            26, 29, at 2729,
404                          Sigalit                 Brunn            Israel          Andrew         C.        Brunn                      United States 9/11/01   NY (Other)   03-cv-9849   8393-1, at 3, 8487   Spouse    5087 at 6    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                            1:02-cv-01616,
405                          Stacy       Ann         Bruno            United States   Steven         Michael   Hagis                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2015      Sibling   4023 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                            26, 29, at 3782,
                                                                                                                                                                                            8393-1, at 615,
406                          Kate        Marie       Bryan            United States   John           K.        McAvoy                     United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5356 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            1:02-cv-01616,
407                          Charilyn    S.          Buchanan         United States   Brandon        J.        Buchanan                   United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3616        Parent    4023 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            8679-1, at 30,
408                          Kelsey      Coventry    Buchanan         United States   Brandon        J.        Buchanan                   United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   5087 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                            8679-1, at 29,
409                          Lindsay     S.          Buchanan         United States   Brandon        J.        Buchanan                   United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   5087 at 6    $   4,250,000.00 $    12,750,000.00

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                                                                                                                                                                                            232, at P3617,
410                          Ronald      Bruce       Buchanan         United States   Brandon        J.        Buchanan                   United States 9/11/01   NY (WTC)     03-cv-9849   8393-1, at 6, 8487   Parent    4023 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            1:02-cv-01616,
411                          Catherine   Morrison    Buck             Unknown         Gregory        Joseph    Buck                       United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2736      Spouse    5087 at 6    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                            1:02-cv-01616, 1,
412                          Eric        Ernst       Buck             United States   Gregory        Joseph    Buck                       United States 9/11/01   NY (Other)   03-cv-9849   at 96                Sibling   4023 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                            1:02-cv-01616, 1,
                                                                                                                                                                                            at 97, 8397-1, at
413 Eric   Ernst   Buck      Ernst       H.          Buck             United States   Gregory        Joseph    Buck                       United States 9/11/01   NY (Other)   03-cv-9849   3, 8433              Parent    5138 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            1:02-cv-01616, 1,
414                          Josephine               Buck             Italy           Gregory        Joseph    Buck                       United States 9/11/01   NY (Other)   03-cv-9849   at 98                Parent    4023 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            1:02-cv-01616, 3,
415                          John        C.          Buckley          United States   Dennis                   Buckley                    United States 9/11/01   NY (WTC)     03-cv-9849   at 938               Parent    4023 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            1:02-cv-01616, 3,
                                                                                                                                                                                            at 939, 8397-1, at
416 John   C.      Buckley   Kathleen    M.          Buckley          United States   Dennis                   Buckley                    United States 9/11/01   NY (WTC)     03-cv-9849   3, 8433              Parent    5062 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            1:02-cv-01616, 3,
417                          Kathleen    M.          Buckley          United States   Dennis                   Buckley                    United States 9/11/01   NY (WTC)     03-cv-9849   at 937               Spouse    5848 at 4    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                            1:02-cv-01616, 3,
                                                                                                                                                                                            at 937, 8393-1, at
418                          Mary        Kathleen    Buckley          United States   Dennis                   Buckley                    United States 9/11/01   NY (WTC)     03-cv-9849   279, 8487            Child     5848 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            1:02-cv-01616, 3,
                                                                                                                                                                                            at 937, 8393-1, at
419                          Megan       Elizabeth   Buckley          United States   Dennis                   Buckley                    United States 9/11/01   NY (WTC)     03-cv-9849   280, 8487            Child     5848 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            1:02-cv-01616, 3,
                                                                                                                                                                                            at 937, 8393-1, at
420                          Michele     Anne        Buckley          United States   Dennis                   Buckley                    United States 9/11/01   NY (WTC)     03-cv-9849   281, 8487            Child     5848 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            8679-1, at 231,
421                          Angad                   Budram           Guyana          Sarah                    Khan                       United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                            1:02-cv-01616,
422                          Frances     Marie       Bulaga           United States   John           E.        Bulaga           Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4152        Parent    4023 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            1:02-cv-01616,
423                          Gail        Marie       Bulaga           United States   John           E.        Bulaga           Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4153        Sibling   4023 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                            1:02-cv-01616,
424                          John        E.          Bulaga     Sr.   United States   John           E.        Bulaga           Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4151        Parent    4023 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                            305, at P4150,
                                                                                                                                                                                            8393-1, at 37,
425                          Michelle                Bulaga           United States   John           E.        Bulaga           Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    6035 at 4    $   12,500,000.00 $   37,500,000.00




                                                                                                                         Page 16 of 165
                                                                                   Case 1:03-md-01570-GBD-SN Document 9551-2 Filed 01/19/24 Page 17 of 165
                                                                                                                                      EXHIBIT B-1
                                                                                                                   SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                 232, at P3618,
                                                                                                                                                                                                                 8397-1, at 3,
                                                                                                                                                                                                                 8433, 8393-1, at
426 Susan                  Quigley      Aseneth                Bunin                     Unknown         Stephen                  Bunin                        United States 9/11/01   NY (WTC)     03-cv-9849   76, 8487             Spouse    5138 at 3    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                 1:03-md-01570,
427                                     Corinne    Loretta     Bunin                     United States   Stephen                  Bunin                        United States 9/11/01   NY (WTC)     03-cv-9849   602, at P5473        Parent    4126 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                 1:03-md-01570,
428                                     Kitty      Eileen      Bunin                     United States   Stephen                  Bunin                        United States 9/11/01   NY (WTC)     03-cv-9849   602, at P5474        Sibling   4023 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                 8679-1, at 448,
429                                     Lisa       S.          Burch                     United States   Andrew         Jay       Stern                        United States 9/11/01   NY (Other)   03-cv-9849   8696                 Sibling   5087 at 19   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                       VA                        1:02-cv-01616, 3,
430                                     Nancy      Ann         Burcham                   United States   Stephen        V.        Long                         United States 9/11/01   (Pentagon)   03-cv-9849   at 1365              Sibling   4023 at 17   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                 1:02-cv-01616,
431                                     Susan      Thorpe      Burghouwt                 Unknown         Eric           R.        Thorpe                       United States 9/11/01   NY (WTC)     03-cv-9849   155, at P3122        Sibling   3666 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                 1:02-cv-01616,
432                                     Alicia     Patricia    Burke                     United States   Matthew        J.        Burke                        United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3619        Parent    5062 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                 77, at P2549,
                                                                                                                                                                                                                 8393-1, at 87,
433                                     James      Martin      Burke                     United States   William        F.        Burke              Jr.       United States 9/11/01   NY (Other)   03-cv-9849   8487                 Sibling   4023 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                 232, at P3620,
                                                                                                                                                                                                                 8393-1, at 54,
434                                     John       Joseph      Burke                     United States   Matthew        J.        Burke                        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    5062 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                 8679-1, at 36,
435                                     John       Joseph      Burke               Jr.   United States   Matthew        J.        Burke                        United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   5087 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                 8679-1, at 34,
436                                     Kevin      Michael     Burke                     United States   Matthew        J.        Burke                        United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   5087 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                 8679-1, at 35,
437                                     Paul       Kevin       Burke                     United States   Matthew        J.        Burke                        United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   5087 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                 8679-1, at 33,
438                                     Terence    Patrick     Burke                     United States   Matthew        J.        Burke                        United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   5087 at 6    $   4,250,000.00 $    12,750,000.00

                                                                                                                                                                                                                 1:02-cv-01616,
                           McDavitt-                                                                                                                                                                             313, at P4624,
439 Diane                  Burlingame   Bradley    M.          Burlingame                United States   Charles        F.        Burlingame         III       United States 9/11/01   VA (AA77)    03-cv-9849   8397-1, at 4, 8433   Sibling   5087 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                 1:02-cv-01616,
440                                     Debra      Ann         Burlingame                United States   Charles        F.        Burlingame         III       United States 9/11/01   VA (AA77)    03-cv-9849   305, at P4156        Sibling   3666 at 2    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                 1:02-cv-01616,
441                                     Mark       Wayne       Burlingame                United States   Charles        F.        Burlingame         III       United States 9/11/01   VA (AA77)    03-cv-9849   305, at P4155        Sibling   5062 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                 1:02-cv-01616, 1,
                                                                                                                                                                                                                 at 8, 8393-1, at
442                                     Anna       Clare       Burnett                   United States   Thomas         E.        Burnett            Jr.       United States 9/11/01   PA (UA93)    03-cv-9849   1297, 8487           Child     5061 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                 1:02-cv-01616, 1,
443 Mary Margaret          Jurgens      Beverly                Burnett                   United States   Thomas         E.        Burnett            Jr.       United States 9/11/01   PA (UA93)    03-cv-9849   at 5                 Parent    3666 at 2    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                 1:02-cv-01616, 1,
                                                                                                                                                                                                                 at 8, 8393-1, at
444                                     Halley     Elizabeth   Burnett                   United States   Thomas         E.        Burnett            Jr.       United States 9/11/01   PA (UA93)    03-cv-9849   1298, 8487           Child     5061 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                 1:02-cv-01616, 1,
445 Mary Margaret          Jurgens      Thomas     Edward      Burnett             Sr.   United States   Thomas         E.        Burnett            Jr.       United States 9/11/01   PA (UA93)    03-cv-9849   at 4                 Parent    3666 at 2    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                 1:02-cv-01616, 3,
                                                                                                                                                                                                                 at 945, 8397-1, at
446 Michael         John   Burns        Agnes      Delores     Burns                     United States   Keith          James     Burns                        United States 9/11/01   NY (WTC)     03-cv-9849   4, 8433              Parent    3666 at 2    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                 1:02-cv-01616, 3,
                                                                                                                                                                                                                 at 944, 8397-1, at
447 Michael         John   Burns        Bernard    James       Burns                     Unknown         Keith          James     Burns                        United States 9/11/01   NY (WTC)     03-cv-9849   4, 8433              Parent    4126 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                 1:02-cv-01616,
448                                     Jennifer   C.          Burns                     United States   Keith          James     Burns                        United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2745      Spouse    5356 at 1    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                 1:02-cv-01616,
449                                     Kevin      Francis     Burns                     United States   Margaret       Mary      Conner                       United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4198        Sibling   3666 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                 1:02-cv-01616, 3,
450                                     Michael    John        Burns                     United States   Keith          James     Burns                        United States 9/11/01   NY (WTC)     03-cv-9849   at 946               Sibling   3666 at 2    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                 1:02-cv-01616,
451                                     Robert     Emmitt      Burns                     United States   Margaret       Mary      Conner                       United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4197        Sibling   3666 at 3    $   4,250,000.00 $    12,750,000.00

                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                 305, at P4200,
452 Kevin           M.     Burns        Francine               Burns-Christensen         United States   Margaret       Mary      Conner                       United States 9/11/01   NY (WTC)     03-cv-9849   8397-1, at 4, 8433   Sibling   4023 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                 1:02-cv-01616, 3,
453                                     Maureen                Burns-Dewland             United States   Keith          James     Burns                        United States 9/11/01   NY (WTC)     03-cv-9849   at 949               Sibling   3666 at 2    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                 1:02-cv-01616,
454                                     William    Francis     Burns-Lynch               United States   James          Francis   Lynch                        United States 9/11/01   NY (Other)   03-cv-9849   155, at P3006        Sibling   4023 at 17   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                 1:02-cv-01616, 3,
                                                                                                                                                                                                                 at 1796, 5284-1,
455                                     Alicia     Ruth        Bush                      United States   Jeffrey        M.        Chairnoff                    United States 9/11/01   NY (WTC)     03-cv-9849   at 2, 5296           Sibling   4023 at 7    $   4,250,000.00 $    12,750,000.00



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                                                                                                                                                                                                              1:02-cv-01616,
456                                  Jacqueline   Lee        Butt                     United States   Philip         Scott      Petti                       United States 9/11/01   NY (Other)   03-cv-9849   305, at P4489        Sibling   3666 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                              1:02-cv-01616, 3,
457                                  Vivian                  Byas                     United States   Elizabeth                 Holmes                      United States 9/11/01   NY (WTC)     03-cv-9849   at 1246              Sibling   5087 at 11   $   4,250,000.00 $    12,750,000.00

                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                              26, 29, at 2054,
458 Paulette             Byas        Walter                  Byas                     Unknown         Elizabeth                 Holmes                      United States 9/11/01   NY (WTC)     03-cv-9849   8397-1, at 4, 8433   Sibling   7188 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                              1:02-cv-01616,
459 Thomas     Michael   Byrne       Anne         P.         Byrne                    United States   Patrick        D.         Byrne                       United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2755      Parent    4023 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                              1:02-cv-01616, 3,
                                                                                                                                                                                                              at 712, 5284-1, at
460                                  Eileen       Mary       Byrne                    United States   Patrick        Aloysius   Hoey                        United States 9/11/01   NY (WTC)     03-cv-9849   6, 5296              Sibling   3666 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                              1:02-cv-01616, 1,
461                                  Eileen                  Byrne                    United States   John           Michael    Collins                     United States 9/11/01   NY (Other)   03-cv-9849   at 140               Sibling   4023 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                              1:02-cv-01616,
462                                  Francis      Xavier     Byrne                    United States   Patrick        D.         Byrne                       United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2758      Sibling   4023 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                              1:02-cv-01616,
463                                  Garrett      Charles    Byrne                    United States   Patrick        D.         Byrne                       United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2760      Sibling   4023 at 6    $   4,250,000.00 $    12,750,000.00

                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                              26, 29, at 2761,
464 Robert     Jude      Stone       Judith                  Byrne                    United States   Patrick        D.         Byrne                       United States 9/11/01   NY (Other)   03-cv-9849   8397-1, at 4, 8433   Sibling   4023 at 6    $   4,250,000.00 $    12,750,000.00

                                                                                                                                                                                                              1:02-cv-01616,
                         Byrne-                                                                                                                                                                               26, 29, at 2759,
465 Kasey      Leigh     Lowenthal   Robert       Guy        Byrne              Jr.   United States   Patrick        D.         Byrne                       United States 9/11/01   NY (Other)   03-cv-9849   8397-1, at 4, 8433   Sibling   4126 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                              26, 29, at 2754,
                                                                                                                                                                                                              8397-1, at 4,
                                                                                                                                                                                                              8433, 8393-1, at
466 Thomas     Michael   Byrne       Robert       Guy        Byrne              Sr.   United States   Patrick        D.         Byrne                       United States 9/11/01   NY (Other)   03-cv-9849   62, 8487             Parent    4126 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                              1:02-cv-01616,
467                                  Thomas       Michael    Byrne                    United States   Patrick        D.         Byrne                       United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2756      Sibling   4023 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                              1:02-cv-01616,
468                                  William      James      Byrne                    United States   Patrick        D.         Byrne                       United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2757      Sibling   5062 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                              1:02-cv-01616, 1,
                                                                                                                                                                                                              at 689, 8466-1, at
469                                  N.                      C.                       Unknown         Peter                     Chirchirillo                United States 9/11/01   NY (WTC)     03-cv-9849   1, 8487              Child     3382         $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                              305, at P4176,
                                                                                                                                                                                                              8393-1, at 65,
470                                  Marmily      Florence   Cabrera                  United States   Pedro                     Checo                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5138 at 3    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                              8679-1, at 38,
471                                  Albert       E.         Caggiano           Jr.   United States   Richard        M.         Caggiano                    United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Parent    5087 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                              8679-1, at 37,
472                                  Michael      Albert     Caggiano                 United States   Richard        M.         Caggiano                    United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   5087 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                              77, at P2550,
                                                                                                                                                                                                              8393-1, at 68,
473                                  Veronica                Caggiano                 United States   Richard        M.         Caggiano                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    4023 at 6    $   8,500,000.00 $    25,500,000.00

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                                                                                                                                                                                                              232, at AP231,
474                                  Antonio      Marella    Caguicla                 Philippines     Cecile         Marella    Caguicla                    United States 9/11/01   NY (WTC)     03-cv-9849   5284-1, at 2, 5296   Sibling   4023 at 6    $   4,250,000.00 $    12,750,000.00

                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                              232, at AP229,
475                                  Asuncion     Chona      Caguicla Soriano         Philippines     Cecile         Marella    Caguicla                    United States 9/11/01   NY (WTC)     03-cv-9849   5284-1, at 2, 5296   Sibling   4126 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                              1:03-md-01570,
                                                                                                                                                                                                              432, at P5327,
                                                                                                                                                                                                              8393-1, at 55,
476                                  Colleen      Casey      Cahill                   United States   Michael                   Cahill                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5848 at 4    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                              1:03-md-01570,
                                                                                                                                                                                                              432, at P5327,
                                                                                                                                                                                                              8393-1, at 896,
477                                  Conor        Michael    Cahill                   United States   Michael                   Cahill                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5848 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                              1:03-md-01570,
478                                  Evelyn       Mary       Cahill                   United States   Michael                   Cahill                      United States 9/11/01   NY (WTC)     03-cv-9849   432, at P5329        Parent    3666 at 2    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                              1:03-md-01570,
                                                                                                                                                                                                              432, at P5327,
                                                                                                                                                                                                              8393-1, at 895,
479                                  Fiona                   Cahill                   United States   Michael                   Cahill                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5848 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                              1:03-md-01570,
480                                  James        Edward     Cahill                   United States   Michael                   Cahill                      United States 9/11/01   NY (WTC)     03-cv-9849   432, at P5328        Parent    3666 at 2    $   8,500,000.00 $    25,500,000.00




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                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                 155, at P2836,
                                                                                                                                                                                                                 8393-1, at 36,
481                                      Sharon                    Cahill                  United States   John          B.        Cahill                      United States 9/11/01   NY (UA175)   03-cv-9849   8487                 Spouse    5087 at 6    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                 1:02-cv-01616,
482                                      Lorraine                  Caiazzo                 United States   Joseph                  Roberto                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4277      Sibling   3666 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                 1:03-cv-09849,
                                                                                                                                                                                                                 838, at 5; 8679-1,
483                                      Daniel        Aloysius    Cain              III   United States   George        C.        Cain                        United States 9/11/01   NY (Other)   03-cv-9849   at 41, 8696          Sibling   7188 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                 1:03-cv-09849,
                                                                                                                                                                                                                 838, at 4; 8679-1,
484                                      Erin          Mary        Cain                    United States   George        C.        Cain                        United States 9/11/01   NY (Other)   03-cv-9849   at 40, 8696          Sibling   5062 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                 1:02-cv-01616,
485                                      Rosemary                  Cain                    United States   George        C.        Cain                        United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2773      Parent    4023 at 6    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                 26, 29, at 2466,
486                                      Deborah                   Calandrillo             United States   Joseph        M.        Calandrillo                 United States 9/11/01   NY (WTC)     03-cv-9849   5284-1, at 2, 5296   Spouse    5061 at 3    $   12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                 26, 29, at 3387,
487 Maria    Ann       Galea             Andrea                    Caldarella              United States   Frances                 Haros                       United States 9/11/01   NY (WTC)     03-cv-9849   8397-1, at 4, 8433   Child     5138 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                 1:03-cv-9849,
                                                                                                                                                                                                                 HAND FILED, at
                                                                                                                                   Calderon-                                           VA                        P5012, 8393-1, at
488                                      Gloria        Esperanza   Calderon Garcia         Guatemala       Jose          Orlando   Olmedo                      United States 9/11/01   (Pentagon)   03-cv-9849   40, 8487             Spouse    5356 at 2    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                 1:03-cv-9849,
                                                                                                                                                                                                                 HAND FILED, at
                                                                                                                                   Calderon-                                           VA                        P5012, 8393-1, at
489                                      Vanessa       Aracely     Calderon Garcia         United States   Jose          Orlando   Olmedo                      United States 9/11/01   (Pentagon)   03-cv-9849   649, 8487            Child     5356 at 1    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                 232, at P4083,
490                                      Danica        Taylor      Calderone               United States   Adam          Keith     Ruhalter                    United States 9/11/01   NY (WTC)     03-cv-9849   8393-1, at 5, 8487   Child     5138 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                 1:03-cv-9849,
                                                                                                                                                                                                                 HAND FILED, at
                                                                                                                                   Calderon-                                           VA                        P5012, 8393-1, at
491                                      Jose          Orlando     Calderon-Garcia         United States   Jose          Orlando   Olmedo                      United States 9/11/01   (Pentagon)   03-cv-9849   650, 8487            Child     5356 at 1    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                       VA                        1:02-cv-01616,
492                                      Darlene       Bonita      Caldwell                United States   Janice        Marie     Scott                       United States 9/11/01   (Pentagon)   03-cv-9849   305, at P4521        Sibling   3666 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                 77, at P2554,
                                                                                                                                                                                                                 8393-1, at 790,
493                                      Brian         J.          Callahan                United States   Liam                    Callahan                    United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5848 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                 8679-1, at 481,
494                                      Edward        Joseph      Callahan          II    United States   Michael       A.        Uliano                      United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   515 at 5     $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                 1:02-cv-01616,
495                                      Ellen         Elizabeth   Callahan                United States   Liam                    Callahan                    United States 9/11/01   NY (Other)   03-cv-9849   77, at P2552         Child     5848 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                 8679-1, at 473,
496                                      Gail          Marie       Callahan                United States   Michael       A.        Uliano                      United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Parent    5848 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                 1:02-cv-01616,
497                                      James         J.          Callahan                United States   Liam                    Callahan                    United States 9/11/01   NY (Other)   03-cv-9849   77, at P2553         Child     5848 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                 77, at P2554,
                                                                                                                                                                                                                 8393-1, at 49,
498                                      Joan          E.          Callahan                United States   Liam                    Callahan                    United States 9/11/01   NY (Other)   03-cv-9849   8487                 Spouse    5848 at 4    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                 1:02-cv-01616,
499                                      Patricia                  Caloia                  United States   Denis                   Lavelle                     United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4880        Sibling   3382         $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                 1:02-cv-01616,
500                                      Christina                 Cambeis                 United States   Alfred        J.        Braca                       United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4149        Child     4023 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                 8679-1, at 513,
501                                      Debra         Ann         Cameron                 United States   James         Patrick   White                       United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   5356 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                 1:02-cv-01616, 3,
502                                      Joseph        Michael     Cammarata         Sr.   United States   Michael       F.        Cammarata                   United States 9/11/01   NY (WTC)     03-cv-9849   at 955               Parent    5061 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                 1:02-cv-01616, 3,
503                                      Joseph        Michael     Cammarata               United States   Michael       F.        Cammarata                   United States 9/11/01   NY (WTC)     03-cv-9849   at 958               Sibling   5061 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                 1:02-cv-01616, 3,
504                                      Kimberly      Dawn        Cammarata               United States   Michael       F.        Cammarata                   United States 9/11/01   NY (WTC)     03-cv-9849   at 959               Sibling   5061 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                 1:02-cv-01616, 3,
                                                                                                                                                                                                                 at 956, 8397-1, at
505 Joseph   Michael   Cammarata   Sr.   Linda         Alice       Cammarata               Unknown         Michael       F.        Cammarata                   United States 9/11/01   NY (WTC)     03-cv-9849   4, 8433              Parent    5138 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                 8679-1, at 43,
506                                      Christopher   Randolph    Campbell                United States   David         Otey      Campbell                    United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Child     5356 at 2    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                 1:02-cv-01616, 3,
507                                      Cynthia       J.          Campbell                United States   David         Otey      Campbell                    United States 9/11/01   NY (WTC)     03-cv-9849   at 962               Spouse    5356 at 2    $   12,500,000.00 $   37,500,000.00




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                                                                                                                            EXHIBIT B-1
                                                                                                         SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                                       1:02-cv-01616, 1,
                                                                                                                                                                                                       at 103, 8393-1, at
508                                   Jacob       Joseph     Campbell           United States   Jill          Marie     Campbell                     United States 9/11/01   NY (WTC)     03-cv-9849   562, 8487            Child     7188 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616, 3,
                                                                                                                                                                                                       at 962, 8393-1, at
509                                   Timothy     William    Campbell           United States   David         Otey      Campbell                     United States 9/11/01   NY (WTC)     03-cv-9849   261, 8487            Child     5356 at 2    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616, 1,
510                                   Ciaran      Robert     Canavan            United States   Sean          Thomas    Canavan                      United States 9/11/01   NY (WTC)     03-cv-9849   at 114               Sibling   4023 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:02-cv-01616, 1,
511                                   Kathleen    A.         Canavan            United States   Sean          Thomas    Canavan                      United States 9/11/01   NY (WTC)     03-cv-9849   at 113               Sibling   4126 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:02-cv-01616, 1,
512                                   Margaret    Rose       Canavan            United States   Sean          Thomas    Canavan                      United States 9/11/01   NY (WTC)     03-cv-9849   at 109               Parent    4023 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616, 1,
                                                                                                                                                                                                       at 110, 8397-1, at
513 Margaret   Rose      Canavan      Thomas      Kieran     Canavan            Ireland         Sean          Thomas    Canavan                      United States 9/11/01   NY (WTC)     03-cv-9849   4, 8433              Parent    4023 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
514                                   Susan       Rochelle   Caneso             United States   John          Aaron     Hofer                        United States 9/11/01   NY (AA11)    03-cv-9849   305, at P4329        Sibling   4023 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:02-cv-01616, 3,
515                                   Helen       Jeffrey    Cangialosi         United States   Stephen       Jeffrey   Cangialosi                   United States 9/11/01   NY (WTC)     03-cv-9849   at 967               Parent    5087 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616, 3,
                                                                                                                                                                                                       at 965, 8393-1, at
516                                   Jeffrey     S.         Cangialosi         United States   Stephen       Jeffrey   Cangialosi                   United States 9/11/01   NY (WTC)     03-cv-9849   1240, 8487           Child     5061 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616, 3,
517                                   Karen       D.         Cangialosi         United States   Stephen       Jeffrey   Cangialosi                   United States 9/11/01   NY (WTC)     03-cv-9849   at 965               Spouse    5061 at 4    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                       1:02-cv-01616, 3,
                                                                                                                                                                                                       at 965, 8393-1, at
518                                   Peter       Thomas     Cangialosi         United States   Stephen       Jeffrey   Cangialosi                   United States 9/11/01   NY (WTC)     03-cv-9849   1241, 8487           Child     5061 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616, 3,
519                                   Thomas      Jerome     Cangialosi   Jr.   Unknown         Stephen       Jeffrey   Cangialosi                   United States 9/11/01   NY (WTC)     03-cv-9849   at 968               Sibling   3666 at 2    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:02-cv-01616, 3,
520                                   Thomas      Jerome     Cangialosi   Sr.   United States   Stephen       Jeffrey   Cangialosi                   United States 9/11/01   NY (WTC)     03-cv-9849   at 966               Parent    5087 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
521                                   Geraldine              Canillas           United States   Anthony                 Luparello                    United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3798        Child     4023 at 17   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
522                                   Richard                Cannava            United States   Lisa                    Cannava                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2786      Spouse    5356 at 2    $   12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                       432, at P4785,
523 Simone               Cannizzaro   Carol       A.         Cannizzaro         United States   Brian                   Cannizzaro                   United States 9/11/01   NY (Other)   03-cv-9849   8397-1, at 4, 8433   Parent    5061 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
524                                   Charles                Cannizzaro         United States   Brian                   Cannizzaro                   United States 9/11/01   NY (Other)   03-cv-9849   232, at P3621        Sibling   5138 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:02-cv-01616,
525                                   Craig       Michael    Cannizzaro         Unknown         Brian                   Cannizzaro                   United States 9/11/01   NY (Other)   03-cv-9849   432, at P4786        Sibling   3666 at 2    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:02-cv-01616,
526                                   Simone                 Cannizzaro         United States   Brian                   Cannizzaro                   United States 9/11/01   NY (Other)   03-cv-9849   432, at P4784        Parent    3666 at 2    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                       155, at P2837,
                                                                                                                                                                                                       8393-1, at 59,
527 Peter      Matthew   Canty        Edward      J.         Canty              United States   Michael       R.        Canty                        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    5062 at 3    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                       155, at P2838,
528 Kristin    M.        Canty        James       E.         Canty              United States   Michael       R.        Canty                        United States 9/11/01   NY (WTC)     03-cv-9849   8397-1, at 4, 8433   Sibling   5138 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:02-cv-01616,
529                                   John        William    Canty              United States   Michael       R.        Canty                        United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3622        Sibling   5062 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:02-cv-01616,
530 Peter      Matthew   Canty        Kathryn     Frey       Canty              United States   Michael       R.        Canty                        United States 9/11/01   NY (WTC)     03-cv-9849   155, at P2839        Parent    5062 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
531                                   Mary        Kathryn    Canty              United States   Michael       R.        Canty                        United States 9/11/01   NY (WTC)     03-cv-9849   155, at P2840        Sibling   5062 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:02-cv-01616,
532                                   Peter       Matthew    Canty              United States   Michael       R.        Canty                        United States 9/11/01   NY (WTC)     03-cv-9849   155, at P2841        Sibling   5062 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:02-cv-01616,
533                                   Thomas      Patrick    Canty              United States   Michael       R.        Canty                        United States 9/11/01   NY (WTC)     03-cv-9849   155, at P2842        Sibling   5062 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:02-cv-01616,
534                                   Timothy     Martin     Canty              United States   Michael       R.        Canty                        United States 9/11/01   NY (WTC)     03-cv-9849   155, at P2843        Sibling   5062 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:02-cv-01616,
535                                   William     J.         Canty              United States   Michael       R.        Canty                        United States 9/11/01   NY (WTC)     03-cv-9849   155, at P2844        Sibling   4023 at 7    $   4,250,000.00 $    12,750,000.00

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                                                                                                                                                                                                       26, 29, at 1839,
536 Rufina     Capito    Coquia       Narcisa     Gemino     Capito             United States   Marlyn        Capito    Bautista                     United States 9/11/01   NY (WTC)     03-cv-9849   8397-1, at 5, 8433   Parent    7188 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616, 3,
537                                   Frank       Louis      Caporicci          United States   Louis         A.        Caporicci                    Unknown      9/11/01    NY (WTC)     03-cv-9849   at 976               Sibling   3666 at 2    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:02-cv-01616, 3,
538                                   Joseph      Anthony    Caporicci          United States   Louis         A.        Caporicci                    Unknown      9/11/01    NY (WTC)     03-cv-9849   at 975               Sibling   3666 at 2    $   4,250,000.00 $    12,750,000.00




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                                                                                                                                                                                                            1:02-cv-01616, 3,
539                                  Nicholas      Francis       Caporicci          United States   Louis         A.         Caporicci                    Unknown      9/11/01    NY (WTC)     03-cv-9849   at 972               Parent       3666 at 2    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:02-cv-01616, 3,
540                                  Nicholas      Francis       Caporicci    Jr.   United States   Louis         A.         Caporicci                    Unknown      9/11/01    NY (WTC)     03-cv-9849   at 974               Sibling      3666 at 2    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            1:02-cv-01616, 3,
                                                                                                                                                                                                            at 973, 8397-1, at
541 Nicholas   Francis   Caporicci   Patricia      Ann           Caporicci          United States   Louis         A.         Caporicci                    Unknown      9/11/01    NY (WTC)     03-cv-9849   5, 8433              Parent       3666 at 2    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:02-cv-01616,
542                                  Claudia       Marie         Cappello           United States   Jonathan                 Cappello                     United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3623        Parent       4023 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:02-cv-01616,
543                                  James         Matthew       Cappello           United States   Jonathan                 Cappello                     United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3624        Sibling      7188 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                            232, at P3625,
                                                                                                                                                                                                            8393-1, at 40,
544                                  Robert        Emanuel       Cappello     Sr.   United States   Jonathan                 Cappello                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent       4023 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:02-cv-01616,
545                                  Robert        Emanuel       Cappello     Jr.   United States   Jonathan                 Cappello                     United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3626        Sibling      4023 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            1:02-cv-01616,
546                                  Christine     Marie         Caputo             United States   Thomas        P.         DeAngelis                    United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 1935      Child        4126 at 4    $   8,500,000.00 $    25,500,000.00

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                                                                                                                                                                                                            26, 29, at 3472,
547 John                 Shanley     Fay                         Caputo             United States   Steven        Leon       Howell                       United States 9/11/01   NY (WTC)     03-cv-9849   8397-1, at 5, 8433   Parent       4023 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:02-cv-01616, 3,
548                                  Lisa          Ann           Cardinali          United States   Marianne                 Simone                       United States 9/11/01   NY (WTC)     03-cv-9849   at 1648              Child        4023 at 23   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:02-cv-01616,
549                                  Patricia      Ann           Cardona            United States   Christopher   A.         Santora                      United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4360      Sibling      4023 at 23   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            1:02-cv-01616,
550                                  Dennis        M.            Carey        Jr.   Unknown         Dennis        M.         Carey                        United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2800      Child        5087 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                            26, 29, at 2799,
                                                                                                                                                                                                            8393-1, at 18,
551                                  Jean                        Carey              United States   Dennis        M.         Carey                        United States 9/11/01   NY (Other)   03-cv-9849   8487                 Spouse       5087 at 6    $   12,500,000.00 $   37,500,000.00

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                                                                                                                                                                                                            26, 29, at 2806,
552 Lawrence             Barry       Phyllis                     Carlo              United States   Michael       Scott      Carlo                        United States 9/11/01   NY (Other)   03-cv-9849   8397-1, at 5, 8433   Parent       4023 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:02-cv-01616,
553 Joni       Jane      Carlo       Robert        D.            Carlo              United States   Michael       Scott      Carlo                        United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2805      Parent       4023 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:02-cv-01616,
554                                  Robert        E.            Carlo              United States   Michael       Scott      Carlo                        United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2804      Sibling      7188 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            8679-1, at 261,
555                                  Cindy         Lou           Carlson            United States   Maclovio                 Lopez              Jr.       United States 9/11/01   NY (UA175)   03-cv-9849   8696                 Sibling      5848 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            1:02-cv-01616,
556                                  Helen         Olga          Carlucci           United States   James         N.         Pappageorge                  United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4109      Sibling      5848 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            8679-1, at 367,
557                                  Marianne      Katherine     Carpenter          United States   Edward        J.         Papa                         United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling      7188 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            1:02-cv-01616,
558                                  Kathlyn       Mae           Carriker           United States   Steven        George     Weinstein                    United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4679      Spouse       5848 at 11   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                            8679-1, at 44,
559                                  Jan           Mikael        Carstanjen         United States   Christoffer   Mikael     Carstanjen                   United States 9/11/01   NY (UA175)   03-cv-9849   8696                 Sibling      5087 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                            305, at
                                                                                                                                                                                                            P4160,8393-1, at
560                                  Mikael        Christoffer   Carstanjen         United States   Christoffer   Mikael     Carstanjen                   United States 9/11/01   NY (UA175)   03-cv-9849   10, 8487             Parent       4023 at 7    $   8,500,000.00 $    25,500,000.00

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                                                                                                                                                          United                                            26, 29, at 4782,
561                                  Abigail       Jane          Carter             United States   Caleb         Arron      Dack                         Kingdom      9/11/01    NY (WTC)     03-cv-9849   5284-1, at 3, 5296   Spouse       5356 at 2    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                            1:03-cv-9849,
                                                                                                                                                                                                            HAND FILED, at
                                                                                                                                                                                                            P5061, 8397-1, at
562 Rosa       Lee       Carter      Annie Marie   Jones         Carter             United States   Virginia      E.         Fox                          United States 9/11/01   NY (WTC)     03-cv-9849   5, 8433              Sibling      4023 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            1:02-cv-01616, 1,
                                                                                                                                                                                  VA                        at 314, 8393-1, at
563                                  Cassandra     Lee           Carter             United States   Dennis        Michael    Johnson                      United States 9/11/01   (Pentagon)   03-cv-9849   287, 8487            Child        5061 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                    United States   Ronald        Franklin   Golinski                                             VA                        8679-1, at 170,
564                                  Paula         Mary          Carucci                                                                                  United States 9/11/01   (Pentagon)   03-cv-9849   8696                 Step-Child   5949 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                  VA                        1:02-cv-01616,
565                                  Arthur        O.            Carver             Unknown         Sharon        Ann        Carver                       United States 9/11/01   (Pentagon)   03-cv-9849   305, at P4162        Sibling      4023 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                  VA                        1:02-cv-01616,
566                                  Janet                       Carver             Unknown         Sharon        Ann        Carver                       United States 9/11/01   (Pentagon)   03-cv-9849   305, at P4166        Sibling      4023 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                  VA                        1:02-cv-01616,
567                                  Reginald                    Carver             Unknown         Sharon        Ann        Carver                       United States 9/11/01   (Pentagon)   03-cv-9849   305, at P4164        Sibling      4023 at 7    $   4,250,000.00 $    12,750,000.00




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                                                                                                                         EXHIBIT B-1
                                                                                                      SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     305, at P4161,
                                                                                                                                                                           VA                        8393-1, at 75,
568                              Sylvia      Annette     Carver             Unknown         Sharon         Ann         Carver                      United States 9/11/01   (Pentagon)   03-cv-9849   8487                 Sibling   4023 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                           VA                        1:02-cv-01616,
569                              Veronica                Carver             Unknown         Sharon         Ann         Carver                      United States 9/11/01   (Pentagon)   03-cv-9849   305, at P4170        Sibling   4023 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     1:02-cv-01616, 1,
                                                                                                                                                                                                     at 767, 8393-1, at
570                              John        F.          Casazza            United States   John           Francis     Casazza                     United States 9/11/01   NY (WTC)     03-cv-9849   601, 8487            Child     4023 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616, 1,
                                                                                                                                                                                                     at 767, 5284-1, at
571                              Patricia    D.          Casazza            United States   John           Francis     Casazza                     United States 9/11/01   NY (WTC)     03-cv-9849   2, 5296              Spouse    4023 at 7    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     313, at P4625,
                                                                                                           Anne                                                                                      8393-1, at 61,
572                              Michael     W.          Casey              United States   Neilie         Heffernan   Casey                       United States 9/11/01   NY (AA11)    03-cv-9849   8487                 Spouse    5848 at 4    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     313, at P4625,
                                                                                                           Anne                                                                                      8393-1, at 983,
573                              Riley       Eileen      Casey              Unknown         Neilie         Heffernan   Casey                       United States 9/11/01   NY (AA11)    03-cv-9849   8487                 Child     5848 at 4    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     26, 29, at 4816,
574                              Jessica                 Cashman            United States   Jeffrey        L.          Fox                         United States 9/11/01   NY (WTC)     03-cv-9849   5284-1, at 5, 5296   Child     5138 at 4    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     26, 29, at 2817,
575 Maureen             Keefe    Margaret    Ann         Cashman            United States   William        Joseph      Cashman                     United States 9/11/01   PA (UA93)    03-cv-9849   8397-1, at 5, 8433   Spouse    5087 at 6    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                     1:02-cv-01616, 1,
                                                                                                                                                                                                     at 860, 8397-1, at
576 Janice    Lucille   Kurtz    Charles     L.          Caspar       Jr.   United States   William        Otto        Caspar                      United States 9/11/01   NY (WTC)     03-cv-9849   5, 8433              Sibling   5062 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     1:02-cv-01616, 1,
                                                                                                                                                                                                     at 861, 8397-1, at
577 Janice    Lucille   Kurtz    Madeline    Agnes       Caspar             United States   William        Otto        Caspar                      United States 9/11/01   NY (WTC)     03-cv-9849   5, 8433              Parent    5062 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     155, at P3090,
                                                                                                                                                                                                     8393-1, at 33,
578                              Diane       Elizabeth   Cass               United States   Jeff           L.          Simpson                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5848 at 10   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
579                              Elizabeth   R.          Castellano         United States   Joseph         P.          Anchundia                   United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3583        Sibling   4023 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     1:02-cv-01616,
580                              Lynn        M.          Castrianno         United States   Leonard        M.          Castrianno                  Unknown      9/11/01    NY (WTC)     03-cv-9849   77, at P2556         Sibling   5062 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     77, at P2705,
                                                                                                                                                                                                     8393-1, at 71,
581                              Lorraine                Catalano           United States   Robert         W.          Spear             Jr.       United States 9/11/01   NY (Other)   03-cv-9849   8487                 Spouse    5087 at 18   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                     8679-1, at 174,
582                              Barbara     Vaughn      Catuzzi            United States   Lauren         C.          Grandcolas                  United States 9/11/01   PA (UA93)    03-cv-9849   8696                 Parent    7188 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     8679-1, at 176,
583                              Lawrence    Richard     Catuzzi            United States   Lauren         C.          Grandcolas                  United States 9/11/01   PA (UA93)    03-cv-9849   8696                 Parent    7188 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
584                              Cathy       Marie       Cava               United States   Grace          Catherine   Galante                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3224      Sibling   3666 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     1:02-cv-01616,
585                              Andrew      Scott       Cavalier           United States   Judson                     Cavalier                    United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4174        Sibling   4023 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     1:02-cv-01616,
586                              Bradford    Gerard      Cavalier           United States   Judson                     Cavalier                    United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4175        Sibling   4023 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     305, at P4172,
                                                                                                                                                                                                     8393-1, at 44,
587                              Gerard      Charles     Cavalier     Jr.   United States   Judson                     Cavalier                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    4023 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
588                              Linda       Alicia      Cavalier           United States   Judson                     Cavalier                    United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4173        Parent    4023 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
589                              Michele                 Caviasco           United States   Jean           C.          Depalma                     Unknown      9/11/01    NY (WTC)     03-cv-9849   305, at P4226        Sibling   4023 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     1:02-cv-01616,
590                              Brendan     K.          Cawley             United States   Michael        Joseph      Cawley                      United States 9/11/01   NY (Other)   03-cv-9849   77, at P2557         Sibling   4023 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     26, 29, at 2823,
                                                                                                                                                                                                     8393-1, at 58,
591 Brendan   K.        Cawley   John        J.          Cawley             United States   Michael        Joseph      Cawley                      United States 9/11/01   NY (Other)   03-cv-9849   8487                 Parent    4023 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
592                              Kristin     Anne        Cawley             United States   Michael        Joseph      Cawley                      United States 9/11/01   NY (Other)   03-cv-9849   77, at P2558         Sibling   4023 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     1:02-cv-01616,
593                              Margaret    M.          Cawley             United States   Michael        Joseph      Cawley                      United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2824      Parent    4023 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616, 1,
594                              Jordan                  Cayne              United States   Jason          David       Cayne                       Unknown      9/11/01    NY (WTC)     03-cv-9849   at 120               Parent    4023 at 7    $   8,500,000.00 $    25,500,000.00



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                                                                                                                          EXHIBIT B-1
                                                                                                       SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                                        1:02-cv-01616, 1,
595                               Suzan                    Cayne             United States   Jason          David        Cayne                        Unknown      9/11/01    NY (WTC)     03-cv-9849   at 119               Parent    4023 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616, 3,
596                               Elba          Iris       Cedeno            United States   Catherine      T.           Smith                        United States 9/11/01   NY (WTC)     03-cv-9849   at 1653              Spouse    4175 at 7    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                        1:02-cv-01616, 3,
                                                                                                                                                                                                        at 1795, 8393-1,
597                               Benjamin      R.         Chairnoff         United States   Jeffrey        M.           Chairnoff                    United States 9/11/01   NY (WTC)     03-cv-9849   at 542, 8487         Child     5356 at 2    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616, 3,
                                                                                                                                                                                                        at 1795, 5284-1,
598                               Helaine       Kaminsky   Chairnoff         United States   Jeffrey        M.           Chairnoff                    United States 9/11/01   NY (WTC)     03-cv-9849   at 2, 5296           Spouse    5356 at 2    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                        1:02-cv-01616, 3,
                                                                                                                                                                                                        at 1795, 8393-1,
599                               Sarah         R.         Chairnoff         United States   Jeffrey        M.           Chairnoff                    United States 9/11/01   NY (WTC)     03-cv-9849   at 541, 8487         Child     5356 at 2    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
600                               Brian         Kevin      Chalcoff          United States   William        Alexander    Chalcoff                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 1885      Child     6035 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
601                               Eric          Jonathan   Chalcoff          United States   William        Alexander    Chalcoff                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 1886      Child     5848 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
602                               Michelle      Ruth       Chalcoff          United States   William        Alexander    Chalcoff                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 1884      Spouse    6035 at 4    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
603                               Nancy         Frances    Chalmers          United States   Michael        J.           Elferis                      United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3101      Sibling   4023 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616, 1,
604                               Albert        George     Chamberlain       United States   Michele        Bernadette   Lanza                        United States 9/11/01   NY (WTC)     03-cv-9849   at 334               Sibling   4023 at 16   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616, 1,
                                                                                                                                                                                                        at 331, 8397-1, at
605 Susan    Gail   Chamberlain   Albert        Andrew     Chamberlain       United States   Michele        Bernadette   Lanza                        United States 9/11/01   NY (WTC)     03-cv-9849   5, 8433              Parent    4126 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616, 1,
                                                                                                                                                                                                        at 330, 8397-1, at
606 Susan    Gail   Chamberlain   Ethel         R.         Chamberlain       United States   Michele        Bernadette   Lanza                        United States 9/11/01   NY (WTC)     03-cv-9849   5, 8433              Parent    4126 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616, 1,
607                               Susan         Gail       Chamberlain       United States   Michele        Bernadette   Lanza                        United States 9/11/01   NY (WTC)     03-cv-9849   at 332               Sibling   3666 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616,
608                               Christopher   J.         Chan              United States   Charles        L.           Chan                         United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2832      Sibling   4023 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616,
609                               Craig         Anthony    Chan              United States   Charles        L.           Chan                         United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2831      Sibling   4023 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616,
610                               John          Oland      Chan              United States   Charles        L.           Chan                         United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2830      Parent    4023 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
611                               Julia         Ann        Chan              United States   Charles        L.           Chan                         United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2829      Parent    4023 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
612                               Mark          A.         Chan              United States   Charles        L.           Chan                         United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2834      Sibling   4023 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616,
613                               Matthew       P.         Chan              United States   Charles        L.           Chan                         United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2833      Sibling   4023 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        26, 29, at 2829,
                                                                                                                                                                                                        8393-1, at 141,
614                               Michael       J.         Chan              United States   Charles        L.           Chan                         United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Sibling   4126 at 4    $   4,250,000.00 $    12,750,000.00

                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                              VA                        77, at P2559,
615 Denise   Reid   Chapa         John          J.         Chapa             United States   Rosa           Marie        Chapa                        United States 9/11/01   (Pentagon)   03-cv-9849   8397-1, at 5, 8433   Child     4126 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        26, 29, at 2837,
                                                                                                                                                                                                        8397-1, at 5,
                                                                                                                                                                              VA                        8433, 8393-1, at
616 Julie    A.     Field         Jose          Javier     Chapa             Unknown         Rosa           Marie        Chapa                        United States 9/11/01   (Pentagon)   03-cv-9849   73, 8487             Spouse    5087 at 6    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                              VA                        1:02-cv-01616,
617                               Roger         Anthony    Chapa             United States   Rosa           Marie        Chapa                        United States 9/11/01   (Pentagon)   03-cv-9849   77, at P2560         Child     4023 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
618                               Paige         Crowther   Charbonneau       United States   Welles         Remy         Crowther                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 1911      Sibling   4023 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        232, at P3631,
                                                                                                                                                                                                        8393-1, at 840,
619                               Andrew        Denton     Charette          United States   Mark           L.           Charette                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        8679-1, at 48,
620                               Donnalee      Margaret   Charette          United States   Mark           L.           Charette                     United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Parent    7188 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        232, at P3631,
                                                                                                                                                                                                        8393-1, at 841,
621                               Jonathan      Hunter     Charette          United States   Mark           L.           Charette                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        232, at P3631,
                                                                                                                                                                                                        8393-1, at 842,
622                               Lauren        Casey      Charette          United States   Mark           L.           Charette                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        8679-1, at 49,
623                               Lawrence      Royal      Charette          United States   Mark           L.           Charette                     United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Parent    7188 at 5    $   8,500,000.00 $    25,500,000.00



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                                                                                                                                     EXHIBIT B-1
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                                                                                                                                                                                                                1:02-cv-01616,
624                                    Genee            Marie      Chase                 United States   Beverly       L.        Curry                        United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4213        Sibling   3666 at 3   $   4,250,000.00 $    12,750,000.00

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                                                                                                                                                                                                                232, at AP232,
625                                    Maria Mercedes   Caguicla   Chavez                Philippines     Cecile        Marella   Caguicla                     United States 9/11/01   NY (WTC)     03-cv-9849   5284-1, at 2, 5296   Sibling   4023 at 6   $   4,250,000.00 $    12,750,000.00

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                                                                                                                                                                                                                305, at P4176,
626                                    Franklin         George     Checo                 Unknown         Pedro                   Checo                        United States 9/11/01   NY (WTC)     03-cv-9849   8466-1, at 2, 8487   Child     7188 at 5   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                305, at P4176,
                                                                                                                                                                                                                8393-1, at 1043,
627                                    Jasen                       Checo                 United States   Pedro                   Checo                        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5138 at 3   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                305, at P4176,
                                                                                                                                                                                                                8393-1, at 1044,
628                                    Julian                      Checo                 United States   Pedro                   Checo                        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5138 at 3   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                232, at P3634,
                                                                                                                                                                                                                8393-1, at 1243,
629                                    Brett            Scott      Cherry                United States   Stephen       Patrick   Cherry                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 6   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                232, at P3634,
                                                                                                                                                                                                                8393-1, at 1244,
630                                    Colton           Patrick    Cherry                United States   Stephen       Patrick   Cherry                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 6   $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                232, at P3633,
631 Brad              Goldberg         Donald           Ross       Cherry                United States   Stephen       Patrick   Cherry                       United States 9/11/01   NY (WTC)     03-cv-9849   8397-1, at 5, 8433   Parent    5138 at 3   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                8679-1, at 50,
632                                    Jennifer         Joy        Cherry                United States   Stephen       Patrick   Cherry                       United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 5   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                232, at P3634,
                                                                                                                                                                                                                8393-1, at 77,
633                                    Mary             Ellen      Cherry                United States   Stephen       Patrick   Cherry                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5061 at 4   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                232, at P3634,
                                                                                                                                                                                                                8393-1, at 1245,
634                                    Peter            Ross       Cherry                United States   Stephen       Patrick   Cherry                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5848 at 4   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                1:02-cv-01616,
635                                    Shawn            R.         Cherry                Unknown         Stephen       Patrick   Cherry                       United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3635        Sibling   3666 at 2   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                1:02-cv-01616, 3,
                                                                                                                                                                                                                at 1817, 5284-1,
636                                    Brittany         Sage       Chevalier             Unknown         Swede         Joseph    Chevalier                    United States 9/11/01   NY (WTC)     03-cv-9849   at 2, 5296           Sibling   4023 at 8   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                1:02-cv-01616,
637                                    Mauricio                    Chevalier             United States   Nestor        Julio     Chevalier          Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3637        Sibling   4023 at 8   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                1:02-cv-01616,
638                                    Nestor           J.         Chevalier       Sr.   United States   Nestor        Julio     Chevalier          Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3638        Parent    4126 at 4   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                1:02-cv-01616,
639                                    Vernon           F.         Chevalier       Jr.   United States   Swede         Joseph    Chevalier                    United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2842      Parent    4023 at 8   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                1:02-cv-01616, 1,
640                                    Nicholas         James      Chiarchiaro           United States   Dorothy       J.        Chiarchiaro                  United States 9/11/01   NY (WTC)     03-cv-9849   at 126               Child     3666 at 2   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                1:02-cv-01616, 1,
641                                    Nicholas         Mario      Chiarchiaro     Sr.   United States   Dorothy       J.        Chiarchiaro                  United States 9/11/01   NY (WTC)     03-cv-9849   at 125               Spouse    5848 at 4   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                1:02-CV-01616,
642                                    Tara             Leigh      Chiari                United States   Frank         Thomas    Aquilino                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2572      Sibling   5062 at 3   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                155, at P2847,
                                                                                                                                                                                                                8393-1, at 61,
643 Nicholas   Paul   Chiofalo   Jr.   Joan             Nardello   Chiofalo              United States   Nicholas      Paul      Chiofalo                     United States 9/11/01   NY (Other)   03-cv-9849   8487                 Spouse    5848 at 4   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                155, at P2847,
                                                                                                                                                                                                                8393-1, at 988,
644                                    Nicholas         Paul       Chiofalo        Jr.   United States   Nicholas      Paul      Chiofalo                     United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5062 at 3   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                232, at P3640,
                                                                                                                                                                                                                8393-1, at 38,
645                                    Gerard           Michael    Chipura               United States   John          G.        Chipura                      United States 9/11/01   NY (Other)   03-cv-9849   8487                 Sibling   4023 at 8   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                1:02-cv-01616,
646                                    Nancy            Jane       Chipura               United States   John          G.        Chipura                      United States 9/11/01   NY (Other)   03-cv-9849   232, at P3641        Sibling   4126 at 4   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                1:02-cv-01616,
647                                    Eileen           M          Chipura Cella         United States   John          G.        Chipura                      United States 9/11/01   NY (Other)   03-cv-9849   305, at P4177        Sibling   4023 at 8   $   4,250,000.00 $    12,750,000.00




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                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           77, at P2563,
648                                 David         S.          Chirls                United States   Catherine      Ellen    Chirls                       United States 9/11/01   NY (WTC)     03-cv-9849   8393-1, at 8, 8487   Spouse    5848 at 4    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
649                                 Nicholas      Benjamin    Chirls                United States   Catherine      Ellen    Chirls                       United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2565         Child     5979 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
650                                 Sydney        Rose        Chirls                United States   Catherine      Ellen    Chirls                       United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2566         Child     5087 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
651                                 Jin           Hee         Cho                   United States   Kyung          Hee      Cho                          United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2567         Sibling   4023 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
652                                 Myung         Hee         Cho                   Korea           Kyung          Hee      Cho                          United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2568         Sibling   4023 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           77, at P2569,
                                                                                                                                                                                                           8393-1, at 48,
653                                 Yuree                     Cho                   United States   Kyung          Hee      Cho                          United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    4023 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
654                                 Charles                   Christophe            United States   Kirsten        L.       Christophe                   United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2849      Spouse    5061 at 4    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           26, 29, at 2849,
                                                                                                                                                                                                           8393-1, at 760,
655                                 Gretchen      Dagmar      Christophe            United States   Kirsten        L.       Christophe                   United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5061 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
656                                 Joyce                     Christopher           United States   Christopher    T.       Orgielewicz                  United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4458        Parent    3666 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
657                                 Laurie        Ann         Christopher           Unknown         Christopher    T.       Orgielewicz                  United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4459        Sibling   3666 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
658                                 Pui           Lin         Chung                 China           Wai            C.       Chung                        United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2854      Parent    5087 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
659                                 Richard       Wai         Chung                 United States   Wai            C.       Chung                        United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2852      Sibling   4023 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
660                                 Steve         Wai         Chung                 China           Wai            C.       Chung                        United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2855      Sibling   6035 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
661                                 Winnie        Chingyee    Chung                 United States   Wai            C.       Chung                        United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2856      Sibling   4023 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
662                                 Ying          Kwan        Chung                 China           Wai            C.       Chung                        United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2853      Parent    5087 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616, 3,
663                                 Karen         L.          Ciaccio               United States   Jeffrey        P.       Walz                         United States 9/11/01   NY (Other)   03-cv-9849   at 1727              Sibling   4023 at 25   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
664                                 Janet                     Ciaramello            United States   Nicholas       P.       Pietrunti                    United States 9/11/01   NY (WTC)     03-cv-9849   155, at P3069        Sibling   4023 at 21   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-CV-01616,
665                                 Peggy         Allingham   Ciccarelli            Unknown         Christopher    Edward   Allingham                    United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2558      Sibling   3666 at 1    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616, 1,
666                                 Gary          J.          Cillo                 United States   Elaine                  Cillo                        United States 9/11/01   NY (WTC)     03-cv-9849   at 132               Sibling   4023 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616, 1,
                                                                                                                                                                                                           at 131, 8397-1, at
667 Lynne   Marie   Cillo-Capaldo   Nunzio        C.          Cillo                 United States   Elaine                  Cillo                        United States 9/11/01   NY (WTC)     03-cv-9849   6, 8433              Parent    4126 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616, 1,
668                                 Lynne         Marie       Cillo-Capaldo         United States   Elaine                  Cillo                        United States 9/11/01   NY (WTC)     03-cv-9849   at 130               Sibling   4023 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
669                                 Anna          Ella        Cimaroli              United States   Patricia       Ann      Massari                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2162      Parent    3666 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
670                                 Joseph                    Cimaroli              United States   Patricia       Ann      Massari                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2163      Sibling   4023 at 17   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
671                                 Richard       Patrick     Cimaroli              United States   Patricia       Ann      Massari                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2161      Parent    3666 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
672                                 Nancy         B.          Cimei                 United States   Michael                 D'Auria                      United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2948      Parent    4023 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616, 3,
673                                 Christopher   Jay         Cintron               United States   Nestor         A.       Cintron                      United States 9/11/01   NY (WTC)     03-cv-9849   at 991               Sibling   4023 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
674                                 Marie                     Cirmia                United States   Debra          Ann      Di Martino                   Unknown      9/11/01    NY (WTC)     03-cv-9849   26, 29, at 3010      Sibling   3666 at 4    $   4,250,000.00 $    12,750,000.00

                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           313, at P4627,
675                                 Anthony       Robert      Cirri                 Unknown         Robert         D.       Cirri              Sr.       United States 9/11/01   NY (Other)   03-cv-9849   8466-1, at 2, 8487   Child     5848 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           313, at P4627,
                                                                                                                                                                                                           8393-1, at 69,
676                                 Eileen        Mary        Cirri                 United States   Robert         D.       Cirri              Sr.       United States 9/11/01   NY (Other)   03-cv-9849   8487                 Spouse    8233 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                           8679-1, at 51,
677                                 Maria         Barsanti    Cirri                 United States   Robert         D.       Cirri              Sr.       United States 9/11/01   NY (Other)   03-cv-9849   8696                 Parent    8233 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
678                                 Robert        Dominick    Cirri           Jr.   United States   Robert         D.       Cirri              Sr.       United States 9/11/01   NY (Other)   03-cv-9849   155, at P2849        Child     5848 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616, 1,
679                                 Cornelius     Patrick     Clancy          III   Unknown         Susan          Clancy   Conlon                       United States 9/11/01   NY (WTC)     03-cv-9849   at 143               Sibling   3666 at 3    $   4,250,000.00 $    12,750,000.00




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                                                                                                                                                                                                    1:02-cv-01616, 1,
680                            Kevin       Steven      Clancy               Unknown         Susan          Clancy     Conlon                      United States 9/11/01   NY (WTC)     03-cv-9849   at 144               Sibling   3666 at 3     $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                    1:02-cv-01616, 1,
681                            Vera                    Clancy               Unknown         Susan          Clancy     Conlon                      United States 9/11/01   NY (WTC)     03-cv-9849   at 145               Parent    3666 at 3     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616, 3,
682                            Brenda      Smith       Clark                United States   Jeffrey        R.         Smith                       United States 9/11/01   NY (WTC)     03-cv-9849   at 1661              Sibling   3666 at 11    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                    1:02-CV-01616,
683                            Katharine   Allingham   Clark                Unknown         Christopher    Edward     Allingham                   United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2559      Sibling   3666 at 1     $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                          VA                        1:02-cv-01616,
684                            Sara        Mary        Clark                United States   Ronald         Franklin   Golinski                    United States 9/11/01   (Pentagon)   03-cv-9849   155, at P2908        Child     5062 at 4     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
685                            James       Patrick     Clarke               United States   Michael        John       Clarke                      United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 1888      Sibling   4023 at 8     $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                    26, 29, at 2865,
                                                                                                                                                                                                    8393-1, at 58,
686                            John        Francis     Clarke               United States   Michael        John       Clarke                      United States 9/11/01   NY (Other)   03-cv-9849   8487                 Parent    4023 at 8     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
687                            Douglas     C.          Cleary               United States   Elizabeth      C.         Logler                      United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4389        Spouse    5951 at 7     $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                    1:02-cv-01616, 1,
688                            Joann                   Cleary               United States   Michael                   Massaroli                   United States 9/11/01   NY (WTC)     03-cv-9849   at 371               Sibling   4023 at 17    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                    1:02-cv-01616,
689                            Alan        Scott       Cleere               United States   James          Durward    Cleere                      United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4184        Child     4023 at 8     $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                    305, at P4186,
690 Jan      Cleere   Peavy    Betty       B.          Cleere               United States   James          Durward    Cleere                      United States 9/11/01   NY (WTC)     03-cv-9849   8397-1, at 6, 8433   Parent    5138 at 3     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                    305, at P4183,
                                                                                                                                                                                                    8393-1, at 31,
691                            Jean        Lorraine    Cleere               United States   James          Durward    Cleere                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5061 at 4     $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
692                            Jeffrey     Keith       Cleere               United States   James          Durward    Cleere                      United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4185        Child     5062 at 3     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
693                            Gemma       Alviar      Clemente             Philippines     Cesar          A.         Alviar                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 1814      Child     8233 at 5     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
694                            Jennifer    Keene       Clyde                United States   Leo            Russell    Keene             III       United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3744        Sibling   3666 at 7     $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                    8679-1, at 54,
695                            Christine   Kathryn     Cochet               United States   Robert         Joseph     Coll              II        United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   5138 at 4     $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                    432, at P4979,
                                                                                                                                                                                                    8393-1, at 16,
696                            Sara        Winton      Coffey               United States   David          Harold     Winton                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Sibling   4023 at 26    $   4,250,000.00 $    12,750,000.00

                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                    232, at P3643,
697 Marcia   Elaine   Cohen    Barry                   Cohen                United States   Kevin          Sanford    Cohen                       United States 9/11/01   NY (WTC)     03-cv-9849   8397-1, at 6, 8433   Parent    4023 at 8     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                    232, at P3644,
                                                                                                                                                                                                    8393-1, at 47,
698                            Marcia      Elaine      Cohen                United States   Kevin          Sanford    Cohen                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    4023 at 8     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616, 1,
699                            Mindi       A.          Cohen                United States   Steven         Barry      Lillianthal                 Unknown      9/11/01    NY (WTC)     03-cv-9849   at 344               Sibling   5062 at 5     $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                    8679-1, at 53,
700                            Neil        Laurence    Cohen                United States   Kevin          Sanford    Cohen                       United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 5     $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                    232, at P3642,
                                                                                                                                                                                                    8393-1, at 38,
701                            Susan       G.          Cohen                United States   John           G.         Chipura                     United States 9/11/01   NY (Other)   03-cv-9849   8487                 Sibling   4023 at 8     $   4,250,000.00 $    12,750,000.00

                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                    232, at P3646,
702 Victor   J.       Colaio   Mary        Catherine   Colaio               United States   Mark           J.         Colaio                      United States 9/11/01   NY (WTC)     03-cv-9849   8397-1, at 6, 8433   Parent    5848 at 4     $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                    232, at P3649,
703 Victor   J.       Colaio   Mary        Catherine   Colaio               United States   Stephen        J.         Colaio                      United States 9/11/01   NY (WTC)     03-cv-9849   8397-1, at 6, 8433   Parent    5848 at 4     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
704                            Victor      J.          Colaio               United States   Mark           J.         Colaio                      United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3647        Parent    3666 at 2     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                    232, at P3650,
                                                                                                                                                                                                    8393-1, at 77,
705                            Victor      J.          Colaio               United States   Stephen        J.         Colaio                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    5349-1 at 2   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                    232, at P3645,
                                                                                                                                                                                                    8393-1, at 839,
706                            Delaney                 Colaio-Coppola       United States   Mark           J.         Colaio                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 7     $   8,500,000.00 $    25,500,000.00



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                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                            232, at P3645,
                                                                                                                                                                                                                            8393-1, at 838,
707                                                     Joseph                Colaio-Coppola         United States   Mark          J.        Colaio                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                            232, at P4050,
                                                                                                                                                                                                                            8393-1, at 10,
708                                                     Kelly      Ann        Colasanti              United States   Christopher   M.        Colasanti                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    7188 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                            1:02-cv-01616, 3,
                                                                                                                                                                                                                            at 995, 8397-1, at
709 Stephen          J.              McCurrie           Raymond    Fernand    Colbert                France          Michel        Paris     Colbert                      United States 9/11/01   NY (WTC)     03-cv-9849   6, 8433              Parent    5087 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                            1:02-cv-01616, 3,
                                                                                                                                                                                                                            at 1832, 5284-1,
710                                                     Elodie                Coleman                United States   Keith         Eugene    Coleman                      United States 9/11/01   NY (WTC)     03-cv-9849   at 3, 5296           Spouse    5138 at 3    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                            1:02-cv-01616,
711                                                     Jean                  Coleman                Unknown         Keith         Eugene    Coleman                      United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4192        Parent    3666 at 2    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                            232, at P3652,
                                                                                                                                                                                                                            8393-1, at 74,
712                                                     Jean                  Coleman                Unknown         Scott         Thomas    Coleman                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    5061 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                            155, at P2910,
                                                                                                                                                                                                                            8393-1, at 73,
713                                                     Migdalia              Coleman                United States   Rosa          J.        Gonzalez                     United States 9/11/01   NY (Other)   03-cv-9849   8487                 Sibling   4023 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                            1:02-cv-01616,
714                                                     Neil       Keith      Coleman                Unknown         Keith         Eugene    Coleman                      United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4191        Parent    3666 at 2    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                            232, at P3653,
                                                                                                                                                                                                                            8393-1, at 74,
715                                                     Neil       Keith      Coleman                Unknown         Scott         Thomas    Coleman                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    5061 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                            1:02-cv-01616, 3,
                                                                                                                                                                                                                            at 1832, 8393-1,
716                                                     Neva       Rae        Coleman                United States   Keith         Eugene    Coleman                      United States 9/11/01   NY (WTC)     03-cv-9849   at 728, 8487         Child     5138 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                            1:02-cv-01616,
717                                                     Todd       Douglas    Coleman                United States   Keith         Eugene    Coleman                      United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4193        Sibling   3666 at 2    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                            1:02-cv-01616,
718                                                     Todd       Douglas    Coleman                United States   Scott         Thomas    Coleman                      United States 9/11/01   NY (WTC)     03-cv-9849   313, at P4629        Sibling   4023 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                            1:02-cv-01616, 3,
                                                                                                     United                                                                                                                 at 1832, 8393-1,
719                                                     Vaughn     McGwire    Coleman                Kingdom         Keith         Eugene    Coleman                      United States 9/11/01   NY (WTC)     03-cv-9849   at 727, 8487         Child     5138 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                            1:02-cv-01616,
720                                                     Edward     Aloysius   Coll             III   United States   Robert        Joseph    Coll               II        United States 9/11/01   NY (WTC)     03-cv-9849   155, at P2850        Sibling   4023 at 8    $   4,250,000.00 $    12,750,000.00

                                                                                                                                                                                                                            1:02-cv-01616,
                                     Valentino; Coll,                                                                                                                                                                       155, at P2851,
721 Suzanne; Edward Mary; Aloysius   III                Edward                Coll             Jr.   United States   Robert        Joseph    Coll               II        United States 9/11/01   NY (WTC)     03-cv-9849   8397-1, at 6, 8433   Parent    5138 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                            155, at P2853,
                                                                                                                                                                                                                            8393-1, at 70,
722                                                     Jennifer   Bailey     Coll                   United States   Robert        Joseph    Coll               II        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    7188 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                            1:02-cv-01616,
723                                                     Margaret   Louise     Coll                   United States   Robert        Joseph    Coll               II        United States 9/11/01   NY (WTC)     03-cv-9849   155, at P2854        Sibling   5062 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                            1:02-cv-01616,
724                                                     Mary       E.         Coll                   United States   Robert        Joseph    Coll               II        United States 9/11/01   NY (WTC)     03-cv-9849   155, at P2855        Parent    4023 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                            155, at P2853,
                                                                                                                                                                                                                            8393-1, at 1129,
725                                                     Megan      Bailey     Coll                   United States   Robert        Joseph    Coll               II        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     7188 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                            155, at P2853,
                                                                                                                                                                                                                            8393-1, at 1128,
726                                                     Robert     Joseph     Coll             III   United States   Robert        Joseph    Coll               II        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     7188 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                            1:02-cv-01616, 3,
                                                                                                                                                                                                                            at 998, 8397-1, at
727 Martin           Joseph          Collins            Anna       E.         Collins                United States   John          Michael   Collins                      United States 9/11/01   NY (Other)   03-cv-9849   6, 8433              Parent    5138 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                            1:02-cv-01616, 1,
728                                                     Anne       M.         Collins                United States   John          Michael   Collins                      United States 9/11/01   NY (Other)   03-cv-9849   at 141               Sibling   4023 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                            1:02-cv-01616,
729                                                     James      R.         Collins          Jr.   Unknown         Michael       L.        Collins                      United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3654        Parent    3666 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                            305, at P4195,
                                                                                                                                                                                                                            8393-1, at 58,
730                                                     Lissa      L.         Collins                United States   Michael       L.        Collins                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5356 at 2    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                            1:02-cv-01616, 1,
731                                                     Martin     Joseph     Collins                United States   John          Michael   Collins                      United States 9/11/01   NY (Other)   03-cv-9849   at 137               Parent    4023 at 8    $   8,500,000.00 $    25,500,000.00




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                                                                                                                             EXHIBIT B-1
                                                                                                          SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                                       1:02-cv-01616, 1,
732                                Martin        J.           Collins     Jr.   United States   John           Michael   Collins                     United States 9/11/01   NY (Other)   03-cv-9849   at 138               Sibling   4126 at 4    $   4,250,000.00 $    12,750,000.00

                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                       232, at P3655,
733 Richard    S.        Collins   Mary          Anne         Collins           United States   Michael        L.        Collins                     United States 9/11/01   NY (WTC)     03-cv-9849   8397-1, at 6, 8433   Parent    3666 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
734                                Richard       S.           Collins           United States   Michael        L.        Collins                     United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3656        Sibling   4023 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:02-cv-01616, 3,
                                                                                                                                                                                                       at 1001, 7257, at
735                                Kathleen      Elizabeth    Comer             United States   Ronald         E.        Comer                       Unknown      9/11/01    NY (WTC)     03-cv-9849   1, 7267              Child     515 at 4     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                       26, 29, at 1981,
                                                                                                                                                                                                       8393-1, at 415,
736                                Mathilda      Charlotte    Conklin           United States   Gary           Paul      Geidel                      United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5061 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:03-md-01570,
                                                                                                                                                                                                       3477, at 707;
                                                                                                                                                                                                       8679-1, at 56,
737 Kimberly   Patrice   Conlon    John          Patrick      Conlon            Unknown         Susan          Clancy    Conlon                      United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Spouse    5104 at 4    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                       1:02-cv-01616, 1,
                                                                                                                                                                                                       at 143, 8393-1, at
738                                Kimberly      Patrice      Conlon            United States   Susan          Clancy    Conlon                      United States 9/11/01   NY (WTC)     03-cv-9849   1269, 8487           Child     5104 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                       232, at P3658,
                                                                                                                                                                                                       8393-1, at 51,
739 Joyce                Conner    Michael       Anthony      Conner            Unknown         Margaret       Mary      Conner                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    3666 at 3    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                             VA                        1:02-cv-01616,
740                                Natalie       Christina    Conners           United States   Robert         Joseph    Hymel                       United States 9/11/01   (Pentagon)   03-cv-9849   26, 29, at 3481      Child     4126 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                       313, at P4631,
                                                                                                                                                                                                       8393-1, at 37,
741                                Dawn          A.           Connolly          United States   John           E.        Connolly          Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5087 at 7    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                       313, at P4631,
                                                                                                                                                                                                       8393-1, at 595,
742                                Dineen        Ann          Connolly          United States   John           E.        Connolly          Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                       313, at P4631,
                                                                                                                                                                                                       8393-1, at 596,
743                                John          Patrick      Connolly          United States   John           E.        Connolly          Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616, 3,
744                                Kevin                      Connolly          Unknown         John           E.        Connolly          Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   at 1003              Sibling   3666 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                       313, at P4631,
                                                                                                                                                                                                       8393-1, at 597,
745                                Patrick       Liam Craig   Connolly          United States   John           E.        Connolly          Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
746                                Jaymel        Elizabeth    Connor            United States   James          Lee       Connor                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 1893      Spouse    8310 at 4    $   12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                       432, at P4799,
747 Emily                Connors   Christopher   Clifford     Connors           United States   Kevin          P.        Connors                     United States 9/11/01   NY (WTC)     03-cv-9849   8397-1, at 6, 8433   Sibling   6205 at 2    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:02-cv-01616,
748                                Douglas                    Connors           United States   Kevin          P.        Connors                     United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4203        Sibling   3666 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:02-cv-01616, 3,
749                                Sylvia        Loria        Connors           Costa Rica      Kevin          P.        Connors                     United States 9/11/01   NY (WTC)     03-cv-9849   at 1006              Spouse    5138 at 4    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
750                                William       Kirk         Connors           Unknown         Kevin          P.        Connors                     United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4798        Sibling   3666 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:02-cv-01616,
751                                Lisa          M            Consiglio         United States   Peter          Paul      Apollo                      United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3587        Sibling   4023 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                       313, at P4632,
                                                                                                                                                                                                       8393-1, at 286,
752                                Lindsay       Judith       Cook              United States   Dennis         Michael   Cook                        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                       313, at P4632,
                                                                                                                                                                                                       8393-1, at 285,
753                                Sophia        Christine    Cook              United States   Dennis         Michael   Cook                        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:03-md-01570,
754                                Elizabeth     Murphy       Cooke             United States   James          Francis   Murphy                      Unknown      9/11/01    NY (WTC)     03-cv-9849   432, at P5417        Sibling   5087 at 14   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       8679-1, at 64,
755                                Charles       Bunker       Coombs      III   United States   Jeffrey        W.        Coombs                      United States 9/11/01   NY (AA11)    03-cv-9849   8696                 Parent    5848 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       8679-1, at 65,
756                                Charles       Bunker       Coombs      IV    United States   Jeffrey        W.        Coombs                      United States 9/11/01   NY (AA11)    03-cv-9849   8696                 Sibling   7188 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       8679-1, at 63,
757                                Douglas       Glenn        Coombs            United States   Jeffrey        W.        Coombs                      United States 9/11/01   NY (AA11)    03-cv-9849   8696                 Sibling   7188 at 6    $   4,250,000.00 $    12,750,000.00



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                                                                                                                                   EXHIBIT B-1
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                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                            305, at P4204,
                                                                                                                                                                                                            8393-1, at 550,
758                                   Julia                   Coombs                  United States   Jeffrey        W.       Coombs                      United States 9/11/01   NY (AA11)    03-cv-9849   8487                 Child     5087 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                            305, at P4204,
                                                                                                                                                                                                            8393-1, at 34,
759                                   Mary        Christine   Coombs                  United States   Jeffrey        W.       Coombs                      United States 9/11/01   NY (AA11)    03-cv-9849   8487                 Spouse    5087 at 7    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                            305, at P4204,
                                                                                                                                                                                                            8393-1, at 551,
760                                   Matthew                 Coombs                  United States   Jeffrey        W.       Coombs                      United States 9/11/01   NY (AA11)    03-cv-9849   8487                 Child     5087 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                            305, at P4204,
                                                                                                                                                                                                            8393-1, at 552,
761                                   Meaghan                 Coombs                  United States   Jeffrey        W.       Coombs                      United States 9/11/01   NY (AA11)    03-cv-9849   8487                 Child     5087 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            8679-1, at 62,
762                                   William     Michael     Coombs                  United States   Jeffrey        W.       Coombs                      United States 9/11/01   NY (AA11)    03-cv-9849   8696                 Sibling   7188 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            1:02-cv-01616,
763                                   Cheryl      D.          Cooper                  United States   Donald         A.       Foreman                     Unknown      9/11/01    NY (WTC)     03-cv-9849   155, at P2899        Spouse    5951 at 7    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                            1:02-cv-01616, 3,
764                                   Colleen                 Cooper                  Unknown         Keith          James    Burns                       United States 9/11/01   NY (WTC)     03-cv-9849   at 950               Sibling   3666 at 2    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            1:02-cv-01616, 3,
                                                                                                                                                                                                            at 1011, 8393-1,
765                                   Alison      Joy         Coppola                 United States   Gerard         J.       Coppola                     United States 9/11/01   NY (WTC)     03-cv-9849   at 423, 8487         Child     5087 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:02-cv-01616, 3,
766                                   Cynthia     Louisa      Coppola                 Unknown         Gerard         J.       Coppola                     United States 9/11/01   NY (WTC)     03-cv-9849   at 1013              Sibling   3666 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            1:02-cv-01616,
767                                   George      Joseph      Coppola           Jr.   Unknown         Gerard         J.       Coppola                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2894      Sibling   3666 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            1:02-cv-01616, 3,
                                                                                                                                                                                                            at 1012, 8397-1,
768 George   Joseph   Coppola   Jr.   George      J.          Coppola           Sr.   Unknown         Gerard         J.       Coppola                     United States 9/11/01   NY (WTC)     03-cv-9849   at 6, 8433           Parent    4126 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:02-cv-01616,
769                                   June        Elizabeth   Coppola                 United States   Thomas                  Pedicini                    United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4480        Sibling   5061 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                            232, at P3645,
                                                                                                                                                                                                            8393-1, at 52,
770                                   June        Elizabeth   Coppola                 United States   Mark           J.       Colaio                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5061 at 4    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                            1:02-cv-01616, 3,
771                                   Pui Yee                 Coppola                 United States   Gerard         J.       Coppola                     United States 9/11/01   NY (WTC)     03-cv-9849   at 1011              Spouse    5061 at 4    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                            1:02-cv-01616,
772                                   Rufina      Capito      Coquia                  United States   Marlyn         Capito   Bautista                    United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 1840      Sibling   4023 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                            305, at P4208,
                                                                                                                                                                                                            8393-1, at 609,
773                                   John        James       Corcoran                United States   John           J.       Corcoran          III       United States 9/11/01   NY (UA175)   03-cv-9849   8487                 Child     5848 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                            305, at P4208,
                                                                                                                                                                                                            8393-1, at 610,
774                                   Meghan      Lee         Corcoran                United States   John           J.       Corcoran          III       United States 9/11/01   NY (UA175)   03-cv-9849   8487                 Child     5848 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                            305, at P4208,
                                                                                                                                                                                                            8393-1, at 38,
775                                   Diann       Louise      Corcoran DuBois         United States   John           J.       Corcoran          III       United States 9/11/01   NY (UA175)   03-cv-9849   8487                 Spouse    6038 at 4    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                            1:02-cv-01616,
776                                   James       Brendan     Corrigan                United States   James          J.       Corrigan                    United States 9/11/01   NY (Other)   03-cv-9849   77, at P2571         Child     4023 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                            77, at P2572,
                                                                                                                                                                                                            8393-1, at 31,
777                                   Marie       Ellen       Corrigan                United States   James          J.       Corrigan                    United States 9/11/01   NY (Other)   03-cv-9849   8487                 Spouse    515 at 4     $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                            1:02-cv-01616,
778                                   Sean        Michael     Corrigan                United States   James          J.       Corrigan                    United States 9/11/01   NY (Other)   03-cv-9849   77, at P2573         Child     515 at 4     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:18-cv-11582, 1,
                                                                                                                                                                                                            at 6; 8679-1, at
779                                   Samantha    Beth        Cortes                  United States   Lucy           A.       Fishman                     United States 9/11/01   NY (WTC)     03-cv-9849   128, 8696            Child     5104 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            8679-1, at 472,
780                                   Doreen                  Cortez-Trinidad         United States   Michael        A.       Trinidad                    United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 14   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            1:02-cv-01616, 3,
781                                   Rosemarie               Corvino                 United States   Carl                    Bini                        United States 9/11/01   NY (Other)   03-cv-9849   at 920               Sibling   3666 at 2    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            1:02-cv-01616, 1,
                                                                                                                                                                                                            at 818, 8393-1, at
782                                   Brian       Matthew     Cosgrove                United States   Kevin          M.       Cosgrove                    United States 9/11/01   NY (WTC)     03-cv-9849   747, 8487            Child     5356 at 2    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:02-cv-01616, 1,
                                                                                                                                                                                                            at 818, 8393-1, at
783                                   Claire      Marie       Cosgrove                United States   Kevin          M.       Cosgrove                    United States 9/11/01   NY (WTC)     03-cv-9849   748, 8487            Child     5356 at 2    $   8,500,000.00 $    25,500,000.00




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                                                                                                                                 EXHIBIT B-1
                                                                                                              SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                                            8679-1, at 71,
784                                  Edward      Augustine    Cosgrove               United States   Kevin         M.         Cosgrove                    United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            1:02-cv-01616, 1,
                                                                                                                                                                                                            at 818, 8393-1, at
785                                  Elizabeth   Michelle     Cosgrove               United States   Kevin         M.         Cosgrove                    United States 9/11/01   NY (WTC)     03-cv-9849   749, 8487            Child     5356 at 2    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            8679-1, at 67,
786                                  Joseph      John         Cosgrove               United States   Kevin         M.         Cosgrove                    United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            1:02-cv-01616, 1,
                                                                                                                                                                                                            at 818, 5284-1, at
787                                  Wendy       Eve          Cosgrove               United States   Kevin         M.         Cosgrove                    United States 9/11/01   NY (WTC)     03-cv-9849   3, 5296              Spouse    5356 at 2    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                            8679-1, at 69,
788                                  Susan       Elizabeth    Cosgrove Janssen       United States   Kevin         M.         Cosgrove                    United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            1:02-cv-01616, 3,
789                                  Charles     P.           Costa                  United States   Dolores       M.         Costa                       United States 9/11/01   NY (WTC)     03-cv-9849   at 1016              Spouse    5087 at 7    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                            1:02-cv-01616,
790 Nancy     Eileen      Costello   James       Peter        Costello               United States   Michael       S.         Costello                    United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3659        Parent    4023 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                            232, at P3660,
                                                                                                                                                                                                            8393-1, at 59,
791                                  Nancy       Eileen       Costello               United States   Michael       S.         Costello                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    4023 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:02-cv-01616,
792                                  Timothy     John         Costello               United States   Michael       S.         Costello                    United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3661        Sibling   4023 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            1:02-cv-01616,
793                                  Mary        Margaret     Coster                 United States   Michael       Francis    Lynch                       United States 9/11/01   NY (Other)   03-cv-9849   155, at P3011        Sibling   4023 at 17   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            1:02-cv-01616,
794                                  Barbara     Jean         Cotter                 United States   Robert        H.         Lynch             Jr.       United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2152      Sibling   4023 at 17   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            1:03-cv-9849,
                                                                                                                                                                                                            HAND FILED, at
795                                  Clifton     Anthony      Cottom                 Unknown         Asia          SiVon      Cottom                      United States 9/11/01   VA (AA77)    03-cv-9849   P5026                Parent    3666 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:03-cv-9849,
                                                                                                                                                                                                            HAND FILED, at
                                                                                                                                                                                                            P5027, 8393-1, at
796                                  Michelle    Antoinette   Cottom                 Unknown         Asia          SiVon      Cottom                      United States 9/11/01   VA (AA77)    03-cv-9849   4, 8487              Parent    3666 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:02-cv-01616, 3,
797                                  Ailish                   Coughlan               Ireland         Martin        John       Coughlan                    United States 9/11/01   NY (WTC)     03-cv-9849   at 1024              Child     5061 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:02-cv-01616, 3,
798                                  Catherine                Coughlan               United States   Martin        John       Coughlan                    United States 9/11/01   NY (WTC)     03-cv-9849   at 1021              Spouse    7188 at 6    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                            1:02-cv-01616, 3,
799                                  Denise                   Coughlan               United States   Martin        John       Coughlan                    United States 9/11/01   NY (WTC)     03-cv-9849   at 1022              Child     5062 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            8679-1, at 75,
800                                  Finbarr     Mary         Coughlan               Ireland         Martin        John       Coughlan                    United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   5848 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            8679-1, at 74,
801                                  James                    Coughlan               Ireland         Martin        John       Coughlan                    United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   5848 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            1:02-cv-01616, 3,
802                                  Sinead                   Coughlan               Ireland         Martin        John       Coughlan                    United States 9/11/01   NY (WTC)     03-cv-9849   at 1023              Child     5061 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:02-cv-01616,
803                                  Mary                     Coughlin               United States   Kevin         W.         Donnelly                    United States 9/11/01   NY (Other)   03-cv-9849   305, at P4242        Spouse    5951 at 7    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                            77, at P2575,
                                                                                                                                                                                                            8393-1, at 26,
804                                  Frederick   Osterhoudt   Cox                    United States   Frederick     John       Cox                         United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    4023 at 8    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                          St. Vincent                                       1:02-cv-01616,
                                                                                                                                                          and the                                           432, at P4800,
805                                  Nigel       Durnstan     Cox                    United States   Andre                    Cox                         Grenadines    9/11/01   NY (WTC)     03-cv-9849   8393-1, at 3, 8487   Sibling   4023 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                          St. Vincent
                                                                                                                                                          and the                                           1:02-cv-01616,
806                                  Glenice     Bernadette   Cox-King               United States   Andre                    Cox                         Grenadines    9/11/01   NY (WTC)     03-cv-9849   432, at P4803        Sibling   4023 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            1:02-cv-01616, 3,
807                                  Keith       Douglas      Cramer                 Unknown         Christopher   Seton      Cramer                      United States 9/11/01   NY (WTC)     03-cv-9849   at 1031              Sibling   3666 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            1:02-cv-01616, 3,
808                                  Marc        Seton        Cramer                 United States   Christopher   Seton      Cramer                      United States 9/11/01   NY (WTC)     03-cv-9849   at 1030              Sibling   3666 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            1:02-cv-01616, 3,
809                                  Marilyn     Elizabeth    Cramer                 United States   Christopher   Seton      Cramer                      United States 9/11/01   NY (WTC)     03-cv-9849   at 1028              Parent    5061 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:02-cv-01616, 3,
810                                  Walter      Henry        Cramer                 United States   Christopher   Seton      Cramer                      United States 9/11/01   NY (WTC)     03-cv-9849   at 1029              Sibling   3666 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            1:02-cv-01616, 3,
                                                                                                                                                                                                            at 1027, 8397-1,
811 Marilyn   Elizabeth   Cramer     Walter      Seton        Cramer                 United States   Christopher   Seton      Cramer                      United States 9/11/01   NY (WTC)     03-cv-9849   at 6, 8433           Parent    5062 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:02-cv-01616, 1,
                                                                                                                                                                                                            at 875, 8393-1, at
812                                  Colin       John         Creamer                United States   Tara          Kathleen   Creamer                     United States 9/11/01   NY (AA11)    03-cv-9849   1282, 8487           Child     5979 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:02-cv-01616, 1,
                                                                                                                                                                                                            at 875, 5284-1, at
813                                  John        J.           Creamer                United States   Tara          Kathleen   Creamer                     United States 9/11/01   NY (AA11)    03-cv-9849   3, 5296              Spouse    5979 at 3    $   12,500,000.00 $   37,500,000.00




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                                                                                                                                                                       1:02-cv-01616, 1,
                                                                                                                                                                       at 875, 8393-1, at
814   Nora        Anne       Creamer             United States   Tara          Kathleen   Creamer                    United States 9/11/01   NY (AA11)    03-cv-9849   1283, 8487           Child        5979 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                       1:02-cv-01616,
815   Theresa     Mary       Creedon             United States   Thomas        E.         Gorman                     Unknown      9/11/01    NY (Other)   03-cv-9849   155, at P2911        Sibling      4126 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                       232, at P4091,
                                                                                                                                                                       8393-1, at 58,
816   Mary        Kaye       Crenshaw            United States   Michael       M.         Taylor                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Sibling      4126 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                       1:02-cv-01616,
817   Dana        Horning    Crepeau             United States   Matthew       D.         Horning                    United States 9/11/01   NY (WTC)     03-cv-9849   232, at AP227        Sibling      5087 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                       1:02-cv-01616,
818   Deborah     Marshall   Crew-Johnson        Unknown         Beverly       L.         Curry                      United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2576         Sibling      3666 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                       8679-1, at 84,
819   Mischele    Ann        Crew-Williams       Unknown         Beverly       L.         Curry                      United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling      5848 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                       1:02-cv-01616,
820   Francesco              Crifasi             United States   Lucy                     Crifasi                    United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2922      Sibling      4023 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                       1:02-cv-01616,
821   Maria                  Crifasi             United States   Lucy                     Crifasi                    United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2921      Sibling      4023 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                       1:02-cv-01616,
822   John        Joseph     Crisci              United States   John          A.         Crisci                     United States 9/11/01   NY (Other)   03-cv-9849   432, at P4805        Child        5087 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                       432, at P4804,
                                                                                                                                                                       8393-1, at 568,
823   Joseph      David      Crisci              United States   John          A.         Crisci                     United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child        5087 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                       432, at P4804,
                                                                                                                                                                       8393-1, at 569,
824   Michael     Espedito   Crisci              United States   John          A.         Crisci                     United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child        5087 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                       432, at P4804,
                                                                                                                                                                       8393-1, at 35,
825   Raffaella   Rita       Crisci              United States   John          A.         Crisci                     United States 9/11/01   NY (Other)   03-cv-9849   8487                 Spouse       5087 at 7    $   12,500,000.00 $   37,500,000.00

                                                                                                                                                                       1:02-cv-01616,
826   Christian   Crane      Croner              United States   Joseph        W.         Flounders                  United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at caption   Step-Child   8293 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                       8679-1, at 77,
827   Brian       George     Crotty              United States   Kevin         Raymond    Crotty                     United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling      7188 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                       26, 29, at 1900,
                                                                                                                                                                       8466-1, at 2,
                                                                                                                                                                       8487, 8466-1, at
828   Caroline    Frances    Crotty              Unknown         Thomas        G.         Crotty                     United States 9/11/01   NY (WTC)     03-cv-9849   2, 8487              Child        7188 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                       26, 29, at 1900,
                                                                                                                                                                       8466-1, at 2,
                                                                                                                                                                       8487, 8466-1, at
829   Catherine   Alice      Crotty              Unknown         Thomas        G.         Crotty                     United States 9/11/01   NY (WTC)     03-cv-9849   2, 8487              Child        515 at 4     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                       8679-1, at 76,
830   David       Gerard     Crotty              United States   Kevin         Raymond    Crotty                     United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling      7188 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                       1:02-cv-01616,
831   James       G.         Crotty              United States   Thomas        G.         Crotty                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 1905      Sibling      5061 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                       1:02-cv-01616,
832   Joanne      C.         Crotty              United States   Thomas        G.         Crotty                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 1900      Spouse       5087 at 7    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                       1:02-cv-01616,
833   John        Gerard     Crotty              United States   Thomas        G.         Crotty                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 1904      Sibling      5062 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                       1:02-cv-01616,
834   Kenneth     Gerard     Crotty              United States   Thomas        G.         Crotty                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 1903      Sibling      5087 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                       1:02-cv-01616, 1,
                                                                                                                                                                       at 794, 8393-1, at
835   Kyle        J.         Crotty              United States   Kevin         Raymond    Crotty                     United States 9/11/01   NY (WTC)     03-cv-9849   755, 8487            Child        5138 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                       1:02-cv-01616, 1,
                                                                                                                                                                       at 794, 5284-1, at
                                                                                                                                                                       3, 5296, 8393-1,
836   Lori        Ann        Crotty              United States   Kevin         Raymond    Crotty                     United States 9/11/01   NY (WTC)     03-cv-9849   at 47, 8487          Spouse       5087 at 7    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                       1:02-cv-01616, 1,
                                                                                                                                                                       at 794, 8393-1, at
837   Megan       Anna       Crotty              United States   Kevin         Raymond    Crotty                     United States 9/11/01   NY (WTC)     03-cv-9849   754, 8487            Child        5087 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                       1:02-cv-01616,
838   Patricia    Marie      Crotty              Unknown         Thomas        G.         Crotty                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 1902      Parent       3666 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                       1:02-cv-01616, 1,
                                                                                                                                                                       at 794, 8393-1, at
839   Sean        P.         Crotty              United States   Kevin         Raymond    Crotty                     United States 9/11/01   NY (WTC)     03-cv-9849   756, 8487            Child        5087 at 7    $   8,500,000.00 $    25,500,000.00




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                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           26, 29, at 1901,
840 Patricia    Marie    Crotty     Thomas        Michael     Crotty              United States   Thomas         G.        Crotty                      United States 9/11/01     NY (WTC)     03-cv-9849   8397-1, at 6, 8433   Parent       5062 at 3   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
841                                 Brian         Hanley      Crowe               United States   John           R.        Crowe                       United States 9/11/01     NY (WTC)     03-cv-9849   155, at P2859        Child        4023 at 9   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
842                                 Jeffrey       Reynolds    Crowe               United States   John           R.        Crowe                       United States 9/11/01     NY (WTC)     03-cv-9849   155, at P2860        Child        4023 at 9   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
843                                 Maryann                   Crowe               Unknown         John           R.        Crowe                       United States 9/11/01     NY (WTC)     03-cv-9849   155, at P2861        Sibling      3666 at 3   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           155, at P2862,
                                                                                                                                                                                                           8393-1, at 39,
844                                 Pamela        M.          Crowe               United States   John           R.        Crowe                       United States 9/11/01     NY (WTC)     03-cv-9849   8487                 Spouse       5087 at 7   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
845                                 Melissa       Madden      Crowley             United States   Richard        B.        Madden                      United States 9/11/01     NY (WTC)     03-cv-9849   313, at P4691        Sibling      3666 at 8   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           26, 29, at 1909,
                                                                                                                                                                                                           8393-1, at 86,
846                                 Alison        Remy        Crowther            United States   Welles         Remy      Crowther                    United States 9/11/01     NY (WTC)     03-cv-9849   8487                 Parent       4023 at 9   $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           26, 29, at 1908,
847 Alison      Remy     Crowther   Jefferson     Hay         Crowther            United States   Welles         Remy      Crowther                    United States 9/11/01     NY (WTC)     03-cv-9849   8397-1, at 7, 8433   Parent       4023 at 9   $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           232, at P4040,
848                                 Carolyn                   Crutchfield         United States   Andrew         Anthony   Abate                       United States 9/11/01     NY (WTC)     03-cv-9849   8393-1, at 3, 8487   Spouse       5848 at 3   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
849                                 Margaret      E.          Cruz                United States   Patricia       A.        McAneney                    United States 9/11/01     NY (WTC)     03-cv-9849   432, at P4889        Spouse       5951 at 7   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           232, at AP228,
                                                                                                                                                                                                           5284-1, at 2,
                                                                                                                                                                                                           5296, 8393-1, at
850                                 Natividad     Marella     Cruz                Philippines     Cecile         Marella   Caguicla                    United States 9/11/01     NY (WTC)     03-cv-9849   8, 8487              Sibling      4023 at 6   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616, 1,
851                                 Alfonso                   Cubas         Jr.   United States   Kenneth        J.        Cubas                       Unknown         9/11/01   NY (WTC)     03-cv-9849   at 149               Sibling      4023 at 9   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616, 1,
852                                 Dorothy       Priscilla   Cubas               Unknown         Kenneth        J.        Cubas                       United States     9/11/01 NY (WTC)     03-CV-9849   at 148               Parent       3666 at 3   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616, 1,
                                                                                                                                                                                                           at 147, 8397-1, at
853 Heather     Angela   Cubas      Lawrence      Mark        Cubas               United States   Kenneth        J.        Cubas                       Unknown         9/11/01   NY (WTC)     03-cv-9849   7, 8433              Sibling      4126 at 4   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           155, at P2864,
                                                                                                                                                                                                           8397-1, at 7,
                                                                                                                                                                                                           8433, 8393-1, at
854 Cheryl      Lynn     O'Brien    Albert        C.          Cuccinello          United States   Thelma                   Cuccinello                  United States 9/11/01     NY (AA11)    03-cv-9849   80, 8487             Spouse       5061 at 4   $   12,500,000.00 $   37,500,000.00
                                                                                  United States   William        J.        McGovern                                              NY (Other)                8679-1, at 298,
855                                 John          Vincent     Cuccinello                                                                               United States 9/11/01                  03-cv-9849   8696                 Step-Child   5951 at 7   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
856                                 Laurie        Jean        Cuccinello          United States   Thelma                   Cuccinello                  United States 9/11/01     NY (AA11)    03-cv-9849   155, at P2866        Child        4023 at 9   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
857                                 Maria         Ann         Cuccinello          United States   Thelma                   Cuccinello                  United States 9/11/01     NY (AA11)    03-cv-9849   155, at P2865        Child        4023 at 9   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
858                                 Christopher   Charles     Cudina              Unknown         Richard        J.        Cudina                      United States 9/11/01     NY (WTC)     03-cv-9849   232, at P3662        Sibling      3666 at 3   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           232, at P3663,
                                                                                                                                                                                                           8393-1, at 67,
859                                 Georgia       Barbara     Cudina              United States   Richard        J.        Cudina                      United States 9/11/01     NY (WTC)     03-cv-9849   8487                 Spouse       5061 at 4   $   12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           232, at P3664,
860 Madeleine            Cudina     Marcus        N.          Cudina              United States   Richard        J.        Cudina                      United States 9/11/01     NY (WTC)     03-cv-9849   8397-1, at 7, 8433   Sibling      3666 at 3   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
861                                 William       Anthony     Cudina              Unknown         Richard        J.        Cudina                      United States 9/11/01     NY (WTC)     03-cv-9849   232, at P3665        Sibling      3666 at 3   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
                                                                                  Republic of                                                                                                              432, at P4806,
                                                                                  Trinidad and                                                                                                             8393-1, at 44,
862                                 Mitchum       Kelvin      Cummings            Tobago          Joyce          Rose      Cummings                    United States 9/11/01     NY (Other)   03-cv-9849   8487                 Child        4023 at 9   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:03-cv-09849,
                                                                                                                                                                                                           838, at 10; 8679-
863                                 Brendan       William     Cummins             United States   Brian          T.        Cummins                     United States 9/11/01     NY (WTC)     03-cv-9849   1, at 81, 8696       Sibling      5062 at 3   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:03-cv-09849,
                                                                                                                                                                                                           838, at 12; 8679-
864                                 John          Lawrence    Cummins             United States   Brian          T.        Cummins                     United States 9/11/01     NY (WTC)     03-cv-9849   1, at 80, 8696       Sibling      5062 at 3   $   4,250,000.00 $    12,750,000.00




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                                                                                                                            EXHIBIT B-1
                                                                                                         SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                                       1:03-cv-09849,
                                                                                                                                                                                                       838, at 13; 8679-
865 Martin   James   Cummins   III   Martin      James       Cummins      Jr.   United States   Brian         T.        Cummins                      United States 9/11/01   NY (WTC)     03-cv-9849   1, at 83, 8696       Parent       5062 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:03-cv-09849,
                                                                                                                                                                                                       838, at 11; 8679-
866                                  Martin      James       Cummins      III   United States   Brian         T.        Cummins                      United States 9/11/01   NY (WTC)     03-cv-9849   1, at 82, 8696       Sibling      5062 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:02-cv-01616, 3,
867                                  Maureen     Ellen       Cummins            United States   Brian         T.        Cummins                      United States 9/11/01   NY (WTC)     03-cv-9849   at 1044              Parent       4023 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:03-cv-09849,
                                                                                                                                                                                                       838, at 14; 8679-
868                                  Michael     Joseph      Cummins            United States   Brian         T.        Cummins                      United States 9/11/01   NY (WTC)     03-cv-9849   1, at 78, 8696       Sibling      5062 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:02-cv-01616,
869                                  Joan                    Cuneo              Unknown         Charles       William   Garbarini                    United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3240      Sibling      3666 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:02-cv-01616,
870                                  Kathleen    Robertson   Cunningham         United States   Donald        W.        Robertson          Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4285      Sibling      4023 at 22   $   4,250,000.00 $    12,750,000.00
                                                                                United                                                                                                                 1:02-cv-01616,
871                                  Laurence    Edward      Cunningham         Kingdom         Michael       J.        Cunningham                   United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3666        Parent       3387         $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
872                                  Patricia    Kathleen    Cuozzo             United States   Margaret      Mary      Conner                       United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4199        Sibling      3666 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:02-cv-01616,
873                                  Anthony                 Curatolo     Sr.   Unknown         Robert                  Curatolo                     United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 1913      Parent       3666 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
874                                  Anthony                 Curatolo           United States   Robert                  Curatolo                     United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 1918      Sibling      4023 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                       26, 29, at 1915,
                                                                                                                                                                                                       8393-1, at 69,
875                                  Christine               Curatolo           United States   Robert                  Curatolo                     United States 9/11/01   NY (Other)   03-cv-9849   8487                 Spouse       5848 at 4    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
876                                  John                    Curatolo           United States   Robert                  Curatolo                     United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 1917      Sibling      4023 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:02-cv-01616,
877                                  Kathleen                Curatolo           Unknown         Robert                  Curatolo                     United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 1921      Sibling      3666 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:02-cv-01616,
878                                  William                 Curatolo           United States   Robert                  Curatolo                     United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 1916      Sibling      3666 at 3    $   4,250,000.00 $    12,750,000.00

                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                       26, 29, at 1925,
879 Daniel   H.      Curia           Alice                   Curia              United States   Laurence      D.        Curia                        Unknown      9/11/01    NY (WTC)     03-cv-9849   8397-1, at 7, 8433   Parent       4126 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
880                                  Daniel      H.          Curia              United States   Laurence      D.        Curia                        Unknown      9/11/01    NY (WTC)     03-cv-9849   26, 29, at 2936      Sibling      4023 at 9    $   4,250,000.00 $    12,750,000.00

                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                       26, 29, at 1924,
881 Daniel   H.      Curia           Joseph                  Curia              United States   Laurence      D.        Curia                        Unknown      9/11/01    NY (WTC)     03-cv-9849   8397-1, at 7, 8433   Parent       4126 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                       26, 29, at 4812,
                                                                                                                                                                                                       5284-1, at 3,
                                                                                                                                                                                                       5296, 8397-1, at
882 Paul     A.      Curioli         Kathi       S.          Curioli            United States   Paul          Dario     Curioli                      United States 9/11/01   NY (WTC)     03-cv-9849   7, 8433              Spouse       5138 at 4    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
883                                  Lawrence    Joseph      Curioli            Unknown         Paul          Dario     Curioli                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2938      Sibling      3666 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                       26, 29, at 4812,
                                                                                                                                                                                                       8393-1, at 1015,
884                                  Nicholas    J.          Curioli            United States   Paul          Dario     Curioli                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child        5356 at 2    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                       26, 29, at 4812,
                                                                                                                                                                                                       8393-1, at 1016,
885                                  Paul        A.          Curioli            United States   Paul          Dario     Curioli                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child        5087 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616, 3,
886                                  Alicia      Noelle      Curran             United States   Amy           Nicole    Jarret                       United States 9/11/01   NY (UA175)   03-cv-9849   at 1270              Sibling      4023 at 14   $   4,250,000.00 $    12,750,000.00
                                                                                United States   Stephen       F.        Masi                                                 NY (WTC)                  8679-1, at 287,
887                                  Dawn        Marie       Curry                                                                                   Unknown      9/11/01                 03-cv-9849   8696                 Step-Child   8293 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616, 3,
888                                  Patricia    Ann         Curry              Unknown         Robert        H.        Lynch              Jr.       United States 9/11/01   NY (Other)   03-cv-9849   at 1389              Sibling      3666 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       8679-1, at 391,
889                                  Ann                     Curti              United States   Gregg                   Reidy                        United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling      5848 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                       232, at P3726,
                                                                                                                                                                                                       8393-1, at 503,
890                                  Lauren      M.          Cuttone            United States   James         P.        Hopper                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child        5087 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                             VA                        1:02-cv-01616,
891                                  Zenovia     M.          Cuyler             United States   Ada           M.        Davis                        United States 9/11/01   (Pentagon)   03-cv-9849   432, at P4811        Child        4023 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616, 3,
892                                  Ashley      Michelle    Czak               United States   Lee           Charles   Ludwig                       United States 9/11/01   NY (WTC)     03-cv-9849   at 1379              Child        5356 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                             VA                        1:02-cv-01616,
893                                  Diane       Mary        Czlapinski         United States   Dennis        Michael   Johnson                      United States 9/11/01   (Pentagon)   03-cv-9849   305, at P4342        Sibling      4023 at 14   $   4,250,000.00 $    12,750,000.00



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                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        26, 29, at 4782,
                                                                                                                                                      United                                            8393-1, at 114,
894                             Carter      Alan        Dack                     United States   Caleb          Arron     Dack                        Kingdom      9/11/01    NY (WTC)     03-cv-9849   8487                 Child     5356 at 2    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        26, 29, at 4782,
                                                                                                                                                      United                                            8393-1, at 115,
895                             Olivia      Jane        Dack                     United States   Caleb          Arron     Dack                        Kingdom      9/11/01    NY (WTC)     03-cv-9849   8487                 Child     5356 at 2    $   8,500,000.00 $    25,500,000.00

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                                                                                                                                                                                                        26, 29, at 2957,
896                             Jason       Matthew     Dahl               Jr.   Unknown         Jason          M.        Dahl                        United States 9/11/01   PA (UA93)    03-cv-9849   8466-1, at 2, 8487   Child     5848 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
897                             Daniel                  D'Allara                 United States   John                     D'Allara                    United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4796      Sibling   3666 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616, 3,
                                                                                                                                                                                                        at 1051, 8393-1,
898                             Frank                   D'Amadeo                 United States   Vincent        Gerard    D'Amadeo                    United States 9/11/01   NY (WTC)     03-cv-9849   at 1370, 8487        Child     5087 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616, 3,
                                                                                                                                                                                                        at 1051, 8393-1,
899                             Jerry                   D'Amadeo                 United States   Vincent        Gerard    D'Amadeo                    United States 9/11/01   NY (WTC)     03-cv-9849   at 1371, 8487        Child     5087 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616, 3,
                                                                                                                                                                                                        at 1051, 8393-1,
900                             Michael                 D'Amadeo                 United States   Vincent        Gerard    D'Amadeo                    United States 9/11/01   NY (WTC)     03-cv-9849   at 1372, 8487        Child     5087 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616, 3,
                                                                                                                                                                                                        at 1051, 8393-1,
901                             Raquel                  D'Amadeo                 United States   Vincent        Gerard    D'Amadeo                    United States 9/11/01   NY (WTC)     03-cv-9849   at 85, 8487          Spouse    5087 at 7    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                        1:02-cv-01616, 3,
                                                                                                                                                                                                        at 1051, 8393-1,
902                             Vincent                 D'Amadeo                 United States   Vincent        Gerard    D'Amadeo                    United States 9/11/01   NY (WTC)     03-cv-9849   at 1373, 8487        Child     5087 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        232, at P4054,
                                                                                                                                                                                                        8393-1, at 80,
903                             Jennifer    Jeanne      Damaskinos               United States   Thomas         A.        Damaskinos                  United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5087 at 7    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        232, at P4054,
                                                                                                                                                                                                        8393-1, at 1294,
904                             Matthew     Paul        Damaskinos               United States   Thomas         A.        Damaskinos                  United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616, 1,
905                             Colleen     Michelle    D'Amato                  United States   Martin         Joseph    Egan              Jr.       United States 9/11/01   NY (Other)   03-cv-9849   at 187               Sibling   4023 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616,
906                             Brian       Robert      Damiani                  Unknown         Jeannine                 Damiani-Jones               United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2577         Sibling   3666 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616,
907                             Catherine   Elizabeth   Damiani                  United States   Jeannine                 Damiani-Jones               United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2578         Parent    3666 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
908                             Robert                  Damiani                  United States   Jeannine                 Damiani-Jones               United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2579         Parent    3666 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616, 1,
                    Danahy                                                                                                                                                                              at 156, 8397-1, at
909 Kathleen   A.   Samuelson   Francis     L.          Danahy             Jr.   United States   Patrick        William   Danahy                      United States 9/11/01   NY (WTC)     03-cv-9849   7, 8433              Parent    3387         $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616, 1,
910                             John        M.          Danahy                   United States   Patrick        William   Danahy                      United States 9/11/01   NY (WTC)     03-cv-9849   at 160               Sibling   3387         $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616, 1,
911                             Mary        A.          Danahy                   United States   Patrick        William   Danahy                      United States 9/11/01   NY (WTC)     03-cv-9849   at 159               Sibling   3387         $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616, 1,
912                             Mary-Anne   Dwyer       Danahy                   Unknown         Patrick        William   Danahy                      United States 9/11/01   NY (WTC)     03-cv-9849   at 157               Parent    3387         $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616, 1,
913                             Michael     Francis     Danahy                   Unknown         Patrick        William   Danahy                      United States 9/11/01   NY (WTC)     03-cv-9849   at 158               Sibling   3387         $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616, 1,
914                             Kathleen    A.          Danahy Samuelson         Unknown         Patrick        William   Danahy                      United States 9/11/01   NY (WTC)     03-cv-9849   at 161               Sibling   3387         $   4,250,000.00 $    12,750,000.00
                                                                                                                          Frederick-                                                                    8679-1, at 138,
915                             Brian       Reginald    Daniels                  United States   Lillian                  Lambert                     United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Child     7188 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        432, at P4807,
                                                                                                                                                                                                        8393-1, at 338,
916                             Anthony     Joseph      D'Atri                   United States   Edward         A.        D'Atri                      United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5061 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        432, at P4807,
                                                                                                                                                                                                        8393-1, at 339,
917                             Michael     Edward      D'Atri                   United States   Edward         A.        D'Atri                      United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5061 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        432, at P4807,
                                                                                                                                                                                                        8393-1, at 21,
918                             Linda                   D'Atri-Potenza           United States   Edward         A.        D'Atri                      United States 9/11/01   NY (Other)   03-cv-9849   8487                 Spouse    5061 at 4    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
919                             Catherine   Marie       Datz                     Unknown         John           J.        Murray                      United States 9/11/01   NY (WTC)     03-cv-9849   155, at P3039        Sibling   3666 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616,
920                             Carmen      Michael     D'Auria                  United States   Michael                  D'Auria                     United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2949      Parent    4023 at 9    $   8,500,000.00 $    25,500,000.00



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                                                                                                                             EXHIBIT B-1
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                                                                                                                                                                                                        1:02-cv-01616,
921                             Tara         Feehan        Davan                 United States   William       M.       Feehan                      United States 9/11/01     NY (Other)   03-cv-9849   26, 29, at 3129      Child     5062 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        305, at P4214,
                                                                                                                                                                                                        8393-1, at 55,
922                             Ellen        R.            Davidson              United States   Michael       A.       Davidson                    United States 9/11/01     NY (WTC)     03-cv-9849   8487                 Parent    4023 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
923                             Jeffrey      S.            Davidson              United States   Michael       A.       Davidson                    United States 9/11/01     NY (WTC)     03-cv-9849   305, at P4215        Sibling   4023 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616, 1,
924                             Michael      G.            Davidson              Unknown         Scott                  Davidson                    United States 9/11/01     NY (Other)   03-cv-9849   at 168               Sibling   5061 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616, 1,
925                             Stephen      Martin        Davidson              United States   Scott                  Davidson                    United States 9/11/01     NY (Other)   03-cv-9849   at 166               Parent    5062 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        313, at P4689,
                                                                                                                                                                                                        8393-1, at 15,
926                             Elizabeth                  Davila-Lopez          United States   Daniel                 Lopez                       United States 9/11/01     NY (WTC)     03-cv-9849   8487                 Spouse    7188 at 10   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                        1:03-md-01570,
                                                                                                                                                                                                        3477, at 78, 4311
                                                                                                                                                                                                        Exh. A Pg.8; 8679-
927                             Clinton                    Davis           Jr.   United States   Clinton                Davis             Sr.       United States 9/11/01     NY (Other)   03-cv-9849   1, at 85, 8696       Child     5087 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        155, at P2869,
                                                                                                                                                                                                        8393-1, at 13,
928                             Daphne       Rachell       Davis                 United States   Clinton                Davis             Sr.       United States 9/11/01     NY (Other)   03-cv-9849   8487                 Spouse    5087 at 7    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                              VA                        1:02-cv-01616,
929                             Nolton       Christopher   Davis                 United States   Ada           M.       Davis                       United States 9/11/01     (Pentagon)   03-cv-9849   432, at P4808        Child     5062 at 3    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                              VA                        432, at P4812,
930 Sheri   Latrice   Johnson   Phillip                    Davis                 United States   Ada           M.       Davis                       United States 9/11/01     (Pentagon)   03-cv-9849   8397-1, at 7, 8433   Sibling   5087 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616,
931                             Priscilla    D.            Davis                 United States   Clinton                Davis             Sr.       United States 9/11/01     NY (Other)   03-cv-9849   155, at P2869        Child     5087 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                              VA                        1:02-cv-01616,
932                             Rosslyn      D.            Davis                 United States   Ada           M.       Davis                       United States 9/11/01     (Pentagon)   03-cv-9849   432, at P4810        Child     4023 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                              VA                        1:02-cv-01616,
933                             Yolanda      L.            Davis                 United States   Ada           M.       Davis                       United States 9/11/01     (Pentagon)   03-cv-9849   432, at P4809        Child     4023 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                              VA                        1:02-cv-01616,
934                             Georgia      Darlene       Davis-Leggett         United States   Ada           M.       Davis                       United States 9/11/01     (Pentagon)   03-cv-9849   432, at P4815        Sibling   3666 at 3    $   4,250,000.00 $    12,750,000.00
                                                           Davis-                                                                                                             VA                        1:02-cv-01616,
935                             Clementene   Sue           Westmoreland          United States   Ada           M.       Davis                       United States 9/11/01     (Pentagon)   03-cv-9849   432, at P4817        Sibling   3666 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616,
936                             Ayikaile                   Davy                  United States   Japhet                 Aryee                       Ghana           9/11/01   NY (WTC)     03-cv-9849   305, at P4116        Child     5087 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616, 3,
937                             Brigitte                   Day                   Unknown         Edward        James    Day                         United States 9/11/01     NY (Other)   03-cv-9849   at 1056              Spouse    8310 at 4    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                        1:02-cv-01616, 1,
938                             Joaquim      Timotheo      de Araujo             United States   Dorothy       Alma     de Araujo                   United States 9/11/01     NY (UA175)   03-cv-9849   at 171               Child     4023 at 9    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        77, at P2685,
939                             Jacinda      Lynn          De Jesus              Unknown         Jennifer               DeJesus                     United States 9/11/01     NY (WTC)     03-cv-9849   8466-1, at 2, 8487   Child     8233 at 5    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        232, at P3669,
940                             Diana                      de la Torre           Ecuador         Azucena                de la Torre                 United States     9/11/01 NY (WTC)     03-CV-9849   8393-1, at 4, 8487   Sibling   5138 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616,
941                             Tiffney      Marie         de Vries              United States   Nicole        Carol    Miller                      United States 9/11/01     PA (UA93)    03-cv-9849   26, 29, at 3910      Sibling   4023 at 18   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616, 3,
                                                                                                                                                                                                        at 1772, 5284-1,
                                                                                                                                                                                                        at 3, 5296, 8393-
942                             Denise                     DeAngelis             United States   Robert        J.       DeAngelis         Jr.       United States 9/11/01     NY (WTC)     03-cv-9849   1, at 69, 8487       Spouse    5061 at 4    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
943                             Thomas       James         DeAngelis             United States   Thomas        P.       DeAngelis                   United States 9/11/01     NY (Other)   03-cv-9849   26, 29, at 1934      Child     4126 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
944                             Catherine                  Deasy                 United States   Michael       R.       Canty                       United States 9/11/01     NY (WTC)     03-cv-9849   155, at P2846        Sibling   4023 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616, 3,
945                             Carol        Margaret      DeBenedictis          Unknown         Paul          James    Furmato                     United States 9/11/01     NY (WTC)     03-cv-9849   at 1146              Sibling   3666 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616,
946                             Jacques      Dan-El        Debeuneure            United States   James         D.       Debeuneure                  United States 9/11/01     VA (AA77)    03-cv-9849   26, 29, at 1938      Child     4023 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        8679-1, at 86,
947                             Jalin        Danielle      Debeuneure            United States   James         D.       Debeuneure                  United States 9/11/01     VA (AA77)    03-cv-9849   8696                 Child     5087 at 7    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        232, at P4055,
948                             George                     Debin                 United States   Anna          M.       DeBin                       United States 9/11/01     NY (WTC)     03-cv-9849   8393-1, at 3, 8487   Spouse    5087 at 7    $   12,500,000.00 $   37,500,000.00




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                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                         232, at P4055,
                                                                                                                                                                                                         8393-1, at 51,
949                              Timothy                  DeBin               United States   Anna          M.            DeBin                        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         8679-1, at 297,
950 Raymond                      Kathleen   E.            DeCasper            United States   William       J.            McGovern                     United States 9/11/01   NY (Other)   03-cv-9849   8696                 Sibling   5087 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                         8679-1, at 421,
951                              Maria      Mercedes      Declet              United States   Jesus                       Sanchez                      United States 9/11/01   NY (UA175)   03-cv-9849   8696                 Parent    515 at 5     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         1:02-cv-01616,
952                              Laura      Jean          Decoster            United States   Robert        Wayne         Hobson             III       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3457      Sibling   3666 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                         1:02-cv-01616,
953                              Kola                     Dedvukaj            United States   Simon         Marash        Dedvukaj                     United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4219        Sibling   4023 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                         1:02-cv-01616,
954                              Linda                    Dedvukaj            United States   Simon         Marash        Dedvukaj                     United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4224        Sibling   4023 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                         1:02-cv-01616,
955                              Lisabeta                 Dedvukaj            United States   Simon         Marash        Dedvukaj                     United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4223        Sibling   4023 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                         1:02-cv-01616,
956                              Marash                   Dedvukaj            United States   Simon         Marash        Dedvukaj                     United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4217        Parent    4126 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         1:02-cv-01616,
957                              Michael                  Dedvukaj            United States   Simon         Marash        Dedvukaj                     United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4220        Sibling   4023 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                         155, at P2871,
                                                                                                                                                                                                         8393-1, at 76,
958                              Nik        M.            Dedvukaj            United States   Simon         Marash        Dedvukaj                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Sibling   4023 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                         1:02-cv-01616,
959                              Vitora                   Dedvukaj            United States   Simon         Marash        Dedvukaj                     United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4218        Parent    4126 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         1:02-cv-01616,
960                              Patricia   Mary          Deechan             United States   Kevin         M.            O'Rourke                     United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4081      Sibling   5062 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                         1:02-cv-01616, 1,
961                              James      Christopher   DeFazio             Unknown         Jason         Christopher   DeFazio                      United States 9/11/01   NY (WTC)     03-cv-9849   at 175               Parent    3666 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         1:02-cv-01616, 1,
                                                                                                                                                                                                         at 177, 8397-1, at
962 Alexis         DeFazio       Michael    J.            DeFazio             Unknown         Jason         Christopher   DeFazio                      United States 9/11/01   NY (WTC)     03-cv-9849   7, 8433              Sibling   4126 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                         1:02-cv-01616, 1,
963                              Rose       Ann           DeFazio             United States   Jason         Christopher   DeFazio                      United States 9/11/01   NY (WTC)     03-cv-9849   at 176               Parent    3666 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         8679-1, at 87,
964                              Wilfred                  DeJesus             Unknown         Jennifer                    DeJesus                      United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Parent    515 at 4     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         1:02-cv-01616,
965                              Laura      Marie         Del Corral          United States   Joseph                      Piskadlo                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4162      Child     5087 at 16   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                         305, at P4225,
                                                                                                                                                                                                         8393-1, at 51,
966                              Manuel                   Del Valle     Sr.   United States   Manuel                      Del Valle          Jr.       United States 9/11/01   NY (Other)   03-cv-9849   8487                 Parent    4023 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                         26, 29, at 1941,
                                                                                                                                                                                                         8393-1, at 1378,
967                              Kassidy    Louise        DeLeo               United States   Vito          Joseph        Deleo              Sr.       United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5087 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         1:02-cv-01616,
968 Michael        DeLeo         Lillian                  DeLeo               United States   Vito          Joseph        Deleo              Sr.       United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2983      Parent    3666 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         1:02-cv-01616,
969                              Michael                  DeLeo               United States   Vito          Joseph        Deleo              Sr.       United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2984      Sibling   5062 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                         1:02-cv-01616,
970                              Sally                    DeLeo               United States   Vito          Joseph        Deleo              Sr.       United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 1941      Spouse    5087 at 8    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                         26, 29, at 1941 ,
                                                                                                                                                                                                         8393-1, at 1379,
971                              Vito       Joseph        DeLeo               United States   Vito          Joseph        Deleo              Sr.       United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5087 at 8    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                         26, 29, at 2701,
972 Kenneth   E.   DelleFemine   Hope       Louise        DelleFemine         United States   Carol         Marie         Bouchard                     United States 9/11/01   NY (AA11)    03-cv-9849   8397-1, at 7, 8433   Parent    5087 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         1:02-cv-01616,
973                              Kenneth    E.            DelleFemine         Unknown         Carol         Marie         Bouchard                     United States 9/11/01   NY (AA11)    03-cv-9849   26, 29, at 2702      Sibling   3666 at 2    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                         1:02-cv-01616,
974                              Richard    Edward        DelleFemine   Sr.   United States   Carol         Marie         Bouchard                     United States 9/11/01   NY (AA11)    03-cv-9849   26, 29, at 2703      Sibling   4023 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                         1:02-cv-01616,
975                              Jayne      Ellen         Dellose             United States   John          J.            Murray                       United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3864        Sibling   4023 at 19   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                         432, at P4825,
                                                                                                                                                                                                         8393-1, at 53,
976                              Joan                     DeMeo               United States   Martin        N.            DeMeo                        United States 9/11/01   NY (Other)   03-cv-9849   8487                 Spouse    5087 at 8    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                         432, at P4825,
                                                                                                                                                                                                         8393-1, at 859,
977                              Nicholas                 DeMeo               United States   Martin        N.            DeMeo                        United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5087 at 8    $   8,500,000.00 $    25,500,000.00




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                                                                                                                                                                                                               8679-1, at 197,
978                                   Annemarie               D'Emic                   United States   Charles        F.X.      Heeran                       United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   5087 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616,
979                                   Brian        D.         Deming                   United States   Francis                  Deming                       United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4828        Child     5848 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:03-cv-9849,
                                                                                                                                                                                                               HAND FILED, at
980                                   Robert       Jay        Deming                   United States   Francis                  Deming                       United States 9/11/01   NY (WTC)     03-cv-9849   P5035                Sibling   5848 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               432, at
981                                   Rosemary     Maureen    Deming-Phalon            United States   Francis                  Deming                       United States 9/11/01   NY (WTC)     03-cv-9849   P4829,P4830          Sibling   5356 at 2    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                     VA                        1:02-cv-01616,
982                                   Deanna       G.         Demotte                  United States   Canfield       D.        Boone                        United States 9/11/01   (Pentagon)   03-cv-9849   432, at P4774        Sibling   5087 at 6    $   4,250,000.00 $    12,750,000.00

                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               77, at P2580,
983 Barbara    P.          Keane      Irene        A.         DeSantis                 Unknown         Robert         W.        Spear              Jr.       United States 9/11/01   NY (Other)   03-cv-9849   8397-1, at 7, 8433   Parent    7188 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               26, 29, at 1946,
                                                                                                                                                                                                               8393-1, at 342,
984                                   Edward                  DeSimone            IV   United States   Edward                   DeSimone           III       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5062 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
985                                   Joanne                  DeSimone                 United States   Edward                   DeSimone           III       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 1946      Spouse    5062 at 3    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               26, 29, at 1946,
                                                                                                                                                                                                               8393-1, at 341,
986                                   Stephanie    Concetta   DeSimone                 United States   Edward                   DeSimone           III       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5062 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               232, at P3631,
                                                                                                                                                                                                               8393-1, at 52,
987                                   Cheryl       Ann        Desmarais                United States   Mark           L.        Charette                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5087 at 6    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                               1:02-cv-01616, 1,
                                                                                                                                                                                                               at 151, 8393-1, at
988                                   Ashley       May        D'Esposito               United States   Michael        Jude      D'Esposito                   United States 9/11/01   NY (WTC)     03-cv-9849   939, 8487            Child     5061 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               8679-1, at 88,
989                                   Carol        Ann        D'Esposito               United States   Michael        Jude      D'Esposito                   United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Parent    7188 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616, 1,
990                                   Ralph        Thomas     D'Esposito               United States   Michael        Jude      D'Esposito                   United States 9/11/01   NY (WTC)     03-cv-9849   at 152               Parent    3666 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               8679-1, at 89,
991                                   Robert       Anthony    D'Esposito               United States   Michael        Jude      D'Esposito                   United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616, 1,
                                                                                                                                                                                                               at 8, 8393-1, at
992                                   Madison      Margaret   Dettmer                  United States   Thomas         E.        Burnett            Jr.       United States 9/11/01   PA (UA93)    03-cv-9849   1299, 8487           Child     5061 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
993                                   Anthony                 DeTullio                 Unknown         Virginia       May       Jablonski                    United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3734        Sibling   3666 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:03-cv-9849,
                                                                                                                                                                                                               HAND FILED, at
994                                   William      Gerard     Dewan                    United States   Gerard         P.        Dewan                        Unknown      9/11/01    NY (Other)   03-cv-9849   P5039                Sibling   4023 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616, 1,
995                                   Carla        L.         Di Maggio                United States   Scott                    Davidson                     United States 9/11/01   NY (Other)   03-cv-9849   at 167               Parent    4126 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:03-md-01570,
996                                   Evelyn                  Diaz                     United States   Dorothy        J.        Chiarchiaro                  United States 9/11/01   NY (WTC)     03-cv-9849   602, at P5477        Sibling   3666 at 2    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616,
997                                   Merquiades              Diaz                     United States   Norberto                 Hernandez                    United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3446      Sibling   3666 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:03-cv-9849,
                                                                                                                                                                                                               HAND FILED, at
                                                                                                                                                                                                               P5040, 8393-1, at
998                                   LaShawn                 Dickens                  Unknown         Rodney         Alonzo    Dickens                      United States 9/11/01   VA (AA77)    03-cv-9849   72, 8487             Parent    3666 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616, 3,
999                                   Elizabeth    Anne       Dickey                   United States   Stephen        Jeffrey   Cangialosi                   United States 9/11/01   NY (WTC)     03-cv-9849   at 969               Sibling   3666 at 2    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               26, 29, at 3014,
                                                                                                                                                                                                               8393-1, at 778,
1000                                  Erin         R.         Dickinson                United States   Lawrence       Patrick   Dickinson                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5061 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
1001 Deirdre   Dickinson   Sullivan   Helene       F.         Dickinson                United States   Lawrence       Patrick   Dickinson                    United States 9/11/01   NY (WTC)     03-cv-9849   155, at P2875        Parent    3666 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
1002                                  Joseph       Lawrence   Dickinson                Unknown         Lawrence       Patrick   Dickinson                    United States 9/11/01   NY (WTC)     03-cv-9849   155, at P2876        Sibling   3666 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               26, 29, at 3014,
                                                                                                                                                                                                               8393-1, at 779,
1003                                  Patrick      J.         Dickinson                United States   Lawrence       Patrick   Dickinson                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5061 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               26, 29, at 3014,
                                                                                                                                                                                                               8393-1, at 49,
1004                                  Linda        M.         Dickinson-Pancila        United States   Lawrence       Patrick   Dickinson                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5061 at 5    $   12,500,000.00 $   37,500,000.00




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                                                                                                                  EXHIBIT B-1
                                                                                               SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                            1:03-cv-9849,
                                                                                                                                                                                            HAND FILED, at
1005                           Donna      Lee         Dietrich         United States   James        J.        Hobin                       United States 9/11/01   NY (WTC)     03-cv-9849   P5088               Sibling   4023 at 13     $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                            26, 29, at 2487,
                                                                                                                                                                                            5284-1, at 10,
                                                                                                                                                                                            5296, 8393-1, at
1006                           Sarah      Elizabeth   Dietrich         United States   Karen        Lynn      Seymour                     United States 9/11/01   NY (WTC)     03-cv-9849   714, 8487           Child     5087 at 18     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                            26, 29, at 2487,
                                                                                                                                                                                            8393-1, at 713,
1007                           William    Charles     Dietrich         United States   Karen        Lynn      Seymour                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     5087 at 18     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                            26, 29, at 2487,
                                                                                                                                                                                            5284-1, at 10,
1008                           William    Gary        Dietrich         United States   Karen        Lynn      Seymour                     United States 9/11/01   NY (WTC)     03-cv-9849   5296                Spouse    5951 at 7      $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                            26, 29, at 3022,
                                                                                                                                                                                            8393-1, at 592,
1009                           Anthony                DiFato           United States   John                   DiFato                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     5087 at 8      $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            1:02-cv-01616, 1,
1010                           Antonio                DiFato           Unknown         Lisa                   Cannava                     United States 9/11/01   NY (WTC)     03-cv-9849   at 117              Parent    3666 at 2, 4   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            1:02-cv-01616, 1,
1011                           Antonio                DiFato           Unknown         John                   DiFato                      United States 9/11/01   NY (WTC)     03-cv-9849   at 181              Parent    3666 at 2, 4   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                            26, 29, at 3022,
                                                                                                                                                                                            8393-1, at 591,
1012                           John       Anthony     DiFato           United States   John                   DiFato                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     5087 at 8      $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                            26, 29, at 3022,
                                                                                                                                                                                            8393-1, at 590,
1013                           Nicole     Kristine    DiFato           United States   John                   DiFato                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     5087 at 8      $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            1:02-cv-01616,
1014                           Susan                  DiFato           United States   John                   DiFato                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3022     Spouse    5061 at 5      $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                            1:02-cv-01616, 1,
1015                           Teresa                 DiFato           Unknown         Lisa                   Cannava                     United States 9/11/01   NY (WTC)     03-cv-9849   at 115              Parent    3666 at 2, 4   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            1:02-cv-01616, 1,
1016                           Teresa                 DiFato           Unknown         John                   DiFato                      United States 9/11/01   NY (WTC)     03-cv-9849   at 182              Parent    3666 at 2, 4   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                            305, at P4229,
                                                                                                                                                                                            8393-1, at 1367,
1017                           Dana       Michelle    DiFazio          United States   Vincent      Francis   DiFazio                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     5848 at 5      $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                            305, at P4229,
                                                                                                                                                                                            8393-1, at 1368,
1018                           Gina       Marie       DiFazio          United States   Vincent      Francis   DiFazio                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     5848 at 5      $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                            305, at P4229,
                                                                                                                                                                                            8393-1, at 1369,
1019                           Joseph     Vincent     DiFazio          United States   Vincent      Francis   DiFazio                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     6035 at 4      $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                            305, at P4229,
                                                                                                                                                                                            8393-1, at 84,
1020                           Patricia   Anne        DiFazio          United States   Vincent      Francis   DiFazio                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                Spouse    5848 at 5      $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                            1:02-cv-01616, 3,
                                                                                                                                                                                            at 1063, 8397-1,
1021 Carole   May   DiFranco   Carmelo    Anthony     DiFranco         United States   Carl         A.        DiFranco                    United States 9/11/01   NY (WTC)     03-cv-9849   at 7, 8433          Parent    5062 at 4      $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            1:02-cv-01616, 3,
1022                           Carole     May         DiFranco         United States   Carl         A.        DiFranco                    United States 9/11/01   NY (WTC)     03-cv-9849   at 1064             Parent    4023 at 9      $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            1:02-cv-01616, 3,
1023                           Nancy                  DiFranco         United States   Carl         A.        DiFranco                    United States 9/11/01   NY (WTC)     03-cv-9849   at 1066             Sibling   4023 at 10     $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                            1:02-cv-01616,
1024                           Mary       E.          Digiacomo        United States   John         P.        Tierney                     United States 9/11/01   NY (Other)   03-cv-9849   155, at P3125       Sibling   5062 at 6      $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                            1:02-cv-01616,
1025                           Kristine   Camille     DiLullo          United States   John         Anthony   Sherry                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2482     Sibling   5062 at 6      $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                            1:02-cv-01616,
1026                           Allison    Ann         Dimarzio         United States   Barbara      P.        Walsh                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2418     Child     4023 at 25     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            1:02-cv-01616,
1027                           Georgia    Rose        DiPasquale       United States   George                 DiPasquale                  United States 9/11/01   NY (Other)   03-cv-9849   77, at P2582        Child     5848 at 5      $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                            77, at P2583,
                                                                                                                                                                                            8393-1, at 27,
1028                           Melissa    M.          DiPasquale       United States   George                 DiPasquale                  United States 9/11/01   NY (Other)   03-cv-9849   8487                Spouse    5356 at 2      $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                            1:02-cv-01616, 3,
1029                           Mary       Kathleen    Dishaw           Unknown         Michael      P.        O'Brien                     United States 9/11/01   NY (WTC)     03-cv-9849   at 1502             Sibling   3666 at 9      $   4,250,000.00 $    12,750,000.00




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                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               26, 29, at 3030,
                                                                                                                                                                                                               8393-1, at 19,
1030                                      Marjorie     Alice      DiTullio               Unknown         Donald        Americo   DiTullio                    United States 9/11/01   NY (AA11)    03-cv-9849   8487                 Parent    4023 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:03-md-01570,
                                                                                                                                                                                                               3477, at 1143;
                                                                                                                                                                                                               8679-1, at 107,
1031                                      Jacqueline              DiVirgilio             United States   David         Francis   Ferrugio                    United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Child     5061 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
1032                                      Lorraine     Yamnicky   Dixon                  United States   John          David     Yamnicky          Sr.       United States 9/11/01   VA (AA77)    03-cv-9849   155, at P3166        Child     4023 at 26   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616, 3,
1033                                      Rhonda       Beth       Dizney                 United States   Michael       C.        Rothberg                    United States 9/11/01   NY (WTC)     03-cv-9849   at 1593              Sibling   5062 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               8679-1, at 159,
1034                                      Hanifa                  Djonbalic              United States   Mon                     Gjonbalaj                   United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Spouse    5087 at 9    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               305, at P4230,
                                                                                                                                                                                     VA                        8393-1, at 40,
1035                                      Andrea       Gale       Doctor                 United States   Johnnie                 Doctor            Jr.       United States 9/11/01   (Pentagon)   03-cv-9849   8487                 Spouse    5087 at 8    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                     VA                        1:03-md-01570,
1036                                      Evelena                 Doctor                 United States   Johnnie                 Doctor            Jr.       United States 9/11/01   (Pentagon)   03-cv-9849   432, at P5340        Parent    3666 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                     VA                        1:03-md-01570,
1037                                      JoAnn                   Doctor                 United States   Johnnie                 Doctor            Jr.       United States 9/11/01   (Pentagon)   03-cv-9849   432, at P5343        Sibling   3666 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                     VA                        1:03-md-01570,
1038                                      Sheldon      Dewayne    Doctor                 United States   Johnnie                 Doctor            Jr.       United States 9/11/01   (Pentagon)   03-cv-9849   432, at P5342        Sibling   3666 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                     VA                        1:03-md-01570,
1039                                      William      Lawrence   Doctor                 United States   Johnnie                 Doctor            Jr.       United States 9/11/01   (Pentagon)   03-cv-9849   432, at P5341        Sibling   3666 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:03-md-01570,
                                                                                                                                                                                                               3477, at 15; 8679-
1040                                      Cathleen                Dodge                  United States   James         Lee       Connor                      United States 9/11/01   NY (WTC)     03-cv-9849   1, at 57, 8696       Sibling   5062 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616,
1041                                      Ada          Esther     Dolch                  United States   Wendy         A.        Wakeford                    United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4971        Sibling   4023 at 25   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               305, at P4232,
                                                                                                                                                                                                               8393-1, at 61,
1042                                      Helen        Ann        Dollard                United States   Neil          Matthew   Dollard                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    5087 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
1043                                      Mary         Kathleen   Dollard                United States   Neil          Matthew   Dollard                     United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4236        Sibling   4126 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616,
1044                                      Michael      James      Dollard                United States   Neil          Matthew   Dollard                     United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4234        Sibling   5062 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616,
1045                                      Peter        Adam       Dollard                United States   Neil          Matthew   Dollard                     United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4235        Sibling   5062 at 4    $   4,250,000.00 $    12,750,000.00

                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               305, at P4233,
1046 Donna    E.         Dollard          Robert       M.         Dollard                United States   Neil          Matthew   Dollard                     United States 9/11/01   NY (WTC)     03-cv-9849   8397-1, at 7, 8433   Parent    5061 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
1047                                      Diana        Eileen     Dollard-Hearns         United States   Neil          Matthew   Dollard                     United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4237        Sibling   4023 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616, 1,
                                                                                                                                                                                                               at 184, 8393-1, at
1048                                      Frank        Joseph     Dominguez              United States   Jerome                  Dominguez                   United States 9/11/01   NY (Other)   03-cv-9849   35, 8487             Sibling   5138 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616,
1049                                      Maureen      Kelly      Donegan                United States   William       Hill      Kelly             Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   313, at P4671        Sibling   5062 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616,
1050                                      Brian        J.         Donnelly               United States   Kevin         W.        Donnelly                    United States 9/11/01   NY (Other)   03-cv-9849   155, at P2879        Sibling   4023 at 10   $   4,250,000.00 $    12,750,000.00

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                                                                                                                                                                                                               432, at P4833,
1051 Edward   Lawrence   Donnelly   Jr.   Cecilia      E.         Donnelly               United States   Kevin         W.        Donnelly                    United States 9/11/01   NY (Other)   03-cv-9849   8397-1, at 8, 8433   Parent    4023 at 10   $   8,500,000.00 $    25,500,000.00

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                                                                                                                                                                                                               432, at P4832,
1052 Edward   Lawrence   Donnelly   Jr.   Edward       Lawrence   Donnelly         Sr.   United States   Kevin         W.        Donnelly                    United States 9/11/01   NY (Other)   03-cv-9849   8397-1, at 8, 8433   Parent    4023 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               155, at P2880,
                                                                                                                                                                                                               8393-1, at 47,
1053                                      Edward       Lawrence   Donnelly         Jr.   United States   Kevin         W.        Donnelly                    United States 9/11/01   NY (Other)   03-cv-9849   8487                 Sibling   4023 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616,
1054                                      Dana         Emily      Donohue                United States   Dennis        Michael   Cook                        United States 9/11/01   NY (WTC)     03-cv-9849   313, at P4632        Spouse    5061 at 4    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
1055                                      Kenneth      Michael    Donohue                United States   Craig         William   Staub                       United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4545        Sibling   4023 at 24   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               155, at P2882,
                                                                                                                                                                                     VA                        8393-1, at 1412,
1056                                      Brady                   Donovan                United States   William       Howard    Donovan                     United States 9/11/01   (Pentagon)   03-cv-9849   8487                 Child     5087 at 8    $   8,500,000.00 $    25,500,000.00




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                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                             155, at P2882,
                                                                                                                                                                                   VA                        8393-1, at 87,
1057                                       Elaine        Marie       Donovan          United States   William        Howard    Donovan                     United States 9/11/01   (Pentagon)   03-cv-9849   8487                 Spouse     5087 at 8    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                             155, at P2882,
                                                                                                                                                                                   VA                        8393-1, at 1413,
1058                                       Kelsey        Elizabeth   Donovan          United States   William        Howard    Donovan                     United States 9/11/01   (Pentagon)   03-cv-9849   8487                 Child      5087 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                             155, at P2882,
                                                                                                                                                                                   VA                        8393-1, at 1414,
1059                                       Megan         Lynn        Donovan          United States   William        Howard    Donovan                     United States 9/11/01   (Pentagon)   03-cv-9849   8487                 Child      5087 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             1:02-cv-01616,
1060                                       Michael                   Donovan          United States   Jacqueline               Donovan                     United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3678        Sibling    5087 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                             1:02-cv-01616, 3,
1061                                       Kathleen      Ann         Doolan           United States   Thomas         Patrick   Knox                        United States 9/11/01   NY (WTC)     03-cv-9849   at 1303              Sibling    4023 at 15   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                             305, at P4434,
                                                                                                                                                                                                             8393-1, at 20,
1062                                       Earl          Alexander   Dorsey           United States   Dora           Marie     Menchaca                    United States 9/11/01   VA (AA77)    03-cv-9849   8487                 Spouse     5062 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                             8679-1, at 314,
1063                                       Imani         Marie       Dorsey           United States   Dora           Marie     Menchaca                    United States 9/11/01   VA (AA77)    03-cv-9849   8696                 Child      5061 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                             305, at P4434,
                                                                                                                                                                                                             8393-1, at 322,
1064                                       Jaryd         Alexander   Dorsey           United States   Dora           Marie     Menchaca                    United States 9/11/01   VA (AA77)    03-cv-9849   8487                 Child      5061 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             1:02-cv-01616,
1065                                       Patricia                  Dougan           United States   Paul                     Talty                       United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4520      Sibling    4023 at 24   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                             77, at P2584,
                                                                                                                                                                                                             8393-1, at 26,
1066                                       Ann           Mason       Douglas          United States   Frederick      John      Cox                         United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent     4023 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             1:02-cv-01616,       Domestic
1067                                       Robert                    Dow              Unknown         Ruth           Ellen     Ketler                      United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3748        Partner    5949 at 8    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                             1:02-cv-01616, 1,
                                                                                                                                                                                                             at 13, 8397-1, at
1068 William   Henry   Doyle         Jr.   Camille                   Doyle            Unknown         Joseph         Michael   Doyle                       United States 9/11/01   NY (WTC)     03-cv-9849   8, 8433              Parent     5087 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             1:02-cv-01616, 1,
1069                                       William       Henry       Doyle      Jr.   United States   Joseph         Michael   Doyle                       United States 9/11/01   NY (WTC)     03-cv-9849   at 14                Sibling    4023 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                             1:02-cv-01616, 1,
                                                                                                                                                                                                             at 12, 8397-1, at
                                                                                                                                                                                                             8, 8433, 8393-1,
1070 William   Henry   Doyle         Jr.   William       H.          Doyle      Sr.   Unknown         Joseph         Michael   Doyle                       United States 9/11/01   NY (WTC)     03-cv-9849   at 42, 8487          Parent     5087 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             1:02-cv-01616, 1,
1071                                       Lisa          Maria       Dreher           United States   Dorothy        J.        Chiarchiaro                 United States 9/11/01   NY (WTC)     03-cv-9849   at 127               Child      3666 at 2    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             1:02-cv-01616, 3,
                                                                                                                                                                                                             at 1077, 8397-1,
1072 Pamela    Marie   Gould               Adelaide      Maureen     Driscoll         United States   Patrick        Joseph    Driscoll                    United States 9/11/01   PA (UA93)    03-cv-9849   at 8, 8433           Spouse     5848 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                             305, at P4244,
                                                                                                                                                                                                             8393-1, at 77,
1073                                       Ann           Patricia    Driscoll         United States   Stephen        Patrick   Driscoll                    United States 9/11/01   NY (Other)   03-cv-9849   8487                 Spouse     5087 at 8    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                             305, at P4244,
                                                                                                                                                                                                             8393-1, at 1246,
1074                                       Barry         Patrick     Driscoll         United States   Stephen        Patrick   Driscoll                    United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child      5087 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             1:02-cv-01616, 3,
1075                                       Christopher   John        Driscoll         United States   Patrick        Joseph    Driscoll                    United States 9/11/01   PA (UA93)    03-cv-9849   at 1078              Child      5062 at 4    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                             77, at AP205,
1076                                       Jean          Patricia    Driscoll         Unknown         Stephen        Patrick   Driscoll                    United States 9/11/01   NY (Other)   03-cv-9849   5284-1, at 4, 5296   Sibling    3666 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                             1:02-cv-01616, 3,
                                                                                                                                                                                                             at 1081, 8397-1,
1077 Helene    F.      Driscoll            John          M.          Driscoll         United States   Patrick        Joseph    Driscoll                    United States 9/11/01   PA (UA93)    03-cv-9849   at 8, 8433           Sibling    4126 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                             77, at AP203,
                                                                                                                                                                                                             5284-1, at 4,
                                                                                                                                                                                                             5296, 8397-1, at
1078 Joseph    A.      Charbonneau         Letitia                   Driscoll         Unknown         Stephen        Patrick   Driscoll                    United States 9/11/01   NY (Other)   03-cv-9849   8, 8433              Parent     4126 at 5    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                             77, at AP204,
1079                                       Michael       Cornelius   Driscoll         United States   Stephen        Patrick   Driscoll                    United States 9/11/01   NY (Other)   03-cv-9849   5284-1, at 4, 5296   Sibling    3666 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                             1:02-cv-01616, 3,
1080                                       Patrick       Thomas      Driscoll         United States   Patrick        Joseph    Driscoll                    United States 9/11/01   PA (UA93)    03-cv-9849   at 1080              Child      4023 at 10   $   8,500,000.00 $    25,500,000.00



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                                                                                                                         EXHIBIT B-1
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                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   77, at AP202,
1081 Joseph   A.   Charbonneau   Patrick       Joseph        Driscoll       United States   Stephen        Patrick   Driscoll                    United States 9/11/01   NY (Other)   03-cv-9849   8397-1, at 8, 8433   Parent    4126 at 5    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   77, at AP206,
1082                             Sheila        Mary          Driscoll       United States   Stephen        Patrick   Driscoll                    United States 9/11/01   NY (Other)   03-cv-9849   5284-1, at 4, 5296   Sibling   3666 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616, 3,
1083                             Stephen       Michael       Driscoll       United States   Patrick        Joseph    Driscoll                    United States 9/11/01   PA (UA93)    03-cv-9849   at 1079              Child     4023 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616, 3,
1084                             Susan                       Drury          United States   Joseph                   Maffeo                      United States 9/11/01   NY (Other)   03-cv-9849   at 1397              Sibling   4126 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   232, at P3736,
                                                                                                                                                                                                   8393-1, at 77,
1085                             Kimberly      Jacoby        Dudgeon        United States   Steven         Donald    Jacoby                      United States 9/11/01   VA (AA77)    03-cv-9849   8487                 Spouse    5061 at 8    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                   1:02-cv-01616, 1,
1086                             Denise                      Duffy          United States   Patrick        William   Danahy                      United States 9/11/01   NY (WTC)     03-cv-9849   at 162               Sibling   3387         $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616,
1087                             Jane          Marie         Duffy          United States   Gerald         T.        Atwood                      United States 9/11/01   NY (WTC)     03-cv-9849   313, at P4607        Sibling   4126 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616,
1088                             Jason         T.            Duffy          United States   Thomas         W.        Duffy                       United States 9/11/01   NY (WTC)     03-cv-9849   305, at AP252        Child     4023 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
1089                             Robert        M.            Duffy          United States   Gerard         J.        Duffy                       United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3070      Sibling   5356 at 2    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                         VA                        1:02-cv-01616, 3,
1090                             Serena        Fisher        Dugan          United States   Gerald         Paul      Fisher                      United States 9/11/01   (Pentagon)   03-cv-9849   at 1120              Child     5062 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
1091                             Margaret      Cathryn       Dugdale        United States   James          Francis   Lynch                       United States 9/11/01   NY (Other)   03-cv-9849   155, at P3007        Sibling   4023 at 17   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616,
1092                             Megan         Michelle      Duger          United States   Antoinette               Duger                       Italy        9/11/01    NY (WTC)     03-cv-9849   26, 29, at 4789      Child     5087 at 8    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   26, 29, at 4789,
1093                             Raymond                     Duger          United States   Antoinette               Duger                       Italy        9/11/01    NY (WTC)     03-cv-9849   5284-1, at 4, 5296   Spouse    5087 at 8    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
1094                             Mitchell      T.            Duggan         Ireland         Jacqueline     Sayegh    Duggan                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3078      Spouse    5061 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
1095                             Agnes         Marie         Duhamel        Unknown         John           T.        McErlean          Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4421        Sibling   3666 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616, 3,
                                                                                                                                                                                                   at 1085, 8393-1,
1096                             Christopher   Graham        Dunstan        United States   Richard        A.        Dunstan                     England      9/11/01    NY (WTC)     03-cv-9849   at 1080, 8487        Child     5848 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616, 3,
1097                             Janet         Arleen        Dunstan        United States   Richard        A.        Dunstan                     England      9/11/01    NY (WTC)     03-cv-9849   at 1085              Spouse    5848 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
1098                             Christine     Teresa        Durante        Unknown         Leonard        J.        Ragaglia                    United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2292      Sibling   3666 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:18-cv-11582, 1,
                                                                                                                                                                                                   at 22; 8679-1, at
1099                             Mary                        Dwyer          United States   Lucy           A.        Fishman                     United States 9/11/01   NY (WTC)     03-cv-9849   127, 8696            Sibling   5104 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616,
1100                             Barbara       Jean          Dziadek        United States   Denis                    Lavelle                     United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4881        Sibling   3382         $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   8679-1, at 293,
1101                             Maureen       McEneaney     Eckman         United States   Eamon          James     McEneaney                   United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616,
1102                             Audrey        Katherine     Economos       United States   Constantine              Economos                    United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 1959      Spouse    5061 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   26, 29, at 1959,
                                                                                                                                                                                                   8393-1, at 209,
1103                             Constantine   Leon          Economos       United States   Constantine              Economos                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5848 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   26, 29, at 1959,
                                                                                                                                                                                                   8393-1, at 210,
1104                             Katherine     Audrey        Economos       United States   Constantine              Economos                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5848 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   8679-1, at 503,
1105                             Mary          Jane          Edgar          United States   James          Arthur    Waring                      United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   5087 at 21   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616,
1106                             Douglas       Craig         Edwards        United States   Barbara        Gollan    Edwards                     Germany      9/11/01    VA (AA77)    03-cv-9849   155, at P2884        Child     5062 at 4    $   8,500,000.00 $    25,500,000.00

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                                                                                                                                                                                                   155, at P2885,
1107                             Frank         Michael       Edwards        United States   Barbara        Gollan    Edwards                     Germany      9/11/01    VA (AA77)    03-cv-9849   8393-1, at 5, 8487   Child     4023 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
1108                             Scott         Christopher   Edwards        United States   Barbara        Gollan    Edwards                     Germany      9/11/01    VA (AA77)    03-cv-9849   155, at P2886        Child     4126 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
1109                             Nicole                      Effress        United States   Rita                     Blau                        United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2693      Child     4023 at 5    $   8,500,000.00 $    25,500,000.00




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                                                                                                                                                                                                          1:02-cv-01616, 1,
                                                                                                                                                                                                          at 186, 8393-1, at
1110                                Diane                     Egan               United States   Martin         Joseph      Egan              Jr.       United States 9/11/01   NY (Other)   03-cv-9849   53, 848              Spouse       5061 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                          1:02-cv-01616, 1,
                                                                                                                                                                                                          at 186, 8393-1, at
1111                                Kerry       Ann           Egan               United States   Martin         Joseph      Egan              Jr.       United States 9/11/01   NY (Other)   03-cv-9849   853, 8487            Child        5087 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616, 1,
1112                                Mark        C.            Egan               United States   Martin         Joseph      Egan              Jr.       United States 9/11/01   NY (Other)   03-cv-9849   at 189               Sibling      4023 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616, 1,
                                                                                                                                                                                                          at 190, 8397-1, at
1113 Patricia    Mary     Egan      Martin      J.            Egan         Sr.   United States   Martin         Joseph      Egan              Jr.       United States 9/11/01   NY (Other)   03-cv-9849   8, 8433              Parent       5062 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616, 1,
1114                                Michael     Patrick       Egan               United States   Martin         Joseph      Egan              Jr.       United States 9/11/01   NY (Other)   03-cv-9849   at 188               Sibling      4023 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616, 1,
1115                                Patricia    Mary          Egan               United States   Martin         Joseph      Egan              Jr.       United States 9/11/01   NY (Other)   03-cv-9849   at 191               Parent       4023 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616, 1,
                                                                                                                                                                                                          at 186, 8393-1, at
1116                                Sean        Christopher   Egan               United States   Martin         Joseph      Egan              Jr.       United States 9/11/01   NY (Other)   03-cv-9849   854, 8487            Child        5061 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          8679-1, at 91,
1117                                Adina       Debra         Eisenberg          United States   Eric           Adam        Eisenberg                   United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling      7188 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          8679-1, at 92,
1118                                Carl        Jonas         Eisenberg          United States   Eric           Adam        Eisenberg                   United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Parent       7188 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          8679-1, at 93,
1119                                Russell     Marc          Eisenberg          United States   Eric           Adam        Eisenberg                   United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling      7188 at 6    $   4,250,000.00 $    12,750,000.00

                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          232, at P3682,
1120 Josephine            Elder     Jimmy       Paul          Elder              United States   Daphne         Ferlinda    Elder                       United States 9/11/01   NY (WTC)     03-cv-9849   8397-1, at 8, 8433   Parent       5061 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
1121                                Josephine                 Elder              United States   Daphne         Ferlinda    Elder                       United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3683        Parent       4023 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
1122                                Joseph      E.            Elferis            United States   Michael        J.          Elferis                     United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3099      Sibling      4023 at 10   $   4,250,000.00 $    12,750,000.00

                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          26, 29, at 3098,
1123 Robert      George   Elferis   Mary        E.            Elferis            United States   Michael        J.          Elferis                     United States 9/11/01   NY (Other)   03-cv-9849   8397-1, at 8, 8433   Parent       4023 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
1124                                Robert      E.            Elferis            United States   Michael        J.          Elferis                     United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3097      Parent       4023 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
1125                                Robert      George        Elferis            United States   Michael        J.          Elferis                     United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3100      Sibling      4023 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
1126                                Louise      Ethel         Ellerbe            United States   Elizabeth                  Holmes                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2056      Sibling      5087 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616, 3,
1127                                Linda                     Ellicott           Unknown         Keith          James       Burns                       United States 9/11/01   NY (WTC)     03-cv-9849   at 948               Sibling      3666 at 2    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                VA                        1:02-cv-01616,
1128                                Grace       Elaine        Ellis              United States   Rosa           Marie       Chapa                       United States 9/11/01   (Pentagon)   03-cv-9849   77, at P2586         Child        4023 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          8679-1, at 96,
1129                                Brian       Keith         Emery              United States   Edgar          Hendricks   Emery             Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Child        7188 at 6    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          26, 29, at 2469,
1130                                Elizabeth                 Emery              Unknown         Edgar          Hendricks   Emery             Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   5284-1, at 4, 5296   Spouse       5848 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                          8679-1, at 94,
1131                                Martha      Elizabeth     Emery              United States   Edgar          Hendricks   Emery             Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Parent       7188 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          8679-1, at 97,
1132                                Richard     Lee           Emery              United States   Edgar          Hendricks   Emery             Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling      7188 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          8679-1, at 98,
1133                                Wayne       Alan          Emery              United States   Edgar          Hendricks   Emery             Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling      7188 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
1134                                Donna       Marie         Erskine            United States   Robert         L.          Horohoe           Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2065      Sibling      4023 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          313, at P4639,
                                                                                                                                                        United                                            8393-1, at 74,
1135                                Rogelio     R.            Escarcega          United States   Sarah          Ali         Escarcega                   Kingdom      9/11/01    NY (WTC)     03-cv-9849   8487                 Spouse       5848 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                 United States   Ronald         Franklin    Golinski                                            VA                        8679-1, at 171,
1136                                David       Eugene        Eschenbaum                                                                                United States 9/11/01   (Pentagon)   03-cv-9849   8696                 Step-Child   5949 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616, 1,
1137                                Catherine   M.            Esposito           United States   Francis                    Esposito                    United States 9/11/01   NY (Other)   03-cv-9849   at 199               Sibling      4126 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
1138                                Craig       Steven        Esposito           United States   William        J.          Esposito                    United States 9/11/01   NY (WTC)     03-cv-9849   313, at P4640        Child        5848 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616, 1,
1139                                Dominick    Anthony       Esposito           Unknown         Francis                    Esposito                    United States 9/11/01   NY (Other)   03-cv-9849   at 198               Sibling      3666 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616, 1,
1140                                Dorothy     Helen         Esposito           Unknown         Francis                    Esposito                    United States 9/11/01   NY (Other)   03-cv-9849   at 195               Parent       3666 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616, 1,
1141                                Frank                     Esposito           United States   Michael                    Esposito                    United States 9/11/01   NY (Other)   03-cv-9849   at 208               Sibling      4023 at 10   $   4,250,000.00 $    12,750,000.00



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                                                                                                                                                           EXHIBIT B-1
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                                                                                                                                                                                                                                     1:02-cv-01616, 1,
1142                                                       Joseph      Michael     Esposito                   United States   Michael                  Esposito                    United States 9/11/01   NY (Other)   03-cv-9849   at 206               Sibling   4023 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                     1:02-cv-01616, 1,
1143                                                       Michael     Anthony     Esposito                   Unknown         Francis                  Esposito                    United States 9/11/01   NY (Other)   03-cv-9849   at 196               Parent    3666 at 4    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                     155, at P2889,
1144                                                       Michael     Anthony     Esposito                   United States   Bridget        Ann       Esposito                    United States 9/11/01   NY (WTC)     03-cv-9849   8393-1, at 7, 8487   Spouse    5087 at 8    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                     1:02-cv-01616, 1,
1145                                                       Richard                 Esposito                   United States   Francis                  Esposito                    United States 9/11/01   NY (Other)   03-cv-9849   at 197               Sibling   4126 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                     1:02-cv-01616, 1,
1146 Joseph          Michael           Esposito            Salvatore               Esposito                   United States   Michael                  Esposito                    United States 9/11/01   NY (Other)   03-cv-9849   at 207               Sibling   4023 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                     1:02-cv-01616, 1,
1147                                                       Simone                  Esposito             Jr.   United States   Michael                  Esposito                    United States 9/11/01   NY (Other)   03-cv-9849   at 205               Sibling   4023 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                     1:02-cv-01616, 1,
1148                                                       Simone                  Esposito             Sr.   United States   Michael                  Esposito                    United States 9/11/01   NY (Other)   03-cv-9849   at 202               Parent    4126 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                     232, at P4056,
                                                                                                                                                                                                                                     8393-1, at 88,
1149                                                       Stephanie   Lynn        Esposito                   United States   William        J.        Esposito                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5061 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                     1:02-cv-01616, 1,
1150                                                       Vincent                 Esposito                   United States   Francis                  Esposito                    United States 9/11/01   NY (Other)   03-cv-9849   at 200               Sibling   4023 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                     1:02-cv-01616,
1151                                                       Susan       Britt       Esposito-Lombardo          United States   William        J.        Esposito                    United States 9/11/01   NY (WTC)     03-cv-9849   232, at P4057        Child     5062 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                     1:02-cv-01616,
1152                                                       Priscilla               Esquilin-Hernandez         United States   Ruben                    Esquilin          Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3684        Sibling   4023 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                     1:02-cv-01616, 3,
1153                                                       Lisa        Ann         Ethredge                   United States   Catherine      T.        Smith                       United States 9/11/01   NY (WTC)     03-cv-9849   at 1657              Sibling   4023 at 23   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                     1:02-cv-01616, 3,
                                                                                                                                                                                                                                     at 1089, 8397-1,
1154 Gary; Charles   Michael; Reggie   Evans; Evans, Jr.   Charles     R.          Evans                Sr.   United States   Eric           Brian     Evans                       United States 9/11/01   NY (WTC)     03-cv-9849   at 9, 8433           Parent    5138 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                     8679-1, at 103,
1155                                                       Charles     Reggie      Evans                Jr.   United States   Eric           Brian     Evans                       United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                     1:02-cv-01616, 3,
                                                                                                                                                                                                                                     at 1090, 8397-1,
1156 Gary; Charles   Michael; Reggie   Evans; Evans, Jr.   Corinne     J.          Evans                      United States   Eric           Brian     Evans                       United States 9/11/01   NY (WTC)     03-cv-9849   at 9, 8433           Parent    5138 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                     8679-1, at 102,
1157                                                       Gary        Michael     Evans                      United States   Eric           Brian     Evans                       United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                     8679-1, at 101,
1158                                                       Robert      Scott       Evans                      United States   Eric           Brian     Evans                       United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                     1:02-cv-01616,
1159                                                       B.          T.          F.                         United States   Thomas         James     Fitzpatrick                 United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3692        Child     5061 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                     1:02-cv-01616,
1160                                                       C.          M.          F.                         United States   Thomas         James     Fitzpatrick                 United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3692        Child     5061 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                     1:02-cv-01616,
1161                                                       Honor       Elizabeth   Fagan                      United States   Welles         Remy      Crowther                    United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 1910      Sibling   4023 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                     1:02-cv-01616,
1162                                                       Diane       Dorothy     Fairben                    United States   Keith          George    Fairben                     United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2587         Parent    4023 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                     77, at P2588,
                                                                                                                                                                                                                                     8393-1, at 45,
1163                                                       Kenneth     Bruce       Fairben                    United States   Keith          George    Fairben                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    4023 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                     1:02-cv-01616,
1164                                                       Megan       Alice       Fajardo                    United States   Neil           Matthew   Dollard                     United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4239        Sibling   4023 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           VA                        1:02-cv-01616,
1165                                                       Patricia    A.          Fallon                     United States   Jamie          Lynn      Fallon                      United States 9/11/01   (Pentagon)   03-cv-9849   26, 29, at 3115      Parent    5087 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                     8679-1, at 122,
1166                                                       Linda       Marie       Fanene                     United States   Thomas         Joseph    Fisher                      United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                     1:02-cv-01616,
1167                                                       Deborah     Ann         Fangman                    United States   Robert         John      Fangman                     United States 9/11/01   NY (UA175)   03-cv-9849   305, at P4259        Sibling   4023 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                     1:02-cv-01616,
1168                                                       Michael     Wayne       Fangman                    United States   Robert         John      Fangman                     United States 9/11/01   NY (UA175)   03-cv-9849   305, at P4255        Sibling   5062 at 4    $   4,250,000.00 $    12,750,000.00

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                                                                                                                                                                                                                                     305, at P4254,
1169 Kristine        Lee               Fangman             Paul        Martin      Fangman                    United States   Robert         John      Fangman                     United States 9/11/01   NY (UA175)   03-cv-9849   8397-1, at 9, 8433   Sibling   4023 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                     432, at P4835,
                                                                                                                                                                                                                                     8393-1, at 70,
1170 Carole          Lynn              Ricci               Ruth        M.          Fangman                    United States   Robert         John      Fangman                     United States 9/11/01   NY (UA175)   03-cv-9849   8487                 Parent    5062 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                     1:02-cv-01616,
1171                                                       Stephen     Gerard      Fangman                    United States   Robert         John      Fangman                     United States 9/11/01   NY (UA175)   03-cv-9849   305, at P4256        Sibling   4023 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                     305, at P4260,
                                                                                                                                                                                                                                     8393-1, at 45,
1172                                                       Beth        Ann         Faragher                   United States   Kathleen                 Faragher                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Sibling   4023 at 10   $   4,250,000.00 $    12,750,000.00



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                                                                                                                                                                                               1:02-cv-01616,
1173 Mary      F.    Waterman   Beverly     Ann         Faragher         United States   Kathleen                Faragher                    United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4262        Parent    4126 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
1174                            James       A.          Faragher         Unknown         Kathleen                Faragher                    United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4263        Sibling   5138 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               1:02-cv-01616,
1175                            William     Edward      Faragher   Jr.   United States   Kathleen                Faragher                    United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4264        Sibling   4023 at 11   $   4,250,000.00 $    12,750,000.00

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                                                                                                                                                                                               305, at P4261,
1176 Mary      F.    Waterman   William     Edward      Faragher   Sr.   United States   Kathleen                Faragher                    United States 9/11/01   NY (WTC)     03-cv-9849   8397-1, at 9, 8433   Parent    4126 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               432, at P4858,
                                                                                                                                                                                               6886, at 2, 6903,
                                                                                                                                                                                               8393-1, at 62,
1177 Lisa      Ann   Cenicola   Marjorie    Ann         Farley           United States   Paige         Farley    Hackel                      United States 9/11/01   NY (AA11)    03-cv-9849   8487                 Parent    4023 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616, 3,
                                                                                                                                                                                               at 1101, 8397-1,
1178 Denise          Farrelly   Denis       M.          Farrelly         United States   Joseph                  Farrelly                    United States 9/11/01   NY (Other)   03-cv-9849   at 9, 8433           Sibling   5138 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               1:02-cv-01616, 3,
1179                            Devin       Frederick   Farrelly         United States   Joseph                  Farrelly                    United States 9/11/01   NY (Other)   03-cv-9849   at 1097              Child     5087 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616, 3,
                                                                                                                                                                                               at 1095, 8397-1,
1180 Michael         Farrelly   Joseph      D.          Farrelly         United States   Joseph                  Farrelly                    United States 9/11/01   NY (Other)   03-cv-9849   at 9, 8433           Parent    5138 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616, 3,
                                                                                                                                                                                               at 1094, 8393-1,
1181                            Julianne    Carlene     Farrelly         United States   Joseph                  Farrelly                    United States 9/11/01   NY (Other)   03-cv-9849   at 656, 8487         Child     5848 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616, 3,
1182                            Michael                 Farrelly         United States   Joseph                  Farrelly                    United States 9/11/01   NY (Other)   03-cv-9849   at 1099              Sibling   5061 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               1:02-cv-01616, 3,
1183                            Patrick     M.          Farrelly         United States   Joseph                  Farrelly                    United States 9/11/01   NY (Other)   03-cv-9849   at 1100              Sibling   3666 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               1:02-cv-01616, 3,
1184                            Ryan        Ian         Farrelly         United States   Joseph                  Farrelly                    United States 9/11/01   NY (Other)   03-cv-9849   at 1098              Child     5087 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616, 3,
1185                            Stacey      Ellen       Farrelly         United States   Joseph                  Farrelly                    United States 9/11/01   NY (Other)   03-cv-9849   at 1094              Spouse    5061 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                               1:02-cv-01616, 3,
                                                                                                                                                                                               at 1096, 8397-1,
1186 Denise          Farrelly   Theresa     M.          Farrelly         United States   Joseph                  Farrelly                    United States 9/11/01   NY (Other)   03-cv-9849   at 9, 8433           Parent    5138 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
1187                            Suzanne     Lenihan     Faulkner         United States   Joseph        A.        Lenihan                     United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4384        Sibling   4023 at 16   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               1:02-cv-01616, 1,
                                                                                                                                                                                               at 210, 8393-1, at
1188                            Frank       Joseph      Fava             United States   Shannon       Marie     Fava                        United States 9/11/01   NY (WTC)     03-cv-9849   75, 8487             Spouse    5061 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                               1:02-cv-01616, 1,
                                                                                                                                                                                               at 210, 8393-1, at
1189                            Joseph      Anthony     Fava             United States   Shannon       Marie     Fava                        United States 9/11/01   NY (WTC)     03-cv-9849   1213, 8487           Child     5061 at 5    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               232, at P4058,
1190                            Linda       Ann         Favuzza          Unknown         Bernard                 Favuzza                     United States 9/11/01   NY (WTC)     03-cv-9849   8393-1, at 6, 8487   Spouse    5848 at 5    $   12,500,000.00 $   37,500,000.00

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                                                                                                                                                                                               305, at P4267,
1191 Carole          Lovero     Felicia     C.          Fazio            United States   Robert                  Fazio             Jr.       United States 9/11/01   NY (Other)   03-cv-9849   8397-1, at 9, 8433   Parent    5138 at 4    $   8,500,000.00 $    25,500,000.00

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                                                                                                                                                                                               305, at P4266,
1192 Carole          Lovero     Robert      A.          Fazio      Sr.   Unknown         Robert                  Fazio             Jr.       United States 9/11/01   NY (Other)   03-cv-9849   8397-1, at 9, 8433   Parent    4126 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
1193                            Elizabeth   Ann         Feehan           United States   William       M.        Feehan                      United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3128      Child     5062 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
1194                            John        Desmond     Feehan           United States   William       M.        Feehan                      United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3127      Child     5087 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
1195                            William     Bernard     Feehan           United States   William       M.        Feehan                      United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3126      Child     4023 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               232, at P4021,
                                                                                                                                                                                               8393-1, at 741,
1196                            Allison     Sarah       Fekete           United States   Kenneth       Wilburn   White                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     7188 at 15   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               8679-1, at 502,
1197                            Helen       Jean        Feola            United States   James         Arthur    Waring                      United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   5087 at 21   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               1:02-cv-01616,
1198                            Allison     Mary        Fergus           United States   Edward        Thomas    Fergus            Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   155, at P2892        Sibling   4023 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               1:02-cv-01616,
1199                            Dorothy     Anna        Fergus           United States   Edward        Thomas    Fergus            Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   155, at P2893        Parent    4126 at 5    $   8,500,000.00 $    25,500,000.00




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                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           155, at P2894,
1200 Dorothy   Anna      Fergus   Edward        Thomas      Fergus            Sr.   United States   Edward         Thomas    Fergus            Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8397-1, at 9, 8433   Parent    4126 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           155, at P2895,
                                                                                                                                                                                                           8393-1, at 23,
1201                              Linda         Jane        Fergus                  United States   Edward         Thomas    Fergus            Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5061 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           155, at P2895,
                                                                                                                                                                                                           8393-1, at 360,
1202                              Shannon       Marie       Fergus                  United States   Edward         Thomas    Fergus            Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5061 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           155, at P2895,
                                                                                                                                                                                                           8393-1, at 361,
1203                              Thomas        William     Fergus                  United States   Edward         Thomas    Fergus            Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616, 1,
                                                                                                                                                                                                           at 776, 5284-1, at
1204                              Cirilo        Flores      Fernandez               United States   Judy           Hazel     Fernandez                   United States 9/11/01   NY (WTC)     03-cv-9849   4, 5296              Parent    3382         $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           8679-1, at 346,
1205                              Heather       Elizabeth   Ferreira                United States   James          A.        Oakley                      United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Child     515 at 5     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:03-md-01570,
                                                                                                                                                                                                           3477, at 1144;
                                                                                                                                                                                                           8679-1, at 108,
1206                              Minnie        Domenica    Ferro                   United States   Louis          V.        Fersini           Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Parent    4126 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
1207                              David         John        Ferrugio                United States   David          Francis   Ferrugio                    United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3688        Child     5061 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           232, at P3688,
                                                                                                                                                                                                           8393-1, at 16,
1208                              Rosanna       M.          Ferrugio                United States   David          Francis   Ferrugio                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5087 at 8    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
1209                              Gina          Marie       Ferrugio-Hooker         United States   David          Francis   Ferrugio                    United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3688        Child     5061 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616, 1,
1210                              Brian         Tyler       Fersini                 United States   Louis          V.        Fersini           Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   at 217               Child     5087 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616, 1,
                                                                                                                                                                                                           at 217, 8393-1, at
1211                              Cathy         Lyn         Fersini                 United States   Louis          V.        Fersini           Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   50, 8487             Spouse    5087 at 8    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                           1:02-cv-01616, 1,
1212                              Christopher   Michael     Fersini                 United States   Louis          V.        Fersini           Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   at 217               Child     5087 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:03-cv-09849,
                                                                                                                                                                                                           839, at 3; 8679-1,
1213                              Joseph        Vito        Fersini           Sr.   United States   Louis          V.        Fersini           Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   at 111, 8696         Sibling   4126 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:03-cv-09849,
                                                                                                                                                                                                           839, at 20; 8679-
1214                              Josephine     Nancy       Fersini                 United States   Louis          V.        Fersini           Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   1, at 110, 8696      Sibling   4126 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616, 1,
1215                              Katelyn       Elizabeth   Fersini                 United States   Louis          V.        Fersini           Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   at 217               Child     5087 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616, 1,
1216                              Thomas        Jeffrey     Fersini                 United States   Louis          V.        Fersini           Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   at 217               Child     5087 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
1217                              Andrew        Charles     Fialko                  United States   Jennifer       Louise    Fialko                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3155      Sibling   5062 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
1218 Andrew    Charles   Fialko   Evelyn        L.          Fialko                  United States   Jennifer       Louise    Fialko                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3153      Parent    4023 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
1219 Andrew    Charles   Fialko   Robert        John        Fialko                  United States   Jennifer       Louise    Fialko                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3152      Parent    4023 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           8679-1, at 112,
1220                              Craig         Scott       Fiedel                  Unknown         Kristen        Nicole    Fiedel                      United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   5087 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           77, at P2590,
                                                                                                                                                                                                           8397-1, at 9,
                                                                                                                                                                                                           8433, 8393-1, at
1221 Warren    Irwin     Fiedel   Isabel        Marilyn     Fiedel                  United States   Kristen        Nicole    Fiedel                      United States 9/11/01   NY (WTC)     03-cv-9849   47, 8487             Parent    5138 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
1222                              Lindsey       Beth        Fiedel                  United States   Kristen        Nicole    Fiedel                      United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2591         Child     5061 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           77, at P2592,
                                                                                                                                                                                                           8393-1, at 47,
1223                              Warren        Irwin       Fiedel                  United States   Kristen        Nicole    Fiedel                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    4023 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                 VA                        1:02-cv-01616,
1224                              Julie         A.          Field                   United States   Rosa           Marie     Chapa                       United States 9/11/01   (Pentagon)   03-cv-9849   26, 29, at 2838      Child     4023 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                 VA                        8679-1, at 113,
1225                              Shantell      Renee       Fields                  Unknown         Amelia         V.        Fields                      United States 9/11/01   (Pentagon)   03-cv-9849   8696                 Child     7188 at 7    $   8,500,000.00 $    25,500,000.00




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                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                    VA                        432, at P4840,
1226                         William     Howard      Fields        Sr.   United States   Amelia         V.       Fields                     United States 9/11/01   (Pentagon)   03-cv-9849   8393-1, at 2, 8487   Spouse    5061 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                    VA                        8679-1, at 117,
1227                         William     Howard      Fields        Jr.   Unknown         Amelia         V.       Fields                     United States 9/11/01   (Pentagon)   03-cv-9849   8696                 Child     7188 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                              8679-1, at 119,
1228                         Allan       James       Filipov             United States   Alexander      M.       Filipov                    United States 9/11/01   NY (AA11)    03-cv-9849   8696                 Child     5061 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                              8679-1, at 120,
1229                         David       Michael     Filipov             United States   Alexander      M.       Filipov                    United States 9/11/01   NY (AA11)    03-cv-9849   8696                 Child     5061 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                              8679-1, at 118,
1230                         Jeffrey     Thomas      Filipov             United States   Alexander      M.       Filipov                    United States 9/11/01   NY (AA11)    03-cv-9849   8696                 Child     5061 at 5    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                              305, at P4274,
1231                         Loretta     Jean        Filipov             United States   Alexander      M.       Filipov                    United States 9/11/01   NY (AA11)    03-cv-9849   8393-1, at 2, 8487   Spouse    5061 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                              1:02-cv-01616,
1232                         Joanne                  Finn                United States   Patrick        D.       Byrne                      United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2762      Sibling   4023 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                              1:02-cv-01616,
1233                         Linda       Sarah       Fiore               United States   Michael        Curtis   Fiore                      United States 9/11/01   NY (Other)   03-cv-9849   232, at P3689        Sibling   3666 at 4    $   4,250,000.00 $    12,750,000.00

                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                              232, at P3691,
1234 Linda   Sarah   Fiore   Michael                 Fiore               United States   Michael        Curtis   Fiore                      United States 9/11/01   NY (Other)   03-cv-9849   8397-1, at 9, 8433   Parent    4146 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                              26, 29, at 1964,
                                                                                                                                                                                              8393-1, at 582,
1235                         John        Joseph      Fiorito             United States   John           B.       Fiorito                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5848 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                              1:02-cv-01616,
1236                         Karen                   Fiorito             United States   John           B.       Fiorito                    United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 1964      Spouse    5848 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                              8679-1, at 158,
1237                         Adam                    Fischer       Jr.   United States   Debra          Lynn     Gibbon                     United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Parent    7182 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                              8679-1, at 157,
1238                         Adam                    Fischer       III   United States   Debra          Lynn     Gibbon                     United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7182 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                              1:02-cv-01616,
1239                         Jean        C.          Fischer             United States   John           R.       Fischer                    United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3168      Spouse    5087 at 8    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                              8679-1, at 155,
1240                         Joan        Elizabeth   Fischer             United States   Debra          Lynn     Gibbon                     United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Parent    7182 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                              26, 29, at 3168,
                                                                                                                                                                                              8393-1, at 630,
1241                         John        Corley      Fischer             United States   John           R.       Fischer                    United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5087 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                              26, 29, at 3168,
                                                                                                                                                                                              8393-1, at 631,
1242                         Timothy     Rudolph     Fischer             United States   John           R.       Fischer                    United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5087 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                    VA                        1:02-cv-01616, 3,
1243                         Christine   Karas       Fisher              United States   Gerald         Paul     Fisher                     United States 9/11/01   (Pentagon)   03-cv-9849   at 1118              Spouse    5062 at 4    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                    VA                        8679-1, at 123,
1244                         Elsa        Sue         Fisher              Unknown         Gerald         Paul     Fisher                     United States 9/11/01   (Pentagon)   03-cv-9849   8696                 Sibling   5061 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                    VA                        1:02-cv-01616, 3,
1245                         Jonathan    Michael     Fisher              Unknown         Gerald         Paul     Fisher                     United States 9/11/01   (Pentagon)   03-cv-9849   at 1119              Child     5062 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                              26, 29, at 1967,
                                                                                                                                                                                              8393-1, at 629,
1246                         Sarah       Mary        Fisher              United States   Thomas         Joseph   Fisher                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                              1:02-cv-01616,
1247                         Susan       M.          Fisher              United States   Thomas         Joseph   Fisher                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 1967      Spouse    5087 at 8    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                              8679-1, at 32,
1248                         Alicia      Ann         Fitzgerald          United States   Matthew        J.       Burke                      United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   5087 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                              232, at P3692,
                                                                                                                                                                                              8393-1, at 81,
1249                         Marianne                Fitzpatrick         United States   Thomas         James    Fitzpatrick                United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5061 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                              1:02-cv-01616,
1250                         Michael     James       Fitzpatrick         United States   Thomas         James    Fitzpatrick                United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3693        Parent    4023 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                              1:02-cv-01616,
1251                         Michael     S.          Fitzpatrick         United States   Thomas         James    Fitzpatrick                United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3694        Sibling   5061 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                              1:02-cv-01616,
1252                         Roseanna    Mary        Fitzpatrick         United States   Thomas         James    Fitzpatrick                United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3695        Parent    4023 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                              432, at P4841,
                                                                                                                                                                                              8393-1, at 1183,
1253                         Anthony     D.          Fiumefreddo         United States   Salvatore      A.       Fiumefreddo                United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5356 at 2    $   8,500,000.00 $    25,500,000.00




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                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     432, at P4841,
                                                                                                                                                                                                     8393-1, at 73,
1254                             Joan                       Fiumefreddo       United States   Salvatore      A.        Fiumefreddo                 United States 9/11/01   NY (Other)   03-cv-9849   8487                 Spouse    5087 at 9    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                     1:03-cv-09849,
                                                                                                                                                                                                     844, at 2; 8679-1,
1255                             Marcus        Wilson       Flagg             United States   Darlene        Embree    Flagg                       United States 9/11/01   VA (AA77)    03-cv-9849   at 133, 8696         Child     5061 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:18-cv-12322, 1,
                                                                                                                                                                                                     at 2; 8679-1, at
1256                             Marcus        Wilson       Flagg             United States   Wilson         Falor     Flagg                       United States 9/11/01   VA (AA77)    03-cv-9849   133, 8696            Child     5062 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     313, at P4643,
                                                                                                                                                                                                     8393-1, at 15,
1257                             Michael       Embree       Flagg             United States   Darlene        Embree    Flagg                       United States 9/11/01   VA (AA77)    03-cv-9849   8487                 Child     4023 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
1258                             Michael       Embree       Flagg             United States   Wilson         Falor     Flagg                       United States 9/11/01   VA (AA77)    03-cv-9849   313, at P4644        Child     4023 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
1259                             Janice        Lee          Fleming           United States   Donald         Americo   DiTullio                    United States 9/11/01   NY (AA11)    03-cv-9849   26, 29, at 3032      Sibling   4023 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     1:03-cv-9849,
                                                                                                                                                                                                     HAND FILED, at
                                               Nicole                                                                                                                                                P5178, 8393-1, at
1260                             Lauren        Meisenheimer Fletcher          United States   Raymond                  Meisenheimer                United States 9/11/01   NY (Other)   03-cv-9849   1076, 8487           Child     5087 at 14   $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                     1:02-cv-01616,
1261                             Patricia      V.           Flounders         Unknown         Joseph         W.        Flounders                   United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at caption   Spouse    5848 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
1262                             Andrew        Steven       Fodor             United States   Michael        N.        Fodor                       United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3186      Child     5356 at 2    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     26, 29, at 3184,
                                                                                                                                                                                                     8393-1, at 946,
1263                             Ashley        Elizabeth    Fodor             United States   Michael        N.        Fodor                       United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5356 at 2    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     26, 29, at 3184,
                                                                                                                                                                                                     8397-1, at 10,
1264 Michael   Thomas   Fodor    Deborah       Ann          Fodor             United States   Michael        N.        Fodor                       United States 9/11/01   NY (Other)   03-cv-9849   8433                 Spouse    5138 at 4    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
1265                             Judith        Ann          Fodor             United States   Michael        N.        Fodor                       United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3187      Sibling   4023 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     1:02-cv-01616,
1266                             Michael       Thomas       Fodor             United States   Michael        N.        Fodor                       United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3185      Child     5087 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616, 3,
1267                             Sondra        Beverly      Foner             United States   Joel                     Miller                      Unknown      9/11/01    NY (WTC)     03-cv-9849   at 1459              Sibling   3666 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     1:02-cv-01616,
1268                             Jason         Lee          Foo               United States   Chih           Min       Foo                         China        9/11/01    NY (Other)   03-cv-9849   305, at P4277        Child     5087 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
1269                             Samantha      Lee          Foo               United States   Chih           Min       Foo                         China        9/11/01    NY (Other)   03-cv-9849   305, at P4278        Child     5087 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
1270                             Adrian        Lee          Foran             United States   Philip         Scott     Petti                       United States 9/11/01   NY (Other)   03-cv-9849   305, at P4488        Sibling   4023 at 21   $   4,250,000.00 $    12,750,000.00
                                                                                                                       Forbes-                                                                       8679-1, at 136,
1271                             Auguland                   Forbes            Jamaican        Del Rose                 Cheatham                    United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   6034 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     1:03-cv-9849,
                                                                                                                       Forbes-                                                                       HAND FILED, at
1272                             Carlton       Hugh         Forbes            United States   Del Rose                 Cheatham                    United States 9/11/01   NY (WTC)     03-cv-9849   P5057                Sibling   5061 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     1:03-cv-9849,
                                                                                                                                                                                                     HAND FILED, at
                                                                                                                       Forbes-                                                                       P5058, 8393-1, at
1273                             Christopher   Rodrigues    Forbes            United States   Del Rose                 Cheatham                    United States 9/11/01   NY (WTC)     03-cv-9849   17, 8487             Sibling   5138 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     1:02-cv-01616, 3,
1274                             Laura         Diane        Fornuff           United States   Richard        A.        Dunstan                     England      9/11/01    NY (WTC)     03-cv-9849   at 1086              Child     5848 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     8679-1, at 260,
1275                             Dannette      Nicole       Fortin            Unknown         Maclovio                 Lopez             Jr.       United States 9/11/01   NY (UA175)   03-cv-9849   8696                 Child     5061 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616, 3,
1276                             John          Alfred       Foster            United States   Noel           John      Foster                      United States 9/11/01   NY (WTC)     03-cv-9849   at 1128              Parent    5062 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616, 3,
1277 John      Alfred   Foster   Marion        Rosette      Foster            United States   Noel           John      Foster                      United States 9/11/01   NY (WTC)     03-cv-9849   at 1129              Parent    3387         $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     26, 29, at 3192,
                                                                                                                                                                                                     8393-1, at 1130,
1278                             James         Robert       Foti              United States   Robert         Joseph    Foti                        United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5848 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
1279                             Mary          Grace        Foti              Unknown         Robert         Joseph    Foti                        United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3192      Spouse    5848 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                     1:03-cv-09849,
                                                                                                                                                                                                     839, at 5; 8679-1,
1280                             Eleanor                    Fox               United States   Jeffrey        L.        Fox                         United States 9/11/01   NY (WTC)     03-cv-9849   at 137, 8696         Parent    4126 at 5    $   8,500,000.00 $    25,500,000.00




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                                                                                                                            EXHIBIT B-1
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                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      26, 29, at 4816,
1281                             Gregory     Evan        Fox                   United States   Jeffrey        L.       Fox                          United States 9/11/01   NY (WTC)     03-cv-9849   5284-1, at 5, 5296   Child     5356 at 2    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
1282                             Michael     Jay         Fox                   Unknown         Jeffrey        L.       Fox                          United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3194      Sibling   3666 at 4    $   4,250,000.00 $    12,750,000.00

                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      26, 29, at 4816,
1283                             Nancy       B.          Fox                   United States   Jeffrey        L.       Fox                          United States 9/11/01   NY (WTC)     03-cv-9849   5284-1, at 5, 5296   Spouse    5138 at 4    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 1,
                                                                                                                                                                                                      at 763, 5284-1, at
1284                             Debra       Joy         Foxx                  United States   Alan           David    Kleinberg                    United States 9/11/01   NY (WTC)     03-cv-9849   7, 5296              Sibling   4023 at 15   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
1285                             Nancy       Lennon      Frain                 United States   John           J.       Lennon             Jr.       United States 9/11/01   NY (Other)   03-cv-9849   155, at P2993        Sibling   4126 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
1286                             Theresa     Marie       Frakes                United States   Robert         John     Fangman                      United States 9/11/01   NY (UA175)   03-cv-9849   305, at P4257        Sibling   5062 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
1287                             Catherine               Francese              Unknown         John           T.       McErlean           Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4420        Sibling   3666 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
1288                             Kimberly                Franco                United States   Kris           Robert   Hughes                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2073      Sibling   4023 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      26, 29, at 4476,
                                                                                                                                                                                                      8393-1, at 85,
1289                             Joscelyn    C.          Franco-Suarez         United States   Benjamin                Suarez                       United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5951 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      26, 29, at 4476,
                                                                                                                                                                                                      8393-1, at 86,
1290                             Jose        A.          Franco-Suarez         United States   Benjamin                Suarez                       United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5951 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
1291                             Carol       M.          Freund                United States   Peter          Louis    Freund                       United States 9/11/01   NY (Other)   03-cv-9849   432, at P4843        Sibling   3666 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
1292                             Christine               Friscia               Unknown         Robert                  Curatolo                     United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 1919      Sibling   3666 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      8679-1, at 139,
1293                             Anna        Mae         Froehner              United States   Gregg          J.       Froehner                     United States 9/11/01   NY (Other)   03-cv-9849   8696                 Parent    7188 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      155, at P2900,
                                                                                                                                                                                                      8393-1, at 430,
1294                             Heather     Anne        Froehner              United States   Gregg          J.       Froehner                     United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5138 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      155, at P2900,
                                                                                                                                                                                                      8393-1, at 431,
1295                             Kathleen    Marie       Froehner              Unknown         Gregg          J.       Froehner                     United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5138 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      8679-1, at 141,
1296 Dorell                      Kenneth     Henry       Froehner              United States   Gregg          J.       Froehner                     United States 9/11/01   NY (Other)   03-cv-9849   8696                 Parent    7188 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      8679-1, at 142,
1297                             Kenneth     Arthur      Froehner              United States   Gregg          J.       Froehner                     United States 9/11/01   NY (Other)   03-cv-9849   8696                 Sibling   7188 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      155, at P2900,
                                                                                                                                                                                                      8393-1, at 27,
1298                             Mary                    Froehner              United States   Gregg          J.       Froehner                     United States 9/11/01   NY (Other)   03-cv-9849   8487                 Spouse    5061 at 6    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      155, at P2900,
                                                                                                                                                                                                      8393-1, at 432,
1299                             Matthew     John        Froehner              United States   Gregg          J.       Froehner                     United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5138 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      155, at P2900,
                                                                                                                                                                                                      8393-1, at 433,
1300                             Meghan      Elizabeth   Froehner              United States   Gregg          J.       Froehner                     United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5138 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 3,
1301                             Carlo       Joseph      Fumando               Unknown         Clement                 Fumando                      United States 9/11/01   NY (WTC)     03-cv-9849   at 1136              Sibling   3666 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616, 3,
1302                             Gregory                 Fumando               United States   Clement                 Fumando                      United States 9/11/01   NY (WTC)     03-cv-9849   at 1134              Child     4023 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 3,
1303                             Katherine   Marie       Fumando               Unknown         Clement                 Fumando                      United States 9/11/01   NY (WTC)     03-cv-9849   at 1132              Spouse    5087 at 9    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 3,
                                                                                                                                                                                                      at 1133, 8397-1,
1304 Catherine   Ann   Marotte   Margaret                Fumando               United States   Clement                 Fumando                      United States 9/11/01   NY (WTC)     03-cv-9849   at 10, 8433          Parent    5138 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 3,
1305                             Stephen                 Fumando               Unknown         Clement                 Fumando                      United States 9/11/01   NY (WTC)     03-cv-9849   at 1135              Child     3666 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 3,
1306                             Joseph                  Furmato         Sr.   Unknown         Paul           James    Furmato                      United States 9/11/01   NY (WTC)     03-cv-9849   at 1141              Parent    3666 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 3,
1307                             Joseph                  Furmato         Jr.   United States   Paul           James    Furmato                      United States 9/11/01   NY (WTC)     03-cv-9849   at 1144              Sibling   3666 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616, 3,
1308                             Margaret                Furmato               Unknown         Paul           James    Furmato                      United States 9/11/01   NY (WTC)     03-cv-9849   at 1142              Parent    3666 at 4    $   8,500,000.00 $    25,500,000.00



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                                                                                                                                                                                                        1:02-cv-01616, 3,
1309                               Mark                   Furmato              Unknown         Paul          James       Furmato                      United States 9/11/01   NY (WTC)     03-cv-9849   at 1143              Sibling   3666 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616, 3,
                                                                                                                                                                                                        at 1140, 8393-1,
1310                               Paul        James      Furmato        Jr.   United States   Paul          James       Furmato                      United States 9/11/01   NY (WTC)     03-cv-9849   at 1021, 8487        Child     5087 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616, 1,
                                                                                                                                                                                                        at 222, 8393-1, at
1311                               Jackson     A.         Fyfe                 United States   Karleton      D.          Fyfe                         United States 9/11/01   NY (AA11)    03-cv-9849   718, 8487            Child     5138 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616, 1,
1312                               Haven       A.         Fyfe-Kiernan         United States   Karleton      D.          Fyfe                         United States 9/11/01   NY (AA11)    03-cv-9849   at 222               Spouse    5087 at 9    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                        1:02-cv-01616, 1,
                                                                                                                                                                                                        at 222, 8393-1, at
1313                               Parker      Douglas    Fyfe-Kiernan         United States   Karleton      D.          Fyfe                         United States 9/11/01   NY (AA11)    03-cv-9849   719, 8487            Child     5087 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        432, at P4844,
                                                                                                                                                                                                        8393-1, at 21,
1314                               M.          J.         G.                   United States   Douglas       B.          Gardner                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5061 at 6    $   8,500,000.00 $    25,500,000.00
                                               Langdon                                                                                                                                                  1:02-cv-01616, 1,
1315                               George      Warner     Gadiel               United States   James         Andrew      Gadiel                       United States 9/11/01   NY (WTC)     03-cv-9849   at 228               Sibling   4126 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:03-cv-09849,
                                                                                                                                                                                                        843, at 13; 8679-
1316                               Kirstin     Warner     Gadiel               United States   James         Andrew      Gadiel                       United States 9/11/01   NY (WTC)     03-cv-9849   1, at 144, 8696      Sibling   5061 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616, 1,
                                                                                                                                                                                                        at 227, 5284-1, at
1317                               Peter                  Gadiel               United States   James         Andrew      Gadiel                       United States 9/11/01   NY (WTC)     03-cv-9849   5, 5296              Parent    4023 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
1318                               Kathleen    Brigid     Gaetano              United States   Thomas        Gerard      O'Hagan                      United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4061      Sibling   3666 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616,
1319                               Kevin       Richard    Gaff                 United States   Pamela        Lee         Gaff                         United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3213      Spouse    5087 at 9    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                        1:02-cv-01616, 3,
1320                               Anthony                Galante              United States   Deanna        Micciulli   Galante                      United States 9/11/01   NY (WTC)     03-cv-9849   at 1149              Spouse    5848 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
1321                               Giovanni               Galante              United States   Grace         Catherine   Galante                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3220      Spouse    7188 at 7    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                        8679-1, at 182,
1322                               Christine   Marie      Galard               United States   Joseph                    Grzelak                      United States 9/11/01   NY (Other)   03-cv-9849   8696                 Sibling   5087 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616,
1323                               Maria       Ann        Galea                United States   Frances                   Haros                        United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3385      Child     4023 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
1324                               Lois        Paterson   Gallo                United States   Steven        Bennett     Paterson                     United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2593         Sibling   4023 at 20   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        77, at P2594,
                                                                                                                                                                                                        8393-1, at 27,
                                                                                                                                                                                                        8487, 8397-1, at
1325 Maryann           Gambale     Anthony     J.         Gambale              United States   Giovanna      G.          Gambale                      United States 9/11/01   NY (WTC)     03-cv-9849   10, 8433             Parent    5138 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
1326                               Maryann                Gambale              United States   Giovanna      G.          Gambale                      United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2596         Parent    5062 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
1327                               Matthew     F          Gambale              United States   Giovanna      G.          Gambale                      United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2597         Sibling   4023 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616,
1328                               Bridget                Gannello             United States   Liam                      Callahan                     United States 9/11/01   NY (Other)   03-cv-9849   77, at P2551         Child     5848 at 4    $   8,500,000.00 $    25,500,000.00

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                                                                                                                                                                                                        232, at P3698,
1329                               Andrea      DeGeorge   Garbarini            United States   Charles       William     Garbarini                    United States 9/11/01   NY (Other)   03-cv-9849   8393-1, at 9, 8487   Spouse    5061 at 6    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        26, 29, at 3234,
                                                                                                                                                                                                        8397-1, at 10,
1330 Margaret   Mary   Garbarini   Charles     Andrew     Garbarini            Unknown         Charles       William     Garbarini                    United States 9/11/01   NY (Other)   03-cv-9849   8433                 Parent    5061 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
1331                               Donna       Marie      Garbarini            Unknown         Charles       William     Garbarini                    United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3242      Sibling   3666 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        232, at P3698,
                                                                                                                                                                                                        8393-1, at 146,
1332                               Dylan       P.         Garbarini            United States   Charles       William     Garbarini                    United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5061 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
1333                               Janet                  Garbarini            United States   Charles       William     Garbarini                    United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3241      Sibling   3666 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616,
1334                               Margaret    Mary       Garbarini            United States   Charles       William     Garbarini                    United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3237      Sibling   3666 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        232, at P3698,
                                                                                                                                                                                                        8393-1, at 147,
1335                               Philip      C.         Garbarini            United States   Charles       William     Garbarini                    United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5061 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
1336                               Richard     M.         Garbarini            United States   Charles       William     Garbarini                    United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3236      Sibling   5062 at 4    $   4,250,000.00 $    12,750,000.00




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                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     26, 29, at 3235,
                                                                                                                                                                                                     8397-1, at 10,
1337 Joan             Cuneo     Virginia     Gertrude    Garbarini            Unknown         Charles       William   Garbarini                    United States 9/11/01   NY (Other)   03-cv-9849   8433                Parent    5061 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616, 1,
1338                            Maria                    Garbarino            United States   Laura                   Angilletta                   United States 9/11/01   NY (WTC)     03-cv-9849   at 892              Sibling   4023 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     1:02-cv-01616,
1339                            Andrew       Thomas      Garcia               United States   Andrew                  Garcia             Jr.       United States 9/11/01   PA (UA93)    03-cv-9849   305, at P4286       Child     4023 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
1340                            Carmen       I.          Garcia               United States   Ivan                    Vale                         Unknown      9/11/01    NY (WTC)     03-cv-9849   232, at P3991       Parent    5061 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     232, at P3990,
                                                                                                                                                                                                     8393-1, at 24,
1341                            Carmen       I.          Garcia               United States   Felix         Antonio   Vale                         United States 9/11/01   NY (WTC)     03-cv-9849   8487                Parent    5062 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
1342                            Celeste      Marino      Garcia               United States   Cesar         R.        Garcia                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 1976     Spouse    5848 at 7    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     26, 29, at 3245,
                                                                                                                                                                                                     8393-1, at 251,
                                                                                                                                                                                                     8487, 8397-1, at
1343 Dylan    Peter   Garcia    Davin                    Garcia               United States   David                   Garcia                       United States 9/11/01   NY (WTC)     03-cv-9849   10, 8433            Child     5356 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
1344                            Deborah      Ann         Garcia               United States   David                   Garcia                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3245     Spouse    5356 at 3    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     26, 29, at 3245,
                                                                                                                                                                                                     8393-1, at 252,
1345                            Dylan        Peter       Garcia               United States   David                   Garcia                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     5356 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     305, at P4460,
                                                                                                                                                                                                     8393-1, at 23,
1346                            Wanda                    Garcia-Ortiz         United States   Emilio                  Ortiz                        United States 9/11/01   NY (WTC)     03-cv-9849   8487                Spouse    5087 at 15   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
1347                            Anthony      M.          Gardner              United States   Harvey        Joseph    Gardner            III       United States 9/11/01   NY (WTC)     03-cv-9849   155, at P2901       Sibling   4023 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     305, at P4287,
                                                                                                                                                                                                     8397-1, at 10,
1348 Joseph   W.      Gardner   Harvey       J.          Gardner              United States   Harvey        Joseph    Gardner            III       United States 9/11/01   NY (WTC)     03-cv-9849   8433                Parent    5138 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     432, at P4844,
                                                                                                                                                                                                     8393-1, at 21,
1349                            Jennifer     Radding     Gardner              United States   Douglas       B.        Gardner                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                Spouse    5061 at 6    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                     1:03-md-01570,
                                                                                                                                                                                                     3477, at 1255;
                                                                                                                                                                                                     8679-1, at 147,
1350                            Joseph       W.          Gardner              United States   Harvey        Joseph    Gardner            III       United States 9/11/01   NY (WTC)     03-cv-9849   8696                Sibling   5104 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     432, at P4844,
                                                                                                                                                                                                     8393-1, at 328,
1351                            Julia        Sylvie      Gardner              United States   Douglas       B.        Gardner                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     5061 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     8679-1, at 393,
1352                            Dana         Henry       Gargano              United States   Karen         C.        Renda                        United States 9/11/01   NY (WTC)     03-cv-9849   8696                Sibling   5848 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     1:03-cv-9849,
                                                                                                                                                                                                     HAND FILED, at
                                                                                                                                                                                                     P5130, 8393-1, at
1353                            Aimee        Elizabeth   Garrison             United States   Suzanne                 Kondratenko                  United States 9/11/01   NY (WTC)     03-cv-9849   79, 8487            Sibling   4023 at 15   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     1:03md-01570,
                                                                                                                                                                                                     3477, at 1261,
                                                                                                                                                                                                     5284-1, at 5,
                                                                                                                                                                                                     5296; 8679-1, at
1354                            Richard      Matthew     Gary                 United States   Bruce         Henry     Gary                         United States 9/11/01   NY (Other)   03-cv-9849   150, 8696           Child     5061 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:03-md-01570,
                                                                                                                                                                                                     3477, at 3900;
                                                                                                                                                                                                     8679-1, at 517,
1355                            Corey        Gregory     Gaudioso             United States   Candace       Lee       Williams                     United States 9/11/01   NY (AA11)    03-cv-9849   8696                Sibling   5356 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     26, 29, at 1979,
                                                                                                                                                                                                     8393-1, at 312,
1356                            Connor       Liam        Gavagan              United States   Donald        R.        Gavagan            Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     5087 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
1357                            Donald       Richard     Gavagan              United States   Donald        R.        Gavagan            Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4288       Parent    3666 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     26, 29, at 1979,
                                                                                                                                                                                                     8393-1, at 310,
1358                            Donald       Richard     Gavagan        III   United States   Donald        R.        Gavagan            Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     5087 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
1359                            Jacqueline   S.          Gavagan              United States   Donald        R.        Gavagan            Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 1979     Spouse    5087 at 9    $   12,500,000.00 $   37,500,000.00



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                                                                                                                                     EXHIBIT B-1
                                                                                                                  SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                                                1:02-cv-01616,
1360                                           Joseph       Bernard   Gavagan            Unknown         Donald        R.          Gavagan          Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4290        Sibling   3666 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                26, 29, at 1979,
                                                                                                                                                                                                                8393-1, at 311,
1361                                           Lara         Suzanne   Gavagan            United States   Donald        R.          Gavagan          Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                305, at P4289,
                                                                                                                                                                                                                8397-1, at 10,
1362 Suzanne                  Mascitis         Rosemarie              Gavagan            United States   Donald        R.          Gavagan          Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    5062 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                155, at P2902,
                                                                                                                                                                                                                8393-1, at 1052,
1363                                           Larissa      Lynne     Gay                United States   Peter         A.          Gay              Sr.       United States 9/11/01   NY (AA11)    03-cv-9849   8487                 Child     5061 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                155, at P2902,
                                                                                                                                                                                                                8393-1, at 65,
1364                                           Linda        Rose      Gay                United States   Peter         A.          Gay              Sr.       United States 9/11/01   NY (AA11)    03-cv-9849   8487                 Spouse    5087 at 9    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                8679-1, at 407,
1365                                           Virginia     Ann       Gecewicz           United States   Wayne         J.          Saloman                    United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   515 at 5     $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                1:02-cv-01616,
1366                                           Mathilda     M.        Geidel             United States   Gary          Paul        Geidel                     United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 1981      Spouse    5848 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                1:02-cv-01616, 3,
1367                                           Michael      George    Geidel             Unknown         Gary          Paul        Geidel                     United States 9/11/01   NY (Other)   03-cv-9849   at 1158              Sibling   3666 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                1:02-cv-01616, 3,
                                                                                                                                                                                                                at 1156, 8397-1,
1368 Christine       Ann      Norris           Patricia     Marie     Geidel             United States   Gary          Paul        Geidel                     United States 9/11/01   NY (Other)   03-cv-9849   at 10, 8433          Parent    4126 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                1:02-cv-01616, 3,
                                                                                                                                                                                                                at 1155, 8397-1,
1369 Barbara                  Geidel           Paul         Ernest    Geidel             United States   Gary          Paul        Geidel                     United States 9/11/01   NY (Other)   03-cv-9849   at 10, 8433          Parent    3666 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                432, at P4846,
                                                                                                                                                                                                                8393-1, at 1252,
1370                                           Jacqueline             Genovese           United States   Steven        G.          Genovese                   Unknown      9/11/01    NY (WTC)     03-cv-9849   8487                 Child     5356 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                1:02-cv-01616,
1371                                           Shelly       Rene      Genovese           United States   Steven        G.          Genovese                   Unknown      9/11/01    NY (WTC)     03-cv-9849   432, at P4846        Spouse    5356 at 3    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                1:02-cv-01616,
1372                                           Carolyn      M.        George             Canada          Linda                     George                     United States 9/11/01   NY (AA11)    03-cv-9849   313, at P4647        Parent    4023 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                313, at P4646,
                                                                                                                                                                                                                8393-1, at 50,
1373                                           Richard      Albert    George             United States   Linda                     George                     United States 9/11/01   NY (AA11)    03-cv-9849   8487                 Parent    4023 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                8679-1, at 386,
1374                                           Sagil                  George             United States   Valsa                     Raju                       United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                313, at P4710,
                                                                                                                                                                                                                8397-1, at 10,
1375 Ammini          George   Abraham          Sosamma                George             India           Valsa                     Raju                       United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    7188 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                8679-1, at 387,
1376                                           Sunny                  George             United States   Valsa                     Raju                       United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                1:02-cv-01616,
1377                                           Daniel       Aaron     Gerlich            United States   Robert        J.          Gerlich                    United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4294        Child     4023 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                1:02-cv-01616,
1378                                           Lorraine     Adele     Gerlich            Unknown         Robert        J.          Gerlich                    United States 9/11/01   NY (WTC)     03-cv-9849   313, at P4648        Sibling   3666 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                1:02-cv-01616,
1379                                           Matthew      Evan      Gerlich            United States   Robert        J.          Gerlich                    United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4295        Child     5848 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                305, at P4293,
                                                                                                                                                                                                                8393-1, at 69,
1380 Daniel          Aaron    Gerlich          Rochelle               Gerlich            United States   Robert        J.          Gerlich                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    7188 at 8    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                26, 29, at 3258,
                                                                                                                                                                                                                8397-1, at 10,
1381 Roman                    Gertsberg        Anna                   Gertsberg          United States   Marina        Romanovna   Gertsberg                  United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    4023 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                1:02-cv-01616,
1382                                           Roman                  Gertsberg          United States   Marina        Romanovna   Gertsberg                  United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3257      Parent    4023 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                1:02-cv-01616,
1383                                           John         Edward    Geyer              United States   James         G.          Geyer                      United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2599         Sibling   3666 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                1:02-cv-01616,
1384                                           Philip       Joseph    Geyer              United States   James         G.          Geyer                      United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2601         Sibling   3666 at 5    $   4,250,000.00 $    12,750,000.00

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                                                                                                                                                                                                                77, at P2600,
1385 Geralyn; John   Edward   Marasco; Geyer   Philip       G.        Geyer              Unknown         James         G.          Geyer                      United States 9/11/01   NY (WTC)     03-cv-9849   8397-1, at 1, 8433   Parent    4126 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                1:02-cv-01616, 3,
1386                                           Dina                   Giallombardo       United States   Paul          Richard     Salvio                     United States 9/11/01   NY (WTC)     03-cv-9849   at 1603              Sibling   4023 at 22   $   4,250,000.00 $    12,750,000.00



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                                                                                                                                                                                                          1:02-cv-01616, 3,
1387                                  Robert                  Giallombardo   Jr.   United States   Paul           Richard   Salvio                      United States 9/11/01   NY (WTC)     03-cv-9849   at 1602              Sibling   4023 at 22   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:03-cv-09849,
1388                                  Robert                  Giallombardo         United States   Paul           Richard   Salvio                      United States 9/11/01   NY (WTC)     03-cv-9849   842, at 3            Parent    5951 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616, 3,
1389                                  Rosemarie               Giallombardo         United States   Paul           Richard   Salvio                      United States 9/11/01   NY (WTC)     03-cv-9849   at 1600              Parent    4023 at 22   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616, 3,
1390                                  Vincent                 Giallombardo         United States   Paul           Richard   Salvio                      United States 9/11/01   NY (WTC)     03-cv-9849   at 1601              Sibling   4023 at 22   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          26, 29, at 3268,
                                                                                                                                                                                                          8393-1, at 1363,
1391                                  Daniella                Giammona             United States   Vincent        F.        Giammona                    United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5061 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          26, 29, at 3268,
                                                                                                                                                                                                          8393-1, at 1364,
1392                                  Francesca   Paulina     Giammona             United States   Vincent        F.        Giammona                    United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5061 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          26, 29, at 3268,
                                                                                                                                                                                                          8393-1, at 1365,
1393                                  Nicolette               Giammona             United States   Vincent        F.        Giammona                    United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5061 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          26, 29, at 3268,
                                                                                                                                                                                                          8393-1, at 84,
1394                                  Theresa                 Giammona             United States   Vincent        F.        Giammona                    United States 9/11/01   NY (Other)   03-cv-9849   8487                 Spouse    5087 at 9    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          26, 29, at 3268,
                                                                                                                                                                                                          8393-1, at 1366,
1395                                  Toni-Ann                Giammona             United States   Vincent        F.        Giammona                    United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5061 at 6    $   8,500,000.00 $    25,500,000.00
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                                                                                                                                                                                                          26, 29, at 3274,
                                                                                                                                                                                                          8393-1, at 273,
                                                                                                                                                                                                          8487, 8397-1, at
1396 J.        Frederick   Gibbon     Adam        Frederick   Gibbon               United States   Debra          Lynn      Gibbon                      United States 9/11/01   NY (WTC)     03-cv-9849   11, 8433             Child     5784 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
1397                                  Zachary     Sanderson   Gibbon               United States   Debra          Lynn      Gibbon                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3275      Child     4023 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                VA                        1:02-cv-01616,
1398                                  Eric        Patrick     Gibson               United States   Brenda         Colbert   Gibson                      United States 9/11/01   (Pentagon)   03-cv-9849   232, at P3700        Child     4023 at 11   $   8,500,000.00 $    25,500,000.00

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                                                                                                                                                                                VA                        155, at P2903,
1399                                  Joseph      Milton      Gibson         III   United States   Brenda         Colbert   Gibson                      United States 9/11/01   (Pentagon)   03-cv-9849   8393-1, at 6, 8487   Spouse    5061 at 6    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
1400                                  Sandra                  Gidman               United States   Susan          M.        Pollio                      United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4934        Sibling   4023 at 21   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          26, 29, at 1987,
                                                                                                                                                        United                                            8393-1, at 1031,
1401                                  Mason       Moseley     Gilbey               United States   Paul           Stuart    Gilbey                      Kingdom      9/11/01    NY (WTC)     03-cv-9849   8487                 Child     5061 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          26, 29, at 1987,
                                                                                                                                                        United                                            8393-1, at 1032,
1402                                  Maxwell     Thornton    Gilbey               United States   Paul           Stuart    Gilbey                      Kingdom      9/11/01    NY (WTC)     03-cv-9849   8487                 Child     5061 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
1403                                  Geraldine               Gilliam              United States   Rodney         C.        Gillis                      United States 9/11/01   NY (Other)   03-cv-9849   77, at P2605         Parent    4023 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                        United                                            1:02-cv-01616,
1404                                  Dherran     William     Gilligan             United States   Ronald         L.        Gilligan                    Kingdom       9/11/01   NY (WTC)     03-cv-9849   77, at P2608         Child     7188 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
1405                                  Ronald      C.          Gillis               United States   Rodney         C.        Gillis                      United States 9/11/01   NY (Other)   03-cv-9849   77, at P2610         Sibling   5087 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
1406                                  April       Grace       Ginley               United States   John           F.        Ginley                      United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3285      Spouse    5087 at 9    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          26, 29, at 3285,
                                                                                                                                                                                                          8393-1, at 598,
1407                                  Connor      Thomas      Ginley               United States   John           F.        Ginley                      United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5138 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          26, 29, at 3285,
                                                                                                                                                                                                          8393-1, at 599,
1408                                  Taylor      Elizabeth   Ginley               United States   John           F.        Ginley                      United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5356 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616, 3,
1409                                  Nancy       Kathleen    Gionco               United States   Michael        John      Pescherine                  United States 9/11/01   NY (WTC)     03-cv-9849   at 1533              Sibling   4023 at 21   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616, 1,
                                                                                                                                                                                                          at 62, 8397-1, at
1410 Michael               Giordano   Maria       Alexandra   Giordano             United States   Denise         Lenore    Benedetto                   United States 9/11/01   NY (WTC)     03-cv-9849   11, 8433             Parent    5138 at 3    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          26, 29, at 2514,
1411 Richard               Giordano   Mario       Joseph      Giordano       Jr.   Unknown         Jeffrey                  Giordano                    United States 9/11/01   NY (Other)   03-cv-9849   5284-1, at 5, 5296   Parent    3666 at 5    $   8,500,000.00 $    25,500,000.00



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                                                                                                                          EXHIBIT B-1
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                                                                                                                                                                                                      1:02-cv-01616, 1,
1412                            Michael                  Giordano             United States   Denise        Lenore      Benedetto                   United States 9/11/01   NY (WTC)     03-cv-9849   at 63                Sibling   5087 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
1413                            Serena       Ann         Giovi                United States   Stephen       J.          Colaio                      United States 9/11/01   NY (WTC)     03-cv-9849   305, at AP260        Fiancee   5949 at 8    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 1,
                                                                                                                                                                                                      at 244, 8393-1, at
1414                            Andrew       Dominick    Giovinazzo           United States   Martin                    Giovinazzo                  United States 9/11/01   NY (WTC)     03-cv-9849   855, 8487            Child     5087 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 1,
                                                                                                                                                                                                      at 244, 8393-1, at
1415                            Ashley       Marie       Giovinazzo           United States   Martin                    Giovinazzo                  United States 9/11/01   NY (WTC)     03-cv-9849   856, 8487            Child     5087 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 1,
                                                                                                                                                                                                      at 243, 8397-1, at
1416 Angela   Carmela   Quinn   Domenica                 Giovinazzo           United States   Martin                    Giovinazzo                  United States 9/11/01   NY (WTC)     03-cv-9849   11, 8433             Parent    5138 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 1,
                                                                                                                                                                                                      at 244, 8393-1, at
1417                            Dorothy                  Giovinazzo           United States   Martin                    Giovinazzo                  United States 9/11/01   NY (WTC)     03-cv-9849   53, 848              Spouse    5087 at 9    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 1,
                                                                                                                                                                                                      at 242, 8397-1, at
1418 Angela   Carmela   Quinn   Martin       F.          Giovinazzo     Sr.   United States   Martin                    Giovinazzo                  United States 9/11/01   NY (WTC)     03-cv-9849   11, 8433             Parent    5138 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 1,
1419                            Rose         Marie       Giovinazzo           United States   Martin                    Giovinazzo                  United States 9/11/01   NY (WTC)     03-cv-9849   at 245               Sibling   4023 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616, 1,
                                                                                                                                                                                                      at 244, 8393-1, at
1420                            Theresa      Jean        Giovinazzo           United States   Martin                    Giovinazzo                  United States 9/11/01   NY (WTC)     03-cv-9849   857, 8487            Child     5087 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:03-cv-9849,
                                                                                                                                                                                                      HAND FILED, at
1421                            Bernadette   Marie       Giuliani             United States   Andrew        B.          Jordan                      Unknown      9/11/01    NY (Other)   03-cv-9849   P5102                Sibling   4023 at 14   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      8679-1, at 161,
1422                            Bekim                    Gjonbalaj            United States   Mon                       Gjonbalaj                   United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Child     5087 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 1,
1423                            Sali                     Gjonbalaj            United States   Mon                       Gjonbalaj                   United States 9/11/01   NY (WTC)     03-cv-9849   at 250               Child     4023 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      8679-1, at 162,
1424                            Selim                    Gjonbalaj            United States   Mon                       Gjonbalaj                   United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Child     5087 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 1,
1425                            Herbert                  Gladstone            United States   Dianne                    Gladstone                   United States 9/11/01   NY (WTC)     03-cv-9849   at 253               Spouse    5087 at 9    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 3,
1426                            Benjamin     Alexander   Glascoe              United States   Keith         Alexander   Glascoe                     United States 9/11/01   NY (Other)   03-cv-9849   at 1173              Parent    4023 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 3,
1427                            Gloria       Oliver      Glascoe              United States   Keith         Alexander   Glascoe                     United States 9/11/01   NY (Other)   03-cv-9849   at 1174              Parent    7188 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 3,
                                                                                                                                                                                                      at 1175, 8393-1,
1428                            Keith        Alexander   Glascoe              United States   Keith         Alexander   Glascoe                     United States 9/11/01   NY (Other)   03-cv-9849   at 726, 8487         Child     5087 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 3,
                                                                                                                                                                                                      at 1175, 8393-1,
1429                            Nolan        Sebastian   Glascoe              United States   Keith         Alexander   Glascoe                     United States 9/11/01   NY (Other)   03-cv-9849   at 725, 8487         Child     5087 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 3,
                                                                                                                                                                                                      at 1175, 8393-1,
1430                            Owen         Alexander   Glascoe              United States   Keith         Alexander   Glascoe                     United States 9/11/01   NY (Other)   03-cv-9849   at 724, 8487         Child     5087 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:03-md-01570,
                                                                                                                                                                                                      3477, at 2283,
                                                                                                                                                                                                      4311, Exh.A
                                                                                                                                                                                                      Pg.15; 8679-1, at
1431                            Denise       Ann         Glaser               United States   Jose          Angel       Martinez          Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   281, 8696            Child     4126 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      8679-1, at 252,
1432                            Vera                     Glatt                United States   Edward                    Lichtschein                 United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      8679-1, at 514,
1433                            Rachel       W.          Glavis               United States   James         Patrick     White                       United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   5848 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      8679-1, at 165,
1434                            Jeremy       Matthew     Glick                United States   Barry         H.          Glick                       United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Child     7188 at 8    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      305, at P4297,
1435                            Judith       Mechanic    Glick                United States   Barry         H.          Glick                       United States 9/11/01   NY (WTC)     03-cv-9849   8393-1, at 5, 8487   Spouse    7188 at 8    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                      1:03-cv-09849,
                                                                                                                                                                                                      842, at 4; 8679-1,
1436                            Susan        Salvo       Glick                United States   Samuel        Robert      Salvo             Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   at 412, 8696         Child     4126 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      432, at P4848,
                                                                                                                                                                                                      8393-1, at 56,
1437                            Daniela                  Gogliormella         United States   Michael                   Gogliormella                United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5061 at 6    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      432, at P4848,
                                                                                                                                                                                                      8393-1, at 918,
1438                            Gillian                  Gogliormella         United States   Michael                   Gogliormella                United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5061 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 3,
1439                            Gerald                   Goldberg             United States   Brian         F.          Goldberg                    United States 9/11/01   NY (WTC)     03-cv-9849   at 1177              Parent    3666 at 5    $   8,500,000.00 $    25,500,000.00



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                                                                                                                                                                                                        1:02-cv-01616, 3,
1440                              Marilyn                   Goldberg           United States   Brian          F.          Goldberg                    United States 9/11/01   NY (WTC)     03-cv-9849   at 1178              Parent    3666 at 5    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                        1:02-cv-01616,
                                                            Goldberg-                                                                                                                                   26, 29, at 4785,
1441                              Lisa          Corinne     McWilliams         United States   Martin         Edward      McWilliams                  United States 9/11/01   NY (Other)   03-cv-9849   5284-1, at 8, 5296   Spouse    5951 at 7    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
1442                              Joshua        Garett      Goldflam           United States   Jeffrey        Grant       Goldflam                    United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2614         Child     5087 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        77, at P2615,
                                                                                                                                                                                                        8393-1, at 33,
1443                              Rise          Holly       Goldflam           United States   Jeffrey        Grant       Goldflam                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5087 at 10   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        232, at P3946,
                                                                                                                                                                                                        8393-1, at 765,
1444                              Tyler         Jay Senko   Goldman            United States   Larry          John        Senko                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5356 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
1445                              Alyce                     Goldstein          United States   Steven         Ian         Goldstein                   United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 1989      Parent    3387         $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616, 1,
1446                              Cecilia                   Goldstein          United States   Monica                     Goldstein                   United States 9/11/01   NY (WTC)     03-cv-9849   at 256               Parent    4023 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616, 1,
                                                                                                                                                                                                        at 255, 8397-1, at
                                                                                                                                                                                                        11, 8433, 8393-1,
1447 Cecilia          Goldstein   Morris        Sonny       Goldstein          United States   Monica                     Goldstein                   United States 9/11/01   NY (WTC)     03-cv-9849   at 60, 8487          Parent    4023 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
1448                              Robert        Jay         Goldstein          United States   Steven         Ian         Goldstein                   United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 1990      Sibling   3387         $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        155, at P2907,
                                                                                                                                                                              VA                        8393-1, at 72,
1449                              Irene         Mary        Golinski           United States   Ronald         Franklin    Golinski                    United States 9/11/01   (Pentagon)   03-cv-9849   8487                 Spouse    5062 at 4    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                        1:02-cv-01616, 3,
1450                              Fred                      Gonzalez     Jr.   United States   Nestor         A.          Cintron                     United States 9/11/01   NY (WTC)     03-cv-9849   at 992               Sibling   4023 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616, 1,
1451                              Gloria        E.          Gonzalez           United States   Isaias                     Rivera                      United States 9/11/01   NY (WTC)     03-cv-9849   at 518               Sibling   5062 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616, 1,
1452                              Ellen         Reynolds    Goodchild          United States   Lynn           Catherine   Goodchild                   United States 9/11/01   NY (UA175)   03-cv-9849   at 262               Parent    4023 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616, 1,
1453                              Neil          K.          Goodchild          United States   Lynn           Catherine   Goodchild                   United States 9/11/01   NY (UA175)   03-cv-9849   at 263               Sibling   4023 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616, 1,
1454                              William       Clark       Goodchild    III   United States   Lynn           Catherine   Goodchild                   United States 9/11/01   NY (UA175)   03-cv-9849   at 260               Parent    4023 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
1455                              Andrew        T.          Gorayeb            United States   Catherine      C.          Gorayeb                     United States 9/11/01   NY (WTC)     03-cv-9849   313, at P4650        Sibling   4023 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616,
1456                              Christopher   Joseph      Gorayeb            United States   Catherine      C.          Gorayeb                     United States 9/11/01   NY (WTC)     03-cv-9849   313, at P4651        Sibling   4023 at 12   $   4,250,000.00 $    12,750,000.00

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                                                                                                                                                                                                        232, at P3702,
1457                              Claire        A.          Gorayeb            United States   Catherine      C.          Gorayeb                     United States 9/11/01   NY (WTC)     03-cv-9849   8393-1, at 8, 8487   Sibling   4126 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616,
1458                              Joseph        George      Gorayeb            Unknown         Catherine      C.          Gorayeb                     United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3703        Parent    5848 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        232, at P3702,
                                                                                                                                                                                                        8393-1, at 127,
1459                              Katharine     Grace       Gorayeb            United States   Catherine      C.          Gorayeb                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5138 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        155, at P2912,
                                                                                                                                                                                                        8397-1, at 11,
1460 Theresa   Mary   Creedon     Edward        Thomas      Gorman             United States   Thomas         E.          Gorman                      Unknown      9/11/01    NY (Other)   03-cv-9849   8433                 Parent    4126 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
1461                              Theresa       Rachel      Gorman             United States   Thomas         E.          Gorman                      Unknown      9/11/01    NY (Other)   03-cv-9849   155, at P2914        Parent    4126 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616, 3,
1462                              Pamela        Marie       Gould              United States   Patrick        Joseph      Driscoll                    United States 9/11/01   PA (UA93)    03-cv-9849   at 1082              Child     4023 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
1463                              Robert        William     Gould              United States   Michael        Edward      Gould                       United States 9/11/01   NY (WTC)     03-cv-9849   155, at P2916        Sibling   5062 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:03-cv-9849,
                                                                                                                                                                                                        HAND FILED, at
                                                                                                                                                                                                        P5072, 8393-1, at
1464                              Barbara       Joan        Gowell             United States   Douglas        Alan        Gowell                      United States 9/11/01   NY (UA175)   03-cv-9849   20, 8487             Spouse    8233 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                        1:03-cv-9849,
                                                                                                                                                                                                        HAND FILED, at
1465                              Michael       Douglas     Gowell             United States   Douglas        Alan        Gowell                      United States 9/11/01   NY (UA175)   03-cv-9849   P5073                Child     8233 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
1466                              Brendan       Michael     Grady              Unknown         Christopher    Michael     Grady                       United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4851        Sibling   3666 at 5    $   4,250,000.00 $    12,750,000.00
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1467                              Deirdre       Marie       Grady              Unknown         Christopher    Michael     Grady                       United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4852        Sibling   3666 at 5    $   4,250,000.00 $    12,750,000.00




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                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                26, 29, at 2475,
                                                                                                                                                                                                8393-1, at 174,
1468                             Dylan       Michael     Grady            United States   Christopher   Michael   Grady                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child         5061 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                26, 29, at 2475,
                                                                                                                                                                                                8393-1, at 175,
1469                             Kayla       Patricia    Grady            United States   Christopher   Michael   Grady                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child         5061 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                1:02-cv-01616,
1470                             Patrick     Michael     Grady            Unknown         Christopher   Michael   Grady                       United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4850       Sibling       3666 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                432, at P4849,
                                                                                                                                                                                                8397-1, at 11,
1471 Patrick   Michael   Grady   Rita        M.          Grady            United States   Christopher   Michael   Grady                       United States 9/11/01   NY (WTC)     03-cv-9849   8433                Parent        5138 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                1:02-cv-01616,
1472                             Brian       Dale        Graifman         United States   David         Martin    Graifman                    United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4855       Sibling       3666 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                8679-1, at 172,
1473                             Gary        S.          Graifman         United States   David         Martin    Graifman                    United States 9/11/01   NY (WTC)     03-cv-9849   8696                Sibling       5087 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                1:02-cv-01616,
1474                             Julius                  Graifman         Unknown         David         Martin    Graifman                    United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4853       Parent        3666 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                1:02-cv-01616,
1475                             Ruth                    Graifman         Unknown         David         Martin    Graifman                    United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4854       Parent        3666 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                232, at P3704,
                                                                                                                                                                                                8393-1, at 48,
1476                             Jack        Andrew      Grandcolas       United States   Lauren        C.        Grandcolas                  United States 9/11/01   PA (UA93)    03-cv-9849   8487                Spouse        5087 at 10   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                155, at P3090,
                                                                                                                                                                                                8393-1, at 523,
1477                             Elaina      Simpson     Grant            United States   Jeff          L.        Simpson                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child         5848 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                      VA                        1:02-cv-01616,
1478                             Lydeda                  Grant            United States   Johnnie                 Doctor            Jr.       United States 9/11/01   (Pentagon)   03-cv-9849   305, at P4231       Child         5951 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                1:02-cv-01616,
1479                             Gina        Marie       Grassi           United States   Pamela                  Boyce                       United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4778       Sibling       5848 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                1:02-cv-01616,
1480                             Christine   M.          Grauer           United States   Michael       Joseph    Horn                        United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3727       Sibling       7188 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                1:02-cv-01616,
1481                             Barbara     F.          Gray             United States   Susan                   Pinto                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4152     Sibling       4023 at 21   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                1:02-cv-01616, 3,
                                                                                                                                                                                                at 1791, 8393-1,
1482                             Caitlin     Ann         Gray             United States   James         Michael   Gray                        United States 9/11/01   NY (WTC)     03-cv-9849   at 497, 8487        Child         5061 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                1:02-cv-01616, 3,
                                                                                                                                                                                                at 1791, 8393-1,
1483                             Colleen     Elizabeth   Gray             United States   James         Michael   Gray                        United States 9/11/01   NY (WTC)     03-cv-9849   at 498, 8487        Child         5061 at 7    $   8,500,000.00 $    25,500,000.00
                                                                          United States   James         Michael   Gray                                                NY (WTC)                  8679-1, at 180,
1484                             Doreen      Julia       Gray                                                                                 United States 9/11/01                03-cv-9849   8696                Step-Parent   8293 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                232, at P4063,
                                                                                                                                                                                                8397-1, at 11,
                                                                                                                                                                                                8433, 8393-1, at
1485 Janet     Walker    Gray    James       Stewart     Gray             United States   Christopher   Stewart   Gray                        United States 9/11/01   NY (WTC)     03-cv-9849   11, 8487            Parent        4023 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                8679-1, at 178,
1486                             James       Thomas      Gray             United States   Christopher   Stewart   Gray                        United States 9/11/01   NY (WTC)     03-cv-9849   8696                Sibling       515 at 4     $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                8679-1, at 179,
1487                             Janet       Walker      Gray             United States   Christopher   Stewart   Gray                        United States 9/11/01   NY (WTC)     03-cv-9849   8696                Parent        515 at 4     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                1:02-cv-01616, 3,
                                                                                                                                                                                                at 1791, 5284-1,
                                                                                                                                                                                                at 5, 5296, 8393-
1488                             Jean        Marie       Gray             United States   James         Michael   Gray                        United States 9/11/01   NY (WTC)     03-cv-9849   1, at 31, 8487      Spouse        5061 at 6    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                1:02-cv-01616,
1489                             Lisa        Anne        Gray             United States   Ian           J.        Gray                        United States 9/11/01   VA (AA77)    03-cv-9849   432, at P4984       Child         5062 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                1:02-cv-01616, 3,
                                                                                                                                                                                                at 1790, 5284-1,
1490                             Patrick                 Gray             Unknown         James         Michael   Gray                        United States 9/11/01   NY (WTC)     03-cv-9849   at 5, 5296          Parent        3666 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                8679-1, at 177,
1491                             Timothy     Walker      Gray             United States   Christopher   Stewart   Gray                        United States 9/11/01   NY (WTC)     03-cv-9849   8696                Sibling       515 at 4     $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                1:02-cv-01616,
1492                             Anthony     Leon        Green            United States   Wade          Brian     Green                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 1997     Sibling       5062 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                1:02-cv-01616,
1493                             Barry       Vincent     Green            Unknown         Wade          Brian     Green                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 1998     Sibling       3666 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                1:02-cv-01616,
1494                             Danielle    Tiffany     Green            United States   Wade          Brian     Green                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 1996     Child         5087 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                1:02-cv-01616,
1495                             Dorothy     Laverne     Green            United States   Beverly       L.        Curry                       United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2617        Parent        3666 at 3    $   8,500,000.00 $    25,500,000.00




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                                                                                                                                           EXHIBIT B-1
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                                                                                                                                                                                                                    1:03-cv-9849,
                                                                                                                                                                                                                    HAND FILED, at
1496                                            Ellen        Lucy          Green               United States   Andrew        B.        Jordan                     Unknown      9/11/01    NY (Other)   03-cv-9849   P5104                Sibling   4023 at 14   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                    1:03-cv-09849,
                                                                                                                                                                                                                    839, at 7; 8679-1,
1497                                            Frieda                     Green               United States   Louis         V.        Fersini          Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   at 109, 8696         Sibling   4126 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                    1:02-cv-01616,
1498                                            Neal                       Green               Unknown         Brian                   Nunez                      United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4450        Sibling   3382         $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                    1:02-cv-01616,
1499                                            Roxanne      E.            Green               United States   Wade          Brian     Green                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 1993      Spouse    5356 at 3    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                    26, 29, at 1994,
                                                                                                                                                                                                                    8397-1, at 11,
1500 Wilhelmina       Mary        Green         Thomas       Martin        Green               United States   Wade          Brian     Green                      United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    5138 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                          VA                        1:02-cv-01616,
1501                                            Wendy        Teepe         Green               United States   Karl          W.        Teepe                      United States 9/11/01   (Pentagon)   03-cv-9849   313, at P4752        Child     4023 at 24   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                    1:02-cv-01616,
1502                                            Wilhelmina   Mary          Green               Unknown         Wade          Brian     Green                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 1995      Parent    3666 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                    1:02-cv-01616, 3,
                     Margaret;    Wentworth;                                                                                                                                                                        at 1347, 8397-1,
1503 Barbara; Thomas Michael      Greene        Joan                       Greene              United States   Lorraine                Lee                        United States 9/11/01   NY (WTC)     03-cv-9849   at 11, 8433          Parent    5062 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                    1:02-cv-01616, 3,
1504                                            Terence      Joseph        Greene              United States   Lorraine                Lee                        United States 9/11/01   NY (WTC)     03-cv-9849   at 1349              Sibling   3666 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                    1:02-cv-01616, 3,
1505                                            Thomas       Michael       Greene              United States   Lorraine                Lee                        United States 9/11/01   NY (WTC)     03-cv-9849   at 1350              Sibling   3666 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                    1:02-cv-01616, 3,
                                                                                                                                                                                                                    at 1348, 8397-1,
1506 William          Louis       Meyerriecks   Timothy      R.            Greene              United States   Lorraine                Lee                        United States 9/11/01   NY (WTC)     03-cv-9849   at 11, 8433          Sibling   5061 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                    1:02-cv-01616, 1,
                                                                                                                                                                                                                    at 750, 5284-1, at
1507                                            Patricia     M.            Greene-Wotton       United States   Rodney        James     Wotton                     United States 9/11/01   NY (WTC)     03-cv-9849   12, 5296             Spouse    5087 at 21   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                    1:02-cv-01616,
1508                                            Kelly        Ann           Green-Grady         United States   Christopher   Michael   Grady                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2475      Spouse    5061 at 6    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                    1:02-cv-01616,
1509                                            Edward       William       Greenstein          United States   Eileen                  Greenstein                 United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2618         Sibling   4023 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                    77, at P2619,
                                                                                                                                                                                                                    8397-1, at 11,
1510 Michael          J.          Greenstein    Eva          Rebecca       Greenstein          United States   Eileen                  Greenstein                 United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    4023 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                    1:02-cv-01616,
1511                                            Howard       Allan         Greenstein          United States   Eileen                  Greenstein                 United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2620         Sibling   4023 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                    77, at P2621,
                                                                                                                                                                                                                    8393-1, at 23,
1512                                            Michael      J.            Greenstein          United States   Eileen                  Greenstein                 United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Sibling   4023 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                    1:03-cv-9849,
                                                                                                                                                                                                                    HAND FILED, at
1513                                            Margaret     Jane          Gregory             United States   Andrew        B.        Jordan                     Unknown      9/11/01    NY (Other)   03-cv-9849   P5106                Sibling   4023 at 14   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                    232, at P3706,
                                                                                                                                                                                                                    8393-1, at 20,
1514                                            Maureen      A.            Gregory             United States   Donald        H.        Gregory                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5061 at 7    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                    1:02-cv-01616,
1515                                            Martha       Susan         Grimm               United States   Leo           Russell   Keene            III       United States 9/11/01   NY (WTC)     03-cv-9849   155, at P2963        Parent    3666 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                    1:02-cv-01616, 3,
1516                                            Brian        Joseph        Grimner             United States   David         Joseph    Grimner                    United States 9/11/01   NY (WTC)     03-cv-9849   at 1186              Child     7188 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                    1:02-cv-01616, 3,
1517                                            Charles      Gregory       Grimner             Unknown         David         Joseph    Grimner                    United States 9/11/01   NY (WTC)     03-cv-9849   at 1187              Sibling   3666 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                    1:02-cv-01616, 3,
                                                                                                                                                                                                                    at 1185, 8466-1,
1518                                            David        Patrick       Grimner             Unknown         David         Joseph    Grimner                    United States 9/11/01   NY (WTC)     03-cv-9849   at 2, 8487           Child     7188 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                    1:02-cv-01616, 3,
                                                                                                                                                                                                                    at 1185, 8393-1,
1519                                            Judith       A.            Grimner             United States   David         Joseph    Grimner                    United States 9/11/01   NY (WTC)     03-cv-9849   at 16, 8487          Spouse    5061 at 7    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                    8679-1, at 181,
1520                                            Michael      Christopher   Grimner             United States   David         Joseph    Grimner                    United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Child     7188 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                    1:02-cv-01616, 3,
     Virginia; Mary   Margaret;   Kwiatkoski;                                                                                                                                                                       at 1184, 8397-1,
1521 Ann              Elizabeth   Peters        Teresa       L.            Grimner             United States   David         Joseph    Grimner                    United States 9/11/01   NY (WTC)     03-cv-9849   at 12, 8433          Parent    4126 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                    8679-1, at 369,
1522                                            Michael                    Gritsipis           United States   George                  Paris                      United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Parent    7188 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                    232, at P3714,
                                                                                                                                                                                                                    8393-1, at 621,
1523                                            Amy          Lynn          Gruver              United States   John          P.        Hart                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     8233 at 5    $   8,500,000.00 $    25,500,000.00




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                                                                                                                                                                                                               1:02-cv-01616,
1524                                      Joanne                      Grzelak            United States   Joseph                  Grzelak                     United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2004      Spouse    5061 at 7    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               232, at P3708,
                                                                                                                                                                                                               8397-1, at 12,
                                                                                                                                                                                                               8433, 8393-1, at
1525 Patti      Ann   Valerio             Patricia                    Grzymalski         United States   Matthew       James     Grzymalski                  United States 9/11/01   NY (WTC)     03-cv-9849   54, 8487             Parent    5848 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               232, at P3709,
                                                                                                                                                                                                               8397-1, at 12,
1526 Jerry      F.    Guadagno            Beatrice      Josephine     Guadagno           United States   Richard       J.        Guadagno                    United States 9/11/01   PA (UA93)    03-cv-9849   8433                 Parent    5138 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               432, at P4857,
                                                                                                                                                                                                               8393-1, at 67,
1527                                      Jerry         F.            Guadagno           United States   Richard       J.        Guadagno                    United States 9/11/01   PA (UA93)    03-cv-9849   8487                 Parent    4023 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
1528                                      Lori          Maria         Guadagno           United States   Richard       J.        Guadagno                    United States 9/11/01   PA (UA93)    03-cv-9849   232, at P3710        Sibling   4023 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616,
1529                                      Sara          Helen         Guest              Unknown         Leslie        Ann       Whittington                 United States 9/11/01   VA (AA77)    03-cv-9849   232, at P4023        Sibling   3666 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               26, 29, at 3328,
                                                                                                                                                                                                               8393-1, at 676,
1530                                      Amanda        Rose          Gullickson         United States   Joseph        P.        Gullickson                  United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5356 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               26, 29, at 3328,
                                                                                                                                                                                                               8393-1, at 675,
1531                                      Isabel        Leah          Gullickson         United States   Joseph        P.        Gullickson                  United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5356 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               26, 29, at 3328,
                                                                                                                                                                                                               8393-1, at 42,
1532                                      Naoemi        P.            Gullickson         United States   Joseph        P.        Gullickson                  United States 9/11/01   NY (Other)   03-cv-9849   8487                 Spouse    5356 at 3    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                               1:02-cv-01616, 1,
                                                                                                                                                                                                               at 267, 8393-1, at
1533                                      Anthony       Domiano       Guzzardo     Sr.   United States   Barbara                 Guzzardo                    United States 9/11/01   NY (WTC)     03-cv-9849   5, 8487              Spouse    5087 at 10   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                               1:02-cv-01616, 3,
1534                                      Anthony       Christopher   Guzzardo           United States   Barbara                 Guzzardo                    United States 9/11/01   NY (WTC)     03-cv-9849   at 1193              Child     7188 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616, 3,
                                                                                                                                                                                                               at 1232, 8393-1,
1535                                      S.            M.            H.                 United States   Claribel                Hernandez                   United States 9/11/01   NY (WTC)     03-cv-9849   at 61, 8487          Child     5087 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616, 3,
                                                                                                                                                                                                               at 1261, 8397-1,
1536 CarolAnn         Habeeb-Kiel         Anne          Margaret      Habeeb             United States   Michael       Patrick   Iken                        United States 9/11/01   NY (WTC)     03-cv-9849   at 12, 8433          Sibling   5979 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616,
1537                                      Allan         Richard       Hackel             United States   Paige         Farley    Hackel                      United States 9/11/01   NY (AA11)    03-cv-9849   305, at P4304        Spouse    5062 at 4    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                               1:02-cv-01616, 1,
1538                                      Kara                        Hadfield           Unknown         Paul          Andrew    Acquaviva                   United States 9/11/01   NY (WTC)     03-cv-9849   at 27                Sibling   3666 at 1    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               8679-1, at 218,
1539                                      James                       Hagan              United States   Jane          Eileen    Josiah                      United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616,
1540                                      Laurence      Alice         Hagan              Morocco         Jason         Elazar    Sabbag                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4336      Sibling   5062 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616,
1541                                      Faith         Kousoulis     Hagerty            United States   Danielle                Kousoulis                   United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3756        Sibling   4023 at 16   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616,
1542                                      Christopher                 Hagis              United States   Steven        Michael   Hagis                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2014      Sibling   4023 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               26, 29, at 3343,
                                                                                                                                                                                                               8393-1, at 1257,
1543                                      Daniel        Vito          Hagis              United States   Steven        Michael   Hagis                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     515 at 4     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
1544                                      Gloria        Janine        Hagis              United States   Steven        Michael   Hagis                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3343      Spouse    515 at 4     $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               26, 29, at 3343,
                                                                                                                                                                                                               8393-1, at 1258,
1545                                      Jaclyn        Elizabeth     Hagis              United States   Steven        Michael   Hagis                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     515 at 5     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               26, 29, at 2013,
                                                                                                                                                                                                               8397-1, at 12,
1546 Stacy      Ann   Bruno               Maryjane                    Hagis              United States   Steven        Michael   Hagis                       United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    4126 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
1547                                      Steven        John          Hagis              United States   Steven        Michael   Hagis                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2012      Parent    4023 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               305, at P4305,
                                                                                                                                                                                                               8397-1, at 12,
1548 Eugene     T.    Hague         III   Eugene        T.            Hague        Jr.   United States   Mary Lou                Hague                       United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    4023 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
1549                                      Kimberly      Berry         Haisch             United States   Joseph        John      Berry                       United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3597        Child     5062 at 3    $   8,500,000.00 $    25,500,000.00



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                                                                                                         SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                                      1:02-cv-01616, 3,
1550                                 Geraldine   Eleanor     Halderman         United States   David                    Halderman                   United States 9/11/01   NY (Other)   03-cv-9849   at 1196             Parent    4023 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      8679-1, at 186,
1551                                 Michael                 Halderman         United States   David                    Halderman                   United States 9/11/01   NY (Other)   03-cv-9849   8696                Sibling   5087 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      8679-1, at 188,
1552                                 Steve                   Halderman         United States   David                    Halderman                   United States 9/11/01   NY (Other)   03-cv-9849   8696                Sibling   5087 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      305, at P4306,
                                                                                                                                                                                                      8393-1, at 84,
1553                                 Beverly                 Hall              United States   Vaswald        George    Hall                        Jamaica      9/11/01    NY (WTC)     03-cv-9849   8487                Spouse    5848 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      26, 29, at 2017,
                                                                               United                                                                                                                 8397-1, at 12,
1554 David     Mitchell   Halligan   Brenda      Olive       Halligan          Kingdom         Robert         John      Halligan                    United States 9/11/01   NY (WTC)     03-cv-9849   8433                Parent    5138 at 5    $   8,500,000.00 $    25,500,000.00
                                                                               United                                                                                                                 1:02-cv-01616,
1555                                 David       Mitchell    Halligan          Kingdom         Robert         John      Halligan                    United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2021     Sibling   3666 at 6    $   4,250,000.00 $    12,750,000.00
                                                                               United                                                                                                                 1:02-cv-01616,
1556                                 James       E.          Halligan          Kingdom         Robert         John      Halligan                    United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2018     Child     5138 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 3,
1557                                 Jeraldine               Halligan          United States   Robert         John      Halligan                    United States 9/11/01   NY (WTC)     03-cv-9849   at 1203             Spouse    5087 at 10   $   12,500,000.00 $   37,500,000.00
                                                                               United                                                                                                                 8679-1, at 189,
1558                                 Robert      David       Halligan          Kingdom         Robert         John      Halligan                    United States 9/11/01   NY (WTC)     03-cv-9849   8696                Child     7188 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 3,
1559                                 Trevor      Andrew      Halligan          United States   Robert         John      Halligan                    United States 9/11/01   NY (WTC)     03-cv-9849   at 1204             Child     5087 at 10   $   8,500,000.00 $    25,500,000.00
                                                                               United                                                                                                                 1:02-cv-01616,
1560                                 William     G.          Halligan          Kingdom         Robert         John      Halligan                    United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2022     Sibling   5061 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
1561                                 Kathleen    A.          Hallstrom         United States   Sean           Patrick   Lynch                       United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3804       Sibling   4023 at 17   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
1562                                 Loretta     Ann         Halpert           United States   Paul           John      Pansini                     United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2253     Sibling   8233 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
1563                                 Jennifer    Lynn        Halstead          United States   Paul                     Laszczynski                 United States 9/11/01   NY (Other)   03-cv-9849   155, at P2985       Child     5848 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      26, 29, at 2025,
                                                                                                                                                                                                      8393-1, at 1148,
1564                                 Christine   Mary        Hamilton          United States   Robert         W.        Hamilton                    United States 9/11/01   NY (Other)   03-cv-9849   8487                Child     5087 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      26, 29, at 2025,
                                                                                                                                                                                                      8393-1, at 71,
1565                                 Elizabeth               Hamilton          United States   Robert         W.        Hamilton                    United States 9/11/01   NY (Other)   03-cv-9849   8487                Spouse    5087 at 10   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
1566                                 Kathleen    K.          Hamilton          United States   William        Hill      Kelly             Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3745       Sibling   4023 at 15   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      26, 29, at 2025,
                                                                                                                                                                                                      8393-1, at 1149,
1567                                 Robert      William     Hamilton    Jr.   United States   Robert         W.        Hamilton                    United States 9/11/01   NY (Other)   03-cv-9849   8487                Child     5087 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 3,
1568                                 Walter      E.          Hamilton          United States   Felicia                  Hamilton                    United States 9/11/01   NY (WTC)     03-cv-9849   at 1207             Child     4023 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:03-md-01570,
                                                                                                                                                                                                      3477, at 1454;
                                                                                                                                                                                                      8679-1, at 190,
1569 Cynthia   Sue        Sumner     Carl        Max         Hammond     Sr.   Unknown         Carl           Max       Hammond           Jr.       United States 9/11/01   NY (UA175)   03-cv-9849   8696                Parent    5138 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      77, at P2623,
                                                                                                                                                                                                      8397-1, at 12,
1570 Cynthia   Sue        Sumner     Sue         M.          Hammond           United States   Carl           Max       Hammond           Jr.       United States 9/11/01   NY (UA175)   03-cv-9849   8433                Parent    4126 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
1571                                 Bryan       Thomas      Hanley            United States   Sean                     Hanley                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3356     Sibling   4023 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
1572                                 Gerald      Thomas      Hanley            United States   Sean                     Hanley                      United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2624        Parent    4023 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
1573                                 Gerald      T.          Hanley            United States   Sean                     Hanley                      United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2625        Sibling   5062 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
1574                                 Kevin       Edward      Hanley            United States   Sean                     Hanley                      United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2626        Sibling   5062 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
1575                                 Patricia    Rose        Hanley            United States   Sean                     Hanley                      United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2627        Parent    4023 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 1,
1576                                 James       Joseph      Hannaford         Unknown         Kevin          James     Hannaford                   United States 9/11/01   NY (WTC)     03-cv-9849   at 271              Parent    3387         $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 1,
1577                                 Nancy       Elizabeth   Hannaford         Unknown         Kevin          James     Hannaford                   United States 9/11/01   NY (WTC)     03-cv-9849   at 273              Parent    3387         $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 1,
1578                                 Patrick     Gerard      Hannaford         Unknown         Kevin          James     Hannaford                   United States 9/11/01   NY (WTC)     03-cv-9849   at 272              Sibling   3387         $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
1579                                 Gaye        Arlene      Hannon            United States   Dana           Rey       Hannon                      United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3360     Parent    5087 at 10   $   8,500,000.00 $    25,500,000.00




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                                                                                                                            EXHIBIT B-1
                                                                                                         SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     26, 29, at 3359,
                                                                                                                                                                                                     8397-1, at 12,
1580 Kyle     Elizabeth   Bickford   Thomas        P.          Hannon     Jr.   United States   Dana          Rey      Hannon                      United States 9/11/01   NY (Other)   03-cv-9849   8433                 Parent    515 at 5     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616, 3,
1581                                 Lauren        Emily       Hansen           United States   Ronald        E.       Comer                       Unknown      9/11/01    NY (WTC)     03-cv-9849   at 1000              Child     5848 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     232, at P3712,
                                                                                                                                                                                                     8397-1, at 12,
                                                                                                                                                                                                     8433, 8393-1, at
1582 Eunice   Katherine   Hanson     C.            Lee         Hanson           United States   Peter         Burton   Hanson                      United States 9/11/01   NY (UA175)   03-cv-9849   65, 8487             Parent    4023 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
1583                                 Eunice        Katherine   Hanson           United States   Peter         Burton   Hanson                      United States 9/11/01   NY (UA175)   03-cv-9849   232, at P3713        Parent    4023 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:03-cv-09849,
                                                                                                                                                                                                     839, at 10; 8679-
1584                                 Colleen       Marie       Hardacre         United States   Gerald                 Hardacre                    Unknown      9/11/01    NY (UA175)   03-cv-9849   1, at 192, 8696      Child     5062 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     305, at P4309,
                                                                                                                                                                                                     8393-1, at 1335,
1585                                 Amy           P.          Hargrave         United States   Timothy       John     Hargrave                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5848 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     305, at P4309,
                                                                                                                                                                                                     8393-1, at 1336,
1586                                 Casey         A.          Hargrave         United States   Timothy       John     Hargrave                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5848 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     305, at P4309,
                                                                                                                                                                                                     8393-1, at 1337,
1587                                 Corinne       Elizabeth   Hargrave         United States   Timothy       John     Hargrave                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5848 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
1588                                 Patricia      Ellen       Hargrave         United States   Timothy       John     Hargrave                    United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4309        Spouse    5848 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                     1:02-cv-01616, 3,
                                                                                                                                                                                                     at 1647, 8393-1,
1589                                 Teresa        M.          Hargrave         United States   Marianne               Simone                      United States 9/11/01   NY (WTC)     03-cv-9849   at 52, 8487          Child     4023 at 23   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     26, 29, at 3377,
                                                                                                                                                                                                     8393-1, at 224,
1590                                 Brian         Thomas      Harlin           United States   Daniel        Edward   Harlin                      United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5087 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
1591                                 Caroline      Anna        Harlin           Unknown         Daniel        Edward   Harlin                      United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3379      Parent    3666 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     26, 29, at 3377,
                                                                                                                                                                                                     8393-1, at 225,
1592                                 Christopher   Edward      Harlin           United States   Daniel        Edward   Harlin                      United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5087 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
1593                                 Debra         A.          Harlin           Unknown         Daniel        Edward   Harlin                      United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3377      Spouse    5061 at 7    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
1594                                 James         Michael     Harlin           United States   Daniel        Edward   Harlin                      United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3380      Sibling   4126 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     1:02-cv-01616,
1595                                 Joan          Patricia    Harlin           Unknown         Daniel        Edward   Harlin                      United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3382      Sibling   3666 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     26, 29, at 3377,
                                                                                                                                                                                                     8393-1, at 226,
1596                                 Katherine     Marie       Harlin           United States   Daniel        Edward   Harlin                      United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5087 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
1597                                 Robert        W.          Harlin           United States   Daniel        Edward   Harlin                      United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3381      Sibling   4023 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     26, 29, at 3378,
                                                                                                                                                                                                     8397-1, at 12,
1598 James    Michael     Harlin     Wilbur        A.          Harlin           Unknown         Daniel        Edward   Harlin                      United States 9/11/01   NY (Other)   03-cv-9849   8433                 Parent    4126 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
1599                                 Nicholas                  Haros      Jr.   United States   Frances                Haros                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3386      Child     4023 at 12   $   8,500,000.00 $    25,500,000.00

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                                                                                                                                                                                                     432, at P4861,
1600                                 Arvette       Denise      Harris           United States   Aisha         Ann      Harris                      United States 9/11/01   NY (WTC)     03-cv-9849   8393-1, at 1, 8487   Parent    4126 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:03-md-01570,
1601                                 Lloyd                     Harris           United States   Stewart       D.       Harris                      Unknown      9/11/01    NY (WTC)     03-cv-9849   3477, at 1503        Sibling   4880 at 14   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     1:02-cv-01616,
1602                                 Marcus        J.          Harris           United States   Aisha         Ann      Harris                      United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4863        Sibling   5087 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     1:02-cv-01616, 1,
                                                                                                                                                                                                     at 277, 8397-1, at
1603 Lloyd                Harris     Mildred                   Harris           United States   Stewart       D.       Harris                      Unknown      9/11/01    NY (WTC)     03-cv-9849   12, 8433             Parent    4023 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616, 1,
                                                                                                                                                                                                     at 276, 8397-1, at
1604 Lloyd                Harris     Rubin         Jay         Harris           United States   Stewart       D.       Harris                      Unknown      9/11/01    NY (WTC)     03-cv-9849   12, 8433             Parent    5061 at 7    $   8,500,000.00 $    25,500,000.00




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                                                                                      SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                    8679-1, at 352,
1605                 Bernadette    M.          Hart           United States   Thomas       Gerard      O'Hagan                    United States 9/11/01   NY (Other)   03-cv-9849   8696                 Sibling   5061 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                    232, at P3714,
                                                                                                                                                                                    8393-1, at 622,
1606                 Emily         Christine   Hart           United States   John         P.          Hart                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     8233 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                    305, at P4312,
                                                                                                                                                                                    8397-1, at 12,
1607 Joseph   Hart   James         Arthur      Hart     Jr.   United States   John         P.          Hart                       United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Sibling   5061 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                    8679-1, at 193,
1608                 Jeffrey       Scott       Hart           United States   John         P.          Hart                       United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Child     8233 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                    232, at P3714,
                                                                                                                                                                                    8393-1, at 39,
1609                 Laurie        Sue         Hart           United States   John         P.          Hart                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    8233 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                    232, at P3714,
                                                                                                                                                                                    8393-1, at 623,
1610                 Westin        James       Hart           United States   John         P.          Hart                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     8233 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                    232, at P3818,
                                                                                                                                                                                    8393-1, at 73,
1611                 Robert        William     Harvey         United States   Sara         Elizabeth   Manley                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5848 at 7    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                    155, at P2924,
                                                                                                                                                                                    8393-1, at 1060,
1612                 Christopher   Paul        Hashem         United States   Peter        Paul        Hashem                     United States 9/11/01   NY (AA11)    03-cv-9849   8487                 Child     5061 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                    8679-1, at 194,
1613                 Joseph        Paul        Hashem         United States   Peter        Paul        Hashem                     United States 9/11/01   NY (AA11)    03-cv-9849   8696                 Sibling   5848 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                    155, at P2924,
                                                                                                                                                                                    8393-1, at 1061,
1614                 Patrick       James       Hashem         United States   Peter        Paul        Hashem                     United States 9/11/01   NY (AA11)    03-cv-9849   8487                 Child     5061 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                    155, at P2924,
                                                                                                                                                                                    8393-1, at 66,
1615                 Rita          A.          Hashem         Unknown         Peter        Paul        Hashem                     United States 9/11/01   NY (AA11)    03-cv-9849   8487                 Spouse    5062 at 4    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                    432, at P4908,
                                                                                                                                                                                    8393-1, at 36,
1616                 Margaret      Mary        Hatch          United States   John         Alexander   Ogonowski                  United States 9/11/01   NY (AA11)    03-cv-9849   8487                 Spouse    5061 at 11   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                    1:02-cv-01616,
1617                 Elizabeth     Petrone     Hatton         United States   Terence      Sean        Hatton                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3404      Spouse    5848 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                    1:02-cv-01616,
1618                 Grace         Susan       Hatton         Unknown         Terence      Sean        Hatton                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3406      Parent    3666 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                    1:02-cv-01616,
1619                 Grace         S.          Hatton         Unknown         Terence      Sean        Hatton                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3407      Sibling   3666 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                    1:02-cv-01616,
1620                 Kenneth       Roberts     Hatton         Unknown         Terence      Sean        Hatton                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3405      Parent    3666 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                    26, 29, at 3404,
                                                                                                                                                                                    8393-1, at 1288,
1621                 Terri         Elizabeth   Hatton         United States   Terence      Sean        Hatton                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5848 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                    1:03-cv-9849,
                                                                                                                                                                                    HAND FILED, at
                                                                                                                                                                                    P5084, 8393-1, at
1622                 Erika         Ann         Haub           United States   Michael      Helmut      Haub                       United States 9/11/01   NY (Other)   03-cv-9849   57, 8487             Spouse    5087 at 10   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                    8679-1, at 195,
1623                 Helmut        W.          Haub           Unknown         Michael      Helmut      Haub                       United States 9/11/01   NY (Other)   03-cv-9849   8696                 Parent    5138 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                    1:03-cv-9849,
                                                                                                                                                                                    HAND FILED, at
                                                                                                                                                                                    P5084, 8393-1, at
1624                 Kiersten      E.          Haub           United States   Michael      Helmut      Haub                       United States 9/11/01   NY (Other)   03-cv-9849   921, 8487            Child     5087 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                    1:03-cv-9849,
                                                                                                                                                                                    HAND FILED, at
                                                                                                                                                                                    P5084, 8393-1, at
1625                 Michael       Andreas     Haub           United States   Michael      Helmut      Haub                       United States 9/11/01   NY (Other)   03-cv-9849   922, 8487            Child     5087 at 10   $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                    26, 29, at 2507,
1626                 Kathryne      Lois        Hayde          United States   Stephen      G.          Hoffman                    United States 9/11/01   NY (WTC)     03-cv-9849   5284-1, at 6, 5296   Sibling   3666 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                    1:03-cv-9849,
                                                                                                                                                                                    HAND FILED, at
                                                                                                                                                                                    P5085, 8393-1, at
1627                 Elizabeth     Gail        Hayden         United States   James        Edward      Hayden                     United States 9/11/01   NY (UA175)   03-cv-9849   31, 8487             Spouse    5061 at 7    $   12,500,000.00 $   37,500,000.00



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                                                                                                    EXHIBIT B-1
                                                                                 SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                1:03-cv-9849,
                                                                                                                                                                                HAND FILED, at
                                                                                                                                                                                P5085, 8393-1, at
1628   John        Alexander      Hayden               United States   James          Edward      Hayden                      United States 9/11/01   NY (UA175)   03-cv-9849   489, 8487            Child     5061 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                305, at P4317,
                                                                                                                                                                                8393-1, at 70,
1629   Debora      Lynn           Hayes                United States   Robert         Jay         Hayes                       United States 9/11/01   NY (AA11)    03-cv-9849   8487                 Spouse    5138 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                305, at P4317,
                                                                                                                                                                                8393-1, at 1124,
1630   Robert      Joseph         Hayes                United States   Robert         Jay         Hayes                       United States 9/11/01   NY (AA11)    03-cv-9849   8487                 Child     5138 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                305, at P4317,
                                                                                                                                                                                8393-1, at 1125,
1631   Ryan        Allan          Hayes                United States   Robert         Jay         Hayes                       United States 9/11/01   NY (AA11)    03-cv-9849   8487                 Child     5138 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                232, at P3715,
                                                                                                                                                                                8393-1, at 74,
1632   Charles                    Hazelcorn            United States   Scott                      Hazelcorn                   United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    5061 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                1:02-cv-01616,
1633   Eric        David          Hazelcorn            United States   Scott                      Hazelcorn                   United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4318        Sibling   5062 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                1:02-cv-01616,
1634   Janice                     Hazelcorn            United States   Scott                      Hazelcorn                   United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3716        Parent    4126 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                1:02-cv-01616, 1,
                   Walter                                                                                                                                                       at 385, 8393-1, at
1635   Heath       McDonnell      Heberlein            United States   Brian          Grady       McDonnell                   United States 9/11/01   NY (WTC)     03-cv-9849   111, 8487            Child     5061 at 9    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                432, at P4864,
1636   Bernard     James          Heeran               Unknown         Charles        F.X.        Heeran                      United States 9/11/01   NY (WTC)     03-cv-9849   8393-1, at 9, 8487   Parent    4126 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                1:02-cv-01616, 3,
1637   Lynn        Patricia       Heeran               United States   Richard        Dennis      Allen                       United States 9/11/01   NY (Other)   03-cv-9849   at 874               Sibling   4023 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                8679-1, at 200,
1638   Sean        Bernard        Heeran               United States   Charles        F.X.        Heeran                      United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   5087 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                8679-1, at 199,
1639   William     Daniel Kevin   Heeran               United States   Charles        F.X.        Heeran                      United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   5087 at 10   $   4,250,000.00 $    12,750,000.00

                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                26, 29, at 2504,
1640   Louise      Nancy          Heerey               United States   Stephen        G.          Hoffman                     United States 9/11/01   NY (WTC)     03-cv-9849   5284-1, at 6, 5296   Sibling   4023 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                      Anne                                                                                      1:02-cv-01616,
1641   Anne        Theresa        Heffernan            United States   Neilie         Heffernan   Casey                       United States 9/11/01   NY (AA11)    03-cv-9849   313, at P4626        Parent    4023 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                      Anne                                                                                      8679-1, at 46,
1642   Eileen      Josephine      Heffernan            United States   Neilie         Heffernan   Casey                       United States 9/11/01   NY (AA11)    03-cv-9849   8696                 Sibling   7188 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                      Anne                                                                                      8679-1, at 45,
1643   Lynsey      Marie          Heffernan            United States   Neilie         Heffernan   Casey                       United States 9/11/01   NY (AA11)    03-cv-9849   8696                 Sibling   7188 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                      Anne                                                                                      8679-1, at 47,
1644   Neil        Thomas         Heffernan      III   United States   Neilie         Heffernan   Casey                       United States 9/11/01   NY (AA11)    03-cv-9849   8696                 Sibling   7188 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                1:02-cv-01616, 1,
1645   Thomas      P.             Heidenberger   Sr.   Germany         Michele        M.          Heidenberger                United States 9/11/01   VA (AA77)    03-cv-9849   at 712               Spouse    5087 at 10   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                1:02-cv-01616,
1646   Linda       Lynch          Helck                Unknown         Robert         H.          Lynch             Jr.       United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2151      Sibling   3666 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                1:03-md-01570,
1647   David       C.             Hemschoot            United States   Mark           Frederick   Hemschoot                   United States 9/11/01   NY (WTC)     03-cv-9849   602, at P5486        Child     5848 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                26, 29, at 3423,
                                                                                                                                                                                8393-1, at 52,
1648   Debora                     Hemschoot            United States   Mark           Frederick   Hemschoot                   United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5848 at 6    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                1:03-md-01570,
1649   Jeffrey     W.             Hemschoot            United States   Mark           Frederick   Hemschoot                   United States 9/11/01   NY (WTC)     03-cv-9849   602, at P5487        Child     5848 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                1:02-cv-01616, 3,
1650   Eileen      Mary           Hendrickson          United States   Patrick                    Woods                       United States 9/11/01   NY (WTC)     03-cv-9849   at 1744              Parent    4126 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                1:02-cv-01616,
1651   Denise      L.             Henick               United States   James          P.          Leahy                       Unknown      9/11/01    NY (Other)   03-cv-9849   26, 29, at 3610      Sibling   4023 at 16   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                1:02-cv-01616, 3,
1652   Christina   Suzanne        Henrique             United States   Michelle       Marie       Henrique                    United States 9/11/01   NY (WTC)     03-cv-9849   at 1222              Sibling   5062 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                1:02-cv-01616, 3,
1653   George      Anthony        Henrique             United States   Michelle       Marie       Henrique                    United States 9/11/01   NY (WTC)     03-cv-9849   at 1218              Parent    4023 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                1:02-cv-01616, 3,
1654   Michael     Leon           Henrique             United States   Michelle       Marie       Henrique                    United States 9/11/01   NY (WTC)     03-cv-9849   at 1221              Sibling   5062 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                1:02-cv-01616, 3,
1655   Patricia    Ann            Henrique             United States   Michelle       Marie       Henrique                    United States 9/11/01   NY (WTC)     03-cv-9849   at 1219              Parent    4126 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                1:02-cv-01616, 3,
1656   Paul        Robert         Henrique             United States   Michelle       Marie       Henrique                    United States 9/11/01   NY (WTC)     03-cv-9849   at 1220              Sibling   5062 at 4    $   4,250,000.00 $    12,750,000.00




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                                                                                                                                                 EXHIBIT B-1
                                                                                                                              SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                          155, at P2926,
                                                                                                                                                                                                                          8393-1, at 42,
1657                                          Alice         Anne        Henry                       United States   Joseph         P.       Henry                       United States 9/11/01   NY (Other)   03-cv-9849   8487                Parent    4023 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                          1:02-cv-01616,
1658                                          Daniel        Joseph      Henry                       United States   Joseph         P.       Henry                       United States 9/11/01   NY (Other)   03-cv-9849   155, at P2927       Sibling   4023 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                          155, at P2928,
                                                                                                                                                                                                                          8397-1, at 13,
     Alice; Michael;          Henry, Henry;                                                                                                                                                                               8433, 8393-1, at
1659 Edward            Anne   Henry, Jr.      Edward                    Henry                       United States   Joseph         P.       Henry                       United States 9/11/01   NY (Other)   03-cv-9849   42, 8487            Parent    4023 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                          1:02-cv-01616,
1660                                          Edward                    Henry                 Jr.   United States   Joseph         P.       Henry                       United States 9/11/01   NY (Other)   03-cv-9849   155, at P2929       Sibling   4023 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                          26, 29, at 3431,
                                                                                                                                                                                                                          8393-1, at 88,
1661                                          Ethel         M.          Henry                       United States   William        Leon     Henry                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                Parent    4023 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                          1:02-cv-01616,
1662                                          Mary          Elizabeth   Henry                       Unknown         Joseph         P.       Henry                       United States 9/11/01   NY (Other)   03-cv-9849   155, at P2931       Sibling   5062 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                          1:02-cv-01616,
1663                                          Michael                   Henry                       United States   Joseph         P.       Henry                       United States 9/11/01   NY (Other)   03-cv-9849   155, at P2932       Sibling   4023 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                          1:02-cv-01616, 3,
1664                                          Joseph                    Herencia                    United States   Mary                    Herencia                    United States 9/11/01   NY (WTC)     03-cv-9849   at 1226             Child     5087 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                          1:02-cv-01616, 3,
1665                                          Julio                     Herencia                    United States   Mary                    Herencia                    United States 9/11/01   NY (WTC)     03-cv-9849   at 1227             Child     5087 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                          8679-1, at 203,
1666                                          Mark                      Herencia                    United States   Mary                    Herencia                    United States 9/11/01   NY (WTC)     03-cv-9849   8696                Child     5848 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                          1:03-cv-09849,
                                                                                                                                                                                                                          839, at 11; 8679-
1667                                          Matthew                   Herencia                    United States   Mary                    Herencia                    United States 9/11/01   NY (WTC)     03-cv-9849   1, at 202, 8696     Child     5062 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                          1:02-cv-01616,
1668                                          Alejandrina   Feliciano   Hernandez                   United States   Norberto                Hernandez                   United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3438     Parent    3666 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                          1:02-cv-01616, 3,
1669                                          Catherine                 Hernandez                   United States   Norberto                Hernandez                   United States 9/11/01   NY (WTC)     03-cv-9849   at 1237             Child     5061 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                          1:02-cv-01616,
1670                                          Eslyn                     Hernandez             Sr.   United States   Norberto                Hernandez                   United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3442     Sibling   3666 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                          1:02-cv-01616, 3,
1671                                          Eslyn                     Hernandez             Sr.   United States   Claribel                Hernandez                   United States 9/11/01   NY (WTC)     03-cv-9849   at 1232             Spouse    5061 at 7    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                          1:02-cv-01616, 3,
                                                                                                                                                                                                                          at 1232, 8393-1,
1672                                          Eslyn         J.          Hernandez             Jr.   United States   Claribel                Hernandez                   United States 9/11/01   NY (WTC)     03-cv-9849   at 992, 8487        Child     5087 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                          1:02-cv-01616, 3,
1673                                          Eulogia                   Hernandez                   United States   Norberto                Hernandez                   United States 9/11/01   NY (WTC)     03-cv-9849   at 1235             Spouse    5061 at 7    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                          1:02-cv-01616,
1674                                          Hector        Luis        Hernandez                   Unknown         Norberto                Hernandez                   United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3441     Sibling   3666 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                          1:02-cv-01616, 3,
1675                                          Jacqueline    Patricia    Hernandez                   United States   Norberto                Hernandez                   United States 9/11/01   NY (WTC)     03-cv-9849   at 1236             Child     5061 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                          155, at P2910,
                                                                                                                                                                                                                          8393-1, at 1171,
1676                                          Jennifer                  Hernandez                   United States   Rosa           J.       Gonzalez                    United States 9/11/01   NY (Other)   03-cv-9849   8487                Child     5061 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                          232, at P4096,
                                                                                                                                                                                                                          8393-1, at 27,
1677                                          Kai                       Hernandez                   United States   Glenn          Edward   Thompson                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                Spouse    5061 at 13   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                          1:02-cv-01616,
1678                                          Marisol                   Hernandez                   United States   Norberto                Hernandez                   United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3447     Sibling   3666 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                          1:02-cv-01616,
1679                                          Pablo         Luis        Hernandez                   Unknown         Norberto                Hernandez                   United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3439     Sibling   3666 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                          1:02-cv-01616, 3,
                                                                                                                                                                                                                          at 1235, 8393-1,
1680                                          Tatiana                   Hernandez                   United States   Norberto                Hernandez                   United States 9/11/01   NY (WTC)     03-cv-9849   at 994, 8487        Child     5061 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                          1:02-cv-01616,
1681                                          Willy         Alberto     Hernandez                   United States   Norberto                Hernandez                   United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3440     Sibling   3666 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                          1:02-cv-01616,
1682                                          Venancio                  Hernandez Feliciano         United States   Norberto                Hernandez                   United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3443     Sibling   3666 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                          26, 29, at 3437,
                              Hernandez                                                                                                                                                                                   8397-1, at 13,
1683 Venancio                 Feliciano       Venancio                  Hernandez Gonzalez          United States   Norberto                Hernandez                   United States 9/11/01   NY (WTC)     03-cv-9849   8433                Parent    3666 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                          1:02-cv-01616,
1684                                          Leslie        Sue         Hersch                      United States   Jeffrey        A.       Hersch                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2036     Spouse    5061 at 7    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                          8679-1, at 204,
1685                                          Nathan        Jay         Hersch                      United States   Jeffrey        A.       Hersch                      United States 9/11/01   NY (WTC)     03-cv-9849   8696                Child     7188 at 9    $   8,500,000.00 $    25,500,000.00




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                                                                                                                           EXHIBIT B-1
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                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          26, 29, at 2039,
                                                                                                                                                                                                          8393-1, at 1310,
1686                          Amanda            Christina   Hetzel            United States   Thomas         J.            Hetzel                       United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5087 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
1687                          Barbara           Marille     Hetzel            United States   Thomas         J.            Hetzel                       United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2041      Parent    4023 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
1688                          Daniel            Egon        Hetzel            United States   Thomas         J.            Hetzel                       United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2042      Sibling   4023 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
1689                          Diana                         Hetzel            United States   Thomas         J.            Hetzel                       United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2039      Spouse    5087 at 10   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
1690                          Egon              Hermann     Hetzel            United States   Thomas         J.            Hetzel                       United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2040      Parent    4023 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
1691                          Dorine            Anita       Hetzel-Dand       United States   Thomas         J.            Hetzel                       United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2043      Sibling   4023 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616, 1,
1692                          Patricia          A.          Heyne             United States   Joann                        Tabeek                       United States 9/11/01   NY (WTC)     03-cv-9849   at 608               Sibling   5087 at 19   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
1693                          Ernie (Ernesto)               Hidalgo           United States   Cora           Hidalgo       Holland                      United States 9/11/01   NY (AA11)    03-cv-9849   155, at P2935        Sibling   4023 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616, 3,
                                                                                                                                                                                                          at 713, 5284-1, at
1694                          Kathleen                      Higgins           United States   Patrick        Aloysius      Hoey                         United States 9/11/01   NY (WTC)     03-cv-9849   5, 5296              Sibling   3666 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616, 3,
1695                          John              Douglas     Higley            United States   Robert         Dale Warren   Higley             II        United States 9/11/01   NY (WTC)     03-cv-9849   at 1241              Parent    3666 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616, 3,
                                                                                                                                                                                                          at 1241, 8393-1,
1696                          Rachael           Celeste     Higley            United States   Robert         Dale Warren   Higley             II        United States 9/11/01   NY (WTC)     03-cv-9849   at 1120, 8487        Sibling   5976 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
1697                          Julianne          Nazario     Hilbert           United States   Francis        J.            Nazario                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2216      Spouse    8233 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                          8679-1, at 527,
1698                          Lindsey           Marissa     Hill              United States   Matthew        David         Yarnell                      United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 15   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:03-cv-09849,
                                                                                                                                                                                                          843, at 5; 8679-1,
1699                          Lynn              Marie       Hill              United States   Paul           Rexford       Hughes                       United States 9/11/01   NY (WTC)     03-cv-9849   at 214, 8696         Sibling   5062 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
1700                          Patricia          A.          Hill              United States   Irving         Vincent       Gailliard                    Unknown      9/11/01    NY (Other)   03-cv-9849   26, 29, at 3217      Sibling   4023 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          26, 29, at 2048,
                                                                                                                                                                                                          8397-1, at 13,
1701 Virginia   Ann   Hindy   George            V.          Hindy             Unknown         Mark           D.            Hindy                        United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    4023 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
1702                          Gregory           J.          Hindy             United States   Mark           D.            Hindy                        United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3718        Sibling   4023 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
1703                          Virginia          Ann         Hindy             United States   Mark           D.            Hindy                        United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3719        Parent    4023 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616, 1,
1704                          Caryn             Jill        Hinson            United States   Michael        Robert        Wittenstein                  United States 9/11/01   NY (WTC)     03-cv-9849   at 661               Sibling   5356 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
1705                          Gigi              T.          Hintz             United States   Michael        C.            Tarrou                       Unknown      9/11/01    NY (UA175)   03-cv-9849   155, at P3118        Sibling   4126 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
1706                          Alice                         Hoagland          Unknown         Mark           K.            Bingham                      United States 9/11/01   PA (UA93)    03-cv-9849   26, 29, at 1855      Parent    3382         $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616, 3,
1707                          Rebecca           Sihyun      Hoang             United States   Joon           Koo           Kang                         Unknown      9/11/01    NY (WTC)     03-cv-9849   at 1284              Sibling   4023 at 14   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
1708                          Derrick           J.          Hobin             Unknown         James          J.            Hobin                        United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4322        Child     3382         $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
1709                          Sean              Michael     Hobin             United States   James          J.            Hobin                        United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4323        Child     5087 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          232, at P3720,
                                                                                                                                                                                                          8393-1, at 72,
1710                          Cynthia           Palmieri    Hobson            United States   Robert         Wayne         Hobson             III       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5848 at 6    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
1711                          Judith            Irene       Hobson            United States   Robert         Wayne         Hobson             III       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3455      Parent    4023 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
1712                          Matthew           Caleb       Hobson            United States   Robert         Wayne         Hobson             III       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3456      Sibling   4023 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          155, at P2933,
                                                                                                                                                                                                          8393-1, at 72,
1713                          Barbara           Ann         Hoerner           United States   Ronald         George        Hoerner                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5087 at 10   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                          8679-1, at 275,
1714                          Rosemarie                     Hoesly            United States   Joseph                       Mangano                      United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   5848 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616, 3,
                                                                                                                                                                                                          at 706, 5284-1, at
1715                          Brian             Patrick     Hoey              United States   Patrick        Aloysius      Hoey                         United States 9/11/01   NY (WTC)     03-cv-9849   6, 5296              Child     4023 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616, 1,
                                                                                                                                                                                                          at 756, 5284-1, at
1716                          Eileen            T.          Hoey              Unknown         Patrick        Aloysius      Hoey                         United States 9/11/01   NY (WTC)     03-cv-9849   6, 5296              Spouse    5087 at 10   $   12,500,000.00 $   37,500,000.00




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                                                                                                                                      EXHIBIT B-1
                                                                                                                   SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                                                1:02-cv-01616, 3,
                                                                                                                                                                                                                at 710, 5284-1, at
1717                                             John        Vincent    Hoey       III   United States   Patrick        Aloysius   Hoey                        United States 9/11/01   NY (WTC)    03-cv-9849   6, 5296              Sibling   5062 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                1:02-cv-01616, 3,
                                                                                                                                                                                                                at 709, 5284-1, at
1718                                             Lucille     Agnes      Hoey             United States   Patrick        Aloysius   Hoey                        United States 9/11/01   NY (WTC)    03-cv-9849   5, 5296              Parent    3666 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                1:02-cv-01616, 1,
1719                                             Michael     T.         Hoey             United States   Patrick        Aloysius   Hoey                        United States 9/11/01   NY (WTC)    03-cv-9849   at 757               Child     4023 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                1:02-cv-01616, 3,
                                                                                                                                                                                                                at 707, 5284-1, at
1720                                             Robert      Timothy    Hoey             United States   Patrick        Aloysius   Hoey                        United States 9/11/01   NY (WTC)    03-cv-9849   6, 5296              Child     5087 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                1:02-cv-01616, 3,
                                                                                                                                                                                                                at 711, 5284-1, at
1721                                             Timothy     Joseph     Hoey             Unknown         Patrick        Aloysius   Hoey                        United States 9/11/01   NY (WTC)    03-cv-9849   6, 5296              Sibling   3666 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                1:02-cv-01616,
1722                                             Alicia      Marie      Hofer            United States   John           Aaron      Hofer                       United States 9/11/01   NY (AA11)   03-cv-9849   305, at P4326        Child     5087 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                1:02-cv-01616,
1723                                             Billie      Ann        Hofer            Unknown         John           Aaron      Hofer                       United States 9/11/01   NY (AA11)   03-cv-9849   305, at P4327        Parent    3666 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                305, at P4325,
                                                                                                                                                                                                                8393-1, at 36,
1724                                             Rebecca     Jean       Hofer            United States   John           Aaron      Hofer                       United States 9/11/01   NY (AA11)   03-cv-9849   8487                 Spouse    5061 at 7    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                1:02-cv-01616,
1725                                             Richard     Robert     Hofer            United States   John           Aaron      Hofer                       United States 9/11/01   NY (AA11)   03-cv-9849   305, at P4328        Sibling   5061 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                1:02-cv-01616,
1726                                             Dorothy     Marie      Hoffman          United States   Stephen        G.         Hoffman                     United States 9/11/01   NY (WTC)    03-cv-9849   26, 29, at 2505      Sibling   5062 at 4    $   4,250,000.00 $    12,750,000.00

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                                                                                                                                                                                                                26, 29, at 2502,
1727                                             Francis     Matthew    Hoffman          United States   Stephen        G.         Hoffman                     United States 9/11/01   NY (WTC)    03-cv-9849   5284-1, at 6, 5296   Sibling   4023 at 13   $   4,250,000.00 $    12,750,000.00

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                                                                                                                                                                                                                26, 29, at 2495,
1728                                             Gabrielle              Hoffman          United States   Stephen        G.         Hoffman                     United States 9/11/01   NY (WTC)    03-cv-9849   5284-1, at 6, 5296   Spouse    5061 at 7    $   12,500,000.00 $   37,500,000.00

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                                                                                                                                                                                                                26, 29, at 2496,
1729                                             Gregory     Andrew     Hoffman          United States   Stephen        G.         Hoffman                     United States 9/11/01   NY (WTC)    03-cv-9849   5284-1, at 6, 5296   Sibling   4023 at 13   $   4,250,000.00 $    12,750,000.00

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                                                                                                                                                                                                                26, 29, at 2506,
1730                                             Helen       Suzanne    Hoffman          United States   Stephen        G.         Hoffman                     United States 9/11/01   NY (WTC)    03-cv-9849   5284-1, at 6, 5296   Sibling   3666 at 6    $   4,250,000.00 $    12,750,000.00

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                                                                                                                                                                                                                26, 29, at 2503,
1731                                             James       Aloysius   Hoffman          Unknown         Stephen        G.         Hoffman                     United States 9/11/01   NY (WTC)    03-cv-9849   5284-1, at 6, 5296   Sibling   3666 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                26, 29, at 2498,
                                                                                                                                                                                                                5284-1, at 6,
                                      Hoffman;                                                                                                                                                                  5296, 8397-1, at
1732 Helen; John     Suzanne; William Hoffman    Jean        L.         Hoffman          United States   Stephen        G.         Hoffman                     United States 9/11/01   NY (WTC)    03-cv-9849   13, 8433             Parent    4126 at 5    $   8,500,000.00 $    25,500,000.00

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                                                                                                                                                                                                                26, 29, at 2499,
1733                                             Joe         A.         Hoffman          United States   Stephen        G.         Hoffman                     United States 9/11/01   NY (WTC)    03-cv-9849   5284-1, at 6, 5296   Sibling   4023 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                1:02-cv-01616,
1734                                             John        William    Hoffman          United States   Stephen        G.         Hoffman                     United States 9/11/01   NY (WTC)    03-cv-9849   26, 29, at 2500      Sibling   3666 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                26, 29, at 2495,
                                                                                                                                                                                                                8393-1, at 1230,
1735                                             Madeline    Claire     Hoffman          United States   Stephen        G.         Hoffman                     United States 9/11/01   NY (WTC)    03-cv-9849   8487                 Child     5061 at 7    $   8,500,000.00 $    25,500,000.00

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                                                                                                                                                                                                                26, 29, at 2508,
1736                                             Mary        Louise     Hoffman          United States   Stephen        G.         Hoffman                     United States 9/11/01   NY (WTC)    03-cv-9849   5284-1, at 6, 5296   Sibling   4023 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                1:02-cv-01616,
1737                                             Paul        Michael    Hoffman          United States   Stephen        G.         Hoffman                     United States 9/11/01   NY (WTC)    03-cv-9849   26, 29, at 2501      Sibling   4023 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                1:02-cv-01616,
1738                                             Renee       Ann        Hoffman          United States   Alvin                     Bergsohn                    United States 9/11/01   NY (WTC)    03-cv-9849   77, at P2633         Sibling   5848 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                26, 29, at 2497,
                                      Hoffman;                                                                                                                                                                  8397-1, at 13,
1739 Francis; John   Matthew; William Hoffman    Thomas      J.         Hoffman          United States   Stephen        G.         Hoffman                     United States 9/11/01   NY (WTC)    03-cv-9849   8433                 Parent    5061 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                1:02-cv-01616, 1,
1740                                             Randolph    Thomas     Hohlweck         United States   Thomas         Warren     Hohlweck          Jr.       Unknown      9/11/01    NY (WTC)    03-cv-9849   at 289               Child     5062 at 4    $   8,500,000.00 $    25,500,000.00




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                                                                                                                                                                                                   1:02-cv-01616, 1,
1741                   Robin         Anne          Hohlweck               United States   Thomas        Warren       Hohlweck          Jr.       Unknown      9/11/01    NY (WTC)     03-cv-9849   at 287              Child     5087 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616, 1,
1742                   Todd          Warren        Hohlweck               United States   Thomas        Warren       Hohlweck          Jr.       Unknown      9/11/01    NY (WTC)     03-cv-9849   at 288              Child     5062 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616, 1,
1743                   Lisa          Jean          Hojnacki               Unknown         Carl          Eugene       Molinaro                    United States 9/11/01   NY (WTC)     03-cv-9849   at 899              Sibling   3666 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616,
1744                   Jessica       Lin Hidalgo   Holland                United States   Cora          Hidalgo      Holland                     United States 9/11/01   NY (AA11)    03-cv-9849   155, at P2937       Child     5062 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
1745                   Joseph        Francis       Holland                Unknown         Joseph                     Holland           Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3463     Parent    3666 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
1746                   Nathaniel     Kenyon        Holland                United States   Cora          Hidalgo      Holland                     United States 9/11/01   NY (AA11)    03-cv-9849   155, at P2938       Child     5062 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
1747                   Stephanie                   Holland                United States   Cora          Hidalgo      Holland                     United States 9/11/01   NY (AA11)    03-cv-9849   155, at P2940       Child     5061 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   155, at P2939,
                                                                                                                                                                                                   8393-1, at 13,
1748                   Stephen       Kenyon        Holland                United States   Cora          Hidalgo      Holland                     United States 9/11/01   NY (AA11)    03-cv-9849   8487                Spouse    5062 at 4    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
1749                   Tara                        Holland-Hickey         United States   Joseph                     Holland           Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   155, at P2941       Sibling   3666 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616,
1750                   Christopher                 Holmes           Jr.   United States   Elizabeth                  Holmes                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2055     Sibling   4023 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                         VA                        1:02-cv-01616,
1751                   Denise        Marie         Holmes                 United States   Janice        Marie        Scott                       United States 9/11/01   (Pentagon)   03-cv-9849   305, at P4523       Sibling   3666 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   26, 29, at 2480,
                                                                                                                                                                                                   5284-1, at 11,
1752                   Denise        Marie         Holmes                 United States   John          Anthony      Sherry                      United States 9/11/01   NY (WTC)     03-cv-9849   5296                Sibling   4023 at 23   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616, 3,
1753                   Doris                       Holmes                 United States   Elizabeth                  Holmes                      United States 9/11/01   NY (WTC)     03-cv-9849   at 1247             Sibling   5087 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   305, at P4518,
                                                                                                                                                                         VA                        8397-1, at 13,
1754 Kelly    Holmes   George        Arnold        Holmes                 United States   Janice        Marie        Scott                       United States 9/11/01   (Pentagon)   03-cv-9849   8433                Sibling   5848 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   305, at P4517,
                                                                                                                                                                         VA                        8397-1, at 13,
1755 Nicole   James    Geraldine                   Holmes                 United States   Janice        Marie        Scott                       United States 9/11/01   (Pentagon)   03-cv-9849   8433                Parent    3666 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
1756                   Thomas                      Holmes, II             United States   Elizabeth                  Holmes                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2053     Sibling   5061 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616, 1,
1757                   Josephine                   Holubar                United States   Michael                    Massaroli                   United States 9/11/01   NY (WTC)     03-cv-9849   at 370              Parent    4126 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   432, at P4905,
                                                                                                                                                                         VA                        8393-1, at 47,
1758                   Tu            Anh           Honguyen               United States   Khang         N.           Nguyen                      United States 9/11/01   (Pentagon)   03-cv-9849   8487                Spouse    5087 at 15   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                   1:02-cv-01616, 3,
1759                   Lisa          Ann           Hopkins                United States   Robert        Wayne        Hobson            III       United States 9/11/01   NY (WTC)     03-cv-9849   at 1243             Sibling   4023 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   232, at P3726,
                                                                                                                                                                                                   8393-1, at 31,
1760                   Rita                        Hopper                 United States   James         P.           Hopper                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                Spouse    5087 at 11   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   26, 29, at 2059,
                                                                                                                                                                                                   8393-1, at 973,
1761                   Jackson       Sharp         Hord                   United States   Montgomery    McCullough   Hord                        United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     5848 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
1762                   Lisa          Sharp         Hord                   United States   Montgomery    McCullough   Hord                        United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2059     Spouse    5848 at 6    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   26, 29, at 2059,
                                                                                                                                                                                                   8393-1, at 971,
1763                   Molly         Williams      Hord                   Unknown         Montgomery    McCullough   Hord                        United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     5848 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   26, 29, at 2059,
                                                                                                                                                                                                   8393-1, at 972,
1764                   Sophie        McCullough    Hord                   United States   Montgomery    McCullough   Hord                        United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     5848 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   232, at P3728,
                                                                                                                                                                                                   8393-1, at 58,
1765                   Charles       H.            Horn                   United States   Michael       Joseph       Horn                        United States 9/11/01   NY (WTC)     03-cv-9849   8487                Parent    5087 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   8679-1, at 205,
1766                   Charles       Howard        Horn             Jr.   United States   Michael       Joseph       Horn                        United States 9/11/01   NY (WTC)     03-cv-9849   8696                Sibling   7188 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616,
1767                   Mary          A.            Horn                   United States   Michael       Joseph       Horn                        United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3729       Parent    5087 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
1768                   Maureen       Ann           Horn                   United States   Michael       Joseph       Horn                        United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3730       Sibling   7188 at 9    $   4,250,000.00 $    12,750,000.00



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                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                    232, at AP226,
1769                          Diane       J.         Horning                   Chile           Matthew       D.       Horning                     United States 9/11/01   NY (WTC)     03-cv-9849   5284-1, at 6, 5296   Parent    4023 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                    232, at AP225,
                                                                                                                                                                                                    5284-1, at 6,
                                                                                                                                                                                                    5296, 8393-1, at
1770                          Kurt        Douglas    Horning                   United States   Matthew       D.       Horning                     United States 9/11/01   NY (WTC)     03-cv-9849   54, 8487             Parent    4023 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
1771                          Michael     E.         Horohoe                   United States   Robert        L.       Horohoe           Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2063      Sibling   4023 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                    1:02-cv-01616,
1772                          Patricia    M.         Horohoe                   United States   Robert        L.       Horohoe           Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2062      Parent    4023 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                    305, at P4332,
                                                                                                                                                                                                    8397-1, at 13,
                                                                                                                                                                                                    8433, 8393-1, at
1773 Claudia   A.   Horohoe   Robert      L.         Horohoe             Sr.   United States   Robert        L.       Horohoe           Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   70, 8487             Parent    4023 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    8679-1, at 208,
1774                          Christian   John       Horrocks                  United States   Michael       Robert   Horrocks                    United States 9/11/01   NY (UA175)   03-cv-9849   8696                 Sibling   7188 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                    8679-1, at 207,
1775                          Linda       Jane       Horrocks                  United States   Michael       Robert   Horrocks                    United States 9/11/01   NY (UA175)   03-cv-9849   8696                 Parent    7188 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                    313, at P4659,
                                                                                                                                                                                                    8393-1, at 953,
1776                          Michael     Alan       Horrocks                  United States   Michael       Robert   Horrocks                    United States 9/11/01   NY (UA175)   03-cv-9849   8487                 Child     6035 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                    313, at P4659,
                                                                                                                                                                                                    8393-1, at 59,
1777                          Miriam                 Horrocks                  United States   Michael       Robert   Horrocks                    United States 9/11/01   NY (UA175)   03-cv-9849   8487                 Spouse    5356 at 3    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                    8679-1, at 210,
1778                          William     Lawrence   Horrocks            Sr.   United States   Michael       Robert   Horrocks                    United States 9/11/01   NY (UA175)   03-cv-9849   8696                 Parent    7188 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    8679-1, at 209,
1779                          William     Lawrence   Horrocks            Jr.   United States   Michael       Robert   Horrocks                    United States 9/11/01   NY (UA175)   03-cv-9849   8696                 Sibling   7188 at 9    $   4,250,000.00 $    12,750,000.00

                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                    155, at P943,
1780                          Allan                  Horwitz                   United States   Aaron                  Horwitz                     United States 9/11/01   NY (WTC)     03-cv-9849   8393-1, at 1, 8487   Parent    4023 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
1781                          Blake       Jeffrey    Horwitz                   United States   Aaron                  Horwitz                     United States 9/11/01   NY (WTC)     03-cv-9849   155, at P2944        Sibling   4023 at 13   $   4,250,000.00 $    12,750,000.00

                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                    155, at P2945,
1782                          Elizabeth   Ruth       Horwitz                   United States   Aaron                  Horwitz                     United States 9/11/01   NY (WTC)     03-cv-9849   8393-1, at 1, 8487   Parent    4023 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
1783                          Robert      Scott      Horwitz                   United States   Aaron                  Horwitz                     United States 9/11/01   NY (WTC)     03-cv-9849   155, at P2946        Sibling   4023 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                    1:02-cv-01616,
1784                          Tara        Zoe        Horwitz-Rodriguez         United States   Aaron                  Horwitz                     United States 9/11/01   NY (WTC)     03-cv-9849   155, at P2947        Sibling   4023 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                    155, at P2948,
                                                                                                                                                                                                    8393-1, at 1351,
1785                          Hannah                 Houston                   United States   Uhuru         Gonja    Houston                     United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5087 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                    155, at P2948,
                                                                                                                                                                                                    8393-1, at 1352,
1786                          Hasani                 Houston                   United States   Uhuru         Gonja    Houston                     United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5087 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                    155, at P2948,
                                                                                                                                                                                                    8393-1, at 83,
1787                          Sonya       M.         Houston                   United States   Uhuru         Gonja    Houston                     United States 9/11/01   NY (Other)   03-cv-9849   8487                 Spouse    5087 at 11   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                    1:02-cv-01616, 3,
                                                                                                                                                                                                    at 1249, 8397-1,
1788 Arlene    T.   Howell    Ralph       Lawson     Howell                    United States   Steven        Leon     Howell                      United States 9/11/01   NY (WTC)     03-cv-9849   at 13, 8433          Parent    4023 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                    232, at P3733,
                                                                                                                                                                                                    8393-1, at 1236,
1789                          Aidan       Patrick    Huczko                    United States   Stephen                Huczko            Jr.       United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5087 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                    232, at P3733,
                                                                                                                                                                                                    8393-1, at 1237,
1790                          Cullen                 Huczko                    United States   Stephen                Huczko            Jr.       United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5087 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
1791                          Katelyn     Ann        Huczko                    United States   Stephen                Huczko            Jr.       United States 9/11/01   NY (Other)   03-cv-9849   232, at P3732        Child     5087 at 11   $   8,500,000.00 $    25,500,000.00




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                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                              232, at P3733,
                                                                                                                                                                                                              8393-1, at 1238,
1792                                       Liam        James      Huczko            United States   Stephen                     Huczko            Jr.       United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5087 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                              305, at P4333,
                                                                                                                                                                                                              8393-1, at 1028,
1793                                       Amanda      Lucia      Hughes            United States   Paul          Rexford       Hughes                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5061 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                              1:03-cv-09849,
                                                                                                                                                                                                              842, at 5; 8679-1,
1794                                       Donald      William    Hughes            United States   Paul          Rexford       Hughes                      United States 9/11/01   NY (WTC)     03-cv-9849   at 215, 8696         Sibling   5062 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                              305, at P4333,
                                                                                                                                                                                                              8393-1, at 64,
1795                                       Donna       Sara       Hughes            Unknown         Paul          Rexford       Hughes                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5062 at 4    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                              1:02-cv-01616,
1796                                       Elaine      Loretta    Hughes            United States   Kris          Robert        Hughes                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2071      Parent    4023 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                              1:02-cv-01616,
1797                                       Henry       Robert     Hughes            United States   Kris          Robert        Hughes                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2070      Parent    4023 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                              1:02-cv-01616,
1798                                       Keith       Henry      Hughes            United States   Kris          Robert        Hughes                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2072      Sibling   4023 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                              1:02-cv-01616,
1799                                       Leigha                 Hughes            United States   Robert        T.            Hughes            Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4869        Sibling   4023 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                              432, at P4868,
                                                                                                                                                                                                              8393-1, at 71,
1800                                       Louise                 Hughes            United States   Robert        T.            Hughes            Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    4023 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                              432, at P4867,
                                                                                                                                                                                                              8393-1, at 1146,
1801                                       Lyndsey                Hughes            United States   Robert        T.            Hughes            Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Sibling   4023 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                              26, 29, at 2076,
                                                                                                                                                                                                              8393-1, at 1308,
1802                                       Patrick     Thomas     Hughes            United States   Thomas        F.            Hughes            Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                              432, at P4867,
                                                                                                                                                                                                              8393-1, at 71,
1803                                       Robert      T.         Hughes            United States   Robert        T.            Hughes            Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    4023 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                              1:02-cv-01616,
1804                                       Rosanne                Hughes            United States   Thomas        F.            Hughes            Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2076      Spouse    5087 at 11   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                              1:03-md-01570,
                                                                                                                                                                                                              602, at P5485,
                                                                                                                                                                                                              8393-1, at 16,
1805                                       Christine   R.         Huhn              United States   David         Martin        Graifman                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5061 at 6    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                              1:02-cv-01616,
1806                                       Gordon                 Huie              United States   Susan                       Huie                        United States 9/11/01   NY (WTC)     03-cv-9849   313, at P4661        Sibling   4023 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                              313, at P4660,
                                                                                                                                                                                                              8393-1, at 79,
1807                                       Tennyson               Huie              China           Susan                       Huie                        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    5087 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                              1:02-cv-01616, 3,
1808                                       Jennifer    Woodward   Hunt              United States   William       Christopher   Hunt                        United States 9/11/01   NY (WTC)     03-cv-9849   at 1252              Spouse    5087 at 11   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                              432, at P4790,
                                                                                                                                                                                                              8397-1, at 13,
1809 Eileen; Maureen   Ann   Mosca; Hunt   Mary        Ann        Hunt              United States   Kathleen      Ann Hunt      Casey                       Unknown      9/11/01    NY (WTC)     03-cv-9849   8433                 Parent    5087 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                              1:02-cv-01616,
1810                                       Maureen                Hunt              United States   Kathleen      Ann Hunt      Casey                       Unknown      9/11/01    NY (WTC)     03-cv-9849   432, at P4792        Sibling   3666 at 2    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                              1:02-cv-01616, 3,
                                                                                                                                                                                                              at 1252, 8393-1,
1811                                       Emma        Kathryn    Hunt-Bauman       United States   William       Christopher   Hunt                        United States 9/11/01   NY (WTC)     03-cv-9849   at 1402, 8487        Child     5087 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                              1:02-cv-01616,
1812                                       Marie       McErlean   Hunter            United States   John          T.            McErlean          Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4422        Sibling   3666 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                              26, 29, at 3485,
                                                                                                                                                                                                              8393-1, at 80,
1813                                       Carolyne    Yacoub     Hynes             United States   Thomas        Edward        Hynes                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5848 at 6    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                              26, 29, at 3485,
                                                                                                                                                                                                              8393-1, at 1302,
1814                                       Olivia      Tommi      Hynes             United States   Thomas        Edward        Hynes                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5356 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                              1:02-cv-01616, 3,
1815                                       Barbara     Ellen      Ianelli           United States   Joseph        A.            Ianelli                     United States 9/11/01   NY (WTC)     03-cv-9849   at 1256              Parent    4023 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                              1:02-cv-01616, 3,
1816                                       Joseph                 Ianelli           United States   Joseph        A.            Ianelli                     United States 9/11/01   NY (WTC)     03-cv-9849   at 1255              Parent    4023 at 13   $   8,500,000.00 $    25,500,000.00



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                                                                                                                                                                                                          1:02-cv-01616,
1817                               Monica                   Ianelli                Unknown         Joseph        A.        Ianelli                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2081     Spouse    5951 at 7    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
1818                               Ali                      Ibis                   United States   Zuhtu                   Ibis                         United States 9/11/01   NY (WTC)     03-cv-9849   155, at P2949       Parent    5848 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
1819                               Ayse                     Ibis                   Unknown         Zuhtu                   Ibis                         United States 9/11/01   NY (WTC)     03-cv-9849   155, at P2950       Parent    5848 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
1820                               Hacer                    Ibis                   Turkey          Zuhtu                   Ibis                         United States 9/11/01   NY (WTC)     03-cv-9849   155, at P2951       Sibling   5848 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
1821                               Mehmet                   Ibis                   Turkey          Zuhtu                   Ibis                         United States 9/11/01   NY (WTC)     03-cv-9849   155, at P2952       Sibling   5848 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          155, at P2953,
                                                                                                                                                                                                          8393-1, at 1431,
1822                               Mert                     Ibis                   United States   Zuhtu                   Ibis                         United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     5087 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616, 3,
1823                               Gerard       Helmut      Iken                   Unknown         Michael       Patrick   Iken                         United States 9/11/01   NY (WTC)     03-cv-9849   at 1260             Sibling   3666 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616, 1,
1824                               Monica                   Iken                   United States   Michael       Patrick   Iken                         United States 9/11/01   NY (WTC)     03-cv-9849   at 302              Spouse    5087 at 11   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          26, 29, at 3489,
                                                                                                                                                                                                          8397-1, at 13,
1825 Jane     Catherine   Ill      Frederick    J.          Ill              Sr.   United States   Frederick     J.        Ill                Jr.       United States 9/11/01   NY (Other)   03-cv-9849   8433                Parent    5061 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
1826                               Jane         Catherine   Ill                    United States   Frederick     J.        Ill                Jr.       United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3491     Sibling   4023 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616, 1,
1827                               Anthony      Arcangelo   Ingrassia              United States   Christopher   Noble     Ingrassia                    United States 9/11/01   NY (WTC)     03-cv-9849   at 306              Parent    4023 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616, 1,
1828                               Anthony      Wayne       Ingrassia              United States   Christopher   Noble     Ingrassia                    United States 9/11/01   NY (WTC)     03-cv-9849   at 307              Sibling   4023 at 14   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616, 1,
1829                               Elisa        Marie       Ingrassia              United States   Christopher   Noble     Ingrassia                    United States 9/11/01   NY (WTC)     03-cv-9849   at 309              Sibling   4023 at 14   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616, 1,
1830                               Gloria       Jean        Ingrassia              United States   Christopher   Noble     Ingrassia                    United States 9/11/01   NY (WTC)     03-cv-9849   at 305              Parent    4023 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616, 1,
1831                               Paul         B.          Ingrassia              United States   Christopher   Noble     Ingrassia                    United States 9/11/01   NY (WTC)     03-cv-9849   at 308              Sibling   4023 at 14   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          305, at P4368,
                                                                                                                                                                                                          8393-1, at 87,
1832                               Lisa         Maria       Inzerillo              United States   William       Edward    Krukowski                    United States 9/11/01   NY (Other)   03-cv-9849   8487                Spouse    5356 at 3    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
1833                               Evangeline   Tamayo      Iquina                 Philippines     Hector        R.        Tamayo                       United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3976       Sibling   4023 at 24   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          26, 29, at 2085,
                                                                                                                                                                                                          8397-1, at 13,
1834 Steven   D.          Irgang   Joanne                   Irgang                 United States   Douglas       Jason     Irgang                       United States 9/11/01   NY (WTC)     03-cv-9849   8433                Parent    4023 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
1835                               Steven       D.          Irgang                 United States   Douglas       Jason     Irgang                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2084     Sibling   4023 at 14   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
1836                               Carmen       Eneida      Irizarry               United States   Claribel                Hernandez                    United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3434     Parent    3666 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
1837                               Dirk         H.          Isbrandtsen            United States   Erik          Hans      Isbrandtsen                  United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4336       Parent    4023 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
1838                               Jacqueline   Gail        Iskols                 United States   Mark                    Brisman                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 1873     Sibling   5062 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:03-cv-9849,
                                                                                                                                                                                                          HAND FILED, at
                                                                                                                                                                                                          P5107, 8393-1, at
1839                               M.           A.          J.                     United States   Anthony                 Jovic                        United States 9/11/01   NY (Other)   03-cv-9849   4, 8487             Child     5138 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:03-cv-9849,
                                                                                                                                                                                                          HAND FILED, at
                                                                                                                                                                                                          P5107, 8393-1, at
1840                               P.           T.          J.                     United States   Anthony                 Jovic                        United States 9/11/01   NY (Other)   03-cv-9849   4, 8487             Child     5138 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                VA                        8679-1, at 211,
1841                               Jamie        Elizabeth   Jackson                United States   Angela        Marie     Houtz                        United States 9/11/01   (Pentagon)   03-cv-9849   8696                Sibling   515 at 5     $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
1842                               Sheneque     Tirado      Jackson                Unknown         Hector        Luis      Tirado             Jr.       United States 9/11/01   NY (Other)   03-cv-9849   77, at P2730        Spouse    5087 at 20   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          232, at P3722,
                                                                                                                                                                                VA                        8393-1, at 35,
1843                               Martha       Rebecca     Jackson-Holley         United States   Jimmie        Ira       Holley                       United States 9/11/01   (Pentagon)   03-cv-9849   8487                Spouse    7188 at 9    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                          1:03-md-01570,
                                                                                                                                                                                                          602, at AP99,
                                                                                                                                                                                                          8393-1, at 519,
1844                               Zoe          Alexa       Jacobs                 United States   Jason         Kyle      Jacobs                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     5087 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:03-md-01570,
                                                                                                                                                                                                          602, at AP99,
                                                                                                                                                                                                          8393-1, at 32,
1845                               Jennifer     Jael        Jacobs-Deutsch         United States   Jason         Kyle      Jacobs                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                Spouse    5061 at 8    $   12,500,000.00 $   37,500,000.00



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                                                                                                                                                                                                                 1:03-md-01570,
                                                                                                                                                                                                                 432, at P5375,
                                   Jacobson;                                                                                                                                                                     8397-1, at 13,
1846 Miriam; Rachel   Rose; Bess   Jacobson      Deborah    B.        Jacobson            United States   Steven        A.         Jacobson                    United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Spouse    5848 at 6    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                 1:03-md-01570,
                                                                                                                                                                                                                 432, at P5375,
                                                                                                                                                                                                                 8393-1, at 1247,
1847                                             Miriam     Rose      Jacobson            United States   Steven        A.         Jacobson                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     7188 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                 1:03-md-01570,
                                                                                                                                                                                                                 432, at P5376,
                                                                                                                                                                                                                 8393-1, at 77,
1848                                             Rachel     Bess      Jacobson            Unknown         Steven        A.         Jacobson                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     7188 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                 232, at P3736,
                                                                                                                                                                                                                 8393-1, at 1251,
                                                                                                                                                                                                                 8487, 8397-1, at
1849 Kimberly         Jacoby       Dudgeon       Nicholas   Harrod    Jacoby              United States   Steven        Donald     Jacoby                      United States 9/11/01   VA (AA77)    03-cv-9849   14, 8433             Child     7188 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                 232, at P4064,
                                                                                                                                                                                                                 8393-1, at 30,
1850                                             Anna       May       Jagoda              United States   Jake          D.         Jagoda                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    4023 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                 232, at P4065,
                                                                                                                                                                                                                 8393-1, at 30,
1851                                             Louis      John      Jagoda              United States   Jake          D.         Jagoda                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    4023 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                 1:03-cv-09849,
                                                                                                                                                                                                                 839, at 13; 8679-
1852                                             Sargam               Jain                United States   Yudh          VirSingh   Jain                        United States 9/11/01   NY (WTC)     03-cv-9849   1, at 216, 8696      Child     4126 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                 232, at P3737,
                                                                                                                                                                                                                 8393-1, at 88,
1853                                             Sneh                 Jain                United States   Yudh          VirSingh   Jain                        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    7188 at 9    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                 232, at P3737,
                                                                                                                                                                                                                 8393-1, at 1428,
1854                                             Vandna               Jain                United States   Yudh          VirSingh   Jain                        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5356 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                 1:02-cv-01616,
1855                                             Michael    A.        Jalbert             United States   Robert        A.         Jalbert                     United States 9/11/01   NY (UA175)   03-cv-9849   432, at P4872        Child     4023 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                 1:02-cv-01616,
1856                                             Paul       Henry     Jalbert             United States   Robert        A.         Jalbert                     United States 9/11/01   NY (UA175)   03-cv-9849   155, at P2960        Sibling   3666 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                       VA                        1:02-cv-01616,
1857                                             Delores    Diane     James               United States   Janice        Marie      Scott                       United States 9/11/01   (Pentagon)   03-cv-9849   305, at P4522        Sibling   3666 at 11   $   4,250,000.00 $    12,750,000.00

1858                                             Jeanne     Marie     Jamin               United States   Michael       Rourke     Andrews                     United States 9/11/01   NY (WTC)     03-cv-9849   8679-1, at 6, 8696   Sibling   7188 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                 1:02-cv-01616, 3,
1859                                             Aram       Pothier   Jarret        Jr.   United States   Amy           Nicole     Jarret                      United States 9/11/01   NY (UA175)   03-cv-9849   at 1264              Parent    4023 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                 1:02-cv-01616, 3,
1860                                             Aram       Pothier   Jarret        III   United States   Amy           Nicole     Jarret                      United States 9/11/01   NY (UA175)   03-cv-9849   at 1269              Sibling   4023 at 14   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                 1:02-cv-01616, 3,
1861                                             Marc       Douglas   Jarret              United States   Amy           Nicole     Jarret                      United States 9/11/01   NY (UA175)   03-cv-9849   at 1267              Sibling   4023 at 14   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                 1:02-cv-01616, 3,
1862                                             Matthew    Ryan      Jarret              United States   Amy           Nicole     Jarret                      United States 9/11/01   NY (UA175)   03-cv-9849   at 1268              Sibling   4023 at 14   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                 155, at P2904,
                                                                                                                                                                                                                 8397-1, at 14,
1863 Marie            Myriam       Jean-Gilles   Gisele               Jean-Gilles         United States   Mark          Y.         Gilles                      United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    5087 at 9    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                 155, at P2905,
1864                                             Marie      Myriam    Jean-Gilles         United States   Mark          Y.         Gilles                      United States 9/11/01   NY (WTC)     03-cv-9849   8393-1, at 53, 848   Sibling   4023 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                 1:02-cv-01616,
1865                                             Debra      Anne      Jenkins             United States   Joseph                   Jenkins           Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2090      Sibling   4023 at 14   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                 1:02-cv-01616,
1866                                             Gordon     Robert    Jenkins             United States   Joseph                   Jenkins           Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2088      Sibling   4023 at 14   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                 232, at P3738,
                                                                                                                                                                                                                 8393-1, at 41,
1867                                             Jennifer   Lynn      Jenkins             United States   Joseph                   Jenkins           Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     4023 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                 1:02-cv-01616,
1868                                             Michael    Patrick   Jenkins             United States   Joseph                   Jenkins           Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2089      Sibling   6035 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                 1:02-cv-01616,
1869                                             Steven               Jenkins             United States   Joseph                   Jenkins           Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3501      Sibling   4023 at 14   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                 432, at P4783,
                                                                                                                                                                                                                 8393-1, at 79,
1870                                             Frank      Gerald    Jensen              United States   Suzanne       M.         Calley                      United States 9/11/01   VA (AA77)    03-cv-9849   8487                 Spouse    5951 at 7    $   12,500,000.00 $   37,500,000.00



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                                                                                                                                                                                               1:02-cv-01616, 1,
1871                             Meena                  Jerath          United States   Prem           N.        Jerath                      United States 9/11/01   NY (WTC)     03-cv-9849   at 807               Spouse       5848 at 6    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                               1:02-cv-01616, 1,
1872                             Neel                   Jerath          United States   Prem           N.        Jerath                      United States 9/11/01   NY (WTC)     03-cv-9849   at 808               Child        5848 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               313, at P4627,
                                                                                                                                                                                               8393-1, at 1108,
1873                             Bianca      Isabel     Jerez           United States   Robert         D.        Cirri             Sr.       United States 9/11/01   NY (Other)   03-cv-9849   8487                 Step-Child   8293 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               313, at P4627,
                                                                                                                                                                                               8393-1, at 1109,
1874                             Kara        Lydia      Jerez           United States   Robert         D.        Cirri             Sr.       United States 9/11/01   NY (Other)   03-cv-9849   8487                 Step-Child   5949 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616, 1,
1875                             Catherine   Frances    Jezycki         Unknown         Margaret                 Alario                      United States 9/11/01   NY (WTC)     03-cv-9849   at 34                Parent       3666 at 1    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616, 3,
1876                             Michael     John       Jezycki         Unknown         Margaret                 Alario                      United States 9/11/01   NY (WTC)     03-cv-9849   at 867               Sibling      3666 at 1    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               1:02-cv-01616, 3,
1877                             Stephen     Frank      Jezycki   Jr.   Unknown         Margaret                 Alario                      United States 9/11/01   NY (WTC)     03-cv-9849   at 868               Sibling      3666 at 1    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               305, at P4338,
                                                                                                                                                                                               8393-1, at 29,
1878                             Ju-Hsiu                Jian            Unknown         Hweidar                  Jian                        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse       3382         $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
1879                             Saramma                John            India           Valsa                    Raju                        United States 9/11/01   NY (WTC)     03-cv-9849   313, at P4714        Sibling      3666 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               1:02-cv-01616, 3,
1880                             Anthony     Scott      Johnson         United States   Juanita                  Lee                         United States 9/11/01   NY (WTC)     03-cv-9849   at 1341              Sibling      3666 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                     VA                        1:02-cv-01616,
1881                             Dawn        Marie      Johnson         United States   Dennis         Michael   Johnson                     United States 9/11/01   (Pentagon)   03-cv-9849   313, at P4669        Child        5087 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               305, at P4340,
                                                                                                                                                                     VA                        8397-1, at 14,
1882 Gail       Sue    Lindner   Elva        Lorraine   Johnson         United States   Dennis         Michael   Johnson                     United States 9/11/01   (Pentagon)   03-cv-9849   8433                 Parent       5138 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616, 3,
1883                             Geneva                 Johnson         United States   Juanita                  Lee                         United States 9/11/01   NY (WTC)     03-cv-9849   at 1339              Parent       3666 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616, 3,
1884                             Janet       Lee        Johnson         United States   Juanita                  Lee                         United States 9/11/01   NY (WTC)     03-cv-9849   at 1343              Sibling      3666 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                     VA                        1:02-cv-01616, 1,
1885                             Joyce       Linda      Johnson         United States   Dennis         Michael   Johnson                     United States 9/11/01   (Pentagon)   03-cv-9849   at 314               Spouse       5087 at 11   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                               1:03-cv-09849,
                                                                                                                                                                     VA                        839, at 15; 8679-
1886                             Richard     Allen      Johnson         Unknown         Dennis         Michael   Johnson                     United States 9/11/01   (Pentagon)   03-cv-9849   1, at 217, 8696      Sibling      5087 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               305, at P4339,
                                                                                                                                                                     VA                        8397-1, at 14,
1887 Gail       Sue    Lindner   Robert      E.         Johnson         United States   Dennis         Michael   Johnson                     United States 9/11/01   (Pentagon)   03-cv-9849   8433                 Parent       5061 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
1888                             Mary        E.         Jones           Unknown         Christoffer    Mikael    Carstanjen                  United States 9/11/01   NY (UA175)   03-cv-9849   432, at P4788        Parent       4023 at 7    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               155, at P2962,
1889                             Mary        J.         Jones           United States   Charles        Edward    Jones                       United States 9/11/01   NY (AA11)    03-cv-9849   8393-1, at 9, 8487   Spouse       5087 at 11   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                               8679-1, at 68,
1890                             Maryjane               Jones           United States   Kevin          M.        Cosgrove                    United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling      7188 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               77, at P2636,
                                                                                                                                                                                               8393-1, at 32,
1891                             Shawn       M.         Jones           United States   Jeannine                 Damiani-Jones               United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse       5087 at 7    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                               1:03-cv-9849,
                                                                                                                                                                                               HAND FILED, at
                                                                                                                                                                                               P5099, 8397-1, at
1892 Margaret   Jane   Gregory   Ellen                  Jordan          United States   Andrew         B.        Jordan                      Unknown      9/11/01    NY (Other)   03-cv-9849   14, 8433             Parent       4023 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:03-cv-9849,
                                                                                                                                                                                               HAND FILED, at
1893                             Mary        Brigid     Jordan          United States   Andrew         B.        Jordan                      Unknown      9/11/01    NY (Other)   03-cv-9849   P5105                Sibling      4023 at 14   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               1:03-cv-9849,
                                                                                                                                                                                               HAND FILED, at
                                                                                                                                                                                               P5098, 8397-1, at
1894 Margaret   Jane   Gregory   Thomas                 Jordan          United States   Andrew         B.        Jordan                      Unknown      9/11/01    NY (Other)   03-cv-9849   14, 8433             Parent       4023 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:03-cv-9849,
                                                                                                                                                                                               HAND FILED, at
1895                             Thomas      Patrick    Jordan          United States   Andrew         B.        Jordan                      Unknown      9/11/01    NY (Other)   03-cv-9849   P5101                Sibling      4023 at 14   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               1:02-cv-01616, 1,
1896                             Jennifer    Eileen     Josiah          United States   Jane           Eileen    Josiah                      United States 9/11/01   NY (WTC)     03-cv-9849   at 317               Child        4023 at 14   $   8,500,000.00 $    25,500,000.00




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                                                                                                                                                                                                           1:03-cv-9849,
                                                                                                                                                                                                           HAND FILED, at
                                                                                                                                                                                                           P5107, 8393-1, at
1897                            Sentija                     Jovic                  Croatia         Anthony                   Jovic                       United States 9/11/01   NY (Other)   03-cv-9849   4, 8487              Spouse    5087 at 11   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
1898                            Angel           L.          Juarbe           Sr.   United States   Angel          L.         Juarbe            Jr.       United States 9/11/01   NY (Other)   03-cv-9849   305, at P4344        Parent    5087 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616, 1,
1899                            Mary Margaret               Jurgens                United States   Thomas         E.         Burnett           Jr.       United States 9/11/01   PA (UA93)    03-cv-9849   at 9                 Sibling   3666 at 2    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           155, at P2965,
                                                                                                                                                                                                           8393-1, at 49,
1900                            M.              M.          K.                     United States   Leo            Russell    Keene             III       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5061 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           26, 29, at 2102,
                                                                                                                                                                                                           8397-1, at 14,
1901 Elizabeth   Kane   Reich   Joan            C.          Kane                   United States   Vincent        Dominick   Kane              Jr.       United States 9/11/01   NY (Other)   03-cv-9849   8433                 Parent    5138 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           26, 29, at 2101,
                                                                                                                                                                                                           8397-1, at 14,
1902 Elizabeth   Kane   Reich   Vincent         D.          Kane             Sr.   United States   Vincent        Dominick   Kane              Jr.       United States 9/11/01   NY (Other)   03-cv-9849   8433                 Parent    5138 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616, 3,
1903                            Janet           Eun Young   Kang                   United States   Joon           Koo        Kang                        Unknown      9/11/01    NY (WTC)     03-cv-9849   at 1283              Sibling   3666 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616, 3,
                                                                                                                                                                                                           at 1282, 8397-1,
1904 Seong       Soon   Kang    Pil Soon                    Kang                   United States   Joon           Koo        Kang                        Unknown      9/11/01    NY (WTC)     03-cv-9849   at 14, 8433          Parent    4023 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616, 3,
1905                            Seong           Soon        Kang                   United States   Joon           Koo        Kang                        Unknown      9/11/01    NY (WTC)     03-cv-9849   at 1281              Parent    4023 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
1906                            Aline           L.          Kanney-Jenkins         United States   Joseph                    Jenkins           Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2087      Parent    5087 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616, 1,
                                                                                                                                                                                                           at 841, 5284-1, at
1907                            Adam            Brent       Kanter                 United States   Sheldon        Robert     Kanter                      United States 9/11/01   NY (WTC)     03-cv-9849   7, 5296              Child     5061 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616, 1,
                                                                                                                                                                                                           at 842, 5284-1, at
1908                            Evan            Morgan      Kanter                 United States   Sheldon        Robert     Kanter                      United States 9/11/01   NY (WTC)     03-cv-9849   7, 5296              Child     5061 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616, 1,
                                                                                                                                                                                                           at 840, 5284-1, at
1909                            Tamara          Susan       Kanter                 United States   Sheldon        Robert     Kanter                      United States 9/11/01   NY (WTC)     03-cv-9849   7, 5296              Spouse    5061 at 8    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
1910                            Edward          Harvey      Kaplan                 United States   Robin                     Kaplan                      United States 9/11/01   NY (AA11)    03-cv-9849   305, at P4348        Parent    4023 at 15   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           305, at P4347,
                                                                                                                                                                                                           8393-1, at 72,
1911                            Francine        Charlotte   Kaplan                 United States   Robin                     Kaplan                      United States 9/11/01   NY (AA11)    03-cv-9849   8487                 Parent    4023 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
1912                            Mark            Adam        Kaplan                 United States   Robin                     Kaplan                      United States 9/11/01   NY (AA11)    03-cv-9849   305, at P4349        Sibling   5062 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           8679-1, at 312,
1913                            Jacqueline      Menchaca    Karastamatis           United States   Dora           Marie      Menchaca                    United States 9/11/01   VA (AA77)    03-cv-9849   8696                 Sibling   5061 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
1914                            Nancy           Marie       Kasak                  United States   Michael        L.         Collins                     United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4796        Sibling   4023 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:03-cv-9849,
                                                                                                                                                                                                           HAND FILED, at
1915                            Kara                        Kasper                 United States   Charles        L.         Kasper                      United States 9/11/01   NY (Other)   03-cv-9849   P5111                Child     4023 at 15   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:03-cv-9849,
                                                                                                                                                                                                           HAND FILED, at
1916                            Melissa                     Kasper                 United States   Charles        L.         Kasper                      United States 9/11/01   NY (Other)   03-cv-9849   P5110                Child     4023 at 15   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:03-cv-9849,
                                                                                                                                                                                                           HAND FILED, at
1917                            Michael         Roman       Kasper                 United States   Charles        L.         Kasper                      United States 9/11/01   NY (Other)   03-cv-9849   P5109                Child     5356 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           232, at P4060,
                                                                                                                                                                                                           8393-1, at 33,
1918                            Amy             Beth        Kassan                 United States   Jeffrey        B.         Gardner                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Sibling   5087 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
1919                            Lorna                       Kaye                   United States   Myrna                     Yaskulka                    United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4756      Sibling   4023 at 26   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           232, at P3739,
                                                                                                                                                                                                           8393-1, at 23,
1920                            Barbara         E.          Keane                  United States   Edward         T.         Keane                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5087 at 11   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
1921                            Barbara         P.          Keane                  United States   Robert         W.         Spear             Jr.       United States 9/11/01   NY (Other)   03-cv-9849   77, at P2637         Sibling   5087 at 18   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
1922                            Charlotte       Florence    Keane                  Unknown         Richard        Michael    Keane                       United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4357        Sibling   3666 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
1923                            Constance       Anne        Keane                  Unknown         Richard        Michael    Keane                       United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4359        Sibling   3666 at 7    $   4,250,000.00 $    12,750,000.00




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                                                                Case 1:03-md-01570-GBD-SN Document 9551-2 Filed 01/19/24 Page 72 of 165
                                                                                                                  EXHIBIT B-1
                                                                                               SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                           8679-1, at 220,
1924                          Daniel      Mark       Keane            United States   Richard       Michael   Keane                      United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Child        5848 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                           1:02-cv-01616,
1925                          Garrett     Paul       Keane            Unknown         Richard       Michael   Keane                      United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4354        Sibling      3666 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                           232, at P3740,
                                                                                                                                                                                           8393-1, at 68,
1926                          Judith      Ann        Keane            United States   Richard       Michael   Keane                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse       5087 at 11   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                           1:02-cv-01616,
1927                          Mark        Edward     Keane            United States   Edward        T.        Keane                      United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4350        Child        5062 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                           1:02-cv-01616,
1928                          Matthew     Eamon      Keane            United States   Richard       Michael   Keane                      United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3741        Child        3666 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                           1:02-cv-01616,
1929                          Patrick     James      Keane            United States   Richard       Michael   Keane                      United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3742        Child        3666 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                           1:02-cv-01616,
1930                          Paul        Anthony    Keane            Unknown         Richard       Michael   Keane                      United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4356        Sibling      3666 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                           1:02-cv-01616,
1931                          Sean        Michael    Keane            United States   Richard       Michael   Keane                      United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4352        Child        5062 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                           1:02-cv-01616,
1932                          Timothy     Brendan    Keane            United States   Richard       Michael   Keane                      United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3743        Child        3666 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                           1:02-cv-01616, 3,
                                                                                                                                                                                           at 1288, 8397-1,
1933 Susan     K.   Keasler   Denise      K.         Keasler          United States   Karol         Ann       Keasler                    United States 9/11/01   NY (WTC)     03-cv-9849   at 14, 8433          Parent       5138 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                           8679-1, at 221,
1934                          Susan       K.         Keasler          United States   Karol         Ann       Keasler                    United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling      5138 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                           305, at P4275,
                                                                                                                                                                                           8393-1, at 73,
1935                          Diane                  Keating          United States   Ryan          D.        Fitzgerald                 United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent       4023 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                           1:02-cv-01616,
1936                          John        Edward     Keating          United States   Barbara       A.        Keating                    United States 9/11/01   NY (AA11)    03-cv-9849   305, at P4361        Child        4126 at 5    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                           305, at P4360,
1937                          Michael     Lawrence   Keating          United States   Barbara       A.        Keating                    United States 9/11/01   NY (AA11)    03-cv-9849   8393-1, at 4, 8487   Child        4023 at 15   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                           8679-1, at 222,
1938                          Patricia    Ann        Keating          United States   Barbara       A.        Keating                    United States 9/11/01   NY (AA11)    03-cv-9849   8696                 Child        7188 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                           1:02-cv-01616,
1939                          Paul        Joseph     Keating          United States   Barbara       A.        Keating                    United States 9/11/01   NY (AA11)    03-cv-9849   305, at P4362        Child        4023 at 15   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                           1:02-cv-01616,
1940                          Patricia               Keelan           United States   Bernard                 Pietronico                 United States 9/11/01   NY (WTC)     03-cv-9849   155, at P3065        Sibling      4023 at 21   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                           1:02-cv-01616,
1941                          Krista      Sue        Keene            United States   Leo           Russell   Keene            III       United States 9/11/01   NY (WTC)     03-cv-9849   155, at P2964        Sibling      3666 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                           155, at P2965,
                                                                                                                                                                                           8393-1, at 49,
1942                          Kristen     M.         Keene            United States   Leo           Russell   Keene            III       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse       5062 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                           305, at P4157,
                                                                                                                                                                                           8397-1, at 14,
1943 Scott     C.   Calley    Norma       Jean       Keleher          United States   Suzanne       M.        Calley                     United States 9/11/01   VA (AA77)    03-cv-9849   8433                 Parent       4023 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                           1:02-cv-01616,
1944                          Patrice                Kelleher         United States   Jacqueline              Donovan                    United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3679        Sibling      5848 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                           1:02-cv-01616, 3,
1945                          Alice       Buchholz   Kelly            United States   Joseph        Anthony   Kelly                      United States 9/11/01   NY (WTC)     03-cv-9849   at 1290              Parent       3666 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                           155, at P2968,
                                                                                                                                                                                           8393-1, at 87,
1946                          JoAnne      Marie      Kelly            United States   William       Hill      Kelly            Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent       4023 at 15   $   8,500,000.00 $    25,500,000.00
                                                                      United States   Joseph        Gerard    Leavey                                             NY (Other)                8679-1, at 245,
1947                          Kerri                  Kelly                                                                               United States 9/11/01                03-cv-9849   8696                 Step-Child   5951 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                           1:02-cv-01616,
1948                          Meigan      Bennett    Kelly            United States   William       Hill      Kelly            Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3746        Sibling      4023 at 15   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                           155, at P2969,
                                                                                                                                                                                           8393-1, at 87,
1949                          William     Hill       Kelly      Sr.   United States   William       Hill      Kelly            Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent       4023 at 15   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                           26, 29, at 3727,
                                                                                                                                                                                           8397-1, at 14,
1950 Melissa        Ezro      Elizabeth   Anna       Kemmerer         United States   Hildegard     Marie     Marcin                     United States 9/11/01   PA (UA93)    03-cv-9849   8433                 Child        4126 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                           1:02-cv-01616, 3,
                                                                                                                                                                                           at 1822, 5284-1,
1951                          Amanda      Laura      Kennedy          United States   Keith                   McHeffey                   United States 9/11/01   NY (WTC)     03-cv-9849   at 8, 5296           Sibling      4023 at 18   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                           1:02-cv-01616,
1952                          Laura       Jeanne     Kenny            Unknown         Kenneth       Wilburn   White                      United States 9/11/01   NY (WTC)     03-cv-9849   232, at P4020        Sibling      3666 at 13   $   4,250,000.00 $    12,750,000.00



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                                                                                                                          EXHIBIT B-1
                                                                                                       SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                                   1:02-cv-01616,
1953                             Darlene       Marie       Keohane            United States   John          Richard   Keohane                    United States 9/11/01   NY (Other)   03-cv-9849   155, at P2970        Sibling   4023 at 15   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   155, at P2971,
                                                                                                                                                                                                   8393-1, at 39,
1954 Darlene   Marie   Keohane   Donald        Edward      Keohane            United States   John          Richard   Keohane                    United States 9/11/01   NY (Other)   03-cv-9849   8487                 Parent    4023 at 15   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   155, at P2972,
                                                                                                                                                                                                   8393-1, at 39,
1955                             Mary          Ann         Keohane            United States   John          Richard   Keohane                    United States 9/11/01   NY (Other)   03-cv-9849   8487                 Parent    4023 at 15   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616, 3,
1956                             Jill          Mary        Keough             Unknown         Paul          James     Furmato                    United States 9/11/01   NY (WTC)     03-cv-9849   at 1145              Sibling   3666 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616, 3,
                                                                                                                                                                                                   at 1140, 8393-1,
1957                             Stephanie     Leigh       Kernasovic         United States   Paul          James     Furmato                    United States 9/11/01   NY (WTC)     03-cv-9849   at 1022, 8487        Child     5087 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:03-cv-09849,
                                                                                                                                                                                                   839, at 16; 8679-
1958                             Jason         A.          Kershaw            United States   Ralph         Francis   Kershaw                    United States 9/11/01   NY (UA175)   03-cv-9849   1, at 223, 8696      Child     4023 at 15   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:03-cv-09849,
                                                                                                                                                                                                   839, at 17; 8679-
1959                             Kristin       D.          Kershaw            United States   Ralph         Francis   Kershaw                    United States 9/11/01   NY (UA175)   03-cv-9849   1, at 224, 8696      Child     4023 at 15   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:03-cv-09849,
                                                                                                                                                                                                   839, at 18; 8679-
1960                             Matthew       A.          Kershaw            United States   Ralph         Francis   Kershaw                    United States 9/11/01   NY (UA175)   03-cv-9849   1, at 225, 8696      Child     4023 at 15   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   26, 29, at 3541,
                                                                                                                                                                                                   8393-1, at 1168,
1961                             Colleen       Elizabeth   Kerwin             United States   Ronald        T.        Kerwin                     United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5087 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   26, 29, at 3541,
                                                                                                                                                                                                   8393-1, at 73,
1962                             Dianne        P.          Kerwin             United States   Ronald        T.        Kerwin                     United States 9/11/01   NY (Other)   03-cv-9849   8487                 Spouse    5087 at 11   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   26, 29, at 3541,
                                                                                                                                                                                                   8393-1, at 1169,
1963                             Keith         Walter      Kerwin             United States   Ronald        T.        Kerwin                     United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5087 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   26, 29, at 3541,
                                                                                                                                                                                                   8393-1, at 1170,
1964                             Ryan          Thomas      Kerwin             United States   Ronald        T.        Kerwin                     United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5087 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   232, at P3747,
                                                                                                                                                                                                   8393-1, at 29,
1965                             Granvilette   W.          Kestenbaum         United States   Howard        L.        Kestenbaum                 United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5087 at 11   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                   1:18-cv-11582, 1,
                                                                                                                                                                                                   at 11; 8679-1, at
1966                             Richard       Keith       Ketler             United States   Ruth          Ellen     Ketler                     United States 9/11/01   NY (WTC)     03-cv-9849   228, 8696            Sibling   5087 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616, 1,
                                                                                                                                                                                                   at 321, 8393-1, at
1967                             Ameiza                    Khan               Guyana          Sarah                   Khan                       United States 9/11/01   NY (WTC)     03-cv-9849   1190, 8487           Child     5061 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616, 1,
                                                                                                                                                                                                   at 321, 8393-1, at
1968                             Nazam                     Khan               United States   Sarah                   Khan                       United States 9/11/01   NY (WTC)     03-cv-9849   74, 8487             Spouse    5087 at 11   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
1969                             Tahira                    Khan               United States   Taimour                 Khan                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3544      Parent    5061 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
1970                             Miriam        Luz         Khatri             United States   Norberto                Hernandez                  United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3444      Sibling   3666 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   77, at P2639,
                                                                                                                                                                                                   8393-1, at 60,
1971                             Henry         Francis     Kiefer       Jr.   United States   Michael       Vernon    Kiefer                     United States 9/11/01   NY (Other)   03-cv-9849   8487                 Parent    4023 at 15   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
1972                             Patricia      Lynn        Kiefer             United States   Michael       Vernon    Kiefer                     United States 9/11/01   NY (Other)   03-cv-9849   77, at P2640         Parent    4023 at 15   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   26, 29, at 3363,
                                                                                                                                                                                                   8393-1, at 78,
1973                             John          Hyunsool    Kim                United States   Sue           Ju        Hanson                     United States 9/11/01   NY (UA175)   03-cv-9849   8487                 Sibling   5087 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   8679-1, at 191,
1974                             Stanley       Hyun Ki     Kim                United States   Sue           Ju        Hanson                     United States 9/11/01   NY (UA175)   03-cv-9849   8696                 Sibling   7188 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   8679-1, at 476,
1975                             Martha        Marie       King               United States   Michael       A.        Uliano                     United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   515 at 5     $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616,
1976                             Darlene       Therese     Kinney             United States   Brian         Kevin     Kinney                     United States 9/11/01   NY (UA175)   03-cv-9849   155, at P2975        Parent    5087 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616, 3,
                                                                                                                                                                                                   at 1032, 8393-1,
1977                             Susan         Lynne       Kinney             United States   Christopher   Seton     Cramer                     United States 9/11/01   NY (WTC)     03-cv-9849   at 11, 8487          Sibling   3666 at 3    $   4,250,000.00 $    12,750,000.00



                                                                                                                                Page 73 of 165
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                                                                                                                                                      EXHIBIT B-1
                                                                                                                                   SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                                                                 1:02-cv-01616,
1978                                                      Brian       Patrick   Kirby                      United States   Chris        M.        Kirby                        United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3749        Sibling   4023 at 15   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                 1:02-cv-01616,
1979                                                      Donna       Marie     Kirby                      United States   Chris        M.        Kirby                        United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3750        Parent    4023 at 15   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                 1:02-cv-01616,
1980                                                      James       Michael   Kirby                III   United States   Chris        M.        Kirby                        United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3752        Sibling   4023 at 15   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                 232, at P3751,
                                                                                                                                                                                                                                 8393-1, at 10,
                                                                                                                                                                                                                                 8487, 8393-1, at
1981                                                      James       Michael   Kirby                Jr.   United States   Chris        M.        Kirby                        United States 9/11/01   NY (WTC)     03-cv-9849   10, 8487             Parent    5061 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                 1:02-cv-01616,
1982                                                      Jennifer    Marie     Kirby                      United States   Chris        M.        Kirby                        United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3753        Sibling   4023 at 15   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                 1:02-cv-01616,
1983                                                      Lauren                Kirschbaum                 United States   Howard       Barry     Kirschbaum                   United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4367        Child     5848 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                 1:02-cv-01616,
1984                                                      Matthew     Adam      Kirschbaum                 United States   Howard       Barry     Kirschbaum                   United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4366        Child     6034 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                 305, at P4365,
                                                                                                                                                                                                                                 8393-1, at 29,
1985                                                      Rochelle    Sara      Kirschbaum                 United States   Howard       Barry     Kirschbaum                   United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    7188 at 10   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                       VA                        1:02-cv-01616,
1986                                                      Devora      Wolk      Kirschner                  United States   Darin        Howard    Pontell                      United States 9/11/01   (Pentagon)   03-cv-9849   313, at P4703        Spouse    5087 at 16   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                 1:02-cv-01616,
1987                                                      Barbara     Davis     Kirwin                     United States   Glenn        Davis     Kirwin                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3551      Parent    3666 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                 26, 29, at 3550,
                                                                                                                                                                                                                                 8397-1, at 14,
1988 Daniel          T.               Kirwin              Paul        Harris    Kirwin                     United States   Glenn        Davis     Kirwin                       United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    3666 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                 77, at P2642,
                                                                                                                                                                                                                                 8393-1, at 29,
1989                                                      Kevin       F.        Kittle                     United States   Helen        P.        Crossin-Kittle               United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    515 at 4     $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                 1:02-cv-01616, 1,
                                                                                                                                                                                                                                 at 762, 8393-1, at
1990                                                      Jacob       R.        Kleinberg                  United States   Alan         David     Kleinberg                    United States 9/11/01   NY (WTC)     03-cv-9849   11, 8487             Child     4023 at 15   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                 1:02-cv-01616, 1,
                                                                                                                                                                                                                                 at 762, 8393-1, at
1991                                                      Lauren      N.        Kleinberg                  United States   Alan         David     Kleinberg                    United States 9/11/01   NY (WTC)     03-cv-9849   12, 8487             Child     4023 at 15   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                 1:02-cv-01616, 1,
                                                                                                                                                                                                                                 at 762, 8393-1, at
1992                                                      Mindy       S.        Kleinberg                  United States   Alan         David     Kleinberg                    United States 9/11/01   NY (WTC)     03-cv-9849   1, 8487              Spouse    4023 at 15   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                 1:02-cv-01616, 1,
                                                                                                                                                                                                                                 at 762, 8393-1, at
1993                                                      Sam         E.        Kleinberg                  United States   Alan         David     Kleinberg                    United States 9/11/01   NY (WTC)     03-cv-9849   13, 8487             Child     4023 at 15   $   8,500,000.00 $    25,500,000.00
                                      Kleinberg-                                                                                                                                                                                 1:02-cv-01616, 1,
     Marci; Marla;                    Bandelli; Parker;                                                                                                                                                                          at 764, 8397-1, at
1994 Debra           Alyse; H.; Joy   Foxx                Stanley     L.        Kleinberg                  United States   Alan         David     Kleinberg                    United States 9/11/01   NY (WTC)     03-cv-9849   15, 8433             Parent    4126 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                 1:02-cv-01616,
1995                                                      Marci       Alyse     Kleinberg-Bandelli         United States   Alan         David     Kleinberg                    United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3553      Sibling   4023 at 15   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                 1:02-cv-01616, 1,
1996                                                      Deborah     Ann       Klemowitz                  Unknown         Thomas                 Sparacio                     United States 9/11/01   NY (WTC)     03-cv-9849   at 587               Sibling   3666 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                 8679-1, at 196,
1997                                                      Elizabeth   Kaitlin   Klucznik                   United States   James        Edward    Hayden                       United States 9/11/01   NY (UA175)   03-cv-9849   8696                 Child     5061 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                 1:02-cv-01616,
1998                                                      Johanna     L.        Kmetz                      United States   Margaret     R.        Echtermann                   Unknown      9/11/01    NY (WTC)     03-cv-9849   313, at P4637        Sibling   4126 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                 305, at P4531,
                                                                                                                                                                                                                                 8393-1, at 52,
1999                                                      Christina   Louise    Kminek                     United States   Mari-Rae               Sopper                       United States 9/11/01   VA (AA77)    03-cv-9849   8487                 Sibling   4175 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                 1:02-cv-01616,
2000                                                      Marion      Elaine    Kminek                     United States   Mari-Rae               Sopper                       United States 9/11/01   VA (AA77)    03-cv-9849   305, at P4533        Parent    4023 at 23   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                 1:02-cv-01616, 3,
2001                                                      Denis       Mooney    Knox                       United States   Thomas       Patrick   Knox                         United States 9/11/01   NY (WTC)     03-cv-9849   at 1300              Sibling   5062 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                 1:02-cv-01616, 3,
2002                                                      James       John      Knox                       Unknown         Thomas       Patrick   Knox                         United States 9/11/01   NY (WTC)     03-cv-9849   at 1299              Sibling   3666 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                 1:02-cv-01616, 1,
2003                                                      Nancy       Sadie     Knox                       United States   Thomas       Patrick   Knox                         United States 9/11/01   NY (WTC)     03-cv-9849   at 328               Spouse    5848 at 6    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                 1:02-cv-01616, 3,
                                                                                                                                                                                                                                 at 1298, 8397-1,
2004 Kathleen        Ann              Doolan              Patricia    B.        Knox                       United States   Thomas       Patrick   Knox                         United States 9/11/01   NY (WTC)     03-cv-9849   at 15, 8433          Parent    4023 at 15   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                 1:03-cv-9849,
                                                                                                                                                                                                                                 HAND FILED, at
2005                                                      Elizabeth   Ann       Kobel                      United States   Andrew       B.        Jordan                       Unknown      9/11/01    NY (Other)   03-cv-9849   P5103                Sibling   4023 at 14   $   4,250,000.00 $    12,750,000.00




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                                                                                                                                                                                                    1:02-cv-01616, 3,
                                                                                                                                                                                                    at 1307, 8397-1,
2006 Robert   Kobus   Leokadia                 Kobus                       United States   Deborah                   Kobus                        United States 9/11/01   NY (WTC)     03-cv-9849   at 15, 8433          Parent    5138 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616, 3,
2007                  Robert                   Kobus                       United States   Deborah                   Kobus                        United States 9/11/01   NY (WTC)     03-cv-9849   at 1306              Sibling   4023 at 15   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                    1:02-cv-01616,
2008                  Adam        Prentiss     Kohart                      United States   Ryan           Ashley     Kohart                       United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2643         Sibling   4023 at 15   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                    1:02-cv-01616,
2009                  Brett       D.           Kohart                      United States   Ryan           Ashley     Kohart                       United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2644         Sibling   5062 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                    1:02-cv-01616,
2010                  Geoffrey    Adam         Kohart                Jr.   United States   Ryan           Ashley     Kohart                       United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2646         Sibling   4023 at 15   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                    77, at P2645,
                                                                                                                                                                                                    8393-1, at 73,
2011                  Geoffrey    Adam         Kohart                Sr.   United States   Ryan           Ashley     Kohart                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    5062 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
2012                  Joy         A.           Kohart                      United States   Ryan           Ashley     Kohart                       United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2647         Parent    5061 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616, 3,
                                                                                                                                                                                                    at 714, 5284-1, at
2013                  Theresa     Ann          Komlo                       Unknown         Patrick        Aloysius   Hoey                         United States 9/11/01   NY (WTC)     03-cv-9849   5, 5296              Sibling   3666 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                    1:03-cv-09849,
                                                                                                                                                                                                    839, at 19; 8679-
2014                  Elizabeth   Cristina     Kondratenko                 United States   Suzanne                   Kondratenko                  United States 9/11/01   NY (WTC)     03-cv-9849   1, at 234, 8696      Sibling   5356 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                    1:03-cv-9849,
                                                                                                                                                                                                    HAND FILED, at
2015                  Eric                     Kondratenko                 United States   Suzanne                   Kondratenko                  United States 9/11/01   NY (WTC)     03-cv-9849   P5131                Parent    4023 at 15   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:03-cv-9849,
                                                                                                                                                                                                    HAND FILED, at
2016                  Patricia    Anne         Kondratenko                 United States   Suzanne                   Kondratenko                  United States 9/11/01   NY (WTC)     03-cv-9849   P5132                Parent    4023 at 15   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:03-cv-9849,
                                                                                                                                                                                                    HAND FILED, at
2017                  Sarah       M.           Kondratenko                 United States   Suzanne                   Kondratenko                  United States 9/11/01   NY (WTC)     03-cv-9849   P5134                Sibling   4023 at 15   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                    1:03-cv-9849,
                                                                                                                                                                                                    HAND FILED, at
2018                  Patricia    Anne         Kondratenko-Collins         United States   Suzanne                   Kondratenko                  United States 9/11/01   NY (WTC)     03-cv-9849   P5136                Sibling   4023 at 15   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                    1:02-cv-01616,
2019                  Erin        Elizabeth    Konstantinow                United States   Brent          James      Woodall                      Unknown      9/11/01    NY (WTC)     03-cv-9849   305, at P4580        Sibling   3666 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                    1:02-cv-01616,
2020                  Christine   A.           Kopytko                     Unknown         Scott                     Kopytko                      United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3565      Sibling   4023 at 16   $   4,250,000.00 $    12,750,000.00
                                                                                                                     Lafond-                                                                        1:02-cv-01616,
2021                  Anita       Lafond       Korsonsky                   United States   Jeanette                  Menichino                    Unknown      9/11/01    NY (WTC)     03-cv-9849   313, at P4674        Sibling   3382         $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                    1:03md-01570,
                                                                                                                                                                                                    3477, at 1260,
                                                                                                                                                                                                    5284-1, at 5,
                                                                                                                                                                                                    5296; 8679-1, at
2022                  Jessica     Katherine    Kostaris                    Unknown         Bruce          Henry      Gary                         United States 9/11/01   NY (Other)   03-cv-9849   151, 8696            Child     7188 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
2023                  Cathy       Jean         Kostiw                      United States   Charles        William    Garbarini                    United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3238      Sibling   3666 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                    1:02-cv-01616,
2024                  Eleni                    Kousoulis                   United States   Danielle                  Kousoulis                    United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3757        Sibling   4023 at 16   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                    1:03-md-01570,
                                                                                                                                                                                                    3477, at 1924;
                                                                                                                                                                                                    8679-1, at 235,
2025                  George      Panagiotes   Kousoulis                   United States   Danielle                  Kousoulis                    United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Parent    4023 at 16   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
2026                  Peter       G.           Kousoulis                   United States   Danielle                  Kousoulis                    United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3758        Sibling   4126 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                    232, at P3759,
                                                                                                                                                                                                    8393-1, at 15,
2027                  Zoe         Pappas       Kousoulis                   United States   Danielle                  Kousoulis                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    4023 at 16   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616, 1,
2028                  Maria       Lisa         Koutny                      United States   Marie                     Pappalardo                   United States 9/11/01   NY (UA175)   03-cv-9849   at 429               Child     4023 at 20   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    8679-1, at 475,
2029                  Marianne                 Krueger                     United States   Michael        A.         Uliano                       United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 14   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                    305, at P4368,
                                                                                                                                                                                                    8393-1, at 1406,
2030                  William     Lee          Krukowski                   United States   William        Edward     Krukowski                    United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5356 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616, 3,
2031                  Barry                    Ksido                       United States   Lyudmila                  Ksido                        United States 9/11/01   NY (WTC)     03-cv-9849   at 1798              Child     5062 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616, 3,
2032 Robert   Ksido   Felix                    Ksido                       United States   Lyudmila                  Ksido                        United States 9/11/01   NY (WTC)     03-cv-9849   at 1310              Spouse    5061 at 8    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                    1:02-cv-01616, 3,
                                                                                                                                                                                                    at 1310, 8393-1,
2033                  Lawrence    Irving       Ksido                       United States   Lyudmila                  Ksido                        United States 9/11/01   NY (WTC)     03-cv-9849   at 812, 8487         Child     5061 at 8    $   8,500,000.00 $    25,500,000.00




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                                                                                                                                                                                                        1:02-cv-01616, 3,
2034                               Robert                   Ksido              United States   Lyudmila                   Ksido                       United States 9/11/01   NY (WTC)     03-cv-9849   at 1799              Child     5062 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        77, at AP211,
                                                                                                                                                                                                        5284-1, at 11,
                                                                                                                                                                                                        5296, 8393-1, at
2035                               Brittany      Belle      Kugler             United States   Robert         S.          Speisman                    United States 9/11/01   VA (AA77)    03-cv-9849   1140, 8487           Child     5062 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616, 3,
                                                                                                                                                                                                        at 1313, 8393-1,
2036                               Carl          Philip     Kumpel             United States   Kenneth        B.          Kumpel                      United States 9/11/01   NY (Other)   03-cv-9849   at 731, 8487         Child     5061 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616, 3,
                                                                                                                                                                                                        at 1313, 8393-1,
2037                               Gregory       James      Kumpel             United States   Kenneth        B.          Kumpel                      United States 9/11/01   NY (Other)   03-cv-9849   at 732, 8487         Child     5061 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616, 3,
2038                               Nancy         Ada        Kumpel             United States   Kenneth        B.          Kumpel                      United States 9/11/01   NY (Other)   03-cv-9849   at 1313              Spouse    5087 at 12   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                        8679-1, at 355,
2039                               Tara          O'Keefe    Kurella            United States   William        S.          O'Keefe                     United States 9/11/01   NY (Other)   03-cv-9849   8696                 Child     5356 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616, 1,
                                                                                                                                                                                                        at 859, 8393-1, at
2040                               Janice        Lucille    Kurtz              United States   William        Otto        Caspar                      United States 9/11/01   NY (WTC)     03-cv-9849   88, 8487             Sibling   5062 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:03-md-01570,
                                                                                                                                                                                                        602, at P5490,
                                                                                                                                                                                                        8393-1, at 81,
2041                               James                    Kuveikis           United States   Thomas         J.          Kuveikis                    United States 9/11/01   NY (Other)   03-cv-9849   8487                 Sibling   5087 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616, 3,
2042                               Virginia      Margaret   Kwiatkoski         United States   David          Joseph      Grimner                     United States 9/11/01   NY (WTC)     03-cv-9849   at 1188              Sibling   3666 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        26, 29, at 3682,
                                                                                                                                                                                                        8393-1, at 62,
2043                               P.            M.         L.                 United States   Patrick        John        Lyons                       United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5061 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        305, at P4369,
                                                                                                                                                                                                        8393-1, at 45,
2044 Tracy              Johnson    Eric          Thomas     Laborie            United States   Kathryn        L.          Laborie                     United States 9/11/01   NY (UA175)   03-cv-9849   8487                 Spouse    5087 at 12   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
2045                               Lauren        Pietrina   LaCapria           United States   Leonard        J.          Ragaglia                    United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2289      Sibling   4023 at 21   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616,
2046                               Daniel        Edward     Ladley             United States   James          Patrick     Ladley                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2121      Sibling   3666 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616,
2047                               Dolores                  Ladley             United States   James          Patrick     Ladley                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2119      Parent    3666 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
2048 Edward     James   Colligan   Eileen                   Ladley             United States   James          Patrick     Ladley                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2122      Sibling   3666 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616,
2049                               Patrick       John       Ladley             United States   James          Patrick     Ladley                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2120      Sibling   3666 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        155, at P2982,
                                                                                                                                                                                                        8393-1, at 41,
2050 Dominick   R.      LaFalce    Dominick      Vincent    LaFalce      Jr.   United States   Joseph         A.          LaFalce                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Sibling   4126 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        8679-1, at 457,
2051                               Julia         Deborah    LaFlamme           United States   Gina                       Sztejnberg                  United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Child     7188 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:03-md-01570,
2052                               Madelyn       Beatrice   LaFrance           United States   Alan           Charles     LaFrance                    United States 9/11/01   NY (WTC)     03-cv-9849   432, at P5388        Parent    4023 at 16   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        26, 29, at 3582,
                                                                                                                                                                                                        8393-1, at 980,
2053                               Jay           Wei        Lai                United States   Neil           Kwong-Wah   Lai                         United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        26, 29, at 3582,
                                                                                                                                                                                                        8393-1, at 981,
2054                               Jean          Ya         Lai                United States   Neil           Kwong-Wah   Lai                         United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        232, at P3761,
                                                                                                                                                                                                        8393-1, at 25,
2055                               Linda                    Lalama             United States   Franco                     Lalama                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5087 at 12   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                        1:02-cv-01616, 3,
2056                               Patricia      Bridget    Lalley             United States   Thomas         Patrick     Knox                        United States 9/11/01   NY (WTC)     03-cv-9849   at 1302              Sibling   5062 at 5    $   4,250,000.00 $    12,750,000.00

                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        77, at P2739,
2057                               Shirimattie              Lalman             United States   Alfred                     Vukosa                      United States 9/11/01   NY (WTC)     03-cv-9849   8393-1, at 2, 8487   Spouse    5087 at 21   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        232, at P3763,
                                                                                                                                                                                                        8393-1, at 150,
2058                               Alexander     Zhang      Lam                United States   Chow           Kwan        Lam                         United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 12   $   8,500,000.00 $    25,500,000.00




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                                                                                                                                                  EXHIBIT B-1
                                                                                                                               SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT

                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                 232, at P3763,
2059                                               Amy         Zhang     Lam                         United States   Chow           Kwan         Lam                           United States 9/11/01   NY (WTC)     03-cv-9849   8393-1, at 9, 8487   Spouse    5087 at 12   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                 232, at P3763,
                                                                                                                                                                                                                                 8393-1, at 151,
2060                                               Benjamin    Zhang     Lam                         United States   Chow           Kwan         Lam                           United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                 1:02-cv-01616,
2061                                               Chow        Leing     Lam                         United States   Chow           Kwan         Lam                           United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3764        Sibling   5087 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                 1:02-cv-01616,
2062                                               Fong        P.        Lam                         United States   Chow           Kwan         Lam                           United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3762        Sibling   5087 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                 232, at P3696,
                                                                                                                                                 Frederick-                                                                      8393-1, at 50,
2063                                               Henry                 Lambert                     United States   Lillian                     Lambert                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5061 at 6    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                 1:02-cv-01616, 1,
2064                                               Nicole                LaMorte                     United States   Mark           James        Petrocelli                    United States 9/11/01   NY (WTC)     03-cv-9849   at 455               Spouse    5087 at 16   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                 1:02-cv-01616,
2065                                               Antonia     Marie     Landgraf                    United States   Giovanna       G.           Gambale                       United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2595         Sibling   5062 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                 1:02-cv-01616,
2066                                               Jennifer    Lynn      Landstrom                   United States   Barbara        P.           Walsh                         United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2419      Child     4023 at 25   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                 1:02-cv-01616, 3,
2067                                               Janet       Linda     Lane                        United States   Robert         T.           Lane                          United States 9/11/01   NY (Other)   03-cv-9849   at 1317              Parent    5848 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                 1:02-cv-01616, 3,
2068                                               Jason       Mathew    Lane                        United States   Robert         T.           Lane                          United States 9/11/01   NY (Other)   03-cv-9849   at 1318              Sibling   5848 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                 1:02-cv-01616, 3,
2069                                               Richard     Louis     Lane                        United States   Robert         T.           Lane                          United States 9/11/01   NY (Other)   03-cv-9849   at 1316              Parent    5848 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                 1:02-cv-01616, 1,
                                                                                                                                                                                                                                 at 585, 8397-1, at
2070 Anthony           R.   Lanza            Sr.   Doreen      Ann       Lanza                       United States   Thomas                      Sparacio                      United States 9/11/01   NY (WTC)     03-cv-9849   15, 8433             Sibling   5138 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                 26, 29, at 2461,
                                                                                                                                                                                                                                 5284-1, at 7,
                                                                                                                                                                                                                                 5296, 8393-1, at
2071                                               Nicholas    Joshua    Lanza                       United States   Michele        Bernadette   Lanza                         United States 9/11/01   NY (WTC)     03-cv-9849   962, 8487            Child     5087 at 12   $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                 26, 29, at 2461,
2072                                               Robert      Anthony   Lanza                 Jr.   United States   Michele        Bernadette   Lanza                         United States 9/11/01   NY (WTC)     03-cv-9849   5284-1, at 7, 5296   Spouse    5061 at 8    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                 1:02-cv-01616,
2073                                               Jessica     Susan     Larrabee                    United States   Christopher    R.           Larrabee                      United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3765        Sibling   4023 at 16   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                 1:02-cv-01616,
2074                                               Paige       M.        Larrabee                    United States   Christopher    R.           Larrabee                      United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3767        Sibling   4023 at 16   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                 1:02-cv-01616,
2075                                               Scott       Michael   Larrabee                    United States   Christopher    R.           Larrabee                      United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3768        Sibling   4023 at 16   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                 232, at P3769,
                                                                                                                                                                                                                                 8393-1, at 11,
2076                                               Stephen     Randall   Larrabee                    United States   Christopher    R.           Larrabee                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    4023 at 16   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                 1:02-cv-01616,
2077                                               Barbara     Jean      Lasko                       United States   Gary           E.           Lasko                         United States 9/11/01   NY (WTC)     03-cv-9849   313, at P4676        Parent    3666 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                 313, at P4675,
                                                                                                                                                                                                                                 8397-1, at 15,
2078 Doreen; Deborah        Jurczyk; Lasko         Edward      R.        Lasko                       United States   Gary           E.           Lasko                         United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    4146 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                 155, at P2984,
                                                                                                                                                                                                                                 8393-1, at 64,
2079                                               Amy         Melissa   Laszczynski                 United States   Paul                        Laszczynski                   United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5087 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                 1:18-cv-11582, 1,
                                                                                                                                                                                                                                 at 7; 8679-1, at
2080                                               Barbara     Ann       Laurencin                   United States   Charles        Augustus     Laurencin                     United States 9/11/01   NY (WTC)     03-cv-9849   240, 8696            Spouse    5087 at 12   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                 1:03-md-01570,
2081                                               Jercienne             Laurencin                   United States   Charles        Augustus     Laurencin                     United States 9/11/01   NY (WTC)     03-cv-9849   432, at P5390        Child     4023 at 16   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                 1:03-md-01570,
2082                                               Birther     Marie     Laurencin-Bannister         United States   Charles        Augustus     Laurencin                     United States 9/11/01   NY (WTC)     03-cv-9849   432, at P5389        Child     4023 at 16   $   8,500,000.00 $    25,500,000.00

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                                                                                                                                                                                                                                 305, at AP258,
2083                                               Susan       Julia     Lauria                      United States   Martin                      Lizzul                        United States 9/11/01   NY (WTC)     03-cv-9849   5284-1, at 7, 5296   Sibling   3666 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                 8679-1, at 184,
2084                                               Debra       Ann       Lauro                       United States   Joseph                      Grzelak                       United States 9/11/01   NY (Other)   03-cv-9849   8696                 Child     5087 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                 1:02-cv-01616,
2085                                               Bernice     Maria     LaVache                     United States   Maria                       LaVache                       United States 9/11/01   NY (WTC)     03-cv-9849   155, at P2987        Child     4023 at 16   $   8,500,000.00 $    25,500,000.00




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                                                                                                                                       EXHIBIT B-1
                                                                                                                    SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                155, at P2988,
                                                                                                                                                                                                                8397-1, at 15,
2086 Mary Jane             LaVache      Joseph      L.          LaVache                    Unknown         Maria                   LaVache                    United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Spouse    5138 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                155, at P2989,
                                                                                                                                                                                                                8393-1, at 52,
2087                                    Mary Jane               LaVache                    United States   Maria                   LaVache                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     4023 at 16   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                432, at P4878,
                                                                                                                                                                                                                8397-1, at 15,
2088 Patricia              Caloia       Emily                   Lavelle                    Unknown         Denis                   Lavelle                    United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    3382         $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                1:02-cv-01616, 3,
2089 Thomas      A.        LaVerde      Dolores     Mary        LaVerde                    United States   Jeannine                LaVerde                    United States 9/11/01   NY (WTC)     03-cv-9849   at 1324              Parent    4023 at 16   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                1:02-cv-01616,
2090                                    Thomas      A.          LaVerde                    United States   Jeannine                LaVerde                    United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2127      Sibling   4023 at 16   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                305, at P4378,
                           Laverty-                                                                                                                                                                             8397-1, at 15,
2091 Deena                 Castineira   Kevin       P.          Laverty                    United States   Anna          A.        Laverty                    United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Spouse    5848 at 6    $   12,500,000.00 $   37,500,000.00

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                                                                                                                                                                                                                305, at P4377,
2092                                    Deena                   Laverty-Castineira         United States   Anna          A.        Laverty                    United States 9/11/01   NY (WTC)     03-cv-9849   8393-1, at 3, 8487   Child     5356 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                1:02-cv-01616, 3,
                                                                                                                                                                                                                at 1329, 8397-1,
2093 Suzanne     Burns     Lawrence     Eileen                  Lawrence                   United States   Robert        A.        Lawrence         Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   at 15, 8433          Parent    5087 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                1:02-cv-01616, 3,
                                                                                                                                                                                                                at 1328, 8397-1,
2094 Suzanne     Burns     Lawrence     Robert      A.          Lawrence             Sr.   United States   Robert        A.        Lawrence         Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   at 15, 8433          Parent    5087 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                1:02-cv-01616, 3,
                                                                                                                                                                                                                at 1327, 8393-1,
2095                                    Robert      Appleton    Lawrence             III   United States   Robert        A.        Lawrence         Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   at 1132, 8487        Child     5087 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                1:02-cv-01616, 3,
2096                                    Suzanne     Burns       Lawrence                   United States   Robert        A.        Lawrence         Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   at 1327              Spouse    5061 at 8    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                1:02-cv-01616, 3,
                                                                                                                                                                                                                at 1327, 8393-1,
2097                                    Toland      Curry       Lawrence                   United States   Robert        A.        Lawrence         Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   at 1133, 8487        Child     5848 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                1:02-cv-01616,
2098                                    Walter      Edwards     Lawrence                   United States   Robert        A.        Lawrence         Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2129      Sibling   5087 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                313, at P4683,
                                                                                                                                                                                      VA                        8393-1, at 266,
2099                                    Jennifer    Lauren      Laychak                    United States   David         William   Laychak                    United States 9/11/01   (Pentagon)   03-cv-9849   8487                 Child     5848 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                313, at P4683,
                                                                                                                                                                                      VA                        8393-1, at 17,
2100                                    Laurie      Miller      Laychak                    United States   David         William   Laychak                    United States 9/11/01   (Pentagon)   03-cv-9849   8487                 Spouse    5848 at 6    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                313, at P4683,
                                                                                                                                                                                      VA                        8393-1, at 267,
2101                                    Zachary     David       Laychak                    United States   David         William   Laychak                    United States 9/11/01   (Pentagon)   03-cv-9849   8487                 Child     5848 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                1:02-cv-01616, 3,
                                                                                                                                                                                                                at 1458, 8397-1,
2102 Sondra      Beverly   Foner        Stella                  Lazzara                    United States   Joel                    Miller                     Unknown      9/11/01    NY (WTC)     03-cv-9849   at 15, 8433          Parent    5061 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                1:02-cv-01616,
2103                                    Mary        Ann         Leach                      United States   James         Patrick   Ladley                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2123      Sibling   3666 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                1:02-cv-01616, 3,
2104                                    Arthur      Charles     Leahy                III   United States   James         P.        Leahy                      Unknown      9/11/01    NY (Other)   03-cv-9849   at 1332              Sibling   4023 at 16   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                1:02-cv-01616,
2105                                    Jeanette    Elizabeth   Leahy                      United States   James         P.        Leahy                      Unknown      9/11/01    NY (Other)   03-cv-9849   26, 29, at 3609      Parent    5062 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                1:03-cv-9849,
                                                                                                                                                                                                                HAND FILED, at
2106                                    Brian       Michael     Leavey                     United States   Joseph        Gerard    Leavey                     United States 9/11/01   NY (Other)   03-cv-9849   P5146                Child     5087 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                1:03-cv-9849,
                                                                                                                                                                                                                HAND FILED, at
                                                                                                                                                                                                                P5145, 8393-1, at
2107                                    Caitlin     Alexandra   Leavey                     United States   Joseph        Gerard    Leavey                     United States 9/11/01   NY (Other)   03-cv-9849   658, 8487            Child     5087 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                1:03-cv-9849,
                                                                                                                                                                                                                HAND FILED, at
                                                                                                                                                                                                                P5145, 8393-1, at
2108                                    Carole      Jeanne      Leavey                     United States   Joseph        Gerard    Leavey                     United States 9/11/01   NY (Other)   03-cv-9849   41, 8487             Spouse    5087 at 12   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                1:02-cv-01616, 3,
2109                                    Ann         I.          Leavy                      United States   Neil          J.        Leavy                      United States 9/11/01   NY (Other)   03-cv-9849   at 1335              Parent    4023 at 16   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                1:02-cv-01616, 3,
2110                                    John        P.          Leavy                      Unknown         Neil          J.        Leavy                      United States 9/11/01   NY (Other)   03-cv-9849   at 1336              Parent    4023 at 16   $   8,500,000.00 $    25,500,000.00



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                                                                                                 SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                                  1:02-cv-01616, 3,
2111                            Mark       Joseph      Leavy           United States   Neil           J.          Leavy                       United States 9/11/01     NY (Other)   03-cv-9849   at 1337              Sibling   4023 at 16   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                  305, at P4375,
                                                                                                                                                                                                  8393-1, at 61,
2112                            Linda      Sue         LeBlanc         United States   Natalie        Janis       Lasden                      United States 9/11/01     NY (AA11)    03-cv-9849   8487                 Sibling   4023 at 16   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                  1:03-cv-9849,
                                                                                                                                                                                                  HAND FILED, at
2113                            Lourdes    Ivette      Lebron          United States   Waleska                    Martinez                    Unknown         9/11/01   PA (UA93)    03-cv-9849   P5165                Sibling   4023 at 17   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                  8679-1, at 58,
2114                            Sheila     Connors     LeDuc           United States   Kevin          P.          Connors                     United States 9/11/01     NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                  1:02-cv-01616,
2115                            Bridie     McDonough   Ledwell         United States   Peter          J.          O'Neill           Jr.       United States 9/11/01     NY (WTC)     03-cv-9849   232, at P4078        Sibling   5061 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                  432, at AP289,
                                                                                                                                                                                                  8393-1, at 231,
2116                            Amanda     Beth        Lee             United States   Daniel         John        Lee                         United States 9/11/01     NY (AA11)    03-cv-9849   8487                 Child     7188 at 10   $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                  26, 29, at 4802,
2117                            Angela     F.          Lee             United States   David          S.          Lee                         United States 9/11/01     NY (WTC)     03-cv-9849   5284-1, at 7, 5296   Spouse    5087 at 12   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                  1:02-cv-01616,
2118                            Hyong      O.          Lee             United States   Linda          C.          Lee                         United States 9/11/01     NY (WTC)     03-cv-9849   26, 29, at 3620      Parent    4023 at 16   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                  305, at P4108,
                                                                                                                                                                                                  8393-1, at 1222,
2119                            Jeanee                 Lee             United States   Siew-Nya                   Ang                         Malaysia        9/11/01   NY (WTC)     03-cv-9849   8487                 Child     3382         $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                  432, at AP289,
                                                                                                                                                                                                  5284-1, at 7,
                                                                                                                                                                                                  5296, 8393-1, at
2120                            Kellie                 Lee             United States   Daniel         John        Lee                         United States 9/11/01     NY (AA11)    03-cv-9849   14, 8487             Spouse    5061 at 8    $   12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                  305, at P4276,
2121                            Mary       Lou         Lee             United States   Chih           Min         Foo                         China           9/11/01   NY (Other)   03-cv-9849   8393-1, at 9, 8487   Spouse    5087 at 9    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                  1:02-cv-01616,
2122                            Myong      H.          Lee             United States   Linda          C.          Lee                         United States 9/11/01     NY (WTC)     03-cv-9849   26, 29, at 3619      Parent    4023 at 16   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                  26, 29, at 4802,
                                                                                                                                                                                                  5284-1, at 7,
                                                                                                                                                                                                  5296, 8393-1, at
2123                            Ryan       David       Lee             United States   David          S.          Lee                         United States 9/11/01     NY (WTC)     03-cv-9849   263, 8487            Child     5087 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                  305, at P4108,
                                                                                                                                                                                                  8393-1, at 1221,
2124                            Winnee                 Lee             United States   Siew-Nya                   Ang                         Malaysia        9/11/01   NY (WTC)     03-cv-9849   8487                 Child     3382         $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                  1:02-cv-01616,
2125                            Daniel     Jay         Lefkowitz       United States   Stephen        Paul        Lefkowitz                   Unknown         9/11/01   NY (WTC)     03-cv-9849   155, at P2990        Sibling   4023 at 16   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                  155, at P2991,
                                                                                                                                                                                                  8397-1, at 15,
2126 Daniel   Jay   Lefkowitz   Lillian                Lefkowitz       United States   Stephen        Paul        Lefkowitz                   Unknown         9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    4126 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                  155, at P2992,
                                                                                                                                                                                                  8397-1, at 15,
2127 Daniel   Jay   Lefkowitz   Rubin                  Lefkowitz       United States   Stephen        Paul        Lefkowitz                   Unknown         9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    4126 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                  1:02-cv-01616, 3,
2128                            Alicia     Armena      LeGuillow       United States   Nestor         A.          Cintron                     United States 9/11/01     NY (WTC)     03-cv-9849   at 990               Parent    7188 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                  1:02-cv-01616,
2129                            Maria      Lourdes     Lehr            United States   George                     Merino                      United States     9/11/01 NY (WTC)     03-CV-9849   232, at P3844        Sibling   3666 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                  305, at P4374,
                                                                                                                                                                                                  8393-1, at 44,
2130                            Carie      Anne        Lemack          United States   Judith         Camilla     Larocque                    United States 9/11/01     NY (AA11)    03-cv-9849   8487                 Child     4023 at 16   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                  305, at P4373,
                                                                                                                                                                                                  8393-1, at 44,
2131                            Danielle   Bette       Lemack          United States   Judith         Camilla     Larocque                    United States 9/11/01     NY (AA11)    03-cv-9849   8487                 Child     4023 at 16   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                  232, at P3771,
                                                                                                                                                                                                  8393-1, at 16,
2132                            Magaly     Jane        Lemagne         United States   David          Prudencio   Lemagne                     United States 9/11/01     NY (Other)   03-cv-9849   8487                 Sibling   4023 at 16   $   4,250,000.00 $    12,750,000.00




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                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          232, at P3772,
                                                                                                                                                                                                          8397-1, at 16,
2133 Ruth      Myriam   Lemagne     Prudencio                Lemagne             CUBA            David         Prudencio   Lemagne                      United States 9/11/01   NY (Other)   03-cv-9849   8433                 Parent    4023 at 16   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
2134                                Ruth         Myriam      Lemagne             United States   David         Prudencio   Lemagne                      United States 9/11/01   NY (Other)   03-cv-9849   232, at P3773        Parent    4023 at 16   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          232, at P3774,
                                                                                                                                                                                                          8397-1, at 16,
2135 David              Lenihan     Ann          K.          Lenihan             United States   Joseph        A.          Lenihan                      United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    5138 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
2136                                John         Joseph      Lenihan             United States   Joseph        A.          Lenihan                      United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3775        Sibling   4023 at 16   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
2137                                James        Louis       Lennon              United States   John          J.          Lennon             Jr.       United States 9/11/01   NY (Other)   03-cv-9849   155, at P2994        Sibling   5062 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          155, at P2995,
                                                                                                                                                                                                          8397-1, at 16,
2138 Lucille            Lennon      John         J.          Lennon        Sr.   United States   John          J.          Lennon             Jr.       United States 9/11/01   NY (Other)   03-cv-9849   8433                 Parent    5138 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
2139                                Lucille                  Lennon              United States   John          J.          Lennon             Jr.       United States 9/11/01   NY (Other)   03-cv-9849   155, at P2996        Parent    4126 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          313, at P4733,
                                                                                                                                                                                                          8393-1, at 39,
2140                                Irene        Ann         Lesiw               United States   John          P.          Skala                        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Sibling   4023 at 23   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
2141                                Ina                      Leventhal           Unknown         Joshua        S.          Vitale                       United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2754         Spouse    5951 at 7    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          155, at P2998,
                                                                                                                                                                                                          8393-1, at 37,
2142                                Jennifer     Ann         Levi                United States   John          Dennis      Levi                         United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     4126 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616, 3,
2143                                Jennifer     Abbe        Levine              United States   Mark                      Schwartz                     United States 9/11/01   NY (Other)   03-cv-9849   at 1632              Child     5087 at 18   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
2144                                Charles      Jay         Lewin               United States   Daniel                    Lewin                        Unknown      9/11/01    NY (AA11)    03-cv-9849   232, at P3782        Parent    3666 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
2145                                Jonathan     Aaron       Lewin               United States   Daniel                    Lewin                        Unknown      9/11/01    NY (AA11)    03-cv-9849   232, at P3783        Sibling   4126 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
2146                                Michael      Noah        Lewin               United States   Daniel                    Lewin                        Unknown      9/11/01    NY (AA11)    03-cv-9849   232, at P3784        Sibling   5087 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
2147                                Peggy        Sue         Lewin               United States   Daniel                    Lewin                        Unknown      9/11/01    NY (AA11)    03-cv-9849   232, at P3785        Parent    3666 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
2148                                Maura        Madden      Lezynski            United States   Richard       B.          Madden                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3695      Spouse    5061 at 9    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          26, 29, at 3695,
                                                                                                                                                                                                          8393-1, at 1082,
2149                                Patricia     Madden      Lezynski            Unknown         Richard       B.          Madden                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5979 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:03-cv-9849,
                                                                                                                                                                                                          HAND FILED, at
                                                                                                                                                                                                          P5148, 8393-1, at
2150                                Dolores      Marie       Libretti            United States   Daniel                    Libretti                     United States 9/11/01   NY (Other)   03-cv-9849   14, 8487             Spouse    5848 at 6    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
2151                                Joseph                   Libretti            Unknown         Daniel                    Libretti                     United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3631      Sibling   4126 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616, 3,
2152                                Anthony      Mark        Licciardi           United States   Ralph         Michael     Licciardi                    United States 9/11/01   NY (WTC)     03-cv-9849   at 1356              Sibling   4023 at 16   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:03-md-01570,
                                                                                                                                                                                                          3477, at 2081;
                                                                                                                                                                                                          8679-1, at 248,
2153                                Jennifer     Dawn        Licciardi           United States   Ralph         Michael     Licciardi                    United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Spouse    5061 at 8    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                          1:03-cv-09849,
                                                                                                                                                                                                          841, at 7; 8679-1,
2154                                Jo-Ann                   Licciardi           United States   Ralph         Michael     Licciardi                    United States 9/11/01   NY (WTC)     03-cv-9849   at 247, 8696         Parent    5104 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:03-md-01570,
                                                                                                                                                                                                          3477, at 2081,
                                                                                                                                                                                                          4311,Exh.A Pg.13;
                                                                                                                                                                                                          8679-1, at 246,
2155                                Michael      Sebastian   Licciardi           United States   Ralph         Michael     Licciardi                    United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Child     5061 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:03-md-01570,
                                                                                                                                                                                                          3477, at 2082;
                                                                                                                                                                                                          8679-1, at 250,
2156                                Ralph        Rocco       Licciardi           United States   Ralph         Michael     Licciardi                    United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Child     5061 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          26, 29, at 3635,
                                                                                                                                                                                                          8397-1, at 16,
2157 Jo-Ann             Licciardi   Sebastiano               Licciardi           United States   Ralph         Michael     Licciardi                    United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    4126 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          8679-1, at 251,
2158                                Margit                   Lichtschein         United States   Edward                    Lichtschein                  United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Parent    7188 at 10   $   8,500,000.00 $    25,500,000.00



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                                                                                                                                                                                                    1:02-cv-01616, 3,
                                                                                                                                                                                                    at 1775, 5284-1,
2159                            Mark         Irving      Lichtschein       United States   Edward                  Lichtschein                  United States 9/11/01     NY (WTC)     03-cv-9849   at 7, 5296           Sibling   4023 at 16   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                    1:02-cv-01616, 1,
                                                                                                                                                                                                    at 151, 8393-1, at
2160                            Grace        Elizabeth   Lieberman         United States   Michael       Jude      D'Esposito                   United States 9/11/01     NY (WTC)     03-cv-9849   58, 8487             Spouse    5061 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                    1:02-cv-01616, 1,
                                                                                                                                                                                                    at 343, 8397-1, at
2161 Mindi     A.    Cohen      Marcia                   Lillianthal       United States   Steven        Barry     Lillianthal                  Unknown         9/11/01   NY (WTC)     03-cv-9849   16, 8433             Parent    5062 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616, 1,
                                                                                                                                                                                                    at 342, 8397-1, at
2162 Mindi     A.    Cohen      Sherman                  Lillianthal       United States   Steven        Barry     Lillianthal                  Unknown         9/11/01   NY (WTC)     03-cv-9849   16, 8433             Parent    5138 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
2163                            Caroline                 Lilore            United States   Craig         Damian    Lilore                       United States 9/11/01     NY (WTC)     03-cv-9849   26, 29, at 3639      Spouse    5087 at 12   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
2164                            Kristen      Michelle    Lima              United States   Martin        N.        DeMeo                        United States 9/11/01     NY (Other)   03-cv-9849   432, at P4826        Child     5087 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                    232, at P3786,
                                                                                                                                                                                                    8393-1, at 1393,
2165                            Karoline     Yu Zheng    Lin               United States   Wei Rong                Lin                          China           9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                    232, at P3786,
                                                                                                                                                                                                    8393-1, at 1394,
2166                            Katherine    Xue Xiao    Lin               United States   Wei Rong                Lin                          China           9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
2167                            Zeng         Lu          Lin               United States   Wei Rong                Lin                          China           9/11/01   NY (WTC)     03-cv-9849   232, at P3788        Parent    5138 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                          VA                        1:02-cv-01616,
2168                            Gail         Sue         Lindner           United States   Dennis        Michael   Johnson                      United States 9/11/01     (Pentagon)   03-cv-9849   305, at P4341        Sibling   4023 at 14   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                    1:02-cv-01616,
2169                            Carol        Ann         Linehan           United States   Thomas        V.        Linehan            Jr.       United States 9/11/01     NY (WTC)     03-cv-9849   26, 29, at 3642      Spouse    5356 at 3    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                    26, 29, at 3642,
                                                                                                                                                                                                    8393-1, at 1318,
2170                            Melissa      Jane        Linehan           United States   Thomas        V.        Linehan            Jr.       United States 9/11/01     NY (WTC)     03-cv-9849   8487                 Child     5848 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                    26, 29, at 3642,
                                                                                                                                                                                                    8393-1, at 1319,
2171                            Thomas       Benjamin    Linehan           United States   Thomas        V.        Linehan            Jr.       United States 9/11/01     NY (WTC)     03-cv-9849   8487                 Child     5848 at 6    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                    155, at P3000,
2172                            Alan         Patrick     Linton            United States   Alan          Patrick   Linton             Jr.       United States 9/11/01     NY (WTC)     03-cv-9849   8393-1, at 1, 8487   Parent    5848 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
2173                            Scott        P.          Linton            United States   Alan          Patrick   Linton             Jr.       United States 9/11/01     NY (WTC)     03-cv-9849   155, at P3001        Sibling   5848 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                    1:02-cv-01616,
2174                            Sharon       L.          Linton            United States   Alan          Patrick   Linton             Jr.       United States 9/11/01     NY (WTC)     03-cv-9849   155, at P3002        Parent    5848 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
2175                            Maria                    Lipari            United States   Anthony                 Luparello                    United States 9/11/01     NY (WTC)     03-cv-9849   232, at P3799        Child     4023 at 17   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                          VA                        1:02-cv-01616, 1,
2176                            Beatriz      Hymel       Lipinski          United States   Robert        Joseph    Hymel                        United States 9/11/01     (Pentagon)   03-cv-9849   at 299               Spouse    5062 at 4    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                    1:02-cv-01616, 3,
                                                                                                                                                                                                    at 1649, 8397-1,
2177 Lucille   Ann   Bleimann   Virginia     M.          Liquori           United States   Marianne                Simone                       United States 9/11/01     NY (WTC)     03-cv-9849   at 16, 8433          Sibling   5061 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                    1:03-cv-9849,
                                                                                                                                                                                                    HAND FILED, at
                                                                                                                                                                                                    P5153, 8393-1, at
2178                            Francesca    Ariana      Liriano           United States   Francisco     Alberto   Liriano                      United States 9/11/01     NY (WTC)     03-cv-9849   390, 8487            Child     5356 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:03-cv-9849,
                                                                                                                                                                                                    HAND FILED, at
                                                                                                                                                                                                    P5153, 8393-1, at
2179                            Seelochini               Liriano           United States   Francisco     Alberto   Liriano                      United States 9/11/01     NY (WTC)     03-cv-9849   25, 8487             Spouse    5356 at 3    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                    305, at P4387,
                                                                                                                                                                                                    8393-1, at 967,
2180                            Allen        H.          Liu               United States   Ming-Hao                Liu                          United States 9/11/01     NY (WTC)     03-cv-9849   8487                 Child     5087 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                    305, at P4387,
                                                                                                                                                                                                    8393-1, at 968,
2181                            Austin       H.          Liu               United States   Ming-Hao                Liu                          United States 9/11/01     NY (WTC)     03-cv-9849   8487                 Child     5087 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                    305, at P4387,
                                                                                                                                                                                                    8393-1, at 60,
2182                            Jiun-Min     H.          Liu               United States   Ming-Hao                Liu                          United States 9/11/01     NY (WTC)     03-cv-9849   8487                 Spouse    5087 at 12   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
2183                            Aleese       Hartmann    Livesey           Unknown         William       Robert    Godshalk                     United States     9/11/01 NY (WTC)     03-cv-9849   26, 29, at 3291      Fiancé    3382 at 3    $   12,500,000.00 $   37,500,000.00




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                                                                                                                            EXHIBIT B-1
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                                                                                                                                                                                                     1:02-cv-01616,
2184                             Dana          Mary          Lizzul             United States   Martin                  Lizzul                     United States 9/11/01   NY (WTC)     03-cv-9849   305, at AP259        Sibling   4126 at 6    $   4,250,000.00 $    12,750,000.00

                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     305, at AP257,
2185                             Julia         Ann           Lizzul             United States   Martin                  Lizzul                     United States 9/11/01   NY (WTC)     03-cv-9849   5284-1, at 7, 5296   Parent    3666 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     305, at P4388,
                                                                                                                                                                                                     8397-1, at 16,
2186 Julia     Ann   Lizzul      Leopold       Victor        Lizzul             United States   Martin                  Lizzul                     United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    5138 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     232, at P3791,
                                                                                                                                                                                                     8393-1, at 23,
                                                                                                                                                                                                     8487, 8397-1, at
2187 Claire          Logler      Robert        Francis       Logler             United States   Elizabeth     C.        Logler                     United States 9/11/01   NY (WTC)     03-cv-9849   16, 8433             Parent    4023 at 16   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     232, at P3792,
                                                                                                                                                                                                     8393-1, at 8,
                                                                                                                                                                                                     8487, 8397-1, at
2188 Michael         LoGuidice   Carmelo                     LoGuidice          United States   Catherine     Lisa      LoGuidice                  United States 9/11/01   NY (WTC)     03-cv-9849   16, 8433             Parent    3382         $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     8679-1, at 173,
2189                             Vaughn        Ann Catuzzi   Lohec              United States   Lauren        C.        Grandcolas                 United States 9/11/01   PA (UA93)    03-cv-9849   8696                 Sibling   7188 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     1:02-cv-01616,
2190                             Sheila        Annette       Lollis             United States   Beverly       L.        Curry                      United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2653         Sibling   3666 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                           VA                        1:02-cv-01616, 3,
2191                             Cynthia       Sue           Long               United States   Stephen       V.        Long                       United States 9/11/01   (Pentagon)   03-cv-9849   at 1364              Sibling   5087 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                           VA                        1:02-cv-01616, 3,
2192                             George        Thomas        Long               United States   Stephen       V.        Long                       United States 9/11/01   (Pentagon)   03-cv-9849   at 1360              Parent    4126 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                           VA                        1:02-cv-01616, 3,
2193                             George        W.            Long               United States   Stephen       V.        Long                       United States 9/11/01   (Pentagon)   03-cv-9849   at 1363              Sibling   4126 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     232, at P3794,
                                                                                                                                                                                                     8393-1, at 770,
2194                             Bryan         C.            Longing            United States   Laura         M.        Longing                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5061 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     232, at P3794,
                                                                                                                                                                                                     8393-1, at 48,
2195                             Christopher                 Longing            United States   Laura         M.        Longing                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5061 at 9    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     232, at P3794,
                                                                                                                                                                                                     8393-1, at 769,
2196                             William       A.            Longing            United States   Laura         M.        Longing                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5061 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
2197                             Jeanne        Marie         Loonam             United States   Gregory       J.        Trost                      United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2732         Sibling   5087 at 20   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     313, at P4689,
                                                                                                                                                                                                     8393-1, at 233,
2198                             Brittany      Dani          Lopez              United States   Daniel                  Lopez                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     7188 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     8679-1, at 255,
2199                             Daniel        Jeremy        Lopez              United States   Daniel                  Lopez                      United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Child     7188 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     8679-1, at 258,
2200                             Francisco     Miguel        Lopez              United States   Maclovio                Lopez            Jr.       United States 9/11/01   NY (UA175)   03-cv-9849   8696                 Sibling   5848 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     8679-1, at 263,
2201                             John          Martin        Lopez              Unknown         Maclovio                Lopez            Jr.       United States 9/11/01   NY (UA175)   03-cv-9849   8696                 Sibling   7188 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     8679-1, at 256,
2202                             Joseph        Juaquin       Lopez              Unknown         Maclovio                Lopez            Jr.       United States 9/11/01   NY (UA175)   03-cv-9849   8696                 Parent    5848 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616, 1,
2203                             Laura         Marie         Lopez              United States   Richard       P.        Miuccio                    United States 9/11/01   NY (WTC)     03-cv-9849   at 396               Child     4023 at 18   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     8679-1, at 264,
2204                             Martha                      Lopez              United States   Maclovio                Lopez            Jr.       United States 9/11/01   NY (UA175)   03-cv-9849   8696                 Child     5061 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     8679-1, at 262,
2205                             Susie         Levet         Lopez              Unknown         Maclovio                Lopez            Jr.       United States 9/11/01   NY (UA175)   03-cv-9849   8696                 Sibling   5848 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     1:03-cv-9849,
                                                                                                                                                                                                     HAND FILED, at
                                                                                                                                                                                                     P5154, 8393-1, at
2206                             Rhonda        Lyn           Lopez-Manley       United States   Maclovio                Lopez            Jr.       United States 9/11/01   NY (UA175)   03-cv-9849   51, 8487             Spouse    5062 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
2207                             Lisa          Ann           Lopiccolo          United States   Joseph        Michael   Navas                      Unknown      9/11/01    NY (Other)   03-cv-9849   155, at P3046        Sibling   3666 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     1:03-cv-09849,
                                                                                                                                                                                                     838, at 17; 8679-
2208                             Maria         F.            Losito             United States   Andrew        C.        Brunn                      United States 9/11/01   NY (Other)   03-cv-9849   1, at 26, 8696       Parent    5062 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     305, at P4268,
                                                                                                                                                                                                     8393-1, at 69,
2209                             Carole                      Lovero             United States   Robert                  Fazio            Jr.       United States 9/11/01   NY (Other)   03-cv-9849   8487                 Sibling   4126 at 5    $   4,250,000.00 $    12,750,000.00




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                                                                                                                                                                                            1:02-cv-01616, 3,
2210                  James                    Lovero            United States   Joseph                    Lovero                       United States 9/11/01     NY (Other)   03-cv-9849   at 1370              Child     4023 at 17   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            1:02-cv-01616, 1,
2211                  Bobbie        Jean       Low               United States   Sara          Elizabeth   Low                          United States 9/11/01     NY (AA11)    03-cv-9849   at 351               Parent    4023 at 17   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            1:02-cv-01616, 1,
2212                  Gary          Michael    Low               United States   Sara          Elizabeth   Low                          United States 9/11/01     NY (AA11)    03-cv-9849   at 349               Parent    4023 at 17   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            1:02-cv-01616, 1,
2213                  Rebecca       Alyson     Low               United States   Sara          Elizabeth   Low                          United States 9/11/01     NY (AA11)    03-cv-9849   at 350               Sibling   4023 at 17   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                            1:02-cv-01616, 3,
2214                  Lauren        Arias      Lucchini          United States   Adam          P.          Arias                        United States     9/11/01 NY (WTC)     03-CV-9849   at 884               Sibling   3666 at 1    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                            1:02-cv-01616, 1,
                                                                                                                                                                                            at 857, 5284-1, at
2215                  Jill          Ellen      Ludmar            United States   David         William     Bernard                      United States 12/11/01 NY (WTC)        03-cv-9849   1, 5296              Child     4023 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            1:02-cv-01616, 3,
2216                  Christopher   Lee        Ludwig            United States   Lee           Charles     Ludwig                       United States 9/11/01     NY (WTC)     03-cv-9849   at 1378              Child     5848 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            1:02-cv-01616,
2217                  Lawrence      Andrews    Ludwig            Unknown         Lee           Charles     Ludwig                       United States 9/11/01     NY (WTC)     03-cv-9849   26, 29, at 3660      Sibling   3666 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                            1:02-cv-01616,
2218                  Louis         Henry      Ludwig      Jr.   United States   Lee           Charles     Ludwig                       United States 9/11/01     NY (WTC)     03-cv-9849   26, 29, at 3661      Sibling   3666 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                            26, 29, at 3659,
                                                                                                                                                                                            8397-1, at 16,
2219 Luann   Martin   Louis         H.         Ludwig      Sr.   United States   Lee           Charles     Ludwig                       United States 9/11/01     NY (WTC)     03-cv-9849   8433                 Parent    5138 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            1:02-cv-01616, 3,
2220                  Michelle                 Ludwig            United States   Lee           Charles     Ludwig                       United States 9/11/01     NY (WTC)     03-cv-9849   at 1377              Spouse    5087 at 13   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                            1:02-cv-01616,
2221                  John          Claude     Lugano            United States   Sean          Thomas      Lugano                       United States 9/11/01     NY (WTC)     03-cv-9849   155, at P3003        Sibling   4126 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                            8679-1, at 265,
2222                  Kristen       Marie      Lugano            United States   Sean          Thomas      Lugano                       United States 9/11/01     NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                            1:02-cv-01616,
2223                  Michael                  Lugano            United States   Sean          Thomas      Lugano                       United States 9/11/01     NY (WTC)     03-cv-9849   155, at P3004        Sibling   5848 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                            232, at P4067,
                                                                                                                                                                                            8393-1, at 52,
2224                  Marie                    Lukas             United States   Marie                     Lukas                        United States 9/11/01     NY (WTC)     03-cv-9849   8487                 Parent    4023 at 17   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            8679-1, at 219,
2225                  Mary          Denise     Lum               United States   Richard       Michael     Keane                        United States 9/11/01     NY (WTC)     03-cv-9849   8696                 Sibling   5087 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                            1:03-cv-09849,
                                                                                                                                                                                            845, at 1; 8679-1,
2226                  Susan         Mary       Lum               United States   Eamon         James       McEneaney                    United States 9/11/01     NY (WTC)     03-cv-9849   at 294, 8696         Sibling   5062 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                            1:02-cv-01616,
2227                  Demetra       Tarrou     Lumia             United States   Michael       C.          Tarrou                       Unknown         9/11/01   NY (UA175)   03-cv-9849   155, at P3119        Sibling   5062 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                            1:02-cv-01616,
2228                  Luz           Milagros   Luna              United States   Norberto                  Hernandez                    United States 9/11/01     NY (WTC)     03-cv-9849   26, 29, at 3445      Sibling   3666 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                            1:02-cv-01616,
2229                  David         Owen       Lunder            United States   Christopher   Edmund      Lunder                       United States 9/11/01     NY (WTC)     03-cv-9849   26, 29, at 3669      Sibling   3666 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                            1:02-cv-01616,
2230                  Edmund                   Lunder            Unknown         Christopher   Edmund      Lunder                       United States 9/11/01     NY (WTC)     03-cv-9849   26, 29, at 3667      Parent    3666 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                            232, at P3797,
                                                                                                                                                                                            8393-1, at 10,
2231                  Karen         B.         Lunder            Unknown         Christopher   Edmund      Lunder                       United States 9/11/01     NY (WTC)     03-cv-9849   8487                 Spouse    3382         $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                            1:02-cv-01616,
2232                  Maureen       S.         Lunder            Unknown         Christopher   Edmund      Lunder                       United States 9/11/01     NY (WTC)     03-cv-9849   26, 29, at 3668      Parent    3666 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            8679-1, at 266,
2233                  Robert        J.         Lunder            United States   Christopher   Edmund      Lunder                       United States 9/11/01     NY (WTC)     03-cv-9849   8696                 Sibling   5087 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                            1:02-cv-01616,
2234                  Anthony                  Luparello   Jr.   United States   Anthony                   Luparello                    United States 9/11/01     NY (WTC)     03-cv-9849   232, at P3800        Child     4023 at 17   $   8,500,000.00 $    25,500,000.00

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                                                                                                                                                                                            232, at P3801,
2235                  Geraldine                Luparello         United States   Anthony                   Luparello                    United States 9/11/01     NY (WTC)     03-cv-9849   8393-1, at 4, 8487   Spouse    5061 at 9    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                            1:02-cv-01616,
2236                  Edith         Marie      Lutnick           United States   Gary          Frederick   Lutnick            III       United States 9/11/01     NY (WTC)     03-cv-9849   232, at P3802        Sibling   4023 at 17   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                            232, at P3803,
                                                                                                                                                                                            8393-1, at 26,
2237                  Howard        William    Lutnick           United States   Gary          Frederick   Lutnick            III       United States 9/11/01     NY (WTC)     03-cv-9849   8487                 Sibling   4023 at 17   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                            1:02-cv-01616, 1,
2238                  Doreen                   Lutter            Unknown         Joseph        Michael     Doyle                        United States 9/11/01     NY (WTC)     03-cv-9849   at 15                Sibling   4023 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                            1:02-cv-01616, 1,
                                                                                                                                                                                            at 353, 8393-1, at
2239                  Ralph                    Luzzicone         United States   Linda         Anne        Luzzicone                    United States 9/11/01     NY (WTC)     03-cv-9849   50, 8487             Parent    4023 at 17   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            1:02-cv-01616, 1,
2240                  Ralph                    Luzzicone   Jr.   United States   Linda         Anne        Luzzicone                    United States 9/11/01     NY (WTC)     03-cv-9849   at 355               Sibling   4023 at 17   $   4,250,000.00 $    12,750,000.00




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                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                              26, 29, at 2136,
                                                                                                                                                                                              8397-1, at 16,
2241 Valentina             Lygina   Vladimir                Lygin          Georgia         Alexander               Lygin                    United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent       5061 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                              1:02-cv-01616,
2242                                Natalia                 Lygina         Georgia         Alexander               Lygin                    United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2142      Sibling      5138 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                              1:02-cv-01616,
2243                                Valentina               Lygina         Georgia         Alexander               Lygin                    United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2140      Parent       4023 at 17   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                              26, 29, at 2145,
                                                                                                                                                                                              8393-1, at 133,
2244                                Jordan       Anthony    Lyles          United States   CeeCee        Louise    Lyles                    United States 9/11/01   PA (UA93)    03-cv-9849   8487                 Step-Child   8293 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                              26, 29, at 2145,
                                                                                                                                                                                              8393-1, at 134,
2245                                Justin       Andrew     Lyles          United States   CeeCee        Louise    Lyles                    United States 9/11/01   PA (UA93)    03-cv-9849   8487                 Step-Child   8293 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                              1:02-cv-01616,
2246                                Lorne        Von        Lyles          United States   CeeCee        Louise    Lyles                    United States 9/11/01   PA (UA93)    03-cv-9849   26, 29, at 2145      Spouse       5848 at 7    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                    VA                        1:02-cv-01616,
2247                                Ashley       Nicole     Lynch          Unknown         Terence       M.        Lynch                    United States 9/11/01   (Pentagon)   03-cv-9849   232, at P3810        Child        8310 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                              1:02-cv-01616,
2248 Daniel      Francis   Lynch    Catherine    Theresa    Lynch          United States   Michael       Francis   Lynch                    United States 9/11/01   NY (Other)   03-cv-9849   155, at P3012        Parent       3666 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                              1:02-cv-01616,
2249 Daniel      John      Lynch    Daniel       Francis    Lynch          United States   Michael       Francis   Lynch                    United States 9/11/01   NY (Other)   03-cv-9849   155, at P3013        Parent       3666 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                              1:02-cv-01616,
2250                                Daniel       John       Lynch          Unknown         Michael       Francis   Lynch                    United States 9/11/01   NY (Other)   03-cv-9849   432, at P4886        Sibling      3666 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                              1:02-cv-01616,
2251                                David        W.         Lynch          United States   James         Francis   Lynch                    United States 9/11/01   NY (Other)   03-cv-9849   155, at P3008        Sibling      4023 at 17   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                              305, at P4392,
                                                                                                                                                                                              8393-1, at 56,
2252                                Denise                  Lynch          United States   Michael       Francis   Lynch                    United States 9/11/01   NY (Other)   03-cv-9849   8487                 Spouse       5356 at 4    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                              1:02-cv-01616,
2253                                Elisabeth               Lynch          United States   Robert        H.        Lynch          Jr.       United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2472      Spouse       5138 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                              1:02-cv-01616, 3,
2254                                Frederick    Joseph     Lynch          United States   Michael       Francis   Lynch                    United States 9/11/01   NY (Other)   03-cv-9849   at 1386              Sibling      5979 at 3    $   4,250,000.00 $    12,750,000.00

                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                              26, 29, at 2472,
2255                                James        Richard    Lynch          Unknown         Robert        H.        Lynch          Jr.       United States 9/11/01   NY (Other)   03-cv-9849   8466-1, at 2, 8487   Child        7188 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                              1:02-cv-01616, 3,
2256                                John         Brendan    Lynch    Sr.   United States   Michael       Francis   Lynch                    United States 9/11/01   NY (Other)   03-cv-9849   at 1384              Parent       4023 at 17   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                              1:02-cv-01616,
2257                                John         J.         Lynch          United States   Sean          Patrick   Lynch                    United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3805        Parent       4023 at 17   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                              1:02-cv-01616,
2258                                John         Brendan    Lynch    Jr.   United States   Michael       Francis   Lynch                    United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3672      Sibling      4023 at 17   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                              305, at P4392,
                                                                                                                                                                                              8393-1, at 909,
2259                                John         Ryan       Lynch          United States   Michael       Francis   Lynch                    United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child        5356 at 3    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                              26, 29, at 2472,
2260                                Jonathan     Robert     Lynch          Unknown         Robert        H.        Lynch          Jr.       United States 9/11/01   NY (Other)   03-cv-9849   8466-1, at 3, 8487   Child        7188 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                              1:02-cv-01616, 3,
2261                                Kathleen     Ann        Lynch          United States   Michael       Francis   Lynch                    United States 9/11/01   NY (Other)   03-cv-9849   at 1387              Sibling      4023 at 17   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                              1:02-cv-01616, 3,
2262                                Kathleen     Veronica   Lynch          United States   Michael       Francis   Lynch                    United States 9/11/01   NY (Other)   03-cv-9849   at 1385              Parent       5087 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                              8679-1, at 269,
2263                                Kevin        Thomas     Lynch          United States   Michael       Francis   Lynch                    United States 9/11/01   NY (Other)   03-cv-9849   8696                 Sibling      5087 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                              1:02-cv-01616,
2264                                Margaret     A.         Lynch          United States   Sean          Patrick   Lynch                    United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3806        Parent       4023 at 17   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                              26, 29, at 2150,
                                                                                                                                                                                              8397-1, at 16,
2265 Barbara     Jean      Cotter   Marguerite              Lynch          Unknown         Robert        H.        Lynch          Jr.       United States 9/11/01   NY (Other)   03-cv-9849   8433                 Parent       5061 at 9    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                              26, 29, at 2472,
2266                                Mark         Ryan       Lynch          Unknown         Robert        H.        Lynch          Jr.       United States 9/11/01   NY (Other)   03-cv-9849   8466-1, at 2, 8487   Child        7188 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                              232, at P3807,
                                                                                                                                                                                              8393-1, at 75,
2267                                Michael      John       Lynch          United States   Sean          Patrick   Lynch                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Sibling      4023 at 17   $   4,250,000.00 $    12,750,000.00




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                                                                                                                                           EXHIBIT B-1
                                                                                                                        SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                     305, at P4392,
                                                                                                                                                                                                                     8393-1, at 910,
2268                                         Michael     F.            Lynch            Jr.   United States   Michael        Francis   Lynch                       United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5356 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                     1:03-cv-09849,
                                                                                                                                                                                                                     843, at 6; 8679-1,
2269                                         Patrick     Gerard        Lynch                  United States   Michael        Francis   Lynch                       United States 9/11/01   NY (Other)   03-cv-9849   at 268, 8696         Sibling   5062 at 5    $   4,250,000.00 $    12,750,000.00

                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                     26, 29, at 2472,
2270                                         Patrick     Robert        Lynch                  Unknown         Robert         H.        Lynch             Jr.       United States 9/11/01   NY (Other)   03-cv-9849   8466-1, at 2, 8487   Child     7188 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                     26, 29, at 2147,
                                                                                                                                                                                                                     8397-1, at 17,
2271 Joan     Marie   Paradis                Paul        T.            Lynch                  United States   Michael        Francis   Lynch                       United States 9/11/01   NY (Other)   03-cv-9849   8433                 Sibling   5087 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                     1:02-cv-01616,
2272                                         Peter       John          Lynch                  United States   James          Francis   Lynch                       United States 9/11/01   NY (Other)   03-cv-9849   155, at P3009        Sibling   4023 at 17   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                     8679-1, at 267,
2273                                         Thomas      Christopher   Lynch                  United States   Michael        Francis   Lynch                       United States 9/11/01   NY (Other)   03-cv-9849   8696                 Sibling   5061 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                           VA                        1:02-cv-01616,
2274                                         Tiffany     Marie         Lynch                  United States   Terence        M.        Lynch                       United States 9/11/01   (Pentagon)   03-cv-9849   232, at P3812        Child     8310 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                     1:02-cv-01616,
2275                                         Mary        Kathleen      Lynn                   Unknown         Robert         John      Halligan                    United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2023      Sibling   3666 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                     1:02-cv-01616,
2276                                         Brian       Charles       Lyons                  United States   Patrick        John      Lyons                       United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3686      Sibling   3666 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                     1:02-cv-01616,
2277                                         Brian       Patrick       Lyons                  United States   Patrick        John      Lyons                       United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3683      Parent    5062 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                     1:02-cv-01616,
2278                                         Kelly       Jean          Lyons                  Unknown         Patrick        John      Lyons                       United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3687      Sibling   3666 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                     1:02-cv-01616,
2279                                         Kristen     Elizabeth     Lyons                  Unknown         Patrick        John      Lyons                       United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3688      Sibling   3666 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                     26, 29, at 3684,
                                                                                                                                                                                                                     8397-1, at 17,
2280 Irene    Sofia   Lyons-Loeffler         Patricia    Ellen         Lyons                  United States   Patrick        John      Lyons                       United States 9/11/01   NY (Other)   03-cv-9849   8433                 Parent    5062 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                     1:02-cv-01616,
2281                                         Sean        Patrick       Lyons            Sr.   Unknown         Patrick        John      Lyons                       United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3685      Sibling   5087 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                     1:02-cv-01616,
2282                                         Irene       Sofia         Lyons-Loeffler         United States   Patrick        John      Lyons                       United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3682      Spouse    5061 at 9    $   12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                     26, 29, at 4786,
2283                                         S.          R.            M.                     United States   Martin         Edward    McWilliams                  United States 9/11/01   NY (Other)   03-cv-9849   5284-1, at 8, 5296   Child     5061 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                     1:02-cv-01616, 1,
                                                                                                                                                                                                                     at 354, 8397-1, at
2284 Donald           MacEwen          Jr.   Debra                     MacEwen                United States   Linda          Anne      Luzzicone                   United States 9/11/01   NY (WTC)     03-cv-9849   17, 8433             Sibling   5138 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                     1:02-cv-01616,
2285                                         Kazimierz                 Maciejewski            Unknown         Jan                      Maciejewski                 United States 9/11/01   NY (WTC)     03-cv-9849   155, at P3017        Parent    3666 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                     1:02-cv-01616,
2286                                         Pawel                     Maciejewski            Unknown         Jan                      Maciejewski                 United States 9/11/01   NY (WTC)     03-cv-9849   155, at P3018        Sibling   3666 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                     155, at P3019,
                                                                                                                                                                                                                     8393-1, at 79,
2287                                         Douglas     Allen         Mackay                 United States   Susan          A.        Mackay                      United States 9/11/01   NY (AA11)    03-cv-9849   8487                 Spouse    5061 at 9    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                     155, at P3019,
                                                                                                                                                                                                                     8393-1, at 1275,
2288                                         Lauren                    Mackay                 United States   Susan          A.        Mackay                      United States 9/11/01   NY (AA11)    03-cv-9849   8487                 Child     5979 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                     155, at P3019,
                                                                                                                                                                                                                     8393-1, at 1276,
2289                                         Matthew                   Mackay                 United States   Susan          A.        Mackay                      United States 9/11/01   NY (AA11)    03-cv-9849   8487                 Child     5979 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                     1:02-cv-01616,
2290                                         Joshua      Powers        Madden                 Unknown         Richard        B.        Madden                      United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4395        Sibling   3666 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                     8679-1, at 271,
2291                                         Mark        Loomis        Madden                 United States   Richard        B.        Madden                      United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   5087 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                     1:02-cv-01616,
2292                                         Mary                      Madden                 United States   James          Michael   Gray                        United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2654         Parent    3666 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                     1:02-cv-01616,
2293                                         Michelle    Marie         Madden                 United States   Richard        B.        Madden                      United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4393        Parent    3666 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                     1:02-cv-01616,
2294                                         Robert      Twining       Madden           Jr.   United States   Richard        B.        Madden                      United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4394        Sibling   3666 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                     8679-1, at 272,
2295                                         Robert      Twining       Madden           Sr.   United States   Richard        B.        Madden                      United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Parent    5087 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                   United                                            1:02-cv-01616,
2296                                         Maureen     Marguerite    Maddison               United States   Simon                    Maddison                    Kingdom       9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2155      Spouse    5848 at 7    $   12,500,000.00 $   37,500,000.00



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                                                                                                                              EXHIBIT B-1
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                                                                                                                                                                                                        1:02-cv-01616,
2297                            Violet                    Maddix                  United States   Sharon                  Moore                       United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4900        Sibling   4023 at 19   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616,
2298                            Regina        T.          Madigan                 United States   Kevin         Owen      Reilly                      Unknown      9/11/01    NY (Other)   03-cv-9849   26, 29, at 2301      Sibling   3666 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        432, at P4887,
                                                                                                                                                                                                        8393-1, at 61,
2299                            Jennifer      Lyn         Maerz                   United States   Noell         Charles   Maerz                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5848 at 7    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        432, at P4887,
                                                                                                                                                                                                        8393-1, at 991,
2300                            Noelle        Brianna     Maerz                   United States   Noell         Charles   Maerz                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5848 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616, 3,
                                                                                                                                                                                                        at 1392, 8393-1,
2301                            Christopher   Joseph      Maffeo                  United States   Joseph                  Maffeo                      United States 9/11/01   NY (Other)   03-cv-9849   at 666, 8487         Child     5087 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616, 3,
2302                            Donna                     Maffeo                  United States   Joseph                  Maffeo                      United States 9/11/01   NY (Other)   03-cv-9849   at 1398              Sibling   3666 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616, 3,
                                                                                                                                                                                                        at 1394, 8397-1,
2303 Donna             Maffeo   Jean          Mary        Maffeo                  Unknown         Joseph                  Maffeo                      United States 9/11/01   NY (Other)   03-cv-9849   at 17, 8433          Parent    5062 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616, 1,
                                                                                                                                                                                                        at 358, 8397-1, at
2304 Donna             Maffeo   Louis                     Maffeo                  Unknown         Joseph                  Maffeo                      United States 9/11/01   NY (Other)   03-cv-9849   17, 8433             Parent    5062 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616, 3,
2305                            Linda         Louise      Maffeo-Melloy           United States   Joseph                  Maffeo                      United States 9/11/01   NY (Other)   03-cv-9849   at 1392              Spouse    5087 at 13   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                        1:02-cv-01616, 3,
2306                            Cheri         Lynn        Magnus-Sparacio         Unknown         Thomas                  Sparacio                    United States 9/11/01   NY (WTC)     03-cv-9849   at 1666              Spouse    5087 at 18   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        305, at P4396,
                                                                                                                                                                                                        8393-1, at 80,
2307                            Beth          A.          Mahon                   Unknown         Thomas        A.        Mahon                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5138 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                        8679-1, at 274,
2308                            Lisa                      Mahon                   United States   Joseph                  Mangano                     United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Child     5087 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        305, at P4396,
                                                                                                                                                                                                        8393-1, at 1296,
2309                            Shay          Elizabeth   Mahon                   United States   Thomas        A.        Mahon                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5138 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        26, 29, at 3705,
                                                                                                                                                                                                        8393-1, at 88,
2310                            Donna         Celeste     Mahoney                 United States   William       James     Mahoney           Jr.       United States 9/11/01   NY (Other)   03-cv-9849   8487                 Spouse    5138 at 6    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                        8679-1, at 380,
2311                            Diane         Frances     Majtan                  United States   Christopher             Quackenbush                 United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-CV-01616,
2312                            Natalie                   Malacaria               United States   Tatyana                 Bakalinskaya                United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2599      Child     5356 at 1    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
2313                            Stephanie     Tam         Maldonado               United States   Maurita                 Tam                         United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4525      Sibling   5062 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616, 3,
                                                                                                                                                                                                        at 1829, 8393-1,
2314                            Alfred        Royce       Maler                   United States   Alfred        R.        Maler                       United States 9/11/01   NY (WTC)     03-cv-9849   at 24, 8487          Child     5356 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        26, 29, at 3708,
                                                                                                                                                                                                        8397-1, at 17,
2315 Keith   Elliott   Maler    Beverly       M.          Maler                   United States   Alfred        R.        Maler                       United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    4023 at 17   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
2316                            Beverly       Virginia    Maler                   United States   Alfred        R.        Maler                       United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2655         Sibling   4126 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616,
2317                            Edward        Dwain       Maler                   Unknown         Alfred        R.        Maler                       United States 9/11/01   NY (WTC)     03-cv-9849   155, at P3020        Sibling   3666 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616,
2318                            Keith         Elliott     Maler                   United States   Alfred        R.        Maler                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3709      Sibling   4023 at 17   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616, 3,
                                                                                                                                                                                                        at 1829, 5284-1,
2319                            Laura         A.          Maler                   United States   Alfred        R.        Maler                       United States 9/11/01   NY (WTC)     03-cv-9849   at 7, 5296           Spouse    5356 at 4    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        26, 29, at 3707,
                                                                                                                                                                                                        8397-1, at 17,
2320 Keith   Elliott   Maler    Michael       A.          Maler             Sr.   United States   Alfred        R.        Maler                       United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    5087 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        8679-1, at 273,
2321                            Michael       Alfred      Maler             Jr.   United States   Alfred        R.        Maler                       United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   5087 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616, 3,
                                                                                                                                                                                                        at 1829, 5284-1,
                                                                                                                                                                                                        at 7, 5296, 8393-
2322                            Teegan                    Maler                   United States   Alfred        R.        Maler                       United States 9/11/01   NY (WTC)     03-cv-9849   1, at 25, 8487       Child     5356 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
2323                            Mary          Ellen       Malone                  United States   Thomas        Gerard    O'Hagan                     United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4062      Sibling   4023 at 19   $   4,250,000.00 $    12,750,000.00




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                                                                                                     SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                                    1:02-cv-01616, 3,
                                                                                                                                                                                                    at 1826, 5284-1,
2324                                Jane        Bernholz   Maltby           United States   Christian     H.          Maltby                      United States 9/11/01   NY (WTC)     03-cv-9849   at 7, 5296           Spouse    5087 at 13   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                    1:02-cv-01616, 3,
                                                                                                                                                                                                    at 1826, 8393-1,
2325                                Max         Walker     Maltby           United States   Christian     H.          Maltby                      United States 9/11/01   NY (WTC)     03-cv-9849   at 154, 8487         Child     5848 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616, 3,
                                                                                                                                                                                                    at 1826, 8393-1,
2326                                Morgan      Durham     Maltby           United States   Christian     H.          Maltby                      United States 9/11/01   NY (WTC)     03-cv-9849   at 153, 8487         Child     5061 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616, 3,
                                                                                                                                                                                                    at 1826, 5284-1,
                                                                                                                                                                                                    at 7, 5296, 8393-
2327                                Samuel      Kesner     Maltby           United States   Christian     H.          Maltby                      United States 9/11/01   NY (WTC)     03-cv-9849   1, at 155, 8487      Child     5061 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
2328                                Barbara     Anne       Maneja           United States   Craig         William     Staub                       United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4546        Sibling   4023 at 24   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                    1:02-cv-01616, 3,
2329                                Linda                  Manfredi         United States   Joseph                    Maffeo                      United States 9/11/01   NY (Other)   03-cv-9849   at 1396              Sibling   4023 at 17   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                    1:02-cv-01616,
2330                                Kathleen               Mangano          United States   Joseph                    Mangano                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3720      Spouse    5087 at 13   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                    8679-1, at 276,
2331                                Michael                Mangano          United States   Joseph                    Mangano                     United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Child     5087 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    8679-1, at 277,
2332                                Philip                 Mangano          United States   Joseph                    Mangano                     United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   5848 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                    8679-1, at 278,
2333                                Laura       Louise     Manley           United States   Sara          Elizabeth   Manley                      United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                    8679-1, at 426,
2334                                Jordana     Sandler    Manzano          United States   Herman        Samuel      Sandler                     United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Child     7188 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
2335                                Geralyn                Marasco          Unknown         James         G.          Geyer                       United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2656         Sibling   3666 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                    1:03-md-01570,
                                                                                                                                                                                                    432, at P5372,
                                                                                                                                                                                                    8393-1, at 85,
2336                                May                    Marconet         United States   Waleed                    Iskandar                    United States 9/11/01   NY (AA11)    03-cv-9849   8487                 Sibling   4023 at 14   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                    1:02-cv-01616, 1,
2337                                Alexander   Paul       Mardikian        Unknown         Peter         Edward      Mardikian                   United Staes    9/11/01 NY (WTC)     03-CV-9849   at 361               Parent    3666 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616, 1,
2338                                Shakeh                 Mardikian        Unknown         Peter         Edward      Mardikian                   United States   9/11/01 NY (WTC)     03-CV-9849   at 360               Parent    3666 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616, 1,
2339                                Amelia      Janine     Margiotta        Unknown         Charles       Joseph      Margiotta                   United States 9/11/01   NY (Other)   03-cv-9849   at 364               Parent    3666 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616, 1,
                                                                                                                                                                                                    at 363, 8393-1, at
2340                                Charles     Vito       Margiotta   II   Unknown         Charles       Joseph      Margiotta                   United States 9/11/01   NY (Other)   03-cv-9849   139, 8487            Child     5061 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616, 1,
                                                                                                                                                                                                    at 365, 8397-1, at
2341 Michael            Margiotta   Charles     V.         Margiotta        Unknown         Charles       Joseph      Margiotta                   United States 9/11/01   NY (Other)   03-cv-9849   17, 8433             Parent    5138 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616, 1,
2342                                Michael                Margiotta        Unknown         Charles       Joseph      Margiotta                   United States 9/11/01   NY (Other)   03-cv-9849   at 366               Sibling   3666 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                    1:02-cv-01616, 1,
                                                                                                                                                                                                    at 363, 8393-1, at
2343                                Norma       I.         Margiotta        Unknown         Charles       Joseph      Margiotta                   United States 9/11/01   NY (Other)   03-cv-9849   9, 8487              Spouse    5061 at 9    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                    1:03-cv-9849,
                                                                                                                                                                                                    HAND FILED, at
2344                                Katherine   J.         Marien           United States   Suzanne                   Kondratenko                 United States 9/11/01   NY (WTC)     03-cv-9849   P5133                Sibling   4023 at 15   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                    305, at P4400,
                                                                                                                                                                                                    8397-1, at 17,
2345 James     Martin   Marino      Antonina    Joan       Marino           Unknown         Vita                      Marino                      United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    3666 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
2346                                James       Martin     Marino           Unknown         Vita                      Marino                      United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4402        Sibling   3666 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                    26, 29, at 3733,
                                                                                                                                                                                                    8393-1, at 46,
2347                                Katrina     Margit     Marino           United States   Kenneth       Joseph      Marino                      United States 9/11/01   NY (Other)   03-cv-9849   8487                 Spouse    5087 at 13   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                    26, 29, at 3733,
                                                                                                                                                                                                    8393-1, at 735,
2348                                Kristin     Marie      Marino           United States   Kenneth       Joseph      Marino                      United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5087 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
2349                                Martin      Anthony    Marino           United States   Vita                      Marino                      United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4401        Sibling   3666 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                    1:02-cv-01616,
2350                                Mary Ann               Marino           Unknown         Kenneth       Joseph      Marino                      United States 9/11/01   NY (Other)   03-cv-9849   77, at P2659         Parent    3666 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                    1:02-cv-01616,
2351                                Michael     Patrick    Marino           United States   Vita                      Marino                      United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4403        Sibling   3666 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                    1:02-cv-01616,
2352                                Patrick     Anthony    Marino           Unknown         Kenneth       Joseph      Marino                      United States 9/11/01   NY (Other)   03-cv-9849   77, at P2660         Parent    3666 at 8    $   8,500,000.00 $    25,500,000.00




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                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      26, 29, at 3733,
                                                                                                                                                                                                      8393-1, at 734,
2353                              Tyler         Kenneth   Marino                United States   Kenneth      Joseph     Marino                      United States 9/11/01   NY (Other)   03-cv-9849   8487                Child     5087 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
2354                              Dennis        S.        Marlo                 United States   Kevin        D.         Marlo                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3738     Parent    4126 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      8679-1, at 279,
2355                              Christine     Marie     Marlo-Triemstra       United States   Kevin        D.         Marlo                       United States 9/11/01   NY (WTC)     03-cv-9849   8696                Sibling   5087 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616, 3,
2356                              Catherine     Ann       Marotte               United States   Clement                 Fumando                     United States 9/11/01   NY (WTC)     03-cv-9849   at 1137             Sibling   5087 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616, 3,
                                                                                                                                                                                                      at 1413, 8393-1,
2357                              Jenna                   Marrero               United States   Jose                    Marrero                     United States 9/11/01   NY (WTC)     03-cv-9849   at 645, 8487        Child     5138 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 3,
2358                              Jodi          A.        Marrero               United States   Jose                    Marrero                     United States 9/11/01   NY (WTC)     03-cv-9849   at 1413             Spouse    5138 at 6    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 3,
                                                                                                                                                                                                      at 1413, 8393-1,
2359                              Jonathan                Marrero               United States   Jose                    Marrero                     United States 9/11/01   NY (WTC)     03-cv-9849   at 646, 8487        Child     5138 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 3,
                                                                                                                                                                                                      at 1413, 8393-1,
2360                              Jordan                  Marrero               United States   Jose                    Marrero                     United States 9/11/01   NY (WTC)     03-cv-9849   at 647, 8487        Child     5138 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      232, at P3819,
                                                                                                                                                                            VA                        8393-1, at 1217,
2361                              Chandler      Hope      Marshall              United States   Shelley      A.         Marshall                    United States 9/11/01   (Pentagon)   03-cv-9849   8487                Child     5356 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      232, at P3819,
                                                                                                                                                                            VA                        8393-1, at 75,
2362                              Donn          E.        Marshall              United States   Shelley      A.         Marshall                    United States 9/11/01   (Pentagon)   03-cv-9849   8487                Spouse    5356 at 4    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      232, at P3819,
                                                                                                                                                                            VA                        8393-1, at 1218,
2363                              Drake         Donovan   Marshall              United States   Shelley      A.         Marshall                    United States 9/11/01   (Pentagon)   03-cv-9849   8487                Child     5356 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 1,
2364                              Rosemarie     C.        Martie                United States   Salvatore    J.         Zisa                        Unknown      9/11/01    NY (WTC)     03-cv-9849   at 673              Sibling   3387         $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:18-cv-11582, 1,
                                                                                                                                                                                                      at 8; 8679-1, at
2365                              Camille       Nicole    Martin                United States   Charles      Augustus   Laurencin                   United States 9/11/01   NY (WTC)     03-cv-9849   243, 8696           Child     5951 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      232, at P3820,
                                                                                                                                                                                                      8393-1, at 88,
                                                                                                                                                                                                      8487, 8397-1, at
2366 Eric   Steven   Thieringer   Deborah       D.        Martin                United States   William      Joseph     Martin                      United States 9/11/01   NY (WTC)     03-cv-9849   17, 8433            Spouse    7188 at 10   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
2367                              Luann                   Martin                Unknown         Lee          Charles    Ludwig                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3662     Sibling   3666 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
2368                              Mary          C.        Martin                United States   Kevin        W.         Donnelly                    United States 9/11/01   NY (Other)   03-cv-9849   155, at P2881       Sibling   4023 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      305, at AP247,
                                                                                                                                                                                                      5284-1, at 7,
                                                                                                                                                                                                      5296, 8393-1, at
2369                              Aida                    Martinez              United States   Jose         Angel      Martinez          Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   40, 8487            Spouse    5087 at 13   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      305, at AP247,
                                                                                                                                                                                                      8393-1, at 643,
2370                              Christopher   Michael   Martinez              United States   Jose         Angel      Martinez          Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     5087 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      8679-1, at 286,
2371                              David                   Martinez              United States   Jose         Angel      Martinez          Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8696                Sibling   7188 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:03-md-01570,
                                                                                                                                                                                                      3477, at
                                                                                                                                                                                                      2283,4311, Exh.A
                                                                                                                                                                                                      Pg.15; 8679-1, at
2372                              Diane         Lynn      Martinez              United States   Jose         Angel      Martinez          Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   284, 8696           Child     4126 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      8679-1, at 280,
2373                              Dorothy                 Martinez              United States   Jose         Angel      Martinez          Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8696                Sibling   7188 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:03-md-01570,
                                                                                                                                                                                                      3477, at
                                                                                                                                                                                                      2283,4311, Exh.A
                                                                                                                                                                                                      Pg.15; 8679-1, at
2374                              JoAnne                  Martinez              United States   Jose         Angel      Martinez          Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   283, 8696           Child     4126 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      305, at AP247,
                                                                                                                                                                                                      8393-1, at 642,
2375                              Michael       Jesse     Martinez              United States   Jose         Angel      Martinez          Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     5138 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      8679-1, at 285,
2376                              Wilson                  Martinez              United States   Jose         Angel      Martinez          Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8696                Sibling   7188 at 10   $   4,250,000.00 $    12,750,000.00



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                                                                                                                                                                                                               1:02-CV-01616,
2377                                         Rosaria                 Martingano           United States   Joseph                  Agnello                    United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2545      Sibling   3666 at 1    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               26, 29, at 3751,
                                                                                                                                                                                                               8393-1, at 1029,
2378                                         Lindsay     K.          Martini              United States   Paul          Richard   Martini                    United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5356 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               26, 29, at 3751,
                                                                                                                                                                                                               8393-1, at 64,
2379                                         Lisa                    Martini              United States   Paul          Richard   Martini                    United States 9/11/01   NY (Other)   03-cv-9849   8487                 Spouse    5061 at 9    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                               1:02-cv-01616, 3,
2380                                         Anthony     Demitrio    Martino              United States   Anne          Marie     Martino-Cramer             United States 9/11/01   NY (WTC)     03-cv-9849   at 1419              Sibling   3666 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616, 3,
                                                                                                                                                                                                               at 1418, 8397-1,
2381 Patricia           Nilsen               Mildred                 Martino              Unknown         Anne          Marie     Martino-Cramer             United States 9/11/01   NY (WTC)     03-cv-9849   at 17, 8433          Parent    5087 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               232, at P4101,
                                                                                                                                                                                                               8393-1, at 355,
2382                                         Katelyn     Elyse       Marut                United States   Edward        Philip    York                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 22   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
2383                                         Jayne       Marie       Marx                 Unknown         Dianne                  Gladstone                  United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4296        Sibling   3666 at 5    $   4,250,000.00 $    12,750,000.00

                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               232, at P3793,
2384                                         Catherine               Masak                United States   Catherine     Lisa      LoGuidice                  United States 9/11/01   NY (WTC)     03-cv-9849   8393-1, at 8, 8487   Parent    4023 at 16   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
2385                                         Suzanne                 Mascitis             United States   Donald        R.        Gavagan          Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4291        Sibling   3666 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               232, at P4069,
                                                                                                                                                                                                               8397-1, at 17,
                                                                                                                                                                                                               8433, 8393-1, at
2386 Theresa    Lynne   Bevilacqua           Joan                    Masi                 United States   Stephen       F.        Masi                       United States 9/11/01   NY (WTC)     03-cv-9849   76, 8487             Spouse    7180 at 3    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               232, at P4069,
                                                                                                                                                                                                               8393-1, at 1229,
2387                                         Stephen     J.          Masi                 United States   Stephen       F.        Masi                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5356 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616, 1,
                                                                                                                                                                                                               at 369, 8393-1, at
2388                                         Angelina    Nicole      Massaroli            United States   Michael                 Massaroli                  United States 9/11/01   NY (WTC)     03-cv-9849   942, 8487            Child     5061 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616, 1,
2389                                         Diane                   Massaroli            United States   Michael                 Massaroli                  United States 9/11/01   NY (WTC)     03-cv-9849   at 369               Spouse    5061 at 9    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                               1:02-cv-01616, 1,
                                                                                                                                                                                                               at 369, 8393-1, at
2390                                         Michael     Cesare      Massaroli            United States   Michael                 Massaroli                  United States 9/11/01   NY (WTC)     03-cv-9849   943, 8487            Child     5061 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
2391                                         Heather     L.          Masterson            United States   Debra         Lynn      Gibbon                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3276      Child     4023 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616, 1,
                                                                                                                                                                                                               at 373, 8393-1, at
2392                                         Karen       Elizabeth   Mastrandrea          United States   Philip        William   Mastrandrea      Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   66, 8487             Spouse    5061 at 9    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                               1:02-cv-01616, 1,
                                                                                                                                                                                                               at 373, 8393-1, at
2393                                         Paige       Elizabeth   Mastrandrea          United States   Philip        William   Mastrandrea      Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   1067, 8487           Child     5061 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
2394                                         Philip      William     Mastrandrea    Sr.   United States   Philip        William   Mastrandrea      Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3757      Parent    3666 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
2395                                         Robert      Michael     Mastrandrea          Unknown         Philip        William   Mastrandrea      Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3759      Sibling   3666 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616,
2396                                         Rosalie     Annette     Mastrandrea          United States   Philip        William   Mastrandrea      Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3758      Parent    3666 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616, 1,
                                                                                                                                                                                                               at 373, 8393-1, at
2397                                         Sydney      Kristen     Mastrandrea          United States   Philip        William   Mastrandrea      Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   1068, 8487           Child     5061 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               155, at P3024,
                                                                                                                                                                                                               8397-1, at 17,
2398 Rudolfo    F.      Mastrocinque   Sr.   Isabelle                Mastrocinque         Unknown         Rudy                    Mastrocinque     Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    5138 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
2399                                         Rudolfo     F.          Mastrocinque   Sr.   Unknown         Rudy                    Mastrocinque     Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   155, at P3025        Parent    4126 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               305, at P4408,
                                                                                                                                                                                                               8393-1, at 42,
2400                                         Teresa                  Mathai               United States   Joseph                  Mathai                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5087 at 13   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                               1:02-cv-01616, 3,
2401                                         Margaret    Louisa      Mathers              United States   Charles       W.        Mathers                    United States 9/11/01   NY (WTC)     03-cv-9849   at 1425              Spouse    5087 at 13   $   12,500,000.00 $   37,500,000.00




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                                                                                                                               EXHIBIT B-1
                                                                                                            SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                         305, at P4311,
                                                                                                                                                                                                         8397-1, at 18,
2402 Christine   Louise    Reichert-Hart   Betty        Jane        Mathwig        United States   John          P.        Hart                        United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    4126 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         1:02-cv-01616, 3,
2403                                       Donna        Lynn        Mattera        United States   Nicholas      Peter     Rossomando                  United States 9/11/01   NY (Other)   03-cv-9849   at 1588              Sibling   4023 at 22   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                         1:02-cv-01616, 3,
2404                                       Elizabeth    A.          Mattson        United States   Robert        D.        Mattson                     United States 9/11/01   NY (WTC)     03-cv-9849   at 1428              Spouse    5356 at 4    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                         1:02-cv-01616, 3,
2405                                       James        F.          Mattson        United States   Robert        D.        Mattson                     United States 9/11/01   NY (WTC)     03-cv-9849   at 1429              Child     5356 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         1:02-cv-01616, 3,
2406                                       Jean         E.          Mattson        United States   Robert        D.        Mattson                     United States 9/11/01   NY (WTC)     03-cv-9849   at 1430              Child     5356 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         1:02-cv-01616,
2407                                       Denise                   Matuza         United States   Walter        A.        Matuza                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2166      Spouse    5356 at 4    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                         26, 29, at 2166,
                                                                                                                                                                                                         8393-1, at 1381,
2408                                       Jesse        Anthony     Matuza         United States   Walter        A.        Matuza                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5356 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                         26, 29, at 2166,
                                                                                                                                                                                                         8393-1, at 1382,
2409                                       Nico         Salvatore   Matuza         United States   Walter        A.        Matuza                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5356 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                         26, 29, at 2166,
                                                                                                                                                                                                         8393-1, at 1383,
2410                                       Walter       Philip      Matuza         United States   Walter        A.        Matuza                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5356 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         1:02-cv-01616, 1,
2411                                       Jeanne       M.          Maurer         United States   Jill          Marie     Campbell                    United States 9/11/01   NY (WTC)     03-cv-9849   at 104               Parent    4023 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         1:02-cv-01616, 1,
                                                                                                                                                                                                         at 106, 8397-1, at
2412 Jeanne      M.        Maurer          Joseph                   Maurer         United States   Jill          Marie     Campbell                    United States 9/11/01   NY (WTC)     03-cv-9849   18, 8433             Parent    7188 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         1:02-cv-01616, 1,
2413                                       Linda        Ann         Maurer         United States   Jill          Marie     Campbell                    United States 9/11/01   NY (WTC)     03-cv-9849   at 105               Sibling   4023 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                         1:02-cv-01616,
2414                                       Denise       K.          Mauthe         United States   Peter         Paul      Apollo                      United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3586        Sibling   4023 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                         1:02-cv-01616, 1,
2415                                       Jeffrey      Michael     May            United States   Renee         A.        May                         United States 9/11/01   VA (AA77)    03-cv-9849   at 378               Sibling   4023 at 18   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                         1:02-cv-01616, 1,
2416                                       Kenneth      Ronald      May            United States   Renee         A.        May                         United States 9/11/01   VA (AA77)    03-cv-9849   at 379               Sibling   4023 at 18   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                         1:02-cv-01616, 1,
2417                                       Nancy        Ann         May            United States   Renee         A.        May                         United States 9/11/01   VA (AA77)    03-cv-9849   at 377               Parent    4023 at 17   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         1:02-cv-01616, 1,
2418                                       Ronald       Francis     May            United States   Renee         A.        May                         United States 9/11/01   VA (AA77)    03-cv-9849   at 376               Parent    4023 at 17   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         1:02-cv-01616, 1,
                                                                                                                                                                                                         at 405, 8393-1, at
2419                                       Kathleen     Stapleton   Maycen         Unknown         Lindsay       S.        Morehouse                   United States 9/11/01   NY (WTC)     03-cv-9849   50, 8487             Parent    4023 at 19   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         1:03-md-01570,
                                                                                                                                                                                                         3477, at 2684;
                                                                                                                                                                                                         8679-1, at 353,
2420                                       Clare        Regina      Mayer          United States   Thomas        Gerard    O'Hagan                     United States 9/11/01   NY (Other)   03-cv-9849   8696                 Sibling   4023 at 19   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                         232, at P3822,
                                                                                                                                                                                                         8393-1, at 22,
2421                                       Catherine                Mazzella       United States   Edward                  Mazzella          Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5848 at 7    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                         305, at P4409,
                                                                                                                                                                                                         8393-1, at 22,
2422                                       Michael      T.          Mazzella       United States   Edward                  Mazzella          Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     4023 at 18   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         1:02-cv-01616, 1,
2423                                       Christine    Ann         Mazzeo         Unknown         John          Thomas    Resta                       United States 9/11/01   NY (WTC)     03-cv-9849   at 512               Sibling   3666 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                         232, at P4071,
                                                                                                                                                                                                         8393-1, at 35,
2424                                       Catherine    Eleanor     Mazzotta       United States   Jennifer      Lynn      Mazzotta                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    4023 at 18   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         1:03-md-01570,
2425                                       Charles      Michael     Mazzotta       United States   Jennifer      Lynn      Mazzotta                    United States 9/11/01   NY (WTC)     03-cv-9849   432, at P5469        Sibling   4023 at 18   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                         232, at P4072,
                                                                                                                                                                                                         8397-1, at 18,
2426 Catherine   Eleanor   Mazzotta        Vito         Vincent     Mazzotta       United States   Jennifer      Lynn      Mazzotta                    United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    4023 at 18   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         1:02-cv-01616, 3,
2427                                       Kibabu       William     Mbaya          United States   Kaaria        William   Mbaya                       United States 9/11/01   NY (WTC)     03-cv-9849   at 1434              Sibling   4023 at 18   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                         1:02-cv-01616, 3,
2428                                       Vertistine   Beaman      Mbaya          United States   Kaaria        William   Mbaya                       United States 9/11/01   NY (WTC)     03-cv-9849   at 1433              Parent    5979 at 3    $   8,500,000.00 $    25,500,000.00




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                                                                                                                EXHIBIT B-1
                                                                                             SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                        1:03-cv-9849,
                                                                                                                                                                                        HAND FILED, at
                                                                                                                                                                                        P5169, 8393-1, at
2429                         Aidan       James     McAleese        United States   Brian          G.       McAleese                   United States 9/11/01   NY (Other)   03-cv-9849   106, 8487           Child     8310 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                        1:03-cv-9849,
                                                                                                                                                                                        HAND FILED, at
                                                                                                                                                                                        P5169, 8393-1, at
2430                         Brianne     Marie     McAleese        United States   Brian          G.       McAleese                   United States 9/11/01   NY (Other)   03-cv-9849   107, 8487           Child     8310 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                        1:03-cv-9849,
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                                                                                                                                                                                        P5169, 8393-1, at
2431                         Dawn        Marie     McAleese        United States   Brian          G.       McAleese                   United States 9/11/01   NY (Other)   03-cv-9849   7, 8487             Spouse    8310 at 4    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                        1:03-cv-9849,
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                                                                                                                                                                                        P5169, 8393-1, at
2432                         Jack        Ryan      McAleese        United States   Brian          G.       McAleese                   United States 9/11/01   NY (Other)   03-cv-9849   108, 8487           Child     8310 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                        1:03-cv-9849,
                                                                                                                                                                                        HAND FILED, at
                                                                                                                                                                                        P5169, 8393-1, at
2433                         Liam        Francis   McAleese        United States   Brian          G.       McAleese                   United States 9/11/01   NY (Other)   03-cv-9849   109, 8487           Child     8310 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                        1:02-cv-01616,
2434                         James                 McAneney        United States   Patricia       A.       McAneney                   United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3776     Sibling   5848 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                        26, 29, at 3782,
                                                                                                                                                                                        8393-1, at 616,
2435                         Kevin       James     McAvoy          United States   John           K.       McAvoy                     United States 9/11/01   NY (Other)   03-cv-9849   8487                Child     5356 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                        1:02-cv-01616,
2436                         Michael     S.        McAvoy          United States   John           K.       McAvoy                     United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3784     Sibling   4126 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                        26, 29, at 3782,
                                                                                                                                                                                        8393-1, at 38,
2437                         Paula       M.        McAvoy          United States   John           K.       McAvoy                     United States 9/11/01   NY (Other)   03-cv-9849   8487                Spouse    5356 at 4    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                        26, 29, at 3783,
                                                                                                                                                                                        8397-1, at 18,
2438 Michael   S.   McAvoy   Philomena             McAvoy          United States   John           K.       McAvoy                     United States 9/11/01   NY (Other)   03-cv-9849   8433                Parent    5848 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                        232, at P3823,
                                                                                                                                                                                        8393-1, at 46,
2439                         Marsha      K.        McBrayer        United States   Kenneth        M.       McBrayer                   United States 9/11/01   NY (WTC)     03-cv-9849   8487                Spouse    5848 at 7    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                              VA                        1:02-cv-01616,
2440                         Donna       Marie     McBride         United States   Larry          Lee      Strickland                 United States 9/11/01   (Pentagon)   03-cv-9849   155, at P3102       Sibling   4023 at 24   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                        232, at P3824,
                                                                                                                                                                                        8393-1, at 923,
2441                         Cassidy               McCabe          United States   Michael        J.       McCabe                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     5848 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                        1:02-cv-01616,
2442                         Jeanne      Theresa   McCabe          United States   Thomas         Gerard   O'Hagan                    United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4060     Sibling   3666 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                        232, at P3824,
                                                                                                                                                                                        8393-1, at 924,
2443                         Liam        Patrick   McCabe          United States   Michael        J.       McCabe                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     5848 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                        232, at P3824,
                                                                                                                                                                                        8393-1, at 57,
2444                         Lynn        C.        McCabe          United States   Michael        J.       McCabe                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                Spouse    5848 at 7    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                        232, at P3948,
                                                                                                                                                                                        8393-1, at 534,
2445                         Nicole      Mary      McCabe          United States   Jeffrey        James    Shaw                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     5848 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                        232, at P3824,
                                                                                                                                                                                        8393-1, at 925,
2446                         Regan       Grace     McCabe          United States   Michael        J.       McCabe                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     5848 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                        1:02-cv-01616, 1,
2447                         Claire      Teresa    McCaffery       United States   Sean           Thomas   Canavan                    United States 9/11/01   NY (WTC)     03-cv-9849   at 112              Sibling   4023 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                        1:02-cv-01616, 3,
                                                                                                                                                                                        at 1811, 5284-1,
2448                         Agnes       Marie     McCaffrey       United States   Orio           Joseph   Palmer                     United States 9/11/01   NY (Other)   03-cv-9849   at 8, 5296          Sibling   3666 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                        1:02-cv-01616,
2449                         Kerry       Ann       McCall          Unknown         Paul                    Talty                      United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4521     Sibling   4023 at 24   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                        26, 29, at 2168,
                                                                                                                                                                                        8393-1, at 81,
2450                         Anne        Marie     McCann          United States   Thomas         J.       McCann                     United States 9/11/01   NY (Other)   03-cv-9849   8487                Spouse    5087 at 13   $   12,500,000.00 $   37,500,000.00




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                                                                                                                                  EXHIBIT B-1
                                                                                                               SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                                           8679-1, at 198,
2451                                      Bernadette   Francine    McCann             United States   Charles       F.X.      Heeran                     United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling      5087 at 10   $   4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
2452                                      George       Gerard      McCann             Unknown         Thomas        J.        McCann                     United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3791      Sibling      3666 at 8    $   4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           26, 29, at 3790,
                                                                                                                                                                                                           8397-1, at 18,
2453 George    Gerard   McCann            Natalie      Mary        McCann             United States   Thomas        J.        McCann                     United States 9/11/01   NY (Other)   03-cv-9849   8433                 Parent       3666 at 8    $   8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           26, 29, at 2168,
                                                                                                                                                                                                           8393-1, at 1312,
2454                                      Sean         Thomas      McCann             United States   Thomas        J.        McCann                     United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child        5087 at 13   $   8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616, 1,
                                                                                                                                                                                                           at 383, 8393-1, at
2455                                      Andrew       Michael     McCarthy           United States   Kevin         Michael   McCarthy                   United States 9/11/01   NY (WTC)     03-cv-9849   751, 8487            Child        5087 at 13   $   8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           232, at P3826,
                                                                                                                                                                                                           8397-1, at 18,
2456 Charles   Emmett   McCarthy    Jr.   Charles      Emmett      McCarthy     Sr.   Unknown         Kevin         Michael   McCarthy                   United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent       4126 at 6    $   8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
2457                                      Charles      Emmett      McCarthy     Jr.   Unknown         Kevin         Michael   McCarthy                   United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4413        Sibling      4126 at 6    $   4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616, 1,
                                                                                                                                                                                                           at 383, 8393-1, at
2458                                      Chelsea      Rhea        McCarthy           United States   Kevin         Michael   McCarthy                   United States 9/11/01   NY (WTC)     03-cv-9849   752, 8487            Child        5951 at 7    $   8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           232, at P3827,
                                                                                                                                                                                                           8397-1, at 18,
2459 Charles   Emmett   McCarthy    Jr.   Marie        Phyllis     McCarthy           United States   Kevin         Michael   McCarthy                   United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent       4126 at 6    $   8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616, 1,
                                                                                                                                                                                                           at 383, 8393-1, at
2460                                      Stephanie    Marie       McCarthy           United States   Kevin         Michael   McCarthy                   United States 9/11/01   NY (WTC)     03-cv-9849   753, 8487            Child        5087 at 13   $   8,500,000.00 $   25,500,000.00
                                                                                      United States   James         Durward   Cleere                                             NY (WTC)                  8679-1, at 52,
2461                                      Rhonda                   McCleary                                                                              United States 9/11/01                03-cv-9849   8696                 Step-Child   5951 at 7    $   4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
2462                                      Erin         Poulos      McCormack          United States   Richard       N.        Poulos                     United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3901        Child        5087 at 16   $   8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
2463                                      Maxine       Elizabeth   McCormack          United States   Joseph                  Lovero                     United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2134      Child        4023 at 17   $   8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
2464                                      Suzanne      E.          McCormick          United States   Robert        A.        Jalbert                    United States 9/11/01   NY (UA175)   03-cv-9849   305, at P4337        Child        4023 at 14   $   8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
2465                                      Stephanie    Anne        McCuin             United States   Sean          Thomas    Lugano                     United States 9/11/01   NY (WTC)     03-cv-9849   155, at P3005        Sibling      5848 at 7    $   4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
2466                                      Jill         Anne        McCullough         United States   James         Robert    Ostrowski                  Unknown      9/11/01    NY (WTC)     03-cv-9849   26, 29, at 2518      Sibling      4126 at 7    $   4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           305, at P4414,
                                                                                                                                                                                                           8397-1, at 18,
                                                                                                                                                                                                           8433, 8393-1, at
2467 Rufus     J.       McDay       Jr.   Cynthia      Elaine      McDay              United States   Tonyell       F.        McDay                      United States 9/11/01   NY (WTC)     03-cv-9849   83, 8487             Parent       5087 at 13   $   8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
2468                                      Rufus        J.          McDay        Jr.   United States   Tonyell       F.        McDay                      United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4415        Parent       4023 at 18   $   8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
2469                                      Ruvaughn     Leemar      McDay              United States   Tonyell       F.        McDay                      United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4416        Sibling      4023 at 18   $   4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           313, at P4694,
                                                                                                                                                                                                           8397-1, at 18,
2470 Suzanne   P.       McDermott         Jacqueline   A.          McDermott          United States   Matthew       Thomas    McDermott                  United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent       3666 at 9    $   8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
2471                                      Jeanne                   McDermott          United States   William       Eben      Wilson                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4731      Sibling      3382         $   4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
2472                                      John         Charles     McDermott          United States   Matthew       Thomas    McDermott                  United States 9/11/01   NY (WTC)     03-cv-9849   313, at P4695        Sibling      4023 at 18   $   4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           313, at P4693,
                                                                                                                                                                                                           8397-1, at 18,
2473 Suzanne   P.       McDermott         John         Edward      McDermott          United States   Matthew       Thomas    McDermott                  United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent       5061 at 9    $   8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
2474                                      Margaret                 McDermott          United States   Matthew       Thomas    McDermott                  United States 9/11/01   NY (WTC)     03-cv-9849   313, at P4696        Sibling      5138 at 6    $   4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
2475                                      Suzanne      P.          McDermott          United States   Matthew       Thomas    McDermott                  United States 9/11/01   NY (WTC)     03-cv-9849   313, at P4697        Sibling      5061 at 9    $   4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           432, at AP290,
                                                                                                                                                                                                           8393-1, at 683,
2476                                      Brigid       A.          McDonald           United States   Joseph        Paul      McDonald                   United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child        5138 at 6    $   8,500,000.00 $   25,500,000.00




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                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          432, at AP290,
                                                                                                                                                                                                          6888, at 2, 6904,
                                                                                                                                                                                                          8393-1, at 43,
2477                              Denise      Eileen      McDonald                  United States   Joseph        Paul      McDonald                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5087 at 13   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          432, at AP290,
                                                                                                                                                                                                          8393-1, at 684,
2478                              Kathleen    E.          McDonald                  United States   Joseph        Paul      McDonald                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
2479 Alicia      A.   Arancibia   Ann         Claire      McDonnell                 United States   Brian         Grady     McDonnell                   United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3812      Parent    4023 at 18   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          26, 29, at 3818,
                                                                                                                                                                                                          8393-1, at 951,
2480                              Brian       Michael     McDonnell                 United States   Michael       Patrick   McDonnell                   United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5061 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
2481                              Cheryl      Ann         McDonnell                 United States   Michael       Patrick   McDonnell                   United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3818      Spouse    5061 at 9    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                          1:02-cv-01616, 1,
                                                                                                                                                                                                          at 385, 8393-1, at
2482                              Katharine   Ann         McDonnell                 United States   Brian         Grady     McDonnell                   United States 9/11/01   NY (WTC)     03-cv-9849   110, 8487            Child     5087 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
2483                              Kevin       Walter      McDonnell                 Unknown         Brian         Grady     McDonnell                   United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3814      Sibling   3666 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          26, 29, at 3818,
                                                                                                                                                                                                          8393-1, at 950,
2484                              Kevin       Michael     McDonnell                 United States   Michael       Patrick   McDonnell                   United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5061 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
2485                              Robert      Charles     McDonnell                 United States   Brian         Grady     McDonnell                   United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3813      Sibling   4023 at 18   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616, 1,
                                                                                                                                                                                                          at 385, 8393-1, at
2486                              Margaret                McDonnell-Tiberio         United States   Brian         Grady     McDonnell                   United States 9/11/01   NY (WTC)     03-cv-9849   7, 8487              Spouse    5087 at 13   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
2487                              Noreen      V.          McDonough                 United States   Mitchel       Scott     Wallace                     United States 9/11/01   NY (Other)   03-cv-9849   77, at P2664         Spouse    5951 at 7    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                          1:03-cv-09849,
                                                                                                                                                                                                          848, at 1; 8679-1,
2488                              Blayney     Peter       McEneaney                 United States   Eamon         James     McEneaney                   United States 9/11/01   NY (WTC)     03-cv-9849   at 292, 8696         Sibling   5061 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          232, at P3831,
                                                                                                                                                                                                          8393-1, at 337,
2489                              Brendan                 McEneaney                 United States   Eamon         James     McEneaney                   United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5848 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          232, at P3831,
                                                                                                                                                                                                          8393-1, at 334,
2490                              Jennifer    Jeanne      McEneaney                 United States   Eamon         James     McEneaney                   United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5848 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:03-cv-09849,
                                                                                                                                                                                                          845, at 5; 8679-1,
2491                              Kevin       Edward      McEneaney                 United States   Eamon         James     McEneaney                   United States 9/11/01   NY (WTC)     03-cv-9849   at 296, 8696         Sibling   5062 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          232, at P3831,
                                                                                                                                                                                                          8393-1, at 335,
2492                              Kevin       Blayney     McEneaney                 United States   Eamon         James     McEneaney                   United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5848 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          232, at P3831,
                                                                                                                                                                                                          8393-1, at 336,
2493                              Kyle        MacDonald   McEneaney                 United States   Eamon         James     McEneaney                   United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5848 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          8679-1, at 295,
2494                              Patrick     Bernard     McEneaney                 United States   Eamon         James     McEneaney                   United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   515 at 5     $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
2495 Catherine        Francese    Agnes       Marie       McErlean                  United States   John          T.        McErlean          Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4418        Parent    3666 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
2496 Catherine        Francese    John        Thomas      McErlean            Sr.   United States   John          T.        McErlean          Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4417        Parent    3666 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          305, at P4419,
                                                                                                                                                                                                          8397-1, at 18,
2497 Kathy            McErlean    Thomas      M.          McErlean                  United States   John          T.        McErlean          Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Sibling   4880 at 19   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          8679-1, at 505,
2498                              Donna       Marie       McEwan                    United States   Eugene                  Whelan                      United States 9/11/01   NY (Other)   03-cv-9849   8696                 Sibling   7188 at 15   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          26, 29, at 4029,
                                                                                                                                                                                                          8397-1, at 18,
2499 Patrick          McGarry     Kathryn     Marie       McGarry                   United States   Katherine     McGarry   Noack                       United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    4126 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
2500                              Andrew      Michael     McGinly                   United States   Mark          Ryan      McGinly                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3836      Sibling   4023 at 18   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
2501                              Patricia    Denise      McGinly                   United States   Mark          Ryan      McGinly                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3834      Parent    4126 at 6    $   8,500,000.00 $    25,500,000.00




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                                                                                                                                                                       1:02-cv-01616,
2502   Sean         Matthew     Mcginly          United States   Mark           Ryan     McGinly                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3835      Sibling   4023 at 18   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                       1:02-cv-01616,
2503   William      Cornelius   McGinly    III   United States   Mark           Ryan     McGinly                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3833      Parent    4023 at 18   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                       1:02-cv-01616,
2504   Mary         Sue         McGovern         United States   William        J.       McGovern                    United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2171      Spouse    5087 at 13   $   12,500,000.00 $   37,500,000.00
                                                                                                                                             VA                        1:02-cv-01616,
2505   Elza         Marie       McGowan          United States   Rosa           Marie    Chapa                       United States 9/11/01   (Pentagon)   03-cv-9849   77, at P2561         Child     4023 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                       1:02-cv-01616, 3,
2506   Margaret                 McGrane          United States   Mary                    Herencia                    United States 9/11/01   NY (WTC)     03-cv-9849   at 1225              Sibling   5061 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                       1:02-cv-01616,
2507   Dorothy      Gail        McGrath          United States   Thomas         H.       Polhemus                    United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4492        Sibling   3666 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                       1:03-cv-09849,
                                                                                                                                                                       842, at 8; 8679-1,
2508   Melissa      Ann         McGrath          United States   Michael        A.       Uliano                      United States 9/11/01   NY (WTC)     03-cv-9849   at 477, 8696         Sibling   5062 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                             VA                        1:03-md-01570,
2509   Elaine       Doctor      McGraw           United States   Johnnie                 Doctor            Jr.       United States 9/11/01   (Pentagon)   03-cv-9849   432, at P5345        Sibling   3666 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                       1:18-cv-11582, 1,
                                                                                                                                                                       at 21; 8679-1, at
2510   Jeanene                  McGregor         United States   Lucy           A.       Fishman                     United States 9/11/01   NY (WTC)     03-cv-9849   126, 8696            Sibling   5104 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                       232, at P3833,
                                                                                                                                                                       8393-1, at 388,
2511   Carolyne     Sheehan     McGuinn          United States   Francis        Noel     McGuinn                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                       1:02-cv-01616,
2512   Danielle     Terese      McGuinn          United States   Francis        Noel     McGuinn                     United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3832        Child     5087 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                       232, at P3833,
                                                                                                                                                                       8393-1, at 389,
2513   Elizabeth    Francis     McGuinn          United States   Francis        Noel     McGuinn                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                       232, at P3833,
                                                                                                                                                                       8393-1, at 25,
2514   Lynn         Sofia       McGuinn          United States   Francis        Noel     McGuinn                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5087 at 14   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                       1:03-md-01570,
                                                                                                                                                                       432, at P5402,
                                                                                                                                                                       8393-1, at 63,
2515   Danielle                 McGuire          United States   Patrick                 McGuire                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5985         $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                       232, at P3733,
                                                                                                                                                                       8393-1, at 76,
2516   Kathleen     Clare       McGuire          Unknown         Stephen                 Huczko            Jr.       United States 9/11/01   NY (Other)   03-cv-9849   8487                 Spouse    5087 at 11   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                       1:03-md-01570,
                                                                                                                                                                       432, at P5402,
                                                                                                                                                                       8393-1, at 1008,
2517   Mara         Moran       McGuire          United States   Patrick                 McGuire                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5985         $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                       1:03-md-01570,
                                                                                                                                                                       432, at P5402,
                                                                                                                                                                       8393-1, at 1009,
2518   Ryan         Patrick     McGuire          United States   Patrick                 McGuire                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5985         $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                       1:03-md-01570,
                                                                                                                                                                       432, at P5402,
                                                                                                                                                                       8393-1, at 1010,
2519   Sean         Patrick     McGuire          United States   Patrick                 McGuire                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5985         $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                       1:03-md-01570,
                                                                                                                                                                       432, at P5402,
                                                                                                                                                                       8393-1, at 1011,
2520   Shea         Elizabeth   McGuire          United States   Patrick                 McGuire                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5985         $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                       1:02-cv-01616, 3,
                                                                                                                                                                       at 1821, 5284-1,
2521   Sherry       Lynn        McHeffey         United States   Keith                   McHeffey                    United States 9/11/01   NY (WTC)     03-cv-9849   at 8, 5296           Parent    4023 at 18   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                       1:02-cv-01616, 1,
2522   Bernadette   Marie       McHugh           United States   Denis          J.       McHugh            III       United States 9/11/01   NY (WTC)     03-cv-9849   at 867               Parent    4023 at 18   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                       26, 29, at 3853,
                                                                                                                                                                       8393-1, at 291,
2523   Chloe        Beth        McHugh           United States   Dennis         P.       McHugh                      United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5087 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                       155, at P3029,
                                                                                                                                                                       8393-1, at 902,
2524   Christian    Salvatore   McHugh           United States   Michael        E.       McHugh            Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                       155, at P3029,
                                                                                                                                                                       8393-1, at 900,
2525   Connor       Joseph      McHugh           United States   Michael        E.       McHugh            Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 14   $   8,500,000.00 $    25,500,000.00




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                                                                                                  SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                               8679-1, at 302,
2526                      Darby        Anne        McHugh                United States   Michael       E.        McHugh            Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   5848 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               8679-1, at 303,
2527                      Eileen       Higgins     McHugh                United States   Michael       E.        McHugh            Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Parent    5848 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               26, 29, at 3853,
                                                                                                                                                                                               8393-1, at 289,
2528                      Joseph       Michael     McHugh                United States   Dennis        P.        McHugh                      United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5087 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               155, at P3029,
                                                                                                                                                                                               8393-1, at 901,
2529                      Michael      Edward      McHugh          III   United States   Michael       E.        McHugh            Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               8679-1, at 301,
2530                      Michael      J.          McHugh                United States   Dennis        P.        McHugh                      United States 9/11/01   NY (Other)   03-cv-9849   8696                 Sibling   5087 at 14   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               8679-1, at 300,
2531                      Michael                  McHugh                Ireland         Dennis        P.        McHugh                      United States 9/11/01   NY (Other)   03-cv-9849   8696                 Parent    8233 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               8679-1, at 299,
2532                      Olivia       Mary        McHugh                United States   Dennis        P.        McHugh                      United States 9/11/01   NY (Other)   03-cv-9849   8696                 Parent    8233 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               26, 29, at 3853,
                                                                                                                                                                                               8393-1, at 290,
2533                      Sophia                   McHugh                United States   Dennis        P.        McHugh                      United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5087 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616, 1,
2534                      Timothy      S.          McHugh                United States   Denis         J.        McHugh            III       United States 9/11/01   NY (WTC)     03-cv-9849   at 866               Sibling   4023 at 18   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               1:02-cv-01616,
2535                      Una          Margaret    McHugh                United States   Dennis        P.        McHugh                      United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3853      Spouse    5087 at 14   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                               1:02-cv-01616, 1,
2536                      Bernadette   Marie       McHugh Torres         United States   Denis         J.        McHugh            III       United States 9/11/01   NY (WTC)     03-cv-9849   at 865               Sibling   5062 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               8679-1, at 304,
2537                      Michael      Edward      McHugh, Sr.           United States   Michael       E.        McHugh            Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Parent    5848 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               155, at P3030,
                                                                                                                                                                                               8393-1, at 314,
2538                      Caitlyn      Marie       McIntyre              United States   Donald        J.        McIntyre                    United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5087 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               155, at P3030,
                                                                                                                                                                                               8393-1, at 315,
2539                      Donald       James       McIntyre        Jr.   United States   Donald        J.        McIntyre                    United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5087 at 14   $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               155, at P3030,
2540                      Jeannine     Marie       McIntyre              United States   Donald        J.        McIntyre                    United States 9/11/01   NY (Other)   03-cv-9849   8393-1, at 20, 848   Spouse    5138 at 6    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               155, at P3030,
                                                                                                                                                                                               8393-1, at 316,
2541                      Lauren                   McIntyre              United States   Donald        J.        McIntyre                    United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5138 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
2542 Patricia   McKenna   Eugene       Francis     McKenna               United States   Stephanie     Marie     McKenna                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3859      Parent    5087 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               26, 29, at 2174,
                                                                                                                                                                                               8393-1, at 76,
2543                      Patricia                 McKenna               United States   Stephanie     Marie     McKenna                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Sibling   5087 at 14   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               1:02-cv-01616,
2544                      Catherine    Cecilia     McLaughlin            United States   Peter         Matthew   West                        United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4693      Sibling   3666 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               1:02-cv-01616,
2545                      Margaret     Rose        McLean                United States   Joseph        B.        Vilardo                     Unknown      9/11/01    NY (WTC)     03-cv-9849   155, at P3138        Sibling   3666 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               1:02-cv-01616,
2546                      Barbara      Ann         McManus               United States   Michael       Francis   Lynch                       United States 9/11/01   NY (Other)   03-cv-9849   155, at P3014        Sibling   4023 at 17   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               232, at P3831,
                                                                                                                                                                                               8393-1, at 21,
2547                      Bonnie       McEneaney   McNamara              Unknown         Eamon         James     McEneaney                   United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5848 at 7    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                               8679-1, at 140,
2548                      Dorell       Froehner    McNamara              United States   Gregg         J.        Froehner                    United States 9/11/01   NY (Other)   03-cv-9849   8696                 Sibling   7188 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               1:02-cv-01616,
2549                      Kathryn      Walker      McNeal                United States   Daniel        Walker    McNeal                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3874      Parent    4023 at 18   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:03-md-01570,
                                                                                                                                                                                               3477, at 2412;
                                                                                                                                                                                               8679-1, at 309,
2550                      Bridgette    Ann         McNulty               United States   Sean          Peter     McNulty                     United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   4023 at 18   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               1:03-md-01570,
                                                                                                                                                                                               3477, at 410;
                                                                                                                                                                                               8679-1, at 31,
2551                      Charles      Gavin       McNulty               United States   Nancy         Clare     Bueche                      United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   4126 at 4    $   4,250,000.00 $    12,750,000.00




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                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      232, at P3834,
                                                                                                                                                                                                      8397-1, at 19,
2552 Richard   Thomas   McNulty   Gerald     Russell     McNulty         III   United States   Sean          Peter      McNulty                     United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    4023 at 18   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      313, at P4621,
                                                                                                                                                                                                      8397-1, at 19,
2553 Charles   Gavin    McNulty   Helen      R.          McNulty               United States   Nancy         Clare      Bueche                      United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    5138 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
2554                              Martin     L.          McNulty               United States   Nancy         Clare      Bueche                      United States 9/11/01   NY (WTC)     03-cv-9849   313, at P4623        Sibling   4023 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:03-md-01570,
                                                                                                                                                                                                      432, at P5324,
                                                                                                                                                                                                      8397-1, at 19,
2555 Charles   Gavin    McNulty   Mary       Ellen       McNulty               Unknown         Nancy         Clare      Bueche                      United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Sibling   5138 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:03-md-01570,
                                                                                                                                                                                                      3477, at 2413;
                                                                                                                                                                                                      8679-1, at 306,
2556                              Michelle   Ann         McNulty               United States   Sean          Peter      McNulty                     United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   4023 at 18   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:03-md-01570,
                                                                                                                                                                                                      3477, at 2410;
                                                                                                                                                                                                      8679-1, at 307,
2557                              Richard    Thomas      McNulty               United States   Sean          Peter      McNulty                     United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   4023 at 18   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      232, at P3835,
                                                                                                                                                                                                      8397-1, at 19,
2558 Richard   Thomas   McNulty   Rosanne    Atchue      McNulty               United States   Sean          Peter      McNulty                     United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    4023 at 18   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
2559                              Stephen    Joseph      McNulty               United States   Nancy         Clare      Bueche                      United States 9/11/01   NY (WTC)     03-cv-9849   313, at P4622        Sibling   4023 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616, 3,
2560                              Lynn       Mary        McWilliams            United States   Martin        Edward     McWilliams                  United States 9/11/01   NY (Other)   03-cv-9849   at 1444              Sibling   5062 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
2561                              Daniel     A.          Meehan                United States   William       J.         Meehan            Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3837        Child     6034 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 3,
2562                              Daryl      Joseph      Meehan                United States   Colleen       Ann        Barkow                      United States 9/11/01   NY (WTC)     03-cv-9849   at 900               Sibling   3666 at 1    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616, 3,
2563                              JoAnn                  Meehan                United States   Colleen       Ann        Barkow                      United States 9/11/01   NY (WTC)     03-cv-9849   at 899               Parent    3666 at 1    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      232, at P3838,
                                                                                                                                                                                                      8393-1, at 88,
2564                              Maureen    E.          Meehan                United States   William       J.         Meehan            Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    6034 at 4    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 3,
2565                              Thomas     Joseph      Meehan          III   United States   Colleen       Ann        Barkow                      United States 9/11/01   NY (WTC)     03-cv-9849   at 898               Parent    3666 at 1    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
2566                              William                Meehan          III   United States   William       J.         Meehan            Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3839        Child     7188 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                            VA                        8679-1, at 167,
2567                              Dawn       Marie       Megyeri               United States   Ronald        Franklin   Golinski                    United States 9/11/01   (Pentagon)   03-cv-9849   8696                 Child     515 at 4     $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                      1:03-md-01570,
                                                                                                                                                                                                      432, at P5404,
2568                              Gopal      Krishna     Mehta                 United States   Alok          K.         Mehta                       United States 9/11/01   NY (WTC)     03-cv-9849   8393-1, at 2, 8487   Parent    5087 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:03-cv-9849,
                                                                                                                                                                                                      HAND FILED, at
                                                                                                                                                                                                      P5178, 8393-1, at
2569                              Joanne                 Meisenheimer          United States   Raymond                  Meisenheimer                United States 9/11/01   NY (Other)   03-cv-9849   67, 8487             Spouse    5087 at 14   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                      1:03-cv-9849,
                                                                                                                                                                                                      HAND FILED, at
                                                                                                                                                                                                      P5178, 8393-1, at
2570                              Kaitlynn   Rose        Meisenheimer          United States   Raymond                  Meisenheimer                United States 9/11/01   NY (Other)   03-cv-9849   1077, 8487           Child     5087 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
2571                              Mary       Elizabeth   Meixelsperger         Unknown         John          P.         Hart                        United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4313        Sibling   3666 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:03-md-01570,
                                                                                                                                                                                                      3477, at
                                                                                                                                                                                                      2283,4311, Exh.A
                                                                                                                                                                                                      Pg.15; 8679-1, at
2572                              Michele    Carrie      Melendez              United States   Jose          Angel      Martinez          Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   282, 8696            Child     4126 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 1,
2573                              Victoria   Jane        Melone                United States   Kenneth       Joseph     Tarantino                   United States 9/11/01   NY (WTC)     03-cv-9849   at 615               Sibling   3387         $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      305, at P4432,
                                                                                                                                                                                                      8393-1, at 1264,
2574                              Dylan      Ross        Meltzer               United States   Stuart        Todd       Meltzer                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5848 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      305, at P4432,
                                                                                                                                                                                                      8393-1, at 1265,
2575                              Jacob      Andrew      Meltzer               United States   Stuart        Todd       Meltzer                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5848 at 8    $   8,500,000.00 $    25,500,000.00




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                                                                                                                                                                                                     1:02-cv-01616,
2576                             Joyce       Linda         Meltzer           United States   Stuart        Todd        Meltzer                     United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3840        Parent    5061 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
2577                             Kenneth     Robb          Meltzer           United States   Stuart        Todd        Meltzer                     United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3841        Sibling   7188 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     1:02-cv-01616,
2578                             Lawrence                  Meltzer           United States   Stuart        Todd        Meltzer                     United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3842        Sibling   5979 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     305, at P4432,
                                                                                                                                                                                                     8393-1, at 78,
2579                             Lisa                      Meltzer           United States   Stuart        Todd        Meltzer                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5848 at 8    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
2580                             Zachary                   Meltzer           United States   Stuart        Todd        Meltzer                     United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3843        Parent    5061 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     8679-1, at 313,
2581                             Ignacia     R.            Menchaca          United States   Dora          Marie       Menchaca                    United States 9/11/01   VA (AA77)    03-cv-9849   8696                 Parent    5061 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     8679-1, at 316,
2582                             John        J.            Menchaca          United States   Dora          Marie       Menchaca                    United States 9/11/01   VA (AA77)    03-cv-9849   8696                 Sibling   5061 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     8679-1, at 317,
2583                             Jose                      Menchaca    Jr.   United States   Dora          Marie       Menchaca                    United States 9/11/01   VA (AA77)    03-cv-9849   8696                 Sibling   5061 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     8679-1, at 315,
2584                             Mark        Anthony       Menchaca          United States   Dora          Marie       Menchaca                    United States 9/11/01   VA (AA77)    03-cv-9849   8696                 Sibling   5061 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     8679-1, at 311,
2585                             Nancy       Jo            Menchaca          United States   Dora          Marie       Menchaca                    United States 9/11/01   VA (AA77)    03-cv-9849   8696                 Sibling   5061 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     26, 29, at 3884,
                                                                                                                                                                                                     1:02-cv-01616, 1,
                                                                                                                                                                                                     at 363, 8393-1, at
2586                             Kerri       Ann           Mendez            Unknown         Charles                   Mendez                      United States 9/11/01   NY (Other)   03-cv-9849   9, 8487              Spouse    5138 at 6    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                     1:02-cv-01616, 1,
2587                             Debra       Diane         Menich            United States   Kevin         Michael     McCarthy                    United States 9/11/01   NY (WTC)     03-cv-9849   at 383               Spouse    5087 at 13   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     77, at P2666,
                                                                                                                                                                           VA                        8393-1, at 55,
2588                             Alan        M.            Mennie            United States   Melissa       Rose        Barnes                      United States 9/11/01   (Pentagon)   03-cv-9849   8487                 Parent    5087 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
2589                             Joyce                     Mercer            United States   Scott                     Kopytko                     United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3564      Parent    4023 at 16   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     232, at P4074,
                                                                                                                                                                                                     8393-1, at 66,
2590                             Debra                     Mercurio          United States   Ralph                     Mercurio                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5848 at 8    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                     8679-1, at 318,
2591                             Genevieve                 Mercurio          United States   Ralph                     Mercurio                    United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Child     5848 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     232, at P4074,
                                                                                                                                                                                                     8393-1, at 1417,
2592                             Joseph                    Mercurio          United States   Ralph                     Mercurio                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5848 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
2593                             Katherine   Rohner        Merhige           United States   Scott         W.          Rohner                      Unknown      9/11/01    NY (WTC)     03-cv-9849   432, at P4940        Sibling   4023 at 22   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     1:02-cv-01616,
2594                             Luis        Eugenio       Merino            United States   George                    Merino                      Unknown      9/11/01    NY (WTC)     03-cv-9849   232, at P3845        Parent    4023 at 18   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     232, at P3846,
                                                                                                                                                                                                     8397-1, at 19,
2595 Maria   Lourdes   Lehr      Zenaida                   Merino            United States   George                    Merino                      Unknown      9/11/01    NY (WTC)     03-cv-9849   8433                 Parent    5138 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     26, 29, at 4806,
                                                                                                                                                                                                     8397-1, at 19,
2596 Mark    W.        Merritt   Marianne    Cathleen      Merritt           United States   Christopher   Martel      Morrison                    Unknown      9/11/01    NY (WTC)     03-cv-9849   8433                 Sibling   4126 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     1:02-cv-01616,
2597                             Cindy       Marie         Metz              United States   Kenneth       F.          Tietjen                     United States 9/11/01   NY (Other)   03-cv-9849   155, at P3130        Sibling   5062 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     1:18-cv-11582, 1,
                                                                                                                                                                                                     at 20; 8679-1, at
2598                             Margaret    Quinn         Metz              United States   Raymond       Joseph      Metz              III       Unknown      9/11/01    NY (WTC)     03-cv-9849   319, 8696            Parent    5087 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     77, at P2667,
                                                                                                                                                                                                     8397-1, at 19,
2599 Wendy   Anne      Metz      Raymond     Joseph        Metz        Jr.   United States   Raymond       Joseph      Metz              III       Unknown      9/11/01    NY (WTC)     03-cv-9849   8433                 Parent    3666 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
2600                             Wendy       Anne          Metz              United States   Raymond       Joseph      Metz              III       Unknown      9/11/01    NY (WTC)     03-cv-9849   26, 29, at 3892      Sibling   3666 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     1:02-cv-01616,
2601                             Rosemary    Claire        Meyer             United States   Kevin         D.          Marlo                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3739      Parent    4023 at 17   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616, 1,
2602                             Joseph      Anthony       Micciulli         United States   Deanna        Micciulli   Galante                     United States 9/11/01   NY (WTC)     03-cv-9849   at 231               Parent    3666 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
2603                             Joseph      Christopher   Micciulli         United States   Deanna        Micciulli   Galante                     United States 9/11/01   NY (WTC)     03-cv-9849   26, at 213           Sibling   3666 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     1:02-cv-01616, 1,
2604                             Margaret    Ann           Micciulli         United States   Deanna        Micciulli   Galante                     United States 9/11/01   NY (WTC)     03-cv-9849   at 232               Parent    3666 at 5    $   8,500,000.00 $    25,500,000.00



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                                                                             Case 1:03-md-01570-GBD-SN Document 9551-2 Filed 01/19/24 Page 98 of 165
                                                                                                                               EXHIBIT B-1
                                                                                                            SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                                            1:02-cv-01616, 1,
2605                               Tina        Louise    Micciulli                 United States   Deanna        Micciulli   Galante                      United States 9/11/01   NY (WTC)     03-cv-9849   at 233              Sibling   3666 at 5     $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            1:02-cv-01616, 3,
2606                               Mary        L.        Middleton                 United States   James         Thomas      Murphy                       Unknown      9/11/01    NY (WTC)     03-cv-9849   at 1486             Spouse    5848 at 8     $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                            1:02-cv-01616, 3,
2607                               Alfred                Milano                    United States   Peter         T.          Milano                       United States 9/11/01   NY (WTC)     03-cv-9849   at 1453             Sibling   3382          $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            1:02-cv-01616, 3,
2608                               Frank                 Milano                    Unknown         Peter         T.          Milano                       United States 9/11/01   NY (WTC)     03-cv-9849   at 1454             Sibling   3382          $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            1:02-cv-01616, 3,
2609                               Thomas                Milano                    United States   Peter         T.          Milano                       United States 9/11/01   NY (WTC)     03-cv-9849   at 1455             Sibling   3382          $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            1:02-cv-01616,
2610                               Adele                 Milanowycz                United States   Gregory                   Milanowycz                   United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3900     Parent    4023 at 18    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:02-cv-01616,
2611                               Joseph      Michael   Milanowycz                United States   Gregory                   Milanowycz                   United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3899     Parent    4023 at 18    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:02-cv-01616,
2612                               Steven                Milanowycz                United States   Gregory                   Milanowycz                   United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2668        Sibling   4023 at 18    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            1:02-cv-01616,
2613                               Adam        Eric      Miller                    United States   Joel                      Miller                       Unknown      9/11/01    NY (WTC)     03-cv-9849   26, 29, at 3904     Child     5062 at 5     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:03-md-01570,
2614                               Catherine   Mary      Miller                    United States   Robert        C.          Kennedy                      United States 9/11/01   NY (WTC)     03-cv-9849   432, at P5384       Child     5061 at 8     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:02-cv-01616,
2615                               Claire      Angell    Miller                    United States   David         Lawrence    Angell                       United States 9/11/01   NY (AA11)    03-cv-9849   305, at P4110       Sibling   3389-1 at 2   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                            26, 29, at 3907,
                                                                                                                                                                                                            8397-1, at 19,
2616 Tiffney   Marie    de Vries   David       James     Miller                    Unknown         Nicole        Carol       Miller                       United States 9/11/01   PA (UA93)    03-cv-9849   8433                Parent    5087 at 14    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:03-cv-09849,
                                                                                                                                                                                                            843, at 14; 8679-
2617                               David       Scott     Miller                    United States   Nicole        Carol       Miller                       United States 9/11/01   PA (UA93)    03-cv-9849   1, at 320, 8696     Sibling   5848 at 8     $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                            26, 29, at 3917,
                                                                                                                                                                                                            8397-1, at 19,
2618 Clara     Belle    Miller     James       Ronald    Miller                    United States   Robert        C.          Miller             Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8433                Sibling   3666 at 9     $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            8679-1, at 427,
2619                               Karen       Ann       Miller                    United States   John          A.          Santore                      United States 9/11/01   NY (Other)   03-cv-9849   8696                Sibling   7188 at 13    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                            432, at P4972,
                                                                                                                                                                                                            8393-1, at 60,
2620                               Michele     Jan       Miller                    United States   Mitchel       Scott       Wallace                      United States 9/11/01   NY (Other)   03-cv-9849   8487                Sibling   4023 at 25    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            1:02-cv-01616,
2621                               Mitoko                Miller                    United States   Robert        C.          Miller             Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3915     Spouse    5061 at 10    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                            1:02-cv-01616,
2622                               Terry       Richard   Miller                    Unknown         Robert        C.          Miller             Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3916     Sibling   3666 at 9     $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                            1:02-cv-01616,
2623                               Charles     M.        Mills               III   United States   Charles       M.          Mills              II        Unknown      9/11/01    NY (WTC)     03-cv-9849   155, at P3033       Child     8233 at 5     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:02-cv-01616,
2624                               Vincent     A.        Milotta                   United States   Joann                     Tabeek                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4511     Spouse    5951 at 7     $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                            1:02-cv-01616, 3,
2625                               Christian             Minara                    United States   Robert                    Minara                       United States 9/11/01   NY (Other)   03-cv-9849   at 1468             Child     5087 at 14    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                            26, 29, at 3920,
                                                                                                                                                                                                            8397-1, at 19,
2626 Peter     Joseph   Porcelli   Paula       A.        Minara                    United States   Robert                    Minara                       United States 9/11/01   NY (Other)   03-cv-9849   8433                Spouse    5848 at 8     $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                            1:02-cv-01616, 3,
2627                               Ryan        Paul      Minara                    United States   Robert                    Minara                       United States 9/11/01   NY (Other)   03-cv-9849   at 1467             Child     5087 at 14    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:02-cv-01616,
2628                               Antonina              Mingione                  United States   Thomas                    Mingione                     Unknown      9/11/01    NY (Other)   03-cv-9849   26, 29, at 2185     Parent    5138 at 6     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:02-cv-01616,
2629                               Gerald                Mingione                  United States   Thomas                    Mingione                     Unknown      9/11/01    NY (Other)   03-cv-9849   26, 29, at 2184     Parent    5138 at 6     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                            305, at P4572,
                                                                                                                                                                                  VA                        8393-1, at 333,
2630                               Kelsie      Sarae     Minor                     United States   Dwayne                    Williams                     United States 9/11/01   (Pentagon)   03-cv-9849   8487                Child     5087 at 21    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:03-md-01570,
2631                               Joseph      J.        Mistrulli                 Unknown         Joseph        D.          Mistrulli                    United States 9/11/01   NY (WTC)     03-cv-9849   3477, at 2477       Child     3382          $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                            232, at P3849,
                                                                                                                                                                                                            8393-1, at 41,
2632                               Philomena             Mistrulli                 Unknown         Joseph        D.          Mistrulli                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                Spouse    3382          $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                            232, at P3849,
                                                                                                                                                                                                            8393-1, at 655,
2633                               Angela      Marie     Mistrulli-Cantone         United States   Joseph        D.          Mistrulli                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     3382          $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                            1:03-md-01570,
2634                               Mary        Ann       Mistrulli-Rosser          United States   Joseph        D.          Mistrulli                    United States 9/11/01   NY (WTC)     03-cv-9849   3477, at 2478       Child     3382          $   8,500,000.00 $    25,500,000.00




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                                                                                                                              EXHIBIT B-1
                                                                                                           SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                 United States   Richard        J.        Stadelberger                                        NY (WTC)                  8679-1, at 444,
2635                                   Bryant      Taylor       Mitchell                                                                              United States 9/11/01                03-cv-9849   8696                 Step-Child   8293 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616, 1,
2636                                   Christine   Diane        Mitchell         United States   Paul           T.        Mitchell                    United States 9/11/01   NY (Other)   03-cv-9849   at 391               Child        5087 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616, 1,
2637                                   Jennifer    Maureen      Mitchell         United States   Paul           T.        Mitchell                    United States 9/11/01   NY (Other)   03-cv-9849   at 392               Child        5061 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
2638                                   Marie       D.           Mitchell         United States   Paul           T.        Mitchell                    United States 9/11/01   NY (Other)   03-cv-9849   432, at P4892        Sibling      4126 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616, 1,
                                                                                                                                                                                                        at 390, 8393-1, at
2639                                   Maureen     Frances      Mitchell         United States   Paul           T.        Mitchell                    United States 9/11/01   NY (Other)   03-cv-9849   64, 8487             Spouse       5087 at 14   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
2640                                   Nilvia                   Mitchell         United States   Cesar          A.        Murillo                     Unknown      9/11/01    NY (WTC)     03-cv-9849   232, at P3859        Parent       3666 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616, 1,
                                                                                                                                                                                                        at 394, 8393-1, at
2641                                   Joyce                    Miuccio          United States   Richard        P.        Miuccio                     United States 9/11/01   NY (WTC)     03-cv-9849   68, 8487             Spouse       5087 at 14   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                        1:02-cv-01616, 1,
2642                                   Owen        Richard      Miuccio          United States   Richard        P.        Miuccio                     United States 9/11/01   NY (WTC)     03-cv-9849   at 395               Child        4023 at 18   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:03-cv-9849,
                                                                                                                                                                                                        HAND FILED, at
                                                                                                                                                                                                        P5186, 8397-1, at
2643 Robert           Miuccio    Jr.   Robert      Peter        Miuccio    Sr.   Unknown         Richard        P.        Miuccio                     United States 9/11/01   NY (WTC)     03-cv-9849   19, 8433             Sibling      5138 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616, 1,
2644                                   Thomas      Paul         Miuccio          United States   Richard        P.        Miuccio                     United States 9/11/01   NY (WTC)     03-cv-9849   at 397               Child        5848 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        305, at P4436,
                                                                                                                                                                                                        8393-1, at 543,
2645                                   Daniel      Joseph       Mladenik         United States   Jeffrey        P.        Mladenik                    United States 9/11/01   NY (AA11)    03-cv-9849   8487                 Child        5062 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        305, at P4436,
                                                                                                                                                                                                        8393-1, at 544,
2646                                   Grace       Fu Youjuan   Mladenik         United States   Jeffrey        P.        Mladenik                    United States 9/11/01   NY (AA11)    03-cv-9849   8487                 Child        5062 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:03-cv-09849,
                                                                                                                                                                                                        843, at 17; 8679-
2647                                   Joshua      J.           Mladenik         United States   Jeffrey        P.        Mladenik                    United States 9/11/01   NY (AA11)    03-cv-9849   1, at 323, 8696      Child        5061 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        305, at P4438,
                                                                                                                                                                                                        8397-1, at 19,
2648 Scott    Louis   Mladenik         Kathleen                 Mladenik         United States   Jeffrey        P.        Mladenik                    United States 9/11/01   NY (AA11)    03-cv-9849   8433                 Parent       5138 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:03-cv-09849,
                                                                                                                                                                                                        843, at 16; 8679-
2649                                   Kelly       Suzanne      Mladenik         United States   Jeffrey        P.        Mladenik                    United States 9/11/01   NY (AA11)    03-cv-9849   1, at 322, 8696      Child        5061 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
2650                                   Michael     Richard      Mladenik         United States   Jeffrey        P.        Mladenik                    United States 9/11/01   NY (AA11)    03-cv-9849   305, at P4440        Sibling      4023 at 18   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        305, at P4437,
                                                                                                                                                                                                        8397-1, at 19,
2651 Scott    Louis   Mladenik         Richard                  Mladenik         United States   Jeffrey        P.        Mladenik                    United States 9/11/01   NY (AA11)    03-cv-9849   8433                 Parent       5138 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
2652                                   Scott       Louis        Mladenik         United States   Jeffrey        P.        Mladenik                    United States 9/11/01   NY (AA11)    03-cv-9849   305, at P4439        Sibling      4126 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        305, at P4436,
                                                                                                                                                                                                        8393-1, at 34,
2653                                   Suzanne     S.           Mladenik         United States   Jeffrey        P.        Mladenik                    United States 9/11/01   NY (AA11)    03-cv-9849   8487                 Spouse       5062 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                        1:02-cv-01616, 1,
                                                                                                                                                                                                        at 897, 8393-1, at
2654                                   Carl        E.           Molinaro         United States   Carl           Eugene    Molinaro                    United States 9/11/01   NY (WTC)     03-cv-9849   123, 8487            Child        5138 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616, 1,
                                                                                                                                                                                                        at 897, 8393-1, at
2655                                   Donna                    Molinaro         United States   Carl           Eugene    Molinaro                    United States 9/11/01   NY (WTC)     03-cv-9849   8, 8487              Spouse       5087 at 14   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                        1:02-cv-01616, 1,
2656                                   Eugene                   Molinaro         Unknown         Carl           Eugene    Molinaro                    United States 9/11/01   NY (WTC)     03-cv-9849   at 400               Parent       3666 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616, 1,
2657                                   Joan        Olivia       Molinaro         Unknown         Carl           Eugene    Molinaro                    United States 9/11/01   NY (WTC)     03-cv-9849   at 399               Parent       3666 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616, 1,
2658                                   Lawrence    Charles      Molinaro         Unknown         Carl           Eugene    Molinaro                    United States 9/11/01   NY (WTC)     03-cv-9849   at 401               Sibling      3666 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616, 1,
                                                                                                                                                                                                        at 897, 8393-1, at
2659                                   Sabrina     Rose         Molinaro         United States   Carl           Eugene    Molinaro                    United States 9/11/01   NY (WTC)     03-cv-9849   124, 8487            Child        5087 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
2660                                   Bernard     J.           Monaghan         United States   Brian          Patrick   Monaghan                    United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2196      Parent       4126 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
2661                                   Jeanne      Ann          Monaghan         United States   Brian          Patrick   Monaghan                    United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3851        Parent       4126 at 6    $   8,500,000.00 $    25,500,000.00




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                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                               26, 29, at 2200,
2662   Franklyn                Monahan           Jr.   Unknown         Franklyn                 Monahan                      United States 9/11/01   NY (WTC)     03-cv-9849   8466-1, at 3, 8487   Child     7188 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                               8679-1, at 325,
2663   James                   Monahan                 United States   Franklyn                 Monahan                      United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                               8679-1, at 326,
2664   Kevin       Brian       Monahan                 United States   Franklyn                 Monahan                      United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                               1:02-cv-01616,
2665   Matthew                 Monahan                 United States   Franklyn                 Monahan                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2200      Child     5061 at 10   $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                               26, 29, at 2200,
2666   Megan                   Monahan                 Unknown         Franklyn                 Monahan                      United States 9/11/01   NY (WTC)     03-cv-9849   8466-1, at 3, 8487   Child     7188 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                               8679-1, at 324,
2667   Timothy                 Monahan                 United States   Franklyn                 Monahan                      United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Child     7188 at 11   $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                               26, 29, at 2492,
2668   Caren       A.          Montano                 United States   Craig         D.         Montano                      United States 9/11/01   NY (WTC)     03-cv-9849   5284-1, at 8, 5296   Spouse    5087 at 14   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                               26, 29, at 2492,
                                                                                                                                                                               8393-1, at 212,
2669   Christa     Anna        Montano                 United States   Craig         D.         Montano                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                               26, 29, at 2492,
                                                                                                                                                                               8393-1, at 213,
2670   Liam        Frederick   Montano                 United States   Craig         D.         Montano                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                               26, 29, at 2492,
                                                                                                                                                                               8393-1, at 214,
2671   Lukas       Richard     Montano                 United States   Craig         D.         Montano                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                               8679-1, at 327,
2672   Richard     Louis       Montano           Jr.   United States   Craig         D.         Montano                      United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   5087 at 14   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                               26, 29, at 3945,
                                                                                                                                                                               8393-1, at 915,
2673   Ian                     Montesi                 United States   Michael       G.         Montesi                      United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5138 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                               26, 29, at 3945,
                                                                                                                                                                               8393-1, at 916,
2674   Matthew     J.          Montesi                 United States   Michael       G.         Montesi                      United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5138 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                               1:02-cv-01616,
2675   Nancy       Eileen      Montesi                 United States   Michael       G.         Montesi                      United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3945      Spouse    5138 at 6    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                               26, 29, at 3945,
                                                                                                                                                                               8393-1, at 917,
2676   Ryan                    Montesi                 United States   Michael       G.         Montesi                      United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5138 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                               1:02-cv-01616,
2677   Maria       E.          Montesi-Lauria          United States   Michael       G.         Montesi                      United States 9/11/01   NY (Other)   03-cv-9849   155, at P3034        Sibling   5848 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                               1:02-cv-01616,
2678   Janice      Lynn        Montoya                 Unknown         John          William    Perry                        United States 9/11/01   NY (Other)   03-cv-9849   432, at P4925        Sibling   3382         $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                               1:02-cv-01616,
2679   Doris       Marie       Monyak                  United States   Cheryl        Ann        Monyak                       United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4894        Parent    4023 at 18   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                               432, at P4893,
                                                                                                                                                                               1:02-cv-01616, 1,
                                                                                                                                                                               at 363, 8393-1, at
2680   Michael     Joseph      Monyak                  United States   Cheryl        Ann        Monyak                       United States 9/11/01   NY (WTC)     03-cv-9849   9, 8487              Sibling   4023 at 18   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                               1:02-cv-01616,
2681   Eugene                  Moore                   United States   Sharon                   Moore                        United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4895        Parent    5062 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                               1:02-cv-01616,
2682   Rayburn                 Moore                   United States   Sharon                   Moore                        United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4897        Sibling   4023 at 19   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                               1:02-cv-01616,
2683   Susan                   Moore                   United States   Stephen       Gordon     Ward                         United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4665      Sibling   5979 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                               1:02-cv-01616,
2684   Pamela      Marie       Morace                  United States   Thomas                   Pedicini                     United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4481        Sibling   4023 at 20   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                               1:02-cv-01616,
2685   Annamaria               Morales                 Unknown         Ricardo       J.         Quinn                        United States 9/11/01   NY (WTC)     03-cv-9849   313, at P4707        Parent    3666 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                               1:02-cv-01616,
2686   Anne        Marie       Moran                   United States   Thomas        Gerard     O'Hagan                      United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4063      Sibling   4023 at 19   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                               1:02-cv-01616,
2687   Mary        Ellen       Moran                   United States   Mark          Lawrence   Bavis                        United States 9/11/01   NY (UA175)   03-cv-9849   232, at P4046        Sibling   4023 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                               1:02-cv-01616,
2688   Mary Ann                Moran                   United States   Kathleen                 Moran                        Unknown      9/11/01    NY (WTC)     03-cv-9849   155, at P3036        Sibling   4023 at 19   $   4,250,000.00 $    12,750,000.00




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                                                                                                                                                                                                                        1:02-cv-01616, 1,
2689                                        Theodore    C.            Morehouse                 United States   Lindsay       S.         Morehouse                    United States 9/11/01   NY (WTC)     03-cv-9849   at 404               Parent    5061 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                        1:02-cv-01616, 3,
                                                                                                                                                                                                                        at 1788, 5284-1,
2690                                        Catherine   Marie         Morgan                    United States   Richard       J.         Morgan                       Unknown      9/11/01    NY (Other)   03-cv-9849   at 8, 5296           Child     4126 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                        1:02-cv-01616, 3,
2691                                        Glenn       Patrick       Morgan                    United States   Richard       J.         Morgan                       Unknown      9/11/01    NY (Other)   03-cv-9849   at 1473              Child     5062 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                        1:02-cv-01616, 3,
2692                                        Kevin       Jude          Morgan                    United States   Richard       J.         Morgan                       Unknown      9/11/01    NY (Other)   03-cv-9849   at 1474              Child     4023 at 19   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                        1:02-cv-01616, 3,
2693                                        Nykiah      Noelle        Morgan                    United States   Dorothy       R.         Morgan                       United States 9/11/01   NY (WTC)     03-cv-9849   at 1471              Child     4023 at 19   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                        1:02-cv-01616,
2694                                        Natalie     Mary          Moriarty                  United States   Thomas        J.         McCann                       United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3792      Sibling   3666 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                        1:02-cv-01616,
2695                                        Amy         Ruth          Morik                     United States   Todd          Joseph     Ouida                        United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3874        Sibling   4126 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                        1:02-cv-01616, 3,
2696                                        Debra                     Morri                     United States   Joseph                   Maffeo                       United States 9/11/01   NY (Other)   03-cv-9849   at 1395              Sibling   4023 at 17   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                        1:02-cv-01616,
2697                                        Christine   Marie         Morris                    United States   Lynne         Irene      Morris                       United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3854        Sibling   4023 at 19   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                        1:02-cv-01616,
2698                                        Edward      Gerard Charles Morris                   United States   Lynne         Irene      Morris                       United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3855        Sibling   4023 at 19   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                        1:02-cv-01616,
2699                                        Gay         Lynette       Morris                    Australia       Wendy         Ruth       Faulkner                     United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4838        Sibling   4023 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                        232, at P3856,
                                                                                                                                                                                                                        8393-1, at 51,
2700                                        Harold      Charles       Morris              Jr.   United States   Lynne         Irene      Morris                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    4023 at 19   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                        26, 29, at 3954,
                                                                                                                                                                                                                        8393-1, at 1209,
2701                                        Hayley      Shaw          Morris                    United States   Seth          A.         Morris                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5848 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                        26, 29, at 3954,
                                                                                                                                                                                                                        8393-1, at 1210,
2702                                        Kyle        Bailey        Morris                    United States   Seth          A.         Morris                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5848 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                        432, at P4836,
                                                                                                                                                                                                                        8397-1, at 20,
2703 Jeanette   Esther   Morris-Friedrich   Lorna       C.            Morris                    Australia       Wendy         Ruth       Faulkner                     United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    3666 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                        26, 29, at 3954,
                                                                                                                                                                                                                        8393-1, at 1211,
2704                                        Madilynn    Elizabeth     Morris                    United States   Seth          A.         Morris                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5848 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                        1:02-cv-01616,
2705                                        Michele                   Morris                    United States   Rita                     Blau                         United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2692      Child     4023 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                        232, at P3857,
                                                                                                                                                                                                                        8393-1, at 51,
2706                                        Patricia    Marie         Morris                    United States   Lynne         Irene      Morris                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    4023 at 19   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                        1:02-cv-01616,
2707                                        Jeanette    Esther        Morris-Friedrich          United States   Wendy         Ruth       Faulkner                     United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4837        Sibling   4126 at 5    $   4,250,000.00 $    12,750,000.00

                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                        26, 29, at 4807,
2708                                        Cara        Ann           Morrison                  United States   Christopher   Martel     Morrison                     Unknown      9/11/01    NY (WTC)     03-cv-9849   5284-1, at 8, 5296   Sibling   4023 at 19   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                        26, 29, at 4804,
                                                                                                                                                                                                                        5284-1, at 8,
                                                                                                                                                                                                                        5296, 8397-1, at
2709 Mark       W.       Merritt            Joseph      Edward        Morrison                  United States   Christopher   Martel     Morrison                     Unknown      9/11/01    NY (WTC)     03-cv-9849   20, 8433             Parent    4126 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                        26, 29, at 4805,
                                                                                                                                                                                                                        5284-1, at 8,
                                                                                                                                                                                                                        5296, 8397-1, at
2710 Mark       W.       Merritt            Maureen     Ann           Morrison                  United States   Christopher   Martel     Morrison                     Unknown      9/11/01    NY (WTC)     03-cv-9849   20, 8433             Parent    4023 at 19   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                        1:02-cv-01616,
2711                                        Lynn                      Morris-Piccolo            United States   Seth          A.         Morris                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3954      Spouse    5138 at 6    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                        1:02-cv-01616,
2712                                        Kelly       Bavis         Morrissey                 United States   Mark          Lawrence   Bavis                        United States 9/11/01   NY (UA175)   03-cv-9849   232, at P4047        Sibling   4023 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                        1:02-cv-01616, 1,
                                                                                                                                                                                                                        at 59, 8393-1, at
2713                                        Dina        Marie         Morton                    United States   Denise        Lenore     Benedetto                    United States 9/11/01   NY (WTC)     03-cv-9849   277, 8487            Child     5087 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                        1:02-cv-01616,
2714                                        Eileen      Ann           Mosca                     United States   Kathleen      Ann Hunt   Casey                        Unknown      9/11/01    NY (WTC)     03-cv-9849   432, at P4791        Sibling   3666 at 2    $   4,250,000.00 $    12,750,000.00




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                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   26, 29, at 2481,
                                                                                                                                                                                                   5284-1, at 11,
2715                        Michele     Sherry      Mosca                  United States   John          Anthony    Sherry                       United States 9/11/01   NY (WTC)     03-cv-9849   5296                 Sibling   4023 at 23   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616,
2716                        Gayle       Michelle    Mosenson               United States   Andrew        Steven     Zucker                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4770      Sibling   3666 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616, 1,
                                                                                                                                                                                                   at 408, 8393-1, at
2717                        Andrew      Robert      Moskal                 United States   William       David      Moskal                       United States 9/11/01   NY (WTC)     03-cv-9849   1405, 8487           Child     5061 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   8679-1, at 329,
2718                        Jessica     Ann         Moskal                 United States   William       David      Moskal                       United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Child     5848 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616, 1,
2719                        Lorraine                Moskal                 United States   William       David      Moskal                       United States 9/11/01   NY (WTC)     03-cv-9849   at 408               Spouse    5087 at 14   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                   1:03-md-01570,
2720                        Maureen                 Most                   United States   David         Michael    Ruddle                       Unknown      9/11/01    NY (WTC)     03-cv-9849   432, at P5436        Sibling   4023 at 22   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616,
2721                        Daniel                  Mozzillo               United States   Christopher   Michael    Mozzillo                     United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3965      Sibling   4023 at 19   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616,
2722                        Lydia       Theresa     Mozzillo               United States   Christopher   Michael    Mozzillo                     United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2205      Parent    5062 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   26, 29, at 2204,
                                                                                                                                                                                                   8393-1, at 11,
2723                        Michael                 Mozzillo               United States   Christopher   Michael    Mozzillo                     United States 9/11/01   NY (Other)   03-cv-9849   8487                 Parent    5062 at 5    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   26, 29, at 2516,
2724                        Pamela                  Mozzillo-Yarosz        United States   Christopher   Michael    Mozzillo                     United States 9/11/01   NY (Other)   03-cv-9849   5284-1, at 8, 5296   Sibling   4023 at 19   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616,
2725                        Sosamma                 Mukkadan               Unknown         Valsa                    Raju                         United States 9/11/01   NY (WTC)     03-cv-9849   313, at P4713        Sibling   3666 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:03-cv-9849,
                                                                                                                                                                                                   HAND FILED, at
                                                                                                                                                                                                   P5199, 8393-1, at
2726                        Constance               Muldowney              United States   Richard                  Muldowney                    United States 9/11/01   NY (Other)   03-cv-9849   68, 8487             Spouse    5087 at 14   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                   1:02-cv-01616, 3,
2727                        Nancy       Jeanne      Mulligan               United States   Peter         James      Mulligan                     United States 9/11/01   NY (WTC)     03-cv-9849   at 1482              Parent    4023 at 19   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616, 1,
2728                        Sara        Kavanagh    Mulligan Wightman      United States   Peter         James      Mulligan                     United States 9/11/01   NY (WTC)     03-cv-9849   at 409               Spouse    5061 at 10   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
2729 Lynn   Anne   Mullin   Fredric     J.          Mullin                 Unknown         Michael       Joseph     Mullin                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3979      Parent    5138 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
2730                        Lynn        Anne        Mullin                 Unknown         Michael       Joseph     Mullin                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3978      Parent    5138 at 6    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                   1:02-cv-01616,
2731                        Sharon      K.          Mullin                 United States   Stephen       Patrick    Cherry                       United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3636        Parent    4023 at 8    $   8,500,000.00 $    25,500,000.00
2732                        Amanda      Mary        Mullins                United States   Ronald        Franklin   Golinski                     United States 9/11/01   (Pentagon)   03-cv-9849   155, at P2906        Child     5062 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   26, 29, at 2208,
                                                                                                                                                                                                   8393-1, at 30,
2733                        Lauren      Elizabeth   Munhall                United States   James         Donald     Munhall                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     7188 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   26, 29, at 2208,
                                                                                                                                                                                                   8393-1, at 30,
2734                        Susan       King        Munhall                United States   James         Donald     Munhall                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5061 at 10   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                   1:03-cv-9849,
                                                                                                                                                                                                   HAND FILED, at
                                                                                                                                                                                                   P5201, 8393-1, at
2735                        Christine   M.          Munson                 United States   Theresa       Ann        Munson                       United States 9/11/01   NY (WTC)     03-cv-9849   80, 8487             Child     4023 at 19   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   232, at P3858,
                                                                                                                                                                                                   8393-1, at 1136,
2736                        Hayley      Noelle      Murach                 United States   Robert                   Murach                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5356 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   232, at P3858,
                                                                                                                                                                                                   8393-1, at 70,
2737                        Laurie      Ann         Murach                 United States   Robert                   Murach                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5848 at 8    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   232, at P3858,
                                                                                                                                                                                                   8393-1, at 1137,
2738                        Madison     Zoe         Murach                 United States   Robert                   Murach                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5356 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   Pending Motion
2739                        Ann         M.          Murphy                 United States   Brian         J.         Murphy                       United States 9/11/01   NY           03-cv-9849   at ECF No. 9533
                                                                                                                                                                                                   1:02-cv-01616,       Sibling   5139 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   155, at P3038,
                                        Goldsborough                                                                                                                                               8393-1, at 12,
2740                        Catherine   White        Murphy                United States   Christopher   W.         Murphy                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5087 at 14   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                   Pending Motion
2741                        Cynthia     L.          Murphy                 United States   Brian         J.         Murphy                       United States 9/11/01   NY           03-cv-9849   at ECF No. 9533      Sibling   5139 at 3    $   4,250,000.00 $    12,750,000.00




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                                                                                                                                      EXHIBIT B-1
                                                                                                                   SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                                               1:02-cv-01616,
2742                                               Daniel     William    Murphy          United States   Edward         Charles   Murphy                     United States 9/11/01   NY (WTC)     03-cv-9849   232, at P4076       Sibling   4023 at 19    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:03-cv-9849,
                                                                                                                                                                                                               HAND FILED, at
                                                                                                                                                                                                               P5203, 8397-1, at
2743 Lori-Jean                           Murphy    Dolores    Barbara    Murphy          United States   Patrick        Sean      Murphy                     Unknown      9/11/01    NY (WTC)     03-cv-9849   20, 8433            Parent    3666 at 9     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:18-cv-11515, 1,
                                                                                                                                                                                                               at 59; 8679-1, at
2744                                               Edward     Joseph     Murphy          Unknown         Raymond        E.        Murphy          Sr.        United States 9/11/01   NY (Other)   03-cv-9849   338, 8696           Sibling   5848 at 8     $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               232, at P3861,
                                         Murphy;                                                                                                                                                               8397-1, at 20,
2745 Daniel; Richard   William; Edward   Murphy    Evelyn     M.         Murphy          United States   Edward         Charles   Murphy                     United States 9/11/01   NY (WTC)     03-cv-9849   8433                Parent    5138 at 6     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:03-cv-09849,
                                                                                                                                                                                                               841, at 13; 8679-
2746                                               Francis    Gerard     Murphy          United States   James          Thomas    Murphy                     Unknown      9/11/01    NY (WTC)     03-cv-9849   1, at 335, 8696     Sibling   5062 at 5     $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               155, at P3038,
                                                                                                                                                                                                               8393-1, at 190,
2747                                               Hannah                Murphy          United States   Christopher    W.        Murphy                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     5087 at 14    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               Pending Motion
2748                                               Harold     A.         Murphy          United States   Brian          J.        Murphy                     United States 9/11/01   NY           03-cv-9849   at ECF No. 9533     Sibling   5139 at 3     $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               155, at P3038,
                                                                                                                                                                                                               8393-1, at 189,
2749                                               Hopewell              Murphy          United States   Christopher    W.        Murphy                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     5087 at 14    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616, 3,
                                                                                                                                                                                                               at 1486, 8393-1,
2750                                               James      Thomas     Murphy    Jr.   United States   James          Thomas    Murphy                     Unknown      9/11/01    NY (WTC)     03-cv-9849   at 508, 8487        Child     5356 at 4     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
2751                                               Joan       Virginia   Murphy          United States   James          Thomas    Murphy                     Unknown      9/11/01    NY (WTC)     03-cv-9849   26, 29, at 3986     Parent    5062 at 5     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               Pending Motion
2752                                               Judith     Bram       Murphy          United States   Brian          J.        Murphy                     United States 9/11/01   NY           03-cv-9849   at ECF No. 9533     Spouse    4880 at 622   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                               1:03-md-01570,
2753                                               Kathleen   Marie      Murphy          United States   James          Francis   Murphy                     Unknown      9/11/01    NY (WTC)     03-cv-9849   432, at P5414       Sibling   5061 at 10    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               8679-1, at 337,
2754                                               Kenneth    George     Murphy          United States   Raymond        E.        Murphy          Sr.        United States 9/11/01   NY (Other)   03-cv-9849   8696                Sibling   5848 at 8     $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:03-md-01570,
2755                                               Kristin    M.         Murphy          United States   James          Francis   Murphy                     Unknown      9/11/01    NY (WTC)     03-cv-9849   432, at P5416       Sibling   5356 at 4     $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               26, 29, at 3990,
                                                                                                                                                                                                               8393-1, at 67,
2756                                               Linda      Marie      Murphy          United States   Raymond        E.        Murphy          Sr.        United States 9/11/01   NY (Other)   03-cv-9849   8487                Spouse    5061 at 10    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                               1:03-cv-09849,
                                                                                                                                                                                                               841, at 14; 8679-
2757                                               Mark       Eugene     Murphy          United States   James          Thomas    Murphy                     Unknown      9/11/01    NY (WTC)     03-cv-9849   1, at 330, 8696     Sibling   5062 at 5     $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616, 3,
                                                                                                                                                                                                               at 1486, 8393-1,
2758                                               Meredith   James      Murphy          United States   James          Thomas    Murphy                     Unknown      9/11/01    NY (WTC)     03-cv-9849   at 509, 8487        Child     5356 at 4     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:03-cv-09849,
                                                                                                                                                                                                               841, at 15; 8679-
2759                                               Michael    Thomas     Murphy          United States   James          Thomas    Murphy                     Unknown      9/11/01    NY (WTC)     03-cv-9849   1, at 334, 8696     Sibling   5848 at 8     $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616, 3,
                                                                                                                                                                                                               at 1486, 8393-1,
2760                                               Morgan     Shay       Murphy          United States   James          Thomas    Murphy                     Unknown      9/11/01    NY (WTC)     03-cv-9849   at 510, 8487        Child     5356 at 4     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               26, 29, at 3991,
                                                                                                                                                                                                               8397-1, at 20,
2761 Linda             Marie             Murphy    Raymond               Murphy    Jr.   United States   Raymond        E.        Murphy          Sr.        United States 9/11/01   NY (Other)   03-cv-9849   8433                Child     5061 at 10    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
2762                                               Richard    Edward     Murphy          United States   Edward         Charles   Murphy                     United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3862       Sibling   4023 at 19    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               8679-1, at 336,
2763                                               Robert     Edward     Murphy          United States   Raymond        E.        Murphy          Sr.        United States 9/11/01   NY (Other)   03-cv-9849   8696                Sibling   5848 at 8     $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               26, 29, at 3990,
                                                                                                                                                                                                               8393-1, at 1075,
2764                                               Sean       Michael    Murphy          United States   Raymond        E.        Murphy          Sr.        United States 9/11/01   NY (Other)   03-cv-9849   8487                Child     5087 at 14    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               8679-1, at 333,
2765                                               Sean       Patrick    Murphy          United States   James          Thomas    Murphy                     Unknown      9/11/01    NY (WTC)     03-cv-9849   8696                Sibling   515 at 5      $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:03-cv-9849,
                                                                                                                                                                                                               HAND FILED, at
                                                                                                                                                                                                               P5202, 8397-1, at
2766 Lori-Jean                           Murphy    Thomas     Joseph     Murphy          United States   Patrick        Sean      Murphy                     Unknown      9/11/01    NY (WTC)     03-cv-9849   20, 8433            Parent    3666 at 9     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
2767                                               Thomas     Joseph     Murphy          United States   James          Thomas    Murphy                     Unknown      9/11/01    NY (WTC)     03-cv-9849   26, 29, at 3988     Sibling   4023 at 19    $   4,250,000.00 $    12,750,000.00




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                                                                                                                                                                                                                                    1:02-cv-01616,
2768 Joan              Virginia          Murphy           William       Charles       Murphy           Jr.   United States   James          Thomas    Murphy                      Unknown      9/11/01    NY (WTC)     03-cv-9849   26, 29, at 3985       Parent    5062 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                    1:02-cv-01616,
2769                                                      William       C.            Murphy           III   United States   James          Thomas    Murphy                      Unknown      9/11/01    NY (WTC)     03-cv-9849   26, 29, at 3987       Sibling   7188 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                    1:03-cv-09849,
                                                                                                                                                                                                                                    841, at 17; 8679-
2770                                                      Diane         Virginia      Murphy-Boiven          United States   James          Thomas    Murphy                      Unknown      9/11/01    NY (WTC)     03-cv-9849   1, at 332, 8696       Sibling   5062 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                    1:03-cv-09849,
                                                                                                                                                                                                                                    841, at 16; 8679-
2771                                                      Joan          Patricia      Murphy-Wolf            United States   James          Thomas    Murphy                      Unknown      9/11/01    NY (WTC)     03-cv-9849   1, at 331, 8696       Sibling   5062 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                    26, 29, at 2213,
                                                                                                                                                                                                                                    8393-1, at 613,
2772                                                      Alyson        Rose          Murray                 United States   John           J.        Murray                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                  Child     5356 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                    1:02-cv-01616,
2773                                                      Mary          Louise        Murray                 United States   John           J.        Murray                      United States 9/11/01   NY (WTC)     03-cv-9849   155, at P3040         Parent    5138 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                    1:02-cv-01616,
2774                                                      Michael       Christopher   Murray                 United States   John           J.        Murray                      United States 9/11/01   NY (WTC)     03-cv-9849   155, at P3041         Sibling   3666 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                    1:02-cv-01616, 1,
                                                                                                                                                                                                                                    at 770, 7964, at 2,
                                                                                                                                                                                                                                    7980, 8397-1, at
2775 John                                Murray           Patricia      Helen         Murray                 United States   John           Joseph    Murray           Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   20, 8433              Spouse    8233 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                    1:02-cv-01616,
2776                                                      Philip        J.            Murray                 United States   John           J.        Murray                      United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3865         Sibling   4126 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                    155, at P3042,
                                                                                                                                                                                                                                    8397-1, at 20,
2777 Michael; Philip   Christopher; J.   Murray; Murray   Philip        C.            Murray                 United States   John           J.        Murray                      United States 9/11/01   NY (WTC)     03-cv-9849   8433                  Parent    5061 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                    1:02-cv-01616,
2778                                                      Rosemary      Owens         Murray                 United States   John           J.        Murray                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2213       Spouse    5356 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                    1:02-cv-01616, 1,
2779                                                      Jessica                     Murrow-Adams           United States   Stephen        George    Adams                       United States 9/11/01   NY (WTC)     03-cv-9849   at 30                 Spouse    5061 at 3    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                    1:02-cv-01616,
2780                                                      J.            B.            N.                     United States   John           B.        Niven                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2223       Child     8233 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                    1:02-cv-01616, 3,
2781                                                      Baldev                      Narula                 United States   Manika                   Narula                      United States 9/11/01   NY (WTC)     03-cv-9849   at 1489               Parent    5151 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                    1:02-cv-01616, 3,
2782                                                      Madhu         Kaur          Narula                 United States   Manika                   Narula                      United States 9/11/01   NY (WTC)     03-cv-9849   at 1490               Parent    5087 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                    155, at P3043,
                                                                                                                                                                                                                                    8393-1, at 75,
2783                                                      Margaret      Marion        Nassaney               United States   Shawn          Michael   Nassaney                    United States 9/11/01   NY (UA175)   03-cv-9849   8487                  Parent    4023 at 19   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                    1:02-cv-01616, 1,
                                                                                                                                                                                                                                    at 787, 8393-1, at
2784                                                      Patrick       John          Nassaney         Sr.   United States   Shawn          Michael   Nassaney                    United States 9/11/01   NY (UA175)   03-cv-9849   75, 8487              Parent    4023 at 19   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                    1:02-cv-01616,
2785                                                      Patrick       John          Nassaney         Jr.   United States   Shawn          Michael   Nassaney                    United States 9/11/01   NY (UA175)   03-cv-9849   155, at P3044         Sibling   4023 at 19   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                    1:02-cv-01616,
2786                                                      Ryan          Albert        Nassaney               United States   Shawn          Michael   Nassaney                    United States 9/11/01   NY (UA175)   03-cv-9849   155, at P3045         Sibling   4023 at 19   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                    232, at P3867,
                                                                                                                                                                                                                                    8393-1, at 61,
2787                                                      Keolahmatie                 Nath                   United States   Narender                 Nath                        India        9/11/01    NY (WTC)     03-cv-9849   8487                  Spouse    5087 at 14   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                    155, at P3047,
                                                                                                                                                                                                                                    8397-1, at 20,
2788 Rosemarie                           Navas            Joseph        N.            Navas                  United States   Joseph         Michael   Navas                       Unknown      9/11/01    NY (Other)   03-cv-9849   8433                  Parent    4126 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                    1:02-cv-01616,
2789                                                      Rosemarie                   Navas                  United States   Joseph         Michael   Navas                       Unknown      9/11/01    NY (Other)   03-cv-9849   155, at P3048         Parent    3666 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                    26, 29, at 2216,
                                                                                                                                                                                                                                    8393-1, at 387,
2790                                                      Lena          Maryann       Nazario                United States   Francis        J.        Nazario                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                  Child     8233 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                    8679-1, at 175,
2791                                                      Dara          Ann           Near                   United States   Lauren         C.        Grandcolas                  United States 9/11/01   PA (UA93)    03-cv-9849   8696                  Sibling   7188 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                    1:02-cv-01616, 1,
                                                                                                                                                                                                                                    at 412, 8397-1, at
2792 Mary              Nee               Reilly           John          G.            Nee                    United States   Luke           G.        Nee                         United States 9/11/01   NY (WTC)     03-cv-9849   20, 8433              Parent    5138 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                    1:03-cv-09849,
                                                                                                                                                                                                                                    838, at 18; 8679-
2793                                                      Nancy         Kathryn       Nee                    Unknown         George         C.        Cain                        United States 9/11/01   NY (Other)   03-cv-9849   1, at 39, 8696        Sibling   5062 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                    305, at P4445,
                                                                                                                                                                                                                                    8393-1, at 1050,
2794                                                      Austin                      Negron                 United States   Pete                     Negron                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                  Child     5087 at 14   $   8,500,000.00 $    25,500,000.00




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                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                          305, at P4445,
                                                                                                                                                                                                                          8393-1, at 65,
2795                                                    Leila                     Negron           United States   Pete                    Negron                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5087 at 15   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                          305, at P4445,
                                                                                                                                                                                                                          8393-1, at 1051,
2796                                                    Peter         William     Negron           United States   Pete                    Negron                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                          1:02-cv-01616,
2797                                                    Raquel                    Negron           United States   Wendy         A.        Wakeford                     United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4970        Sibling   5062 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                          1:02-cv-01616,
2798                                                    Christopher   Olaf        Neira            United States   Laurie        Ann       Neira                        United States 9/11/01   NY (AA11)    03-cv-9849   305, at P4447        Child     5061 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                          305, at P4446,
                                                                                                                                                                                                                          8397-1, at 20,
2799 Francisca        A.               Wester           Gilberto      A.          Neira            Unknown         Laurie        Ann       Neira                        United States 9/11/01   NY (AA11)    03-cv-9849   8433                 Spouse    5138 at 6    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                          155, at P3049,
                                                                                                                                                                                                                          8393-1, at 479,
2800                                                    Anne          Catherine   Nelson           United States   James         Arthur    Nelson                       United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5848 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                          155, at P3049;
                                                                                                                                                                                                                          8393-1, at 30,
                                                                                                                                                                                                                          8487, 8397-1, at
2801 Rosanne                           Nelson           Caitlin       Mary        Nelson           United States   James         Arthur    Nelson                       United States 9/11/01   NY (Other)   03-cv-9849   21, 8433             Child     5848 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                          1:02-cv-01616,
2802                                                    Dena          Ann         Nelson           Unknown         Robert                  Curatolo                     United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 1920      Sibling   3666 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                          232, at P3868,
                                                                                                                                                                                                                          8393-1, at 3,
                                                                                                                                                                                                                          8487, 8397-1, at
2803 Jenette; Scott   Carole; Travis   Nelson; Nelson   Gary          Stanley     Nelson           United States   Ann           Nicole    Nelson                       United States 9/11/01   NY (WTC)     03-cv-9849   21, 8433             Parent    4126 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                          313, at P4649,
                                                                                                                                                                                                                          8397-1, at 21,
2804 Christopher      Joseph           Gorayeb          Helene        W.          Nelson           United States   Catherine     C.        Gorayeb                      United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    7188 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                          1:02-cv-01616,
2805                                                    Jenette       Carole      Nelson           United States   Ann           Nicole    Nelson                       United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3869        Parent    4126 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                          1:02-cv-01616,
2806                                                    Meredith      West        Nelson           United States   Peter         Matthew   West                         United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4689      Child     5062 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                          155, at P3049,
                                                                                                                                                                                                                          8393-1, at 30,
2807                                                    Rosanne                   Nelson           United States   James         Arthur    Nelson                       United States 9/11/01   NY (Other)   03-cv-9849   8487                 Spouse    5087 at 15   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                          1:02-cv-01616,
2808                                                    Scott         Travis      Nelson           United States   Ann           Nicole    Nelson                       United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4904        Sibling   4023 at 19   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                          26, 29, at 3168,
                                                                                                                                                                                                                          8393-1, at 632,
2809                                                    Laura         Jean        Nemeth           United States   John          R.        Fischer                      United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5087 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                          1:02-cv-01616,
2810                                                    Kristin       Katherine   Nepola           United States   Scott         W.        Rohner                       Unknown      9/11/01    NY (WTC)     03-cv-9849   305, at P4503        Sibling   4023 at 22   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                          8679-1, at 164,
2811                                                    Jean          Faith       Neufeld          United States   Barry         H.        Glick                        United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Child     7188 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                          1:02-cv-01616,
2812                                                    Jeanne        Marie       Neumeyer         United States   John          P.        Tierney                      United States 9/11/01   NY (Other)   03-cv-9849   155, at P3126        Sibling   5062 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                          1:02-cv-01616, 1,
                                                                                                                                                                                                                          at 603, 8397-1, at
2813 Eileen                            Smith            Eleanor                   Neville          United States   Joann                   Tabeek                       United States 9/11/01   NY (WTC)     03-cv-9849   21, 8433             Parent    4126 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                          305, at P4230,
                                                                                                                                                                                                VA                        8393-1, at 638,
2814                                                    Anthony       Peter       Newsome          United States   Johnnie                 Doctor            Jr.        United States 9/11/01   (Pentagon)   03-cv-9849   8487                 Child     5951 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                          432, at P4905,
                                                                                                                                                                                                VA                        8393-1, at 759,
2815                                                    An            Ho-Ngoc     Nguyen           United States   Khang         N.        Nguyen                       United States 9/11/01   (Pentagon)   03-cv-9849   8487                 Child     5061 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                          1:02-cv-01616, 1,
2816                                                    Antoinette                Nicholasi        United States   Patricia      Ann       Puma                         United States 9/11/01   NY (WTC)     03-cv-9849   at 485               Sibling   4023 at 21   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                          8679-1, at 340,
2817                                                    Brian         Charles     Niederer         United States   Martin        Stewart   Niederer                     United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   5087 at 15   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                          232, at P3870,
                                                                                                                                                                                                                          8393-1, at 53,
2818                                                    Charles       W.          Niederer         United States   Martin        Stewart   Niederer                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    4023 at 19   $   8,500,000.00 $    25,500,000.00




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                                                                                                                     EXHIBIT B-1
                                                                                                  SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                                8679-1, at 339,
2819                         Marilyn                Niederer             United States   Martin        Stewart   Niederer                     United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Parent    5087 at 15   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                155, at P3054,
                                                                                                                                                                                                8393-1, at 23,
2820                         Alfonse     Joseph     Niedermeyer    IV    United States   Alfonse       J.        Niedermeyer                  United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5061 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                155, at P3054,
                                                                                                                                                                                                8393-1, at 22,
2821                         Angelica    J.         Niedermeyer          United States   Alfonse       J.        Niedermeyer                  United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5087 at 15   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                1:02-cv-01616,
2822                         Carol       Ann        Niedermeyer          United States   Alfonse       J.        Niedermeyer                  United States 9/11/01   NY (Other)   03-cv-9849   155, at P3053        Parent    5062 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                8679-1, at 342,
2823                         Jack        Edward     Niedermeyer          United States   Alfonse       J.        Niedermeyer                  United States 9/11/01   NY (Other)   03-cv-9849   8696                 Sibling   7188 at 11   $   4,250,000.00 $    12,750,000.00

                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                155, at P3054,
2824                         Nancy       Susan      Niedermeyer          United States   Alfonse       J.        Niedermeyer                  United States 9/11/01   NY (Other)   03-cv-9849   8393-1, at 2, 8487   Spouse    5087 at 15   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                8679-1, at 343,
2825                         Richard     John       Niedermeyer          United States   Alfonse       J.        Niedermeyer                  United States 9/11/01   NY (Other)   03-cv-9849   8696                 Sibling   7188 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                1:02-cv-01616, 1,
                                                                                                                                                                                                at 211, 8397-1, at
2826 Rose   Jean   Nielsen   Dennis      J.         Nielsen              United States   Shannon       Marie     Fava                         United States 9/11/01   NY (WTC)     03-cv-9849   21, 8433             Parent    3666 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                1:02-cv-01616, 1,
2827                         Dennis                 Nielsen        Jr.   United States   Shannon       Marie     Fava                         United States 9/11/01   NY (WTC)     03-cv-9849   at 213               Sibling   4023 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                1:02-cv-01616, 1,
2828                         Rose        Jean       Nielsen              United States   Shannon       Marie     Fava                         United States 9/11/01   NY (WTC)     03-cv-9849   at 212               Parent    3666 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                26, 29, at 4019,
                                                                                                                                                                                                8393-1, at 702,
2829                         Christine   Lee        Nieves               United States   Juan                    Nieves            Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5061 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                1:02-cv-01616,
2830                         David                  Nieves               United States   Juan                    Nieves            Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4020      Child     5061 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                1:02-cv-01616,
2831                         Irma        Luz        Nieves               United States   Juan                    Nieves            Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4019      Spouse    5061 at 10   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                1:02-cv-01616,
2832                         John                   Nieves               United States   Juan                    Nieves            Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4021      Child     5061 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                26, 29, at 4022,
                                                                                                                                                                                                8393-1, at 44,
2833                         Michelle               Nieves               United States   Juan                    Nieves            Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5062 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                8679-1, at 160,
2834                         Shkurta                Nikaj                United States   Mon                     Gjonbalaj                    United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Child     5087 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                1:02-cv-01616,
2835                         Edward      Carl       Nilsen               United States   Troy          Edward    Nilsen                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4026      Parent    4126 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                1:02-cv-01616,
2836                         Jennifer    Anne       Nilsen               United States   Troy          Edward    Nilsen                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4025      Spouse    5138 at 7    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                1:02-cv-01616, 3,
2837                         Patricia               Nilsen               United States   Anne          Marie     Martino-Cramer               United States 9/11/01   NY (WTC)     03-cv-9849   at 1421              Sibling   3666 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                1:02-cv-01616,
2838                         Ryan        Thomas     Nilsen               United States   Troy          Edward    Nilsen                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4025      Child     515 at 5     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                1:02-cv-01616,
2839                         Scott       Edward     Nilsen               United States   Troy          Edward    Nilsen                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4025      Child     515 at 5     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                8679-1, at 396,
2840                         Christine              Nippes               United States   Paul          V.        Rizza                        United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   5087 at 17   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                1:02-cv-01616,
2841                         Lynda       Ann        Nislow               Unknown         Kenneth       Joseph    Marino                       United States 9/11/01   NY (Other)   03-cv-9849   77, at P2658         Sibling   3666 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                1:02-cv-01616,
2842                         Ellen       C.         Niven                United States   John          B.        Niven                        United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2223      Spouse    7188 at 11   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                8679-1, at 344,
2843                         Abigail     Michelle   Noel                 United States   Curtis        T.        Noel                         United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                1:03-cv-9849,
                                                                                                                                                                                                HAND FILED, at
                                                                                                                                                                                                P5209, 8393-1, at
2844                         Michael     Thomas     Noel                 United States   Curtis        T.        Noel                         United States 9/11/01   NY (WTC)     03-cv-9849   14, 8487             Parent    4023 at 19   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                8679-1, at 345,
2845                         Michael     Thomas     Noel           Jr.   United States   Curtis        T.        Noel                         United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                1:03-cv-9849,
                                                                                                                                                                                                HAND FILED, at
                                                                                                                                                                                                P5210, 8393-1, at
2846                         Theresa     Martha     Noel                 United States   Curtis        T.        Noel                         United States 9/11/01   NY (WTC)     03-cv-9849   14, 8487             Parent    4023 at 19   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                1:02-cv-01616,
2847                         Catherine   M.         Nolan                United States   Michael       Joseph    Armstrong                    United States 9/11/01   NY (WTC)     03-cv-9849   313, at P4593        Spouse    5951 at 7    $   12,500,000.00 $   37,500,000.00




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                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      155, at P3055,
                                                                                                                                                                                                      8393-1, at 236,
2848                              Jonathan    Daniel        Nolan                United States   Daniel        R.       Nolan                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     5087 at 15   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      155, at P3055,
                                                                                                                                                                                                      8393-1, at 237,
2849                              Kaitlyn     Renee         Nolan                United States   Daniel        R.       Nolan                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     5087 at 15   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      155, at P3055,
                                                                                                                                                                                                      8393-1, at 15,
2850                              Renee       E.            Nolan                United States   Daniel        R.       Nolan                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                Spouse    5087 at 15   $   12,500,000.00 $   37,500,000.00
                                                                                 United States   Kevin         M.       Prior                                               NY (Other)                8679-1, at 379,
2851                              Doreen      Patricia      Noone Wheeler                                                                           United States 9/11/01                03-cv-9849   8696                Fiancee   8293 at 6    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 3,
2852                              Christine   Ann           Norris               Unknown         Gary          Paul     Geidel                      United States 9/11/01   NY (Other)   03-cv-9849   at 1159             Sibling   3666 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
2853                              Eric        Paul          Nunez                Unknown         Brian                  Nunez                       United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4449       Sibling   3382         $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      432, at P4953,
                                                                                                                                                                                                      8393-1, at 1400,
2854                              Tyreek      Dexter        Nurse                United States   Wendy         L.       Small                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     5061 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      155, at P3056,
                                                                                                                                                                                                      8393-1, at 477,
2855                              Allison     Irene         Oakley               United States   James         A.       Oakley                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     515 at 5     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      155, at P3056,
                                                                                                                                                                                                      8393-1, at 30,
2856                              Denise      I.            Oakley               United States   James         A.       Oakley                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                Spouse    5848 at 8    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      155, at P3056,
                                                                                                                                                                                                      8393-1, at 478,
2857                              Jill                      Oakley               Unknown         James         A.       Oakley                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     5138 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 3,
2858                              Andrew      Thomas        O'Brien              Unknown         Michael       P.       O'Brien                     United States 9/11/01   NY (WTC)     03-cv-9849   at 1500             Sibling   3666 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      26, 29, at 4038,
                                                                                                                                                                                                      8397-1, at 21,
2859 Marilyn   Jeanne   O'Brien   Bernard     Joseph        O'Brien              United States   Timothy       M.       O'Brien                     Unknown      9/11/01    NY (WTC)     03-cv-9849   8433                Parent    3666 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      155, at P2867,
                                                                                                                                                                                                      8393-1, at 80,
2860                              Cheryl      Lynn          O'Brien              United States   Thelma                 Cuccinello                  United States 9/11/01   NY (AA11)    03-cv-9849   8487                Child     4023 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      8679-1, at 347,
2861                              Dennis      Christopher   O'Brien              United States   Michael       P.       O'Brien                     United States 9/11/01   NY (WTC)     03-cv-9849   8696                Sibling   7188 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616, 3,
                                                                                                                                                                                                      at 1497, 8393-1,
2862                              Derek       Michael       O'Brien              United States   Michael       P.       O'Brien                     United States 9/11/01   NY (WTC)     03-cv-9849   at 947, 8487        Child     5087 at 15   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      432, at P4906,
                                                                                                                                                                                                      8397-1, at 21,
2863 Karen     Marie    Collins   James       P.            O'Brien              United States   James                  O'Brien          Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   8433                Parent    7188 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 3,
                                                                                                                                                                                                      at 1497, 8393-1,
2864                              Kevin       Patrick       O'Brien              United States   Michael       P.       O'Brien                     United States 9/11/01   NY (WTC)     03-cv-9849   at 948, 8487        Child     5087 at 15   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      8679-1, at 349,
2865                              Kevin       J.            O'Brien              United States   Timothy       M.       O'Brien                     Unknown      9/11/01    NY (WTC)     03-cv-9849   8696                Sibling   5087 at 15   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
2866                              Marilyn     Jeanne        O'Brien              United States   Timothy       M.       O'Brien                     Unknown      9/11/01    NY (WTC)     03-cv-9849   26, 29, at 4039     Parent    3666 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 3,
                                                                                                                                                                                                      at 1499, 8397-1,
2867 Bridget   Ann      Paluzzi   Mary        Louise        O'Brien              United States   Michael       P.       O'Brien                     United States 9/11/01   NY (WTC)     03-cv-9849   at 21, 8433         Parent    4023 at 19   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
2868                              Patrick     Denis         O'Brien              United States   Timothy       M.       O'Brien                     Unknown      9/11/01    NY (WTC)     03-cv-9849   26, 29, at 4040     Sibling   5062 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616, 3,
2869                              Rachel                    O'Brien              United States   Michael       P.       O'Brien                     United States 9/11/01   NY (WTC)     03-cv-9849   at 1497             Spouse    5087 at 15   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 3,
                                                                                                                                                                                                      at 1498, 8397-1,
2870 Bridget   Ann      Paluzzi   Robert      Thomas        O'Brien              United States   Michael       P.       O'Brien                     United States 9/11/01   NY (WTC)     03-cv-9849   at 21, 8433         Parent    5087 at 15   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
2871                              Robert      L.            O'Brien              United States   Timothy       M.       O'Brien                     Unknown      9/11/01    NY (WTC)     03-cv-9849   26, 29, at 4041     Sibling   5087 at 15   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:18-cv-11582, 1,
                                                                                                                                                                                                      at 18; 8679-1, at
2872                              Sean        Patrick       O'Brien              United States   Timothy       M.       O'Brien                     Unknown      9/11/01    NY (WTC)     03-cv-9849   348, 8696           Sibling   5104 at 4    $   4,250,000.00 $    12,750,000.00




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                                                                                                                          EXHIBIT B-1
                                                                                                       SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      26, 29, at 4044,
                                                                                                                                                                                                      8393-1, at 234,
2873                             Connor     Daniel      O'Callaghan          United States   Daniel                     O'Callaghan                 United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5061 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      26, 29, at 4044,
                                                                                                                                                                                                      8393-1, at 235,
2874                             Rhiannon   Rose        O'Callaghan          United States   Daniel                     O'Callaghan                 United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5061 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
2875                             Rhonda     Lee         O'Callaghan          United States   Daniel                     O'Callaghan                 United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4044      Spouse    5061 at 10   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 3,
2876                             Donna      Marsh       O'Connor             Unknown         Vanessa        Lang        Langer                      United States 9/11/01   NY (WTC)     03-cv-9849   at 1321              Parent    3666 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:03-md-01570,
2877                             Lourdes    Bennett     O'Connor             United States   Bryan          Craig       Bennett                     United States 9/11/01   NY (WTC)     03-cv-9849   432, at P5319        Sibling   5061 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616, 1,
                                                                                                                                                                                                      at 821, 8393-1, at
2878                             Brittany   Paige       Oelschlager          United States   Douglas        E.          Oelschlager                 United States 9/11/01   NY (Other)   03-cv-9849   330, 8487            Child     5087 at 15   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 1,
                                                                                                                                                                                                      at 821, 8393-1, at
2879                             Kayla      Ryan        Oelschlager          United States   Douglas        E.          Oelschlager                 United States 9/11/01   NY (Other)   03-cv-9849   331, 8487            Child     5087 at 15   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 1,
2880                             Suzanne                Oelschlager          United States   Douglas        E.          Oelschlager                 United States 9/11/01   NY (Other)   03-cv-9849   at 821               Spouse    5061 at 11   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                      8679-1, at 350,
2881                             Teri       S.          Oelschlager          United States   Douglas        E.          Oelschlager                 United States 9/11/01   NY (Other)   03-cv-9849   8696                 Parent    7188 at 11   $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      26, 29, at 4816,
2882                             Amanda                 Ogilby               United States   Jeffrey        L.          Fox                         United States 9/11/01   NY (WTC)     03-cv-9849   5284-1, at 5, 5296   Child     5138 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
2883                             Carol      A.          Ogonowski            United States   John           Alexander   Ogonowski                   United States 9/11/01   NY (AA11)    03-cv-9849   432, at P4912        Sibling   4023 at 19   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      432, at P4908,
                                                                                                                                                                                                      8393-1, at 575,
2884                             Caroline   Jane        Ogonowski            United States   John           Alexander   Ogonowski                   United States 9/11/01   NY (AA11)    03-cv-9849   8487                 Child     5061 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
2885                             James                  Ogonowski            United States   John           Alexander   Ogonowski                   United States 9/11/01   NY (AA11)    03-cv-9849   432, at P4911        Sibling   4023 at 19   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
2886                             Joseph                 Ogonowski            United States   John           Alexander   Ogonowski                   United States 9/11/01   NY (AA11)    03-cv-9849   432, at P4910        Sibling   4126 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      432, at P4908,
                                                                                                                                                                                                      8393-1, at 576,
2887                             Laura      Elizabeth   Ogonowski            United States   John           Alexander   Ogonowski                   United States 9/11/01   NY (AA11)    03-cv-9849   8487                 Child     5061 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      432, at P4908,
                                                                                                                                                                                                      8393-1, at 577,
2888                             Mary       Katharine   Ogonowski            United States   John           Alexander   Ogonowski                   United States 9/11/01   NY (AA11)    03-cv-9849   8487                 Child     5061 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
2889                             Theresa                Ogonowski            United States   John           Alexander   Ogonowski                   United States 9/11/01   NY (AA11)    03-cv-9849   432, at P4909        Parent    4023 at 19   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
2890                             Francis    Patrick     O'Hagan        Jr.   United States   Thomas         Gerard      O'Hagan                     United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2230      Sibling   4023 at 19   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      26, 29, at 4058,
                                                                                                                                                                                                      8397-1, at 21,
2891 Jeanne   Theresa   McCabe   Francis    P.          O'Hagan        Sr.   United States   Thomas         Gerard      O'Hagan                     United States 9/11/01   NY (Other)   03-cv-9849   8433                 Parent    4126 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:03-md-01570,
                                                                                                                                                                                                      3477, at 2686;
                                                                                                                                                                                                      8679-1, at 354,
2892                             John       Joseph      O'Hagan              United States   Thomas         Gerard      O'Hagan                     United States 9/11/01   NY (Other)   03-cv-9849   8696                 Sibling   4023 at 19   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
2893                             Joseph     Edward      O'Hagan              United States   Thomas         Gerard      O'Hagan                     United States 9/11/01   NY (Other)   03-cv-9849   77, at P2674         Sibling   4023 at 19   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
2894                             Raymond    Thomas      O'Hagan              Unknown         Thomas         Gerard      O'Hagan                     United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4059      Sibling   3666 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:03-cv-09849,
                                                                                                                                                                                                      842, at 9; 8679-1,
2895                             Kathleen               O'Hara               United States   James          J.          Straine          Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   at 450, 8696         Sibling   4126 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
2896                             Carole     M.          O'Hare               United States   Hildegard      Marie       Marcin                      United States 9/11/01   PA (UA93)    03-cv-9849   26, 29, at 3728      Child     4023 at 17   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 3,
2897                             Joann                  O'Keefe              Unknown         Joseph                     Reina            Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   at 1567              Sibling   3666 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      232, at P3871,
                                                                                                                                                                                                      8393-1, at 1426,
2898                             Kaitlin                O'Keefe              United States   William        S.          O'Keefe                     United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5356 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 1,
2899                             Patricia   Nee         O'Keefe              United States   Luke           G.          Nee                         United States 9/11/01   NY (WTC)     03-cv-9849   at 415               Sibling   4023 at 19   $   4,250,000.00 $    12,750,000.00




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                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                             232, at P3871,
                                                                                                                                                                                                             8393-1, at 88,
2900                                     Virginia      M.         O'Keefe              Unknown         William        S.       O'Keefe                     United States 9/11/01   NY (Other)   03-cv-9849   8487                 Spouse    5848 at 8    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                             1:03-cv-9849,
                                                                                                                                                                                                             HAND FILED, at
                                                                                                                                                                                                             P5218, 8393-1, at
2901                                     Christopher   Graig      Olcott               United States   Gerald         M.       Olcott                      United States 9/11/01   NY (WTC)     03-cv-9849   421, 8487            Child     4126 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             1:03-md-01570,
                                                                                                                                                                                                             3477, at 2694;
                                                                                                                                                                                                             8679-1, at 357,
2902                                     Graig         Aaron      Olcott               United States   Gerald         M.       Olcott                      United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Child     4126 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             8679-1, at 356,
2903                                     Jill          Stefanie   Olcott               United States   Gerald         M.       Olcott                      United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Child     8233 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             1:03-cv-9849,
                                                                                                                                                                                                             HAND FILED, at
                                                                                                                                                                                                             P5218, 8393-1, at
2904                                     Lynn          A.         Olcott               United States   Gerald         M.       Olcott                      United States 9/11/01   NY (WTC)     03-cv-9849   27, 8487             Spouse    5087 at 15   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                             1:02-cv-01616,
2905 Stella                Olender       John          Casimir    Olender              United States   Christine               Olender                     United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4914        Parent    4126 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                             305, at P4457,
                                                                                                                                                                                                             8393-1, at 10,
     Alexandra;            Brzezinski;                                                                                                                                                                       8487, 8397-1, at
2906 Wieslaw               Olender       Stella                   Olender              United States   Christine               Olender                     United States 9/11/01   NY (WTC)     03-cv-9849   21, 8433             Parent    4126 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             8679-1, at 359,
2907                                     Mary          Olsen      Olesky               United States   Jeffrey        James    Olsen                       United States 9/11/01   NY (Other)   03-cv-9849   8696                 Sibling   5087 at 15   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                             232, at P3971,
                                                                                                                                                                                                             8393-1, at 565,
2908                                     Krystal       Marie      Oliva                United States   Joann                   Tabeek                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5061 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             1:02-cv-01616,
2909 Clifford     Irving   Olsen         Barbara       Anne       Olsen                United States   Eric           Taube    Olsen                       United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2238      Parent    4023 at 20   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             1:02-cv-01616,
2910                                     Carol         Ann        Olsen                United States   Jeffrey        James    Olsen                       United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2520      Parent    5062 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             8679-1, at 187,
2911                                     Christine                Olsen                United States   David                   Halderman                   United States 9/11/01   NY (Other)   03-cv-9849   8696                 Sibling   5087 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                             1:02-cv-01616,
2912                                     Clifford      Irving     Olsen                United States   Eric           Taube    Olsen                       United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4087      Sibling   4023 at 20   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                             1:02-cv-01616,
2913                                     Denise        Marie      Olsen                United States   Jeffrey        James    Olsen                       United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4090      Spouse    5087 at 15   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                             1:02-cv-01616,
2914                                     John          Peter      Olsen                United States   Jeffrey        James    Olsen                       United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2522      Sibling   5062 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                             1:02-cv-01616,
2915                                     Kenneth       Olaf       Olsen                United States   Eric           Taube    Olsen                       United States 9/11/01   NY (Other)   03-cv-9849   77, at P2677         Sibling   4023 at 20   $   4,250,000.00 $    12,750,000.00

                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                             26, 29, at 2521,
2916                                     Neil          Charles    Olsen                United States   Jeffrey        James    Olsen                       United States 9/11/01   NY (Other)   03-cv-9849   5284-1, at 8, 5296   Sibling   5061 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                             26, 29, at 4090,
                                                                                                                                                                                                             8393-1, at 532,
2917                                     Noah          D.         Olsen                Unknown         Jeffrey        James    Olsen                       United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5087 at 15   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             1:02-cv-01616,
2918 Clifford     Irving   Olsen         Taube         E.         Olsen                United States   Eric           Taube    Olsen                       United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2237      Parent    4126 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             1:03-md-01570, ;
                                                                                                                                                                                                             8679-1, at 358,
                                                                                                                                                                                                             86963477, at
2919                                     Todd          Keith      Olsen                Unknown         Eric           Taube    Olsen                       United States 9/11/01   NY (Other)   03-cv-9849   2705                 Sibling   4023 at 20   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                             26, 29, at 4090,
                                                                                                                                                                                                             8393-1, at 531,
2920                                     Tori          R.         Olsen                Unknown         Jeffrey        James    Olsen                       United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5087 at 15   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             8679-1, at 360,
2921                                     Cynthia       A.         Olsen-Dinkins        United States   Jeffrey        James    Olsen                       United States 9/11/01   NY (Other)   03-cv-9849   8696                 Sibling   5087 at 15   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                             1:02-cv-01616, 1,
                                                                                                                                                                                                             at 426, 8393-1, at
2922                                     Jaclyn        Suzanne    Olson                United States   Steven         J.       Olson                       United States 9/11/01   NY (Other)   03-cv-9849   1253, 8487           Child     7180 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             1:02-cv-01616, 1,
                                                                                                                                                                                                             at 426, 8393-1, at
2923                                     Jessica       Grace      Olson                United States   Steven         J.       Olson                       United States 9/11/01   NY (Other)   03-cv-9849   1254, 8487           Child     7180 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             1:02-cv-01616, 3,
2924                                     Kenneth       Donald     Olson                United States   Steven         J.       Olson                       United States 9/11/01   NY (Other)   03-cv-9849   at 1504              Sibling   4023 at 20   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                             1:02-cv-01616, 1,
                                                                                                                                                                                                             at 426, 8393-1, at
2925                                     Patricia      Anne       Olson                United States   Steven         J.       Olson                       United States 9/11/01   NY (Other)   03-cv-9849   78, 8487             Spouse    515 at 5     $   12,500,000.00 $   37,500,000.00



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                                                                                                                                                                                                              1:02-cv-01616,
2926                                 John          Patrick     O'Mahony             United States   Matthew        T.           O'Mahony                    Unknown      9/11/01    NY (WTC)     03-cv-9849   305, at P4453       Sibling   4023 at 20   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                              1:02-cv-01616,
2927                                 Robert        Joseph      O'Mahony             United States   Matthew        T.           O'Mahony                    Unknown      9/11/01    NY (WTC)     03-cv-9849   305, at P4455       Sibling   4023 at 20   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                              1:02-cv-01616,
2928                                 Stephen       Thomas      O'Mahony             United States   Matthew        T.           O'Mahony                    Unknown      9/11/01    NY (WTC)     03-cv-9849   305, at P4454       Sibling   4023 at 20   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                              8679-1, at 18,
2929                                 Lillian       Maria       O'Malley             United States   Bryan          Craig        Bennett                     United States 9/11/01   NY (WTC)     03-cv-9849   8696                Sibling   5087 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                              232, at P4079,
                                                                                                                                                                                                              8393-1, at 65,
2930                                 Jeanne        M.          O'Neill              United States   Peter          J.           O'Neill          Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   8487                Parent    5087 at 15   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                              232, at P4080,
                                                                                                                                                                                                              8393-1, at 66,
2931                                 Peter         James       O'Neill        Sr.   United States   Peter          J.           O'Neill          Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   8487                Parent    4023 at 20   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                              1:02-cv-01616,
2932                                 Thomas        Walter      O'Neill              United States   Peter          J.           O'Neill          Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   232, at P4081       Sibling   5087 at 15   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                              8679-1, at 166,
2933                                 Gwen                      Opfell               United States   Jeffrey        Grant        Goldflam                    United States 9/11/01   NY (WTC)     03-cv-9849   8696                Sibling   7188 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                              26, 29, at 2241,
                                                                                                                                                                                                              8393-1, at 184,
2934                                 Katherine     Chris       Orgielewicz          United States   Christopher    T.           Orgielewicz                 United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     5087 at 15   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                              1:02-cv-01616,
2935                                 Olga                      Orgielewicz          Montenegro      Christopher    T.           Orgielewicz                 United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2241     Spouse    5087 at 15   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                              26, 29, at 2241,
                                                                                                                                                                                                              8393-1, at 185,
2936                                 Ryan          Edward      Orgielewicz          United States   Christopher    T.           Orgielewicz                 United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     5061 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                              26, 29, at 2241,
                                                                                                                                                                                                              8393-1, at 186,
2937                                 Thomas        George      Orgielewicz          United States   Christopher    T.           Orgielewicz                 United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     5061 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                              1:02-cv-01616, 1,
2938                                 Cynthia       Diane       Oricchio             Unknown         Michele        Bernadette   Lanza                       United States 9/11/01   NY (WTC)     03-cv-9849   at 333              Sibling   3666 at 7    $   4,250,000.00 $    12,750,000.00
                                                   Patrick                                                                                                                                                    1:02-cv-01616,
2939                                 Dennis        Michael     O'Rourke             United States   Kevin          M.           O'Rourke                    United States 9/11/01   NY (Other)   03-cv-9849   77, at P2676        Sibling   3666 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                              26, 29, at 4079,
                                                                                                                                                                                                              8397-1, at 21,
2940 Hannah   Elizabeth   O'Rourke   Dennis        Martin      O'Rourke             United States   Kevin          M.           O'Rourke                    United States 9/11/01   NY (Other)   03-cv-9849   8433                Parent    4126 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                              1:02-cv-01616,
2941                                 Hannah        Elizabeth   O'Rourke             Unknown         Kevin          M.           O'Rourke                    United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4080     Parent    5062 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                              1:02-cv-01616,
2942                                 Jamie         Ann         O'Rourke             United States   Kevin          M.           O'Rourke                    United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4077     Child     5356 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                              1:02-cv-01616,
2943                                 Mary Ellen                O'Rourke             United States   John           P.           Bergin                      Unknown      9/11/01    NY (Other)   03-cv-9849   26, 29, at 1852     Sibling   3666 at 1    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                              1:02-cv-01616,
2944                                 Maryann       J.          O'Rourke             United States   Kevin          M.           O'Rourke                    United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4076     Spouse    5356 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                              1:02-cv-01616,
2945                                 Gilbert       Gabriel     Ortale               United States   Peter          Keith        Ortale                      United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3872       Sibling   3666 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                              305, at P4460,
                                                                                                                                                                                                              8393-1, at 365,
2946                                 Amanda                    Ortiz                United States   Emilio                      Ortiz                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     5138 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                              305, at P4460,
                                                                                                                                                                                                              8393-1, at 366,
2947                                 Emily                     Ortiz                United States   Emilio                      Ortiz                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     5138 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                              8679-1, at 516,
2948                                 William       Allison     Osterholm            United States   Olga           Kristin      Gould                       United States 9/11/01   PA (UA93)    03-cv-9849   8696                Sibling   5061 at 14   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                              1:02-cv-01616,
2949                                 Beverly       Ann         Ostrowski            United States   James          Robert       Ostrowski                   Unknown      9/11/01    NY (WTC)     03-cv-9849   26, 29, at 2244     Parent    4023 at 20   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                              1:02-cv-01616,
2950                                 Stephen       William     Ostrowski            United States   James          Robert       Ostrowski                   Unknown      9/11/01    NY (WTC)     03-cv-9849   26, 29, at 4100     Sibling   3666 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                              1:02-cv-01616,
2951                                 Judy          Cleere      Otell                Unknown         James          Durward      Cleere                      United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4189       Sibling   3666 at 2    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                              1:02-cv-01616,
2952                                 Carol         Ann         O'Toole              United States   Joseph                      Holland          Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   155, at P2942       Parent    3666 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                              232, at P3873,
                                                                                                                                                                                                              8393-1, at 926,
2953                                 Christopher   Michael     Otten                Unknown         Michael        J.           Otten                       United States 9/11/01   NY (Other)   03-cv-9849   8487                Child     5087 at 15   $   8,500,000.00 $    25,500,000.00




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                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               232, at P3873,
                                                                                                                                                                                                               8393-1, at 927,
2954                                             Jason       Robert    Otten               Unknown         Michael      J.       Otten                       United States 9/11/01   NY (Other)   03-cv-9849   8487                Child     5087 at 15   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               232, at P3873,
                                                                                                                                                                                                               8393-1, at 928,
2955                                             Jonathan    Daniel    Otten               Unknown         Michael      J.       Otten                       United States 9/11/01   NY (Other)   03-cv-9849   8487                Child     5087 at 15   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               232, at P3873,
                                                                                                                                                                                                               8393-1, at 57,
2956                                             Marion      Susan     Otten               United States   Michael      J.       Otten                       United States 9/11/01   NY (Other)   03-cv-9849   8487                Spouse    5087 at 15   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                               1:03-cv-9849,
                                                                                                                                                                                                               HAND FILED, at
                                                                                                                                                                                                               P5305, 8397-1, at
2957 Edgar     Bertram   Wooley            III   Mary        A.        Otto                United States   David        T.       Wooley                      United States 9/11/01   NY (Other)   03-cv-9849   22, 8433            Parent    7188 at 15   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
2958                                             Andrea      Lee       Ouida               United States   Todd         Joseph   Ouida                       United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3875       Parent    4023 at 20   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               232, at P3876,
                                                                                                                                                                                                               8393-1, at 83,
2959 Andrea    Lee       Ouida                   Herbert               Ouida               United States   Todd         Joseph   Ouida                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                Parent    4023 at 20   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
2960                                             Jordan      Daniel    Ouida               United States   Todd         Joseph   Ouida                       United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3877       Sibling   4023 at 20   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               432, at P4935,
                                                                                                                                                                                                               8397-1, at 22,
2961 Eileen    Marie     Kosinski-Piszko         Joyce       Frances   Oxley               United States   Susan        M.       Pollio                      United States 9/11/01   NY (WTC)     03-cv-9849   8433                Sibling   5138 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               432, at P4966,
                                                                                                                                                                                                               8393-1, at 86,
2962                                             Clara       L.        Pachomski           United States   Wendy        A.       Wakeford                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                Sibling   4126 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               232, at P3879,
                                                                                                                                                                                                               8393-1, at 55,
2963 Michael   N.        Delgass                 Rekha       D.        Packer              United States   Michael      B.       Packer                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                Spouse    5979 at 3    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               232, at P3879,
                                                                                                                                                                                                               8393-1, at 893,
2964                                             Sarita      Emily     Packer              United States   Michael      B.       Packer                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     5087 at 15   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                     VA                        1:02-cv-01616,
2965                                             Jose        Javier    Padro               United States   Diana        B.       Padro                       United States 9/11/01   (Pentagon)   03-cv-9849   77, at P2678        Child     5061 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                     VA                        1:02-cv-01616,
2966                                             Juan        Carlos    Padro               United States   Diana        B.       Padro                       United States 9/11/01   (Pentagon)   03-cv-9849   77, at P2679        Child     5087 at 15   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               77, at P2680,
                                                                                                                                                                                     VA                        8393-1, at 19,
2967                                             Jose        E.        Padro-Lebron        United States   Diana        B.       Padro                       United States 9/11/01   (Pentagon)   03-cv-9849   8487                Spouse    5087 at 15   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
2968                                             Miriam                Paine               United States   Wendy        A.       Wakeford                    United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4969       Sibling   4023 at 25   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616,
2969                                             Kathleen    Cecelia   Palacio             United States   Denis                 Lavelle                     United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4879       Sibling   3382         $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               432, at P4918,
                                                                                                                                                                                                               8397-1, at 22,
                                                                                                                                                                                                               8433, 8393-1, at
2970 Ronald    J.        Palazzolo               Annette     M.        Palazzolo           United States   Richard      A.       Palazzolo                   United States 9/11/01   NY (WTC)     03-cv-9849   67, 8487            Parent    5062 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               8679-1, at 362,
2971                                             Ronald      J.        Palazzolo           United States   Richard      A.       Palazzolo                   United States 9/11/01   NY (WTC)     03-cv-9849   8696                Sibling   5087 at 15   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               26, 29, at 1969,
                                                                                                                                                                                                               8397-1, at 22,
2972 Lori      A.        Schiavone               Loretta     A.        Palisay             United States   Salvatore    A.       Fiumefreddo                 United States 9/11/01   NY (Other)   03-cv-9849   8433                Parent    3666 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616, 3,
                                                                                                                                                                                                               at 1808, 5284-1,
2973 Mary      Frances   Palmer-Murphy           Agnes       Louise    Palmer              Unknown         Orio         Joseph   Palmer                      United States 9/11/01   NY (Other)   03-cv-9849   at 8, 5296          Parent    3666 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616, 3,
2974                                             Katherine   Ann       Palmer              United States   Orio         Joseph   Palmer                      United States 9/11/01   NY (Other)   03-cv-9849   at 1813             Sibling   4023 at 20   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616, 3,
                                                                                                                                                                                                               at 1807, 5284-1,
                                                                                                                                                                                                               at 9, 5296, 8397-
2975 Mary      Frances   Palmer-Murphy           Orio        A.        Palmer              United States   Orio         Joseph   Palmer                      United States 9/11/01   NY (Other)   03-cv-9849   1, at 22, 8433      Parent    4023 at 20   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616, 3,
                                                                                                                                                                                                               at 1809, 5284-1,
                                                                                                                                                                                                               at 9, 5296, 8397-
2976 Suzanne             Palmer                  Stephen     Orio      Palmer              Unknown         Orio         Joseph   Palmer                      United States 9/11/01   NY (Other)   03-cv-9849   1, at 22, 8433      Sibling   3666 at 10   $   4,250,000.00 $    12,750,000.00



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                                                                                                                                                                                                      1:02-cv-01616, 3,
                                                                                                                                                                                                      at 1810, 5284-1,
2977                           Vincent     Alanson     Palmer                 United States   Orio          Joseph      Palmer                      United States 9/11/01   NY (Other)   03-cv-9849   at 9, 5296           Sibling   3666 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616, 3,
                                                                                                                                                                                                      at 1812, 5284-1,
2978                           Mary        Frances     Palmer-Murphy          United States   Orio          Joseph      Palmer                      United States 9/11/01   NY (Other)   03-cv-9849   at 8, 5296           Sibling   3666 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
2979                           Fortunata               Palombo                Unknown         Frank                     Palombo                     United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2246      Parent    3666 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
2980                           Marie       Anne        Palombo                United States   Frank                     Palombo                     United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2247      Sibling   6035 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616, 3,
2981                           Bridget     Ann         Paluzzi                Unknown         Michael       P.          O'Brien                     United States 9/11/01   NY (WTC)     03-cv-9849   at 1501              Sibling   3666 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
2982                           Hui         Fen         Pan                    United States   Neil          Kwong-Wah   Lai                         United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3582      Spouse    5087 at 12   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      155, at P3060,
                                                                                                                                                                                                      8393-1, at 19,
2983                           Barbara                 Pandolfo               United States   Dominique     Lisa        Pandolfo                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    4023 at 20   $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      305, at P4372,
2984                           Sandra      Jean        Pangborn               United States   Brendan       Mark        Lang                        United States 9/11/01   NY (WTC)     03-cv-9849   8393-1, at 6, 8487   Spouse    5087 at 12   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      26, 29, at 2251,
                                                                                                                                                                                                      8393-1, at 1023,
2985                           Anna        Mary        Pansini                United States   Paul          John        Pansini                     United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5848 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      26, 29, at 2251,
                                                                                                                                                                                                      8393-1, at 1024,
2986                           Claire      Adele       Pansini                United States   Paul          John        Pansini                     United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5848 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
2987                           Janice                  Pansini                United States   Paul          John        Pansini                     United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2251      Spouse    5848 at 8    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
2988                           Joseph      Lawrence    Pansini                United States   Paul          John        Pansini                     United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2252      Sibling   4126 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      26, 29, at 2251,
                                                                                                                                                                                                      8393-1, at 1025,
2989                           Paul        Jack        Pansini                United States   Paul          John        Pansini                     United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5848 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
2990                           Robert      Joseph      Pansini          Sr.   United States   Paul          John        Pansini                     United States 9/11/01   NY (Other)   03-cv-9849   305, at P4462        Sibling   3666 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616, 3,
2991                           Anna        M.          Paolino                Unknown         Walter                    Baran                       United States 9/11/01   NY (WTC)     03-cv-9849   at 891               Sibling   3666 at 1    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      8679-1, at 366,
2992                           Catherine   Mary        Papa                   United States   Edward        J.          Papa                        United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 12   $   4,250,000.00 $    12,750,000.00

                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      432, at P4919,
2993                           Kathleen    Christine   Papa                   Unknown         Edward        J.          Papa                        United States 9/11/01   NY (WTC)     03-cv-9849   8466-1, at 3, 8487   Child     7188 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      8679-1, at 365,
2994                           Margaret    Kathleen    Papa                   United States   Edward        J.          Papa                        United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Child     7188 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      8679-1, at 368,
2995                           Michael     J.          Papa                   United States   Edward        J.          Papa                        United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      8679-1, at 363,
2996                           Michelle    Rivera      Papa                   United States   Edward        J.          Papa                        United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Child     7188 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      432, at P4919,
                                                                                                                                                                                                      8393-1, at 22,
2997                           Patricia    N.          Papa                   United States   Edward        J.          Papa                        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5356 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
2998                           Salvatore               Papasso                Unknown         Salvatore     T.          Papasso                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2257      Parent    3382         $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
2999                           Theresa                 Papasso                Unknown         Salvatore     T.          Papasso                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2258      Parent    3382         $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
3000                           Vincent                 Papasso                Unknown         Salvatore     T.          Papasso                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4106      Sibling   3382         $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      26, 29, at 4108,
                                                                                                                                                                                                      8393-1, at 31,
3001 Helen   Olga   Carlucci   Juana       Olga        Pappageorge            United States   James         N.          Pappageorge                 United States 9/11/01   NY (Other)   03-cv-9849   8487                 Parent    5848 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      305, at P4464,
                                                                                                                                                                                                      8397-1, at 22,
3002 Sara    S.     Fogg       Gary        Charles     Pappalardo             United States   Marie                     Pappalardo                  United States 9/11/01   NY (UA175)   03-cv-9849   8433                 Sibling   4126 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
3003                           Lynn        Marie       Paragano               Unknown         Philip        William     Mastrandrea      Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3760      Sibling   4126 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
3004                           Colleen     Marie       Parigen                United States   Michael       Francis     Lynch                       United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3673      Sibling   5062 at 5    $   4,250,000.00 $    12,750,000.00



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                                                                                                                         EXHIBIT B-1
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                                                                                                                                                                                                      1:02-cv-01616,
3005                      Christina     Mary         Paris                  Unknown         George                     Paris                        United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4115      Spouse    5087 at 16   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      26, 29, at 4115,
                                                                                                                                                                                                      8393-1, at 419,
3006                      Constantina   Maria        Paris                  United States   George                     Paris                        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 15   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
3007                      Rose                       Paris                  United States   George                     Paris                        United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4116      Parent    5087 at 16   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      232, at P3887,
                                                                                                                                                                                                      8393-1, at 28,
3008                      Jin           Han          Park                   United States   Gye            Hyong       Park                         United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Sibling   5848 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
3009                      Myong         Kyu          Park                   Korea           Gye            Hyong       Park                         United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3888        Parent    5848 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
3010                      Marla         H.           Parker                 United States   Alan           David       Kleinberg                    United States 9/11/01   NY (WTC)     03-cv-9849   155, at P2977        Sibling   4023 at 15   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      8679-1, at 131,
3011                      Caroline                   Parks                  United States   Ryan           D.          Fitzgerald                   United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   5087 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:18-cv-12322, 1,
                                                                                                                                                                                                      at 1; 8679-1, at
3012                      Elizabeth     Anne         Parks                  United States   Robert         Emmet       Parks             Jr.        Unknown      9/11/01    NY (WTC)     03-cv-9849   370, 8696            Sibling   5087 at 16   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      8679-1, at 132,
3013                      Elizabeth                  Parks                  United States   Ryan           D.          Fitzgerald                   United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   5087 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      305, at P4466,
                                                                                                                                                                                                      8393-1, at 28,
3014                      Bharti                     Parmar                 United States   Hashmukhrai    C.          Parmar                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5848 at 9    $   12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                      1:02-cv-01616,
                                                                            United                                                                                                                    313, at AP268,
3015                      Dhirajlal                  Parmar                 Kingdom         Hashmukhrai    C.          Parmar                       United States 9/11/01   NY (WTC)     03-cv-9849   5284-1, at 9, 5296   Sibling   4023 at 20   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      305, at P4466,
                                                                                                                                                                                                      8393-1, at 448,
3016                      Rishi                      Parmar                 United States   Hashmukhrai    C.          Parmar                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     7188 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      305, at P4466,
                                                                                                                                                                                                      8393-1, at 449,
3017                      Shamir                     Parmar                 United States   Hashmukhrai    C.          Parmar                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     7188 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 3,
3018                      Barbara       Ann          Parrett                United States   Martin         Edward      McWilliams                   United States 9/11/01   NY (Other)   03-cv-9849   at 1445              Sibling   5062 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      26, 29, at 4120,
                                                                                                                                                                                                      8393-1, at 1138,
3019                      John          Robert       Parro                  United States   Robert                     Parro                        United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5969 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      26, 29, at 4120,
                                                                                                                                                                                                      8393-1, at 71,
3020                      Karen                      Parro                  United States   Robert                     Parro                        United States 9/11/01   NY (Other)   03-cv-9849   8487                 Spouse    5848 at 9    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
3021                      Robert        R.           Paskins                United States   Jerrold        H.          Paskins                      United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4469        Child     5848 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 3,
3022                      Marivel       Verzosa      Passacantando          United States   Hilario        Soriano     Sumaya            Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   at 1697              Sibling   4023 at 24   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
3023                      Janine                     Passelis               United States   Ann Marie                  Riccoboni                    United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4254      Child     4126 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                    United                                            1:02-cv-01616,
3024                      Ashley        Elizabeth    Pastor                 United States   Ronald         L.          Gilligan                     Kingdom       9/11/01   NY (WTC)     03-cv-9849   77, at P2607         Child     7188 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 3,
                                                                                                                                                                                                      at 1518, 8397-1,
3025 Niraj   J.   Patel   Jayant        Ranchhodbhai Patel                  India           Dipti                      Patel                        United States 9/11/01   NY (WTC)     03-cv-9849   at 22, 8433          Parent    4023 at 20   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 3,
                                                                                                                                                                                                      at 1519, 8397-1,
3026 Niraj   J.   Patel   Kapila        J.           Patel                  United States   Dipti                      Patel                        United States 9/11/01   NY (WTC)     03-cv-9849   at 22, 8433          Parent    4023 at 20   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 3,
3027                      Nimisha       J.           Patel                  India           Dipti                      Patel                        United States 9/11/01   NY (WTC)     03-cv-9849   at 1522              Sibling   4023 at 20   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616, 3,
                                                                                                                                                                                                      at 1520, 8393-1,
3028                      Niraj         J.           Patel                  India           Dipti                      Patel                        United States 9/11/01   NY (WTC)     03-cv-9849   at 19, 8487          Sibling   4023 at 20   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616, 3,
3029                      Rantik        J.           Patel                  India           Dipti                      Patel                        United States 9/11/01   NY (WTC)     03-cv-9849   at 1521              Sibling   4023 at 20   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616, 3,
3030                      Vibhuti       K.           Patel                  India           Dipti                      Patel                        United States 9/11/01   NY (WTC)     03-cv-9849   at 1523              Sibling   4023 at 20   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                    United                                            1:02-cv-01616, 3,
3031                      Yogesh        R.           Patel                  United States   Avnish         Ramanbhai   Patel                        Kingdom       9/11/01   NY (WTC)     03-cv-9849   at 1514              Sibling   4126 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
3032                      George        Joseph       Paterson         Jr.   United States   Steven         Bennett     Paterson                     United States 9/11/01   NY (WTC)     03-cv-9849   155, at P3062        Sibling   4023 at 20   $   4,250,000.00 $    12,750,000.00



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                                                                                                                                                                                                      1:02-cv-01616,
3033                           Joseph      James      Paterson                United States   Steven        Bennett   Paterson                      United States 9/11/01   NY (WTC)     03-cv-9849   155, at P3063        Sibling   3666 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
3034                           Lisa        Anne       Paterson                United States   Steven        Bennett   Paterson                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4127      Spouse    5061 at 11   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      26, 29, at 4127,
                                                                                                                                                                                                      8393-1, at 1249,
3035                           Lucy        Belle      Paterson                United States   Steven        Bennett   Paterson                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 16   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      26, 29, at 4127,
                                                                                                                                                                                                      8393-1, at 1250,
3036                           Wyatt       James      Paterson                United States   Steven        Bennett   Paterson                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 16   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 1,
3037                           Alicia      Marie      Patrick                 United States   James         Matthew   Patrick                       Unknown      9/11/01    NY (WTC)     03-cv-9849   at 436               Sibling   5062 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616, 1,
3038                           Barbara     Ann        Patrick                 United States   James         Matthew   Patrick                       Unknown      9/11/01    NY (WTC)     03-cv-9849   at 433               Parent    4023 at 20   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 1,
3039                           Jerry       Gale       Patrick                 United States   James         Matthew   Patrick                       Unknown      9/11/01    NY (WTC)     03-cv-9849   at 434               Parent    4023 at 20   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 1,
3040                           Kathryn     Marie      Patrick                 United States   James         Matthew   Patrick                       Unknown      9/11/01    NY (WTC)     03-cv-9849   at 437               Sibling   5062 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616, 1,
3041                           Kevin       Michael    Patrick                 United States   James         Matthew   Patrick                       Unknown      9/11/01    NY (WTC)     03-cv-9849   at 435               Sibling   4023 at 20   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                            VA                        1:02-cv-01616,
3042                           Christine   Florence   Patterson               United States   Ada           M.        Davis                         United States 9/11/01   (Pentagon)   03-cv-9849   432, at P4816        Sibling   3666 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616, 1,
3043                           Christine   Anne       Patterson               United States   Adele                   Sessa                         United States 9/11/01   NY (WTC)     03-cv-9849   at 574               Sibling   4023 at 23   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616, 1,
                                                                                                                                                                                                      at 442, 8393-1, at
3044                           Frances                Patti                   United States   Cira          Marie     Patti                         United States 9/11/01   NY (WTC)     03-cv-9849   12, 8487             Parent    4023 at 20   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 1,
3045                           Michael                Patti                   United States   Cira          Marie     Patti                         United States 9/11/01   NY (WTC)     03-cv-9849   at 440               Parent    4023 at 20   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 1,
3046                           Michael                Patti             Jr.   United States   Cira          Marie     Patti                         United States 9/11/01   NY (WTC)     03-cv-9849   at 444               Sibling   4126 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616, 1,
3047                           Richard     Paul       Patti                   United States   Cira          Marie     Patti                         United States 9/11/01   NY (WTC)     03-cv-9849   at 445               Sibling   4023 at 20   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616, 1,
3048                           Juliann     Frances    Patti-Andolpho          United States   Cira          Marie     Patti                         United States 9/11/01   NY (WTC)     03-cv-9849   at 443               Sibling   4023 at 20   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616, 1,
                                                                                                                                                                                                      at 59, 8393-1, at
                                                                                                                                                                                                      278, 8487, 8393-
3049                           Marina      Denise     Paulie                  United States   Denise        Lenore    Benedetto                     United States 9/11/01   NY (WTC)     03-cv-9849   1, at 17, 8487       Child     5087 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      77, at P2682,
                                                                                                                                                                                                      8393-1, at 81,
3050                           Kia         Polyxena   Pavloff                 Unknown         Thomas                  Pecorelli                     United States 9/11/01   NY (AA11)    03-cv-9849   8487                 Spouse    5061 at 11   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
3051                           Elizabeth   Ann        Payne                   United States   William       Eben      Wilson                        United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4729      Spouse    5087 at 21   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      26, 29, at 4751,
                                                                                                                                                                                                      8397-1, at 22,
3052 Lorna            Kaye     Adele                  Pearl                   Unknown         Myrna                   Yaskulka                      United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    5087 at 22   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      26, 29, at 4754,
                                                                                                                                                                                                      8397-1, at 22,
3053 Philip           Pearl    Ivan                   Pearl                   United States   Myrna                   Yaskulka                      United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Sibling   5061 at 14   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      8679-1, at 528,
3054                           Jeffrey     J.         Pearl                   United States   Myrna                   Yaskulka                      United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   8233 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
3055                           Philip                 Pearl                   United States   Myrna                   Yaskulka                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4753      Sibling   4023 at 26   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
3056                           Shawn       Brett      Pearl                   Unknown         Myrna                   Yaskulka                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4752      Sibling   5061 at 14   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
3057                           Jan         Cleere     Peavy                   United States   James         Durward   Cleere                        United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4188        Sibling   4023 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      8679-1, at 376,
3058                           Joan                   Pecoraro                United States   Joseph                  Plumitallo                    United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   5087 at 16   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
3059                           Natalie                Pecorelli               United States   Thomas                  Pecorelli                     United States 9/11/01   NY (AA11)    03-cv-9849   305, at P4476        Sibling   4023 at 20   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
3060                           Nicolas     Thomas     Pecorelli               United States   Thomas                  Pecorelli                     United States 9/11/01   NY (AA11)    03-cv-9849   77, at P2684         Child     5061 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
3061                           Catherine   Louise     Pedersen                United States   Loretta       A.        Vero                          United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2413      Sibling   4023 at 25   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      305, at P4478,
                                                                                                                                                                                                      8397-1, at 22,
3062 Pamela   Marie   Morace   Albert      Anthony    Pedicini                United States   Thomas                  Pedicini                      United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    4126 at 7    $   8,500,000.00 $    25,500,000.00




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                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                       305, at P4477,
                                                                                                                                                                                                       8397-1, at 22,
                                                                                                                                                                                                       8433, 8393-1, at
3063 Pamela   Marie   Morace     Nancy         N.         Pedicini              United States   Thomas                  Pedicini                     United States 9/11/01   NY (WTC)     03-cv-9849   82, 8487             Parent    4126 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                       26, 29, at 4134,
                                                                                                                                                                                                       8393-1, at 43,
3064                             Melissa       Mil        Pena                  United States   Angel         R.        Pena                         United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5356 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
3065                             Michele       Taglieri   Pena                  United States   Angel         R.        Pena                         United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4134      Spouse    5356 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                       26, 29, at 4134,
                                                                                                                                                                                                       8393-1, at 44,
3066                             Sara          Jaye       Pena                  United States   Angel         R.        Pena                         United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5356 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
3067                             Carol         Ann        Penna                 Unknown         James         Francis   Lynch                        United States 9/11/01   NY (Other)   03-cv-9849   155, at P3010        Sibling   4023 at 17   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:03-md-01570,
                                                                                                                                                                                                       432, at P5406,
                                                                                                                                                                                                       8393-1, at 216,
3068                             Colton        Miller     Penrod                United States   Craig         James     Miller                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5848 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:03-md-01570,
                                                                                                                                                                                                       432, at P5406,
                                                                                                                                                                                                       8393-1, at 217,
3069                             Curt          Miller     Penrod                United States   Craig         James     Miller                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5848 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:03-md-01570,
                                                                                                                                                                                                       432, at P5406,
                                                                                                                                                                                                       8393-1, at 13,
3070                             Holly         Miller     Penrod                United States   Craig         James     Miller                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5848 at 8    $   12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                       232, at P3894,
3071                             Cielita       Barber     Peralta               United States   Carl          Allen     Peralta                      United States 9/11/01   NY (WTC)     03-cv-9849   8393-1, at 8, 8487   Parent    4023 at 20   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
3072                             Oscar         Figueras   Peralta               United States   Carl          Allen     Peralta                      United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3895        Parent    4023 at 20   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                       26, 29, at 2263,
                                                                                                                                                                                                       8393-1, at 639,
3073                             Julia         Amelia     Perconti              United States   Jon           A.        Perconti                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5848 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                       26, 29, at 2264,
                                                                                                                                                                                                       8397-1, at 22,
3074 Tammy            Perconti   Lucia                    Perconti              United States   Jon           A.        Perconti                     United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    5087 at 16   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
3075                             Tammy                    Perconti              United States   Jon           A.        Perconti                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2263      Spouse    5061 at 11   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                       232, at P3761,
                                                                                                                                                                                                       8393-1, at 391,
3076                             Katharine     Rose       Pereira               United States   Franco                  Lalama                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       8679-1, at 418,
3077                             Emiliano                 Perez                 United States   Sylvia                  San Pio                      United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                       155, at P2848,
                                                                                                                                                                                                       8393-1, at 1111,
3078                             Jessica                  Perez                 United States   Robert        D.        Cirri             Sr.        United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5848 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       8679-1, at 416,
3079                             Joseph        Francis    Perez                 United States   Sylvia                  San Pio                      United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       8679-1, at 415,
3080                             Laura                    Perez                 United States   Sylvia                  San Pio                      United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                       77, at P2685,
                                                                                                                                                                                                       8393-1, at 35,
3081                             Luis                     Perez                 Unknown         Jennifer                DeJesus                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Sibling   515 at 4     $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:02-cv-01616, 1,
                                                                                                                                                                                                       at 321, 8393-1, at
3082                             Shaneeza                 Periana-Pillai        Guyana          Sarah                   Khan                         United States 9/11/01   NY (WTC)     03-cv-9849   1191, 8487           Child     5061 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
3083                             Carol                    Perla                 United States   Michael       A.        Trinidad                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4575      Sibling   5848 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       8679-1, at 183,
3084                             Kristie       Lynn       Perrotta              United States   Joseph                  Grzelak                      United States 9/11/01   NY (Other)   03-cv-9849   8696                 Child     5087 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
3085                             Joel          R.         Perry                 Unknown         John          William   Perry                        United States 9/11/01   NY (Other)   03-cv-9849   432, at P4924        Sibling   3382         $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       8679-1, at 229,
3086                             Surujpattie              Persaud               guyana          Sarah                   Khan                         United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:02-cv-01616, 1,
3087                             Angela                   Pesce                 United States   Danny                   Pesce                        United States 9/11/01   NY (WTC)     03-cv-9849   at 452               Sibling   4146 at 3    $   4,250,000.00 $    12,750,000.00



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                                                                                                                                                    EXHIBIT B-1
                                                                                                                                 SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                                                              1:02-cv-01616, 1,
3088                                                     Chiara                  Pesce                 Unknown         Danny                   Pesce                        United States 9/11/01   NY (WTC)     03-cv-9849   at 450               Parent       4146 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                              1:02-cv-01616, 1,
3089                                                     Frank                   Pesce                 United States   Danny                   Pesce                        United States 9/11/01   NY (WTC)     03-cv-9849   at 451               Sibling      4126 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                              1:02-cv-01616, 1,
                                                                                                                                                                                                                              at 448, 8397-1, at
3090 Angela; Frank                  Pesce; Pesce         Paolo                   Pesce                 United States   Danny                   Pesce                        United States 9/11/01   NY (WTC)     03-cv-9849   23, 8433             Parent       515 at 5     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                              1:02-cv-01616, 3,
3091                                                     Anne        Marie       Pescherine            United States   Michael        John     Pescherine                   United States 9/11/01   NY (WTC)     03-cv-9849   at 1531              Parent       4023 at 21   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                              1:02-cv-01616, 3,
                                                                                                                                                                                                                              at 1530, 8397-1,
3092 Anne             Marie         Pescherine           Thomas      Francis     Pescherine      Sr.   United States   Michael        John     Pescherine                   United States 9/11/01   NY (WTC)     03-cv-9849   at 23, 8433          Parent       5061 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                              1:02-cv-01616, 3,
3093                                                     William     Kevin       Pescherine            United States   Michael        John     Pescherine                   United States 9/11/01   NY (WTC)     03-cv-9849   at 1532              Sibling      4023 at 21   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                              1:02-cv-01616, 3,
3094                                                     Mary Ann    Elizabeth   Peters                United States   David          Joseph   Grimner                      United States 9/11/01   NY (WTC)     03-cv-9849   at 1189              Sibling      3666 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                       United States   Kevin          P.       Connors                                              NY (WTC)                  8679-1, at 59,
3095                                                     Daniella                Peters-Nylen                                                                               United States 9/11/01                03-cv-9849   8696                 Step-Child   8293 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                              1:03-cv-9849,
                                                                                                                                                                                                                              HAND FILED, at
3096                                                     Charles     R.          Peterson              United States   Donald         A.       Peterson                     United States 9/11/01   PA (UA93)    03-cv-9849   P5223                Child        4126 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                              313, at P4702,
                                                                                                                                                                                                                              8393-1, at 19,
3097                                                     D.          Hamilton    Peterson              United States   Donald         A.       Peterson                     United States 9/11/01   PA (UA93)    03-cv-9849   8487                 Child        4126 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                              8679-1, at 371,
3098                                                     David       S           Peterson              United States   Donald         A.       Peterson                     United States 9/11/01   PA (UA93)    03-cv-9849   8696                 Child        5087 at 16   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                              1:02-cv-01616, 1,
3099                                                     Derek       Earle       Peterson              United States   Davin          N.       Peterson                     United States 9/11/01   NY (WTC)     03-cv-9849   at 804               Sibling      4023 at 21   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                              1:02-cv-01616, 1,
                                                                                                                                                                                                                              at 802, 5284-1, at
3100                                                     Marta       Elisabeth   Peterson              Norway          Davin          N.       Peterson                     United States 9/11/01   NY (WTC)     03-cv-9849   9, 5296              Parent       4023 at 21   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                              1:02-cv-01616, 1,
                                                                                                                                                                                                                              at 456, 8397-1, at
3101 Albert           Peter         Petrocelli     Jr.   Albert      Peter       Petrocelli      Sr.   United States   Mark           James    Petrocelli                   United States 9/11/01   NY (WTC)     03-cv-9849   23, 8433             Parent       3666 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                              1:02-cv-01616, 1,
3102                                                     Albert      Peter       Petrocelli      Jr.   Unknown         Mark           James    Petrocelli                   United States 9/11/01   NY (WTC)     03-cv-9849   at 457               Sibling      3666 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                              1:02-cv-01616, 1,
3103                                                     Virginia    Ann         Petrocelli            United States   Mark           James    Petrocelli                   United States 9/11/01   NY (WTC)     03-cv-9849   at 458               Parent       3666 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                              1:02-cv-01616, 1,
3104                                                     Martha      Burnett     Pettee                United States   Thomas         E.       Burnett           Jr.        United States 9/11/01   PA (UA93)    03-cv-9849   at 10                Sibling      4023 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                              305, at P4486,
                                                                                                                                                                                                                              8397-1, at 23,
3105 Adrian; Thomas   Lee; Daniel   Foran; Petti         Catherine               Petti                 Unknown         Philip         Scott    Petti                        United States 9/11/01   NY (Other)   03-cv-9849   8433                 Parent       3666 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                              1:03-cv-9849,
                                                                                                                                                                                                                              HAND FILED, at
                                                                                                                                                                                                                              P5225, 8393-1, at
3106                                                     Eileen      Regina      Petti                 United States   Philip         Scott    Petti                        United States 9/11/01   NY (Other)   03-cv-9849   66, 8487             Spouse       5087 at 16   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                              1:03-cv-9849,
                                                                                                                                                                                                                              HAND FILED, at
3107                                                     Philip      Anthony     Petti                 United States   Philip         Scott    Petti                        United States 9/11/01   NY (Other)   03-cv-9849   P5226                Child        5087 at 16   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                              1:02-cv-01616,
3108                                                     Thomas      Daniel      Petti                 Unknown         Philip         Scott    Petti                        United States 9/11/01   NY (Other)   03-cv-9849   305, at P4487        Sibling      3666 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                              1:02-cv-01616,
3109                                                     Anne        Maria       Pettus                United States   Laura          M.       Longing                      United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3795        Parent       3666 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                              1:02-cv-01616,
3110                                                     Keith       Brian       Pettus                Unknown         Laura          M.       Longing                      United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4390        Sibling      3666 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                              232, at P3796,
                                                                                                                                                                                                                              8397-1, at 23,
3111 Anne             Maria         Pettus               Kevin       Russell     Pettus                United States   Laura          M.       Longing                      United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent       3666 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                              8679-1, at 254,
3112                                                     Margaret    Anne        Pettus                United States   Laura          M.       Longing                      United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling      5087 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                              1:03-md-01570,
                                                                                                                                                                                                                              432, at P5331,
                                                                                                                                                                                                                              8393-1, at 30,
3113                                                     Kathleen    Vieira      Pfitzer               United States   James          C.       Cappers                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse       5848 at 4    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                              1:02-cv-01616, 1,
3114                                                     Susan       L.          Picarro               United States   Ludwig         John     Picarro                      United States 9/11/01   NY (WTC)     03-cv-9849   at 461               Spouse       5087 at 16   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                              26, 29, at 3110,
                                                                                                                                                                                                                              8393-1, at 24,
3115                                                     Dawn        Marie       Picciano              United States   Francis                 Esposito                     United States 9/11/01   NY (Other)   03-cv-9849   8487                 Spouse       5848 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                              1:02-cv-01616,
3116                                                     Carolyn                 Piccirillo            Unknown         Robert                  Curatolo                     United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 1922      Sibling      3666 at 3    $   4,250,000.00 $    12,750,000.00



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                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                          432, at P4926,
                                                                                                                                                                          8393-1, at 878,
3117   Anthony      Joseph    Picerno             United States   Matthew       Martin    Picerno                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5848 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                          432, at P4926,
                                                                                                                                                                          8393-1, at 879,
3118   Francesca    Marie     Picerno             United States   Matthew       Martin    Picerno                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5061 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                          432, at P4926,
                                                                                                                                                                          8393-1, at 880,
3119   Matthew      Michael   Picerno             United States   Matthew       Martin    Picerno                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5061 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                          432, at P4926,
                                                                                                                                                                          8393-1, at 54,
3120   Petrina      M.        Picerno             United States   Matthew       Martin    Picerno                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5087 at 16   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                          155, at P3066,
                                                                                                                                                                          8393-1, at 93,
3121   Alexis                 Pietronico          United States   Bernard                 Pietronico                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 16   $   8,500,000.00 $    25,500,000.00

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                                                                                                                                                                          155, at P3066,
3122   Jacqueline             Pietronico          United States   Bernard                 Pietronico                    United States 9/11/01   NY (WTC)     03-cv-9849   8393-1, at 6, 8487   Spouse    5087 at 16   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                          155, at P3066,
                                                                                                                                                                          8393-1, at 94,
3123   Joseph       B.        Pietronico          United States   Bernard                 Pietronico                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 16   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                          1:02-cv-01616,
3124   Michael                Pietronico          Unknown         Bernard                 Pietronico                    United States 9/11/01   NY (WTC)     03-cv-9849   155, at P3067        Sibling   3666 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                          1:02-cv-01616,
3125   Patricia     Marie     Pietronico          Unknown         Bernard                 Pietronico                    United States 9/11/01   NY (WTC)     03-cv-9849   155, at P3068        Parent    3666 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                          155, at P3070,
                                                                                                                                                                          8393-1, at 61,
3126   John         Joseph    Pietrunti     Jr.   United States   Nicholas      P.        Pietrunti                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Sibling   4023 at 21   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                          1:02-cv-01616,
3127   Gina                   Pinos               United States   James         N.        Pappageorge                   United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4110      Spouse    5951 at 7    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                          1:02-cv-01616,
3128   Douglas      Arthur    Pinto               United States   Susan                   Pinto                         United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2271      Spouse    6035 at 4    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                          26, 29, at 2271,
                                                                                                                                                                          8393-1, at 1270,
3129   Joseph       Arthur    Pinto               United States   Susan                   Pinto                         United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     6035 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                          26, 29, at 2271,
                                                                                                                                                                          8393-1, at 1271,
3130   Nicholas     Douglas   Pinto               United States   Susan                   Pinto                         United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     6035 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                          8679-1, at 474,
3131   Michele      Teresa    Piper               United States   Michael       A.        Uliano                        United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 14   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                          1:02-cv-01616,
3132   Brian        Joseph    Piskadlo            United States   Joseph                  Piskadlo                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4161      Child     5087 at 16   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                          8679-1, at 373,
3133   Edward       S.        Piskadlo            United States   Joseph                  Piskadlo                      United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                          8679-1, at 372,
3134   John                   Piskadlo            United States   Joseph                  Piskadlo                      United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                          1:02-cv-01616,
3135   Rosemary               Piskadlo            United States   Joseph                  Piskadlo                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4159      Spouse    5087 at 16   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                          1:02-cv-01616,
3136   Steven       John      Piskadlo            United States   Joseph                  Piskadlo                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4160      Child     5087 at 16   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                          432, at P4932,
                                                                                                                                                                          8393-1, at 12,
3137   Eric         J.        Pitman              United States   Christopher   Todd      Pitman                        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    5087 at 16   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                          1:02-cv-01616,
3138   Julie        Ann       Pitt                United States   Robert        A.        Jalbert                       United States 9/11/01   NY (UA175)   03-cv-9849   155, at P2959        Child     4023 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                          1:02-cv-01616, 3,
                                                                                                                                                                          at 1792, 5284-1,
3139   Suzanne      Marie     Pitzal              Unknown         James         Michael   Gray                          United States 9/11/01   NY (WTC)     03-cv-9849   at 5, 5296           Sibling   3666 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                          8679-1, at 374,
3140   Erika        Leigh     Piver               United States   Joshua        Michael   Piver                         United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                          155, at P3071,
                                                                                                                                                                          8393-1, at 43,
3141   Susan        S.        Piver               United States   Joshua        Michael   Piver                         United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    4126 at 7    $   8,500,000.00 $    25,500,000.00




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                                                                                                                                                                                                                     1:02-cv-01616, 1,
3142                                           Michele                Pizzo               United States   Jason         Christopher   DeFazio                      United States 9/11/01   NY (WTC)     03-cv-9849   at 174               Spouse    5087 at 7    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                     232, at P4082,
                                                                                                                                                                                                                     8393-1, at 43,
3143                                           Doreen                 Plumitallo          United States   Joseph                      Plumitallo                   United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5087 at 16   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                     232, at P4082,
                                                                                                                                                                                                                     8393-1, at 685,
3144                                           Genna       Rose       Plumitallo          United States   Joseph                      Plumitallo                   United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5061 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                     232, at P4082,
                                                                                                                                                                                                                     8393-1, at 686,
3145                                           Joseph      Frank      Plumitallo          United States   Joseph                      Plumitallo                   United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5061 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                     232, at P4082,
                                                                                                                                                                                                                     8393-1, at 687,
3146                                           Lisa        Grace      Plumitallo          United States   Joseph                      Plumitallo                   United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5061 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                     8679-1, at 378,
3147                                           Louis       Joseph     Plumitallo    Jr.   United States   Joseph                      Plumitallo                   United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   5087 at 16   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                     1:02-cv-01616,
3148                                           Omar        Wilfredo   Pocasangre          United States   Ana           Gloria        deBarrera                    El Salvador   9/11/01   NY (UA175)   03-cv-9849   432, at P4821        Sibling   4023 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                     1:02-cv-01616, 3,
3149                                           Barbara     L.         Polhemus            Unknown         Thomas        H.            Polhemus                     United States 9/11/01   NY (WTC)     03-cv-9849   at 1538              Spouse    5087 at 16   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                     1:02-cv-01616,
3150                                           Harold      Lowe       Polhemus            United States   Thomas        H.            Polhemus                     United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4490        Parent    3666 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                     305, at P4491,
                                                                                                                                                                                                                     8397-1, at 23,
3151 Dorothy         Gail      McGrath         Olga        L.         Polhemus            United States   Thomas        H.            Polhemus                     United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    4126 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                     1:02-cv-01616,
3152                                           Barbara                Polisar             United States   Frank                       Palombo                      United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2248      Sibling   6034 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                     432, at P4933,
                                                                                                                                                                                                                     8397-1, at 23,
                                                                                                                                                                                                                     8433, 8393-1, at
3153 Joyce; Sandra   Frances   Oxley; Gidman   Phyllis                Pollio              United States   Susan         M.            Pollio                       United States 9/11/01   NY (WTC)     03-cv-9849   79, 8487             Parent    5136 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                     1:02-cv-01616,
3154                                           Cynthia     Ann        Polo                United States   Edward        T.            Keane                        United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4351        Child     4023 at 15   $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                     155, at AP217,
3155                                           Deborah     J.         Popadiuk            United States   Claude        Daniel        Richards                     United States 9/11/01   NY (Other)   03-cv-9849   5284-1, at 9, 5296   Sibling   4023 at 21   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                     77, at P2688,
                                                                                                                                                                                                                     8393-1, at 43,
3156                                           Vasile                 Poptean             United States   Joshua        I.            Poptean                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Sibling   5061 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                     1:02-CV-01616,
3157                                           Kathleen    Megan      Poss                United States   Arthur        T.            Barry                        United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2624      Sibling   4023 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                     8679-1, at 105,
3158                                           Donna       Michelle   Posta               United States   Bernard                     Favuzza                      United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Child     7188 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                           VA                        1:02-cv-01616,
3159                                           Marcellia   Mary       Potler              United States   Ronald        Franklin      Golinski                     United States 9/11/01   (Pentagon)   03-cv-9849   155, at P2909        Child     5062 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                     232, at P3902,
                                                                                                                                                                                                                     8393-1, at 68,
3160                                           Margaret               Poulos              United States   Richard       N.            Poulos                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5087 at 16   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                     1:02-cv-01616,
3161                                           Richard     J.         Poulos              United States   Richard       N.            Poulos                       United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3903        Child     4023 at 21   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                           VA                        1:02-cv-01616, 1,
3162                                           Catherine   M.         Powell              United States   Scott         Allen         Powell                       United States 9/11/01   (Pentagon)   03-cv-9849   at 464               Parent    4023 at 21   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                     1:03-cv-9849,
                                                                                                                                                                                                                     HAND FILED, at
                                                                                                                                                                                                                     P5231, 8393-1, at
3163                                           Harry       James      Powell              Unknown         Brandon       Jerome        Powell                       United States 9/11/01   NY (WTC)     03-cv-9849   6, 8487              Parent    4023 at 21   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                     1:03-cv-9849,
                                                                                                                                                                                                                     HAND FILED, at
3164 Gerald          E.        McCollin        Norma                  Powell              United States   Brandon       Jerome        Powell                       United States 9/11/01   NY (WTC)     03-cv-9849   P5232                Parent    4023 at 21   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                     8679-1, at 483,
3165                                           Melissa     Mary       Prevey              United States   Bradley       Hodges        Vadas                        United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   5087 at 20   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                     232, at P3906,
                                                                                                                                                                                                                     8397-1, at 23,
3166 Dolores         Alba      Preziose        Alexander              Preziose            United States   Gregory       M.            Preziose                     United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    5087 at 16   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                     1:02-cv-01616,
3167                                           Anthony     G.         Preziose            United States   Gregory       M.            Preziose                     United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3907        Child     5104 at 4    $   8,500,000.00 $    25,500,000.00



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                                                                                                                                                                                1:02-cv-01616,
3168   Christopher   Paul        Preziose               United States   Gregory       M.         Preziose                     United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3908        Sibling   3666 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                1:02-cv-01616,
3169   Dolores       Alba        Preziose               United States   Gregory       M.         Preziose                     United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3909        Parent    3666 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                1:02-cv-01616,
3170   Gabrielle     M.          Preziose               United States   Gregory       M.         Preziose                     United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3910        Child     5104 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                1:02-cv-01616,
3171   Jake          D.          Preziose               United States   Gregory       M.         Preziose                     United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3911        Child     5104 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                1:02-cv-01616,
3172   James         Alexander   Preziose               Unknown         Gregory       M.         Preziose                     United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3912        Sibling   3666 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                1:02-cv-01616,
3173   John          Michael     Preziose               United States   Gregory       M.         Preziose                     United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3913        Sibling   3666 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                232, at P3914,
                                                                                                                                                                                8393-1, at 28,
3174   Lori          A.          Preziose               United States   Gregory       M.         Preziose                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5087 at 16   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                1:03-cv-9849,
                                                                                                                                                                                HAND FILED, at
                                                                                                                                                                                P5234, 8393-1, at
3175   Edward        Joseph      Prince                 United States   Wanda         Ivelisse   Prince                       United States 9/11/01   NY (WTC)     03-cv-9849   86, 8487             Spouse    5848 at 9    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                26, 29, at 4176,
                                                                                                                                                                                8393-1, at 47,
3176   Gerard        John        Prior                  United States   Kevin         M.         Prior                        United States 9/11/01   NY (Other)   03-cv-9849   8487                 Parent    4023 at 21   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                1:02-cv-01616,
3177   Marian        Anna        Prior                  United States   Kevin         M.         Prior                        United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4177      Parent    4023 at 21   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                305, at AP256,
                                                                                                                                                                                8393-1, at 53,
3178   Jean          Lucido      Prisco                 United States   Martin                   Lizzul                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5848 at 6    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                1:02-cv-01616, 3,
3179   Mary          Ellen       Profita                United States   Thomas        Patrick    Knox                         United States 9/11/01   NY (WTC)     03-cv-9849   at 1301              Sibling   5062 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                1:02-cv-01616, 1,
3180   Donald        Henry       Progen                 United States   Carrie        Beth       Progen                       United States 9/11/01   NY (WTC)     03-cv-9849   at 474               Parent    4023 at 21   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                1:02-cv-01616, 1,
3181   Kathleen      Ann         Progen                 United States   Carrie        Beth       Progen                       United States 9/11/01   NY (WTC)     03-cv-9849   at 475               Parent    4023 at 21   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                1:02-cv-01616, 1,
3182   Matthew       Eric        Progen                 United States   Carrie        Beth       Progen                       United States 9/11/01   NY (WTC)     03-cv-9849   at 476               Sibling   4023 at 21   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                1:02-cv-01616,
3183   Joan          Weiss       Prowler                United States   David         Martin     Weiss                        United States 9/11/01   NY (Other)   03-cv-9849   77, at P2689         Parent    4023 at 26   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                1:02-cv-01616,
3184   Janice        Lynn        Pucciarelli            United States   Leonard       J.         Ragaglia                     United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2293      Sibling   5062 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                26, 29, at 4147,
                                                                                                                                                                                8393-1, at 672,
3185   Jeannette     Marie       Puccio-Pick            United States   Joseph        Oswald     Pick                         United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     6034 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                1:02-cv-01616,
3186   Marie         E.          Puccio-Pick            United States   Joseph        Oswald     Pick                         United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4147      Spouse    6034 at 4    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                1:02-cv-01616, 1,
                                                                                                                                                                                at 479, 5284-1, at
3187   Michael       John        Puckett                United States   John          F.         Puckett                      United States 9/11/01   NY (WTC)     03-cv-9849   9, 5296              Child     5848 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                1:02-cv-01616, 1,
                                                                                                                                                                                at 480, 8393-1, at
3188   Michele                   Puckett-Formolo        United States   John          F.         Puckett                      United States 9/11/01   NY (WTC)     03-cv-9849   600, 8487            Child     5848 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                155, at P3072,
                                                                                                                                                                                8393-1, at 343,
3189   Anthony                   Pullis                 United States   Edward        Frank      Pullis                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5848 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                155, at P3072,
                                                                                                                                                                                8393-1, at 344,
3190   Edward                    Pullis                 United States   Edward        Frank      Pullis                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5848 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                155, at P3072,
                                                                                                                                                                                8393-1, at 345,
3191   Maria         F.          Pullis                 United States   Edward        Frank      Pullis                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5848 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                155, at P3072,
                                                                                                                                                                                8393-1, at 22,
3192   Melissa                   Pullis                 United States   Edward        Frank      Pullis                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5848 at 9    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                1:02-cv-01616, 1,
                                                                                                                                                                                at 482, 8393-1, at
3193   Brianna                   Puma                   United States   Patricia      Ann        Puma                         United States 9/11/01   NY (WTC)     03-cv-9849   999, 8487            Child     5848 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                1:02-cv-01616, 1,
                                                                                                                                                                                at 482, 8393-1, at
3194   Dylan                     Puma                   United States   Patricia      Ann        Puma                         United States 9/11/01   NY (WTC)     03-cv-9849   1000, 8487           Child     5848 at 9    $   8,500,000.00 $    25,500,000.00



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                                                                                                                                                                                                           at 482, 8393-1, at
3195                          Kevin                     Puma                      United States   Patricia       Ann         Puma                        United States 9/11/01   NY (WTC)     03-cv-9849   62, 8487             Spouse    5848 at 9        $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                           1:02-cv-01616, 1,
                                                                                                                                                                                                           at 482, 8393-1, at
3196                          Kiefer                    Puma                      United States   Patricia       Ann         Puma                        United States 9/11/01   NY (WTC)     03-cv-9849   1001, 8487           Child     5848 at 9        $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
3197                          Rosemary      Elizabeth   Pumilia                   United States   Michael        Francis     Lynch                       United States 9/11/01   NY (Other)   03-cv-9849   155, at P3015        Sibling   4023 at 17       $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
3198                          Sheila        Tamayo      Punzalan                  United States   Hector         R.          Tamayo                      United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3978        Sibling   4023 at 24       $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616, 3,
                                                                                                                                                                                                           at 1780, 5284-1,
3199                          David         Alan        Pykon                     United States   Edward         R.          Pykon                       United States 9/11/01   NY (WTC)     03-cv-9849   at 9, 5296           Sibling   3666 at 10       $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616, 3,
                                                                                                                                                                                                           at 1779, 8397-1,
3200 David   Alan   Pykon     Francis       Henry       Pykon                     United States   Edward         R.          Pykon                       United States 9/11/01   NY (WTC)     03-cv-9849   at 23, 8433          Parent    5061 at 11       $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616, 3,
                                                                                                                                                                                                           at 1778, 5284-1,
3201                          Jacqueline    Amy         Pykon                     United States   Edward         R.          Pykon                       United States 9/11/01   NY (WTC)     03-cv-9849   at 9, 5296           Spouse    5061 at 11       $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                           1:02-cv-01616, 3,
                                                                                                                                                                                                           at 1778, 8393-1,
3202                          Jordyn        B.          Pykon                     United States   Edward         R.          Pykon                       United States 9/11/01   NY (WTC)     03-cv-9849   at 358, 8487         Child     5061 at 11       $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           8679-1, at 384,
3203                          Christopher   James       Quackenbush               United States   Christopher                Quackenbush                 United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Child     7188 at 12       $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616, 3,
3204                          Gail          Elizabeth   Quackenbush               Unknown         Christopher                Quackenbush                 United States 9/11/01   NY (WTC)     03-cv-9849   at 1543              Sibling   3666 at 10       $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           8679-1, at 382,
3205                          Kelsey        Newsome     Quackenbush               United States   Christopher                Quackenbush                 United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Child     7188 at 12       $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616, 3,
3206                          Michael       Allen       Quackenbush               United States   Christopher                Quackenbush                 United States 9/11/01   NY (WTC)     03-cv-9849   at 1542              Sibling   3666 at 10       $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           8679-1, at 381,
3207                          Whitney       Strine      Quackenbush               United States   Christopher                Quackenbush                 United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Child     7188 at 12       $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           8679-1, at 351,
3208                          Dolores       Carol       Quigley                   United States   John           Alexander   Ogonowski                   United States 9/11/01   NY (AA11)    03-cv-9849   8696                 Sibling   7188 at 11       $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616, 1,
3209                          John          V.          Quigley                   Unknown         Patrick        J           Quigley          IV         United States 9/11/01   NY (UA175)   03-cv-9849   at 494               Sibling   3300             $   4,250,000.00 $    12,750,000.00

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                                                                                                                                                                                                           232, at P3915,
3210                          John          Eugene      Quigley                   United States   Beth           Ann         Quigley                     United States 9/11/01   NY (WTC)     03-cv-9849   8393-1, at 6, 8487   Parent    4023 at 21       $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
3211                          Louella       Jean        Quigley                   United States   Beth           Ann         Quigley                     United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3916        Parent    4023 at 21       $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616, 1,
3212                          Mi Ja         K.          Quigley                   Unknown         Patrick        J           Quigley          IV         United States 9/11/01   NY (UA175)   03-cv-9849   at 493               Parent    3300             $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616, 1,
                                                                                                                                                                                                           at 492, 8397-1, at
3213 Mi Ja   K.     Quigley   Patrick       J.          Quigley             Jr.   Unknown         Patrick        J           Quigley          IV         United States 9/11/01   NY (UA175)   03-cv-9849   23, 8433             Parent    3300             $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
3214                          Ruth                      Quigley-Lawrence          Unknown         Patrick        J           Quigley          IV         United States 9/11/01   NY (UA175)   03-cv-9849   77, at P2694         Sibling   3300             $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
3215                          Adam                      Quinn                     United States   Ricardo        J.          Quinn                       United States 9/11/01   NY (WTC)     03-cv-9849   313, at P4706        Child     5087 at 16       $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616, 1,
3216                          Angela        Carmela     Quinn                     United States   Martin                     Giovinazzo                  United States 9/11/01   NY (WTC)     03-cv-9849   at 247               Sibling   3666 at 5        $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
3217                          Bernard       Joseph      Quinn                     United States   Ricardo        J.          Quinn                       United States 9/11/01   NY (WTC)     03-cv-9849   313, at P4708        Sibling   4126 at 7        $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
3218                          Gregory       Vincent     Quinn                     United States   Ricardo        J.          Quinn                       United States 9/11/01   NY (WTC)     03-cv-9849   313, at P4709        Sibling   4023 at 21       $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           313, at P4704,
                                                                                                                                                                                                           8393-1, at 1079,
3219                          Kevin                     Quinn                     United States   Ricardo        J.          Quinn                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 16       $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           313, at P4704,
                                                                                                                                                                                                           8393-1, at 67,
3220                          Virginia      A.          Quinn                     United States   Ricardo        J.          Quinn                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5087 at 16       $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                           8679-1, at 485,
3221                          Carmen        Noemi       Quintana                  United States   Felix          Antonio     Vale                        United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 14, 15   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           8679-1, at 485,
3222                          Carmen        Noemi       Quintana                  United States   Ivan                       Vale                        Unknown      9/11/01    NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 14, 15   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           8679-1, at 487,
3223                          Jose          Ruben       Quintana                  United States   Felix          Antonio     Vale                        United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 14, 15   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           8679-1, at 487,
3224                          Jose          Ruben       Quintana                  United States   Ivan                       Vale                        Unknown      9/11/01    NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 14, 15   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           8679-1, at 486,
3225                          Rubencio                  Quintana                  United States   Felix          Antonio     Vale                        United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 15       $   4,250,000.00 $    12,750,000.00




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                                                                                                                              EXHIBIT B-1
                                                                                                           SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                                             8679-1, at 486,
3226                                 Rubencio                 Quintana            United States   Ivan                        Vale                         Unknown      9/11/01    NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 15   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                             1:02-cv-01616, 1,
                                                                                                                                                                                                             at 515, 8393-1, at
3227                                 A.           I.          R.                  United States   Isaias                      Rivera                       United States 9/11/01   NY (WTC)     03-cv-9849   29, 8487             Child     5087 at 17   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             1:02-cv-01616, 1,
3228                                 Rina                     Rabinowitz          United States   Denise        Lenore        Benedetto                    United States 9/11/01   NY (WTC)     03-cv-9849   at 60                Sibling   5087 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                             1:02-cv-01616,
3229                                 KellyAnn                 Racanelli           United States   Chris         M.            Kirby                        United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3754        Sibling   4023 at 15   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                             232, at P3917,
                                                                                                                                                                                                             8393-1, at 10,
3230 Sandra   Lusardi   Racaniello   Frank        V.          Racaniello          United States   Christopher   Anthony Peter Racaniello                   United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    4023 at 21   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             1:02-cv-01616,
3231                                 Sandra       Lusardi     Racaniello          United States   Christopher   Anthony Peter Racaniello                   United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3918        Parent    4023 at 21   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             1:02-cv-01616, 3,
3232                                 Maureen                  Racioppi            Unknown         Peter         T.            Milano                       United States 9/11/01   NY (WTC)     03-cv-9849   at 1456              Sibling   3382         $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                             1:02-cv-01616,
3233                                 Bernadette   Terese      Rafferty            United States   Michael       Francis       Lynch                        United States 9/11/01   NY (Other)   03-cv-9849   155, at P3016        Sibling   3666 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                             1:02-cv-01616, 3,
                                                                                                                                                                                                             at 1547, 8393-1,
3234                                 Anthony      Salvatore   Ragaglia            United States   Leonard       J.            Ragaglia                     United States 9/11/01   NY (Other)   03-cv-9849   at 786, 8487         Child     5087 at 16   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             1:02-cv-01616,
3235                                 Colleen      Patricia    Ragaglia            United States   Leonard       J.            Ragaglia                     United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2290      Sibling   5062 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                             1:02-cv-01616,
3236                                 Daniel       James       Ragaglia            United States   Leonard       J.            Ragaglia                     United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2286      Sibling   5062 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                             1:02-cv-01616,
3237                                 Debra        Ann         Ragaglia            Unknown         Leonard       J.            Ragaglia                     United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2291      Sibling   3666 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                             1:02-cv-01616, 3,
                                                                                                                                                                                                             at 1547, 8393-1,
3238                                 Donna                    Ragaglia            United States   Leonard       J.            Ragaglia                     United States 9/11/01   NY (Other)   03-cv-9849   at 49, 8487          Spouse    5087 at 16   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                             1:02-cv-01616, 3,
3239                                 Leonard      Salvatore   Ragaglia            Unknown         Leonard       J.            Ragaglia                     United States 9/11/01   NY (Other)   03-cv-9849   at 1545              Parent    3666 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             1:02-cv-01616, 3,
                                                                                                                                                                                                             at 1547, 8393-1,
3240                                 Leonard      John        Ragaglia      Jr.   United States   Leonard       J.            Ragaglia                     United States 9/11/01   NY (Other)   03-cv-9849   at 787, 8487         Child     5087 at 16   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             1:02-cv-01616, 3,
3241                                 Maureen      Frances     Ragaglia            Unknown         Leonard       J.            Ragaglia                     United States 9/11/01   NY (Other)   03-cv-9849   at 1546              Parent    3666 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             1:02-cv-01616,
3242                                 Paul         Joseph      Ragaglia            Unknown         Leonard       J.            Ragaglia                     United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2288      Sibling   3666 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                             1:02-cv-01616, 3,
                                                                                                                                                                                                             at 1545, 8393-1,
3243                                 Stephen      Anthony     Ragaglia            Unknown         Leonard       J.            Ragaglia                     United States 9/11/01   NY (Other)   03-cv-9849   at 788, 8487         Sibling   3666 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                             1:02-cv-01616, 3,
3244                                 Domenica                 Ragusa              United States   Michael       Paul          Ragusa                       United States 9/11/01   NY (Other)   03-cv-9849   at 1552              Parent    4023 at 21   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             1:02-cv-01616, 3,
3245                                 Kenneth      Joseph      Ragusa              United States   Michael       Paul          Ragusa                       United States 9/11/01   NY (Other)   03-cv-9849   at 1553              Sibling   4023 at 21   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                             1:02-cv-01616, 3,
3246                                 Vincent      Joseph      Ragusa              United States   Michael       Paul          Ragusa                       United States 9/11/01   NY (Other)   03-cv-9849   at 1551              Parent    4023 at 21   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             1:02-cv-01616, 3,
3247                                 Vincent      Carl        Ragusa              United States   Michael       Paul          Ragusa                       United States 9/11/01   NY (Other)   03-cv-9849   at 1554              Sibling   4023 at 21   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                             1:02-cv-01616, 3,
3248                                 Lenore       Clare       Raimondi            United States   Peter         Frank         Raimondi                     United States 9/11/01   NY (WTC)     03-cv-9849   at 1558              Spouse    5848 at 9    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                             1:02-cv-01616, 3,
                                                                                                                                                                                                             at 1558, 8393-1,
3249                                 Peter        Mathew      Raimondi            United States   Peter         Frank         Raimondi                     United States 9/11/01   NY (WTC)     03-cv-9849   at 1054, 8487        Child     5848 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             1:02-cv-01616, 3,
                                                                                                                                                                                                             at 1558, 8393-1,
3250                                 Philip       Warren      Raimondi            United States   Peter         Frank         Raimondi                     United States 9/11/01   NY (WTC)     03-cv-9849   at 1055, 8487        Child     5848 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                             232, at P3920,
                                                                                                                                                                                                             8393-1, at 444,
3251                                 Jillian      M.          Raines              United States   Harry         A.            Raines                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 16   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             1:02-cv-01616,
3252                                 Kimberly     Christine   Raines              United States   Harry         A.            Raines                       United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3919        Child     5087 at 16   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                             232, at P3920,
                                                                                                                                                                                                             8393-1, at 445,
3253                                 Kyle         C.          Raines              United States   Harry         A.            Raines                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 16   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                             232, at P3920,
                                                                                                                                                                                                             8393-1, at 28,
3254                                 Lauren       Christine   Raines              United States   Harry         A.            Raines                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5087 at 16   $   12,500,000.00 $   37,500,000.00




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                                                                                                                           EXHIBIT B-1
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                                                                                                                                                                                                       1:03-md-01570,
                                                                                                                                                                                                       432, at P5426,
                                                                                                                                                                                                       8397-1, at 23,
3255 Douglas            Raines      Marilyn                   Raines           United States   Lisa          Joy        Raines                       United States 9/11/01   VA (AA77)    03-cv-9849   8433                 Parent    5138 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                       305, at P4494,
                                                                                                                                                                                                       8393-1, at 1353,
3256                                Sanjay                    Raju             United States   Valsa                    Raju                         United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 16   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                       305, at P4494,
                                                                                                                                                                                                       8393-1, at 1354,
3257                                Soniya       Susan        Raju             United States   Valsa                    Raju                         United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 16   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                       432, at P4983,
                                                                                                                                                                                                       8393-1, at 29,
3258                                Ana          M.           Raley            United States   Ian           J.         Gray                         United States 9/11/01   VA (AA77)    03-cv-9849   8487                 Spouse    5087 at 10   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                       26, 29, at 4209,
                                                                                                                                                                                                       8393-1, at 347,
3259                                Daniel                    Rall             United States   Edward        J.         Rall                         United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5848 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
3260                                Darlene      G.           Rall             United States   Edward        J.         Rall                         United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4209      Spouse    5848 at 9    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
3261                                Edward       A.           Rall             Unknown         Edward        J.         Rall                         United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4210      Parent    3666 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
3262                                Joan         P.           Rall             Unknown         Edward        J.         Rall                         United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4211      Parent    3666 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                       26, 29, at 4209,
                                                                                                                                                                                                       8393-1, at 348,
3263                                Joseph                    Rall             United States   Edward        J.         Rall                         United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5848 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
3264                                Keith        George       Rall             Unknown         Edward        J.         Rall                         United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4212      Sibling   3666 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                       26, 29, at 4209,
                                                                                                                                                                                                       8393-1, at 349,
3265                                Matthew      William      Rall             United States   Edward        J.         Rall                         United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5848 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
3266                                William      Francis      Rall             Unknown         Edward        J.         Rall                         United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4213      Sibling   3666 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       8679-1, at 259,
3267                                Rosa         Maria        Ramirez          United States   Maclovio                 Lopez             Jr.        United States 9/11/01   NY (UA175)   03-cv-9849   8696                 Sibling   5848 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       8679-1, at 230,
3268                                Sybil                     Ramsaran         United States   Sarah                    Khan                         United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Parent    7188 at 9    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                       232, at AP230,
3269                                Bernardine   Gerie C.     Rana             Australia       Cecile        Marella    Caguicla                     United States 9/11/01   NY (WTC)     03-cv-9849   5284-1, at 2, 5296   Sibling   4023 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:02-cv-01616, 3,
                                                                                                                                                                                                       at 1562, 8397-1,
3270 Pamela    Rancke   Schroeder   Alfred       Edward       Rancke           United States   Alfred        Todd       Rancke                       Unknown      9/11/01    NY (WTC)     03-cv-9849   at 23, 8433          Parent    5138 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616, 3,
                                                                                                                                                                                                       at 1563, 8397-1,
3271 Pamela    Rancke   Schroeder   Barbara      B.           Rancke           United States   Alfred        Todd       Rancke                       Unknown      9/11/01    NY (WTC)     03-cv-9849   at 23, 8433          Parent    5138 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
3272                                Vernon       Alfred       Randlett         United States   Marie                    Pappalardo                   United States 9/11/01   NY (UA175)   03-cv-9849   305, at P4465        Sibling   4146 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:02-cv-01616, 3,
                                                                                                                                                                                                       at 1782, 8393-1,
3273                                Aleksandr                 Rapoport         United States   Faina         Aronovna   Rapoport                     United States 9/11/01   NY (WTC)     03-cv-9849   at 24, 8487          Child     4023 at 21   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
3274                                Angela       Patricia     Rapoport         United States   Gerard        J.         Coppola                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2893      Child     5061 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616, 3,
3275                                Elena        Yuryevna     Rapoport         Russia          Faina         Aronovna   Rapoport                     United States 9/11/01   NY (WTC)     03-cv-9849   at 1783              Child     5087 at 17   $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                       26, 29, at 2447,
3276                                Yuriy        Semenovich   Rapoport         Ukraine         Faina         Aronovna   Rapoport                     United States 9/11/01   NY (WTC)     03-cv-9849   5284-1, at 9, 5296   Spouse    5087 at 17   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                       1:03-cv-9849,
                                                                                                                                                                                                       HAND FILED, at
                                                                                                                                                                                                       P5238, 8393-1, at
3277                                Robert       Jack         Rasmussen        United States   Robert        A.         Rasmussen                    United States 9/11/01   NY (WTC)     03-cv-9849   1101, 8487           Child     5087 at 17   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:03-cv-9849,
                                                                                                                                                                                                       HAND FILED, at
                                                                                                                                                                                                       P5238, 8393-1, at
3278                                Samuel       Robert       Rasmussen        United States   Robert        A.         Rasmussen                    United States 9/11/01   NY (WTC)     03-cv-9849   1102, 8487           Child     5087 at 17   $   8,500,000.00 $    25,500,000.00




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                                                                                                                                                                                                                   1:03-cv-9849,
                                                                                                                                                                                                                   HAND FILED, at
                                                                                                                                                                                                                   P5238, 8393-1, at
3279                                       Taylor      Marie          Rasmussen            United States   Robert         A.         Rasmussen                   United States 9/11/01   NY (WTC)     03-cv-9849   1103, 8487           Child     5848 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                   155, at AP220,
                                                                                                                                                                 United                                            8393-1, at 245,
3280                                       Emma        Smiley         Rathkey              United States   David          A.J.       Rathkey                     Kingdom      9/11/01    NY (WTC)     03-cv-9849   8487                 Child     5087 at 17   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                   155, at AP220,
                                                                                                                                                                 United                                            8393-1, at 246,
3281                                       Ian         David Bray     Rathkey              United States   David          A.J.       Rathkey                     Kingdom      9/11/01    NY (WTC)     03-cv-9849   8487                 Child     5087 at 17   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                   155, at AP220,
                                                                                                                                                                                                                   5284-1, at 9,
                                                                                                                                                                 United                                            5296, 8393-1, at
3282                                       Julia       S.W.           Rathkey              United States   David          A.J.       Rathkey                     Kingdom      9/11/01    NY (WTC)     03-cv-9849   15, 8487             Spouse    5087 at 17   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                   155, at AP220,
                                                       James                                                                                                     United                                            8393-1, at 247,
3283                                       Matthew     Cusworth       Rathkey              United States   David          A.J.       Rathkey                     Kingdom      9/11/01    NY (WTC)     03-cv-9849   8487                 Child     5087 at 17   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                   1:02-cv-01616, 1,
                                                                                                                                                                                                                   at 497, 8393-1, at
3284                                       Liam        Matthew        Raub                 United States   William        Ralph      Raub                        United States 9/11/01   NY (WTC)     03-cv-9849   1424, 8487           Child     5087 at 17   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                   1:02-cv-01616, 1,
3285                                       Maureen     A.             Raub                 United States   William        Ralph      Raub                        United States 9/11/01   NY (WTC)     03-cv-9849   at 497               Spouse    5087 at 17   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                   1:02-cv-01616, 1,
                                                                                                                                                                                                                   at 497, 8393-1, at
3286                                       Rebecca     Anne           Raub                 United States   William        Ralph      Raub                        United States 9/11/01   NY (WTC)     03-cv-9849   1425, 8487           Child     5087 at 17   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                   1:02-cv-01616,
3287                                       Anne        Marie Fergus   Rayhill              United States   Edward         Thomas     Fergus           Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   155, at P2896        Sibling   4023 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                   1:02-cv-01616, 3,
                                                                                                                                                                                                                   at 708, 5284-1, at
3288                                       Sharon      M.             Reagan               United States   Patrick        Aloysius   Hoey                        United States 9/11/01   NY (WTC)     03-cv-9849   5, 5296              Child     5061 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                   1:03-md-01570,
                                                                                                                                                                                                                   3477, at 3035;
                                                                                                                                                                                                                   8679-1, at 390,
3289 Eileen; Maureen        Regan; Regan   Alice       R.             Regan                Canada          Donald                    Regan                       United States 9/11/01   NY (Other)   03-cv-9849   8696                 Parent    5061 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                   1:02-cv-01616,
3290                                       Eileen                     Regan                Unknown         Donald                    Regan                       United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2298      Sibling   4126 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                   1:03-md-01570,
                                                                                                                                                                                                                   3477, at 3036;
                                                                                                                                                                                                                   8679-1, at 389,
3291                                       Joseph      William        Regan                United States   Donald                    Regan                       United States 9/11/01   NY (Other)   03-cv-9849   8696                 Sibling   5062 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                         VA                        1:02-cv-01616,
3292                                       Julia       Anne           Regan                United States   Larry          Lee        Strickland                  United States 9/11/01   (Pentagon)   03-cv-9849   155, at P3101        Child     4023 at 24   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                   1:02-cv-01616,
3293                                       Margaret                   Regan                United States   Donald                    Regan                       United States 9/11/01   NY (Other)   03-cv-9849   432, at P4936        Sibling   4126 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                   1:02-cv-01616,
3294                                       Virginia    Mary           Regan                United States   John           J.         Murray                      United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3866        Sibling   5062 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                   1:02-cv-01616,
3295                                       Katherine                  Regan-Dey            United States   Donald                    Regan                       United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2299      Sibling   5061 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                   1:02-cv-01616,
3296                                       Elizabeth   Kane           Reich                United States   Vincent        Dominick   Kane             Jr.        United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2104      Sibling   4023 at 14   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                   1:02-cv-01616,
3297                                       Christine   Louise         Reichert-Hart        United States   John           P.         Hart                        United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4314        Sibling   3666 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                   26, 29, at 2076,
                                                                                                                                                                                                                   8393-1, at 1309,
3298                                       Ashley      Rose           Reid                 United States   Thomas         F.         Hughes           Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                   1:02-cv-01616,
3299                                       Mary        L.             Reidy                United States   Gregg                     Reidy                       United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3923        Parent    5087 at 17   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                   232, at P3924,
                                                                                                                                                                                                                   8393-1, at 28,
3300                                       Thomas      J.             Reidy                United States   Gregg                     Reidy                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    5087 at 17   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                   1:02-cv-01616,
3301                                       Brendan     Hughes         Reilly               United States   Timothy        E.         Reilly                      Unknown      9/11/01    NY (WTC)     03-cv-9849   432, at P4937        Sibling   4023 at 21   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                   232, at P3925,
                                                                                                                                                                                                                   8397-1, at 24,
3302 Joan              E.   Reilly         George      M.             Reilly               United States   Kevin          Owen       Reilly                      Unknown      9/11/01    NY (Other)   03-cv-9849   8433                 Parent    4146 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                   1:02-cv-01616,
3303                                       Joan        E.             Reilly               United States   Kevin          Owen       Reilly                      Unknown      9/11/01    NY (Other)   03-cv-9849   232, at P3926        Parent    3666 at 11   $   8,500,000.00 $    25,500,000.00




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                                                                                                                       EXHIBIT B-1
                                                                                                    SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   313, at P4746,
                                                                                                                                                                                                   8393-1, at 72,
3304                       Karen         Ann        Reilly                 United States   Ronald        G.         Tartaro                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                  Spouse    5061 at 13   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                   1:02-cv-01616, 1,
3305                       Mary          Nee        Reilly                 United States   Luke          G.         Nee                          United States 9/11/01   NY (WTC)     03-cv-9849   at 414                Sibling   5062 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616, 3,
3306                       Patricia      Marie      Reilly                 United States   Lorraine                 Lee                          United States 9/11/01   NY (WTC)     03-cv-9849   at 1352               Sibling   3666 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616, 1,
3307                       Joseph                   Reina            Sr.   Unknown         Joseph                   Reina             Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   at 501                Parent    3666 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616, 1,
                                                                                                                                                                                                   at 499, 8393-1, at
3308                       Joseph        Robert     Reina                  United States   Joseph                   Reina             Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   688, 8487             Child     5061 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616, 1,
                                                                                                                                                                                                   at 499, 8393-1, at
3309                       Lisa          Ann        Reina                  United States   Joseph                   Reina             Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   43, 8487              Spouse    5061 at 11   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                   1:02-cv-01616, 3,
3310                       Michael       John       Reina                  United States   Joseph                   Reina             Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   at 1566               Sibling   4023 at 21   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616, 1,
3311                       Rosemarie                Reina                  Unknown         Joseph                   Reina             Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   at 500                Parent    3666 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616, 1,
                                                                                                                                                                                                   at 830, 7257, at 2,
3312                       Christopher   Barnes     Reinig                 United States   Thomas        Barnes     Reinig                       United States 9/11/01   NY (WTC)     03-cv-9849   7267                  Child     515 at 5     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616, 1,
3313                       Scott         Thomas     Reinig                 United States   Thomas        Barnes     Reinig                       United States 9/11/01   NY (WTC)     03-cv-9849   at 831                Child     5848 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616, 1,
                                                                                                                                                                                                   at 829, 5284-1, at
3314                       Jeanne        Fattori    Reinig-Smith           United States   Thomas        Barnes     Reinig                       United States 9/11/01   NY (WTC)     03-cv-9849   9, 5296               Spouse    5087 at 17   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   232, at P3927,
                                                                                                                                                                                                   8393-1, at 401,
3315                       Dillon        Scott      Reisman                United States   Frank                    Reisman                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                  Child     5138 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   232, at P3927,
                                                                                                                                                                                                   8393-1, at 25,
3316                       Gayle                    Reisman                United States   Frank                    Reisman                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                  Spouse    5138 at 7    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   232, at P3927,
                                                                                                                                                                                                   8393-1, at 402,
3317                       Kasey         Michelle   Reisman                United States   Frank                    Reisman                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                  Child     5138 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616, 1,
                                                                                                                                                                                                   at 503, 8393-1, at
3318                       Charles                  Renda                  United States   Karen         C.         Renda                        United States 9/11/01   NY (WTC)     03-cv-9849   44, 8487              Spouse    5061 at 12   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                   1:02-cv-01616, 1,
3319                       Daniel        Charles    Renda                  United States   Karen         C.         Renda                        United States 9/11/01   NY (WTC)     03-cv-9849   at 504                Child     5061 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616, 1,
                                                                                                                                                                                                   at 503, 8393-1, at
3320                       Matthew       Thomas     Renda                  United States   Karen         C.         Renda                        United States 9/11/01   NY (WTC)     03-cv-9849   715, 8487             Child     5061 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   26, 29, at 2444,
                                                                                                                                                                                                   5284-1, at 11,
3321                       Karen         Ellen      Renzo                  Unknown         Kenneth       Warren     Van Auken                    United States 9/11/01   NY (WTC)     03-cv-9849   5296                  Sibling   3666 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616, 1,
3322                       Bernard       Thomas     Resta                  Unknown         John          Thomas     Resta                        United States 9/11/01   NY (WTC)     03-cv-9849   at 508                Parent    3666 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616, 1,
3323                       Christina     Ann        Resta                  United States   John          Thomas     Resta                        United States 9/11/01   NY (WTC)     03-cv-9849   at 507                Parent    5062 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616, 1,
3324                       Michael       Thomas     Resta                  Unknown         John          Thomas     Resta                        United States 9/11/01   NY (WTC)     03-cv-9849   at 509                Sibling   3666 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616, 1,
3325                       Thomas        Bernard    Resta                  Unknown         John          Thomas     Resta                        United States 9/11/01   NY (WTC)     03-cv-9849   at 510                Sibling   3666 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616,
3326                       Adelma                   Reyes-Jiminez          Colombia        Gloria        Reyes      Nieves                       United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2305       Sibling   4023 at 19   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                         VA                        8679-1, at 169,
3327                       Kristine      Ann        Reynolds               United States   Ronald        Franklin   Golinski                     United States 9/11/01   (Pentagon)   03-cv-9849   8696                  Child     515 at 4     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   305, at P4258,
                                                                                                                                                                                                   8393-1, at 70,
3328                       Carole        Lynn       Ricci                  United States   Robert        John       Fangman                      United States 9/11/01   NY (UA175)   03-cv-9849   8487                  Sibling   4023 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616,
3329 Cecilia   Riccoboni   John                     Riccoboni              United States   Ann Marie                Riccoboni                    United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4253       Spouse    5138 at 7    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
3330                       Cynthia       Jane       Rice                   United States   David         H.         Rice                         United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4259       Parent    4023 at 21   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
3331                       Hugh          David      Rice                   United States   David         H.         Rice                         United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4258       Parent    4126 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   8679-1, at 290,
3332                       MaryEllen     McCarthy   Rice                   United States   Kevin         Michael    McCarthy                     United States 9/11/01   NY (WTC)     03-cv-9849   8696                  Sibling   5087 at 13   $   4,250,000.00 $    12,750,000.00



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                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                 155, at AP214,
3333                    Carroll     Thomas      Richards                 United States   Claude        Daniel     Richards                     United States 9/11/01   NY (Other)   03-cv-9849   5284-1, at 9, 5296   Sibling   4023 at 21   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                 155, at AP213,
                                                                                                                                                                                                 5284-1, at 10,
                                                                                                                                                                                                 5296, 8393-1, at
3334 Karen   Richards   Jim         D.          Richards                 United States   Claude        Daniel     Richards                     United States 9/11/01   NY (Other)   03-cv-9849   12, 8487             Sibling   4023 at 21   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                 77, at P2665,
                                                                                                                                                                                                 8393-1, at 71,
3335                    Katherine   M.          Richardson               United States   Robert        W.         McPadden                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5138 at 6    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                 1:02-cv-01616, 1,
                                                                                                                                                                                                 at 858, 5284-1, at
3336                    Margaret    A.          Richardson               United States   William       Otto       Caspar                       United States 9/11/01   NY (WTC)     03-cv-9849   4, 5296              Sibling   4023 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                 1:02-cv-01616,
3337                    Paula       A.          Rigo                     United States   John          Matthews   Rigo                         Unknown      9/11/01    NY (WTC)     03-cv-9849   232, at P3929        Sibling   4023 at 21   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                 1:02-cv-01616,
3338                    Theodore    Paul        Rigo                     United States   John          Matthews   Rigo                         Unknown      9/11/01    NY (WTC)     03-cv-9849   232, at P3930        Sibling   3666 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                 1:02-cv-01616,
3339                    Christina               Rinaldi                  United States   Michael                  D'Auria                      United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2950      Sibling   4023 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                 1:02-cv-01616,
3340                    Cheryl                  Rinbrand                 United States   Daniel        Maurice    Van Laere                    United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2695         Spouse    5951 at 7    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                 1:02-cv-01616, 1,
3341                    Adrian      Isaac       Rivera                   United States   Isaias                   Rivera                       United States 9/11/01   NY (WTC)     03-cv-9849   at 519               Child     5062 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                 1:02-cv-01616, 1,
3342                    Carmen      Virginia    Rivera                   United States   Isaias                   Rivera                       United States 9/11/01   NY (WTC)     03-cv-9849   at 517               Sibling   4023 at 21   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                 8679-1, at 395,
3343                    Isaias                  Rivera             Jr.   United States   Isaias                   Rivera                       United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Child     5848 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                 8679-1, at 394,
3344                    Lynnette                Rivera                   United States   Isaias                   Rivera                       United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Child     5848 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                 1:02-cv-01616, 1,
3345                    Moises                  Rivera                   United States   Isaias                   Rivera                       United States 9/11/01   NY (WTC)     03-cv-9849   at 516               Sibling   3666 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                 1:02-cv-01616, 1,
3346                    Nilsa       Milagros    Rivera                   United States   Isaias                   Rivera                       United States 9/11/01   NY (WTC)     03-cv-9849   at 515               Spouse    5087 at 17   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                 1:02-cv-01616, 1,
3347                    Josue                   Rivera Trujillo          United States   Isaias                   Rivera                       United States 9/11/01   NY (WTC)     03-cv-9849   at 520               Sibling   4023 at 22   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                 1:02-cv-01616, 3,
3348                    Domenico                Riverso                  United States   Joseph        R.         Riverso                      Unknown      9/11/01    NY (WTC)     03-cv-9849   at 1573              Parent    4023 at 22   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                 1:02-cv-01616, 3,
3349                    Maria       Emilia      Riverso                  United States   Joseph        R.         Riverso                      Unknown      9/11/01    NY (WTC)     03-cv-9849   at 1574              Sibling   4023 at 22   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                 1:02-cv-01616, 3,
3350                    Ralph       J.          Riverso                  United States   Joseph        R.         Riverso                      Unknown      9/11/01    NY (WTC)     03-cv-9849   at 1575              Sibling   4023 at 22   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                 1:02-cv-01616, 3,
3351                    Teresa                  Riverso                  United States   Joseph        R.         Riverso                      Unknown      9/11/01    NY (WTC)     03-cv-9849   at 1572              Parent    4023 at 22   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                 1:02-cv-01616, 3,
3352                    William     D.          Riverso                  United States   Joseph        R.         Riverso                      Unknown      9/11/01    NY (WTC)     03-cv-9849   at 1571              Sibling   4126 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                 1:02-cv-01616,
3353                    Paul                    Rizza                    United States   Paul          V.         Rizza                        United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4271      Parent    5087 at 17   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                 1:02-cv-01616,
3354                    Vivian                  Rizza                    United States   Paul          V.         Rizza                        United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4272      Parent    5087 at 17   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                 155, at P3076,
                                                                                                                                                                                                 8393-1, at 64,
3355                    Elaine      Marie       Rizza Brophy             United States   Paul          V.         Rizza                        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5848 at 9    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                 1:02-cv-01616, 3,
                                                                                                                                                                                                 at 1577, 8393-1,
3356                    Concetta                Rizzo                    United States   John          Frank      Rizzo                        United States 9/11/01   NY (WTC)     03-cv-9849   at 38, 8487          Spouse    5087 at 17   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                 8679-1, at 397,
3357                    Giuseppe    Salvatore   Rizzo                    United States   John          Frank      Rizzo                        United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Child     7188 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                 1:02-cv-01616, 3,
                                                                                                                                                                                                 at 1577, 8466-1,
3358                    Luigi       Anthony     Rizzo                    Unknown         John          Frank      Rizzo                        United States 9/11/01   NY (WTC)     03-cv-9849   at 1, 8487           Child     7188 at 13   $   8,500,000.00 $    25,500,000.00
                                                                         United                                                                                                                  1:02-cv-01616,
3359                    Sarah       Jane        Robbins                  Kingdom         Robert        John       Halligan                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2019      Child     5062 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                 1:02-cv-01616,
3360                    Lucy                    Roberto                  Unknown         Joseph                   Roberto                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4275      Parent    3666 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                 1:02-cv-01616,
3361                    Robert                  Roberto            Sr.   Unknown         Joseph                   Roberto                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4274      Parent    3666 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                 1:02-cv-01616,
3362                    Robert                  Roberto            Jr.   United States   Joseph                   Roberto                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4276      Sibling   4126 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                 1:02-cv-01616,
3363                    Daniel      Alexander   Roberts                  United States   Leo           A.         Roberts                      United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3931        Child     5061 at 12   $   8,500,000.00 $    25,500,000.00




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                                                                                                 EXHIBIT B-1
                                                                              SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                              232, at P3931,
                                                                                                                                                                              8393-1, at 49,
3364   Debra                      Roberts            United States   Leo           A.          Roberts                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5061 at 12   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                              8679-1, at 398,
3365   Hunter      Everett        Roberts            United States   Leo           A.          Roberts                      United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                              1:02-cv-01616,
3366   Jeffrey                    Roberts            United States   Leo           A.          Roberts                      United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3931        Child     5087 at 17   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                              1:02-cv-01616,
3367   John        J.             Roberts            United States   Michael       Edward      Roberts                      United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2308      Parent    5151 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                              1:03-cv-09849,
                                                                                                                                                                              842, at 12; 8679-
3368   Lisa        Ann            Roberts            United States   Michael       E.          Roberts                      United States 9/11/01   NY (Other)   03-cv-9849   1, at 399, 8696      Sibling   4126 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                              1:02-cv-01616,
3369   Michael     Leo            Roberts            United States   Leo           A.          Roberts                      United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3931        Child     5061 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                              1:02-cv-01616,
3370   Paulette    Marie          Roberts            United States   Michael       E.          Roberts                      United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4280      Parent    4126 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                              1:02-cv-01616,
3371   Taylor      Nicole         Roberts            United States   Leo           A.          Roberts                      United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3931        Child     5061 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                              1:02-cv-01616,
3372   Thomas      Edward         Roberts            United States   Michael       E.          Roberts                      United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4281      Parent    4023 at 22   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                              1:02-cv-01616,
3373   Veronica    M.             Roberts            United States   Michael       Edward      Roberts                      United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2309      Parent    5151 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                              1:02-cv-01616,
3374   Donald      Walter         Robertson    Sr.   Unknown         Donald        W.          Robertson         Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4283      Parent    3666 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                              1:02-cv-01616,
3375   Elizabeth   Ann            Robertson          Unknown         Donald        W.          Robertson         Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4286      Sibling   3666 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                              1:02-cv-01616,
3376   Marcee      Elizabeth      Robertson          Unknown         Donald        W.          Robertson         Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4284      Parent    3666 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                              155, at P3077,
                                                                                                                                                                              8393-1, at 60,
3377   Alyssa      Marie          Rocha              United States   Antonio       A.          Rocha                        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5061 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                              155, at P3077,
                                                                                                                                                                              8393-1, at 61,
3378   Ethan       Agustus        Rocha              United States   Antonio       A.          Rocha                        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5061 at 12   $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                              155, at P3077,
3379   Marilyn     Marques        Rocha              United States   Antonio       A.          Rocha                        United States 9/11/01   NY (WTC)     03-cv-9849   8393-1, at 4, 8487   Spouse    5061 at 12   $   12,500,000.00 $   37,500,000.00

                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                              155, at AP215,
3380   Helen       Kay            Rochler            United States   Claude        Daniel      Richards                     United States 9/11/01   NY (Other)   03-cv-9849   5284-1, at 9, 5296   Sibling   4023 at 21   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                              232, at P3933,
                                                                                                                                                                              8393-1, at 63,
3381   Adam        Alexandre      Rodrigues          United States   Antonio       J.          Rodrigues                    United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5356 at 5    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                              232, at P3933,
3382   Cristina                   Rodrigues          United States   Antonio       J.          Rodrigues                    United States 9/11/01   NY (Other)   03-cv-9849   8393-1, at 4, 8487   Spouse    5356 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                              1:02-cv-01616,
3383   Nicole      Larrabee       Rodrigues          United States   Christopher   R.          Larrabee                     United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3766        Sibling   4023 at 16   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                              232, at P3933,
                   Alexandre de                                                                                                                                               8393-1, at 62,
3384   Sara        Carrusca       Rodrigues          United States   Antonio       J.          Rodrigues                    United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5356 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                              432, at P4939,
                                                                                                                                                                              8393-1, at 68,
3385   Cindy                      Rodriguez          United States   Richard                   Rodriguez                    United States 9/11/01   NY (Other)   03-cv-9849   8487                 Spouse    5087 at 17   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                              1:02-cv-01616,
3386   Julia       Emilia         Rodriguez          Unknown         Gregory       E.          Rodriguez                    United States 9/11/01   NY (WTC)     03-cv-9849   77, at AP209         Sibling   3666 at 11   $   4,250,000.00 $    12,750,000.00

                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                              232, at AP233,
3387   Maria       Lourdes C.     Rodriguez          Philippines     Cecile        Marella     Caguicla                     United States 9/11/01   NY (WTC)     03-cv-9849   5284-1, at 2, 5296   Sibling   4023 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                              1:02-cv-01616,
3388   Ramon       Luis           Rodriguez          United States   Angel                     Perez             Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4922        Sibling   4023 at 20   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                              1:02-cv-01616, 1,
                                                                                                                                                                              at 792, 5284-1, at
3389   Eileen      Schaefer       Roger              United States   Jean          Destrehan   Roger                        United States 9/11/01   NY (AA11)    03-cv-9849   10, 5296             Parent    4023 at 22   $   8,500,000.00 $    25,500,000.00




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                                                                                                                    EXHIBIT B-1
                                                                                                 SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                               1:02-cv-01616, 1,
                                                                                                                                                                                               at 791, 5284-1, at
3390                          James      Merle       Roger              United States   Jean          Destrehan   Roger                      United States 9/11/01   NY (AA11)    03-cv-9849   10, 5296             Sibling      4023 at 22   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               1:02-cv-01616, 1,
                                                                                                                                                                                               at 790, 5284-1, at
3391                          Thomas     Harvey      Roger              United States   Jean          Destrehan   Roger                      United States 9/11/01   NY (AA11)    03-cv-9849   10, 5296             Parent       4023 at 22   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               232, at P4054,
                                                                                                                                                                                               8393-1, at 1295,
3392                          Jessica    Diana       Rogers             United States   Thomas        A.          Damaskinos                 United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child        5061 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
3393                          Michael    Ronald      Rohner             United States   Scott         W.          Rohner                     Unknown      9/11/01    NY (WTC)     03-cv-9849   305, at P4501        Sibling      5062 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               1:02-cv-01616,
3394                          Stephen    John        Rohner             United States   Scott         W.          Rohner                     Unknown      9/11/01    NY (WTC)     03-cv-9849   305, at P4502        Sibling      5062 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               1:02-cv-01616,
3395                          Thomas     Garrett     Rohner             United States   Scott         W.          Rohner                     Unknown      9/11/01    NY (WTC)     03-cv-9849   305, at P4500        Sibling      4023 at 22   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               232, at AP246,
                                                                                                                                                                                               8393-1, at 199,
3396                          Paige      Marie       Rollison           United States   Claude        Michael     Gann                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Step-Child   5949 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               232, at AP246,
                                                                                                                                                                                               8393-1, at 200,
3397                          Sarah      Elizabeth   Rollison           United States   Claude        Michael     Gann                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Step-Child   5949 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616, 1,
3398                          Arnold     John        Roma         Jr.   United States   Keith                     Roma                       Unknown      9/11/01    NY (Other)   03-cv-9849   at 530               Parent       4023 at 22   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
3399                          Kevin      Paul        Roma               United States   Keith                     Roma                       Unknown      9/11/01    NY (Other)   03-cv-9849   26, 29, at 4303      Sibling      4023 at 22   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               1:02-cv-01616,
3400                          Maureen    Elizabeth   Roma               United States   Keith                     Roma                       Unknown      9/11/01    NY (Other)   03-cv-9849   26, 29, at 4302      Sibling      4023 at 22   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               1:02-cv-01616,
3401                          Rosemary               Roma               United States   Keith                     Roma                       Unknown      9/11/01    NY (Other)   03-cv-9849   26, 29, at 2317      Parent       4023 at 22   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:18-cv-11582, 1,
                                                                                                                                                                                               at 13; 8679-1, at
3402                          Francine   Michelle    Roman              United States   Charles       Augustus    Laurencin                  United States 9/11/01   NY (WTC)     03-cv-9849   242, 8696            Child        5087 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:03-cv-9849,
                                                                                                                                                                                               HAND FILED, at
                                                                                                                                                                                               P5006, 8393-1, at
3403                          Courtney   I.          Rominiyi           United States   Bernard       Curtis      Brown           II         United States 9/11/01   VA (AA77)    03-cv-9849   90, 8487             Sibling      5087 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               432, at AP289,
                                                                                                                                                                                               8393-1, at 230,
3404                          Allison    Danielle    Roper              United States   Daniel        John        Lee                        United States 9/11/01   NY (AA11)    03-cv-9849   8487                 Child        5087 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
3405                          Shanin                 Roque              United States   Robert        T.          Hughes          Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4870        Sibling      4023 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               1:02-cv-01616,
3406                          Clara      Luz         Rosario            United States   Wendy         A.          Wakeford                   United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4967        Parent       4023 at 25   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
3407                          Edwin                  Rosario            United States   Wendy         A.          Wakeford                   United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4968        Sibling      4023 at 25   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               1:02-cv-01616,
3408                          Patricia               Rosen              United States   Mark          H.          Rosen                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2321      Spouse       5087 at 17   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               155, at P3142,
                                                                                                                                                                                               8393-1, at 43,
3409                          Susan      R.          Rosen              United States   Joshua        S.          Vitale                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent       4023 at 25   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               8679-1, at 403,
3410                          Adam       Mark        Rosenblum          United States   Joshua        M.          Rosenblum                  United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling      5087 at 17   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               1:03-cv-9849,
                                                                                                                                                                                               HAND FILED, at
3411                          Dean       Russell     Rosenblum          United States   Joshua        M.          Rosenblum                  United States 9/11/01   NY (WTC)     03-cv-9849   P5247                Sibling      5061 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               8679-1, at 404,
3412                          Lawrence   A.          Rosenblum          United States   Joshua        M.          Rosenblum                  United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling      5087 at 17   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               232, at P3934,
                                                                                                                                                                                               8397-1, at 24,
                                                                                                                                                                                               8433, 8393-1, at
3413 Susan   S.   Rosenblum   Richard    M.          Rosenblum          United States   Joshua        M.          Rosenblum                  United States 9/11/01   NY (WTC)     03-cv-9849   43, 8487             Parent       5087 at 17   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               8679-1, at 402,
3414                          Ruth       Anne        Rosenblum          United States   Joshua        M.          Rosenblum                  United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling      5087 at 17   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               232, at P3935,
                                                                                                                                                                                               8393-1, at 43,
3415                          Susan      S.          Rosenblum          United States   Joshua        M.          Rosenblum                  United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent       4023 at 22   $   8,500,000.00 $    25,500,000.00




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                                                                                                                                EXHIBIT B-1
                                                                                                             SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                                           1:03-cv-9849,
                                                                                                                                                                                                           HAND FILED, at
                                                                                                                                                                                                           P5248, 8397-1, at
                                                                                                                                                                                                           24, 8433, 8393-1,
3416 Helen    K.        Rosenthal   Marilynn      M.           Rosenthal           Unknown         Joshua         Alan      Rosenthal                    United States 9/11/01   NY (WTC)     03-cv-9849   at 43, 8487          Parent    5848 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
3417                                Cheryl        Ann          Rosetti             United States   Daniel         James     Rosetti                      United States 9/11/01   NY (WTC)     03-cv-9849   155, at P3078        Sibling   4023 at 22   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
3418                                Darlene                    Rosetti             United States   Daniel         James     Rosetti                      United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3937        Sibling   4023 at 22   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           232, at P3938,
                                                                                                                                                                                                           8397-1, at 24,
3419 Joseph   A.        Rosetti     Ricki         Allen        Rosetti             United States   Daniel         James     Rosetti                      United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Sibling   4126 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
3420                                Robert        Guy          Rosetti       Sr.   United States   Daniel         James     Rosetti                      United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3939        Sibling   4023 at 22   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
3421                                Shirley       Ann          Rosetti             United States   Daniel         James     Rosetti                      United States 9/11/01   NY (WTC)     03-cv-9849   155, at P3079        Parent    4023 at 22   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
3422                                Barry         Alan         Rosner              United States   Sheryl                   Rosenbaum                    Unknown      9/11/01    NY (WTC)     03-cv-9849   26, 29, at 4313      Parent    3666 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
3423                                Bobbi         Sara         Rosner              United States   Sheryl                   Rosenbaum                    Unknown      9/11/01    NY (WTC)     03-cv-9849   26, 29, at 4314      Parent    3666 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616, 1,
3424                                Christopher   Paul         Rossomando          United States   Nicholas       Peter     Rossomando                   United States 9/11/01   NY (Other)   03-cv-9849   at 535               Sibling   4023 at 22   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616, 3,
3425                                Peter         Charles      Rossomando          United States   Nicholas       Peter     Rossomando                   United States 9/11/01   NY (Other)   03-cv-9849   at 1587              Sibling   4023 at 22   $   4,250,000.00 $    12,750,000.00

                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           155, at P3112,
3426                                Julie         Sweeney      Roth                United States   Brian          D.        Sweeney                      United States 9/11/01   NY (UA175)   03-cv-9849   8393-1, at 7, 8487   Spouse    5061 at 13   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                           1:02-cv-01616, 3,
3427                                Iris          Estelle      Rothberg            United States   Michael        C.        Rothberg                     United States 9/11/01   NY (WTC)     03-cv-9849   at 1592              Parent    5062 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616, 3,
                                                                                                                                                                                                           at 1591, 8397-1,
3428 Iris     Estelle   Rothberg    Jason                      Rothberg            United States   Michael        C.        Rothberg                     United States 9/11/01   NY (WTC)     03-cv-9849   at 24, 8433          Parent    5062 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           313, at P4720,
                                                                                                                                                                                                           8393-1, at 52,
3429                                Meredith      Harris       Rothenberg          United States   Mark           D.        Rothenberg                   United States 9/11/01   PA (UA93)    03-cv-9849   8487                 Spouse    5061 at 12   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                           8679-1, at 405,
3430                                Rachel        Susan        Rothenberg          United States   Mark           D.        Rothenberg                   United States 9/11/01   PA (UA93)    03-cv-9849   8696                 Child     5138 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           8679-1, at 406,
3431                                Sara          Jan          Rothenberg          United States   Mark           D.        Rothenberg                   United States 9/11/01   PA (UA93)    03-cv-9849   8696                 Child     5061 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           155, at P2958,
                                                                                                                                                                                                           8393-1, at 68,
3432                                Catherine     Jalbert      Rothwell            Canada          Robert         A.        Jalbert                      United States 9/11/01   NY (UA175)   03-cv-9849   8487                 Spouse    5062 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
3433                                Sarah         P.           Rubinstein          United States   Jerrold        H.        Paskins                      United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4470        Sibling   4023 at 20   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616, 3,
3434                                Kathleen      Cangialosi   Rue                 United States   Stephen        Jeffrey   Cangialosi                   United States 9/11/01   NY (WTC)     03-cv-9849   at 970               Sibling   4023 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:03-cv-9849,
                                                                                                                                                                                                           HAND FILED, at
3435                                Caroline      Megan        Ruestow             United States   Suzanne                  Kondratenko                  United States 9/11/01   NY (WTC)     03-cv-9849   P5135                Sibling   4023 at 16   $   4,250,000.00 $    12,750,000.00

                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           232, at P4083,
3436                                Ethan         Myles        Ruhalter            United States   Adam           Keith     Ruhalter                     United States 9/11/01   NY (WTC)     03-cv-9849   8393-1, at 6, 8487   Child     5061 at 12   $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           232, at P4083,
3437                                Fern          Gayle        Ruhalter            United States   Adam           Keith     Ruhalter                     United States 9/11/01   NY (WTC)     03-cv-9849   8393-1, at 1, 8487   Spouse    5061 at 12   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
3438                                Clifford      Stephen      Russell       Jr.   United States   Stephen        P.        Russell                      United States 9/11/01   NY (Other)   03-cv-9849   232, at P3940        Sibling   4023 at 22   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           232, at P4942,
                                                                                                                                                                                                           8393-1, at 77,
3439                                Marie                      Russell             United States   Stephen        P.        Russell                      United States 9/11/01   NY (Other)   03-cv-9849   8487                 Parent    5087 at 17   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
3440                                William       Gerard       Russell             United States   Stephen        P.        Russell                      United States 9/11/01   NY (Other)   03-cv-9849   232, at P3941        Sibling   4023 at 22   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
3441                                Arlene        Beverly      Russo               United States   Wayne          A.        Russo                        United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2324      Parent    6035 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
3442                                Aileen        Anne         Ryan                United States   John           Joseph    Ryan              Jr.        Unknown      9/11/01    NY (WTC)     03-cv-9849   313, at P4726        Sibling   3387         $   4,250,000.00 $    12,750,000.00




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                                                                                                                                            EXHIBIT B-1
                                                                                                                         SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                                       313, at P4727,
                                                                                                                                                                                                                       8397-1, at 24,
3443 Aileen         Anne        Ryan           Colleen    M.         Ryan                      United States   John           Joseph    Ryan              Jr.        Unknown      9/11/01    NY (WTC)     03-cv-9849   8433                Sibling   3387         $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                       1:03-cv-9849,
                                                                                                                                                                                                                       HAND FILED, at
3444                                           Jean       Marie      Ryan                      United States   Daniel                   Suhr                         United States 9/11/01   NY (Other)   03-cv-9849   P5275               Sibling   4023 at 24   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                                       313, at P4722,
                                                                                                                                                                                                                       8397-1, at 24,
3445 Aileen         Anne        Ryan           John       Joseph     Ryan                Sr.   United States   John           Joseph    Ryan              Jr.        Unknown      9/11/01    NY (WTC)     03-cv-9849   8433                Parent    3387         $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                                       313, at P4723,
                                                                                                                                                                                                                       8397-1, at 24,
3446 Aileen         Anne        Ryan           Mary       V.         Ryan                      United States   John           Joseph    Ryan              Jr.        Unknown      9/11/01    NY (WTC)     03-cv-9849   8433                Parent    3387         $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                       1:02-cv-01616,
3447                                           Patrick               Ryan                      United States   John           Joseph    Ryan              Jr.        Unknown      9/11/01    NY (WTC)     03-cv-9849   313, at P4725       Sibling   3387         $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                       1:02-cv-01616,
3448                                           Teague     M.         Ryan                      United States   John           Joseph    Ryan              Jr.        Unknown      9/11/01    NY (WTC)     03-cv-9849   313, at P4724       Sibling   3387         $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                       1:02-cv-01616,
3449                                           Jeanette   Trinidad   Rzek                      United States   Michael        A.        Trinidad                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4574     Sibling   7188 at 14   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                       1:02-cv-01616, 3,
3450                                           Brigitte              Sabbag                    Germany         Jason          Elazar    Sabbag                       United States 9/11/01   NY (WTC)     03-cv-9849   at 1597             Parent    4023 at 22   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                       1:02-cv-01616,
3451                                           Clifton    Fritz      Sabbag                    United States   Jason          Elazar    Sabbag                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4335     Sibling   4023 at 22   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                       1:02-cv-01616, 3,
3452                                           Ralph      Raphael    Sabbag                    Morocco         Jason          Elazar    Sabbag                       United States 9/11/01   NY (WTC)     03-cv-9849   at 1596             Parent    4023 at 22   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                                       26, 29, at 4340,
                                                                                                                                                                                                                       8397-1, at 24,
3453 Charles        Thomas      Sabella        Angelina              Sabella                   United States   Thomas         E.        Sabella                      United States 9/11/01   NY (Other)   03-cv-9849   8433                Parent    5138 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                       1:02-cv-01616,
3454                                           Charles    Thomas     Sabella                   Unknown         Thomas         E.        Sabella                      United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4341     Sibling   3666 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                                       26, 29, at 4338,
                                                                                                                                                                                                                       8393-1, at 80,
3455                                           Diana                 Sabella                   United States   Thomas         E.        Sabella                      United States 9/11/01   NY (Other)   03-cv-9849   8487                Spouse    5061 at 12   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                                       26, 29, at 4339,
                                                                                                                                                                                                                       8397-1, at 24,
3456 Charles        Thomas      Sabella        Edward     N.         Sabella                   United States   Thomas         E.        Sabella                      United States 9/11/01   NY (Other)   03-cv-9849   8433                Parent    5138 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                       1:02-cv-01616,
3457                                           Loretta    S.         Sabella-Viglione          Unknown         Thomas         E.        Sabella                      United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4342     Sibling   3666 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                                       155, at P3080,
                                                                                                                                                                                                                       8393-1, at 74,
3458                                           Brian      W.         Saber                     United States   Scott          Howard    Saber                        United States 9/11/01   NY (WTC)     03-cv-9849   8487                Sibling   4023 at 22   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                       1:02-cv-01616,
3459                                           Bruce      David      Saber                     United States   Scott          Howard    Saber                        United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2327     Sibling   4023 at 22   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                       1:02-cv-01616,
3460 Brian; Bruce   W.; David   Saber; Saber   Elaine     P.         Saber                     Unknown         Scott          Howard    Saber                        United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2328     Parent    5356 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                             VA                        1:02-cv-01616,
3461                                           Charles    Edward     Sabin               Jr.   United States   Charles        E.        Sabin                        Unknown      9/11/01    (Pentagon)   03-cv-9849   432, at P4945       Child     4023 at 22   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                       1:02-cv-01616,
3462                                           Debra      Marie      Sacco                     Unknown         John           Albert    Schardt                      United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4379     Sibling   3666 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                       1:02-cv-01616,
3463                                           Andrea                Sacerdote                 United States   Joseph         Francis   Sacerdote                    United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4507       Child     5087 at 17   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                                       305, at P4506,
                                                                                                                                                                                                                       8393-1, at 41,
3464                                           Arlene                Sacerdote                 United States   Joseph         Francis   Sacerdote                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                Spouse    5087 at 17   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                       1:03-cv-9849,
                                                                                                                                                                                                                       HAND FILED, at
3465                                           Eric       M.         Sachs                     United States   Jessica        Leigh     Sachs                        United States 9/11/01   NY (AA11)    03-cv-9849   P5250               Sibling   4023 at 22   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                       1:02-cv-01616,
3466                                           Karen      Ann        Sachs                     United States   Jessica        Leigh     Sachs                        United States 9/11/01   NY (AA11)    03-cv-9849   155, at P3081       Parent    5062 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                                       155, at P3082,
                                                                                                                                                                                                                       8393-1, at 35,
3467                                           Stephen    Richard    Sachs                     United States   Jessica        Leigh     Sachs                        United States 9/11/01   NY (AA11)    03-cv-9849   8487                Parent    5062 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                       1:02-cv-01616,
3468                                           John       Stephen    Sadocha                   Unknown         Francis        John      Sadocha                      United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4510       Sibling   3666 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                       1:02-cv-01616,
3469 Sabine                     Sadocha        Norma      Teresa     Sadocha                   United States   Francis        John      Sadocha                      United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4509       Parent    3666 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                       1:02-cv-01616,
3470 Sabine                     Sadocha        Susan      T.         Sadocha                   United States   Francis        John      Sadocha                      United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4511       Sibling   4126 at 7    $   4,250,000.00 $    12,750,000.00



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                                                                                                                          EXHIBIT B-1
                                                                                                       SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                                   1:02-cv-01616,
3471                          Michele     E.          Safatle                 United States   James         P.       Leahy                       Unknown      9/11/01    NY (Other)   03-cv-9849   26, 29, at 3612      Sibling   4023 at 16   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616,
3472                          Ahlam                   Safi                    United States   Jude          Elias    Safi                        United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4346      Parent    5061 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
3473                          Elias                   Safi                    United States   Jude          Elias    Safi                        United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4347      Parent    5061 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
3474                          John                    Safi                    United States   Jude          Elias    Safi                        United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4345      Sibling   4126 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616, 3,
3475                          Christine   Marie       Saladeen                United States   Michael       Paul     Ragusa                      United States 9/11/01   NY (Other)   03-cv-9849   at 1555              Sibling   4023 at 21   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616,
3476                          Jill        Karen       Saladino                United States   Alison        M.       Wildman                     United States 9/11/01   NY (WTC)     03-cv-9849   155, at P3150        Sibling   4023 at 26   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   26, 29, at 2330,
                                                                                                                                                 Dominican                                         8393-1, at 700,
3477                          Jennifer                Salas                   United States   Juan          G.       Salas                       Republic     9/11/01    NY (WTC)     03-cv-9849   8487                 Child     5087 at 17   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   26, 29, at 2330,
                                                                                                                                                 Dominican                                         8393-1, at 701,
3478                          Juan        Luiz        Salas                   United States   Juan          G.       Salas                       Republic     9/11/01    NY (WTC)     03-cv-9849   8487                 Child     5087 at 17   $   8,500,000.00 $    25,500,000.00

3479                          Marianne                Salisbury               United States   Michael       Rourke   Andrews                     United States 9/11/01   NY (WTC)     03-cv-9849   8679-1, at 5, 8696   Sibling   7188 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616, 1,
                                                                                                                                                                                                   at 784, 5284-1, at
3480                          Melanie     Wolcott     Salisbury               Unknown         Edward        R.       Hennessy         Jr.        United States 9/11/01   NY (AA11)    03-cv-9849   5, 5296              Spouse    5087 at 10   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                   8679-1, at 408,
3481                          Craig       William     Saloman                 United States   Wayne         J.       Saloman                     United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   515 at 5     $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   232, at P3942,
                                                                                                                                                                                                   8393-1, at 86,
3482                          Debra       Ann         Saloman                 United States   Wayne         J.       Saloman                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    515 at 5     $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                   8679-1, at 409,
3483                          Jay         Charles     Saloman                 United States   Wayne         J.       Saloman                     United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   515 at 5     $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   232, at P3942,
                                                                                                                                                                                                   8393-1, at 1392,
3484                          Justin      Charles     Saloman                 United States   Wayne         J.       Saloman                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     515 at 5     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
3485                          Barbara     Freund      Salvadore               United States   Peter         Louis    Freund                      United States 9/11/01   NY (Other)   03-cv-9849   432, at P4842        Sibling   5062 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:03-cv-09849,
                                                                                                                                                                                                   842, at 13; 8679-
3486                          David       Robert      Salvo                   United States   Samuel        Robert   Salvo            Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   1, at 413, 8696      Child     4126 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:03-md-01570,
                                                                                                                                                                                                   602, at P5502,
                                                                                                                                                                                                   8397-1, at 24,
                                                                                                                                                                                                   8433, 8393-1, at
3487 David   Robert   Salvo   Gladys      H.          Salvo                   United States   Samuel        Robert   Salvo            Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   73, 8487             Spouse    4126 at 8    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                   8679-1, at 411,
3488                          Pamela      Rae         Salvo                   United States   Samuel        Robert   Salvo            Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616, 3,
3489                          James       K.          Samuel            Sr.   United States   James         K.       Samuel           Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   at 1612              Parent    4023 at 22   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616, 3,
3490                          Linda       J.          Samuel                  United States   James         K.       Samuel           Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   at 1611              Parent    4023 at 22   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   8679-1, at 417,
3491                          Edward      Jack        San Pio                 United States   Sylvia                 San Pio                     United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   8679-1, at 414,
3492                          Maria       Jose        San Pio                 United States   Sylvia                 San Pio                     United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Parent    7188 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   305, at P4512,
                                                                                                                                                                                                   8393-1, at 35,
3493                          Felicita    Maria       Sanchez                 United States   Jesus                  Sanchez                     United States 9/11/01   NY (UA175)   03-cv-9849   8487                 Child     5061 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   8679-1, at 420,
3494                          Lourdes                 Sanchez                 United States   Jesus                  Sanchez                     United States 9/11/01   NY (UA175)   03-cv-9849   8696                 Sibling   515 at 5     $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   305, at P4512,
                                                                                                                                                                                                   8393-1, at 561,
3495                          Marc        Antoni      Sanchez                 United States   Jesus                  Sanchez                     United States 9/11/01   NY (UA175)   03-cv-9849   8487                 Child     5087 at 17   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   8679-1, at 423,
3496                          Miguel      Angel       Sanchez                 United States   Jesus                  Sanchez                     United States 9/11/01   NY (UA175)   03-cv-9849   8696                 Sibling   515 at 5     $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   8679-1, at 422,
3497                          Jesus       Manuel      Sanchez Declet          United States   Jesus                  Sanchez                     United States 9/11/01   NY (UA175)   03-cv-9849   8696                 Sibling   515 at 5     $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   8679-1, at 419,
3498                          Maria       Mercedes    Sanchez Declet          United States   Jesus                  Sanchez                     United States 9/11/01   NY (UA175)   03-cv-9849   8696                 Sibling   515 at 5     $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   8679-1, at 424,
3499                          Jesus       Francisco   Sanchez-Declet          United States   Jesus                  Sanchez                     United States 9/11/01   NY (UA175)   03-cv-9849   8696                 Sibling   515 at 5     $   4,250,000.00 $    12,750,000.00




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                                                                                                                                             EXHIBIT B-1
                                                                                                                          SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                                                      1:02-cv-01616, 1,
3500                                              Elena         Marie       Sandberg             Unknown         Adele                  Sessa                       United States 9/11/01   NY (WTC)     03-cv-9849   at 573               Sibling   4023 at 23   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                      1:02-cv-01616,
3501                                              Carol         Sue         Sandler              United States   Herman        Samuel   Sandler                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2333      Spouse    5087 at 17   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                      8679-1, at 425,
3502                                              Pamela                    Sandler              Korea           Herman        Samuel   Sandler                     United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Child     7188 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                      232, at P3943,
                                                                                                                                                                                                                      8393-1, at 32,
3503                                              Jennifer      Ann         Sands                United States   James                  Sands            Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5061 at 12   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                      26, 29, at 1833,
                                                                                                                                                                                                                      8393-1, at 84,
3504                                              Nancy                     Santana              United States   Victor        Daniel   Barbosa                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    4023 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                      1:02-cv-01616, 1,
                                                                                                                                                                                                                      at 554, 8393-1, at
3505                                              Alexander     William     Santora              United States   Christopher   A.       Santora                     United States 9/11/01   NY (Other)   03-cv-9849   10, 8487             Parent    4023 at 23   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                      1:02-cv-01616,
3506                                              Jennifer      Maureen     Santora              United States   Christopher   A.       Santora                     United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4361      Sibling   4023 at 23   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                      1:02-cv-01616,
3507                                              Kathleen      Marie       Santora              United States   Christopher   A.       Santora                     United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4362      Sibling   4023 at 23   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                      1:02-cv-01616, 1,
3508                                              Maureen       Marilyn     Santora              United States   Christopher   A.       Santora                     United States 9/11/01   NY (Other)   03-cv-9849   at 555               Parent    4023 at 23   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                      313, at P4729,
                                                                                                                                                                                                                      8393-1, at 36,
3509                                              Frances                   Santore              United States   John          A.       Santore                     United States 9/11/01   NY (Other)   03-cv-9849   8487                 Spouse    5087 at 17   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                      313, at P4729,
                                                                                                                                                                                                                      8393-1, at 570,
3510                                              Tiana Marie   Argia       Santore              United States   John          A.       Santore                     United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5087 at 17   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                      1:02-cv-01616,
3511                                              Maria-Elena               Santorelli           United States   Ann Marie              Riccoboni                   United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4255      Child     4126 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                      1:02-cv-01616, 3,
3512                                              Alberto       Angel       Santoro              United States   Mario         L.       Santoro                     Unknown      9/11/01    NY (Other)   03-cv-9849   at 1623              Parent    3666 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                      1:02-cv-01616, 1,
3513                                              Elizabeth     L.          Saraceno             Unknown         Kevin         James    Hannaford                   United States 9/11/01   NY (WTC)     03-cv-9849   at 274               Sibling   3387         $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                      1:02-cv-01616, 1,
3514                                              Anarkali                  Sarkar               United States   Kalyan        K.       Sarkar                      United States 9/11/01   NY (WTC)     03-cv-9849   at 760               Spouse    5087 at 17   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                      1:02-cv-01616,
3515                                              Kishan        Kumar       Sarkar               United States   Kalyan        K.       Sarkar                      United States 9/11/01   NY (WTC)     03-cv-9849   313, at P4730        Child     5087 at 17   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                      1:02-cv-01616, 1,
                                                                                                                                                                                                                      at 760, 8393-1, at
3516                                              Sujoy                     Sarkar               United States   Kalyan        K.       Sarkar                      United States 9/11/01   NY (WTC)     03-cv-9849   1361, 8487           Child     5087 at 17   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                      1:02-cv-01616,
3517                                              Lisa          Margaret    Sarni                United States   Richard       N.       Poulos                      United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3904        Child     5087 at 16   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                      1:02-cv-01616, 3,
3518                                              Jamie         Kang        Sarracino            United States   Joon          Koo      Kang                        Unknown      9/11/01    NY (WTC)     03-cv-9849   at 1285              Sibling   4023 at 14   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                      1:02-cv-01616, 1,
3519                                              Kelly         Christine   Satish               United States   Jane          Eileen   Josiah                      United States 9/11/01   NY (WTC)     03-cv-9849   at 319               Child     4023 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                      1:02-cv-01616,
3520                                              Janet         Lu Anne     Satterfield          United States   Christopher   R.       Larrabee                    United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3770        Parent    4023 at 16   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                      1:02-cv-01616,
3521                                              Diana         Jean        Sayegh               United States   Jacqueline    Sayegh   Duggan                      United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2698         Parent    4023 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                      77, at P2699,
                                Sayegh; Sayegh,                                                                                                                                                                       8397-1, at 24,
3522 Diana; Geroge   Jean; A.   Jr.               George        A.          Sayegh         Sr.   Unknown         Jacqueline    Sayegh   Duggan                      United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    5087 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                      8679-1, at 90,
3523                                              George        A.          Sayegh         Jr.   United States   Jacqueline    Sayegh   Duggan                      United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   5087 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                      155, at P3029,
                                                                                                                                                                                                                      8393-1, at 56,
3524                                              Maria         Amalia      Sayegh               United States   Michael       E.       McHugh           Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5087 at 14   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                      1:02-cv-01616,
3525                                              Christopher   J.          Scandole             United States   Robert        Louis    Scandole         Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4951        Sibling   4023 at 23   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                      432, at P4948,
                                                                                                                                                                                                                      8393-1, at 1134,
3526                                              Emma                      Scandole             United States   Robert        Louis    Scandole         Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 17   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                      432, at P4948,
                                                                                                                                                                                                                      8393-1, at 1135,
3527                                              Katie         O'Grady     Scandole             United States   Robert        Louis    Scandole         Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 17   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                      1:02-cv-01616,
3528                                              Margaret      Mary        Scandole             Ireland         Robert        Louis    Scandole         Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4950        Parent    4023 at 23   $   8,500,000.00 $    25,500,000.00



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                                                                                                                                                                                              1:02-cv-01616,
3529                      Robert        Louis     Scandole      Sr.   United States   Robert        Louis      Scandole          Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4949        Parent    4023 at 23   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                              432, at P4948,
                                                                                                                                                                                              8393-1, at 70,
3530                      Sheila        Marie     Scandole            United States   Robert        Louis      Scandole          Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5087 at 17   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                              26, 29, at 4370,
                                                                                                                                                                                              6949, at 2, 6955,
                                                                                                                                                                                              8397-1, at 25,
3531 Steven   Scarpitta   Julie                   Scarpitta           United States   Michelle                 Scarpitta                    United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    7188 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                              1:03-md-01570,
                                                                                                                                                                                              3477, at 3261;
                                                                                                                                                                                              8679-1, at 428,
3532                      Steven                  Scarpitta           United States   Michelle                 Scarpitta                    United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   4126 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                              26, 29, at 4375,
                                                                                                                                                                                              8393-1, at 573,
3533                      Christopher             Schardt             Unknown         John          Albert     Schardt                      United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5087 at 18   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                              1:02-cv-01616,
3534                      Jeanette      DeVito    Schardt             Unknown         John          Albert     Schardt                      United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4375      Spouse    5087 at 18   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                              26, 29, at 4375,
                                                                                                                                                                                              8393-1, at 574,
3535                      John                    Schardt       Jr.   Unknown         John          Albert     Schardt                      United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5087 at 18   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                              1:02-cv-01616,
3536                      Kenneth       Robert    Schardt             United States   John          Albert     Schardt                      United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4378      Sibling   4023 at 23   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                              1:02-cv-01616,
3537                      Margaret      Tolman    Schardt             United States   John          Albert     Schardt                      United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4377      Parent    4023 at 23   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                              1:02-cv-01616,
3538                      Robert        Albert    Schardt             United States   John          Albert     Schardt                      United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4376      Parent    4023 at 23   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                              26, 29, at 4375,
                                                                                                                                                                                              8393-1, at 572,
3539                      Robert                  Schardt             Unknown         John          Albert     Schardt                      United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5087 at 18   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                              1:02-cv-01616,
3540                      Elliott                 Scheinberg          United States   Angela        Susan      Scheinberg                   United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2338      Spouse    5061 at 12   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                              1:02-cv-01616, 1,
                                                                                                                                                                                              at 847, 5284-1, at
3541                      Ellen                   Schertzer           United States   Scott         Mitchell   Schertzer                    United States 9/11/01   NY (WTC)     03-cv-9849   10, 5296             Parent    3382         $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                              1:02-cv-01616, 3,
3542                      Barbara       Ann       Schielzo            United States   Catherine     T.         Smith                        United States 9/11/01   NY (WTC)     03-cv-9849   at 1658              Sibling   4023 at 23   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                              1:02-cv-01616,
3543                      Millie        Caseres   Schifano            United States   Michael       A.         Trinidad                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4579      Sibling   4023 at 25   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                              8679-1, at 66,
3544                      Patricia      Paula     Schlosser           United States   Kevin         M.         Cosgrove                     United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                              1:02-cv-01616,
3545                      Norene        Mary      Schneider           United States   Thomas        G.         Sullivan                     United States 9/11/01   NY (WTC)     03-cv-9849   155, at P3108        Sibling   5062 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                              1:03-cv-9849,
                                                                                                                                                                                              HAND FILED, at
                                                                                                                                                                                              P5258, 8393-1, at
3546                      Dina          Marie     Schott              United States   Frank         G.         Schott            Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   25, 8487             Spouse    5061 at 12   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                              1:03-cv-9849,
                                                                                                                                                                                              HAND FILED, at
                                                                                                                                                                                              P5258, 8393-1, at
3547                      Erica         Anne      Schott              United States   Frank         G.         Schott            Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   392, 8487            Child     5061 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                              1:03-cv-9849,
                                                                                                                                                                                              HAND FILED, at
                                                                                                                                                                                              P5258, 8393-1, at
3548                      Jonathan      Michael   Schott              United States   Frank         G.         Schott            Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   393, 8487            Child     5087 at 18   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                              1:03-cv-9849,
                                                                                                                                                                                              HAND FILED, at
                                                                                                                                                                                              P5258, 8393-1, at
3549                      Robert        Frank     Schott              United States   Frank         G.         Schott            Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   394, 8487            Child     5061 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                              1:03-md-01570,
                                                                                                                                                                                              3477, at 2411;
                                                                                                                                                                                              8679-1, at 308,
3550                      Sara          Ann       Schultz             United States   Sean          Peter      McNulty                      United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   4023 at 18   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                              1:02-cv-01616,
3551                      Sharon        B.        Schultz             United States   Karamo                   Trerra                       Gambia       9/11/01    NY (WTC)     03-cv-9849   26, 29, at 2408      Spouse    5356 at 6    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                              1:02-cv-01616,
3552                      Lisa          A.        Schunk              United States   Edward        W.         Schunk                       Unknown      9/11/01    NY (WTC)     03-cv-9849   26, 29, at 4395      Spouse    5356 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                              1:02-cv-01616, 3,
3553                      Andrew        David     Schwartz            United States   Mark                     Schwartz                     United States 9/11/01   NY (Other)   03-cv-9849   at 1631              Child     5061 at 12   $   8,500,000.00 $    25,500,000.00




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                                                                                                                                                                                                         1:02-cv-01616, 3,
                                                                                                                                                                                                         at 1630, 8393-1,
3554                                Patricia                 Schwartz             United States   Mark                    Schwartz                     United States 9/11/01   NY (Other)   03-cv-9849   at 53, 8487          Spouse    5087 at 18   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                         1:03-cv-9849,
                                                                                                                                                                                                         HAND FILED, at
                                                                                                                                                                                                         P5259, 8393-1, at
3555                                Charles                  Scibetta             United States   Adriana                 Scibetta                     United States 9/11/01   NY (WTC)     03-cv-9849   1, 8487              Spouse    5087 at 18   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                         1:03-cv-9849,
                                                                                                                                                                                                         HAND FILED, at
                                                                                                                                                                                                         P5259, 8393-1, at
3556                                Vincenzo    P.           Scibetta             United States   Adriana                 Scibetta                     United States 9/11/01   NY (WTC)     03-cv-9849   8, 8487              Child     5087 at 18   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         1:02-cv-01616, 3,
3557                                Alice       Elizabeth    Sciusco              United States   Laurence       D.       Curia                        Unknown      9/11/01    NY (WTC)     03-cv-9849   at 1046              Sibling   4023 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                         1:02-CV-01616,
3558                                Jodi                     Scolaro              United States   John           J.       Badagliacca                  Unknown      9/11/01    NY (WTC)     03-cv-9849   26, 29, at 2592      Sibling   4023 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                         305, at P4515,
                                                                                                                                                                               VA                        8393-1, at 32,
3559                                Abraham                  Scott                United States   Janice         Marie    Scott                        United States 9/11/01   (Pentagon)   03-cv-9849   8487                 Spouse    5087 at 18   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                         1:02-cv-01616, 1,
                                                                                                                                                                                                         at 878, 5284-1, at
                                                                                                                                                                                                         10, 5296, 8393-1,
3560                                Alexandra   Nicole       Scott                United States   Randolph                Scott                        United States 9/11/01   NY (WTC)     03-cv-9849   at 1073, 8487        Child     5061 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                         305, at P4515,
                                                                                                                                                                               VA                        8393-1, at 517,
3561                                Angel       Marie        Scott                United States   Janice         Marie    Scott                        United States 9/11/01   (Pentagon)   03-cv-9849   8487                 Child     5087 at 18   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                               VA                        1:02-cv-01616,
3562                                Crystal     Marie        Scott                United States   Janice         Marie    Scott                        United States 9/11/01   (Pentagon)   03-cv-9849   305, at P4516        Child     5087 at 18   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         1:02-cv-01616, 1,
                                                                                                                                                                                                         at 878, 5284-1, at
3563                                Denise      Marie        Scott                United States   Randolph                Scott                        United States 9/11/01   NY (WTC)     03-cv-9849   10, 5296             Spouse    5061 at 12   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                         1:03-cv-9849,
                                                                                                                                                                                                         HAND FILED, at
                                                                                                                                                                                                         AP293, 5284-1, at
3564                                Jessica     Frances      Scott                United States   Randolph                Scott                        United States 9/11/01   NY (WTC)     03-cv-9849   10, 5296             Child     5087 at 18   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         8679-1, at 388,
3565                                Marie       Le Jeune     Scott                United States   William        Ralph    Raub                         United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                         1:02-cv-01616, 3,
                                                                                                                                                                                                         at 837, 5284-1, at
3566                                Rebecca     Elizabeth    Scott                United States   Randolph                Scott                        United States 9/11/01   NY (WTC)     03-cv-9849   10, 5296             Child     5061 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         1:02-cv-01616,
3567                                Katherine   Ann          Scovill              United States   Jessica        Leigh    Sachs                        United States 9/11/01   NY (AA11)    03-cv-9849   155, at P3083        Sibling   5062 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                         1:02-cv-01616, 3,
                                                                                                                                                                                                         at 1545, 8393-1,
3568                                Maureen     Elizabeth    Scparta              United States   Leonard        J.       Ragaglia                     United States 9/11/01   NY (Other)   03-cv-9849   at 789, 8487         Sibling   3666 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                         1:03-md-01570,
3569                                Daniel      Paul         Seaman               Unknown         Michael        Herman   Seaman                       United States 9/11/01   NY (WTC)     03-cv-9849   432, at P5445        Sibling   3666 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                         1:02-cv-01616,
3570                                Jeanine     Hart         Seaman               United States   John           P.       Hart                         United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4316        Sibling   3666 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                         26, 29, at 2330,
                                                                                                                                                       Dominican                                         8393-1, at 44,
3571                                Silveria                 Segura               United States   Juan           G.       Salas                        Republic     9/11/01    NY (WTC)     03-cv-9849   8487                 Spouse    5951 at 8    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                         1:02-cv-01616, 1,
                       Stackland-                                                                                                                                                                        at 560, 8397-1, at
3572 Andrea    M.      Winterer     Jonathan    DiGiovanni   Sellitto             United States   Matthew        Carmen   Sellitto                     United States 9/11/01   NY (WTC)     03-cv-9849   25, 8433             Sibling   4126 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                         1:02-cv-01616, 1,
3573                                Loreen                   Sellitto             United States   Matthew        Carmen   Sellitto                     United States 9/11/01   NY (WTC)     03-cv-9849   at 558               Parent    4023 at 23   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         1:02-cv-01616, 1,
                                                                                                                                                                                                         at 559, 8393-1, at
3574                                Matthew     Thomas       Sellitto             United States   Matthew        Carmen   Sellitto                     United States 9/11/01   NY (WTC)     03-cv-9849   54, 8487             Parent    4023 at 23   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         1:02-cv-01616,
3575                                James       Matthew      Selwyn               United States   Howard                  Selwyn                       United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3945        Child     5062 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                         232, at P3946,
                                                                                                                                                                                                         8393-1, at 48,
3576                                Debbi       Ellen        Senko-Goldman        United States   Larry          John     Senko                        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5848 at 9    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                         1:02-cv-01616, 3,
3577                                Frances     Ellen        Sennas               United States   Stacey         Sennas   McGowan                      Unknown      9/11/01    NY (WTC)     03-cv-9849   at 1440              Parent    4023 at 18   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         1:02-cv-01616, 3,
                                                                                                                                                                                                         at 1439, 8397-1,
3578 Frances   Ellen   Sennas       Semo        Peter        Sennas               United States   Stacey         Sennas   McGowan                      Unknown      9/11/01    NY (WTC)     03-cv-9849   at 25, 8433          Parent    4023 at 18   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         1:02-cv-01616,
3579                                Rosemary                 Sercia               Unknown         Christopher    Edmund   Lunder                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3670      Sibling   3666 at 8    $   4,250,000.00 $    12,750,000.00




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                                                                                                                                                                                VA                        1:02-cv-01616, 1,
3580                              Bruce       E.            Serva                  United States   Marian         Teresa    Serva                       United States 9/11/01   (Pentagon)   03-cv-9849   at 568               Spouse    5087 at 18   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                VA                        1:02-cv-01616,
3581                              Christina   Lyn           Serva                  United States   Marian         Teresa    Serva                       United States 9/11/01   (Pentagon)   03-cv-9849   155, at P3086        Child     5848 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616, 1,
3582                              Alberico    Joseph        Sessa                  United States   Adele                    Sessa                       United States 9/11/01   NY (WTC)     03-cv-9849   at 572               Sibling   4023 at 23   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616, 1,
3583                              Irene       Mary          Sessa                  Unknown         Adele                    Sessa                       United States 9/11/01   NY (WTC)     03-cv-9849   at 571               Parent    4023 at 23   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          8679-1, at 429,
3584                              Catherine   Jean          Seymour                United States   Karen          Lynn      Seymour                     United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Parent    7188 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          155, at P3146,
                                                                                                                                                                                                          8393-1, at 143,
3585                              Jaclyn      Irene         Sforza                 United States   Charles                  Waters                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5848 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
3586                              Cheryl      Dianne        Shames                 Unknown         Andrew         Steven    Zucker                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4771      Sibling   3666 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
3587                              Joel        Gary          Shapiro                United States   Sareve                   Dukat                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 1956      Spouse    5087 at 8    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          305, at P4250,
                                                                                                                                                                                                          8393-1, at 23,
3588                              Paula       Robin         Shapiro                United States   Eric           Adam      Eisenberg                   United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    5062 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:03-cv-09849,
                                                                                                                                                                                                          844, at 14; 8679-
3589                              Brian       Patrick       Shaw                   United States   Jeffrey        James     Shaw                        United States 9/11/01   NY (WTC)     03-cv-9849   1, at 431, 8696      Sibling   5062 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          232, at P3948,
                                                                                                                                                                                                          8393-1, at 33,
3590                              Debra                     Shaw                   United States   Jeffrey        James     Shaw                        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5848 at 9    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          232, at P3948,
                                                                                                                                                                                                          8393-1, at 535,
3591                              Michael     Christopher   Shaw                   United States   Jeffrey        James     Shaw                        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5848 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:03-cv-09849,
                                                                                                                                                                                                          844, at 15; 8679-
3592                              Richard     Charles       Shaw                   United States   Jeffrey        James     Shaw                        United States 9/11/01   NY (WTC)     03-cv-9849   1, at 433, 8696      Sibling   5062 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
3593                              Carolyn     A.            Shay                   United States   Robert         J.        Shay             Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2355      Sibling   4126 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616, 3,
3594                              Dawn        Marie         Shay                   United States   Robert         J.        Shay             Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   at 1635              Spouse    5848 at 10   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
3595                              James       Edward        Shay                   United States   Robert         J.        Shay             Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2349      Sibling   3666 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616, 3,
                                                                                                                                                                                                          at 1635, 8393-1,
3596                              Jonathan    Robert        Shay                   United States   Robert         J.        Shay             Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   at 1142, 8487        Child     5848 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
3597                              Kathleen    Patricia      Shay                   United States   Robert         J.        Shay             Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2353      Sibling   4126 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
3598                              Leanne      Mary          Shay                   United States   Robert         J.        Shay             Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2352      Sibling   3666 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
3599 Carolyn   A.       Shay      Maureen                   Shay                   United States   Robert         J.        Shay             Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2348      Parent    3666 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
3600                              Michael     Andrew        Shay                   United States   Robert         J.        Shay             Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2350      Sibling   3666 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          26, 29, at 2347,
                                                                                                                                                                                                          8397-1, at 25,
3601                              Robert      John          Shay             Sr.   United States   Robert         J.        Shay             Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    3666 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616, 3,
                                                                                                                                                                                                          at 1635, 8393-1,
3602                              Robert      John          Shay             III   United States   Robert         J.        Shay             Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   at 1144, 8487        Child     5848 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616, 3,
                                                                                                                                                                                                          at 1635, 8393-1,
3603                              Ryan        Patrick       Shay                   United States   Robert         J.        Shay             Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   at 1143, 8487        Child     5848 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
3604                              Eileen      M             Shay-Martinez          United States   Robert         J.        Shay             Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2351      Sibling   4126 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
3605                              Roberta     L.            Shea                   Unknown         Stephen        Edward    Tighe                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2400      Sibling   3666 at 12   $   4,250,000.00 $    12,750,000.00

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                                                                                                                                                                                                          26, 29, at 2512,
3606                              Rosaleen    Clare         Shea                   United States   Mary           Yolanda   Dowling                     United States 9/11/01   NY (WTC)     03-cv-9849   5284-1, at 4, 5296   Sibling   4023 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616, 1,
                                                                                                                                                                                                          at 577, 8397-1, at
3607 Robert    Daniel   Sheehan   Daniel      John          Sheehan                Unknown         Linda          June      Sheehan                     United States 9/11/01   NY (WTC)     03-cv-9849   25, 8433             Parent    4126 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
3608                              Maureen     Fergus        Sheehan                United States   Edward         Thomas    Fergus           Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   155, at P2897        Sibling   5062 at 4    $   4,250,000.00 $    12,750,000.00



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                                                                                                                                                                                                1:02-cv-01616, 1,
                                                                                                                                                                                                at 578, 8393-1, at
3609                          Robert      Daniel    Sheehan             United States   Linda          June      Sheehan                      United States 9/11/01   NY (WTC)     03-cv-9849   50, 8487             Sibling       4023 at 23   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                8679-1, at 305,
3610                          Kathleen    McNeal    Sheeler             United States   Daniel         Walker    McNeal                       United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling       5848 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                1:02-cv-01616,
3611                          Sandra      Ellen     Shelley             United States   John           P.        Hart                         United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4315        Sibling       3666 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                1:02-cv-01616,
3612                          Ellen       Stajk     Shelnutt            United States   Gregory                  Stajk                        United States 9/11/01   NY (Other)   03-cv-9849   305, at P4538        Sibling       4023 at 24   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                1:02-cv-01616, 3,
3613                          Diane       Marie     Shepherd            Unknown         Keith          James     Burns                        United States 9/11/01   NY (WTC)     03-cv-9849   at 947               Sibling       3666 at 2    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                1:02-cv-01616, 3,
                                                                                                                                                                                                at 1797, 5284-1,
3614                          Deborah     Ellen     Sherman             United States   Jeffrey        M.        Chairnoff                    United States 9/11/01   NY (WTC)     03-cv-9849   at 2, 5296           Sibling       4023 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                1:02-cv-01616,
3615                          Jeanine     Michele   Sherman             United States   Alfred         R.        Maler                        United States 9/11/01   NY (WTC)     03-cv-9849   155, at P3021        Sibling       4126 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                26, 29, at 2479,
                                                                                                                                                                                                5284-1, at 11,
3616                          Debra                 Sherry              United States   John           Anthony   Sherry                       United States 9/11/01   NY (WTC)     03-cv-9849   5296                 Sibling       3666 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                1:02-cv-01616,
3617                          Elizabeth             Sherry              United States   Robert                   O'Shea                       Unknown      9/11/01    NY (Other)   03-cv-9849   26, 29, at 2232      Sibling       4023 at 20   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                26, 29, at 4412,
                                                                                                                                                                                                8397-1, at 25,
3618 Mary      Ann   Sherry   Frank                 Sherry              United States   John           Anthony   Sherry                       United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent        4023 at 23   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                26, 29, at 2476,
                                                                                                                                                                                                8393-1, at 578,
3619                          James       Thomas    Sherry              United States   John           Anthony   Sherry                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child         5151 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                26, 29, at 2476,
                                                                                                                                                                                                8393-1, at 579,
3620 Maureen         Sherry   John        Michael   Sherry              United States   John           Anthony   Sherry                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child         5151 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                26, 29, at 2478,
                                                                                                                                                                                                5284-1, at 11,
3621                          Mary        Ann       Sherry              United States   John           Anthony   Sherry                       United States 9/11/01   NY (WTC)     03-cv-9849   5296                 Parent        4023 at 23   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                26, 29, at 2476,
                                                                                                                                                                                                5284-1, at 11,
3622                          Maureen               Sherry              United States   John           Anthony   Sherry                       United States 9/11/01   NY (WTC)     03-cv-9849   5296                 Spouse        5087 at 18   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                8679-1, at 434,
3623                          Robert                Sherry              United States   John           Anthony   Sherry                       United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling       5087 at 18   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                155, at P3143,
                                                                                                                                                                                                8393-1, at 86,
3624                          Wen                   Shi                 United States   Weibin                   Wang                         United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse        5087 at 21   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                1:02-cv-01616,
3625                          Bonnie      G.        Shimel              United States   Myrna                    Yaskulka                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4755      Sibling       4023 at 26   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                232, at P3889,
                                                                                                                                                                                                8397-1, at 25,
3626 Jin       Han   Park     Jung        Hea       Shin                United States   Gye            Hyong     Park                         United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent        5848 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                1:02-cv-01616, 1,
3627                          Vivian      Lerner    Shoemaker           United States   Alan           David     Kleinberg                    United States 9/11/01   NY (WTC)     03-cv-9849   at 325               Parent        4023 at 15   $   8,500,000.00 $    25,500,000.00
                                                                        United States   Angela         Marie     Houtz                                                VA                        8679-1, at 213,
3628                          Joseph      Noel      Shontere                                                                                  United States 9/11/01   (Pentagon)   03-cv-9849   8696                 Step-Parent   8293 at 6    $   4,250,000.00 $    12,750,000.00

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                                                                                                                                                                      VA                        232, at P3731,
3629                          Julia       P.        Shontere            Unknown         Angela         Marie     Houtz                        United States 9/11/01   (Pentagon)   03-cv-9849   8393-1, at 3, 8487   Parent        4126 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                1:02-cv-01616,
3630                          Carolyn     Marie     Shorthouse          United States   Patrick        J.        Brown                        United States 9/11/01   NY (Other)   03-cv-9849   432, at P4781        Sibling       4023 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                1:02-cv-01616, 3,
3631                          Ahuva                 Shwartzstein        United States   Allan          Abraham   Shwartzstein                 Unknown      9/11/01    NY (WTC)     03-cv-9849   at 1640              Parent        3666 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                1:02-cv-01616, 3,
3632                          Michael               Shwartzstein        United States   Allan          Abraham   Shwartzstein                 Unknown      9/11/01    NY (WTC)     03-cv-9849   at 1641              Sibling       4023 at 23   $   4,250,000.00 $    12,750,000.00

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                                                                                                                                                                                                77, at AP207,
3633                          Gail        Marie     Silke               United States   Stephen        Patrick   Driscoll                     United States 9/11/01   NY (Other)   03-cv-9849   5284-1, at 4, 5296   Sibling       3666 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                77, at AP210,
                                                                                                                                                                                                8393-1, at 1231,
3634                          Genevieve   E.        Siller              United States   Stephen        G.        Siller                       United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child         5087 at 18   $   8,500,000.00 $    25,500,000.00



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                                                                                                                                                 EXHIBIT B-1
                                                                                                                              SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                            77, at AP210,
                                                                                                                                                                                                                            8393-1, at 1232,
3635                                             Jake          A.           Siller                  United States   Stephen        G.        Siller                       United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5087 at 18   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                            77, at AP210,
                                                                                                                                                                                                                            8393-1, at 1233,
3636                                             Katherine     M.           Siller                  United States   Stephen        G.        Siller                       United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5087 at 18   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                            77, at AP210,
                                                                                                                                                                                                                            8393-1, at 1234,
3637                                             Olivia        A.           Siller                  United States   Stephen        G.        Siller                       United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5087 at 18   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                            77, at AP210,
                                                                                                                                                                                                                            8393-1, at 76,
3638                                             Sarah         Elizabeth    Siller                  United States   Stephen        G.        Siller                       United States 9/11/01   NY (Other)   03-cv-9849   8487                 Spouse    5087 at 18   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                            77, at AP210,
                                                                                                                                                                                                                            8393-1, at 1235,
3639                                             Stephen       A.           Siller                  United States   Stephen        G.        Siller                       United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5138 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                            1:03-md-01570,
                                                                                                                                                                                                                            3477, at 3345;
                                                                                                                                                                                                                            8679-1, at 435,
3640                                             Christopher   Walter       Simmons                 Unknown         George         W.        Simmons           Sr.        United States 9/11/01   VA (AA77)    03-cv-9849   8696                 Child     4023 at 23   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                            1:03-md-01570,
                                                                                                                                                                                                                            3477, at 3346;
                                                                                                                                                                                                                            8679-1, at 436,
3641                                             George        Washington   Simmons           Jr.   Unknown         George         W.        Simmons           Sr.        United States 9/11/01   VA (AA77)    03-cv-9849   8696                 Child     4023 at 23   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                            432, at P4953,
                                                                                                                                                                                                                            8393-1, at 87,
3642                                             Lawanda       Sandina      Simmons                 United States   Wendy          L.        Small                        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Sibling   4023 at 23   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                            1:02-cv-01616,
3643                                             Scott         Stephen      Simon                   Unknown         Michael        John      Simon                        United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4527        Sibling   3666 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                            1:02-cv-01616, 1,
                                                                                                                                                                                                                            at 582, 8393-1, at
3644                                             Shelley                    Simon                   Unknown         Paul           J.        Simon                        United States 9/11/01   NY (WTC)     03-cv-9849   63, 8487             Spouse    5061 at 12   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                            1:02-cv-01616, 3,
3645                                             Stephen       Vincent      Simone                  United States   Marianne                 Simone                       United States 9/11/01   NY (WTC)     03-cv-9849   at 1646              Child     4023 at 23   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                            8679-1, at 364,
3646                                             Elizabeth     Papa         Simons                  United States   Edward         J.        Papa                         United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Child     7188 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                            155, at P3090,
                                                                                                                                                                                                                            8393-1, at 524,
3647                                             Leeann        M.           Simpson                 United States   Jeff           L.        Simpson                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5848 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                            155, at P3090,
                                                                                                                                                                                                                            8393-1, at 525,
3648                                             Maxwell       James        Simpson                 United States   Jeff           L.        Simpson                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5848 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                  VA                        1:02-cv-01616,
3649                                             Reginald                   Simpson                 Unknown         Marsha                   Ratchford                    United States 9/11/01   (Pentagon)   03-cv-9849   26, 29, at 4221      Sibling   3382         $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                  VA                        1:02-cv-01616,
3650                                             Craig         William      Sincock                 United States   Cheryle        D.        Sincock                      United States 9/11/01   (Pentagon)   03-cv-9849   26, 29, at 4420      Spouse    5848 at 10   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                            232, at P4086,
                                                                                                                                                                                                                            8393-1, at 66,
3651                                             Alana                      Siracuse-Spera          Unknown         Peter          A.        Siracuse                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5087 at 18   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                            313, at P4734,
                                                                                                                                                                                                                            8397-1, at 25,
3652 Irene; Michael   Ann; John   Lesiw; Skala   Jaroslawa                  Skala                   United States   John           P.        Skala                        United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    4171 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                            1:02-cv-01616,
3653                                             Michael       John         Skala                   United States   John           P.        Skala                        United States 9/11/01   NY (WTC)     03-cv-9849   313, at P4735        Sibling   4023 at 23   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                            1:02-CV-01616,
3654                                             Clare         Ellen        Skarda                  United States   Arthur         T.        Barry                        United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2623      Sibling   5062 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                            1:02-cv-01616,
3655                                             Patricia      Anne         Skic                    United States   Michael        Matthew   Miller                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2182      Spouse    5951 at 8    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                            1:02-cv-01616,
3656                                             Jane          Lynn         Skrzyniarz              Unknown         Thomas         H.        Polhemus                     United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4493        Sibling   3666 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                            305, at P4468,
                                                                                                                                                                                                                            8393-1, at 35,
3657                                             Inez                       Slick                   United States   Jerrold        H.        Paskins                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5087 at 16   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                            1:02-cv-01616,
3658                                             Patricia      B.           Sloan                   Unknown         Paul           Kenneth   Sloan                        United States 9/11/01   NY (WTC)     03-cv-9849   313, at P4737        Parent    3382         $   8,500,000.00 $    25,500,000.00




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                                                                                                                               SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                                                           1:02-cv-01616, 3,
3659                                                          Orly                    Small          United States   Allan          Abraham   Shwartzstein               Unknown      9/11/01    NY (WTC)     03-cv-9849   at 1642              Sibling   3666 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                           232, at P4012,
                                                                                                                                                                                                                           8393-1, at 32,
3660                                                          Karen       Marie       Smart          United States   James          Thomas    Waters          Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Sibling   4023 at 26   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                           1:02-cv-01616,
3661                                                          Carol       Ann         Smee           United States   Michael        C.        Opperman                   United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4092      Sibling   3666 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                           1:02-cv-01616, 3,
                                                                                                                                                                                                                           at 1654, 8397-1,
3662 Barbara           Ann                Schielzo            Annette                 Smith          United States   Catherine      T.        Smith                      United States 9/11/01   NY (WTC)     03-cv-9849   at 25, 8433          Parent    4023 at 23   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                           1:02-cv-01616, 3,
3663 Brenda; Jerrald   Smith              Clark; Smith        Arthur      A.          Smith          United States   Jeffrey        R.        Smith                      United States 9/11/01   NY (WTC)     03-cv-9849   at 1659              Parent    3666 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                           26, 29, at 4792,
                                                                                                                                                                                                                           8393-1, at 716,
3664                                                          Bradford    William     Smith          United States   Karl           T.        Smith                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5062 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                           1:02-cv-01616, 3,
                                                                                                                                                                                                                           at 1801, 5284-1,
3665                                                          Charles     Anthony     Smith          United States   Rosemary       Ann       Smith                      Unknown      9/11/01    NY (WTC)     03-cv-9849   at 11, 5296          Sibling   4023 at 23   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                           1:02-cv-01616, 3,
                                                                                                                                                                                                                           at 1835, 8393-1,
3666                                                          Charlotte   Bakalian    Smith          United States   Jeffrey        R.        Smith                      United States 9/11/01   NY (WTC)     03-cv-9849   at 547, 8487         Child     5356 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                           313, at P4659,
                                                                                                                                                                                                                           8393-1, at 954,
3667                                                          Christa     Leigh       Smith          United States   Michael        Robert    Horrocks                   United States 9/11/01   NY (UA175)   03-cv-9849   8487                 Child     6035 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                           1:02-cv-01616, 3,
                                                                                                                                                                                                                           at 1802, 5284-1,
3668                                                          Georgeann   Marie       Smith          United States   Rosemary       Ann       Smith                      Unknown      9/11/01    NY (WTC)     03-cv-9849   at 11, 5296          Sibling   4023 at 23   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                           1:02-cv-01616,
3669 Matthew; Philip   G.; Trumbull       Smith; Smith, III   Georgia     K.          Smith          United States   Karl           T.        Smith                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4431      Parent    3666 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                           1:02-cv-01616, 1,
3670                                                          James       E.          Smith          United States   Joann                    Tabeek                     United States 9/11/01   NY (WTC)     03-cv-9849   at 605               Sibling   5848 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                           8679-1, at 437,
3671                                                          Jerrald                 Smith          United States   Jeffrey        R.        Smith                      United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   5087 at 18   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                           26, 29, at 4792,
                                                                                                                                                                                                                           5284-1, at 11,
3672                                                          Joanne      Elizabeth   Smith          United States   Karl           T.        Smith                      United States 9/11/01   NY (WTC)     03-cv-9849   5296                 Spouse    5356 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                           26, 29, at 4793,
                                                                                                                                                                                                                           5284-1, at 11,
3673                                                          Karl        Trumbull    Smith    Jr.   United States   Karl           T.        Smith                      United States 9/11/01   NY (WTC)     03-cv-9849   5296                 Child     5062 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                           1:02-cv-01616, 3,
3674 Brenda; Jerrald   Smith              Clark; Smith        Madeline    W.          Smith          United States   Jeffrey        R.        Smith                      United States 9/11/01   NY (WTC)     03-cv-9849   at 1660              Parent    3666 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                           1:02-cv-01616, 3,
                                                                                                                                                                                                                           at 1835, 8393-1,
3675                                                          Margaret    Shaw        Smith          United States   Jeffrey        R.        Smith                      United States 9/11/01   NY (WTC)     03-cv-9849   at 548, 8487         Child     5356 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                           26, 29, at 4775,
                                                                                                                                                                                                                           8397-1, at 25,
3676 Charles           Anthony            Smith               Mary        Rose        Smith          United States   Rosemary       Ann       Smith                      Unknown      9/11/01    NY (WTC)     03-cv-9849   8433                 Parent    5087 at 18   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                           1:02-cv-01616,
3677                                                          Matthew     G.          Smith          United States   Karl           T.        Smith                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4433      Sibling   5087 at 18   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                           1:02-cv-01616, 1,
3678                                                          Michael                 Smith          United States   Joann                    Tabeek                     United States 9/11/01   NY (WTC)     03-cv-9849   at 609               Sibling   4126 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                           1:02-cv-01616,
3679                                                          Peter       Hibbard     Smith          Unknown         Karl           T.        Smith                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4432      Sibling   3666 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                           26, 29, at 4794,
                                                                                                                                                                                                                           5284-1, at 11,
3680                                                          Philip      Trumbull    Smith    III   United States   Karl           T.        Smith                      United States 9/11/01   NY (WTC)     03-cv-9849   5296                 Sibling   4023 at 23   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                           26, 29, at 4430,
     Georgia;                             Smith; Smith;                                                                                                                                                                    8397-1, at 25,
3681 Matthew; Philip   K.; G.; Trumbull   Smith, III          Philip      Trumbull    Smith    Jr.   United States   Karl           T.        Smith                      United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    5138 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                           1:02-cv-01616, 3,
3682                                                          Vincent     J.          Smith          United States   Catherine      T.        Smith                      United States 9/11/01   NY (WTC)     03-cv-9849   at 1655              Sibling   4023 at 23   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                           1:02-cv-01616, 3,
3683                                                          Walter      T.          Smith    Jr.   United States   Catherine      T.        Smith                      United States 9/11/01   NY (WTC)     03-cv-9849   at 1656              Sibling   4023 at 23   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                           1:02-cv-01616, 1,
                                                                                                                                                                                                                           at 606, 8397-1, at
3684 Eileen                               Smith               William     J.          Smith    Jr.   United States   Joann                    Tabeek                     United States 9/11/01   NY (WTC)     03-cv-9849   25, 8433             Sibling   4126 at 8    $   4,250,000.00 $    12,750,000.00




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                                                                                                                            SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                                                         1:03-cv-9849,
                                                                                                                                                                                                                         HAND FILED, at
3685                                             Jessica       Lee         Smithers                United States   Douglas       Alan     Gowell                       United States 9/11/01   NY (UA175)   03-cv-9849   P5074               Child     8233 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                         1:02-cv-01616, 3,
3686                                             Jane          Marie       Smithwick               United States   Dennis                 Buckley                      United States 9/11/01   NY (WTC)     03-cv-9849   at 940              Sibling   3666 at 2    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                         305, at P4530,
                                                                                                                                                                                                                         8393-1, at 301,
3687                                             Blakeslee     Elizabeth   Snyder                  United States   Dianne        Bullis   Snyder                       United States 9/11/01   NY (AA11)    03-cv-9849   8487                Child     5848 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                         432, at P4954,
                                                                                                                                                                                                                         8393-1, at 10,
3688                                             Charles       O'Neal      Snyder                  United States   Christine     Ann      Snyder                       United States 9/11/01   PA (UA93)    03-cv-9849   8487                Parent    5356 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                         305, at P4530,
                                                                                                                                                                                                                         8393-1, at 19,
3689                                             John          Bishop      Snyder                  United States   Dianne        Bullis   Snyder                       United States 9/11/01   NY (AA11)    03-cv-9849   8487                Spouse    5848 at 10   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                         305, at P4530,
                                                                                                                                                                                                                         8393-1, at 302,
3690                                             Leland        Joseph      Snyder                  United States   Dianne        Bullis   Snyder                       United States 9/11/01   NY (AA11)    03-cv-9849   8487                Child     5848 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                         1:02-cv-01616, 3,
                                                                                                                                                                                                                         at 1324, 8393-1,
3691                                             Christopher   Robert      Sodano                  Unknown         Jeannine               LaVerde                      United States 9/11/01   NY (WTC)     03-cv-9849   at 522, 8487        Child     5087 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                         232, at P3954,
                                                                                                                                                                                                                         8393-1, at 28,
3692                                             Jeanie        Mary        Somerville              United States   Gregory                Stajk                        United States 9/11/01   NY (Other)   03-cv-9849   8487                Sibling   4023 at 24   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                         305, at P4532,
                               Sopper-Segovia;                                                                                                                                                                           8397-1, at 26,
3693 Tammy; Suzanne Lynn; T.   Sopper            Raymond       William     Sopper                  United States   Mari-Rae               Sopper                       United States 9/11/01   VA (AA77)    03-cv-9849   8433                Parent    4126 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                         1:02-cv-01616,
3694                                             Tammy         Lynn        Sopper-Segovia          United States   Mari-Rae               Sopper                       United States 9/11/01   VA (AA77)    03-cv-9849   313, at P4741       Sibling   4023 at 23   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                         26, 29, at 2168,
                                                                                                                                                                                                                         8393-1, at 1313,
3695                                             Courtney      Erin        Sosna                   United States   Thomas        J.       McCann                       United States 9/11/01   NY (Other)   03-cv-9849   8487                Child     5087 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                         1:03-md-01570,
                                                                                                                                                                                                                         3477, at 3120;
                                                                                                                                                                                                                         8679-1, at 400,
3696                                             Elizabeth     A.          Soudant                 United States   Gregory       E.       Rodriguez                    United States 9/11/01   NY (WTC)     03-cv-9849   8696                Spouse    5848 at 9    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                         8679-1, at 441,
3697                                             Christopher   Richard     Spagnoletti       Sr.   United States   Gregory       T.       Spagnoletti                  United States 9/11/01   NY (WTC)     03-cv-9849   8696                Sibling   515 at 5     $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                         8679-1, at 438,
3698                                             Maria         S.          Spagnoletti             United States   Gregory       T.       Spagnoletti                  United States 9/11/01   NY (WTC)     03-cv-9849   8696                Parent    8233 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                         8679-1, at 440,
3699                                             Mark          Anthony     Spagnoletti             United States   Gregory       T.       Spagnoletti                  United States 9/11/01   NY (WTC)     03-cv-9849   8696                Sibling   515 at 5     $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                         305, at P4534,
                                                                                                                                                                                                                         8393-1, at 28,
3700                                             Paul          Andrew      Spagnoletti             United States   Gregory       T.       Spagnoletti                  United States 9/11/01   NY (WTC)     03-cv-9849   8487                Sibling   4023 at 23   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                         8679-1, at 439,
3701                                             Richard                   Spagnoletti             United States   Gregory       T.       Spagnoletti                  United States 9/11/01   NY (WTC)     03-cv-9849   8696                Parent    515 at 5     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                         1:02-cv-01616, 1,
3702                                             Edith         Aloicia     Sparacio                Unknown         Thomas                 Sparacio                     United States 9/11/01   NY (WTC)     03-cv-9849   at 584              Parent    3666 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                         8679-1, at 442,
3703                                             Edward                    Sparacio                United States   Thomas                 Sparacio                     United States 9/11/01   NY (WTC)     03-cv-9849   8696                Sibling   5087 at 18   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                         1:02-cv-01616, 3,
                                                                                                                                                                                                                         at 1666, 8393-1,
3704                                             Eric          Thomas      Sparacio                United States   Thomas                 Sparacio                     United States 9/11/01   NY (WTC)     03-cv-9849   at 1322, 8487       Child     5087 at 18   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                         1:02-cv-01616, 1,
3705                                             Jack          Joseph      Sparacio          Sr.   Unknown         Thomas                 Sparacio                     United States 9/11/01   NY (WTC)     03-cv-9849   at 588              Parent    3666 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                         8679-1, at 443,
3706                                             Jack                      Sparacio          Jr.   United States   Thomas                 Sparacio                     United States 9/11/01   NY (WTC)     03-cv-9849   8696                Sibling   5087 at 18   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                         1:02-cv-01616, 3,
                                                                                                                                                                                                                         at 1666, 8393-1,
3707                                             Jonathan      Philip      Sparacio                United States   Thomas                 Sparacio                     United States 9/11/01   NY (WTC)     03-cv-9849   at 1323, 8487       Child     5087 at 18   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                         1:02-cv-01616,
3708                                             Karen         O'Mahony    Speidell                United States   Matthew       T.       O'Mahony                     Unknown      9/11/01    NY (WTC)     03-cv-9849   305, at P4456       Sibling   4023 at 20   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                         77, at AP211,
                                                                                                                                                                                                                         5284-1, at 11,
                                                                                                                                                                                                                         5296, 8393-1, at
3709                                             Hayley        Rose        Speisman                United States   Robert        S.       Speisman                     United States 9/11/01   VA (AA77)    03-cv-9849   1141, 8487          Child     5062 at 6    $   8,500,000.00 $    25,500,000.00




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                                                                                                  EXHIBIT B-1
                                                                               SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                               77, at AP211,
                                                                                                                                                                               5284-1, at 11,
                                                                                                                                                                               5296, 8393-1, at
3710   Rena          Tempelsman   Speisman            United States   Robert        S.          Speisman                     United States 9/11/01   VA (AA77)    03-cv-9849   71, 8487             Spouse    5062 at 6    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                               1:02-cv-01616,
3711   Barbara       R.           Speni               United States   Alfred        Todd        Rancke                       Unknown      9/11/01    NY (WTC)     03-cv-9849   77, at P2706         Sibling   3666 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                               1:02-cv-01616, 1,
3712   Irene                      Spina               United States   Lisa          L.          Spina-Trerotola              United States 9/11/01   NY (WTC)     03-cv-9849   at 592               Parent    3666 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                               1:02-cv-01616, 1,
3713   Mario         Francis      Spina               United States   Lisa          L.          Spina-Trerotola              United States 9/11/01   NY (WTC)     03-cv-9849   at 593               Parent    3666 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                               1:02-cv-01616, 1,
3714   Paul          Mario        Spina               United States   Lisa          L.          Spina-Trerotola              United States 9/11/01   NY (WTC)     03-cv-9849   at 594               Sibling   3666 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                               232, at P3953,
                                                                                                                                                                               8393-1, at 396,
3715   Christopher   Francis      Spinelli            United States   Frank         J.          Spinelli          Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5848 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                               232, at P3953,
                                                                                                                                                                               8393-1, at 397,
3716   Danielle      Marie        Spinelli            United States   Frank         J.          Spinelli          Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5848 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                               232, at P3953,
                                                                                                                                                                               8393-1, at 25,
3717   Michelle                   Spinelli            United States   Frank         J.          Spinelli          Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5848 at 10   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                               232, at P3953,
                                                                                                                                                                               8393-1, at 398,
3718   Nicole        Lauren       Spinelli            United States   Frank         J.          Spinelli          Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5848 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                               1:03-cv-09849,
                                                                                                                                                                               841, at 8; 8679-1,
3719   Rosanne       L.           Spirito             United States   Catherine     Lisa        LoGuidice                    United States 9/11/01   NY (WTC)     03-cv-9849   at 253, 8696         Sibling   4126 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                               1:02-cv-01616,
3720   Lauren        Rachel       Spitz               United States   William       Edward      Spitz             Jr.        Unknown      9/11/01    NY (WTC)     03-cv-9849   305, at P4536        Child     5087 at 18   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                               1:02-cv-01616,
3721   Michael       J.           Spitz               United States   William       Edward      Spitz             Jr.        Unknown      9/11/01    NY (WTC)     03-cv-9849   77, at P2707         Sibling   4023 at 23   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                               1:02-cv-01616, 1,
3722   David                      Spivock       Jr.   United States   Renee         A.          May                          United States 9/11/01   VA (AA77)    03-cv-9849   at 380               Fiancee   5949 at 8    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                               155, at P3094,
                                                                                                                                                                               8393-1, at 679,
3723   Caitlin       Marie        Spor                United States   Joseph        P.          Spor              Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 18   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                               155, at P3094,
                                                                                                                                                                               8393-1, at 680,
3724   Casey         Ann          Spor                United States   Joseph        P.          Spor              Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 18   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                               155, at P3094,
                                                                                                                                                                               8393-1, at 42,
3725   Colleen       Casey        Spor                United States   Joseph        P.          Spor              Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5087 at 18   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                               155, at P3094,
                                                                                                                                                                               8393-1, at 681,
3726   Joseph        Patrick      Spor          III   United States   Joseph        P.          Spor              Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 18   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                               155, at P3094,
                                                                                                                                                                               8393-1, at 682,
3727   Shannon       Catherine    Spor                United States   Joseph        P.          Spor              Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 18   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                               1:18-cv-11582, 1,
                                                                                                                                                                               at 4; 8679-1, at
3728   Eugene        Robert       Springer            United States   Lucy          A.          Fishman                      United States 9/11/01   NY (WTC)     03-cv-9849   130, 8696            Spouse    5087 at 9    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                               1:18-cv-11582, 1,
                                                                                                                                                                               at 5; 8679-1, at
3729   Jason         Robert       Springer            United States   Lucy          A.          Fishman                      United States 9/11/01   NY (WTC)     03-cv-9849   129, 8696            Child     5087 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                               1:02-cv-01616, 3,
                                                                                                                                                                               at 1175, 8393-1,
3730   Veronica      Andrea       Squef               United States   Keith         Alexander   Glascoe                      United States 9/11/01   NY (Other)   03-cv-9849   at 45, 8487          Spouse    5951 at 7    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                               1:02-cv-01616, 3,
                                                                                                                                                                               at 1823, 5284-1,
3731   Leigh         McHeffey     Squillante          United States   Keith                     McHeffey                     United States 9/11/01   NY (WTC)     03-cv-9849   at 8, 5296           Sibling   4023 at 18   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                               1:02-cv-01616, 1,
3732   Lauren        Marie        Stabile             United States   Michael       F.          Stabile                      United States 9/11/01   NY (WTC)     03-cv-9849   at 597               Child     5138 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                               1:02-cv-01616, 1,
3733   Michele                    Stabile             United States   Michael       F.          Stabile                      United States 9/11/01   NY (WTC)     03-cv-9849   at 599               Child     5138 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                               1:02-cv-01616,
3734   Michelle      Ann          Stabile             United States   Frank         J.          Koestner                     United States 9/11/01   NY (WTC)     03-cv-9849   313, at P4672        Fiancée   8293 at 6    $   12,500,000.00 $   37,500,000.00



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                                                                                                                                                                                                          1:02-cv-01616, 1,
3735                                 Robert                  Stabile               United States   Michael        F.       Stabile                      United States 9/11/01   NY (WTC)     03-cv-9849   at 598               Child     5087 at 18   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616, 1,
                                                                                                                                                                                                          at 596, 8393-1, at
3736                                 Roseanna                Stabile               United States   Michael        F.       Stabile                      United States 9/11/01   NY (WTC)     03-cv-9849   56, 8487             Spouse    5138 at 7    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
3737                                 Lara                    Stacey                Unknown         Robert         John     Halligan                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2020      Child     5087 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          305, at P4537,
                                                                                                                                                                                                          8393-1, at 1090,
3738                                 Andrew      R.          Stadelberger          United States   Richard        J.       Stadelberger                 United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5356 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          305, at P4537,
                                                                                                                                                                                                          8393-1, at 68,
3739                                 Vee                     Stadelberger          United States   Richard        J.       Stadelberger                 United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5087 at 18   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
3740                                 Monica      Natalie     Stahl                 United States   Peter          Edward   Mardikian                    Unknown      9/11/01    NY (WTC)     03-cv-9849   155, at P3022        Sibling   3666 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          313, at P4742,
                                                                                                                                                                                                          8393-1, at 368,
3741                                 Allison     Nicole      Stahlman              United States   Eric                    Stahlman                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 18   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          313, at P4742,
                                                                                                                                                                                                          8393-1, at 23,
3742                                 Blanca                  Stahlman              United States   Eric                    Stahlman                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5087 at 19   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          313, at P4742,
                                                                                                                                                                                                          8393-1, at 369,
3743                                 Jacob       Evan        Stahlman              United States   Eric                    Stahlman                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 18   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          8679-1, at 445,
3744                                 Kathy       Roseann     Stahlman              United States   Eric                    Stahlman                     United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   5087 at 19   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
3745                                 Renee                   Stahlman              Unknown         Eric                    Stahlman                     United States 9/11/01   NY (WTC)     03-cv-9849   313, at P4744        Parent    3666 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
3746                                 Samuel                  Stahlman              Unknown         Eric                    Stahlman                     United States 9/11/01   NY (WTC)     03-cv-9849   313, at P4743        Parent    3666 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          8679-1, at 446,
3747                                 Edward      C.          Stajk                 United States   Gregory                 Stajk                        United States 9/11/01   NY (Other)   03-cv-9849   8696                 Sibling   5087 at 19   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
3748                                 Eileen      J.          Staker                United States   James          John     Woods                        United States 9/11/01   NY (WTC)     03-cv-9849   232, at P4033        Sibling   4023 at 26   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                VA                        1:02-cv-01616,
3749                                 Claudette   McKahn      Staley                United States   Janice         Marie    Scott                        United States 9/11/01   (Pentagon)   03-cv-9849   305, at P4519        Sibling   3666 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                VA                        1:03-cv-09849,
3750                                 Carl        Jerome      Stallworth            United States   Marsha                  Ratchford                    United States 9/11/01   (Pentagon)   03-cv-9849   842, at 17           Sibling   3382         $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          155, at P3073,
                                                                                                                                                                                VA                        8397-1, at 26,
3751 Angelia   Stallworth   Blunt    Claudia     Marie       Stallworth            Unknown         Marsha                  Ratchford                    United States 9/11/01   (Pentagon)   03-cv-9849   8433                 Parent    3382         $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                VA                        1:03-cv-09849,
3752                                 Roosevelt               Stallworth      Jr.   United States   Marsha                  Ratchford                    United States 9/11/01   (Pentagon)   03-cv-9849   842, at 18           Sibling   3382         $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
3753 Alan                   Shimel   Ina                     Stanley               United States   Myrna                   Yaskulka                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4757      Sibling   4023 at 26   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:03-cv-9849,
                                                                                                                                                                                                          HAND FILED, at
                                                                                                                                                                                                          P5238, 8393-1, at
3754                                 Anna        Rasmussen   Stansbury             United States   Robert         A.       Rasmussen                    United States 9/11/01   NY (WTC)     03-cv-9849   68, 8487             Spouse    5087 at 17   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
3755                                 John                    Stark                 United States   Jeffrey                 Stark                        United States 9/11/01   NY (Other)   03-cv-9849   232, at P3953        Sibling   4126 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
3756                                 Joseph      Christian   Stark                 United States   Jeffrey                 Stark                        United States 9/11/01   NY (Other)   03-cv-9849   155, at P3095        Sibling   4023 at 24   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
3757                                 Kathleen    Ann         Stark                 United States   Jeffrey                 Stark                        United States 9/11/01   NY (Other)   03-cv-9849   155, at P3095        Sibling   5087 at 19   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          26, 29, at 4453,
                                                                                                                                                                                                          8397-1, at 26,
3758 Therese                Stark    Rosemary    Ann         Stark                 United States   Jeffrey                 Stark                        United States 9/11/01   NY (Other)   03-cv-9849   8433                 Parent    4126 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          232, at P3956,
                                                                                                                                                                                                          8393-1, at 34,
3759                                 Therese                 Stark                 United States   Jeffrey                 Stark                        United States 9/11/01   NY (Other)   03-cv-9849   8487                 Sibling   4126 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
3760                                 Joel        Marc        Statkevicus           Unknown         Derek          James    Statkevicus                  United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4543        Sibling   3666 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
3761                                 Joseph      R.          Statkevicus           Unknown         Derek          James    Statkevicus                  United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4541        Parent    3666 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
3762                                 Nancy                   Statkevicus           Unknown         Derek          James    Statkevicus                  United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4542        Parent    3666 at 12   $   8,500,000.00 $    25,500,000.00




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                                                                                                                                                                                                               1:02-cv-01616, 3,
                                                                                                                                                                                                               at 1671, 8393-1,
3763                              Juliette-Craig   William       Staub                  United States   Craig         William    Staub                       United States 9/11/01   NY (WTC)     03-cv-9849   at 219, 8487         Child        5087 at 19   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616, 3,
3764                              Stacey           Allison       Staub                  Unknown         Craig         William    Staub                       United States 9/11/01   NY (WTC)     03-cv-9849   at 1671              Spouse       5087 at 19   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                               1:18-cv-11582, 1,
3765                              Jacqueline       Yvonne        Steed                  United States   Charles       Augustus   Laurencin                   United States 9/11/01   NY (WTC)     03-cv-9849   at 9                 Step-Child   5949 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
3766                              Blanche                        Steen                  United States   Eric          Thomas     Steen                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2371      Parent       5087 at 19   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
3767                              George           David         Steen            II    United States   Eric          Thomas     Steen                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2372      Sibling      4023 at 24   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616,
3768                              Catherine        Marie         Stefani                United States   Nicole        Carol      Miller                      United States 9/11/01   PA (UA93)    03-cv-9849   26, 29, at 3908      Parent       4023 at 18   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:03-cv-09849,
                                                                                                                                                                                                               842, at 19; 8679-
3769                              Wayne            S.            Stefani          Jr.   United States   Nicole        Carol      Miller                      United States 9/11/01   PA (UA93)    03-cv-9849   1, at 321, 8696      Sibling      4126 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616,
3770                              Jean             Colaio        Steinbach              United States   Mark          J.         Colaio                      United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3648        Sibling      3666 at 2    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616,
3771                              Jean             Colaio        Steinbach              United States   Stephen       J.         Colaio                      United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3651        Sibling      4023 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616,
3772                              Darren           Alexander     Steiner                United States   William       R.         Steiner                     United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3957        Child        3382         $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:03-md-01570,
3773                              George           William       Steiner                United States   William       R.         Steiner                     United States 9/11/01   NY (WTC)     03-cv-9849   3477, at 3453        Sibling      3382         $   4,250,000.00 $    12,750,000.00
                                                   Christofer-                                                                                                                                                 1:02-cv-01616,
3774                              Jordan           William       Steiner                United States   William       R.         Steiner                     United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3958        Child        3382         $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
3775                              Meredith         Alayne        Steiner                United States   William       R.         Steiner                     United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3959        Child        3382         $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
3776                              Robert           F.            Steiner                United States   William       R.         Steiner                     United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3960        Sibling      3382         $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616,
3777 Robert   F.        Steiner   Wilma            E.            Steiner                Unknown         William       R.         Steiner                     United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3961        Parent       3382         $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
3778                              George                         Stergiopoulos    Jr.   Unknown         Andrew                   Stergiopoulos               United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2378      Sibling      3382         $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616,
3779                              Kathleen                       Stergiopoulos          United States   Andrew                   Stergiopoulos               United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2379      Sibling      3382         $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               8679-1, at 447,
3780                              Barbara          H.            Stern                  United States   Andrew        Jay        Stern                       United States 9/11/01   NY (Other)   03-cv-9849   8696                 Parent       5087 at 19   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               232, at P3962,
                                                                                                                                                                                                               8393-1, at 39,
3781                              Daniel           C.            Stern                  United States   Andrew        Jay        Stern                       United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child        5138 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               232, at P3962,
                                                                                                                                                                                                               8393-1, at 40,
3782                              Emma             Florence      Stern                  United States   Andrew        Jay        Stern                       United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child        5138 at 7    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               232, at P3962,
3783                              Katherine                      Stern                  United States   Andrew        Jay        Stern                       United States 9/11/01   NY (Other)   03-cv-9849   8393-1, at 3, 8487   Spouse       5138 at 7    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                               8679-1, at 449,
3784                              Michael          H.            Stern                  United States   Andrew        Jay        Stern                       United States 9/11/01   NY (Other)   03-cv-9849   8696                 Sibling      5087 at 19   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               232, at P3900,
                                                                                                                                                                                                               8393-1, at 31,
3785                              Nikki            L.            Stern                  United States   James         E.         Potorti                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse       5848 at 9    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                               1:02-cv-01616, 3,
3786                              Suzanne          Renee         Stevenson              United States   Robert        T.         Lane                        United States 9/11/01   NY (Other)   03-cv-9849   at 1319              Sibling      5848 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               26, 29, at 1735; ,
                                                   Pedro                                                                                                                                                       8393-1, at 929,
3787                              Eamon            Dominicci     Stewart                United States   Michael       James      Stewart                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child        5784 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               26, 29, at 1735; ,
                                                   Patrick                                                                                                                                                     8393-1, at 930,
3788                              Francisco        Dominicci     Stewart                United States   Michael       James      Stewart                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child        5784 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               155, at P3097,
                                                                                                                                                                                                               8393-1, at 68,
3789                              Joan             Bernard       Stewart                United States   Richard       H.         Stewart          Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent       4023 at 24   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                               155, at P3098,
                                                                                                                                                                                                               8397-1, at 26,
                                                                                                                                                                                                               8433, 8393-1, at
3790 Susan    Stewart   Tillier   Richard          H.            Stewart          Sr.   United States   Richard       H.         Stewart          Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   68, 8487             Parent       5138 at 7    $   8,500,000.00 $    25,500,000.00




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                                                                                                                                             EXHIBIT B-1
                                                                                                                          SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                                                           1:02-cv-01616,
3791                                              Janet         Susan      Stewart-Davies        Ireland         Michael       James         Stewart                     United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3964        Sibling   4126 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                           8679-1, at 455,
3792                                              Eleanor                  Stice                 United States   Madeline      Amy           Sweeney                     United States 9/11/01   NY (AA11)    03-cv-9849   8696                 Parent    5848 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                           1:02-cv-01616, 1,
                                                                                                                                                                                                                           at 753, 8393-1, at
3793                                              Justin        Thomas     Strada                United States   Thomas                      Strada                      United States 9/11/01   NY (WTC)     03-cv-9849   1325, 8487           Child     5087 at 19   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                           1:02-cv-01616, 1,
3794                                              Terry                    Strada                United States   Thomas                      Strada                      United States 9/11/01   NY (WTC)     03-cv-9849   at 753               Spouse    5087 at 19   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                           1:02-cv-01616, 1,
                                                                                                                                                                                                                           at 753, 8393-1, at
3795                                              Thomas        Joseph     Strada                United States   Thomas                      Strada                      United States 9/11/01   NY (WTC)     03-cv-9849   1324, 8487           Child     5087 at 19   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                           26, 29, at 4470,
                                                                                                                                                                                                                           8393-1, at 506,
3796                                              Charles       J.         Straine               United States   James         J.            Straine          Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 19   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                           1:02-cv-01616,
3797                                              Daniel        Matthew    Straine               Unknown         James         J.            Straine          Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2381      Sibling   3666 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                           26, 29, at 4470,
                                                                                                                                                                                                                           8393-1, at 507,
3798                                              Finn          P.         Straine               United States   James         J.            Straine          Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5061 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                           1:02-cv-01616, 3,
                                                                                                                                                                                                                           at 1675, 8397-1,
3799 Kevin; Michael   Joseph   Straine; Straine   James         Joseph     Straine               United States   James         J.            Straine          Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   at 26, 8433          Parent    3666 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                           1:02-cv-01616, 3,
3800                                              Kevin         Joseph     Straine               United States   James         J.            Straine          Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   at 1677              Sibling   3666 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                           1:02-cv-01616, 3,
                                                                                                                                                                                                                           at 1676, 8397-1,
3801 Kevin; Michael   Joseph   Straine; Straine   Mary          Emma       Straine               United States   James         J.            Straine          Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   at 26, 8433          Parent    3666 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                           1:02-cv-01616,
3802                                              Michael                  Straine               Unknown         James         J.            Straine          Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2382      Sibling   3666 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                           1:02-cv-01616,
3803                                              Patricia      A.         Straine               United States   James         J.            Straine          Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4470      Spouse    5087 at 19   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                           1:02-cv-01616,
3804                                              Samuel        E.         Straub                Unknown         Edward        W.            Straub                      United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3965        Child     3382         $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                 VA                        1:02-cv-01616,
3805                                              Christopher   Robert     Strickland            United States   Larry         Lee           Strickland                  United States 9/11/01   (Pentagon)   03-cv-9849   155, at P3103        Child     4023 at 24   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                           155, at P3104,
                                                                                                                                                                                                 VA                        8393-1, at 48,
3806                                              Debra         Louise     Strickland            United States   Larry         Lee           Strickland                  United States 9/11/01   (Pentagon)   03-cv-9849   8487                 Spouse    4023 at 24   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                 VA                        1:03-md-01570,
3807                                              Matthew       Lee        Strickland            United States   Larry         Lee           Strickland                  United States 9/11/01   (Pentagon)   03-cv-9849   602, at P5505        Child     4023 at 24   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                           1:02-cv-01616,
3808                                              Corinne       O'Rourke   Strome                United States   Kevin         M.            O'Rourke                    United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4078      Child     5356 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                           155, at P3107,
                                                                                                                                                                                                                           8393-1, at 1389,
3809                                              Amanda        Camille    Stuart                United States   Walwyn        W.            Stuart           Jr.        United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5356 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                           1:02-cv-01616,
3810                                              Colin         Glick      Stuart                United States   Steven        L.            Glick                       United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4299        Child     5104 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                           1:02-cv-01616,
3811                                              Courtney      Glick      Stuart                United States   Steven        L.            Glick                       United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4300        Child     5104 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                           305, at P4298,
                                                                                                                                                                                                                           8393-1, at 78,
3812                                              Mari          Glick      Stuart                United States   Steven        L.            Glick                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5087 at 10   $   12,500,000.00 $   37,500,000.00
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                                                                                                                                                                                                                           155, at P3107,
                                                                                                                                                                                                                           8393-1, at 86,
3813                                              Thelma        Corinne    Stuart                United States   Walwyn        W.            Stuart           Jr.        United States 9/11/01   NY (Other)   03-cv-9849   8487                 Spouse    5356 at 5    $   12,500,000.00 $   37,500,000.00
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                                                                                                                                                                                                                           26, 29, at 4476,
                                                                                                                                                                                                                           8393-1, at 88,
3814                                              Christian     B.         Suarez                United States   Benjamin                    Suarez                      United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5087 at 19   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                           1:02-cv-01616,
3815                                              Maria         Celia      Suarez                United States   Sergio                      Villanueva                  United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4641      Sibling   5087 at 20   $   4,250,000.00 $    12,750,000.00

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                                                                                                                                                                                                                           26, 29, at 4476,
3816                                              Sally         Ann        Suarez                United States   Benjamin                    Suarez                      United States 9/11/01   NY (Other)   03-cv-9849   8393-1, at 5, 8487   Spouse    5062 at 6    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                           232, at P4087,
                                                                                                                                                                                                                           8393-1, at 87,
3817                                              Elma          Ava        Sugra                 United States   William       Christopher   Sugra                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    4023 at 24   $   8,500,000.00 $    25,500,000.00



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                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                  232, at P4088,
                                                                                                                                                                                                                  8393-1, at 87,
3818                                  William       J.          Sugra                United States   William        Christopher   Sugra                         United States 9/11/01   NY (WTC)     03-cv-9849   8487                Parent    4023 at 24   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                  26, 29, at 4481,
                                                                                                                                                                                                                  8393-1, at 239,
3819                                  Briana                    Suhr                 United States   Daniel                       Suhr                          United States 9/11/01   NY (Other)   03-cv-9849   8487                Child     5138 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                  1:02-cv-01616,
3820                                  Christopher   Gerald      Suhr                 Unknown         Daniel                       Suhr                          United States 9/11/01   NY (Other)   03-cv-9849   305, at P4549       Sibling   3666 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                  1:02-cv-01616,
3821                                  Nancy                     Suhr                 United States   Daniel                       Suhr                          United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4481     Spouse    5087 at 19   $   12,500,000.00 $   37,500,000.00
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                                                                                                                                                                                                                  HAND FILED, at
3822                                  Leeann        M.          Suhr Klein           Unknown         Daniel                       Suhr                          United States 9/11/01   NY (Other)   03-cv-9849   P5274               Sibling   5087 at 19   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                  232, at P3966,
                                                                                                                                                                                                                  8393-1, at 257,
3823                                  Cristian      Marc        Sullins              United States   David          Marc          Sullins                       United States 9/11/01   NY (Other)   03-cv-9849   8487                Child     5061 at 13   $   8,500,000.00 $    25,500,000.00
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                                                                                                                                                                                                                  232, at P3966,
                                                                                                                                                                                                                  8393-1, at 16,
3824                                  Evelyn                    Sullins              United States   David          Marc          Sullins                       United States 9/11/01   NY (Other)   03-cv-9849   8487                Spouse    5061 at 13   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                  232, at P3966,
                                                                                                                                                                                                                  8393-1, at 258,
3825                                  Julian        Alexander   Sullins              United States   David          Marc          Sullins                       United States 9/11/01   NY (Other)   03-cv-9849   8487                Child     5061 at 13   $   8,500,000.00 $    25,500,000.00
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3826                                  Arlene        R.          Sullivan             Unknown         Thomas         G.            Sullivan                      United States 9/11/01   NY (WTC)     03-cv-9849   155, at P3109       Parent    3666 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                  1:02-cv-01616,
3827                                  Carmel-Ann                Sullivan             United States   Ralph          Michael       Licciardi                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3636     Sibling   3666 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                  155, at P3110,
                                                                                                                                                                                                                  8393-1, at 776,
3828                                  Conor         Lawrence    Sullivan             United States   Thomas         G.            Sullivan                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     5087 at 19   $   8,500,000.00 $    25,500,000.00
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3829                                  Deirdre       Dickinson   Sullivan             United States   Lawrence       Patrick       Dickinson                     United States 9/11/01   NY (WTC)     03-cv-9849   155, at P2877       Sibling   3666 at 4    $   4,250,000.00 $    12,750,000.00
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                                                                                                                                                                                                                  155, at P3110,
                                                                                                                                                                                                                  8393-1, at 81,
3830                                  Deirdre       Dickinson   Sullivan             United States   Thomas         G.            Sullivan                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                Spouse    5087 at 19   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                  155, at P3110,
                                                                                                                                                                                                                  8393-1, at 777,
3831                                  Dermot        Joseph      Sullivan             United States   Thomas         G.            Sullivan                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     5087 at 19   $   8,500,000.00 $    25,500,000.00
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3832                                  Gerald                    Sullivan             United States   Patrick                      Sullivan                      United States 9/11/01   NY (WTC)     03-cv-9849   at 1690             Sibling   4023 at 24   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                  1:02-cv-01616, 3,
3833                                  Gregory                   Sullivan             Unknown         Patrick                      Sullivan                      United States 9/11/01   NY (WTC)     03-cv-9849   at 1689             Sibling   4023 at 24   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                  1:02-cv-01616,
3834 Richard     J.        Sullivan   Kathleen      M.          Sullivan             United States   Kevin          Michael       McCarthy                      United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3828       Sibling   3666 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                  1:02-cv-01616, 3,
3835                                  Mary                      Sullivan             United States   Patrick                      Sullivan                      United States 9/11/01   NY (WTC)     03-cv-9849   at 1688             Parent    4023 at 24   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                  1:02-cv-01616, 3,
3836                                  Patrick       J.          Sullivan             Unknown         Patrick                      Sullivan                      United States 9/11/01   NY (WTC)     03-cv-9849   at 1687             Parent    4023 at 24   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                  1:02-cv-01616, 3,
                                                                                                                                                                                                                  at 1696, 8397-1,
3837 Lisa        Verzosa   Sumaya     Charito       Verzosa     Sumaya               United States   Hilario        Soriano       Sumaya             Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   at 26, 8433         Sibling   5062 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                  1:02-cv-01616, 3,
                                                                                                                                                                                                                  at 1692, 8393-1,
3838 Christine   Verzosa   Trotta     Estrella      V.          Sumaya               United States   Hilario        Soriano       Sumaya             Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   at 29, 8487         Parent    5062 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                  1:02-cv-01616, 3,
3839                                  Lisa          Verzosa     Sumaya               United States   Hilario        Soriano       Sumaya             Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   at 1694             Sibling   4023 at 24   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                  1:02-cv-01616, 3,
3840                                  Reynaldo      Soriano     Sumaya               United States   Hilario        Soriano       Sumaya             Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   at 1693             Sibling   5062 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                  1:02-cv-01616,
3841                                  Cynthia       Sue         Sumner               United States   Carl           Max           Hammond            Jr.        United States 9/11/01   NY (UA175)   03-cv-9849   26, 29, at 3353     Sibling   4023 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                  1:03-cv-9849,
                                                                                                                                                                                                                  HAND FILED, at
3842                                  Benjamin                  Supinski             United States   Colleen        M.            Supinski                      United States 9/11/01   NY (WTC)     03-cv-9849   P5281               Sibling   5138 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                  1:03-cv-9849,
                                                                                                                                                                                                                  HAND FILED, at
3843                                  Nathan        A.          Supinski             United States   Colleen        M.            Supinski                      United States 9/11/01   NY (WTC)     03-cv-9849   P5280               Sibling   5848 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                  1:02-cv-01616,
3844                                  Maureen                   Surko-Pomante        United States   Robert         J.            Shay               Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2354     Sibling   4126 at 8    $   4,250,000.00 $    12,750,000.00




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                                                                                                                                                                           1:02-cv-01616,
3845   Francesco               Susca             United States   Grace         Catherine   Galante                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3221      Parent    3666 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                           1:02-cv-01616,
3846   Frank       Vito        Susca             United States   Grace         Catherine   Galante                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3223      Sibling   4023 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                           1:02-cv-01616,
3847   Lucrezia    Ida         Susca             United States   Grace         Catherine   Galante                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3222      Parent    3666 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                           232, at P3967,
                                                                                                                                                                           8393-1, at 1114,
3848   Brett       R.          Sutcliffe         United States   Robert        E.          Sutcliffe          Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 19   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                           232, at P3967,
                                                                                                                                                                           8393-1, at 1115,
3849   Kara        P.          Sutcliffe         United States   Robert        E.          Sutcliffe          Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5061 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                           232, at P3967,
                                                                                                                                                                           8393-1, at 1116,
3850   Kyle        R.          Sutcliffe         United States   Robert        E.          Sutcliffe          Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 19   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                           232, at P3967,
                                                                                                                                                                           8393-1, at 69,
3851   Margaret                Sutcliffe         United States   Robert        E.          Sutcliffe          Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5061 at 13   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                           1:02-cv-01616,
3852   Patricia    Ellen       Sutcliffe         Unknown         Robert        E.          Sutcliffe          Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3968        Parent    3666 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                           1:02-cv-01616,
3853   Laureen     Ann         Sutera            United States   Sean          Patrick     Lynch                         United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3808        Sibling   4023 at 17   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                           155, at P3111,
                                                                                                                                                                           8393-1, at 13,
3854   Bernell     Anthony     Sutton            Other           Claudia                   Sutton                        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5848 at 10   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                           155, at P3111,
                                                                                                                                                                           8393-1, at 201,
3855   Kadijah     Imani       Sutton            United States   Claudia                   Sutton                        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5138 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                           155, at P3111,
                                                                                                                                                                           8393-1, at 202,
3856   Kyle        Jamal       Sutton            United States   Claudia                   Sutton                        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5138 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                           1:02-cv-01616,
3857   Sharon      A.          Swailes           United States   Rudy                      Mastrocinque       Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   155, at P3026        Sibling   4126 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                           232, at P3970,
                                                                                                                                                                           8393-1, at 814,
3858   Anna        Elizabeth   Sweeney           United States   Madeline      Amy         Sweeney                       United States 9/11/01   NY (AA11)    03-cv-9849   8487                 Child     5061 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                           8679-1, at 451,
3859   Anne        Elizabeth   Sweeney           United States   Brian         D.          Sweeney                       United States 9/11/01   NY (UA175)   03-cv-9849   8696                 Sibling   7188 at 14   $   4,250,000.00 $    12,750,000.00

                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                           26, 29, at 4813,
3860   Geraldine   Marie       Sweeney           Unknown         Paul          Dario       Curioli                       United States 9/11/01   NY (WTC)     03-cv-9849   5284-1, at 3, 5296   Sibling   3666 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                           1:03-md-01570,
3861   Helen       Marie       Sweeney           United States   James         Francis     Murphy                        Unknown      9/11/01    NY (WTC)     03-cv-9849   432, at P5415        Sibling   5356 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                           232, at P3970,
                                                                                                                                                                           8393-1, at 815,
3862   Jack        Michael     Sweeney           United States   Madeline      Amy         Sweeney                       United States 9/11/01   NY (AA11)    03-cv-9849   8487                 Child     5061 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                           8679-1, at 454,
3863   John        Patrick     Sweeney           United States   Brian         D.          Sweeney                       United States 9/11/01   NY (UA175)   03-cv-9849   8696                 Sibling   7188 at 14   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                           8679-1, at 453,
3864   Leonard     H.          Sweeney           United States   Brian         D.          Sweeney                       United States 9/11/01   NY (UA175)   03-cv-9849   8696                 Parent    7188 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                           8679-1, at 452,
3865   Luise       Anne        Sweeney           United States   Brian         D.          Sweeney                       United States 9/11/01   NY (UA175)   03-cv-9849   8696                 Parent    7188 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                           232, at P3970,
                                                                                                                                                                           8393-1, at 51,
3866   Michael     Gerard      Sweeney           United States   Madeline      Amy         Sweeney                       United States 9/11/01   NY (AA11)    03-cv-9849   8487                 Spouse    5061 at 13   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                           1:02-cv-01616,
3867   Kathleen    M.          Sylvester         United States   Mark          Lawrence    Bavis                         United States 9/11/01   NY (UA175)   03-cv-9849   305, at P4128        Sibling   4023 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                           8679-1, at 458,
3868   Laura       Rachel      Sztejnberg        United States   Gina                      Sztejnberg                    United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Child     7188 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                           1:03-md-01570,
                                                                                                                                                                           602, at P5506,
                                                                                                                                                                           8393-1, at 27,
3869   Michael                 Sztejnberg        Russia          Gina                      Sztejnberg                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5979 at 3    $   12,500,000.00 $   37,500,000.00




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                                                                                                                                                                                             1:03-md-01570,
                                                                                                                                                                                             3477, at 3829;
                                                                                                                                                                                             8679-1, at 504,
3870                         A.         R.         T.                 United States   Steven         George   Weinstein                    United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Child     5087 at 21   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                             1:02-cv-01616, 3,
3871                         Linda      Marie      Taccetta           Unknown         Leonard        J.       Ragaglia                     United States 9/11/01   NY (Other)   03-cv-9849   at 1548              Sibling   3666 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                             1:02-cv-01616,
3872                         Denise                Taddonio           United States   Michael                 Taddonio                     United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2713         Spouse    5848 at 10   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                             8679-1, at 233,
3873                         Dhanpaul   Budram     Takoor             guyana          Sarah                   Khan                         United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                             232, at P3972,
                                                                                                                                                                                             8393-1, at 66,
3874                         Joseph     Keith      Talbot             United States   Phyllis        G.       Talbot                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     4023 at 24   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                             232, at P4089,
                                                                                                                                                                                             8393-1, at 71,
3875                         Diana      M.         Talhami            United States   Robert         R.       Talhami                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5356 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                             8679-1, at 459,
3876                         George     Elias      Talhami            United States   Robert         R.       Talhami                      United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   5848 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                             1:02-cv-01616,
3877                         Jake       Elias      Talhami            United States   Robert         R.       Talhami                      United States 9/11/01   NY (WTC)     03-cv-9849   232, at P4090        Child     5356 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                             232, at P4089,
                                                                                                                                                                                             8393-1, at 1139,
3878                         Noah                  Talhami            United States   Robert         R.       Talhami                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5356 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                             155, at P3116,
                                                                                                                                                                                             8397-1, at 26,
3879 Laura   J.   Troccoli   Armand     M.         Talignani          United States   John           Marcy    Talignani                    United States 9/11/01   PA (UA93)    03-cv-9849   8433                 Sibling   4126 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                             1:02-cv-01616, 1,
                                                                                                                                                                                             at 611, 8393-1, at
3880                         Barbara    Marie      Talty              United States   Paul                    Talty                        United States 9/11/01   NY (Other)   03-cv-9849   64, 8487             Spouse    5061 at 13   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                             1:02-cv-01616,
3881                         Gloria                Talty              United States   Paul                    Talty                        United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4516      Parent    4023 at 24   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                             1:02-cv-01616,
3882                         John       Paul       Talty        Sr.   United States   Paul                    Talty                        United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4515      Parent    4023 at 24   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                             1:03-cv-09849,
                                                                                                                                                                                             842, at 20; 8679-
3883                         John       Paul       Talty              United States   Paul                    Talty                        United States 9/11/01   NY (Other)   03-cv-9849   1, at 460, 8696      Sibling   5087 at 19   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                             1:02-cv-01616, 1,
                                                                                                                                                                                             at 611, 8393-1, at
3884                         Kelly      Michelle   Talty              United States   Paul                    Talty                        United States 9/11/01   NY (Other)   03-cv-9849   1035, 8487           Child     5087 at 19   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                             1:02-cv-01616,
3885                         Kevin      Sean       Talty              United States   Paul                    Talty                        United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4518      Sibling   4023 at 24   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                             1:02-cv-01616, 1,
                                                                                                                                                                                             at 611, 8393-1, at
3886                         Lauren     Nicole     Talty              United States   Paul                    Talty                        United States 9/11/01   NY (Other)   03-cv-9849   1036, 8487           Child     5061 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                             1:02-cv-01616,
3887                         Mark                  Talty              United States   Paul                    Talty                        United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4517      Sibling   4023 at 24   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                             1:02-cv-01616, 1,
                                                                                                                                                                                             at 611, 8393-1, at
3888                         Paul       Richard    Talty        Jr.   United States   Paul                    Talty                        United States 9/11/01   NY (Other)   03-cv-9849   1037, 8487           Child     5061 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                             1:02-cv-01616,
3889                         Steven                Talty              United States   Paul                    Talty                        United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4519      Sibling   4023 at 24   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                             1:02-cv-01616,
3890                         Donald                Tam                United States   Maurita                 Tam                          United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4524      Sibling   5062 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                             26, 29, at 2386,
                                                                                                                                                                                             8393-1, at 55,
3891                         Jin        Ark        Tam                United States   Maurita                 Tam                          United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    5062 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                             1:02-cv-01616,
3892                         Julie      Man Yee    Tam                United States   Wai            C.       Chung                        United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2857      Sibling   5061 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                             1:02-cv-01616,
3893                         Julie      Man Yee    Tam                United States   Maurita                 Tam                          United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4523      Parent    5062 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                             77, at P2717,
                                                                                                                                                                                             8393-1, at 28,
3894                         Evelyn     Mercene    Tamayo             United States   Hector         R.       Tamayo                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5087 at 19   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                             1:02-cv-01616,
3895                         Jullian    Ian        Tamayo             United States   Hector         R.       Tamayo                       United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2718         Child     5087 at 19   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                             1:02-cv-01616,
3896                         Luther     Rogan      Tamayo             Unknown         Hector         R.       Tamayo                       United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3973        Sibling   3666 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                             1:02-cv-01616,
3897                         Pamela     Mercene    Tamayo             United States   Hector         R.       Tamayo                       United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2719         Child     5087 at 19   $   8,500,000.00 $    25,500,000.00




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                                                                                                                                                                                                          1:02-cv-01616,
3898                                 Severino    Rogan         Tamayo          Jr.   United States   Hector        R.       Tamayo                      United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3975        Sibling   4023 at 24   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
3899                                 Elna        R.            Tamayo-Prado          United States   Hector        R.       Tamayo                      United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3977        Sibling   4023 at 24   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
3900                                 Dana        M.            Tamuccio              United States   Michael       Andrew   Tamuccio                    Unknown      9/11/01    NY (WTC)     03-cv-9849   26, 29, at 4530      Sibling   4023 at 24   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
3901                                 James       William       Tamuccio        Sr.   United States   Michael       Andrew   Tamuccio                    Unknown      9/11/01    NY (WTC)     03-cv-9849   26, 29, at 4527      Parent    4023 at 24   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
3902                                 James       W.            Tamuccio        II    United States   Michael       Andrew   Tamuccio                    Unknown      9/11/01    NY (WTC)     03-cv-9849   26, 29, at 4529      Sibling   4023 at 24   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
3903                                 Patricia    Ellen         Tamuccio              United States   Michael       Andrew   Tamuccio                    Unknown      9/11/01    NY (WTC)     03-cv-9849   26, 29, at 4528      Parent    4023 at 24   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
3904                                 Gianina     Alviar        Tan                   Philippines     Cesar         A.       Alviar                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 1815      Child     8233 at 5    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                          1:03-md-01570,
3905                                 Marianne    Halterman     Tangel                United States   David                  Halderman                   United States 9/11/01   NY (Other)   03-cv-9849   9528-1, at 1, 9532   Sibling   4023 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
3906                                 Diane                     Taormina              United States   Dennis        Gerard   Taormina         Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4533      Spouse    5356 at 6    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          26, 29, at 4533,
                                                                                                                                                                                                          8393-1, at 282,
3907                                 Jenna       L.            Taormina              United States   Dennis        Gerard   Taormina         Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5356 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          26, 29, at 4533,
                                                                                                                                                                                                          8393-1, at 283,
3908                                 Meghan      J.            Taormina              United States   Dennis        Gerard   Taormina         Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5356 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616, 1,
                                                                                                                                                                                                          at 613, 8397-1, at
3909 Victoria   Jane       Melone    Kenneth     Thomas        Tarantino             United States   Kenneth       Joseph   Tarantino                   United States 9/11/01   NY (WTC)     03-cv-9849   26, 8433             Parent    3387         $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616, 1,
3910                                 Theresa     Marie         Tarantino             United States   Kenneth       Joseph   Tarantino                   United States 9/11/01   NY (WTC)     03-cv-9849   at 614               Parent    3387         $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          313, at P4588,
                                                                                                                                                                                                          8393-1, at 79,
3911                                 Mehr        Afroze        Tariq                 United States   Tariq                  Amanullah                   United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5062 at 6    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
3912                                 Charles     John          Tarrou                United States   Michael       C.       Tarrou                      Unknown      9/11/01    NY (UA175)   03-cv-9849   155, at P3119        Sibling   5087 at 19   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          155, at P3120,
                                                                                                                                                                                                          8397-1, at 26,
3913 Charles    John       Tarrou    James                     Tarrou                United States   Michael       C.       Tarrou                      Unknown      9/11/01    NY (UA175)   03-cv-9849   8433                 Parent    5138 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          155, at P3121,
                                                                                                                                                                                                          8397-1, at 26,
3914 Charles    John       Tarrou    Patricia    Peterson      Tarrou                United States   Michael       C.       Tarrou                      Unknown      9/11/01    NY (UA175)   03-cv-9849   8433                 Parent    4126 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          313, at P4746,
                                                                                                                                                                                                          8393-1, at 1162,
3915                                 Alana                     Tartaro               United States   Ronald        G.       Tartaro                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5061 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          313, at P4746,
                                                                                                                                                                                                          8393-1, at 1163,
3916                                 Andrew      Christopher   Tartaro               United States   Ronald        G.       Tartaro                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5061 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          313, at P4746,
                                                                                                                                                                                                          8393-1, at 1164,
3917                                 Danielle                  Tartaro               United States   Ronald        G.       Tartaro                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5061 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
3918                                 Rosanna     Patricia      Tartaro               United States   Ronald        G.       Tartaro                     United States 9/11/01   NY (WTC)     03-cv-9849   313, at P4749        Sibling   3666 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                          1:02-cv-01616,
3919                                 Teresa                    Tartaro               Croatia         Ronald        G.       Tartaro                     United States 9/11/01   NY (WTC)     03-cv-9849   313, at P4748        Parent    3666 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          313, at P4747,
                                                                                                                                                                                                          8397-1, at 26,
3920 Rosanna    Patricia   Tartaro   William                   Tartaro               United States   Ronald        G.       Tartaro                     United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    5138 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
3921                                 Frank       Michael       Tatum                 United States   Diane         Marie    Parsons                     United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4467        Child     6203 at 2    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
3922                                 Karen       Marie         Tatum                 United States   Diane         Marie    Parsons                     United States 9/11/01   NY (WTC)     03-cv-9849   313, at P4701        Child     4023 at 20   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                          232, at P3836,
                                                                                                                                                                                                          8393-1, at 272,
3923                                 Cassandra   Hansen        Tavolarella           United States   Deborah                Medwig                      United States 9/11/01   NY (UA175)   03-cv-9849   8487                 Child     7188 at 11   $   8,500,000.00 $    25,500,000.00




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                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      232, at P3836,
                                                                                                                                                                                                      8393-1, at 17,
3924                          Michael                    Tavolarella         United States   Deborah                   Medwig                       United States 9/11/01   NY (UA175)   03-cv-9849   8487                Spouse    5087 at 14   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
3925                          Clara         Shute        Taylor              United States   Michael       M.          Taylor                       United States 9/11/01   NY (WTC)     03-cv-9849   232, at P4092       Parent    4126 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      8679-1, at 482,
3926                          Constance     Myer         Taylor              United States   Bradley       Hodges      Vadas                        United States 9/11/01   NY (WTC)     03-cv-9849   8696                Parent    7188 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
3927                          James         Jay          Taylor              United States   Michael       M.          Taylor                       United States 9/11/01   NY (WTC)     03-cv-9849   232, at P4094       Sibling   4126 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      232, at P4093,
                                                                                                                                                                                                      8397-1, at 26,
3928 Mary   Kaye   Crenshaw   James         H.           Taylor              United States   Michael       M.          Taylor                       United States 9/11/01   NY (WTC)     03-cv-9849   8433                Parent    8233 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      8679-1, at 463,
3929                          Christopher   Lee          Teague              United States   Sandra        D.          Teague                       United States 9/11/01   VA (AA77)    03-cv-9849   8696                Sibling   5061 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:03-cv-9849,
                                                                                                                                                                                                      HAND FILED, at
                                                                                                                                                                                                      P5283, 8393-1, at
3930                          Elaine        Sherrill     Teague              United States   Sandra        D.          Teague                       United States 9/11/01   VA (AA77)    03-cv-9849   73, 8487            Parent    5087 at 19   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      8679-1, at 462,
3931                          James         Stephen      Teague              United States   Sandra        D.          Teague                       United States 9/11/01   VA (AA77)    03-cv-9849   8696                Parent    5061 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
3932                          Kathryn       Taylor       Teare               United States   Michael       M.          Taylor                       United States 9/11/01   NY (WTC)     03-cv-9849   232, at P4095       Sibling   4023 at 24   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                            VA                        1:02-cv-01616,
3933                          Adam          Karl         Teepe               United States   Karl          W.          Teepe                        United States 9/11/01   (Pentagon)   03-cv-9849   313, at P4751       Child     5356 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      313, at P4750,
                                                                                                                                                                            VA                        8393-1, at 45,
3934                          Donna         Diane        Teepe               United States   Karl          W.          Teepe                        United States 9/11/01   (Pentagon)   03-cv-9849   8487                Spouse    5061 at 13   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      26, 29, at 2389,
                                                                                                                                                                                                      8393-1, at 58,
3935                          Amanda                     Tempesta            United States   Anthony                   Tempesta                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     5138 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616, 3,
3936                          Clifford      Daniel       Tempesta            United States   Anthony                   Tempesta                     United States 9/11/01   NY (WTC)     03-cv-9849   at 1701             Parent    3666 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
3937                          Clifford      Michael      Tempesta            United States   Anthony                   Tempesta                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4539     Sibling   4023 at 24   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616, 1,
3938                          Dorothy       Maria        Tempesta            United States   Anthony                   Tempesta                     United States 9/11/01   NY (WTC)     03-cv-9849   at 617              Parent    3666 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      26, 29, at 2389,
                                                                                                                                                                                                      8393-1, at 59,
3939                          Matthew                    Tempesta            United States   Anthony                   Tempesta                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     5138 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
3940                          Michael                    Tempesta            Unknown         Anthony                   Tempesta                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2390     Sibling   3666 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
3941                          Jacqueline    Faye         Temple              United States   Dorothy       Pearl       Temple                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2392     Sibling   4126 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
3942                          Larry         J.           Temple              United States   Dorothy       Pearl       Temple                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2393     Sibling   4126 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
3943                          Tanya         Villanueva   Tepper              United States   Sergio                    Villanueva                   United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4639     Fiancee   5949 at 8    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      26, 29, at 2174,
                                                                                                                                                                                                      8393-1, at 1226,
3944                          Brian                      Terzian             United States   Stephanie     Marie       McKenna                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     5356 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                      1:02-cv-01616,
3945                          Ronnie        R.           Tetreault           United States   Renee         Tetreault   Newell                       United States 9/11/01   NY (AA11)    03-cv-9849   155, at P3051       Sibling   5087 at 15   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
3946                          Annamma                    Thomas              United States   Valsa                     Raju                         United States 9/11/01   NY (WTC)     03-cv-9849   313, at P4711       Sibling   3666 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:03-cv-09849,
                                                                                                                                                                                                      838, at 20; 8679-
3947                          Christina     Brunn        Thomas              United States   Andrew        C.          Brunn                        United States 9/11/01   NY (Other)   03-cv-9849   1, at 27, 8696      Sibling   5062 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      8679-1, at 100,
3948                          Marykutty                  Thomas              India           Valsa                     Raju                         United States 9/11/01   NY (WTC)     03-cv-9849   8696                Sibling   7188 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      8679-1, at 385,
3949                          Michael       Anthony      Thomas              United States   Bridget       Ann         Esposito                     United States 9/11/01   NY (WTC)     03-cv-9849   8696                Sibling   7188 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      8679-1, at 99,
3950                          Yvette        Maria        Thomas-Huang        United States   Bridget       Ann         Esposito                     United States 9/11/01   NY (WTC)     03-cv-9849   8696                Sibling   7188 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                      305, at P4550,
                                                                                                                                                                                                      8393-1, at 1048,
3951                          Ashley        Nicole       Thompson            United States   Perry                     Thompson                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     7188 at 14   $   8,500,000.00 $    25,500,000.00




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                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                       305, at P4550,
                                                                                                                                                                                                       8393-1, at 65,
3952 Monte       S.          Payne      Charlette   M.          Thompson        United States   Perry                   Thompson                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5087 at 19   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                       305, at P4550,
                                                                                                                                                                                                       8393-1, at 1049,
3953                                    Chelsea     Lorraine    Thompson        United States   Perry                   Thompson                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     7188 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:03-md-01570,
3954                                    Christine   Elizabeth   Thompson        United States   Glenn         Edward    Thompson                     United States 9/11/01   NY (WTC)     03-cv-9849   432, at P5458        Sibling   4023 at 25   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:03-md-01570,
                                                                                                                                                                                                       432, at P5455,
                                                                                                                                                                                                       8397-1, at 26,
3955 Christine   Elizabeth   Thompson   Edward                  Thompson        United States   Glenn         Edward    Thompson                     United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    5061 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
3956                                    Jennifer                Thompson        United States   Joseph        A.        Ianelli                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2080      Sibling   5087 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:02-cv-01616,
3957                                    Patricia    Ann         Thompson        United States   Philip                  Haentzler                    United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2008      Spouse    515 at 4     $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                       1:03-md-01570,
3958                                    Scott       Morton      Thompson        United States   Glenn         Edward    Thompson                     United States 9/11/01   NY (WTC)     03-cv-9849   432, at P5457        Sibling   3666 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:03-md-01570,
                                                                                                                                                                                                       432, at P5456,
                                                                                                                                                                                                       8397-1, at 27,
3959 Christine   Elizabeth   Thompson   Violet      Morton      Thompson        United States   Glenn         Edward    Thompson                     United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    5061 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:03-md-01570,
                                                                                                                                                                                                       602, at P5507,
                                                                                                                                                                                                       8393-1, at 371,
3960                                    Alexis      Michelle    Thorpe          United States   Eric          R.        Thorpe                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 19   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:03-md-01570,
                                                                                                                                                                                                       602, at P5507,
                                                                                                                                                                                                       8393-1, at 24,
3961                                    Linda       Perry       Thorpe          United States   Eric          R.        Thorpe                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5087 at 19   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
3962                                    Marilyn     Williams    Thorpe          Unknown         Eric          R.        Thorpe                       United States 9/11/01   NY (WTC)     03-cv-9849   155, at P3123        Parent    3666 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
3963                                    Raymond     R.          Thorpe          Unknown         Eric          R.        Thorpe                       United States 9/11/01   NY (WTC)     03-cv-9849   155, at P3124        Parent    3666 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
3964                                    Danielle    M.          Tiboni          United States   Brian         Patrick   Monaghan                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2197      Sibling   4126 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                       155, at P3127,
                                                                                                                                                                                                       8393-1, at 39,
3965                                    Helen       Mary        Tierney         United States   John          P.        Tierney                      United States 9/11/01   NY (Other)   03-cv-9849   8487                 Parent    4023 at 25   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                       155, at P3128,
                                                                                                                                                                                                       8397-1, at 27,
3966 Helen       Mary        Tierney    John                    Tierney         United States   John          P.        Tierney                      United States 9/11/01   NY (Other)   03-cv-9849   8433                 Parent    4126 at 8    $   8,500,000.00 $    25,500,000.00

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                                                                                                                                                                                                       77, at AP208,
3967                                    Michelle    Eileen      Tierney         United States   Stephen       Patrick   Driscoll                     United States 9/11/01   NY (Other)   03-cv-9849   5284-1, at 4, 5296   Sibling   3666 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:02-cv-01616,
3968                                    Thomas      Michael     Tierney         United States   John          P.        Tierney                      United States 9/11/01   NY (Other)   03-cv-9849   155, at P3129        Sibling   5062 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:02-cv-01616,
3969                                    Debra       Anne        Tieste          United States   William       R.        Tieste                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4548      Spouse    5061 at 13   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
3970                                    Keith       Edward      Tieste          United States   William       R.        Tieste                       United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4956        Child     5087 at 19   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
3971                                    Linda       Gail        Tieste          Unknown         William       R.        Tieste                       United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3985        Sibling   3666 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:02-cv-01616,
3972                                    William     Charles     Tieste          United States   William       R.        Tieste                       United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4957        Child     5087 at 19   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
3973                                    Janice      A.          Tietjen         United States   Kenneth       F.        Tietjen                      United States 9/11/01   NY (Other)   03-cv-9849   155, at P3131        Parent    4126 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
3974                                    Kenneth     A.          Tietjen         United States   Kenneth       F.        Tietjen                      United States 9/11/01   NY (Other)   03-cv-9849   155, at P3132        Parent    4126 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                       155, at P3133,
                                                                                                                                                                                                       8393-1, at 46,
3975                                    Laurie      Ann         Tietjen         United States   Kenneth       F.        Tietjen                      United States 9/11/01   NY (Other)   03-cv-9849   8487                 Sibling   7188 at 14   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                       26, 29, at 2398,
                                                                                                                                                                                                       8393-1, at 1338,
3976                                    Elizabeth   Anne        Tighe           United States   Stephen       Edward    Tighe                        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 19   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
3977                                    James       H.          Tighe           Unknown         Stephen       Edward    Tighe                        United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4552      Sibling   5087 at 20   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:02-cv-01616,
3978                                    Kathleen    Marie       Tighe           United States   Timothy       M.        O'Brien                      Unknown      9/11/01    NY (WTC)     03-cv-9849   26, 29, at 2227      Sibling   3666 at 9    $   4,250,000.00 $    12,750,000.00



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                                                                                                                              EXHIBIT B-1
                                                                                                           SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        26, 29, at 2398,
                                                                                                                                                                                                        8393-1, at 76,
3979                               Kathleen    Marie     Tighe                    United States   Stephen       Edward    Tighe                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5087 at 20   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        26, 29, at 2398,
                                                                                                                                                                                                        8393-1, at 1339,
3980                               Lindsay     Grace     Tighe                    United States   Stephen       Edward    Tighe                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 19   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        26, 29, at 2398,
                                                                                                                                                                                                        8393-1, at 1340,
3981                               Michael     Joseph    Tighe                    United States   Stephen       Edward    Tighe                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 20   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        26, 29, at 2398,
                                                                                                                                                                                                        8393-1, at 1341,
3982                               Patrick     James     Tighe                    United States   Stephen       Edward    Tighe                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 20   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
3983                               Susan       Stewart   Tillier                  United States   Richard       H.        Stewart          Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   155, at P3099        Sibling   5062 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616,
3984                               Kristine              Timmes                   Unknown         Scott         Charles   Timmes                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4555      Spouse    5138 at 8    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        26, 29, at 4555,
                                                                                                                                                                                                        8393-1, at 1193,
3985                               Sydney      Ellyn     Timmes                   United States   Scott         Charles   Timmes                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5138 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        232, at P4097,
                                                                                                                                                                                                        8393-1, at 69,
3986                               Richard               Tipaldi                  United States   Robert        Frank     Tipaldi                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    4023 at 25   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        77, at P2722,
                                                                                                                                                                                                        8393-1, at 38,
3987                               Arlene      M.        Tipping                  United States   John          J.        Tipping          II         United States 9/11/01   NY (Other)   03-cv-9849   8487                 Parent    4023 at 25   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
3988                               John        James     Tipping                  United States   John          J.        Tipping          II         United States 9/11/01   NY (Other)   03-cv-9849   77, at P2723         Parent    5062 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
3989                               Stephanie   L.        Tipping                  United States   John          J.        Tipping          II         United States 9/11/01   NY (Other)   03-cv-9849   432, at P4958        Sibling   4023 at 25   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        8679-1, at 465,
3990                               Arlene      A.        Tipping-Cestari          United States   John          J.        Tipping          II         United States 9/11/01   NY (Other)   03-cv-9849   8696                 Sibling   5087 at 20   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        8679-1, at 464,
3991                               Maureen               Tipping-Lipshie          United States   John          J.        Tipping          II         United States 9/11/01   NY (Other)   03-cv-9849   8696                 Sibling   5087 at 20   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616,
3992                               Angel       Luis      Tirado                   United States   Hector        Luis      Tirado           Jr.        United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4558      Child     4023 at 25   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        77, at P2724,
                                                                                                                                                                                                        8397-1, at 27,
3993 Omaira            Tirado      Ashley                Tirado                   United States   Hector        Luis      Tirado           Jr.        United States 9/11/01   NY (Other)   03-cv-9849   8433                 Child     5087 at 20   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
3994                               Davon                 Tirado                   United States   Hector        Luis      Tirado           Jr.        United States 9/11/01   NY (Other)   03-cv-9849   77, at P2725         Child     5087 at 20   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
3995                               Denzel                Tirado                   United States   Hector        Luis      Tirado           Jr.        United States 9/11/01   NY (Other)   03-cv-9849   77, at P2726         Child     5087 at 20   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
3996                               Hector                Tirado             III   United States   Hector        Luis      Tirado           Jr.        United States 9/11/01   NY (Other)   03-cv-9849   77, at P2727         Child     5087 at 20   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
3997                               Marina      Irene     Tirado                   United States   Hector        Luis      Tirado           Jr.        United States 9/11/01   NY (Other)   03-cv-9849   232, at P3986        Child     5087 at 20   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
3998                               Roberto     Anthony   Tirado                   United States   Hector        Luis      Tirado           Jr.        United States 9/11/01   NY (Other)   03-cv-9849   77, at P2728         Child     5087 at 20   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616,
3999                               Ronald      Jaquan    Tirado                   United States   Hector        Luis      Tirado           Jr.        United States 9/11/01   NY (Other)   03-cv-9849   77, at P2729         Child     5087 at 20   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        8679-1, at 466,
4000                               Sean        Smiley    Tirado                   United States   Hector        Luis      Tirado           Jr.        United States 9/11/01   NY (Other)   03-cv-9849   8696                 Sibling   5848 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616, 1,
4001                               Emma        Ovsey     Tisnovsky                Belarus         Helen                   Belilovsky                  United States 9/11/01   NY (WTC)     03-cv-9849   at 76                Parent    3666 at 1    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616, 1,
                                                                                                                                                                                                        at 77, 8397-1, at
4002 Ross     Leonid   Tisnovsky   Leonid                Tisnovsky                Ukraine         Helen                   Belilovsky                  United States 9/11/01   NY (WTC)     03-cv-9849   27, 8433             Parent    5138 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        1:02-cv-01616, 1,
4003                               Ross        Leonid    Tisnovsky                Ukraine         Helen                   Belilovsky                  United States 9/11/01   NY (WTC)     03-cv-9849   at 78                Sibling   4023 at 5    $   4,250,000.00 $    12,750,000.00

                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                        155, at P3134,
4004                               Beverly     Jean      Titus                    United States   Alicia        Nicole    Titus                       United States 9/11/01   NY (UA175)   03-cv-9849   8393-1, at 2, 8487   Parent    4126 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                        8679-1, at 468,
4005                               Elijah      Zane      Titus                    United States   Alicia        Nicole    Titus                       United States 9/11/01   NY (UA175)   03-cv-9849   8696                 Sibling   5061 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                        1:02-cv-01616,
4006                               John        Larry     Titus                    Unknown         Alicia        Nicole    Titus                       United States 9/11/01   NY (UA175)   03-cv-9849   155, at P3135        Parent    4126 at 8    $   8,500,000.00 $    25,500,000.00




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                                                                                                 EXHIBIT B-1
                                                                              SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                            8679-1, at 469,
4007   Zachery     Ian        Titus                 United States   Alicia         Nicole    Titus                        United States 9/11/01   NY (UA175)   03-cv-9849   8696                Sibling   5061 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                            8679-1, at 467,
4008   Shanoa      Dawn       Titus-Poston          Unknown         Alicia         Nicole    Titus                        United States 9/11/01   NY (UA175)   03-cv-9849   8696                Sibling   5061 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                            1:03-cv-09849,
                                                                                                                                                                            844, at 17; 8679-
4009   Geraldine   T.         Tobia                 United States   Jeffrey        James     Shaw                         United States 9/11/01   NY (WTC)     03-cv-9849   1, at 432, 8696     Sibling   5062 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                            8679-1, at 456,
4010   William     Addison    Todd            III   United States   Madeline       Amy       Sweeney                      United States 9/11/01   NY (AA11)    03-cv-9849   8696                Sibling   5848 at 10   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                            1:02-cv-01616,
4011   Elizabeth   Jane       Todd-Colbert          Unknown         Michel         Paris     Colbert                      United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4190       Spouse    5061 at 4    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                            1:02-cv-01616,
4012   Catherine   Mary       Tolino                United States   Patrick        D.        Byrne                        United States 9/11/01   NY (Other)   03-cv-9849   155, at P2834       Sibling   4023 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                            8679-1, at 289,
4013   Karen       Ann        Toomey                United States   Kevin          Michael   McCarthy                     United States 9/11/01   NY (WTC)     03-cv-9849   8696                Sibling   5087 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                            1:02-cv-01616,
4014   Maribel                Topaltzas             United States   Claribel                 Hernandez                    United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3435     Sibling   3666 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                            1:03-md-01570,
                                                                                                                                                                            3477, at 1256;
                                                                                                                                                                            8679-1, at 146,
4015   Judith      Ann        Torea                 United States   Harvey         Joseph    Gardner           III        United States 9/11/01   NY (WTC)     03-cv-9849   8696                Parent    5087 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                            8679-1, at 13,
4016   Humberto    Tomas      Tous                  United States   Eustace        P.        Bacchus                      United States 9/11/01   NY (WTC)     03-cv-9849   8696                Child     8310 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                            1:02-cv-01616,
4017   Regina      Marie      Townsend              Unknown         Peter          Matthew   West                         United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4695     Sibling   3666 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                            1:03-cv-09849,
                                                                                                                                                                            843, at 10; 8679-
4018   Dorine      Ellen      Toyen                 United States   Amy            E.        Toyen                        United States 9/11/01   NY (WTC)     03-cv-9849   1, at 471, 8696     Parent    5062 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                            1:03-cv-09849,
                                                                                                                                                                            843, at 11; 8679-
4019   Heather     Beth       Toyen                 United States   Amy            E.        Toyen                        United States 9/11/01   NY (WTC)     03-cv-9849   1, at 470, 8696     Sibling   5062 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                            1:02-cv-01616, 1,
4020   Martin                 Toyen                 United States   Amy            E.        Toyen                        United States 9/11/01   NY (WTC)     03-cv-9849   at 626              Parent    4126 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                            8679-1, at 341,
4021   Denise      M.         Tracey                United States   Alfonse        J.        Niedermeyer                  United States 9/11/01   NY (Other)   03-cv-9849   8696                Sibling   5087 at 15   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                            26, 29, at 4090,
                                                                                                                                                                            8393-1, at 533,
4022   Vincent                Tranchina             Unknown         Jeffrey        James     Olsen                        United States 9/11/01   NY (Other)   03-cv-9849   8487                Child     5087 at 15   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                            305, at P4556,
                                                                                                                                                                            8393-1, at 1388,
4023   Brian       Francis    Travers               United States   Walter         P.        Travers                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     5087 at 20   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                            305, at P4556,
                                                                                                                                                                            8393-1, at 1386,
4024   Elyse       Virginia   Travers               United States   Walter         P.        Travers                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     5087 at 20   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                            305, at P4556,
                                                                                                                                                                            8393-1, at 1387,
4025   Kevin                  Travers               United States   Walter         P.        Travers                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     5138 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                            305, at P4556,
                                                                                                                                                                            8393-1, at 86,
4026   Rosemary               Travers               United States   Walter         P.        Travers                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                Spouse    5087 at 20   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                            1:02-cv-01616, 1,
4027   Rosemary    Celine     Traynor               United States   Sean           Thomas    Canavan                      United States 9/11/01   NY (WTC)     03-cv-9849   at 111              Sibling   4023 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                            1:02-cv-01616, 1,
4028   Adrienne               Triggs                United States   Monica                   Goldstein                    United States 9/11/01   NY (WTC)     03-cv-9849   at 257              Sibling   4023 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                            1:02-cv-01616,
4029   Angelina    Mary       Trimboli              United States   Edward                   DeSimone          III        United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 1948     Parent    3666 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                            1:02-cv-01616,
4030   Brenda                 Trinidad              United States   Michael        A.        Trinidad                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4573     Sibling   5087 at 20   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                            1:02-cv-01616,
4031   Denise                 Trinidad              United States   Michael        A.        Trinidad                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4576     Sibling   7188 at 14   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                            1:02-cv-01616,
4032   Robert                 Trinidad              United States   Michael        A.        Trinidad                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4572     Sibling   7188 at 14   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                            155, at P3136,
                                                                                                                                                                            8393-1, at 889,
4033   Thea        Megan      Trinidad              United States   Michael        A.        Trinidad                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     5848 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                            155, at P3136,
                                                                                                                                                                            8393-1, at 890,
4034   Timothy     Michael    Trinidad              United States   Michael        A.        Trinidad                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     5848 at 10   $   8,500,000.00 $    25,500,000.00




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                                                                                                                                                   EXHIBIT B-1
                                                                                                                                SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                                                              1:02-cv-01616,
4035                                              Jane                         Trinidad-Hennes        United States   Michael        A.        Trinidad                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4577      Sibling   5087 at 20   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                              1:03-md-01570,
4036                                              Denise        Marie          Troise                 United States   Michael                  Cahill                       United States 9/11/01   NY (WTC)     03-cv-9849   432, at P5330        Sibling   5062 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                              77, at P2731,
                                                                                                                                                                                                                              8393-1, at 28,
4037                                              George        Daniel         Trost                  United States   Gregory        J.        Trost                        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    4023 at 25   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                              77, at P2733,
                                                                                                                                                                                                                              8397-1, at 27,
4038 George        Daniel         Trost           Marie         C.             Trost                  United States   Gregory        J.        Trost                        United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    4023 at 25   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                              1:02-cv-01616, 3,
4039                                              Christine     Verzosa        Trotta                 United States   Hilario        Soriano   Sumaya            Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   at 1695              Sibling   4023 at 24   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                    VA                        1:02-cv-01616, 3,
4040                                              Judy          S.             Troy                   Unknown         Willie         Quincy    Troy                         United States 9/11/01   (Pentagon)   03-cv-9849   at 1708              Spouse    5848 at 10   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                    VA                        1:02-cv-01616, 3,
4041                                              Renee         Mechelle       Troy-Mebane            United States   Willie         Quincy    Troy                         United States 9/11/01   (Pentagon)   03-cv-9849   at 1709              Child     5848 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                              1:02-cv-01616, 3,
4042                                              Marilyn       Ruth           Trudeau                United States   Amy            Nicole    Jarret                       United States 9/11/01   NY (UA175)   03-cv-9849   at 1265              Parent    4023 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                              313, at P4738,
                                                                                                                                                                                                                              8393-1, at 72,
4043                                              Jennifer      Ann            Tucker                 United States   Rochelle       Monique   Snell                        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    4023 at 23   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                              8679-1, at 270,
4044                                              Noelle        Robin          Tully                  United States   Robert         H.        Lynch             Jr.        United States 9/11/01   NY (Other)   03-cv-9849   8696                 Child     7188 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                              1:02-cv-01616,
4045                                              Marcella      Jean           Tuohy                  Unknown         Lawrence       Gerard    Veling                       United States 9/11/01   NY (WTC)     03-cv-9849   313, at P4758        Sibling   3666 at 12   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                              1:02-cv-01616,
4046                                              Mary          Jean           Turanica               United States   Robert         Joseph    Coll              II         United States 9/11/01   NY (WTC)     03-cv-9849   155, at P2856        Sibling   5087 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                              1:02-cv-01616, 1,
                                                                                                                                                                                                                              at 631, 8397-1, at
4047 Stamatios     Konstantinos   Tzemis          Nancy         Doris          Tzemis                 United States   Jennifer       Lynn      Tzemis                       United States 9/11/01   NY (WTC)     03-cv-9849   27, 8433             Parent    4126 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                              1:02-cv-01616, 1,
4048                                              Nicole        Doreen         Tzemis                 United States   Jennifer       Lynn      Tzemis                       United States 9/11/01   NY (WTC)     03-cv-9849   at 633               Sibling   4023 at 25   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                              1:02-cv-01616, 1,
4049                                              Sophia        Eugenia        Tzemis                 United States   Jennifer       Lynn      Tzemis                       United States 9/11/01   NY (WTC)     03-cv-9849   at 632               Sibling   5062 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                              232, at P3988,
                                                                                                                                                                                                                              8393-1, at 35,
4050                                              Stamatios     Konstantinos   Tzemis                 United States   Jennifer       Lynn      Tzemis                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    4023 at 25   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                              305, at P4557,
                                                                                                                                                                                                                              8393-1, at 55,
4051                                              Linda         Buffa          Uliano                 United States   Michael        A.        Uliano                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5356 at 6    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                              8679-1, at 478,
4052                                              Mark          Thomas         Uliano                 United States   Michael        A.        Uliano                       United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 14   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                              8679-1, at 479,
4053                                              Matthew       P.             Uliano                 United States   Michael        A.        Uliano                       United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 14   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                              8679-1, at 480,
4054                                              Nathan        Detroit        Uliano                 United States   Michael        A.        Uliano                       United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 14   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                              1:03-cv-9849,
                                                                                                                                                                                                                              HAND FILED, at
4055                                              Mary          Susan          Urs                    United States   Richard        P.        Miuccio                      United States 9/11/01   NY (WTC)     03-cv-9849   P5187                Sibling   5087 at 14   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                              155, at P2953,
                                                                                                                                                                                                                              8393-1, at 88,
4056                                              Leyla                        Uyar                   Turkey          Zuhtu                    Ibis                         United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5061 at 8    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                              1:02-cv-01616,
4057                                              Anne          Marie          Vaccacio               United States   John           Damien    Vaccacio                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4602      Parent    4126 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                              1:02-cv-01616,
4058                                              Christopher   J.             Vaccacio               Unknown         John           Damien    Vaccacio                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4604      Sibling   5087 at 20   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                              1:02-cv-01616,
4059                                              James         Richard        Vaccacio               United States   John           Damien    Vaccacio                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4603      Parent    4126 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                              8679-1, at 484,
4060                                              Christopher   Scott          Vadas                  United States   Bradley        Hodges    Vadas                        United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   5087 at 20   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                              232, at P3989,
     Melissa;                                                                                                                                                                                                                 8397-1, at 27,
4061 Christopher   Mary; Scott    Prevey; Vadas   Donald        Joseph         Vadas                  United States   Bradley        Hodges    Vadas                        United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    4126 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                              26, 29, at 4606,
                                                                                                                                                                                                                              8393-1, at 77,
4062                                              Alyssa        N.             Valentin               United States   Benito                   Valentin                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5138 at 8    $   8,500,000.00 $    25,500,000.00




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                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                         26, 29, at 4606,
                                                                                                                                                                                                                         8393-1, at 78,
4063                                                Danyelle     M.          Valentin             United States   Benito                    Valentin                     United States 9/11/01   NY (WTC)   03-cv-9849   8487                 Child     5138 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                         1:02-cv-01616,
4064                                                Grissel      Rodriguez   Valentin             United States   Benito                    Valentin                     United States 9/11/01   NY (WTC)   03-cv-9849   26, 29, at 4606      Spouse    5138 at 8    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                         26, 29, at 4606,
                                                                                                                                                                                                                         8393-1, at 79,
4065                                                Jailene      A.          Valentin             United States   Benito                    Valentin                     United States 9/11/01   NY (WTC)   03-cv-9849   8487                 Child     5138 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                         1:02-cv-01616,
4066                                                Suzanne      Mary        Valentino            United States   Robert          Joseph    Coll              II         United States 9/11/01   NY (WTC)   03-cv-9849   155, at P2857        Sibling   5062 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                         26, 29, at 2443,
                                                                                                                                                                                                                         8397-1, at 27,
4067 Janice; Karen   Lynne; Ellen    Booth; Renzo   Eleanor                  Van Auken            United States   Kenneth         Warren    Van Auken                    United States 9/11/01   NY (WTC)   03-cv-9849   8433                 Parent    5087 at 20   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                         1:02-cv-01616, 1,
4068                                                Lorie        Jill        Van Auken            United States   Kenneth         Warren    Van Auken                    United States 9/11/01   NY (WTC)   03-cv-9849   at 773               Spouse    4023 at 25   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                         1:02-cv-01616, 1,
                                                                                                                                                                                                                         at 773, 8393-1, at
4069                                                Matthew      D.          Van Auken            United States   Kenneth         Warren    Van Auken                    United States 9/11/01   NY (WTC)   03-cv-9849   740, 8487            Child     4023 at 25   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                         1:02-cv-01616, 1,
                                                                                                                                                                                                                         at 773, 8393-1, at
4070                                                Sarah        B.          Van Auken            United States   Kenneth         Warren    Van Auken                    United States 9/11/01   NY (WTC)   03-cv-9849   739, 8487            Child     4023 at 25   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                         26, 29, at 2442,
                                                                                                                                                                                                                         8397-1, at 27,
4071 Janice; Karen   Lynne; Ellen    Booth; Renzo   Warren       Gordon      Van Auken            United States   Kenneth         Warren    Van Auken                    United States 9/11/01   NY (WTC)   03-cv-9849   8433                 Parent    5087 at 20   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                         1:02-cv-01616,
4072                                                Jacqueline               Van Laere            United States   Daniel          Maurice   Van Laere                    United States 9/11/01   NY (WTC)   03-cv-9849   26, 29, at 4612      Sibling   4023 at 25   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                         1:02-cv-01616, 3,
                                     Wiley; Van                                                                                                                                                                          at 1718, 8397-1,
4073 Rita; Paul      Marie; Edward   Laere          Margaret     Rita        Van Laere            United States   Daniel          Maurice   Van Laere                    United States 9/11/01   NY (WTC)   03-cv-9849   at 27, 8433          Parent    4126 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                         1:02-cv-01616,
4074                                                Paul         Edward      Van Laere            United States   Daniel          Maurice   Van Laere                    United States 9/11/01   NY (WTC)   03-cv-9849   26, 29, at 4610      Sibling   4023 at 25   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                         305, at P4408,
                                                                                                                                                                                                                         8393-1, at 670,
4075                                                Michelle                 Van Niel             United States   Joseph                    Mathai                       United States 9/11/01   NY (WTC)   03-cv-9849   8487                 Child     5087 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                         1:02-cv-01616, 3,
                                                                                                                                                                                                                         at 1497, 8393-1,
4076                                                Sarah        O'Brien     Van Oudenaren        United States   Michael         P.        O'Brien                      United States 9/11/01   NY (WTC)   03-cv-9849   at 949, 8487         Child     5087 at 15   $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                         305, at P4525,
4077                                                Janine       Louise      Van Riper            United States   Barbara         A.        Shaw                         United States 9/11/01   NY (WTC)   03-cv-9849   8393-1, at 4, 8487   Child     8233 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                         1:03-md-01570,
                                                                                                                                                                                                                         432, at P5379,
                                                                                                                                                                                                                         8393-1, at 87,
4078                                                Brenda       Rowena      Vandever             United States   William         A.        Karnes                       United States 9/11/01   NY (WTC)   03-cv-9849   8487                 Sibling   4023 at 15   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                         232, at P3993,
                                                                                                                                                                                                                         8393-1, at 408,
4079                                                Corinne      Eileen      Varacchi             United States   Frederick       Thomas    Varacchi                     United States 9/11/01   NY (WTC)   03-cv-9849   8487                 Child     5061 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                         232, at P3993,
                                                                                                                                                                                                                         8393-1, at 26,
4080                                                Eileen                   Varacchi             United States   Frederick       Thomas    Varacchi                     United States 9/11/01   NY (WTC)   03-cv-9849   8487                 Spouse    5061 at 13   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                         232, at P3993,
                                                                                                                                                                                                                         8393-1, at 409,
4081                                                Thomas       Frederick   Varacchi             United States   Frederick       Thomas    Varacchi                     United States 9/11/01   NY (WTC)   03-cv-9849   8487                 Child     5061 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                         232, at P3993,
                                                                                                                                                                                                                         8393-1, at 410,
4082                                                Tyler        Louis       Varacchi             United States   Frederick       Thomas    Varacchi                     United States 9/11/01   NY (WTC)   03-cv-9849   8487                 Child     5061 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                         232, at P3994,
                                                                                                                  Gopalakrishna                                                                                          8393-1, at 27,
4083                                                Srinivasa    S.R.        Varadhan             India           n                         Varadhan                     United States 9/11/01   NY (WTC)   03-cv-9849   8487                 Parent    5848 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                  Gopalakrishna                                                                                          1:02-cv-01616,
4084                                                Vasundara                Varadhan             India           n                         Varadhan                     United States 9/11/01   NY (WTC)   03-cv-9849   232, at P3995        Parent    5848 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                         26, 29, at 2410,
                                                                                                                                                                                                                         8393-1, at 264,
4085                                                Kevin        Robert      Vargas               United States   David                     Vargas                       Bolivia      9/11/01    NY (WTC)   03-cv-9849   8487                 Child     5087 at 20   $   8,500,000.00 $    25,500,000.00



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                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                          26, 29, at 2410,
                                                                                                                                                                          8393-1, at 265,
4086   Leslie       Michelle      Vargas          United States   David                    Vargas                       Bolivia      9/11/01    NY (WTC)     03-cv-9849   8487                 Child     5138 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                          1:02-cv-01616, 3,
4087   Cynthia      Anne          Velardi         United States   Paul           James     Furmato                      United States 9/11/01   NY (WTC)     03-cv-9849   at 1140              Spouse    5087 at 9    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                          1:02-cv-01616, 3,
                                                                                                                                                                          at 1140, 8393-1,
4088   Theresa      Marie Furmato Velardi         United States   Paul           James     Furmato                      United States 9/11/01   NY (WTC)     03-cv-9849   at 1020, 8487        Child     5087 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                          1:02-cv-01616,
4089   Edna         Iris          Velez           Unknown         Pablo                    Ortiz                        United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4098      Spouse    5061 at 11   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                          313, at P4755,
                                                                                                                                                                          8393-1, at 773,
4090   Cynthia                    Veling          United States   Lawrence       Gerard    Veling                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5848 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                          313, at P4755,
                                                                                                                                                                          8393-1, at 48,
4091   Dianne       J.            Veling          United States   Lawrence       Gerard    Veling                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5848 at 10   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                          313, at P4755,
                                                                                                                                                                          8393-1, at 774,
4092   Kevin                      Veling          United States   Lawrence       Gerard    Veling                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5848 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                          313, at P4755,
                                                                                                                                                                          8393-1, at 775,
4093   Ryan                       Veling          United States   Lawrence       Gerard    Veling                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5848 at 10   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                          1:02-cv-01616,
4094   Danielle     Ann           Vella           United States   James          P.        Leahy                        Unknown      9/11/01    NY (Other)   03-cv-9849   26, 29, at 3611      Sibling   5062 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                          1:02-cv-01616, 1,
4095   Trudi        Jean          Venditti        Unknown         Carl           Eugene    Molinaro                     United States 9/11/01   NY (WTC)     03-cv-9849   at 898               Sibling   3666 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                          1:02-CV-01616,
4096   Jacqueline   A.            Venezia         United States   Paul           Vincent   Barbaro                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2612      Sibling   4023 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                          232, at P3997,
                                                                                                                                                                          8393-1, at 379,
4097   Jessica                    Ventura         United States   Anthony        M.        Ventura                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 20   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                          77, at P2734,
                                                                                                                                                                          8393-1, at 24,
4098   Lisa         A.            Ventura         United States   Felicia                  Hamilton                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     4023 at 12   $   8,500,000.00 $    25,500,000.00

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                                                                                                                                                                          232, at P3997,
4099   Lisa         A.            Ventura         United States   Anthony        M.        Ventura                      United States 9/11/01   NY (WTC)     03-cv-9849   8393-1, at 4, 8487   Spouse    5061 at 14   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                          232, at P3997,
                                                                                                                                                                          8393-1, at 380,
4100   Nicole                     Ventura         United States   Anthony        M.        Ventura                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 20   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                          1:03-cv-9849,
                                                                                                                                                                          HAND FILED, at
4101   Lauren       Eileen        Verhey          United States   Philip         Scott     Petti                        United States 9/11/01   NY (Other)   03-cv-9849   P5227                Child     5087 at 16   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                          1:02-cv-01616,
4102   Selma        Ann           Verse           Unknown         Kermit         C.        Anderson                     United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4768        Sibling   3666 at 1    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                          8679-1, at 491,
4103   Douglas                    Vialonga        United States   Christopher              Vialonga                     United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   5087 at 20   $   4,250,000.00 $    12,750,000.00
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                                                                                                                                                                          232, at P3998,
                                                                                                                                                                          8393-1, at 12,
4104   Gary         J.            Vialonga        United States   Christopher              Vialonga                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Sibling   5087 at 20   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                          1:02-cv-01616,
4105   Katherine                  Vialonga        United States   Christopher              Vialonga                     United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3999        Parent    4023 at 25   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                          232, at P4000,
                                                                                                                                                                          8393-1, at 71,
4106   Jill         Robin         Vicario         United States   Robert                   Vicario                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5848 at 11   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                          232, at P4000,
                                                                                                                                                                          8393-1, at 1147,
4107   Savannah     Rose          Vicario         United States   Robert                   Vicario                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5848 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                          1:18-cv-11582, 1,
                                                                                                                                                                          at 16; 8679-1, at
4108   Ariana                     Vigiano         United States   John           Thomas    Vigiano           II         United States 9/11/01   NY (Other)   03-cv-9849   494, 8696            Child     5088 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                          1:02-cv-01616, 1,
                                                                                                                                                                          at 637, 8393-1, at
4109   James        Vincent       Vigiano         United States   Joseph         Vincent   Vigiano                      United States 9/11/01   NY (Other)   03-cv-9849   689, 8487            Child     5087 at 20   $   8,500,000.00 $    25,500,000.00



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4110                                  Jeanette                 Vigiano                Unknown         John          Thomas    Vigiano           II         United States 9/11/01   NY (Other)   03-cv-9849   432, at P4962        Parent    3666 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             1:02-cv-01616,
4111                                  Jeanette                 Vigiano                Unknown         Joseph        Vincent   Vigiano                      United States 9/11/01   NY (Other)   03-cv-9849   432, at P4962        Parent    3666 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                             432, at P4961,
                                                                                                                                                                                                             8397-1, at 27,
4112 Jeanette             Vigiano     John         Thomas      Vigiano                United States   John          Thomas    Vigiano           II         United States 9/11/01   NY (Other)   03-cv-9849   8433                 Parent    3666 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             1:02-cv-01616,
4113 Jeanette             Vigiano     John         Thomas      Vigiano                United States   Joseph        Vincent   Vigiano                      United States 9/11/01   NY (Other)   03-cv-9849   432, at P4963        Parent    3666 at 12   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             1:02-cv-01616, 1,
                                                                                                                                                                                                             at 637, 8393-1, at
4114                                  John         Michael     Vigiano                United States   Joseph        Vincent   Vigiano                      United States 9/11/01   NY (Other)   03-cv-9849   690, 8487            Child     5087 at 20   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             1:02-cv-01616, 1,
                                                                                                                                                                                                             at 637, 8393-1, at
4115                                  Joseph       John        Vigiano                United States   Joseph        Vincent   Vigiano                      United States 9/11/01   NY (Other)   03-cv-9849   691, 8487            Child     5087 at 20   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             1:02-cv-01616, 1,
                                                                                                                                                                                                             at 637, 8393-1, at
4116                                  Kathleen     M.          Vigiano                United States   Joseph        Vincent   Vigiano                      United States 9/11/01   NY (Other)   03-cv-9849   43, 8487             Spouse    5087 at 20   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                             1:18-cv-11582, 1,
                                                                                                                                                                                                             at 17; 8679-1, at
4117                                  Nicolette    Maria       Vigiano                United States   John          Thomas    Vigiano           II         United States 9/11/01   NY (Other)   03-cv-9849   492, 8696            Child     5088 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             1:18-cv-11582, 1,
                                                                                                                                                                                                             at 15; 8679-1, at
4118                                  Maria                    Vigiano-Trapp          Unknown         John          Thomas    Vigiano           II         United States 9/11/01   NY (Other)   03-cv-9849   493, 8696            Spouse    5087 at 20   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                             232, at P4002,
                                                                                                                                                                                                             8393-1, at 399,
4119                                  Anthony      Frank       Vignola                United States   Frank         J.        Vignola           Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 20   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                             232, at P4002,
                                                                                                                                                                                                             8393-1, at 25,
4120                                  Ellen        Barbara     Vignola                United States   Frank         J.        Vignola           Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5087 at 20   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                             1:02-cv-01616,
4121 Diane      Frances   Antolos     Frances                  Vignola                United States   Frank         J.        Vignola           Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   232, at P4003        Parent    3666 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             1:02-cv-01616,
4122                                  James        Anthony     Vignola                Unknown         Frank         J.        Vignola           Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   232, at P4004        Sibling   3666 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                             232, at P4002,
                                                                                                                                                                                                             8393-1, at 400,
4123                                  Sarah        Catherine   Vignola                United States   Frank         J.        Vignola           Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 20   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             8679-1, at 383,
4124                                  Traci        Lee         Viklund                United States   Christopher             Quackenbush                  United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Spouse    7188 at 12   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                             155, at P3139,
                                                                                                                                                                                                             8397-1, at 27,
4125 Diane                Braitsch    Antoinette               Vilardo                United States   Joseph        B.        Vilardo                      Unknown      9/11/01    NY (WTC)     03-cv-9849   8433                 Parent    4126 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                             155, at P3140,
                                                                                                                                                                                                             8397-1, at 27,
4126 Diane                Braitsch    Benedict     J.          Vilardo                United States   Joseph        B.        Vilardo                      Unknown      9/11/01    NY (WTC)     03-cv-9849   8433                 Parent    4126 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             1:02-cv-01616,
4127                                  Janet                    Vilardo-Farrell        United States   Joseph        B.        Vilardo                      Unknown      9/11/01    NY (WTC)     03-cv-9849   155, at P3141        Sibling   3666 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                             26, 29, at 3433,
                                                                                                                                                                                                             8397-1, at 28,
4128 Maribel              Topaltzas   Jaime                    Villalobos             United States   Claribel                Hernandez                    United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    5138 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             1:02-cv-01616,
4129                                  Delia                    Villanueva             United States   Sergio                  Villanueva                   United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4638      Parent    5087 at 20   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             1:02-cv-01616,
4130                                  Steve                    Villanueva             United States   Sergio                  Villanueva                   United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4640      Sibling   5087 at 20   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                             1:03-md-01570,
4131                                  Carrie       Beth        Vincent                United States   Melissa                 Vincent                      United States 9/11/01   NY (WTC)     03-cv-9849   602, at P5512        Sibling   4023 at 25   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                             1:03-md-01570,
                                                                                                                                                                                                             602, at P5509,
                                                                                                                                                                                                             8393-1, at 55,
4132                                  David        Relf        Vincent                United States   Melissa                 Vincent                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    4023 at 25   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             1:03-md-01570,
4133                                  Lucille      Anne        Vincent                United States   Melissa                 Vincent                      United States 9/11/01   NY (WTC)     03-cv-9849   602, at P5510        Parent    4023 at 25   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                             1:03-md-01570,
4134                                  Matthew      David       Vincent                United States   Melissa                 Vincent                      United States 9/11/01   NY (WTC)     03-cv-9849   602, at P5511        Sibling   4023 at 25   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                             305, at P4558,
                                                                                                                                                                                                             8393-1, at 24,
4135                                  Nunzio       G.          Virgilio               United States   Francine      Ann       Virgilio                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Sibling   5848 at 11   $   4,250,000.00 $    12,750,000.00




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                                                                                                                                                                                                           1:02-cv-01616, 3,
                                                                                                                                                                                                           at 1722, 8397-1,
4136 Maria     Ann      Visciano   Frank                     Visciano           United States   Joseph        Gerard        Visciano                     United States 9/11/01   NY (WTC)     03-cv-9849   at 28, 8433         Parent    5062 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616, 1,
4137                               Jason         Robert      Visciano           United States   Joseph        Gerard        Visciano                     United States 9/11/01   NY (WTC)     03-cv-9849   at 641              Sibling   4023 at 25   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616, 1,
4138                               Maria         Ann         Visciano           United States   Joseph        Gerard        Visciano                     United States 9/11/01   NY (WTC)     03-cv-9849   at 640              Parent    4023 at 25   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616, 1,
4139                               Robert        Thomas      Visciano           United States   Joseph        Gerard        Visciano                     United States 9/11/01   NY (WTC)     03-cv-9849   at 642              Sibling   4023 at 25   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
4140                               Therese       Anne        Visconti           United States   Timothy       M.            O'Brien                      Unknown      9/11/01    NY (WTC)     03-cv-9849   26, 29, at 2228     Sibling   4023 at 19   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           232, at AP224,
                                                                                                                                                                                                           5284-1, at 11,
4141                               Brian         Peter       Vitale             United States   Joshua        S.            Vitale                       United States 9/11/01   NY (WTC)     03-cv-9849   5296                Sibling   5061 at 14   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           8679-1, at 496,
4142                               Michael       B.          Vitale             United States   Joshua        S.            Vitale                       United States 9/11/01   NY (WTC)     03-cv-9849   8696                Parent    5087 at 20   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           8679-1, at 375,
4143                               Phyllis       Frances     Volpe              United States   Joseph                      Plumitallo                   United States 9/11/01   NY (WTC)     03-cv-9849   8696                Sibling   5087 at 16   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
4144                               Drana         M           Vukaj              United States   Simon         Marash        Dedvukaj                     United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4222       Sibling   4023 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
4145                               Adam          Steven      Vukosa             United States   Alfred                      Vukosa                       United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2736        Child     5087 at 21   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
4146                               Austin        A.          Vukosa             United States   Alfred                      Vukosa                       United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2737        Child     5087 at 21   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           77, at P2738,
                                                                                                                                                                                                           8397-1, at 28,
4147 Sonja     M.       Vukosa     Irma                      Vukosa             United States   Alfred                      Vukosa                       United States 9/11/01   NY (WTC)     03-cv-9849   8433                Parent    4146 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           77, at P2740,
                                                                                                                                                                                                           8397-1, at 28,
4148 Sonja     M.       Vukosa     Sime                      Vukosa             United States   Alfred                      Vukosa                       United States 9/11/01   NY (WTC)     03-cv-9849   8433                Parent    5848 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
4149                               Sonja         M.          Vukosa             Unknown         Alfred                      Vukosa                       United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2741        Sibling   4023 at 25   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           232, at P4006,
                                                                                                                                                                                                           8393-1, at 28,
4150                               Nassima       Moulfi      Wachtler           United States   Gregory       Kamal Bruno   Wachtler                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                Parent    4023 at 25   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           232, at P4007,
                                                                                                                                                                                                           8397-1, at 28,
4151 Nassima   Moulfi   Wachtler   Paul          William     Wachtler           United States   Gregory       Kamal Bruno   Wachtler                     United States 9/11/01   NY (WTC)     03-cv-9849   8433                Parent    4023 at 25   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           232, at AP246,
                                                                                                                                                                                                           5284-1, at 5,
                                                                                                                                                                                                           5296, 8393-1, at
4152                               Robin         Marie       Wade               United States   Claude        Michael       Gann                         United States 9/11/01   NY (WTC)     03-cv-9849   12, 8487            Spouse    5087 at 9    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                 VA                        1:02-cv-01616,
4153                               Willette                  Wages              Unknown         Janice        Marie         Scott                        United States 9/11/01   (Pentagon)   03-cv-9849   305, at P4520       Sibling   3666 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           305, at P4178,
                                                                                                                                                                                                           8393-1, at 24,
4154                               Theresa       A.          Wagner             United States   Frances                     Cilente                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                Sibling   4023 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           305, at P4559,
                                                                                                                                                                                                           8393-1, at 54,
4155                               Michael       Owen        Wahlstrom          United States   Mary          Alice         Wahlstrom                    United States 9/11/01   NY (AA11)    03-cv-9849   8487                Child     4023 at 25   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           8679-1, at 498,
4156                               Norman        Oliver      Wahlstrom    Jr.   Germany         Mary          Alice         Wahlstrom                    United States 9/11/01   NY (AA11)    03-cv-9849   8696                Child     7188 at 15   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           8679-1, at 497,
4157                               Phillip       Andrew      Wahlstrom          United States   Mary          Alice         Wahlstrom                    United States 9/11/01   NY (AA11)    03-cv-9849   8696                Child     5061 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:03-cv-9849,
                                                                                                                                                                                                           HAND FILED, at
4158                               Scott         Eric        Wahlstrom          United States   Mary          Alice         Wahlstrom                    United States 9/11/01   NY (AA11)    03-cv-9849   P5294               Child     4023 at 25   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           305, at P4561,
                                                                                                                                                         United                                            8393-1, at 80,
4159                               Christopher   Thomas      Walker             United States   Benjamin      James         Walker                       Kingdom      9/11/01    NY (WTC)     03-cv-9849   8487                Child     5087 at 21   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                 VA                        8679-1, at 115,
4160                               Donzell       Elizabeth   Walker             United States   Amelia        V.            Fields                       United States 9/11/01   (Pentagon)   03-cv-9849   8696                Sibling   8233 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                           305, at P4561,
                                                                                                                                                         United                                            8393-1, at 81,
4161                               Henry         George      Walker             United States   Benjamin      James         Walker                       Kingdom      9/11/01    NY (WTC)     03-cv-9849   8487                Child     5087 at 21   $   8,500,000.00 $    25,500,000.00




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                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                              United                                            305, at P4561,
4162                           Laura      Theresa    Walker           United States   Benjamin       James       Walker                       Kingdom      9/11/01    NY (WTC)     03-cv-9849   8393-1, at 5, 8487   Spouse    5087 at 21   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                1:02-cv-01616,
4163                           Lisa       A.         Walker           United States   Mark           P.          Whitford                     United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4717      Sibling   4023 at 26   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                305, at P4561,
                                                                                                                                              United                                            8393-1, at 82,
4164                           Samantha   Nicole     Walker           United States   Benjamin       James       Walker                       Kingdom      9/11/01    NY (WTC)     03-cv-9849   8487                 Child     5087 at 21   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                1:02-cv-01616, 3,
4165                           Shirley    Ann        Walker           United States   Juanita                    Lee                          United States 9/11/01   NY (WTC)     03-cv-9849   at 1345              Sibling   3666 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                1:02-cv-01616, 1,
                                                                                                                                                                                                at 753, 8393-1, at
4166                           Kaitlyn    Strada     Wallace          United States   Thomas                     Strada                       United States 9/11/01   NY (WTC)     03-cv-9849   1326, 8487           Child     5087 at 19   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                432, at P4973,
                                                                                                                                                                                                8397-1, at 28,
4167 Michele   Jan   Miller    Kenneth               Wallace          United States   Mitchel        Scott       Wallace                      United States 9/11/01   NY (Other)   03-cv-9849   8433                 Parent    7188 at 15   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                1:02-cv-01616,
4168                           Rita       Elaine     Wallace          United States   Mitchel        Scott       Wallace                      United States 9/11/01   NY (Other)   03-cv-9849   432, at P4974        Parent    5062 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                1:03-md-01570,
4169                           Ashley     Jordan     Wallens          United States   Matthew        Blake       Wallens                      United States 9/11/01   NY (WTC)     03-cv-9849   432, at P5463        Sibling   5087 at 21   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                432, at P4975,
                                                                                                                                                                                                8393-1, at 54,
4170                           Raina      Allison    Wallens          United States   Matthew        Blake       Wallens                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5061 at 14   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                8679-1, at 95,
4171                           Dona       Mae        Wallich          United States   Edgar          Hendricks   Emery             Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                77, at P2742,
                                                                                                                                                                                                8393-1, at 56,
4172                           Eileen                Walsh            United States   Michael        Emmett      Brennan                      United States 9/11/01   NY (Other)   03-cv-9849   8487                 Parent    4126 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                1:02-cv-01616,
4173                           James      Joseph     Walsh      Jr.   United States   Barbara        P.          Walsh                        United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4658      Child     4023 at 25   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                1:02-cv-01616,
4174                           James      Joseph     Walsh            United States   Barbara        P.          Walsh                        United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2417      Spouse    5061 at 14   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                1:02-cv-01616,
4175                           Jeffrey    Michael    Walsh            United States   Barbara        P.          Walsh                        United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4657      Child     4023 at 25   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                1:02-cv-01616,
4176                           Margaret              Walsh            United States   Michael        Emmett      Brennan                      United States 9/11/01   NY (Other)   03-cv-9849   77, at P2743         Sibling   4023 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                1:02-cv-01616,
4177                           Mary       Margaret   Walsh            United States   Michael        Emmett      Brennan                      United States 9/11/01   NY (Other)   03-cv-9849   77, at P2744         Sibling   4023 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                1:02-cv-01616,
4178                           Matthew    Joseph     Walsh            United States   Michael        Emmett      Brennan                      United States 9/11/01   NY (Other)   03-cv-9849   77, at P2745         Sibling   4023 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                1:02-cv-01616,
4179                           Nicole     Michele    Walsh            United States   Nicholas       W.          Brandemarti                  United States 9/11/01   NY (WTC)     03-cv-9849   313, at P4620        Sibling   5061 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                1:02-cv-01616,
4180                           Patricia              Walsh            United States   Michael        Emmett      Brennan                      United States 9/11/01   NY (Other)   03-cv-9849   77, at P2746         Sibling   4023 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                1:02-CV-01616,
4181                           Jill                  Walton           United States   Frank          Thomas      Aquilino                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2573      Sibling   5061 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                1:02-cv-01616,
4182                           Bradley    Matthew    Walz             United States   Jeffrey        P.          Walz                         United States 9/11/01   NY (Other)   03-cv-9849   77, at P2747         Child     5061 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                1:02-cv-01616, 3,
4183 Karen     L.    Ciaccio   Jennie                Walz             United States   Jeffrey        P.          Walz                         United States 9/11/01   NY (Other)   03-cv-9849   at 1725              Parent    3666 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                77, at P2748,
                                                                                                                                                                                                8393-1, at 34,
4184                           Rani       Deborah    Walz             United States   Jeffrey        P.          Walz                         United States 9/11/01   NY (Other)   03-cv-9849   8487                 Spouse    5061 at 14   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                1:02-cv-01616, 3,
4185 Jennie          Walz      Raymond    George     Walz             United States   Jeffrey        P.          Walz                         United States 9/11/01   NY (Other)   03-cv-9849   at 1724              Parent    3666 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                1:02-cv-01616, 3,
4186                           Raymond    Edward     Walz             United States   Jeffrey        P.          Walz                         United States 9/11/01   NY (Other)   03-cv-9849   at 1726              Sibling   5062 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                155, at P3143,
                                                                                                                                                                                                8393-1, at 1395,
4187                           Marina                Wang             United States   Weibin                     Wang                         United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 21   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                155, at P3143,
                                                                                                                                                                                                8393-1, at 1396,
4188                           Raymond               Wang             United States   Weibin                     Wang                         United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 21   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                155, at P3143,
                                                                                                                                                                                                8393-1, at 1397,
4189                           Richard               Wang             United States   Weibin                     Wang                         United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 21   $   8,500,000.00 $    25,500,000.00




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                                                                                                                                                   EXHIBIT B-1
                                                                                                                                SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                                                                  1:02-cv-01616, 1,
4190                                                Patricia      Mary        Wangerman                United States   Michael       T.            Weinberg                     United States 9/11/01   NY (Other)   03-cv-9849   at 648              Sibling        4023 at 26   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                  8679-1, at 106,
4191                                                Andrea                    Wanner                   United States   David         Francis       Ferrugio                     United States 9/11/01   NY (WTC)     03-cv-9849   8696                Sibling        7188 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                  8679-1, at 500,
4192                                                Aaron         Scott       Warchola                 United States   Michael                     Warchola                     United States 9/11/01   NY (Other)   03-cv-9849   8696                Child          7188 at 15   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                  8679-1, at 499,
4193                                                Amy           Sarah       Warchola                 United States   Michael                     Warchola                     United States 9/11/01   NY (Other)   03-cv-9849   8696                Child          7188 at 15   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                  232, at P4008,
                                                                                                                                                                                                                                  8393-1, at 60,
4194                                                Denis         Andrew      Warchola                 United States   Michael                     Warchola                     United States 9/11/01   NY (Other)   03-cv-9849   8487                Sibling        4023 at 25   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                  432, at P4976,
                                                                                                                                                                                                                                  8397-1, at 28,
4195 Denis           Andrew           Warchola      Michael                   Warchola           Sr.   United States   Michael                     Warchola                     United States 9/11/01   NY (Other)   03-cv-9849   8433                Parent         5138 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                  1:02-cv-01616,
4196                                                Gordon        Malon       Ward                     United States   Stephen       Gordon        Ward                         United States 9/11/01   NY (WTC)     03-cv-9849   232, at P4010       Parent         4126 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                  8679-1, at 257,
4197                                                Libbet        Ann         Ward                     United States   Maclovio                    Lopez             Jr.        United States 9/11/01   NY (UA175)   03-cv-9849   8696                Sibling        5848 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                  8679-1, at 501,
4198                                                Catherine     Mary        Waring                   United States   James         Arthur        Waring                       United States 9/11/01   NY (WTC)     03-cv-9849   8696                Parent         5061 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                  232, at P4011,
                                                                                                                                                                                                                                  8393-1, at 481,
4199                                                Jamie         Rose        Waring                   United States   James         Arthur        Waring                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child          5087 at 21   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                  232, at P4011,
                                                                                                                                                                                                                                  8393-1, at 482,
4200                                                Jessica       Marie       Waring                   United States   James         Arthur        Waring                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child          5087 at 21   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                  232, at P4011,
                                                                                                                                                                                                                                  8393-1, at 483,
4201                                                Maria         Catherine   Waring                   United States   James         Arthur        Waring                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child          5087 at 21   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                  232, at P4011,
                                                                                                                                                                                                                                  8393-1, at 30,
4202                                                Maria         Ann         Waring                   United States   James         Arthur        Waring                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                Spouse         5087 at 21   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                  232, at P4011,
                                                                                                                                                                                                                                  8393-1, at 484,
4203                                                Stephanie     Ann         Waring                   United States   James         Arthur        Waring                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child          5087 at 21   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                  1:02-cv-01616,
4204                                                Brandon       Lamont      Washington               United States   Derrick       Christopher   Washington                   United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2424     Sibling        7188 at 15   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                  26, 29, at 2423,
                                      Washington-                                                                                                                                                                                 8393-1, at 297,
                                      Dean;                                                                                                                                                                                       8487, 8397-1, at
4205 Kiesha; Malik   Laneen; Ziaire   Washington    Christopher   Shawn       Washington               United States   Derrick       Christopher   Washington                   United States 9/11/01   NY (WTC)     03-cv-9849   28, 8433            Child          5061 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                  26, 29, at 2423,
                                                                                                                                                                                                                                  8393-1, at 295,
4206                                                Devin         T.          Washington               United States   Derrick       Christopher   Washington                   United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child          5061 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                  1:02-cv-01616,
4207                                                Lettie        Mae         Washington               United States   Derrick       Christopher   Washington                   United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2422     Parent         5848 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                  26, 29, at 2423,
                                                                                                                                                                                                                                  8393-1, at 296,
4208                                                Malik         Ziaire      Washington               United States   Derrick       Christopher   Washington                   United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child          5061 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                  1:02-cv-01616,
4209                                                Tracey        Lamar       Washington               United States   Derrick       Christopher   Washington                   United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2425     Sibling        7188 at 15   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                  26, 29, at 2423,
                                                                                                                                                                                                                                  8393-1, at 19,
4210                                                Kiesha        Laneen      Washington-Dean          United States   Derrick       Christopher   Washington                   United States 9/11/01   NY (WTC)     03-cv-9849   8487                Spouse         5062 at 6    $   12,500,000.00 $   37,500,000.00
                                                                                                       United States   Angela        Marie         Houtz                                                VA                        8679-1, at 212,
4211                                                Tina          Marie       Wasielewski                                                                                       United States 9/11/01   (Pentagon)   03-cv-9849   8696                Step-Sibling   8293 at 6    $   2,125,000.00 $     6,375,000.00
                                                                                                                                                                                                                                  1:02-cv-01616,
4212                                                Mary          F.          Waterman                 United States   Kathleen                    Faragher                     United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4265       Sibling        4023 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                  155, at P3146,
                                                                                                                                                                                                                                  8393-1, at 144,
4213                                                Allison       Marie       Waters                   United States   Charles                     Waters                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child          5138 at 8    $   8,500,000.00 $    25,500,000.00




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                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                              155, at P3146,
                                                                                                                                                                                                              1:02-cv-01616, 1,
                                                                                                                                                                                                              at 363, 8393-1, at
4214                                      Barbara                  Waters              Unknown         Charles                  Waters                      United States 9/11/01   NY (WTC)     03-cv-9849   9, 8487              Spouse    5138 at 8    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                              155, at P3146,
                                                                                                                                                                                                              8393-1, at 145,
4215                                      Charles       Edward     Waters              United States   Charles                  Waters                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5848 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                              26, 29, at 4672,
                                                                                                                                                                                                              8393-1, at 1004,
4216                                      Christopher   Patrick    Waters              United States   Patrick        J.        Waters                      United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5087 at 21   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                              26, 29, at 4672,
                                                                                                                                                                                                              8393-1, at 1005,
4217                                      Daniel        Joseph     Waters              Unknown         Patrick        J.        Waters                      United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     5087 at 21   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                    VA                        8679-1, at 116,
4218                                      Gregory       Anthony    Waters              United States   Amelia         V.        Fields                      United States 9/11/01   (Pentagon)   03-cv-9849   8696                 Sibling   515 at 4     $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                              1:02-cv-01616,
4219                                      Janice        Ann        Waters              United States   Patrick        J.        Waters                      United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4672      Spouse    5087 at 21   $   12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                              1:02-cv-01616,
4220                                      Joanne        Marie      Waters              United States   James          Thomas    Waters           Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   232, at P4013        Parent    4023 at 26   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                              1:02-cv-01616,
4221                                      Kristopher    Thomas     Waters              United States   James          Thomas    Waters           Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   232, at P4014        Sibling   4023 at 26   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                    VA                        8679-1, at 114,
4222                                      Ophelia                  Waters              United States   Amelia         V.        Fields                      United States 9/11/01   (Pentagon)   03-cv-9849   8696                 Sibling   515 at 4     $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                              1:02-cv-01616,
4223                                      Colleen       Mary       Watson              United States   Sean           Patrick   Lynch                       United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3809        Sibling   4126 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                    VA                        1:02-cv-01616,
4224                                      Cynthia                  Watts               United States   Marsha                   Ratchford                   United States 9/11/01   (Pentagon)   03-cv-9849   26, 29, at 4222      Sibling   3382         $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                              26, 29, at 2488,
                                                                                                                                                                                                              5284-1, at 11,
4225                                      Brian         Joseph     Weaver              United States   Walter                   Weaver                      Unknown      9/11/01    NY (Other)   03-cv-9849   5296                 Sibling   4023 at 26   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                              305, at P4569,
                                                                                                                                                                                                              8393-1, at 88,
4226                                      Lisa          Anne       Weems               Unknown         William        Michael   Weems                       United States 9/11/01   NY (UA175)   03-cv-9849   8487                 Spouse    5848 at 11   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                              1:02-cv-01616, 1,
4227                                      John          Francis    Weinberg            United States   Michael        T.        Weinberg                    United States 9/11/01   NY (Other)   03-cv-9849   at 647               Sibling   4023 at 26   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                              Pending Motion
4228                                      Laura                    Weinberg            United States   Richard        A.        Aronow                      United States 9/11/01   NY           03-cv-9849   at ECF No. 9533      Spouse    5139 at 3    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                              77, at P2751,
                                                                                                                                                                                                              8397-1, at 28,
4229 Marilyn        Hope      Weinberg    Leonard                  Weinberg            United States   Steven                   Weinberg                    United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    4126 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                              1:02-cv-01616,
4230                                      Marilyn       Hope       Weinberg            Unknown         Steven                   Weinberg                    United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2752         Parent    3666 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                              1:02-cv-01616, 1,
                              Weinberg;                                                                                                                                                                       at 646, 8397-1, at
4231 John; Morton   Francis   Weinberg    Mary          P.         Weinberg            Unknown         Michael        T.        Weinberg                    United States 9/11/01   NY (Other)   03-cv-9849   28, 8433             Parent    5138 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                              1:02-cv-01616, 1,
4232                                      Morton                   Weinberg            United States   Michael        T.        Weinberg                    United States 9/11/01   NY (Other)   03-cv-9849   at 645               Parent    5062 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                              1:02-cv-01616,
4233                                      Paul          Howard     Weinberg            Unknown         Steven                   Weinberg                    United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2753         Sibling   3666 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                              1:02-cv-01616,
4234                                      Alissa        Loriann    Weiss               United States   David          Martin    Weiss                       United States 9/11/01   NY (Other)   03-cv-9849   77, at P2755         Child     5087 at 21   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                              1:02-cv-01616,
4235                                      Barry         Todd       Weiss               United States   David          Martin    Weiss                       United States 9/11/01   NY (Other)   03-cv-9849   77, at P2756         Sibling   5061 at 14   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                              1:02-cv-01616,
4236                                      Michael       Paul       Weiss               United States   David          Martin    Weiss                       United States 9/11/01   NY (Other)   03-cv-9849   77, at P2758         Child     5087 at 21   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                              1:02-cv-01616,
4237                                      Michele                  Weiss-Little        United States   David          Martin    Weiss                       United States 9/11/01   NY (Other)   03-cv-9849   77, at P2759         Sibling   5061 at 14   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                              1:02-cv-01616, 1,
                                                                                                                                                                                                              at 590, 8393-1, at
4238                                      Patricia      Ellen      Wellington          United States   John           Anthony   Spataro                     United States 9/11/01   NY (WTC)     03-cv-9849   36, 8487             Spouse    5848 at 10   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                              1:02-cv-01616,
4239                                      Adele         Nina       Welty               United States   Timothy                  Welty                       United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4683      Parent    3666 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                              1:02-cv-01616, 3,
4240                                      Barbara       Margaret   Wentworth           United States   Lorraine                 Lee                         United States 9/11/01   NY (WTC)     03-cv-9849   at 1351              Sibling   4023 at 16   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                              1:02-cv-01616,
4241                                      Elizabeth     C.         Weppner             United States   Robert         Joseph    Coll             II         United States 9/11/01   NY (WTC)     03-cv-9849   155, at P2858        Sibling   4023 at 8    $   4,250,000.00 $    12,750,000.00




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                                                                                                                                                                                              1:03-md-01570,
                                                                                                                                                                                              3477, at 78, 4311-
                                                                                                                                                                                              1 at 2, 4318; 8679-
4242                       Barbara       Louise      Werner            United States   Kermit        C.          Anderson                   United States 9/11/01   NY (WTC)     03-cv-9849   1, at 3, 8696         Child     4126 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                              26, 29, at 4691,
                                                                                                                                                                                              8397-1, at 28,
4243 Thomas   A.   West    Arthur        H.          West        Jr.   United States   Peter         Matthew     West                       United States 9/11/01   NY (WTC)     03-cv-9849   8433                  Sibling   5138 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                              1:02-cv-01616,
4244                       Eileen        Kuntz       West              United States   Peter         Matthew     West                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4688       Spouse    5087 at 21   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                              1:02-cv-01616,
4245                       Gregory       John        West              Unknown         Peter         Matthew     West                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4690       Sibling   3666 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                              1:02-cv-01616,
4246                       Matthew       Peter       West              United States   Peter         Matthew     West                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2427       Child     4023 at 26   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                              1:02-cv-01616,
4247                       Vincent       Matthew     West              Unknown         Peter         Matthew     West                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4692       Sibling   3666 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                              305, at P4448,
                                                                                                                                                                                              8393-1, at 48,
4248                       Francisca     A.          Wester            United States   Laurie        Ann         Neira                      United States 9/11/01   NY (AA11)    03-cv-9849   8487                  Child     4023 at 19   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                              1:02-cv-01616,
4249                       Juanita                   Whatley           United States   Jasper                    Baxter                     United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4136         Sibling   4023 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                              8679-1, at 512,
4250                       Alfred        Lawrence    Whelan      Jr.   United States   Eugene                    Whelan                     United States 9/11/01   NY (Other)   03-cv-9849   8696                  Sibling   7188 at 15   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                              8679-1, at 511,
4251                       Christopher   Michael     Whelan            United States   Eugene                    Whelan                     United States 9/11/01   NY (Other)   03-cv-9849   8696                  Sibling   8233 at 6    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                              26, 29, at 4709,
                                                                                                                                                                                              8393-1, at 24,
4252                       Joan          Ann         Whelan            United States   Eugene                    Whelan                     United States 9/11/01   NY (Other)   03-cv-9849   8487                  Parent    4126 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                              8679-1, at 510,
4253                       John          Andrew      Whelan            United States   Eugene                    Whelan                     United States 9/11/01   NY (Other)   03-cv-9849   8696                  Sibling   7188 at 15   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                              8679-1, at 507,
4254                       Robert        Thomas      Whelan            United States   Eugene                    Whelan                     United States 9/11/01   NY (Other)   03-cv-9849   8696                  Sibling   7188 at 15   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                              8679-1, at 508,
4255                       Thomas        Michael     Whelan            United States   Eugene                    Whelan                     United States 9/11/01   NY (Other)   03-cv-9849   8696                  Sibling   7188 at 15   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                              8679-1, at 509,
4256                       William       Kenneth     Whelan            United States   Eugene                    Whelan                     United States 9/11/01   NY (Other)   03-cv-9849   8696                  Sibling   7188 at 15   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                              232, at P4015,
                                                                                                                                                                                              8397-1, at 28,
4257 Joan     A.   White   Alphonse      J.          White       Jr.   Unknown         James         Patrick     White                      United States 9/11/01   NY (WTC)     03-cv-9849   8433                  Parent    5138 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                              232, at P4021,
                                                                                                                                                                                              8393-1, at 46,
4258                       Catherine     Christina   White             Ireland         Kenneth       Wilburn     White                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                  Spouse    7188 at 15   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                              8679-1, at 515,
4259                       Gregory       John        White             United States   James         Patrick     White                      United States 9/11/01   NY (WTC)     03-cv-9849   8696                  Sibling   5848 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                              1:02-cv-01616,
4260                       Joan          A.          White             United States   James         Patrick     White                      United States 9/11/01   NY (WTC)     03-cv-9849   232, at P4016         Parent    5087 at 21   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                              305, at P4560,
                                                                                                                                                                                              8393-1, at 29,
4261                       Mary          Louise      White             United States   Honor         Elizabeth   Wainio                     United States 9/11/01   PA (UA93)    03-cv-9849   8487                  Parent    4023 at 25   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                              232, at P4017,
                                                                                                                                                                                              8393-1, at 31,
4262                       Michael       John        White             United States   James         Patrick     White                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                  Sibling   5087 at 21   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                              1:02-cv-01616,
4263                       Ruth          Bowman      White             United States   Larry                     Bowman                     Unknown      9/11/01    NY (WTC)     03-cv-9849   432, at P4776         Parent    4023 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                              1:02-cv-01616,
4264                       Sally         T.          White             United States   Susan         L.          Blair                      United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4143         Parent    4023 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                              1:02-cv-01616,
4265                       Thomas        George      White             Unknown         Kenneth       Wilburn     White                      United States 9/11/01   NY (WTC)     03-cv-9849   232, at P4022         Sibling   3666 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                              1:02-cv-01616,
4266                       Carol         Ann         Whitford          Unknown         Mark          P.          Whitford                   United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4714       Parent    3666 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                              1:02-cv-01616,
4267                       Christopher               Whitford          United States   Mark          P.          Whitford                   United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4716       Sibling   3666 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                              1:02-cv-01616,
4268                       Dennis                    Whitford          United States   Mark          P.          Whitford                   United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4715       Sibling   4023 at 26   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                              26, 29, at 4712,
                                                                                                                                                                                              8393-1, at 844,
4269                       Matthew       Ryan        Whitford          United States   Mark          P.          Whitford                   United States 9/11/01   NY (Other)   03-cv-9849   8487                  Child     5061 at 14   $   8,500,000.00 $    25,500,000.00




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                                                                                                                                                                                                                  1:02-cv-01616,
4270                                         Renee                    Whitford             United States   Mark           P.        Whitford                    United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4712       Spouse    5061 at 14   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                  1:02-cv-01616,
4271                                         Roger        Paul        Whitford             Unknown         Mark           P.        Whitford                    United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4713       Parent    3666 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                  26, 29, at 4712,
                                                                                                                                                                                                                  8393-1, at 845,
4272                                         Timothy      Jay         Whitford             United States   Mark           P.        Whitford                    United States 9/11/01   NY (Other)   03-cv-9849   8487                  Child     5061 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                  232, at P4025,
                                                                                                                                                                                                                  8397-1, at 29,
4273 Natalie   M.        Whittington         Horace       Greeley     Whittington          United States   Leslie         Ann       Whittington                 United States 9/11/01   VA (AA77)    03-cv-9849   8433                  Parent    4126 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                  1:02-cv-01616,
4274                                         Kirk         Monroe      Whittington          United States   Leslie         Ann       Whittington                 United States 9/11/01   VA (AA77)    03-cv-9849   232, at P4026         Sibling   3666 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                  1:02-cv-01616,
4275                                         Michael      Thomas      Whittington          United States   Leslie         Ann       Whittington                 United States 9/11/01   VA (AA77)    03-cv-9849   305, at P4571         Sibling   3666 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                  1:02-cv-01616,
4276                                         Bernadette               Wholey               United States   Michael        T.        Wholey                      United States 9/11/01   NY (Other)   03-cv-9849   232, at P4029         Sibling   3666 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                  155, at P3148,
                                                                                                                                                                                                                  8393-1, at 957,
4277                                         Erin         Elizabeth   Wholey               United States   Michael        T.        Wholey                      United States 9/11/01   NY (Other)   03-cv-9849   8487                  Child     5356 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                  155, at P3148,
                                                                                                                                                                                                                  8393-1, at 59,
4278                                         Jennifer                 Wholey               Unknown         Michael        T.        Wholey                      United States 9/11/01   NY (Other)   03-cv-9849   8487                  Spouse    5356 at 6    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                  1:02-cv-01616,
4279                                         Margaret     Winifred    Wholey               Unknown         Michael        T.        Wholey                      United States 9/11/01   NY (Other)   03-cv-9849   232, at P4030         Parent    3666 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                  1:02-cv-01616,
4280                                         Maryann                  Wholey               Unknown         Michael        T.        Wholey                      United States 9/11/01   NY (Other)   03-cv-9849   232, at P4028         Sibling   3666 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                  155, at P3148,
                                                                                                                                                                                                                  8393-1, at 958,
4281                                         Meagan       Rose        Wholey               United States   Michael        T.        Wholey                      United States 9/11/01   NY (Other)   03-cv-9849   8487                  Child     5356 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                  1:02-cv-01616,
4282                                         Michael      Joseph      Wholey               Unknown         Michael        T.        Wholey                      United States 9/11/01   NY (Other)   03-cv-9849   232, at P4031         Parent    3666 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                  155, at P3148,
                                                                                                                                                                                                                  8393-1, at 959,
4283                                         Patrick      Thomas      Wholey               United States   Michael        T.        Wholey                      United States 9/11/01   NY (Other)   03-cv-9849   8487                  Child     5356 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                  1:02-cv-01616, 3,
                                                                                                                                                                                                                  at pg 3, 5284-1, at
4284                                         Deanna       Joyce       Whoriskey            United States   George         W.        Simmons          Sr.        United States 9/11/01   VA (AA77)    03-cv-9849   11, 5296              Child     4023 at 23   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                  232, at P4032,
                                                                                                                                                                                                                  8393-1, at 54,
4285                                         Marc         Elmo        Wieman               United States   Mary                     Wieman                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                  Spouse    5848 at 11   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                  1:02-cv-01616, 1,
                                                                                                                                                                                                                  at 650, 8397-1, at
4286 Wilma     Rose      Wiener              Donald       Stewart     Wiener               United States   Jeffrey        David     Wiener                      Unknown      9/11/01    NY (WTC)     03-cv-9849   29, 8433              Parent    4023 at 26   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                  1:02-cv-01616, 1,
4287                                         Robin        Kim         Wiener               United States   Jeffrey        David     Wiener                      Unknown      9/11/01    NY (WTC)     03-cv-9849   at 652                Sibling   3666 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                  1:02-cv-01616, 1,
4288                                         Wilma        Rose        Wiener               United States   Jeffrey        David     Wiener                      Unknown      9/11/01    NY (WTC)     03-cv-9849   at 651                Parent    4023 at 26   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                  1:02-cv-01616,
4289                                         Jeanine      Marie       Wiese                United States   Jacqueline               Donovan                     United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3681         Sibling   5356 at 2    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                  1:02-cv-01616,
4290                                         Elizabeth    Ann         Wild                 United States   Michael        J.        Elferis                     United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3102       Sibling   4023 at 10   $   4,250,000.00 $    12,750,000.00

                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                  155, at P3151,
4291                                         Arthur       Stephen     Wildman        Jr.   United States   Alison         M.        Wildman                     United States 9/11/01   NY (WTC)     03-cv-9849   8397-1. at 2, 8487    Parent    4126 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                  155, at P3152,
                                                                                                                                                                                                                  8397-1, at 29,
4292 Arthur    Stephen   Wildman       Jr.   Arthur       S.          Wildman        III   United States   Alison         M.        Wildman                     United States 9/11/01   NY (WTC)     03-cv-9849   8433                  Sibling   5087 at 21   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                  155, at P3153,
                                                                                                                                                                                                                  8397-1, at 29,
4293 Arthur    Stephen   Wildman       Jr.   June         M.          Wildman              United States   Alison         M.        Wildman                     United States 9/11/01   NY (WTC)     03-cv-9849   8433                  Parent    5087 at 21   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                  1:02-cv-01616,
4294                                         Robert       Edward      Wildman              United States   Alison         M.        Wildman                     United States 9/11/01   NY (WTC)     03-cv-9849   155, at P3154         Sibling   4023 at 26   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                  1:02-cv-01616,
4295                                         Rita         Marie       Wiley                United States   Daniel         Maurice   Van Laere                   United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4611       Sibling   4023 at 25   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                  1:02-cv-01616,
4296                                         Patricia     Cleere      Wilgus               United States   James          Durward   Cleere                      United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4187         Sibling   4126 at 4    $   4,250,000.00 $    12,750,000.00



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                                                                                                                                                                         VA                        1:02-cv-01616,
4297                             Tangela    Yvette     Wilkes              United States   Sharon         Ann       Carver                       United States 9/11/01   (Pentagon)   03-cv-9849   305, at P4168        Sibling   4023 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616,
4298                             Margaret   Ellen      Wilkinson           United States   Glenn          E.        Wilkinson                    United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4724      Spouse    5061 at 14   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                         VA                        1:02-cv-01616,
4299                             Benjamin   Jacob      Willcher            United States   Ernest         M.        Willcher                     United States 9/11/01   (Pentagon)   03-cv-9849   155, at P3155        Child     5062 at 7    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                         VA                        1:02-cv-01616,
4300                             Joel       Avi        Willcher            United States   Ernest         M.        Willcher                     United States 9/11/01   (Pentagon)   03-cv-9849   155, at P3156        Child     5061 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   155, at P3157,
                                                                                                                                                                         VA                        8393-1, at 24,
4301                             Shirley    N.         Willcher            Germany         Ernest         M.        Willcher                     United States 9/11/01   (Pentagon)   03-cv-9849   8487                 Spouse    5062 at 7    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                   1:02-cv-01616, 1,
4302                             Lucille    Cummings   Willett             United States   John           Charles   Willett                      United States 9/11/01   NY (WTC)     03-cv-9849   at 656               Parent    4023 at 26   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   232, at P3592,
                                                                                                                                                                                                   8393-1, at 816,
4303                             Brandice              Williams            United States   Manette        M.        Beckles                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616, 3,
                                                                                                                                                                                                   at 1733, 8393-1,
4304                             Crossley   Richard    Williams      Sr.   United States   Crossley       R.        Williams          Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   at 13, 8487          Parent    4023 at 26   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:03-cv-9849,
                                                                                                                    Forbes-                                                                        HAND FILED, at
4305                             Dorrette   Elaine     Williams            Jamaica         Del Rose                 Cheatham                     United States 9/11/01   NY (WTC)     03-cv-9849   P5059                Sibling   6035 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   8679-1, at 519,
4306                             James      Patrick    Williams            United States   Kevin          Michael   Williams                     United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 15   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:03-md-01570,
                                                                                                                                                                                                   432, at P5468,
                                                                                                                                                                                                   8397-1, at 29,
                                                                                                                                                                                                   8433, 8393-1, at
4307 Toya             Williams   Murna      T.         Williams            United States   Louie          Anthony   Williams                     United States 9/11/01   NY (WTC)     03-cv-9849   50, 8487             Parent    4023 at 26   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616, 3,
4308                             Nichole               Williams            United States   Juanita                  Lee                          United States 9/11/01   NY (WTC)     03-cv-9849   at 1340              Child     4023 at 16   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616, 3,
4309                             Patricia   Ann        Williams            United States   Kevin          Michael   Williams                     United States 9/11/01   NY (WTC)     03-cv-9849   at 1737              Parent    4023 at 26   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616, 3,
4310                             Roger      Michael    Williams            United States   Kevin          Michael   Williams                     United States 9/11/01   NY (WTC)     03-cv-9849   at 1736              Parent    4023 at 26   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                         VA                        1:02-cv-01616,
4311                             Shelby     Tyler      Williams            United States   Dwayne                   Williams                     United States 9/11/01   (Pentagon)   03-cv-9849   313, at P4765        Child     5356 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   155, at P3158,
                                                                                                                                                                                                   8397-1, at 29,
4312 Wendy   M.       Brown      Sherri     A.         Williams            United States   Candace        Lee       Williams                     United States 9/11/01   NY (AA11)    03-cv-9849   8433                 Parent    5969 at 3    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   305, at P4572,
                                                                                                                                                                         VA                        8393-1, at 21,
4313                             Tammy      Gesiele    Williams            United States   Dwayne                   Williams                     United States 9/11/01   (Pentagon)   03-cv-9849   8487                 Spouse    5848 at 11   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
4314                             Valrie     May        Williams            United States   Crossley       R.        Williams          Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2429      Parent    4023 at 26   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616, 3,
                                                                                                                                                                                                   at 1741, 8393-1,
4315                             Jessica               Williamson          United States   John           P.        Williamson                   United States 9/11/01   NY (Other)   03-cv-9849   at 625, 8487         Child     5848 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616, 3,
                                                                                                                                                                                                   at 1741, 8393-1,
4316                             Marc                  Williamson          United States   John           P.        Williamson                   United States 9/11/01   NY (Other)   03-cv-9849   at 626, 8487         Child     5848 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616, 3,
4317                             Mary       Brigid     Williamson          United States   John           P.        Williamson                   United States 9/11/01   NY (Other)   03-cv-9849   at 1741              Spouse    5087 at 21   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                   1:02-cv-01616, 1,
4318                             Eleanor               Wilson              Unknown         Patricia       Ann       Puma                         United States 9/11/01   NY (WTC)     03-cv-9849   at 483               Parent    3666 at 10   $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   26, 29, at 2523,
4319                             Jane       C.         Wilson              United States   Jeffrey        James     Olsen                        United States 9/11/01   NY (Other)   03-cv-9849   5284-1, at 8, 5296   Sibling   4023 at 20   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616, 1,
4320                             Robert                Wilson              United States   Patricia       Ann       Puma                         United States 9/11/01   NY (WTC)     03-cv-9849   at 486               Sibling   4023 at 21   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616,
4321                             Theresa    Irene      Wilson              Unknown         Richard        Michael   Keane                        United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4358        Sibling   3666 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616, 1,
                                                                                                                                                                                                   at 803, 5284-1, at
4322                             Annelise   Peterson   Winter              United States   Davin          N.        Peterson                     United States 9/11/01   NY (WTC)     03-cv-9849   9, 5296              Sibling   4023 at 21   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   432, at P4978,
                                                                                                                                                                                                   8397-1, at 29,
4323 Sara    Winton   Coffey     Joan       W.         Winton              United States   David          Harold    Winton                       United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    5138 at 8    $   8,500,000.00 $    25,500,000.00




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                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                         155, at P3159,
                                                                                                                                                                                                                         8397-1, at 29,
4324 Jay; Jeff   Steven; M.   Winuk; Winuk         Elaine        Shirley      Winuk                United States   Glenn          J.       Winuk                       United States 9/11/01   NY (Other)   03-cv-9849   8433                Parent    4023 at 26   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                         155, at P3160,
                                                                                                                                                                                                                         8393-1, at 27,
4325                                               Jay           Steven       Winuk                United States   Glenn          J.       Winuk                       United States 9/11/01   NY (Other)   03-cv-9849   8487                Sibling   4023 at 26   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                         1:02-cv-01616,
4326                                               Jeff          M.           Winuk                United States   Glenn          J.       Winuk                       United States 9/11/01   NY (Other)   03-cv-9849   155, at P3161       Sibling   4023 at 26   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                         155, at P3162,
                                                                                                                                                                                                                         8393-1, at 27,
                                                                                                                                                                                                                         8487, 8397-1, at
4327 Jay         Steven       Winuk                Seymour                    Winuk                United States   Glenn          J.       Winuk                       United States 9/11/01   NY (Other)   03-cv-9849   29, 8433            Parent    4126 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                         1:02-cv-01616,
4328                                               Deanna                     Wirth                United States   Alfred         J.       Braca                       United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4148       Child     4023 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                         1:02-cv-01616,
4329                                               Joanna        Dedvukaj     Wirth                United States   Simon          Marash   Dedvukaj                    United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4221       Sibling   4023 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                         232, at P4100,
                                                                                                                                                                                                                         8393-1, at 404,
4330                                               Alexandra     Ashley       Wisniewski           United States   Frank          Thomas   Wisniewski                  United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     5061 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                         232, at P4100,
                                                                                                                                                                                                                         8393-1, at 26,
4331                                               Carol         D.           Wisniewski           United States   Frank          Thomas   Wisniewski                  United States 9/11/01   NY (WTC)     03-cv-9849   8487                Spouse    5061 at 14   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                         232, at P4100,
                                                                                                                                                                                                                         8393-1, at 405,
4332                                               Jonathan      Paul         Wisniewski           United States   Frank          Thomas   Wisniewski                  United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     5848 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                         1:02-cv-01616, 3,
4333                                               Cheryl        Renee        Witherspoon          United States   Juanita                 Lee                         United States 9/11/01   NY (WTC)     03-cv-9849   at 1344             Sibling   3666 at 7    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                         1:02-cv-01616,
4334                                               Patricia      Margaret     Witschel             United States   Robert         L.       Horohoe          Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2064     Sibling   5062 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                         1:02-cv-01616, 1,
4335                                               Barbara       E.           Wittenstein          United States   Michael        Robert   Wittenstein                 United States 9/11/01   NY (WTC)     03-cv-9849   at 663              Parent    5356 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                         1:02-cv-01616, 1,
4336                                               Jeffrey       Alan         Wittenstein          United States   Michael        Robert   Wittenstein                 United States 9/11/01   NY (WTC)     03-cv-9849   at 662              Sibling   4023 at 26   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                         1:02-cv-01616, 1,
4337                                               Benjamin      C.           Wong                 China           Jennifer       Y.       Wong                        United States 9/11/01   NY (WTC)     03-cv-9849   at 836              Parent    5087 at 21   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                         1:02-cv-01616,
4338                                               Craig         Walker       Woodall              United States   Brent          James    Woodall                     Unknown      9/11/01    NY (WTC)     03-cv-9849   305, at P4579       Sibling   3666 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                         305, at P4577,
                                                                                                                                                                                                                         8397-1, at 29,
4339 Craig       Walker       Woodall              John          W.           Woodall              United States   Brent          James    Woodall                     Unknown      9/11/01    NY (WTC)     03-cv-9849   8433                Parent    5138 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                         305, at P4578,
                                                                                                                                                                                                                         8397-1, at 29,
4340 Craig       Walker       Woodall              Mary          Elizabeth    Woodall              United States   Brent          James    Woodall                     Unknown      9/11/01    NY (WTC)     03-cv-9849   8433                Parent    3666 at 13   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                         1:02-cv-01616, 3,
4341 Phyllis                  Woods                Christopher   Edward       Woods                United States   Patrick                 Woods                       United States 9/11/01   NY (WTC)     03-cv-9849   at 1746             Sibling   4126 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                         232, at P4034,
                                                                                                                                                                                                                         8393-1, at 32,
4342                                               John          F.           Woods          Jr.   United States   James          John     Woods                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                Parent    4023 at 26   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                         232, at P4035,
                                                                                                                                                                                                                         8397-1, at 29,
                                                                                                                                                                                                                         8433, 8393-1, at
4343 John        F.           Woods          Jr.   Joyce         A.           Woods                United States   James          John     Woods                       United States 9/11/01   NY (WTC)     03-cv-9849   32, 8487            Parent    4023 at 26   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                         1:02-cv-01616, 3,
                                                                                                                                                                                                                         at 1743, 8393-1,
4344                                               Patrick       Joseph       Woods          Sr.   United States   Patrick                 Woods                       United States 9/11/01   NY (WTC)     03-cv-9849   at 63, 8487         Parent    4126 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                         1:02-cv-01616, 3,
4345                                               Thomas        Robert       Woods                United States   Patrick                 Woods                       United States 9/11/01   NY (WTC)     03-cv-9849   at 1745             Sibling   4126 at 9    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                         26, 29, at 2432,
                                                                                                                                                                                                                         8393-1, at 1086,
4346                                               Eleanor       McCullough   Woodwell             United States   Richard        H.       Woodwell                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                Child     5848 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                         1:02-cv-01616,
4347                                               Linda         Preston      Woodwell             United States   Richard        H.       Woodwell                    United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2432     Spouse    5848 at 11   $   12,500,000.00 $   37,500,000.00




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                                                                                             EXHIBIT B-1
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                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                         26, 29, at 2432,
                                                                                                                                                                         8393-1, at 1084,
4348   Margaret   Preston     Woodwell          United States   Richard        H.          Woodwell                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5848 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                         26, 29, at 2432,
                                                                                                                                                                         8393-1, at 1085,
4349   Richard    Herron      Woodwell    Jr.   United States   Richard        H.          Woodwell                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5848 at 11   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                         1:03-cv-9849,
                                                                                                                                                                         HAND FILED, at
4350   Edgar      Bertram     Wooley      III   Unknown         David          T.          Wooley                      United States 9/11/01   NY (Other)   03-cv-9849   P5306                Sibling   3666 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                         1:02-cv-01616,
4351   Timothy    Edwin       Works             Unknown         John           Bentley     Works                       United States 9/11/01   NY (WTC)     03-cv-9849   232, at P4036        Sibling   3666 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                         1:02-cv-01616, 1,
                                                                                                                                                                         at 750, 8393-1, at
4352   Rodney     Patrick     Wotton            United States   Rodney         James       Wotton                      United States 9/11/01   NY (WTC)     03-cv-9849   1158, 8487           Child     5087 at 21   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                         1:02-cv-01616, 1,
                                                                                                                                                                         at 750, 8393-1, at
4353   Theo       Maxwell     Wotton            United States   Rodney         James       Wotton                      United States 9/11/01   NY (WTC)     03-cv-9849   1157, 8487           Child     5087 at 21   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                         26, 29, at 2437,
                                                                                                                                                                         8393-1, at 635,
4354   Emily      Virginia    Wright            United States   John           Wayne       Wright           Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 21   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                         26, 29, at 2437,
                                                                                                                                                                         8393-1, at 636,
4355   John       Wayne       Wright      III   United States   John           Wayne       Wright           Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 21   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                         8679-1, at 163,
4356   Lee        Alexandra   Wright            United States   Keith          Alexander   Glascoe                     United States 9/11/01   NY (Other)   03-cv-9849   8696                 Sibling   7188 at 8    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                         1:02-cv-01616,
4357   Martha     Oliverio    Wright            United States   John           Wayne       Wright           Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2437      Spouse    5087 at 21   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                         26, 29, at 2437,
                                                                                                                                                                         8393-1, at 637,
4358   Robert     John        Wright            United States   John           Wayne       Wright           Jr.        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 21   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                         432, at P4981,
                                                                                                                                                                         8393-1, at 44,
4359   Nancy      McCardle    Yambem            United States   Jupiter                    Yambem                      India        9/11/01    NY (WTC)     03-cv-9849   8487                 Spouse    5087 at 21   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                         432, at P4981,
                                                                                                                                                                         8393-1, at 709,
4360   Santi      McCardle    Yambem            United States   Jupiter                    Yambem                      India        9/11/01    NY (WTC)     03-cv-9849   8487                 Child     5087 at 21   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                         1:02-cv-01616,
4361   Janet      Arbelin     Yamnicky          United States   John           David       Yamnicky         Sr.        United States 9/11/01   VA (AA77)    03-cv-9849   155, at P3167        Spouse    5356 at 6    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                         1:03-md-01570,
                                                                                                                                                                         3477, at 3953;
                                                                                                                                                                         8679-1, at 522,
4362   Jennifer   Lynn        Yamnicky          United States   John           David       Yamnicky         Sr.        United States 9/11/01   VA (AA77)    03-cv-9849   8696                 Child     5087 at 21   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                         1:03-md-01570,
                                                                                                                                                                         3477, at 3956;
                                                                                                                                                                         8679-1, at 524,
4363   John       David       Yamnicky    Jr.   United States   John           David       Yamnicky         Sr.        United States 9/11/01   VA (AA77)    03-cv-9849   8696                 Child     5088 at 4    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                         1:03-md-01570,
                                                                                                                                                                         3477, at 3955;
                                                                                                                                                                         8679-1, at 523,
4364   Mark       S.          Yamnicky          United States   John           David       Yamnicky         Sr.        United States 9/11/01   VA (AA77)    03-cv-9849   8696                 Child     5087 at 21   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                         432, at P4982,
                                                                                                                                                                         8393-1, at 84,
4365   David      Mauzy       Yancey            United States   Vicki          L.          Yancey                      United States 9/11/01   VA (AA77)    03-cv-9849   8487                 Spouse    7188 at 15   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                         1:03-cv-09849,
                                                                                                                                                                         841, at 6; 8679-1,
4366   Florela    S.          Yancey            United States   Kathryn        L.          Laborie                     United States 9/11/01   NY (UA175)   03-cv-9849   at 236, 8696         Parent    5062 at 5    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                         1:03-md-01570,
                                                                                                                                                                         3477, at 1936;
                                                                                                                                                                         8679-1, at 237,
4367   Harlan     Gene        Yancey            United States   Kathryn        L.          Laborie                     United States 9/11/01   NY (UA175)   03-cv-9849   8696                 Parent    4126 at 6    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                         1:03-cv-09849,
                                                                                                                                                                         841, at 5; 8679-1,
4368   Kevin      Michael     Yancey            United States   Kathryn        L.          Laborie                     United States 9/11/01   NY (UA175)   03-cv-9849   at 239, 8696         Sibling   5062 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                         1:03-cv-09849,
                                                                                                                                                                         841, at 4; 8679-1,
4369   Mark       Anthony     Yancey            United States   Kathryn        L.          Laborie                     United States 9/11/01   NY (UA175)   03-cv-9849   at 238, 8696         Sibling   5062 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                         8679-1, at 526,
4370   Brian      Eric        Yarnell           United States   Matthew        David       Yarnell                     United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   5087 at 22   $   4,250,000.00 $    12,750,000.00



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                                                                                                                                                                                                       1:02-cv-01616, 1,
4371                            Michele       Ellen         Yarnell           United States   Matthew       David      Yarnell                       United States 9/11/01   NY (WTC)     03-cv-9849   at 667               Parent    4023 at 26   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616, 1,
4372                            Ted                         Yarnell           United States   Matthew       David      Yarnell                       United States 9/11/01   NY (WTC)     03-cv-9849   at 666               Parent    4023 at 26   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                             VA                        1:02-cv-01616,
4373                            Tina          Roberson      Yarrow            United States   Stephen       V.         Long                          United States 9/11/01   (Pentagon)   03-cv-9849   26, 29, at 2463      Spouse    5061 at 8    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
4374                            Brian         Glenn         Yaskulka          United States   Myrna                    Yaskulka                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4750      Child     4126 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
4375                            Hal                         Yaskulka          United States   Myrna                    Yaskulka                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4749      Child     4126 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616, 3,
4376                            Jay           Evan          Yaskulka          Unknown         Myrna                    Yaskulka                      United States 9/11/01   NY (WTC)     03-cv-9849   at 1749              Child     4126 at 9    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
4377                            Zara          Khan          Yedvarb           United States   Taimour                  Khan                          United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2638         Sibling   5062 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       8679-1, at 392,
4378                            Maureen                     Yetman            United States   Gregg                    Reidy                         United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   7188 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                       232, at P4101,
                                                                                                                                                                                                       8393-1, at 22,
4379                            Kimberly      Gordish       York              United States   Edward        Philip     York                          United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5087 at 22   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                       232, at P4101,
                                                                                                                                                                                                       8393-1, at 356,
4380                            Patrick       Evan          York              United States   Edward        Philip     York                          United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 22   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                       232, at P4101,
                                                                                                                                                                                                       8393-1, at 357,
4381                            Peter         M.            York              United States   Edward        Philip     York                          United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     5087 at 22   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
4382                            Susan                       York              Unknown         Kevin         Patrick    York                          United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4582        Sibling   3387         $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:02-cv-01616,
4383                            Mary          E.            York Peled        United States   Kevin         Patrick    York                          United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4581        Sibling   3387         $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                             VA                        1:02-cv-01616, 3,
4384                            Felicia       Ann           Young             United States   Donald        McArthur   Young                         United States 9/11/01   (Pentagon)   03-cv-9849   at 1754              Spouse    5848 at 11   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
4385                            Michele                     Young             Unknown         Edward                   DeSimone           III        United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 1949      Sibling   3666 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:02-cv-01616, 1,
                                                                                                                                                                                                       at 265, 8393-1, at
4386                            Edwin         H.            Yuen              Unknown         Cindy         Yanzhu     Guan                          United States 9/11/01   NY (WTC)     03-cv-9849   12, 8487             Spouse    5848 at 5    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                       8679-1, at 156,
4387                            Karen         Anne          Zaccaria          United States   Debra         Lynn       Gibbon                        United States 9/11/01   NY (WTC)     03-cv-9849   8696                 Sibling   5848 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:02-cv-01616, 1,
4388                            Cheryl        Anne          Zaffuto           United States   Linda         Anne       Luzzicone                     United States 9/11/01   NY (WTC)     03-cv-9849   at 356               Sibling   5062 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                       1:02-cv-01616,
4389                            George        Adel Agaiby   Zakhary           United States   Adel          A.         Zakhary                       United States 9/11/01   NY (WTC)     03-cv-9849   155, at P3170        Child     5087 at 22   $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                       155, at P3173,
4390                            Mariam        Adel          Zakhary           Unknown         Adel          A.         Zakhary                       United States 9/11/01   NY (WTC)     03-cv-9849   8393-1, at 7, 8487   Child     5087 at 22   $   8,500,000.00 $    25,500,000.00

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                                                                                                                                                                                                       155, at P3173,
4391                            Nagat         H.            Zakhary           Unknown         Adel          A.         Zakhary                       United States 9/11/01   NY (WTC)     03-cv-9849   8393-1, at 1, 8487   Spouse    5087 at 22   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
4392                            Patricia      A.            Zampieri          United States   Robert        Alan       Zampieri                      United States 9/11/01   NY (WTC)     03-cv-9849   232, at P4038        Parent    5061 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                       232, at P4039,
                                                                                                                                                                                                       8397-1, at 29,
                                                                                                                                                                                                       8433, 8393-1, at
4393 Patricia   A.   Zampieri   Robert        Albert        Zampieri          United States   Robert        Alan       Zampieri                      United States 9/11/01   NY (WTC)     03-cv-9849   68, 8487             Parent    5138 at 8    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:03-cv-9849,
                                                                                                                                                                                                       HAND FILED, at
                                                                                                                                                                                                       P5308, 8393-1, at
4394                            Alexander     Mark          Zangrilli         United States   Mark                     Zangrilli                     United States 9/11/01   NY (WTC)     03-cv-9849   848, 8487            Child     5061 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:03-cv-9849,
                                                                                                                                                                                                       HAND FILED, at
                                                                                                                                                                                                       P5308, 8393-1, at
4395                            Jill                        Zangrilli         United States   Mark                     Zangrilli                     United States 9/11/01   NY (WTC)     03-cv-9849   53, 848              Spouse    5087 at 22   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                       1:03-cv-9849,
                                                                                                                                                                                                       HAND FILED, at
                                                                                                                                                                                                       P5308, 8393-1, at
4396                            Nicholas                    Zangrilli         United States   Mark                     Zangrilli                     United States 9/11/01   NY (WTC)     03-cv-9849   849, 8487            Child     5061 at 14   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                       1:03-cv-9849,
                                                                                                                                                                                                       HAND FILED, at
                                                                                                                                                                                                       P5309, 8393-1, at
4397                            Christopher   James         Zarba             United States   Christopher   Rudolph    Zarba              Jr.        United States 9/11/01   NY (AA11)    03-cv-9849   178, 8487            Child     5061 at 14   $   8,500,000.00 $    25,500,000.00



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                                                                             Case 1:03-md-01570-GBD-SN Document 9551-2 Filed 01/19/24 Page 165 of 165
                                                                                                                              EXHIBIT B-1
                                                                                                           SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                                                                                                                                                                                                         8679-1, at 529,
4398                               Joseph        R.         Zarba                 United States   Christopher   Rudolph   Zarba             Jr.        United States 9/11/01   NY (AA11)    03-cv-9849   8696                 Sibling   5848 at 11   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                         1:03-cv-9849,
                                                                                                                                                                                                         HAND FILED, at
                                                                                                                                                                                                         P5309, 8393-1, at
4399                               Sheila        Ann        Zarba-Campbell        United States   Christopher   Rudolph   Zarba             Jr.        United States 9/11/01   NY (AA11)    03-cv-9849   11, 8487             Spouse    5061 at 14   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                         1:02-cv-01616,
4400                               Adam          Mathew     Zaslow                United States   Ira                     Zaslow                       United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4584        Child     5087 at 22   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         1:02-cv-01616,
4401                               Bryan         Jonathan   Zaslow                United States   Ira                     Zaslow                       United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4585        Child     5087 at 22   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                         305, at P4583,
                                                                                                                                                                                                         8393-1, at 29,
4402                               Felice        Roberta    Zaslow                United States   Ira                     Zaslow                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    5061 at 14   $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                         1:02-cv-01616,
4403                               Beryl         Ann        Zawatsky              United States   Charles       William   Garbarini                    United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3239      Sibling   3666 at 5    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                         1:02-cv-01616, 3,
4404                               Barry         Ezra       Zelman                United States   Kenneth       Albert    Zelman                       United States 9/11/01   NY (WTC)     03-cv-9849   at 1758              Sibling   4023 at 26   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                         1:02-cv-01616,
4405                               Margaret      Rita       Zoch                  Unknown         John          R.        Crowe                        United States 9/11/01   NY (WTC)     03-cv-9849   155, at P2863        Sibling   3666 at 3    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                         1:02-cv-01616,
4406                               Anne          Lesley     Zucchi                United States   Neil          Matthew   Dollard                      United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4238        Sibling   5062 at 4    $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                         26, 29, at 4767,
                                                                                                                                                                                                         8397-1, at 30,
4407 Gayle   Michelle   Mosenson   Saul                     Zucker                United States   Andrew        Steven    Zucker                       United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    5087 at 22   $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         1:02-cv-01616,
4408                               Stuart        Craig      Zucker                United States   Andrew        Steven    Zucker                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4769      Sibling   3666 at 13   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                         26, 29, at 4768,
                                                                                                                                                                                                         8397-1, at 30,
4409 Gayle   Michelle   Mosenson   Sue                      Zucker                United States   Andrew        Steven    Zucker                       United States 9/11/01   NY (WTC)     03-cv-9849   8433                 Parent    5087 at 22   $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                         155, at AP216,
4410                               Linda         Mae        Zupo                  United States   Claude        Daniel    Richards                     United States 9/11/01   NY (Other)   03-cv-9849   5284-1, at 9, 5296   Sibling   5087 at 17   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                         1:02-cv-01616, 3,
4411                               Marilyn Ann   M.         Zurica                Unknown         William       J.        McGovern                     United States 9/11/01   NY (Other)   03-cv-9849   at 1437              Sibling   3666 at 9    $   4,250,000.00 $    12,750,000.00




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